     Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 1 of 397




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                        Case No. 1:16-cv-1534-JEB
                                        (and Consolidated Case Nos. 16-cv-1796
                Plaintiff,
                                        and 17-cv-267)
     and

CHEYENNE RIVER SIOUX TRIBE,

                Plaintiff-Intervenor,
     v.

U.S. ARMY CORPS OF ENGINEERS,

                Defendant-Cross
                Defendant,

     and

DAKOTA ACCESS, LLC,

                Defendant-Intervenor-
                Cross Claimant.




               JOINT APPENDIX OF REMAND ANALYSIS RECORD




                                                            Earthjustice
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(No. 1:16-cv-1534-JEB)                                      Seattle, WA 98104
                                                            (206) 343-7340
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 2 of 397




Dated: March 22, 2019.

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                                               Engineers


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     Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 3 of 397



                                     Counsel continued from previous page:

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      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 4 of 397




                JOINT APPENDIX OF REMAND ANALYSIS RECORD
              DESCRIPTION                                  AR PAGE NOS.
Memorandum for Record and Analysis of the        RAR000001-RAR000140
Issues Remanded by the U.S. District Court       (SUBJECT TO PROTECTIVE ORDER)
for the District of Columbia Related to the      [FILED UNDER SEAL]
Dakota Access Pipeline Crossing at Lake
Oahe
USACE Review and Analysis of Tribal              RAR000141-RAR000280
Comments                                         (SUBJECT TO PROTECTIVE ORDER)
                                                 [FILED UNDER SEAL]
Email from USACE to HDR Engineering,             RAR000297
dated August 29, 2018
Emails between Energy Transfer, HDR              RAR000742-RAR000747
Engineering, and USACE, dated August 1-2,
2018 with excerpts from attachments
Emails between Energy Transfer, HDR              RAR000899-RAR000986
Engineering, and USACE, dated August 1,          (SUBJECT TO PROTECTIVE ORDER)
2018 attaching Draft Technical Analysis of       [FILED UNDER SEAL]
Remand Items dated July 31, 2018
Draft Technical Analysis of Remand Items,        RAR000990-RAR001067
dated July 31, 2018
Email from HDR Engineering to USACE,             RAR002547-RAR002548
dated June 21, 2018, discussing transmission
of the Remand Package and Downstream
Receptor Report
Email from HDR Engineering to USACE,         RAR002618-RAR002642
dated June 21, 2018, attaching draft responses
                                             (SUBJECT TO PROTECTIVE ORDER)
to comments                                  [FILED UNDER SEAL]
Draft Technical Analysis of Remand Items,    RAR002678-RAR002738
dated June 20, 2018                          (SUBJECT TO PROTECTIVE ORDER)
                                             [FILED UNDER SEAL]
Review of Potential Environmental Effects of RAR002739-RAR002867
Oil Releases on Downstream Receptors, dated (SUBJECT TO PROTECTIVE ORDER)
June 21, 2018                                [FILED UNDER SEAL]

Draft Appendix C: Comment and Response           RAR002868-RAR002894
for Documents Received, dated June 21, 2018      (SUBJECT TO PROTECTIVE ORDER)
                                                 [FILED UNDER SEAL]



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      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 5 of 397




               JOINT APPENDIX OF REMAND ANALYSIS RECORD
             DESCRIPTION                                 AR PAGE NOS.
Draft Appendix A: Various Figures, dated       RAR002895-RAR002944
June 21, 2018                                  (SUBJECT TO PROTECTIVE ORDER)
                                               [FILED UNDER SEAL]
Email from HDR Engineering to USACE,           RAR003001-RAR003006
dated June 20, 2018, attaching comment and     (SUBJECT TO PROTECTIVE ORDER)
response table                                 [FILED UNDER SEAL]
Email string discussing the transmission of    RAR004499-RAR004740
the Sunoco Logistics DOT 195 Maintenance       (SUBJECT TO PROTECTIVE ORDER)
Manual, with attachment, dated April 10,       [FILED UNDER SEAL]
2018
Email string discussing the transmission of    RAR004741-RAR004893
the Dakota Access Pipeline Risk Assessment     (SUBJECT TO PROTECTIVE ORDER)
(Integrity Management Plan), with              [FILED UNDER SEAL]
attachment, dated April 10, 2018
Email string discussing the transmission of    RAR004894-RAR004901
the as-built drawings for the Lake Oahe        (SUBJECT TO PROTECTIVE ORDER)
crossing, with attachment, dated April 10,     [FILED UNDER SEAL]
2018
Email from Energy Transfer to Standing         RAR006565-RAR006566
Rock, copying USACE, mentioning “original
spill model,” dated March 1, 2018
Spill Model Report, dated February 12, 2018,   RAR008065-RAR008400
one of several attachments to internal USACE   (SUBJECT TO PROTECTIVE ORDER)
email                                          [FILED UNDER SEAL]
Internal USACE email, dated February 15,       RAR008403
2018, discussing ten numbered items
including “Bakken Crude Composition”
Final Evaluation of Hydrocarbon Releases       RAR008743-RAR008964
into Lake Oahe using OILMAPLand and            (SUBJECT TO PROTECTIVE ORDER)
SIMAP Trajectory, Fate, and Effects            [FILED UNDER SEAL]
Modeling for the Dakota Access Pipeline
Emails between Energy Transfer, HDR            RAR009112-RAR009116
Engineering, and USACE, dated February 6-      (SUBJECT TO PROTECTIVE ORDER)
7, 2018, attaching Spill Model Report          [FILED UNDER SEAL]
comments




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      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 6 of 397




               JOINT APPENDIX OF REMAND ANALYSIS RECORD
             DESCRIPTION                                 AR PAGE NOS.
Supplemental Information to Select Comment     RAR009187-RAR009211
Responses, draft dated February 1, 2018        (SUBJECT TO PROTECTIVE ORDER)
[excerpt]                                      [FILED UNDER SEAL]
Technical Analysis of Remand Items, draft      RAR010203-RAR010240
dated February 4, 2018                         (SUBJECT TO PROTECTIVE ORDER)
                                               [FILED UNDER SEAL]
Email from HDR Engineering to USACE,           RAR012015-RAR012237
dated November 17, 2017, attaching SXL –       (SUBJECT TO PROTECTIVE ORDER)
Integrity Management Plan Pipeline and         [FILED UNDER SEAL]
associated documents
Attachment to email string discussing write-   RAR012257-RAR012258
up on SIMAP modeling and model schedule
information, dated November 7, 2017
Letter from USACE to Energy Transfer, dated    RAR013605-RAR013607
August 24, 2017
DAPL Spill Model Discussion, dated May 3,      RAR014969
2016 [excerpt]                                 (SUBJECT TO PROTECTIVE ORDER)
                                               [FILED UNDER SEAL]
Emergency Response Action Plan and             RAR016716
Facility Response Plan, Dakota Access          (SUBJECT TO PROTECTIVE ORDER)
Pipeline, North Response Zone, Version 1.0,    [FILED UNDER SEAL]
dated October 2016 [excerpt]
July 25, 2016 Environmental Assessment         USACE_DAPL0071220-
[Environmental Assessment: Final Section       USACE_DAPL0071382
408 Environmental Assessment]
Compilation of internal technical comments     USACE_DAPL0072161-
from USACE ProjNet system, dated June 2,       USACE_DAPL0072270
2016 [ProjNet: Environmental Review of
DAPL Project - Comments and Resolutions]
North Dakota Missouri River Crossing Spill     USACE_DAPL0074092-
Model Discussion                               USACE_DAPL0074110
                                               (SUBJECT TO PROTECTIVE ORDER)
                                               [FILED UNDER SEAL]
[Email Attachment: North Dakota Lake Oahe      USACE_DAPL0074713-
Crossing Spill Model Discussion] dated         USACE_DAPL0074729
August 4, 2015                                 (SUBJECT TO PROTECTIVE ORDER)
                                               [FILED UNDER SEAL]


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        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 7 of 397




                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2019, I electronically filed the foregoing JOINT

APPENDIX OF REMAND ANALYSIS RECORD with the Clerk of the Court using the CM/ECF

system, which will send notification of this filing to the attorneys of record and all registered

participants.



                                               /s/ Jan E. Hasselman
                                               Jan E. Hasselman




                                                                              Earthjustice
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     Pursuant to Protective Order
      RAR000001 – RAR000140
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 9 of 397




FILED UNDER SEAL
     Pursuant to Protective Order
      RAR000141 – RAR000280
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 10 of 397


From:               Kruger, Heath Robert CIV USARMY CENWO (US)
To:                 "Rowe, Steve"
Subject:            DAPL Documents
Date:               Wednesday, August 29, 2018 1:56:00 PM




Steve,
The team is looking for a few document and we were curious if you have them handy. They are looking to add
citations in the remand document the documents requested come from the responses to comments in Tables C-1, C-
2, and C-3, and the Supplemental Information.

1.      May 2016 Lake Oahe Crossing Report (this may be the original Spill Model?)
2.      FINAL REPORT R-ETP-20160510: Dakota Access Pipeline Project Lake Oahe HDD Crossing Risk Analysis
(dated May 10, 2016).
3.      Risk Assessment (see response to comment A10).
4.      Dakota Access Pipeline Project Threat Assessment Report: Missouri River and Lake Oahe HDD River
Crossings (dated June 26, 2016)
5.      The response to comment B4 states: “A review of the site-specific data indicates that the pipeline is already
located away from a landslide threat area.” What        site specific data is referenced?


Thanks for your assistance,

Heath




                                                                                                      RAR000297
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 11 of 397


From:               Rowe, Steve
To:                 Cossette, Brent J CIV USARMY CENWO (US); BORKLAND, CARL G; Michael C Aubele
Cc:                 Shelman, Johnathan A CIV USARMY CENWO (US); Grow, Catherine E CIV USARMY CENWO (US); Casner,
                    Melanie L CIV USARMY CEHQ (US); David Debold; Fleischer, Jason J.
Subject:            [Non-DoD Source] RE: DAPL Remand - HQ Questions
Date:               Thursday, August 02, 2018 2:05:53 PM
Attachments:        Partial Question Responses 2018-08-01.docx
                    Copy of ND 33-16-02.1.pdf
                    Lake Oahe Caliper Survey Field Report.pdf
                    ND Conditioning Order-OR25417.pdf




Brent,

We are in receipt of the ten questions posed in your email below and the 11th question presented in the email
received approximately 10 minutes earlier (related to the PHMSA database).

In an effort to provide a timely turn-a-round, attached please find the responses for 6 of the 11 questions (1, 2, 3, 6, 7
and 10).   We will endeaver to have the remainder to you as soon as possible and anticipate the majority by close of
business tomorrow.

Please let us know if you have any questions on this partial submittal.

Steve


Steve Rowe
Pipeline Environmental Practice Lead
HDR
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Englewood, CO 80112
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steve rowe@hdrinc.com
hdrinc.com/follow-us



-----Original Message-----
From: Cossette, Brent J CIV USARMY CENWO (US) [mailto:Brent.J.Cossette@usace.army mil]
Sent: Wednesday, August 1, 2018 9:13 AM
To: Rowe, Steve <Steve.Rowe@hdrinc.com>; BORKLAND, CARL G
<CARL.BORKLAND@energytransfer.com>; Michael C Aubele <Michael.Aubele@energyTransfer.com>
Cc: Shelman, Johnathan A CIV USARMY CENWO (US) <Johnathan.A.Shelman@usace.army mil>; Grow,
Catherine E CIV USARMY CENWO (US) <Catherine.E.Grow@usace.army.mil>; Casner, Melanie L CIV
USARMY CEHQ (US) <Melanie.L.Casner@usace.army mil>
Subject: DAPL Remand - HQ Questions

All:

Below is a list of questions we received from our Headquarters Counsel. Please assist with responses for each item.

1. Comment A2 states that "[a]t a minimum, the lowest mean daily discharge rates for the periods of record at the
nearby gaging stations should been used in the analysis..." After responding that using the lowest mean daily
discharge rates in the calculations wouldn't impact the assessment, we state that nevertheless "based on comments
received, additional spill modeling was performed...that includes "low flow rates" for Lake Oahe. Is "low flow
rates" synonymous with "lowest mean daily discharge rates?" If the terms aren't synonymous, what is the basis for
using "low flow rates" instead of "lowest mean daily discharge?"



                                                                                                          RAR000742
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 12 of 397


2. What is the source of the conclusion to Comment A4: "Chronic toxicity levels are inappropriate for comparison
to concentrations based on an accidental one-time release of a worst-case discharge. The chronic toxicity levels are
for comparison to longer term exposures...?" The next sentence suggests these conclusions may derive from North
Dakota statutes. Please provide a citation to the North Dakota statutes that support this conclusion.

3. Please provide the title and date of the report(s) for the inspection/test referenced in response to comment A18:
"DAPL subsequently ran caliper tools over the entire length of the pipeline (post-test) to check ovality and to locate
any potential dents. DAPL had zero findings and zero repairs in North Dakota. Likewise, DAPL ran a high
resolution caliper tool on the Lake Oahe segment post pull and had zero finding."

4. Does Dakota Access, LLC agree that the study results referenced in comment D8 showing that "benzene and
toluene could be present at concentrations greater than maximum contaminant levels (5 micro-g/L for benzene and
1,000micro-g/l for toluene for drinking water) in ground water that comes into contact with fresh crude oil from the
study area" is applicable to the Oahe crossing (in the context of the region's hydrology and geology, and their
connection or proximity to downstream water intakes)? If the study results referenced in comment D8 are not
applicable to the Lake Oahe crossing and potential impacts from an operational failure, please explain what factors
set it apart from the referenced study.   

5. Is the portion of the response to comment G3 starting with "approximately 70% of the 276 incidents were
confined to operators' property..." attributable to the Stamm Declaration? We need to provide the basis for the
conclusion that incidents on the operator's property make these incidents less likely to affect people, property, or
environment because product often stays within engineered containment or its impact is limited to facility
boundaries. Even if an impact is limited to facility boundaries, couldn't it still affect people (employees, bystanders,
commuters, responders, etc.) or the environment (fumes, seepage, etc.)?

6. Response to Comment G5: was the DAPL Pipeline Surge Analysis Report prepared pre-July2016 Final EA and
FONSI or post? Is it required by PHMSA regulations or recommended by industry standards?

7. Page 31 of Document L refers to an NDIC Oil Conditioning Order issued in 2014. Is the 2014 NDIC Oil
Conditioning Order applicable to the pipeline? If it is, what can we reference to show compliance with the Order?

8. The response to comment L65 states "[t]he specific operation of the instrumentation to monitor the atmosphere
for the safety of emergency responders is defined in the responders health and safety procedures." Is the
"responders health and safety procedures" a document prepared by DAPL for responders addressing a spill/rupture
from the Lake Oahe crossing? Or is this generally referring to health and safety procedures for responders prepared
by the responders with input from Dakota Access?

9. The response to comment L66 needs to begin by explaining when vapor suppressing foam is used and in what
conditions it should be used. Then explain why it would not be appropriate in responding to a spill in Lake Oahe.
Do the industry standards for the vapor suppressing foam technique define "surface water area" as "open areas that
are well ventilated" or is this just common sense?  

10. Several responses, including the response to D7, refer to a "pseudo component approach" utilized in the
updated spill modeling. Is the "pseudo component approach" the breaking down of bulk hydrocarbon into several
groups? Please generally describe the "pseudo component approach" why Dakota Access preferred this
methodology."

Thank you,

Brent Cossette

Natural Resource Specialist
Environmental Stewardship
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                                                                                                        RAR000743
      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 13 of 397


Omaha, NE 68102
Work: 402-995-2712
Cell: 402-709-6446




                                                                 RAR000744
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 14 of 397



# 1. Comment A2 states that "[a]t a minimum, the lowest mean daily discharge rates for the periods of
record at the nearby gaging stations should been used in the analysis..." After responding that using
the lowest mean daily discharge rates in the calculations wouldn't impact the assessment, we state that
nevertheless "based on comments received, additional spill modeling was performed...that includes
"low flow rates" for Lake Oahe. Is "low flow rates" synonymous with "lowest mean daily discharge
rates?" If the terms aren't synonymous, what is the basis for using "low flow rates" instead of "lowest
mean daily discharge?"

RESPONSE:
The two quoted terms are not synonymous. The commenter’s suggestion — using the lowest mean
daily discharge rates for the period of record — means the discharge rate for the one day where the
average flow rate (the mean for that day) was the lowest among all days considered. An absolute
lowest value is not typically used for these purposes because it may be an extreme outlier.

As indicated in the RPS Report, data inputs for the modeling efforts were obtained from independent
sources with rigorous quality standards. Hydrodynamics for Lake Oahe were calculated based upon
different river flow conditions using discharge data from a USGS and USACE gaging stations (USGS,
2017a) and the USACE monthly reservoir statistics from 1967-2017 (USACE, 2017) — a 50-year period.

Typical hydrologic analysis includes using representative low, mean, or high discharge (i.e., flow)
volumes. In the Spill Model Report, the low flow condition was defined as being the 5th percentile daily
flow rate for the 50-year period of record. This provides for a statistical low flow overa wide range of
flow rates without potentially introducing extreme outliers.


U.S. Geological Survey (USGS), 2017a. Surface water data for USA: USGS Surface-Water Monthly
        Statistics for USGS 06342500 MISSOURI RIVER AT BISMARCK, ND Available:
        http://waterdata.usgs.gov/nwis/monthly?. Accessed August 2017.
U.S. Army Corps of Engineers (USACE), 2017. Northwestern Division: Monthly Project Statistics.
        Available: http://www.nwd-mr.usace.army.mil/rcc/projdata.

# 2. What is the source of the conclusion to Comment A4: "Chronic toxicity levels are inappropriate for
comparison to concentrations based on an accidental one-time release of a worst-case discharge. The
chronic toxicity levels are for comparison to longer term exposures...?" The next sentence suggests
these conclusions may derive from North Dakota statutes. Please provide a citation to the North Dakota
statutes that support this conclusion.

RESPONSE:
The North Dakota Administrative Code (Section 33-16-02.1), includes the following definition on the 2nd
page: “Chronic standard" means the four-day average concentration does not exceed the listed
concentration more than once every three years.”

Therefore, we do not believe that the 2.2 ug/l chronic level is a valid target to compare to for the
primary analysis of impacts, since it is a chronic condition target set to protect against long term
exposure. That is, under these concentrations for a long period of time, fish may suffer growth,
reproductive, or other long term consequences. While it is true based on the modeling results that a
one-time event might lead to concentrations exceeding chronic limits in the water column for a period




                                                                                          RAR000745
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 15 of 397



hours or at most days (based on the worst-case unmitigated modeling results) at one location along the
river, the concentrations would not be persistent for the “four-day average concentration [to] exceed
the listed concentration more than once every three years.”

While these concentrations would not be acceptable as part of an NPDES discharge permit for a
continuous discharge, this evaluation is focused on an unlikely one-time event, not an NPDES permit
application.

# 3. Please provide the title and date of the report(s) for the inspection/test referenced in response to
comment A18: "DAPL subsequently ran caliper tools over the entire length of the pipeline (post-test) to
check ovality and to locate any potential dents. DAPL had zero findings and zero repairs in North
Dakota. Likewise, DAPL ran a high resolution caliper tool on the Lake Oahe segment post pull and had
zero finding."

RESPONSE:
As part of the hydro test program, the construction vendor was required to conduct a water based
hydro test, and then after dewatering they were required to check pipe ovality with a caliper tool to
ensure the hydro test did not deform any of the pipe. There is not one standalone report that
summarizes the findings of these caliper tool runs. A copy of the caliper tool run report associated with
the Lake Oahe HDD is attached for your reference. As noted on the report, the test was run March 24,
2017.

For simplicity, we recommend that the response to A18 be changed to limit it to just Lake Oahe to yield
“DAPL had zero findings and zero repairs in North Dakota” as follows “DAPL had zero findings and zero
repairs related to the Lake Oahe crossing”.


# 6. Response to Comment G5: was the DAPL Pipeline Surge Analysis Report prepared pre-July2016
Final EA and FONSI or post? Is it required by PHMSA regulations or recommended by industry
standards?

RESPONSE:
Pre-July 2016 (Report dated November 3, 2015)

Although not required in 195.406(b), a surge analysis is one of the tools utilized as a best practice in
general compliance with the requirements of DOT 195.406(b) related to the maximum operating
pressure (MOP). The last paragraph of DOT 195.406(b) states that “No operator may permit the
pressure in a pipeline during surges or other variations from normal operations to exceed 110 percent of
the operating pressure limit established under paragraph (a) of this section. Each operator must provide
adequate controls and protective equipment to control the pressure within this limit”.

Surge studies can be used to determine if any valve closures can could cause excessive pressures
(greater than 110% of MOP) and to recommend what measures can could be taken to mitigate or
eliminate the excessive pressure (greater than 110% of MOP) surges. Accordingly, DAPL completed a
surge analysis over the entire pipeline system in November of 2015 and implemented the
recommendations into the design and construction of the pipeline and valve system.




                                                                                           RAR000746
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 16 of 397



# 7. Page 31 of Document L refers to an NDIC Oil Conditioning Order issued in 2014. Is the 2014 NDIC
Oil Conditioning Order applicable to the pipeline? If it is, what can we reference to show compliance
with the Order?

RESPONSE:
The 2014 NDIC Oil Conditioning Order applies to producers / production facilities. The one specific
notification requirement for operators applies to transload rail facilities. Dakota Access is a mid-stream
pipeline facility and therefore is not subject to that requirement. The requirements outlined in the
order for producers / production facilities are the responsibility of the producer for compliance before
they transfer custody to Dakota Access.

Note: For reference, the oil condition report cited above is available at this location:

https://www.dmr.nd.gov/oilgas/Approved-or25417.pdf


# 10. Several responses, including the response to D7, refer to a "pseudo component approach"
utilized in the updated spill modeling. Is the "pseudo component approach" the breaking down of bulk
hydrocarbon into several groups? Please generally describe the "pseudo component approach" why
Dakota Access preferred this methodology."

RESPONSE:
RPS utilized a pseudo component approach where the bulk hydrocarbon was broken into several groups
and effects were determined based upon the chemical composition of the Bakken crude in its entirety
(RPS Spill Model Report, 2018, Section 4.3). The pseudo-component approach is a practical means to
answer specific fate and transport questions. Under this approach, chemicals in the oil mixture are
grouped by physical-chemical properties, and the resulting component category behaves as if it were a
single chemical with characteristics typical of the chemical group. Therefore, the fate of any particular
chemical can be estimated without introducing an inordinate number of variables (and time) to the
analysis.

The individual component modeling would not have added sufficient value relative to the protection of
drinking water intakes. Since little to no DHC is predicted is to be present in the water the column at the
level of the drinking water intakes, it can be concluded that no water quality thresholds would be
expected to be exceeded.

MORE INFORMATION:

As determined in the modeling results, even at the location of the off-line Fort Yates intake (26.8 miles
downstream), the maximum concentration of dissolved hydrocarbons (DHC) is predicted to be only 145
µg/L in the top 5 m (0 to 16.4 ft) of the water column, only 74 µg/L at 5 - 10 m (or 16.4 to 32.8 ft) of
depth below the surface, and 0 µg/L between a depth of 10 m (32.8 ft) and the bottom of the river
where the drinking water intake was located. The more water soluble hydrocarbon components of
crude oil are the BTEX compounds (benzene, toluene, ethylbenzene, and xylenes). Benzene has the
lowest concentration criteria of the four BTEX class categories in the ND state statutes. To reach a 5 μg/L
regulatory threshold for benzene would require a DHC concentration of 22.5 μg/L.




                                                                                            RAR000747
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 17 of 397




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      Pursuant to Protective Order
       RAR000899 – RAR000986
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 18 of 397




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CECC-ZA                                                                               DATE, 2018

MEMORANDUM THRU Deputy Commanding General for Civil Works and Emergency Operations, U.S.
Army Corps of Engineers

FOR Assistant Secretary of the Army for Civil Works

SUBJECT: Technical Analysis of Remand Items Regarding DAPL Crossing at Lake Oahe, North Dakota



1. The purpose of this memorandum and its enclosures is to provide information to the Department of the
Army documenting and summarizing the actions the U.S. Army Corps of Engineers (USACE) has taken
(including the results of those actions) in response to the ruling by the United States District Court for the
District of Columbia, dated June 14, 2017, in Standing Rock Sioux Tribe, et al v. United States Army
Corps of Engineers, et al, Civil Action No. 16-1534. In its June 14 Memorandum Opinion, the Court
required the USACE to reconsider, on remand, specified sections of its environmental analysis regarding
approvals for the Dakota Access Pipeline Project. In particular, “[a]lthough the USACE substantially
complied with NEPA in many areas,” the Court agreed “that it did not adequately consider the impacts of
an oil spill on fishing rights, hunting rights, or environmental justice, or the degree to which the pipeline’s
effects are likely to be highly controversial.” Opinion at 2.

2. As is demonstrated within the information contained herein, the USACE has performed additional
analysis relative to the three topics specified in the Court’s opinion:

    •   The impacts of an oil spill on fishing and hunting rights;
    •   The environmental justice (EJ) implications of the project; and
    •   The degree to which the pipeline’s effects are likely to be highly controversial.

Applying the applicable law under NEPA, including the requirement of a “hard look” at potential
environmental impacts implicated by these three topics, the USACE has identified no new information
indicating that actions by the Department of the Army with respect to the Dakota Access Pipeline (DAPL)
Project will affect the quality of the human environment to a significant extent not already considered.
Therefore, decisions made by the USACE not to complete an Environmental Impact Statement (EIS)
were in accordance with the law and neither arbitrary nor capricious.

3. If you have any questions about this memorandum or the enclosure, please contact me at XXXXXX or
XXXX at 412-XXXX or XXXXXXX@usace.army.mil.




                                           XXXXX

Encl




Draft: July 31, 2018




                                                                                                                  RAR000990
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 19 of 397




                           PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




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                                       i
Draft: July 31, 2018




                                                                                  RAR000991
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 20 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE



Executive Summary
The Dakota Access Pipeline (DAPL) is approximately 1,168 miles and connects the Bakken and Three
Forks oil production region in North Dakota to an existing crude oil market hub near Patoka, Illinois. The
portion of DAPL which crosses Lake Oahe at the border between Morton and Emmons Counties in North
Dakota, (0.55 miles north of the northern boundary of the Standing Rock Sioux Tribe’s [SRST]
Reservation) including areas of potential effects is the focus of this remand package. Accordingly, the
responses within this document are specific to the DAPL segment associated with the Lake Oahe
crossing, including areas of potential effects, unless otherwise noted. The Lake Oahe segment was
completed in Spring 2017, and is defined as the length of the pipeline, installed using the horizontal
directional drilling (HDD) technique a minimum of 28 meters (m) (92 feet [ft]) below the bed of Lake Oahe
and on adjacent federal property over which the USACE has regulatory authority.

On July 25, 2016, an Environmental Assessment (EA) was finalized and published by the U.S. Army
Corps of Engineers (USACE) for the portion of the pipeline that crosses Lake Oahe. On June 14, 2017,
the United States District Court for the District of Columbia ruled in Standing Rock Sioux Tribe, et al v.
United States Army Corps of Engineers, et al, Civil Action No. 16-1534 that the USACE reconsider, on
remand, specified sections of its environmental analysis regarding approvals for the Dakota Access
Pipeline Project.

This remand package details the additional in-depth review and analysis performed by the USACE in
response to the three items addressed in the Court’s Memorandum Opinion. The three items are detailed
below. Due to the amount of information prepared and analyzed for each of these items, additional
information is provided as referenced reports or within the Appendices.

A. The impacts of an oil spill on fishing and hunting rights
The RPS Spill Model Report details the results of the model and analysis of oil spill trajectory, fate, and
effects of a 10-day unmitigated oil spill to support evaluation of ecological and human health risks
resulting from hypothetical releases of crude oil into Lake Oahe from the Dakota Access Pipeline.

Hypothetical releases of oil from DAPL were modeled at two locations along the Lake Oahe segment.
The first location was a hypothetical pipeline at the sediment/ water interface that conservatively
estimates a release into Lake Oahe as the actual pipeline was installed a minimum of 28 m (92 ft) below
the lake. The second location was the ND-380 valve site on land adjacent to the west side of the lake.
Two high release volumes were modeled at each of the above locations. One volume represents the full
bore rupture (“FBR”) release volumes accepted by the Pipeline and Hazardous Materials Safety
Administration (PHMSA) as credible “worst-case” scenarios and the other volume represents the “majority
of spills” or the 90th percentile discharge volume of case studies documented in the 2017 PHMSA
database.

Using the results of the Spill Model Report, the Downstream Receptor Report analyzed the impacts of an
oil spill on key ecological receptors (terrestrial, aquatic, semi-aquatic wildlife, and human receptors). The
USACE utilized these two reports to determine the incident frequency and potential magnitude of a
release; the fate and transport of an inadvertent release into Lake Oahe; potential impacts to the fishing
and hunting resources in and adjacent to Lake Oahe and their duration; and measures in place to
mitigate potential impacts.

A large oil spill into Lake Oahe would likely cause a localized fish kill with very limited impacts to the
immediate area surrounding the site of the spill. Concentrations of crude oil in the water could result in
impacts to aquatic invertebrates utilized as a food source by the local fishery. However, even under the
worst-case scenarios, impacts to benthic macroinvertebrates and fish species would be of limited scale


                                                      ii
Draft: July 31, 2018




                                                                                                                RAR000992
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 21 of 397




                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


and of temporary duration and therefore impacts to fishing in the area would also be limited. None of the
model scenarios showed a lake area greater than 0.1 km2 above the biological threshold of 10 μm for
surface oil thickness for potential impacts to wildlife. Additionally, this surface oil impact is predicted to be
of short duration at any one location. Time series modeling results show that the 50 μg/L biological
threshold for aquatic species in the water column is only exceeded for a number of hours (not days) and
only within specific zones within the water column, further limiting the area of potential mortality.

Although a release of crude oil into Lake Oahe during operations could have an adverse effect on game
fish species, adherence to the cleanup procedures and remediation activities described in the Lake Oahe
Geographical Response Plan (GRP) would reduce impacts on game fish species should a spill occur
during operation of the pipeline.

The potential impact to upland hunting along the shore of Lake Oahe is very low. Although some deer or
other wildlife species could ingest oil impacted water or eat contaminated vegetation following a spill, the
concentration of contaminants would likely not be above acutely toxic thresholds and would not persist
long enough to result in a chronic health issue. Furthermore, Lake Oahe is not the only source of fresh
water for upland game species. If the western shore of Lake Oahe were to become impacted by an
inadvertent release of oil, it is likely that many terrestrial vertebrates would be able to utilize alternative
sources of freshwater.

Additionally, in the event of a crude oil release that results in damages to game species or hunting/fishing
activities, Dakota Access would help restore, replace, or acquire the equivalent natural resources in
accordance with OPA 90. (the Oil Pollution Act of 1990). Under OPA 90, the owner or operator is liable
for the costs associated with the containment, cleanup, and damages resulting from a spill. Dakota
Access maintains financial responsibility for the duration of the response actions. If the responsible party
cannot pay, funds from the Oil Spill Liability Trust Fund are used to cover the cost of removal or
damages.

B. The environmental justice (EJ) implications of the project

Although Dakota Access is required by PHMSA to initiate response to a release within six hours,
environmental justice implications were also based on the spill model’s use of an unmitigated release to
represent the worst-case scenario. Utilizing worst-case scenario spill models, it was determined that an
unmitigated release had a 10% chance of traveling 65 miles in 10 days. This would still put the spill
footprint 75.4 miles upstream of the SRST Replacement Intake and 150 miles upstream of the CRST
intake. Even if a release was allowed to go unmitigated and travel over 75 miles downstream to reach the
SRST Replacement Intake, the river water is not anticipated to exceed regulatory thresholds at the depth
of the intake location. In addition, the estimated minimum travel time to reach the non-tribalTribal SCRWD
intake for an unmitigated spill at the Lake Oahe crossing is approximately 13-14 hours. Under either a
mitigated or unmitigated release, in the unlikely event of a spill sufficient to reach water intakes the non-
tribalTribal SCRWD intake would be impacted first.

DAPL was routed to be co-located with other existing utilities to the greatest extent practicable in order to
minimize the impacts on environmental resources (i.e., Lake Oahe and associated lands on the east and
west banks), avoid the creation of a new right- of-way (ROW) through the affected communities, and
reduce impacts on current land uses. In addition, the routing location was chosen to minimize impacts to
EJ communities as there are no census block groups crossed by DAPL where either the poverty level is
greater than 20% or the minority population exceeds 50%. Furthermore, the construction of DAPL had the
potential to generate economic benefits to the broader local community as construction workers typically




                                                        iii
Draft: July 31, 2018




                                                                                                                    RAR000993
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 22 of 397




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utilize local gas stations, convenience stores, and restaurants in the general vicinity of the construction
area.

Although a hypothetical release from DAPL would impact EJ communities downstream of the Lake Oahe
crossing, this impact is not meaningfully disproportionate as the crossing has the potential to impact both
EJ and non-EJ communities. There are five EJ census block groups and two non-EJ census block groups
on the west side of the Lake Oahe project centerline and nine non-EJ census block groups on the east
side of the Lake Oahe project centerline. (See Figures B-1 and B-2).

C. The degree to which the pipeline’s effects are likely to be highly controversial

The USACE performed a factual and technical analysis on 18 documents submitted by the tribes,
identified any pertinent concerns or issues caused by the DAPL crossing at Lake Oahe, and generated
applicable responses to each of those concerns or issues not previously addressed in the final EA.
The 18 documents contained opposing viewpoints and relevant issues of concern regarding the
construction, operation, pre-operational integrity threat / risk analysis, risk mitigation systems, and the
impact of a potential spill on downstream receptors from the pipeline, among others. The issues raised
within each of the documents were presented as comment excerpts from which responses were
developed to address the various viewpoints and relevant issues. When issues were presented that had
been addressed in the EA, the original EA page numbers were provided for reference, and in some
cases, additional clarification was provided. After detailed analysis of the comments, and for the reasons
set out at length in the Appendices, it was determined that all issues of concern have been adequately
addressed, that the remaining disputes are no more than disagreements of qualified experts over the
reasoned conclusions to be drawn from available data, and that the potential effects of the project do not
rise to the level of highly controversial.


Applying the applicable law under NEPA, the USACE has completed the required “hard look” at potential
environmental impacts of the DAPL Lake Oahe crossing. The USACE has reconsidered the relevant
portions of the final EA, reviewed and significantly discussed the relevant issues and opposing viewpoints,
and conducted significant factual and technical analysis of spill model results, downstream receptor
impacts, and impacts to EJ. The USACE has identified no new information indicating that actions by the
Department of the Army with respect to the Dakota Access Pipeline (DAPL) Project will affect the
environment to a significant extent not already considered. The USACE has determined that the risk of a
release from DAPL that significantly impacts Lake Oahe is low. The USACE believes its decision to be fully
informed and well-considered in concluding that the DAPL Lake OhaeOahe crossing is not expected to
have significant direct, indirect, or cumulative impacts on the environment. Therefore, decisions made by
the USACE not to complete an Environmental Impact Statement (EIS) were in accordance with the law and
neither arbitrary nor capricious.




                                                      iv
Draft: July 31, 2018




                                                                                                              RAR000994
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 23 of 397




                           PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




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                                       v
Draft: July 31, 2018




                                                                                  RAR000995
                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 24 of 397




                                                PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE



How to Use this Document
The Remand Package consists of the additional analysis and review, including supporting documentation,
tables, and figures, of three specific items requested in the June 14, 2017 Memorandum Opinion. These
items are: A) The impacts of an oil spill on fishing and hunting rights; B) The environmental justice (EJ)
implications of the project; and C) The degree to which the pipeline’s effects are likely to be highly
controversial. Due to the amount of information prepared and analyzed for each of these items,
additional information is provided as supporting reports or within the Appendices (A-C). Below are the
components of the Remand Package (each described for ease of navigating the document).

To facilitate review of this Remand Package, we recommend that the reader print out the components of
the entire Technical Analysis of Remand Items listed below. XXXXXXXX.

Technical Analysis of Remand Items and Appendices

     •    Introduction and Background of the pipeline project, location, timeline of events, responsible
          parties.

     •    Remand Item A: Discussion of impacts of an oil spill on fishing and hunting rights in text format.
          The discussion is primarily a summary of detailed information from the supporting reports: Spill
          Model Report and the Downstream Receptor Report.
              •    Figures A-1 through A-6 [Appendix A]

     •    Remand Item B: Environmental Justice (EJ) implications of the project.
             •      Figures B-1 and B-2A through B-2E4 [Appendix B]

     •    Remand Item C: The degree to which the pipeline’s effects are likely to be highly controversial
          (Supporting documents are located in Appendix C).
              •     Table C-1: An index of technical documents received from Tribal representatives,
                    plaintiff attorneys and technical specialists.
              •     Table C-2: A summary of concerns collectively identified from documents.
              •     Table C-3 [Appendix C]: Comment excerpts and responses related to documents [A, B,
                    C, D, J, 5 and 6**] received prior to the issuance of the easement on February 8, 2017.
              •     Table C-4 [Appendix C]: Comment excerpts and responses related to documents [E, F,
                    G, H and I**] received after February 8, 2017 that were not available prior to the issuance
                    of the easement.
              •     Table C-5 [Appendix C]: Comment excerpts and responses related to documents [K, L,
                    M and N**] received in 2018.
              •     Supplemental Information [Appendix C]: Select responses that require additional details
                    or context not able to fit into Tables C-3 and C-4.
                       Figures A15(a) through A15(d), and C9(a) through C9(d) [Appendix C]: Associated
                           figures to the Supplemental Information.
     •    Overall Conclusions

** - Note that the apparent non-sequential listing of letter or number identifiers is due in part to the timing of the receipt of documents
and the USACE coordination with Dakota Access related to supplemental information requests (reference the USACE information
request letter dated August 24, 2017 to Dakota Access, LLC). See footnote to Table C-1 for a more complete explanation.

Supporting Reports (submitted separately)
   • Spill Model Report: Oil spill modeling and analysis of oil spill trajectory, fate, and effects to
      support evaluation of ecological and human health risks resulting from hypothetical releases of
      crude oil into Lake Oahe from the Dakota Access Pipeline.



                                                                    vi
Draft: July 31, 2018




                                                                                                                                              RAR000996
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 25 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE



    •   Downstream Receptor Report: In-depth literature and case study review as well as spill model
        analysis of hydrocarbon impacts on key ecological receptors (terrestrial, aquatic, semi-aquatic
        wildlife, and human receptors).




                                                    vii
Draft: July 31, 2018




                                                                                                          RAR000997
                        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 26 of 397




                                                           PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


Table of Contents


Executive Summary .................................................................................................................... ii
How to Use this Document ........................................................................................................ vi
List of Acronyms ........................................................................................................................ ix
Technical Analysis of Remand Items ........................................................................................ xii
I.         Introduction and Background ............................................................................................... 1
II.        Analysis of Remand Items ................................................................................................... 3
      A.      Impacts on Fishing and Hunting Rights ............................................................................................ 5
           1. Likelihood of Occurrence and Spill Magnitude................................................................................ 5
           2. Fate and Transport of an Inadvertent Release of Oil into Lake Oahe ............................................. 8
           3. Potential damages to the fishery and game resources ................................................................. 12
           4. Measures in place to mitigate potential impacts .......................................................................... 18
      B.      Environmental Justice ..................................................................................................................... 21
           1. EJ Methodology ............................................................................................................................. 22
           2. EJ Results ....................................................................................................................................... 23
           3. Review of Alternative Environmental Justice Analysis (Saha and Mohai, 2018)........................... 35
      C.      Highly Controversial Considerations .............................................................................................. 55
III. Conclusion ........................................................................................................................ 61
Spill Model Report .................................................................................................................... 64
Downstream Receptor Report .................................................................................................. 65


Appendices
       A. Remand Item A Figures
       B. Remand Item B Figures
       C. Remand Item C Tables, Figures and Supplemental Information




                                                                                 viii
Draft: July 31, 2018




                                                                                                                                                                      RAR000998
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 27 of 397




                                   PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE



List of Acronyms
 ASME                  American Society of Mechanical Engineers

 bbls                  Barrels

 BO                    Biological Opinion

                       U.S. National Centers for Environmental Prediction Climate Forecast System
 CFSR
                       Reanalysis

 CPM                   Computational Pipeline Monitoring

 CRST                  Cheyenne River Sioux Tribe

 DAPL                  Dakota Access Pipeline

 DHC                   Dissolved Hydrocarbon Concentrations

 EA                    Environmental Assessment

 ECD                   Erosion Control Devices

 EFRD                  Emergency Flow Restricting Device

 EIV                   Emergency Isolation Valve

 EJ                    Environmental Justice

 ERDC                  U.S. Army Engineer Research and Development Center

 FBR                   Full Bore Rupture

 fmsl                  Feet Above Mean Sea Level

 FONSI                 Finding of No Significant Impact

 ft                    Foot

 GRP                   Geographical Response Plan

 HCA                   High Consequence Area

 HDD                   Horizontal Directional Drilling

 HR                    High Resolution

 ILI                   In-line Inspection

 ITP                   Inspection and Test Plans

 km                    Kilometer

 m                     Meter




                                                  ix
Draft: July 31, 2018




                                                                                                    RAR000999
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 28 of 397




                                 PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


 MFL                   Magnetic Flux Leakage

 MOP                   Maximum Operating Pressure

 NAPL                  Non-Aqueous Phase Liquid

 NCE                   New Century Environmental, LLC

 NDT                   Non-Destructive Testing

 NEPA                  National Environmental Policy Act

 NHPA                  National Historic Preservation Act

 NRDA                  Natural Resource Damage Assessment

 NWIS                  National Water Information System

 NWP                   Nationwide Permit

 OEM                   Original Equipment Manufacturer

 OILMAPLand            Two-dimensional overland and downstream trajectory and fate model

 OPA 90                Oil Pollution Act of 1990

 OST                   Oglala Sioux Tribe

 PAHs                  Polycyclic Aromatic Hydrocarbons

 PD                    Percent Discharge (volume)

 PHMSA                 Pipeline and Hazardous Materials Safety Administration

 PLC                   Programmable Logic Controller

 RAD                   Risk Algorithm Document

 ROW                   Right-of-Way

 SCADA                 Supervisory Control and Data Acquisition System

 SCRWD                 South Central Regional Water District

 Section 106           Section 106 of the National Historic Preservation Act of 1966

                       Section 14 of the Rivers and Harbors Act of 1899, as amended, and codified
 Section 408
                       in 33 USC §408

                       Spill Impact Model Analysis Package: three-dimensional in-water oil
 SIMAP
                       trajectory, fate, and biological effects model

 SME                   Subject Matter Experts




                                                   x
Draft: July 31, 2018




                                                                                                    RAR001000
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 29 of 397




                                PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


 SRST                  Standing Rock Sioux Tribe

 SRV                   Surge Relief Valve

 THC                   Total Hydrocarbon Concentrations

 µg                    Microgram

 USA                   Unusually Sensitive Area

 USACE                 U.S. Army Corps of Engineers

 WT                    Wall Thickness

 YST                   Yankton Sioux Tribe




                                                  xi
Draft: July 31, 2018




                                                                                       RAR001001
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 30 of 397




                               PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                       Technical Analysis of Remand Items




                                          xii
Draft: July 31, 2018




                                                                                      RAR001002
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 31 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




I.       Introduction and Background
The approximately 1,168-mile Dakota Access Pipeline (DAPL) connects the Bakken and Three Forks oil
production region in North Dakota to an existing crude oil market hub near Patoka, Illinois. The pipeline
crosses three U.S. Army Corps of Engineers (USACE) Districts: Omaha, Rock Island and St. Louis.

The area of primary concern for present purposes is the Lake Oahe crossing at the border between
Morton and Emmons Counties in North Dakota, which is 0.55 miles north of the northern boundary of the
Standing Rock Sioux Tribe’s (SRST) Reservation (Figure A-1, Appendix A). Accordingly, the responses
within this document are specific to the DAPL segment associated with the Lake Oahe crossing, including
areas of potential effects, unless otherwise noted. The Lake Oahe segment was completed in Spring
2017, and is defined as the length of the pipeline, installed using the horizontal directional drilling (HDD)
technique a minimum of 28 meters (m) (92 feet [ft]) below the bed of Lake Oahe and on adjacent federal
property over which the USACE has regulatory authority.

The USACE had three actions on the application submitted by Dakota Access, LLC (Dakota Access):

     •   First, the USACE issued the permissions required by Section 14 of the Rivers and Harbors Act of
         1899 (RHA), 33 U.S.C. § 408 (Section 408), to allow Dakota Access to lay the pipeline at seven
         locations on real property interests acquired by the USACE for navigation or flood control
         projects, including a flowage easement north of Lake Sakakawea and Lake Oahe Project lands in
         North Dakota. However, before the USACE could grant the Section 408 permissions, it first had
         to determine that the pipeline would not be injurious to the public interest and would not impair
         the usefulness of the Lake Sakakawea and Lake Oahe Projects.
     •   Second, the USACE verified activities at more than 200 locations along the DAPL route as
         consistent with Nationwide Permit (NWP) 12 under the Clean Water Act, 33 U.S.C. § 1344, and
         Section 10 of the RHA, 33 U.S.C. § 403.
     •   Finally, the USACE executed a real estate easement authorized by the Mineral Leasing Act, 30
         U.S.C. § 185 to lay the pipeline on Lake Oahe Project land, and a consent to cross the flowage
         easement at Lake Sakakawea. The USACE could not verify the NWP 12 permits at crossings
         subject to Section 408, or issue the referenced real estate outgrants until the Section 408
         determinations were made.

The Section 408 determination was subject to the National Environmental Policy Act (NEPA), and the
Omaha District published a draft Environmental Assessment (EA) for public comment on December 8,
2015. See 40 C.F.R. § 1508.9 (defining EAs). After reviewing the comments received, the USACE
published the final EA and a Finding of No Significant Impact (FONSI) for the crossing on July 25, 2016.
See 40 C.F.R. § 1508.13 (defining FONSIs).

SRST initiated litigation in the U.S. District Court for the District of Columbia (Court) on July 27, 2016,
seeking a preliminary injunction to suspend, among other things, the USACE’s verifications that water
crossings associated with the pipeline met the terms and conditions of NWP 12. SRST’s injunction
request focused on alleged failures by the USACE to consult under Section 106 of the National Historic
Preservation Act (NHPA), 54 U.S.C. § 306108. The Court denied SRST’s request for a preliminary
injunction on September 9, 2016. SRST appealed that decision to the U.S. Circuit Court of Appeals for
the District of Columbia Circuit and the appeal was ultimately dismissed.

On January 24, 2017, the President of the United States issued a Construction of the Dakota Access
Pipeline, Memorandum for the Secretary of the Army to review and approve requests to construct and
operate the pipeline “to the extent permitted by law and as warranted, and with such conditions as are


                                                      1
Draft: July 31, 2018




                                                                                                                RAR001003
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 32 of 397




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necessary or appropriate.” The USACE issued Dakota Access an easement for the Lake Oahe crossing
on February 8, 2017. The SRST and Cheyenne River Sioux Tribe (CRST) filed motions for summary
judgment in the U.S. District Court (July 2016). The Lake Oahe segment was completed and began
operating on June 1, 2017. In the June 14, 2017 Memorandum Opinion addressing the summary
judgment motions, Standing Rock Sioux Tribe v U.S. Army Corps of Engineers, 255 F.Supp.3d 101
(Memorandum Opinion), the Court determined that the USACE needed to further consider the following
three items:

    A. The impacts of an oil spill on fishing and hunting rights;

    B. The environmental justice (EJ) implications of the project; and

    C. The degree to which the pipeline’s effects are likely to be highly controversial.

As a result, the USACE reconsidered the relevant portions of its EA, and the following sections of this
document address these three items. Due to the amount of information prepared and analyzed for each
of these items, additional information is provided as referenced reports or within the Appendices.




                                                    2
Draft: July 31, 2018




                                                                                                          RAR001004
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 33 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




II.     Analysis of Remand Items
Per the June 14, 2017, United States District Court for the District of Columbia ruling in Standing Rock
Sioux Tribe, et al v. United States Army Corps of Engineers, et al, Civil Action No. 16-1534, the USACE
has reconsidered, on remand, specified sections of its final EA, reviewed and significantly discussed the
relevant issues and opposing viewpoints, and conducted significant factual and technical analysis of spill
model results, downstream receptor impacts, and impacts to EJ.

This remand package details the additional in-depth review and analysis performed by the USACE in
response to the three items addressed in the Court’s Memorandum Opinion. The three items are detailed
below. Due to the amount of information prepared and analyzed for each of these items, additional
information is provided as referenced supporting reports or within the Appendices (A-C).




                                                     3
Draft: July 31, 2018




                                                                                                             RAR001005
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 34 of 397




                          PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




     Remand Item A: Impacts on Fishing and Hunting Rights




                                     4
Draft: July 31, 2018




                                                                                 RAR001006
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 35 of 397




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A. Impacts on Fishing and Hunting Rights

As noted on page 134 of the Memorandum Opinion, the Court required further consideration of the
evaluation of the impacts of an oil spill on fishing and hunting resources. The Court referenced fishing and
hunting related concerns expressed by the SRST after the publication of the July 2016 Final EA.
Correspondence was received from the SRST, the CRST, the Oglala Sioux Tribe (OST), and the Yankton
Sioux Tribe (YST) during February through April 2018 regarding Tribal practices, biological surveys,
emergency response coordination, and other issues. Background information on biological resources,
cultural practices or other pertinent information were considered in the USACE analysis of impacts to
hunting and fishing and detailed further in the “Review of Environmental Effects of Oil Releases on
Downstream Receptors, Dakota Access Pipeline Project, Lake Oahe, North Dakota (HDR, 2018),
henceforth referred to in this document as the “Downstream Receptor Report”.

In order to provide a more comprehensive evaluation of the impacts of an inadvertent release on fishing
and hunting resources, the USACE considered the following:

    1. The likelihood of the occurrence of a spill and potential magnitude of a release.
    2. The “fate” and transport of an inadvertent release of oil into Lake Oahe.
    3. Potential damages to the fishery and game resources in and adjacent to Lake Oahe and their
       duration (permanent or temporary).
    4. Measures in place to mitigate potential impacts. These include both measures to avoid and
       mitigate the impacts of a spill, mechanisms for restoration and compensation for damages.

1. Likelihood of Occurrence and Spill Magnitude

As stated in the July 2016 EA, given the engineering design and proposed installation methodology, the
risk of a release from DAPL that could significantly impact Lake Oahe and the surrounding area is low. In
order to determine the likelihood of a release during DAPL operations, the USACE analyzed the
frequency of an incident occurring (incident frequency) using publicly available historical data (PHMSA,
2017)1. The calculated incident frequency for “onshore pipeline, including valve sites” is 0.00079
incident/mile-year based on an analysis of the active 2004 to 2016 database maintained by the Pipeline
and Hazardous Materials Safety Administration2 (PHMSA, 2017). This equates to the equivalent of one
spill every 1,280 years for any one-mile segment.3

It should be noted that the calculated incident frequency referenced above includes releases from older
pipelines that were not built according to current PHMSA requirements or industry standards. New
pipelines benefit from improvements in design, construction, operation, and inspection. Therefore, the
actual number of incidents per mile for new pipelines constructed to current requirements and standards
is anticipated to be substantially lower than predicted values that are based on a history of releases for all
pipelines, regardless of their age.

Additionally, based upon a review of the PHMSA Reportable Incident Data for Hazardous Liquid and Gas
Transmission Pipelines (2010-Present), the likelihood of a failure at an HDD crossing—the type used
here—is extremely low. Of the 3,838 reportable incidents that occurred over the past 7.5 years, only 3

1 PHMSA, 2017. Pipeline and Hazardous Materials Safety Administration Pipeline Incident Statistics.
http://www.phmsa.dot.gov/pipeline/library/data-stats/pipelineincidenttrends. Accessed July 2017.
2 In 2002, PHMSA instituted a 5-gallon spill reporting limit. Prior to this change, only spills over 2,100 gallons or 50
bbls were reported. The annual report data for hazardous liquids maintained by PHMSA is for 2004 through 2016.
3 Incidents that occurred along DAPL and connecting pipelines during startup and initial operation of the pipeline do

not materially change the likelihood of an incident along a given one-mile segment of the pipeline.


                                                            5
Draft: July 31, 2018




                                                                                                                           RAR001007
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 36 of 397




                                          PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


involved an HDD crossing (0.08%). One was due to internal corrosion of a natural gas pipeline installed in
1957. One was due to an exposed natural gas pipeline. One resulted in a 1.7 bbl release with subsequent
0.9 bbl recovery.

Examination of the PHMSA annual report for hazardous liquids dataset for “onshore pipeline, including
valve sites” from 2010 to present shows that the extent of a release for the majority of actual pipeline
spills is also relatively small (PHMSA, 2017). For pipelines with a diameter of 16 inches or greater, the
volume released in 50% of the spills was less than 4 barrels (bbls). Seventy five percent of these spills
were below 75 bbls; ninety percent of the spills were below 3,000 bbls; and 95% were below 7,600 bbls.
These data demonstrate that most pipeline spills are small and releases of 10,000 bbls or more
(considered large spills according to PHMSA) are extremely uncommon (PHMSA, 2017).

Although the risk of a significant release at Lake Oahe is extremely low, in response to Remand Item A,
the USACE performed further evaluation of the effects of an inadvertent release to Lake Oahe hunting
and fishing resources. The USACE submitted an information request letter, dated August 24, 2017, to
Dakota Access requesting, among other things, an analysis of the impact of various spill scenarios at the
Lake Oahe DAPL crossing, and asked for the analysis to include both the worst-case scenario and a
scenario that more closely correlates with the “majority of spills seen in actual releases”.

To address the requests in the USACE letter, additional computational modeling of the Lake Oahe
crossing was performed that evaluated hypothetical unmitigated scenarios and the potential fate and
transport of crude oil in Lake Oahe in the event of a release. This report, “Evaluation of Hydrocarbon
Releases into Lake Oahe using OILMAPLand and SIMAP Trajectory, Fate, and Effects Modeling for the
Dakota Access Pipeline. RPS 2018” is hereafter referred to as the “Spill Model Report”. In the Spill Model
Report, releases of oil were modeled at the following two locations along the Lake Oahe segment (Figure
A-1, Appendix A):

    i.   The first inadvertent release modeled was a hypothetical, full bore rupture (FBR) of a pipeline at
         the interface of lake-bed sediment and lake water at the center of the Lake Oahe crossing4. A
         hypothetical release at the sediment / water interface provides a conservative estimate of the
         effects of an actual release and maximizes the speed and total volume of oil entering the water
         column.

    ii. The second release modeled was a hypothetical FBR at the ND-380 valve site located on land,
        adjacent to the west side of the lake. The valve site was selected to represent a FBR on the
        above-ground portion of the pipeline.

Two high release volumes were modeled at each of the above locations in the Spill Model Report:

    i.   For the release at the bottom of the Lake Oahe crossing, a FBR volume of 12,517 bbls were used
         as the worst-case scenario release volume calculated in accordance with 49 CFR § 194.105
         guidance. This is the estimated volume of oil that could leave the pipeline under pressure before




4It is impractical to model an actual release from the rupture of the pipeline as it was installed because the oil would
have to rise vertically through the low permeability alluvium and glacial deposits, as well as the low permeability
sediments that have accumulated at the bottom of the lake, before reaching the sediment / water interface.


                                                            6
Draft: July 31, 2018




                                                                                                                           RAR001008
                Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 37 of 397




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           the pumps are shut down, plus the volume of oil remaining in the pipeline between the next
           nearest valves5. The volume was calculated based on the as-built conditions.

           A second volume of 2,934 bbls were used at the Lake Oahe crossing to represent the “majority of
           spills” based on a review of the PHMSA dataset for “onshore pipeline, including valve sites” from
           2010 to present (PHMSA, 2017). This volume was selected as a conservative “majority of spills”
           as it represents a spill volume that is greater than 90% of actual releases from pipelines 16-inch
           or greater. As already noted, the model does not account for the 28 m (92 feet) or more of low
           permeability alluvium and glacial deposits separating the pipeline as-built from the lake bed.

    ii. For the valve site, 5,519 bbls were used as the FBR volume as this was the hypothetical worst-
        case release from this location calculated in accordance with 49 CFR § 194.105 guidance.

           The 90 PD volume of 2,934 barrels was used to represent the “majority of spills” at the valve site.

Downstream and near-upstream water intakes for drinking water and local agricultural use were
considered to be potentially impacted by a spill from the modeled release locations. The study area for
the 10-day unmitigated plume modeling was determined from the initial model results. The study area
included approximately 88 river miles extending upstream and downstream of the hypothetical modeled
release locations as indicated in Figure A-1, Appendix A. Intakes 1 and 2 are located upstream of the
DAPL crossing location while the other intake locations indicated in Table A-1 are all downstream of the
DAPL crossing location. Based on the model results, the footprints for potential surface oil exceeding a
threshold thickness had a maximum predicted upstream extent due to wind conditions of approximately
3.7 miles and downstream extent of approximately 65.2 miles – all within the predicted study boundary.

Table A-1. Lake Oahe Water Intakes

                                                                                 Distance Downstream from
     Water                                                                           Crossing Location
                                      Description / Owner
   Intake§§†
                                                                                    Miles        Kilometers
       1         Upstream Intake*                                                   3.62             5.83
       2         Upstream Intake*                                                   2.21            3.56
       3         Local Agricultural Intake†                                         4.44            7.15
       4         Tribal Agricultural Intake†                                         8.08           13.00
       5         South Central Regional Water District Intake† (non-Tribal)†        11.32           18.22
       6         Unspecified Intake                                                 24.11           38.80
       7         Fort Yates Municipal Drinking Water Intake                         26.78           43.10
       8         Unspecified Intake                                                 27.87           44.85
       9         Tribal Farms Agricultural Intake                                   29.34           47.22
      10         Unspecified Intake                                                 37.47           60.30
      11         Unspecified Intake                                                 38.67           62.23
      12         Unspecified Intake                                                 43.02           69.23
      13         Unspecified Intake                                                 47.05           75.72
      NL¥        City of Mobridge Municipal Drinking Water Intake (non-Tribal)      71.5            115.1
                 Standing Rock Sioux Tribe Replacement Drinking Water
      14¥                                                                           75.41           121.36
                 Intake


5
  The methodology for this calculation is described in the “Dakota Access Pipeline Project, North Dakota, Lake Oahe
Crossing Spill Model Discussion, Document No.: DAPL-WGM-GN000-PPL-STY-0019, Wood Group Mustang Project
No.: 10395700. May 2016”.


                                                          7
Draft: July 31, 2018




                                                                                                                      RAR001009
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 38 of 397




                                          PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


      15NL¥       Cheyenne River Sioux Tribal Intake                                        156             251.06
* Upstream intakes were added to account for the potential upstream transport of surface oil by wind.
† List of intakes may not include all agricultural intakes, but represents the distribution of intakes along the Missouri

River within the model domain.
§ Although all known drinking water intakes within the model domain are represented in the analysis, it is recognized

that additional agricultural / other purpose intakes may be present. What was modeled was a representative sample
with a large geographic spread to represent the distribution of intakes along the Missouri River within the model
domain. Note that the operation of some intakes may depend on the season.
¥ Note that the City of Mobridge, the Standing Rock Sioux Tribe Replacement Drinking Water Intake (#14 is), and the

Cheyenne River Sioux Tribal Intake are located outside of the model domain. HoweverThe results figures do not
depict these intakes because, as noted in Figure A-4, Appendix A, oil was not predicted to reach this locationthese
locations within the modeled 10 day timeframe. Therefore, results figures do not depict this(Note: NL indicates intake.
not included/assigned number in the Spill Model Report, RPS 2018).

2. Fate and Transport of an Inadvertent Release of Oil into Lake Oahe

This subsection was developed using information from the Spill Model Report, described further below.

The four scenarios described under Consideration 1 above (two locations and two volumes at each
location) were modeled to determine the fate and transport of the hypothetical releases. A two-
dimensional overland and downstream trajectory and fate model, OILMAPLand, was used in the EA to
assess the overland flow portion of potential spills from an upland location until the spill reached the
mouth of the Cannonball River at Lake Oahe. In response to the Court’s June 14, 2017 Memorandum
Opinion, a new three-dimensional in-water oil trajectory, fate, and biological effects model, Spill Impact
Model Analysis Package (SIMAP), was used to assess potential downstream effects of a release and
provide data to estimate the ecological effects to beneficial uses of Lake Oahe. Simply stated,
OILMAPLand (the original tool) models upland spills and SIMAP (the tool added for the remand process)
models in-water spills.

The SIMAP modeling system is a comprehensive three-dimensional modeling system that was developed
by Applied Science Associates, Inc. (ASA), now operating as RPS, over many years to provide an
understanding of the movement, behavior, and potential effects of crude oil for releases into water.
SIMAP originated from the oil fates and biological effects sub-models in the Natural Resource Damage
Assessment Models for Coastal and Marine Environments (NRDAM/CME) and Great Lakes
Environments (NRDAM/GLE), which ASA developed in the early 1990s for the U.S. Department of the
Interior for use in “type A” Natural Resource Damage Assessment (NRDA) regulations under the
Comprehensive Environmental Response, Compensation, and Liability Act of 1980 (CERCLA). The most
recent version of the type A models, the NRDAM/CME (Version 2.4, April 1996), was published as part of
the CERCLA type A NRDA Final Rule (Federal Register, May 7, 1996, Vol. 61, No. 89, p. 20559-20614).
The technical documentation for the NRDAM/CME is in French et al. (1996)5. This technical development
involved several in-depth peer reviews, as described in the Final Rule.

Although Dakota Access is committed to responding to a release within six hours, the Spill Model Report
assumed no mitigation of any kind for the entire model run of 10 days. Almost 300 model runs were
performed for each of the four scenarios above to provide a range of calculated fate and transport
trajectories. The modeling investigated the influence of environmental variability (e.g., wind and water

5
  French, D., M. Reed, K. Jayko, S. Feng, H. Rines, S. Pavignano, T. Isaji, S. Puckett, A. Keller, F.W. French III,
D. Gifford, J. McCue, G. Brown, E. MacDonald, J. Quirk, S. Natzke, R. Bishop, M. Welsh, M. Phillips, and B.S.
Ingram, 1996. Final Report, The CERCLA Type A Natural Resource Damage Assessment Model for Coastal and
Marine Environments (NRDAM/CME), Technical Documentation, Vol. I - V., Office of Environmental Policy and
Compliance, U.S. Department of the Interior, Washington, DC, Contract No. 14-0001-91-C-11.


                                                            8
Draft: July 31, 2018




                                                                                                                            RAR001010
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 39 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


current conditions) for the modeled time period, during all seasons and over multiple years (as noted
below), on trajectory and fate. The simulation timeframes were delineated by seasons (e.g., spring/early
summer, fall, and winter – including ice cover) and characteristic flow occurring within the identified
timeframes to capture the variable environmental conditions at each site. Site-specific geographic and
environmental parameters were used in the modeling of each hypothetical release location including
USACE Lake Oahe cross-section data from 2007 and 2012; USGS and USACE discharge data from
gaging stations; USACE monthly reservoir statistics from 1967-2017, and wind data from the U.S.
National Centers for Environmental Prediction Climate Forecast System Reanalysis (CFSR) model for the
period between 2000 and 2010. While the variability in certain environmental parameters was targeted for
each scenario (e.g. hydrodynamics, winds, temperature, concentration of total suspended solids, etc.), it
is important to note that seasonally appropriate values for all modeled environmental parameters were
characterized at each modeled location based upon the identified season for each hypothetical release
date modeled. As an example, modeled wintertime conditions with low river flow aligned with low
temperature, higher wind speeds, and low total suspended solids, which are characteristic of that specific
season.

The detailed results of the modeling of the four unmitigated release scenarios are presented in the Spill
Model Report. The Spill Model Report was reviewed by USACE staff at the USACE Omaha District, as
well as environmental sciences research specialists at the U.S. Army Engineer Research and
Development Center (ERDC) in Vicksburg, Mississippi. The USACE staff is in agreement with the
methodology and results presented. The Spill Model Report is incorporated by reference and results are
summarized below.

a)      Spill Model Results

Each of the four scenarios had 290 individual model runs (97 individual trajectories modeled under
springtime high river flow conditions, 96 under summer and fall with average river flow conditions, and 97
under wintertime low river flow conditions) for a total of 1,160 total model runs. Each run was initialized
with a different start date/time within the 10-year period of available climate data to sample the range of
environmental conditions (notably winds) present over multiple years. The dates and times were selected
randomly from within 14 day intervals spanning the entire 10 years of data.

A stochastic or probabilistic approach was employed to determine the footprint and associated probability
of areas that may be at increased risk of oil exposure based upon the variability of meteorological and
hydrodynamic conditions that might prevail during and after a release. A stochastic scenario is a
statistical analysis of results generated from many different individual trajectories of the same release
scenario, with each trajectory starting at a randomized time within a long-term window. For this project,
individual trajectory start dates were selected randomly every 10 days throughout the window of
environmental data coverage to ensure that the data were adequately sampled (total of 290 individual
runs). This stochastic approach allows for the same type of release to be analyzed under varying
environmental conditions (e.g., summer vs. winter or one year to the next). The results provide the
probable behavior of the potential releases based upon the variability in the environmental data over
many years.

The stochastic analysis provides insight into the probable behavior of oil releases given historic wind and
current data for the Lake Oahe region. A deterministic analysis was also employed, providing individual
trajectory, oil weathering information, expected concentrations or thicknesses of oil contamination, mass
balance, and other information related to a single release at a given location and time.




                                                     9
Draft: July 31, 2018




                                                                                                              RAR001011
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 40 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


The intent of the deterministic analysis was to provide representative individual releases, based on
specific parameters for each single event, to provide a range of potential biological effects that may be
possible under different geographic and environmental conditions. The results of the deterministic
simulations provide a time history of the fate and weathering of oil over the duration of the release (mass
balance), expressed as the percentage of released oil on the water surface, on the shoreline, evaporated,
entrained in the water column, and degraded (RPS, 2018)6.

Representative deterministic scenarios (i.e., individual trajectories) were identified from each set of
stochastic results. Individual scenarios were selected based upon the total area of the oil at the surface
(surface oil footprint) at any given time, the mass of oil on shorelines, and the concentration of dissolved
hydrocarbons in the water column, based upon a set of highly conservative thresholds for effects to
beneficial lake use:

    •   Surface oil average thickness > 0.01 µm
    •   Shore oil average concentration > 1.0 g/m2
    •   Subsurface (within the water column) dissolved hydrocarbon concentrations > 1.0 µg/L.

Individual “worst-case” trajectories of interest were identified and selected from the collection of stochastic
results for a deterministic analysis to characterize the upper bound of anticipated effects following a
release. The selected deterministic scenarios included the identified 95th percentile runs (i.e. the top 5%
worst-case scenarios) for surface oil footprint, mass of oil on shorelines, and water column contamination
identified for each release location. Therefore, very low probability spill events (FBR and 90 PD) are
modeled and then used to identify even lower probability but credible “worst-cases” (i.e., highly
conservative subset of all modeled scenarios) as the basis for spill planning and preparedness.

Stochastic footprints for potential surface oil exceeding a thickness of 0.01 µm had a maximum predicted
downstream extent of approximately 65 miles and an upstream extent (which is possible depending on
prevailing winds) of approximately four miles. This distribution is illustrated in Figure A-2 (Appendix A)
where the top portion shows the probability of surface oil thickness exceeding 0.01 µm and the bottom
portion shows the minimum time to threshold exceedance resulting from a FBR (12,517 bbls) at the Lake
Oahe crossing (i.e., the greatest volume of release modeled). It should be noted that the screening level
for potential ecological effects is 100 µm, making it 10,000 times greater than the threshold of 0.01 µm
used in the model. The much smaller surface oil average thickness of 0.01 µm or greater was chosen as
a conservative threshold to determine potential effects on lake uses such as fishing or recreational
boating given that this is the thickness at which sheens are visible on the water surface.

The lengths (i.e., the distances along the lake) of predicted contamination for dissolved hydrocarbon
concentrations exceeding 1 µg/L were slightly shorter (by approximately 10 miles) than those for surface
oil exceeding a thickness of 0.01 µm.

While the areas of potential impact in the Spill Model Report were quite large, most of this footprint
represents a relatively low probability (<10%) of surface oil thickness > 0.01 µm. Footprints depicting
higher probability (90%) of surface oil thickness yield only a fraction of the total footprint. The highest
predicted potential (41%) for oil to contact shorelines exceeding 1 g/m2 occurred in the larger volume FBR
scenarios from the on-land valve site, due to its origin and initial travel path in proximity to the shore.




6RPS, 2018. Evaluation of Hydrocarbon Releases into Lake Oahe using OILMAPLand and SIMAP Trajectory, Fate,
and Effects Modeling for the Dakota Access Pipeline.


                                                      10
Draft: July 31, 2018




                                                                                                                  RAR001012
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 41 of 397




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For most high and average river flow modeled representative deterministic scenarios under the first model
(a release from the Lake Oahe pipeline crossing at the sediment / water interface), it was predicted that
by the end of the 10-day simulation period, roughly 45-46% of the released oil evaporated, 26-29%
entrained into the water column within a few meters of the lake’s surface, 19-21% contacted the
shoreline, 4-5% degraded, and <1% adhered to suspended sediments within the water column and sank
to the bottom (i.e. sunken oil). Near zero values were predicted in the water column at depths greater
than 10 m (32.8 feet). During the wintertime low river flow conditions, modeled with 100% ice cover,
released oil was trapped under the ice in the top layers of the water column. Thus, mass balance
predictions differed, in that roughly 57% of the released oil was predicted to remain entrained in the water
column, while 43% was predicted to degrade.

As was the case with the modeled release from the sediment / water interface, Bakken crude oil was
predicted to evaporate rapidly from a release at the above-ground valve site (the second model), with
approximately 40-45% evaporating to the atmosphere within the first day.

At the end of the 10-day simulations for this second model, there was little to no oil predicted to remain
floating on the water’s surface, while it was predicted that >35% of released oil evaporated, >24%
entrained into the top layers of the water column, <1% adhered to the sediments, >9% made contact with
the shoreline, and >5% decayed. In that same time, a large portion of the released oil remained less than
45 miles downstream of the release location and would be predicted to continue moving downstream as
time progressed if left unmitigated. The leading edge of the floating oil for each of the representative
deterministic scenarios was predicted to extend 0-50 miles downstream of the release location. The
amount of evaporation and degradation was relatively consistent between model simulations with
assumed high or average river flow conditions.

Although >35% of the oil was predicted to evaporate within the 10-day modeled period, during high and
average river flow conditions, shoreline and surface oiling is possible. Furthermore, under high wind
conditions, entrainment of surface oil into the top layers of the water column is possible. A portion of this
entrained oil and dissolved hydrocarbons were predicted to result in sediment oiling although the total is
still <1%. Oil released from the bottom of Lake Oahe at the sediment/ water interface during low river flow
winter conditions with complete ice coverage, experienced much different environmental conditions when
compared to the simulations in the high or average river flow conditions.

The wintertime low-flow scenario involved released oil trapped under the ice in the top layers of the water
column resulting in a higher percentage of the released oil (roughly 57%) remaining entrained in the water
column. Ice cover also affects the total hydrocarbon concentration, which mainly represents whole oil
droplets underwater. However, the modeled ice cover also trapped the hydrocarbons in the immediate
vicinity of the release location (minimizing its travel downstream) and also prevented shoreline oiling.

It should be noted that the deterministic analysis provided an estimate of the oil’s transport through the
environment as well as its physical and chemical behavior for a specific set of environmental conditions.
The stochastic analysis provided insight into the probable behavior of oil releases given the variability of
historic wind and current data over a long time period (i.e. years) for the Lake Oahe region, whereas the
deterministic analysis provided individual trajectory, oil weathering information, expected concentrations
or thicknesses of oil contamination, mass balance (accounting for the full amount of oil released), or other
information related to a single release at a given location and time (i.e. days).

The stochastic thresholds that were used in displaying the results of the spill modeling were highly
conservative, meaning they were at the low end of possible thresholds. As such, the stochastic thresholds
essentially serve as a binary presence / absence of oil in the associated trajectory and fate results. The



                                                     11
Draft: July 31, 2018




                                                                                                                RAR001013
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 42 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


simple fact that a stochastic threshold is predicted to be exceeded at any single point in time within a
scenario therefore does not mean there will be negative effects (see additional discussion under Remand
Item B).

It should also be noted that the stochastic and deterministic maps of water column contamination of
dissolved hydrocarbons in the Spill Model Report depict the likelihood that concentrations will exceed the
identified threshold at any depth within the water column; the maps do not specify the depth at which this
threshold will be exceeded. It would therefore be incorrect to interpret the results as if the entire water
column (i.e., from surface to bottom) would experience a concentration above the threshold. It is likely
that only the top few meters of the water column would experience high concentrations of a particular
contaminant, which may not be where the species of concern spends a particular portion of its life cycle.
For example the stochastic model results in Figure A-3, Appendix A, show the probability of exceeding 1
μg/L from a spill volume of 12,517 bbls, under Lake Oahe. Figure A-4, Appendix A, shows the composite
results from a deterministic scenario for maximum total dissolved hydrocarbon concentration over the 10-
day modeling period. These figures represent the maximum concentration of hydrocarbons that was
predicted for each location at any point in time during the 10-day modeling period, as well as the
maximum concentration at any depth. This is relevant because concentrations may be higher near the
surface (the top few meters), associated with floating oil and surface mixing, while concentrations in the
subsurface environment may be minimal or non-existent. Table A-2 lists the maximum predicted
dissolved hydrocarbon concentrations (DHC) at representative water intake locations at the downstream
portion of the model domain at the end of the 10-day modeling period, showing that the highest
concentrations occur in the top 5-10 meters, with little to no predicted concentrations at depths below 10
meters.

Table A-2. Predicted worst-case hydrocarbon contamination at representative locations at the
downstream end of the model domain at the end of the 10-day modeling period.

       Maximum Dissolved Hydrocarbon Concentration (µg/L) in region of intake locations

          Depth Bin                   26.8 Miles           38.7 Miles      43.0 Miles       47.1 Miles
                                    Downstream            Downstream      Downstream       Downstream
                                   (Intake 7 Area)         (Intake 11      (Intake 12       (Intake 13
                                                              Area)           Area)            Area)
 0-5 m (0 to 16.4 ft)                    145                   58              62               38
 5-10 m (16.4 to 32.8 ft)                 74                   2                61               18
 10-20 m (32.8 to 65.6 ft)                0                    0                1                2
 20-25 m (65.6 to 82.0 ft)                0                    0                0                0
 Maximum in water column                 145                  58                62               38

3. Potential damages to the fishery and game resources

The spill modeling described under Consideration #2 was used to characterize the fate and transport of
hydrocarbons to provide an understanding of the potential spatial extent, associated probabilities, and
potential effects (i.e. acute mortality) that could occur following a large volume release of oil under a
range of environmental conditions. Accordingly, potential biological effects were modeled. Aquatic biota
(e.g., fish, invertebrates) are affected by DHC (dissolved hydrocarbon concentrations) in the water or
sediment. The biological exposure component of the SIMAP model (biological effects model) estimated
the volume and area of water (and stream length, as appropriate) that would be affected by surface oil,
concentrations of oil components in the water, sediment contamination, and the mass of oil on shorelines.



                                                     12
Draft: July 31, 2018




                                                                                                              RAR001014
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 43 of 397




                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


It also estimated losses resulting from acute exposure after a spill (i.e., losses at the time of the spill and
while acutely toxic concentrations remain in the environment) in terms of direct mortality.

The biological effects model was used to predict the equivalent areas of 100% mortality for each
deterministic scenario for surface and shoreline effects, as well as in-water effects at two different
sensitivity thresholds including 5 µg/L of dissolved hydrocarbon mixtures (e.g. Polycyclic Aromatic
Hydrocarbons [PAHs]), which represented sensitive species; and 50 µg/L of dissolved hydrocarbons,
which represented average sensitivity species. Lethal concentration thresholds are expressed as LC50,
meaning the concentration at which 50% of exposed organisms will die when exposed for a specified
duration. Thus, the “snapshots” of maximum concentration of 5 µg/L depicted on maps do not correlate
with 50% predicted mortality. Rather, the time varying concentration and the duration of exposure
determine the percentage of mortality within each given region. For the relatively short durations of
exposure that are predicted for these model results (generally only minutes to several hours), a given
concentration would need to be much higher than the relevant LC50 threshold before 50% of exposed
organisms would die.

Potential effects were assessed based upon conservative thresholds for surface floating oil, shoreline oil,
and in-water contamination. Metrics used to discuss results include predicted shortest time to shoreline
oiling, maximum concentration of contaminants in the water column, and maximum surface area of
floating oil. The 95th percentile scenarios from the stochastic assessment were selected as highly
conservative representative deterministic model runs to assess the upper range of predicted effects
possible under any condition. Results can be used to identify shorelines, drinking water intakes, and other
resources that have the potential to be at risk should there be a large volume release of oil, and
determine how much time may be available to protect them.

Overall, the maximum Total Hydrocarbon Concentrations (THC) were in excess of the thresholds for
predicted biological effects. However, as noted under Consideration #2, the simple fact that a stochastic
threshold is predicted to be exceeded at any single point in time within a scenario does not mean there
will be negative effects. To ascertain the true potential acute mortality to aquatic life, it is critical to
evaluate both the concentration and duration of exposure. In general, the predicted acute mortality was
limited in Lake Oahe due to the relatively short duration of predicted exposure (several hours or less) in a
given location.

Any effects would most likely result from acute rather than chronic toxicity. If there were a significant
build-up in the sediments, exposure could be both acute and chronic, as the concentrations could remain
elevated for longer periods of time. However, all of the modeled scenarios showed <1% of the oil located
in the sediments after the 10-day modeling period. Therefore, bioaccumulation of contaminants by
sediment-dwelling organisms would also likely be limited and not lead to widespread impacts to the
biological community.

The model evaluates mortality and sub lethal effects in biota from dissolved aromatic concentrations in
the water or sediment. Mortality is a function of duration of exposure – the shorter the exposure, the
higher the concentration before effects occur. The incipient LC50 is the asymptotic LC50 reached after
infinite exposure time (or long enough that that level is approached).

The results of the biological effects model provide estimates of the equivalent area (in km2) of 100%
mortality by behavior group for wildlife and fish/ invertebrates. Model output implies that the equivalent
area of 100% mortality would be the same for a release that resulted in 100% mortality over 1 km2 versus
1% mortality over 100 km2. In reality, however, potential acute effects following a release can vary greatly
by space, time, and percent mortality.



                                                       13
Draft: July 31, 2018




                                                                                                                  RAR001015
                Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 44 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE


a)       Hydrocarbons in the Water Column

For the twelve 95th percentile representative “worst-case” scenarios, the maximum area of potential
mortality from water column exposure was nearly 30% of the modeled area based on the 5 μg/L threshold
for “sensitive aquatic species” (Table A-3). For the same release scenario, the maximum area of potential
mortality from water column exposure drops to approximately 2.5% of the modeled area based on the 50
μg/L threshold for aquatic species (Table A-3).

The time series modeling results show that concentrations above biological thresholds occur for short
durations only. The 50 μg/L threshold for aquatic species of average sensitivity is exceeded for only a few
hours (Figure A-5, Appendix A). Toxicity is a function of concentration and duration; therefore, it is likely
that although a relatively large area could be exposed to higher concentrations at some depth in the water
column, the acute toxic mortality would be localized. Of the 12 deterministic scenarios selected, only two
have mortalities over the equivalent of 10% of the modeled area at the most sensitive (5 μg/L) level. Only
one is over the equivalent of 1% of the modeled area at the average sensitivity species (50 μg/L) level.

Table A-2. River area (km2) and percent of total modeled area (%) affected (for the modeled
domain, total area listed in left hand column) by acute toxicity, expressed as equivalent area of
100% mortality for aquatic biota at two sensitivities to PAHs in oil: sensitive (5 µg/L) and average
(50 µg/L).

                                                             Sensitive Species             Average Species
               Spill Location and Scenario                        (5 µg/L)                      (50 µg/L)
                                                          Area (km2) Percent (%)          Area         Percent
                    FBR – 95th Percentile Surface                                         (km2)           (%)
                                                            15.2            6.0            <0.1          <0.1
                             Exposure
   Lake          FBR – 95th Percentile Water Column
                                                             1.8            0.7           <0.1          <0.1
  Oahe                       Exposure
 Pipeline          FBR – 95th Percentile Shoreline
                                                            15.2            6.0           <0.1          <0.1
 Crossing                    Exposure
                   90 PD Release – 95th Percentile
                                                            16.7            6.6            0.1          <0.1
      Total              Surface Exposure
      Area:        90 PD Release – 95th Percentile
                                                             1.7            0.7           <0.1          <0.1
     252 km2          Water Column Exposure
                   90 PD Release – 95th Percentile
                                                            17.3            6.8            0.1           0.1
                        Shoreline Exposure
                    FBR – 95th Percentile Surface
                                                             3.5            1.4            1.3           0.5
                             Exposure
                 FBR – 95th Percentile Water Column
                                                             0.3            0.1           <0.1          <0.1
  ND-380                     Exposure
 Valve Site        FBR – 95th Percentile Shoreline
                                                             0.3            0.1           <0.1          <0.1
                             Exposure
      Total        90 PD Release – 95th Percentile
                                                             0.1           <0.1           <0.1          <0.1
      Area:              Surface Exposure
     252 km2       90 PD Release – 95th Percentile
                                                            74.7           29.6            6.3           2.5
                      Water Column Exposure
                   90 PD Release – 95th Percentile
                                                            40.8           16.2           <0.1          <0.1
                        Shoreline Exposure




                                                     14
Draft: July 31, 2018




                                                                                                                 RAR001016
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 45 of 397




                                        PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




b)       Hydrocarbons on the Water Surface

The area of potential effects on birds was evaluated as the area of the river covered by oil above the
thickness threshold for acute effects at any time during the scenario. The thickness threshold used in
modeling scenarios was 10 µm. This threshold does not imply direct loss of all wildlife in the area
because actual effects will differ by species depending on the percent likelihood of encountering oil, which
is in part based on behavior. All twelve of the deterministic model runs of fate and transport that represent
“worst-case” scenarios indicated that < 0.1% of the surface of Lake Oahe would have oil thickness
greater than 10 µm (Table A-4).

Table A-4. Total lake area (km2) and percent (%) of total lake area (for the modeled domain, total
area listed in column 1) oiled above a threshold for potential acute effects on wildlife (> 10 µm).

                 Spill Location and Scenario                        Lake Area (km2)      % of Lake Area

                   FBR –   95th   Percentile Surface Exposure             <0.1                 <0.1

   Lake        FBR – 95th Percentile Water Column Exposure                <0.1                 <0.1
  Oahe
 Pipeline         FBR – 95th Percentile Shoreline Exposure                <0.1                 <0.1
 Crossing
                  90 PD Release – 95th Percentile Surface
      Total                                                               <0.1                 <0.1
                                Exposure
      Area:    90 PD Release – 95th Percentile Water Column
     252 km2                                                              <0.1                 <0.1
                                Exposure
                 90 PD Release – 95th Percentile Shoreline
                                                                          <0.1                 <0.1
                                Exposure
                   FBR – 95th Percentile Surface Exposure                 <0.1                 <0.1

               FBR – 95th Percentile Water Column Exposure                <0.1                 <0.1
  ND-380
 Valve Site       FBR – 95th Percentile Shoreline Exposure                <0.1                 <0.1
      Total       90 PD Release –      95th
                                       Percentile Surface
      Area:                                                               <0.1                 <0.1
                                Exposure
     252 km2   90 PD Release – 95th Percentile Water Column
                                                                          <0.1                 <0.1
                                Exposure
                 90 PD Release – 95th Percentile Shoreline
                                                                          <0.1                 <0.1
                                Exposure

c)       Hydrocarbons in the Sediments

It does not appear from the modeling results that accumulation of chemicals into consolidated sediments
from a release of oil into Lake Oahe would lead to widespread impacts to the biological community. As
the mass balance results from the spill model show (Table A-5), very little of the oil associated with a
release would end up in the sediments, with the possible exception of particular near-shore littoral zones
where wave action could lead to the incorporation of oil constituents into the sediments.

All of the scenarios showed less than 1% of the oil located in the sediments after the 10-day modeling
period. Since feeding by pelagic organisms on benthic prey can then reintroduce sediment-associated

                                                      15
Draft: July 31, 2018




                                                                                                                RAR001017
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 46 of 397




                                    PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




contaminants into the pelagic food webs, bioaccumulation of contaminants by sediment-dwelling
organisms would also likely be limited.

Table A-5. Summary of the mass balance information at the Lake Oahe pipeline crossing release
location at the end of the 10-day simulations. All values represent a percent of the total volume of
spilled oil at the last modeled time step.

       Scenario          Surface     Evaporated    Water          Sediment      Ashore       Degrade
                           (%)          (%)     Column (%)          (%)          (%)           (%)
          FBR
  Pipeline Crossing
                           <0.01        46.71          28.55        0.39         19.94          4.41
     95 Percentile
       th

      Surface Oil
       Exposure
          FBR
  Pipeline Crossing        <0.01        <0.01          57.40        <0.01        <0.01        42.60
 95 Percentile Water
   th

  Column Exposure
          FBR
   Pipeline Crossing       <0.01        46.71          28.55        0.39         19.94          4.41
     95th Percentile
  Shoreline Exposure
    90 PD Release
   Pipeline Crossing
                           <0.01        45.30          29.63        0.77         19.00          5.30
     95th Percentile
      Surface Oil
       Exposure
    90 PD Release
   Pipeline Crossing       <0.01        <0.01          57.32        <0.01        <0.01        42.68
 95th Percentile Water
   Column Exposure
    90 PD Release
   Pipeline Crossing       <0.01        46.80          26.25        0.74         21.49          4.73
    95th Percentile
  Shoreline Exposure


d)      Hydrocarbons on the Shoreline

For the twelve deterministic model runs of fate and transport that represent the 95th percentile “worst-
case” of the modeled scenarios, the maximum area of oil thickness greater than 100 µm was estimated to
encompass 8.3% of the modeled shoreline (66 km) for the worst-case scenario at the Lake Oahe
crossing (Table A-6). That is to say, a release of even 12,517 bbls directly into Lake Oahe would be
expected to oil less than 10% of the Lake Oahe shoreline within the modeled area under the 10-day
unmitigated scenario. Under the “majority of spills” volume release (90 PD release) modeled at the
sediment / water interface of the Lake Oahe crossing, the estimated length of shoreline affected
decreased by about 50%, from 8.3% (66 km) to 4.2% (33 km), with a maximum area of oil thickness
greater than 100 µm. It should also be noted that the deterministic scenarios represent the cumulative
sum of the individual worst-case of the scenarios (stacked one onto the next); the individual release



                                                  16
Draft: July 31, 2018




                                                                                                           RAR001018
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 47 of 397




                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




model results would not have impacts of this magnitude. Example of the stochastic and deterministic
modeling results for shoreline oil is shown in Figure A-6, Appendix A.

Table A-6. Shoreline length (km) and (%) of total shoreline (total shoreline lengths in the modeled
domain are listed in the left hand column) oiled above a threshold for potential effects to
vegetation (> 100 µm).

                                                                      Total Shoreline        % of Total
                   Spill Location and Scenario
                                                                       Length (km)           Shoreline
                       FBR – 95th Percentile Surface Exposure               66.0                8.3
   Lake
                 FBR – 95th Percentile Water Column Exposure                <0.1                <0.1
  Oahe
 Pipeline         FBR – 95th Percentile Shoreline Exposure                  66.0                 8.3
 Crossing          90 PD Release – 95th Percentile Surface
                                                                            25.6                 3.2
                                 Exposure
      Total     90 PD Release – 95th Percentile Water Column
     Length:                                                                <0.1                <0.1
                                 Exposure
     793 km       90 PD Release – 95th Percentile Shoreline
                                                                            33.4                 4.2
                                 Exposure
                   FBR – 95th Percentile Surface Exposure                    3.6                 0.5
   Lake
                 FBR – 95th Percentile Water Column Exposure                 1.4                 0.2
 Oahe ND-
 380 Valve        FBR – 95th Percentile Shoreline Exposure                  33.0                 4.2
   Site            90 PD Release – 95th Percentile Surface
                                                                            17.2                 2.2
                                 Exposure
      Total     90 PD Release – 95th Percentile Water Column
     Length:                                                                 5.0                 0.6
                                 Exposure
     793 km       90 PD Release – 95th Percentile Shoreline
                                                                            18.6                 2.3
                                 Exposure

The results of the Spill Model Report were utilized to determine the relative impact of released oil to fish,
waterfowl, and terrestrial wildlife. These were summarized in the Downstream Receptor Report. The
Downstream Receptor Report was reviewed by USACE staff within the USACE Omaha District and
environmental sciences research specialists at the ERDC in Vicksburg, Mississippi. The USACE staff is in
agreement with the methodology and results presented and the report is incorporated by reference. The
potential impacts to hunting and fishing are summarized below.

e)       Potential Impacts to Hunting

Big game and small game mammals prevalent in the Lake Oahe area are susceptible to harm from an oil
spill if oil were to coat their fur and thus prevent it from acting as insulation from cold temperatures.
Similarly, waterfowl and upland game birds could be affected by thermoregulatory challenges caused by
oiling of plumage. Other direct effects include toxicological impacts, which can cause sickness or
mortality. Ingestion of oil can cause gastrointestinal irritation, ulcers, bleeding, diarrhea, and digestive
complications. Absorption of oil through the skin can lead to liver and kidney damage, anemia, immune
and reproduction system issues. Indirect effects such as habitat impacts, food source and nutrient cycling
disruptions, and alterations in ecosystem relationships are also possible in the unlikely event of a release.
The extent of these effects would depend on the volume of material released; the size of the dispersal
area; the type, age, and reproductive state of species present; climate; and the effectiveness of spill
response measures implemented.


                                                     17
Draft: July 31, 2018




                                                                                                                RAR001019
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 48 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




Game species most susceptible to the effects of an oil spill are typically birds and shoreline mammals that
would come into physical contact with oil from a spill. However, behavioral responses of terrestrial game
species would help to reduce potential adverse effects. Birds and mammals are mobile and generally will
avoid oil-impacted areas and contaminated food. When unaffected alternative habitat is available nearby,
the mortality of these species would be limited. Because of the behavioral response, and the limited total
area that could be affected as described in subparagraph d above, the impact to hunting in the area from
an oil spill would be minimal.

Furthermore, Lake Oahe is not the only source of fresh water for terrestrial vertebrates including deer. If
the western shore of Lake Oahe was to become impacted by an inadvertent release of oil, it is likely that
many terrestrial vertebrates would be able to utilize alternative sources of freshwater. Not including the
Cannonball River that lines the entire northern border of the SRST Reservation, there are more than 900
miles of mapped waterways and more than 3,000 ponds within the SRST Reservation based on an
analysis of the National Hydrology Dataset and National Wetlands Inventory. Although some deer or
other wildlife species could ingest oil impacted water from Lake Oahe following a spill, oil contaminated
water would likely not be above toxic thresholds.

f)      Potential Impacts to Fishing

A large oil spill into Lake Oahe would likely cause a localized fish kill with very limited impacts to the
immediate area surrounding the site of the spill. Concentrations of crude oil in the water could result in
impacts to aquatic invertebrates utilized as a food source by the local fishery. However, even under the
worst-case scenarios, impacts to benthic macroinvertebrates and fish species would be of limited scale
and of temporary duration and therefore impacts to fishing in the area would also be limited.

Although a release of crude oil into Lake Oahe during operations could have an adverse effect on game
fish species, adherence to the cleanup procedures and remediation activities described in the Lake Oahe
Geographical Response Plan (GRP) would reduce impacts on game fish species should a spill occur
during operation of the pipeline.

4. Measures in place to mitigate potential impacts

As identified under Easement Condition 8, a DAPL Facility Response Plan (FRP) was prepared and
submitted to the USACE for review and comment. As identified under Easement Condition 10, any
updates to the FRP will be provided to the USACE. In accordance with Easement Condition 9a, the Lake
Oahe GRP was submitted to the USACE for review and comment. USACE comments were incorporated
into the current version of the GRP.

Additionally, Dakota Access met with the Emergency Response Coordinators from each of the counties
crossed by the entire pipeline. An Emergency Response Planning meeting was held in Bismarck, ND on
January 11, 2018. USACE, SRST and Cheyenne River Sioux Tribe (CRST) were invited to participate.
USACE and Dakota Access participated in the January meeting, but no SRST or CRST representatives
attended. Another meeting was held in Bismarck, ND on February 8, 2018. USACE, SRST, and CRST
were invited to participate. USACE and Dakota Access participated in the February meeting. Nine
representatives from SRST and one representative from CRST briefly appeared at the February meeting
to hand deliver letters from each of the tribes, but did not attend or participate in substantive portions of
the Emergency Response Planning Meeting. A third, and final, meeting was held in Bismarck, ND on
March 7, 2018. USACE, SRST, and CRST were invited to participate. USACE and Dakota Access


                                                     18
Draft: July 31, 2018




                                                                                                                RAR001020
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 49 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




participated in the March meeting, but no SRST or CRST representatives attended (Table C-4, Appendix
C, response to Comment G21).

Although a release of crude oil into Lake Oahe during operations could have an adverse effect on fish
and game species, adherence to the cleanup procedures and remediation activities described in the Lake
Oahe GRP would reduce impacts on game fish species. It is important to note that all modeled releases
were assumed to be unmitigated for the entire 10-day model run. In actuality, in the event of a large
rupture such as the ones modeled, Dakota Access would work with others to respond promptly with
customary response efforts (e.g., booming, burning, skimming and collection, as appropriate) that would
reduce the volume and therefore the downstream impacts described in the Spill Model Report and the
Downstream Receptor Report. In the event of a spill of oil into Lake Oahe, the response and restoration
efforts would follow the regulations outlined in the National Oil and Hazardous Substance Pollution
Contingency Plan (40 CFR § 300). The basic framework, where applicable, for the response
management structure is a unified command system that brings together the functions of the federal
government, state government, and the responsible party to achieve an effective and efficient response
under the authority of the On-Scene Coordinator (OSC).

Trustees for natural resources, as well as a process for the Trustees to assess, quantify, and receive
compensation for damages to the natural resources under their jurisdiction are outlined in 40 CFR § 300
§G. In some cases, Trustees have shared responsibilities for some natural resources. In such cases, it is
common practice for the Trustees to work collaboratively to devise and carry out a plan for the restoration,
rehabilitation, replacement, or acquisition of equivalent natural resources. When assessing damages to
natural resources in and surrounding Lake Oahe, the federal, state, and Indian tribe trustees have the
option of following the procedures for natural resource damage assessments (NRDA) in 43 CFR § 11.

Additionally, in the event of a crude oil release that resulted in damages to game species or
hunting/fishing activities, Dakota Access would help restore, replace, or acquire the equivalent natural
resources in accordance with the Oil Pollution Act of 1990 (OPA 90). Under OPA 90, the owner or
operator is liable for the costs associated with the containment, cleanup, and damages resulting from a
spill. Dakota Access maintains financial responsibility for the duration of the response actions. If the
responsible party cannot pay, funds from the Oil Spill Liability Trust Fund are used to cover the cost of
removal or damages. The Fund is paid for through a five-cent per barrel fee on imported and domestic oil
and also any fines or civil penalties collected from other operators.




                                                    19
Draft: July 31, 2018




                                                                                                               RAR001021
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 50 of 397




                            PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                   Remand Item B: Environmental Justice




                                       20
Draft: July 31, 2018




                                                                                   RAR001022
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 51 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




B. Environmental Justice

In its June 14, 2017 Memorandum Opinion, the Court directed the USACE to further consider the
environmental justice implications of an oil spill, which the USACE had addressed in Sections 3.9 and
4.10 of the July 2016 EA. In particular, the Court disagreed with the USACE’s use of a 0.5-mile radius
around the Lake Oahe crossing to define the impact area because 1) it failed to include populations that
could be affected by an oil spill downstream of the crossing during operations; and 2) DAPL is a crude oil
pipeline, therefore the USACE’s reliance on the 0.5-mile buffer typically used in the analysis of
transportation and natural gas pipeline projects is not appropriate. The Court also noted that the USACE
environmental justice analysis needed to account for potential effects of an oil spill on tribalTribal water
intakes, as well as on wildlife and fishery resources. In response to the Court’s remand order, the USACE
conducted a supplemental environmental justice (EJ) analysis to evaluate potential impacts to minority
and/or low-income populations downstream of the DAPL Lake Oahe crossing. Due to concerns voiced by
commenters on the DAPL project, this report also analyzes the potential impacts downstream from the
North Bismarck Alternative crossing. Furthermore, the EJ analysis was extended to evaluate all users that
obtain drinking water from the Missouri River and Lake Oahe. These three aspects of the EJ analysis are
discussed separately in this section.

1. PART I – EJ Analysis for DAPL Crossing at Lake Oahe
Various oil spill scenarios were modeled to evaluate the potential fate, transport, and impact to minority
and/or low-income populations ofdownstream of the DAPL crossing from a release of crude oil into Lake
Oahe. The census block group was selected as the appropriate level of analysis given the rural setting in
the vicinity of DAPL. Census block groups are more granular than census tracts, providing more focused
analysis of the effects on those living closer to the Missouri River (from which Lake Oahe was formed). In
addition, census block group is the lowest (i.e., most granular) geographic level for which U.S. Census
Bureau data on populations with income below the poverty level is available.

To better understand, as required by the Court’s order, the potential impacts of a spill on downstream
tribalTribal entities, this analysis was performed for downstream areas that include the area adjacent to
the SRST reservation, as well as the census block group that includes the CRST’s drinking water intake
on the western shore of Lake Oahe at the southern end of the CRST reservation. Accordingly, the
analysis also included the northwestern portion of Sully County, South Dakota on the eastern shore of
Lake Oahe (See Figures B-1 and B-2E in Appendix B).

The supplemental EJ analysis shows that 1) there are fewer EJ census block groups than non-EJ census
block groups (five EJ versus nineeleven non-EJ) along Lake Oahe in the impact area; 2) all five EJ
census block groups are located on the western shore of the lake, while the nineeleven non-EJ census
block groups are located on both sideseach side of the lake; 3) both the private agricultural and non-
tribalTribal municipal intakes would be reached before their tribalTribal counterparts; and 4) based on a
number of conservative assumptions in the spill model worst-case scenarios, (a) even a 10-day
unmitigated release would not travel far enough to reach the current tribalTribal municipal intakes, and (b)
impacts to wildlife and fishery resources would be limited both in scope and duration. Therefore, it is
determined that a release of oil from DAPL would not disproportionately affect the EJ communities
located on and adjacent to the Lake Oahe crossing that would be part of the Proposed Action, nor those
located downstream of the Lake Oahe crossing, including where the CRST intake is located.

As noted previously, additional spill modeling was performed, under several different scenarios, to
evaluate the potential fate and transport of a release of crude oil at the Lake Oahe crossing.


                                                    21
Draft: July 31, 2018




                                                                                                               RAR001023
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 52 of 397




                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




Based upon the oil spill model analysis, the farthest that a hypothetical, worst-case, unmitigated release
would travel after 10 days (based on 1,160 stochastic model runs) is approximately 65 miles downstream.
The probability of an unmitigated release traveling this far in 10 days is less than 10%. And this location is
still upstream of the SRST Replacement Intake (the new tribalTribal drinking water intake located
approximately 75.4 miles downstream of the Lake Oahe crossing – Figure B-2C) and even further
upstream of the CRST intake (which lies more than 150 miles downstream of the Lake Oahe crossing –
Figure B-2E). As shown in Table A-1, the potential impacts from an unmitigated worst-case release would
be minimal at the end of 10 days even for a water intake located 47.1 miles downstream.

The purpose of this additional analysis is to supplement the evaluation of the downstream effects of a
possible release during operations. This supplemental analysis, described in greater detail below, does
not change the conclusions fromof the original EJ analysis in the July 2016 EA. Portions of the previous
analysis are included here for consistency and ease of reference. The supplemental analysis should not
be considered a replacement of, but rather a supplement to, the analysis already presented in the July
2016 EA. The entire methodology and results associated with this additional analysis are presented
below.

a)      EJ Methodology

Executive Order 12898 of 1994 (E.O. 12898) and the Department of Defense’s Strategy on
Environmental Justice of 1995 direct federal agencies to identify and address any disproportionately high
adverse human health or environmental effects of federal actions on minority and/or low-income
populations. Minority populations consist of those persons who identify themselves as African American,
Hispanic, Asian, American Indian/Alaskan Native, Pacific Islander, one or more race, or two or more
races. A minority population exists where the percentage of minorities in an affected area either exceeds
50% or is meaningfully greater than in the general population.

For the purposes of this analysis, the poverty level was used to define low-income populations. The U.S.
Census Bureau defines a “poverty area” as a census tract with 20% or more of its residents below the
poverty thresholdlevel and an “extreme poverty area” as one with 40% or more below the poverty level.

A potential disproportionate impact for EJ purposes may occur when the percentage of minorities in the
analysis area exceeds 50% and/or the percentage of low-income residents exceeds 20% of the
population. In addition, a disproportionate impact may occur when the percent minority and/or percent
low-income are meaningfully greater than those in the reference community.

The methodology utilized for this EJ analysis included, consistent with E.O. 12898, identifying low-income
and minority populations within the Lake Oahe crossing area using recent demographic and
socioeconomic statistics from the U.S. Census Bureau7.

U.S. Census Bureau data are typically available at multiple geographic levels. Potentially relevant
geographic levels for this project include: state level, county level, tract level, block group level, and block
level. For the purposes of this supplement to the EJ analysis, census block group data were selected as
the appropriate level due to the overall rural setting in the vicinity of DAPL and the availability of data on
populations with income below the poverty level. Census block groups in rural areas, such as those within



7
  U.S. Census Bureau. 2015. 2011-2015 American Community Survey 5-Year Estimates. Download Center.
https://factfinder.census.gov/faces/nav/jsf/pages/index.xhtml. Accessed November 2017.

                                                      22
Draft: July 31, 2018




                                                                                                                   RAR001024
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 53 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




the Dakota Access Pipeline Project analysis area, may cover a larger area because of the lower density
of population and may includethe fact that some areas that are not inhabited.

To determine whether DAPL has any disproportionate negative impacts on minority and/or impoverished
communities, a three-step analysis was conducted. First, an analysis area was determined, 1 mile from
the east and west shorelines of Lake Oahe, from the USACE action area to the CRST intake. Second,
those census block groups that fall within or intersect the analysis area (i.e., those that might be impacted
by the construction and/or operation of the Lake Oahe segment) that meet the statutory requirements for
low-income and minority communities were identified. Third, the census block group population was
compared to the county level population, which was utilized as the reference community (or group
comparison) for this analysis. County was chosen over state as the preferred geographic unit to define
the reference community so as to not dilute minority and poverty populations. If there was a meaningful
difference in population between the census block group impacted by DAPL at, adjacent to, or
downstream fromof the Lake Oahe crossing and the county in which it is located, a fourth step was taken
to analyze the project to determine if DAPL’s location at the Lake Oahe crossing would have a
disproportionate adverse impact on minority and/or impoverished communities within the analysis area
(between the Lake Oahe crossing and the CRST intake).

There is no accepted standard for a spatial limit when analyzing impacts on EJ communities from the
construction (as distinct from the operation) of oil pipelines. However, transportation projects, such as
under the Federal Transit Administration (a division of the Department of Transportation [DOT]), and
natural gas pipeline projects under the Federal Energy Regulatory Commission, typically use a 0.5-mile
buffer area to examine EJ effects for linear construction projects. Although DAPL is not a transportation
project or a natural gas project, the design and operation of oil pipelines (and natural gas pipelines) are
under the jurisdiction of PHMSA, which is also a division of the DOT. Therefore, for purposes of
assessing the effects of construction, the additional review and analysis of populations of census block
groups under the fourth step included a determination of whether any communities were located within
0.5 mile of DAPL at or adjacent to the crossing of Lake Oahe crossing.

It should be noted that the EJ results for the construction of the pipeline are addressed in the July 2016
EA. In accordance with the Remand Order, the purpose of this additional analysis is to supplement the
evaluation of the downstream effects of a possible release during operation. Therefore, although the
USACE Action Area affected during construction is fully included in the affected area during operation,
the EJ results for the construction of the pipeline are not discussed separately in this document.

Additionally, to address possible effects from pipeline operations, an analysis was performed to determine
the potential effects of a worst-case, unmitigated oil release on EJ communities located downstream of
the Lake Oahe crossing. By applying a distance-based approach that uses the spill model results
described earlier in this document, the analysis took into account the census block groups located as far
from the Lake Oahe crossing as CRST’s drinking water intake on the western shore of Lake Oahe, and
the southern end of Walworth County, South Dakota on the eastern shore of Lake Oahe. This end point
fully includes the oil footprint limits predicted in the Spill Model Report for a 10-day, worst-case,
unmitigated release originating at the USACE action area.

b)      DAPL Crossing at Lake Oahe EJ Results

Demographic information foron minority and poverty populations relevant to the EJ analysis, as described
above, are presented in Table B-1. The areas identified as EJ communities are shown with red italicized
text. The data are presented at different geographic levels (state, county, and census block group) for the

                                                     23
Draft: July 31, 2018




                                                                                                                RAR001025
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 54 of 397




                                    PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




operational phase of the project for and for each shore of Lake Oahe (east vs. west) separately. for the
operational phase of the project. Figures B-1 and B-2 in Appendix B depict the census block groups
impacted by DAPL at, adjacent to, or downstream from the Lake Oahe crossing and their EJ status. Non-
EJ communities are depicted in light yellow. EJ communities are light purple.

Two census block groups (Tract 204/Block Group 3 and Tract 9665/Block Group 1) are on and adjacent
to the crossing of Lake Oahe that is part of the USACE Action Area. However, neither of them has a
minority population exceeding 50% or a poverty level greater than 20%. No other census block group is
located within the 0.5-mile DOT analysis buffer of the DAPL.

Demographic information foron minority and poverty populations in areas that could be impacted by a
worst-case, unmitigated release during operation of the pipeline is also presented in Table B-1. In
addition toIncluding the two census block groups identified above, 16 census block groups on both shores
of Lake Oahe are considered in the analysis. As noted above, this EJ analysis has been performed for
downstream areas extending to the census block group that includes CRST’s drinking water intake.

Five census block groups have a minority population that exceeds 50% and/or a poverty level greater
than 20%; all of them are located on the western shore of Lake Oahe (Tract 9408/Block Group 1, Tract
9409/Block Group 1, Tract 9409/Block Group 2, Tract 9411/Block Group 2, and Tract 9417/Block Group
3).

Future Conditions with No Action [at the Time of the USACE Decision, February 2017]
Under the “no action” alternative, Dakota Access would not have constructed DAPL, and no
disproportionately high or adverse effects on minority and/or low-income populations would have
occurred.

Future Conditions with the Dakota Access’s Preferred Alternative [at the Time of the USACE Decision,
February 2017]

Construction Impacts
[As noted above, construction impacts are not included in this Remand Response].

Table B-1




                                                   24
Draft: July 31, 2018




                                                                                                           RAR001026
                                                Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 55 of 397




                                                                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                              Table B-1. Minority and Low-Income Population Statistics for Federal Lands Project AreaDAPL Crossing
                                                           (Data from ACS 2011-2015, 5-year estimates)                                                     Commented [NJ1]: Table updated to use the same dataset that
                                                                                                                                                           SAHA-MOHAI used
                                                                                                     Percent
                                                                      Am.                  Native                                                Persons
                                       Total                Black                                                                      Total
         Geographic Area                                             Indian              Hawaiian                 Some     Two or                 Below
                                     Population               or                                                                      Minority
                                                  White                and     Asian     and Other     Hispanic   Other     More                   the     Inserted Cells
                                                           African                                                                    Populati
                                                                     Alaska                Pacific                Race     Races                 Poverty
                                                             Am.                                                                        on
                                                                     Native               Islander                                                Level
 States
 North                              89.20721,64                                1.152                                                  10.8012.
 Dakota          704,925                 0         87.05   1.5360    5.2520      2         0.04          2.85     0.7305   2.1000        95       11.46    Inserted Cells
 South                                            85.008                                                                              15.0016.
                                      843,190                                                                                                              Inserted Cells
 Dakota                                             3.22   1.5652    8.6130     1.20       0.04          3.31     0.9408   2.6534        78       14.11
                                                                                                                                                           Inserted Cells
 Counties
 Comparison Group During Operation (Potential Oil Spill)
                                                  92.869                       0.231
                                     28,428985
                 Morton (ND)                       1.39    0.8465     3.3257     4         0.00          2.29     0.7700   1.9896     7.148.61    7.99     Inserted Cells
    West Shore




                                                  13.679             82.2679   0.251
                                      4,317380
                 Sioux (ND)                          3     0.0205       .36      6        0.0711         3.56     0.5316   3.202.67   86.3307     35.72
                                                  31.003
                                       4,149
                 Corson (SD)                       0.95     0.29     66.9376    0.29       0.00         0.3658     0.00      1.13     69.0005     45.58    Inserted Cells
                                                                     76.4575
                                       5,579
                 Dewey (SD)                        21.72    0.04       .57      0.00       0.00         0.0491     0.00      1.76      78.28      27.83
                                                  99.289                       0.174
                                      3,491463
                 Emmons (ND)                        6.79    0.00     0.2332       6        0.00          0.12      0.00    0.322.31   0.723.21    11.33    Inserted Cells
                                                  95.099
                                       1,548
    East Shore




                 Campbell (SD)                      4.90    0.00      3.49      0.78       0.00          0.19      0.00      0.65     4.915.10    9.06
                                                  82.188                                                                              17.8218.
                                       5,495
                 Walworth (SD)                      1.31    0.20     8.8350     2.78       0.51        2.984.68    0.00    2.5102        69       12.24    Inserted Cells
                                                  93.249                       1.471
                                       2,307
                 Potter (SD)                        2.72    0.00      3.34        3        0.00          0.87      0.00      1.95     6.767.28    11.59    Inserted Cells
                                                  98.039
                                       1,469
                 Sully (SD)                         7.62    0.00     0.6141     0.00       0.00          0.61      0.00      1.36     1.972.38    5.10




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Draft: July 31, 2018




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                                             Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 56 of 397




                                                                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                           Table B-1. Minority and Low-Income Population Statistics for Federal Lands Project AreaDAPL Crossing
                                                        (Data from ACS 2011-2015, 5-year estimates)                                                          Commented [NJ1]: Table updated to use the same dataset that
                                                                                                                                                             SAHA-MOHAI used
                                                                                                      Percent
                                                                    Am.                  Native                                                    Persons
                                     Total                Black                                                                          Total
         Geographic Area                                           Indian              Hawaiian                    Some      Two or                 Below
                                   Population               or                                                                          Minority
                                                White                and     Asian     and Other        Hispanic   Other      More                   the     Inserted Cells
                                                         African                                                                        Populati
                                                                   Alaska                Pacific                   Race      Races                 Poverty
                                                           Am.                                                                            on
                                                                   Native               Islander                                                    Level
 Block Groups
 Operation (Potential Oil Spill)
                 Block Group                    93.449             2.881.0
                                    869934
                 0204-3                          2.40     0.00        7       0.00          0.00        2.884.82   0.8100    6.561.71     7.60      1.51     Inserted Cells
                 Block Group                    10.141             88.4582
                                    996961
                 9408-1                          3.32     0.00       .73      0.00          0.00          1.04     0.2031    1.202.60   89.86.68    42.80    Inserted Cells
                 Block Group                    4.645.             90.8588   0.431                                                      95.3694.
                                   1,618710
                 9409-1                           32      0.00       .19        8           0.00          3.22      0.00     4.083.10      68       35.52
    West Shore




                                                                                       0.      1.95                                                          Deleted Cells
                 Block Group       1,079000     7.418.                                 28
                 9409-2                           00     0.0920    85.8210    0.00     30                4.4530     0.40       1.70     92.5900     37.99    Inserted Cells
                 Block Group
                                      812                                                                                                                    Inserted Cells
                 9411-2                         23.28     0.00      74.01     0.25          0.00          0.49      0.00       1.97      76.72      39.21
                 Block Group
                                     1,384
                 9417-2                         55.64     0.00      41.26     0.00          0.00          0.00      0.00       3.11      44.36      17.59
                 Block Group                                       86.9184
                                     1,161
                 9417-3                          10.59    0.00       .67      0.00          0.00        2.240.00    0.00       2.50      89.41      27.12
                 Block Group                    99.239
                                    784793
                 9665-1                           0.42    0.00      0.00      0.00          0.00         0.0050    0.7700    0.779.08     9.58      9.96     Inserted Cells
                 Block Group                    97.369
                                      643
                 9641-1                           6.89    0.00      2.64      0.00          0.00         0.0047     0.00     2.640.00     3.11      7.78
    East Shore




                 Block Group
                                      789
                 9652-1                          91.25    0.00      6.08      2.66          0.00          0.00      0.00       0.00       8.75      19.63    Inserted Cells
                 Block Group                    88.378                                                                       11.630.0
                                      980
                 9652-2                           7.55    0.10      0.92      0.00          2.86        7.768.57    0.00         0       12.45      3.70     Inserted Cells
                 Block Group                                       22.7020
                                      868
                 9652-3                         58.76     0.00       .62     15.21          0.00        0.002.07     0.00      3.34      41.24      9.10     Inserted Cells
                 Block Group                                                                                       6.910.0
                                      941
                 9652-4                         68.44     0.00      22.95     0.00          0.00        1.704.57       0       4.04      31.56      17.28    Inserted Cells


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Draft: July 31, 2018




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                                           Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 57 of 397




                                                                                    PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                        Table B-1. Minority and Low-Income Population Statistics for Federal Lands Project AreaDAPL Crossing
                                                     (Data from ACS 2011-2015, 5-year estimates)                                                             Commented [NJ1]: Table updated to use the same dataset that
                                                                                                                                                             SAHA-MOHAI used
                                                                                                  Percent
                                                                   Am.                  Native                                                   Persons
                                  Total                  Black                                                                         Total
      Geographic Area                                             Indian              Hawaiian                  Some       Two or                  Below
                                Population                 or                                                                         Minority
                                               White                and     Asian     and Other     Hispanic    Other       More                    the      Inserted Cells
                                                        African                                                                       Populati
                                                                  Alaska                Pacific                 Race       Races                  Poverty
                                                          Am.                                                                           on
                                                                  Native               Islander                                                    Level
              Block Group                                                                                                                        15.4012.0
                                   1,013
              9651-2                           93.98     0.99       0.69     0.00        0.00         0.00         0.00       4.34        6.02       4       Inserted Cells
                                                                                                                 0     0.00
                                                                                                                 .                                           Deleted Cells
                                    1,020
               Block Group                                                                                       0
               0001-2                             97.35    0.00        1.27       0.00    0.00         0.78      0              0.59      2.65      14.67    Inserted Cells
                                                                                                                 0 0.0 0.0
                                                                                                                 .   0      0                                Inserted Cells
                                     675
               Block Group                                                                                       0                                           Deleted Cells
               9791-1                             98.81    0.00        0.00       0.00    0.00         0.44      0              0.74      1.19       5.88
                                                                                                                                                             Inserted Cells
Source: U.S. Census Bureau,. 2011-2015 American Community Survey (2011-2015 5-Year Estimates).. Total population is based on data from Table B01003.
Percent population by race is based on data from Table B03002 and Table B01003. Population below the poverty level is based on data from Table B17021.
State and County totals and percentages were calculated by summation of block group data from these respective tables.
Note: totals may not sum across the table due to rounding used in data collection.




                                                                            27
Draft: July 31, 2018




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               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 58 of 397




                                        PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




Operation Impacts
As shown in Figures B-1 and B-2 (Appendix B) and discussed above, many census block groups
downstream of the Lake Oahe crossing could potentially be affected by a hypothetical, worst-case
release; therefore, census block groups on the eastern and western shores of the Lake Oahe were
considered in this EJ analysis. From north to south, the analysis area extends from the Lake Oahe
crossing to CRST’s drinking water intake – approximately 156 miles downstream; and from west to east, it
extends one mile west of the west bank and a one mile east of the east bank. As noted above, the
southern end point of the affected area fully includes the oil footprint limits predicted in the Spill Model
Report for a 10-day, worst-case, unmitigated release originating at the USACE action area.

Although a hypothetical release from DAPL would impact EJ communities downstream of the Lake Oahe
crossing, this potential impact is not meaningfully disproportionate given the number of census block
groups potentially affected. There are fewer EJ census block groups (five) than non-EJ census block
groups (eleven) in the area of potential impact downstream of the DAPL crossing (analysis area). Note
also that all EJ census block groups are located on the west shore of Lake Oahe, but non-EJ census
block groups are located on both the west shore and the east shore of Lake Oahe.

Specific Concerns Related to Cultural Practices
SRST, CRST, OST and YST have reported that they utilize lands surrounding Lake Oahe for various
Tribal and cultural practices. The SRST and CRST reservations also border Lake Oahe. Cultural
practices could be affected by impacts to water quality, including impacts to aquatic plants used for
medicinal and spiritual purposes, or from lake closures in areas used for ceremonies. In each case,
analysisanalyses of the Spill Model Report and the Downstream Receptor Report results show that
potential impacts would be of a temporary, and short duration.

Human Health Concerns
The typical health effects associated with short-term (acute) inhalation of volatiles from crude oil are
headaches, dizziness, nausea, vomiting, cough, respiratory distress, and chest pain. Short-term skin
contact with oil could result in dermatitis8. Due to the characteristics of Bakken Crude, unsafe conditions
for inhalation are not anticipated significantly downwind of the immediate area of a surface plume. Air
monitoring would be initiated immediately and continued throughout the duration of clean-up activities.
DAPL, in coordination with the Federal On-Scene Coordinator, the State On-Scene Coordinator, and local
authorities, including a representative from potentially affected Tribes as determined by the Unified
Command, would advise residents to avoid any areas of potentially unsafe conditions and potentially shut
down certain portions of the river/river banks for a period of time, should conditions warrant such.

The most probable cause of impacts topotential human health would be throughimpact that warrants the
greatest concern is contamination of drinking water intakes. However, based on the results of the RPS
modeling, the threat to drinking water intakes, especially the tribalTribal water intakes, is very low. More
discussion is provided below.




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 Solomon, G.M. and S.J. Janssen. 2010. Health Effects of the Gulf Oil Spill. Journal of the American Medical
Association. Journal of the American Medical Association 304(10):1118-1119.

                                                        28

Draft: July 31, 2018




                                                                                                               RAR001030
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 59 of 397




                                         PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




Specific Concerns Related to Tribal Water Intakes
One part of the environmental justice analysis is whether Tribal water intakes would be disproportionately
affected by a hypothetical, unmitigated, worst-case release to Lake Oahe. Table B-2 below provides
information relative to select Tribal and non-Tribal intakes downstream of the Lake Oahe crossing.

Table B-2. Select Tribal and Non-Tribal Water Intakes Downstream of the Lake Oahe Crossing*

  Intake # / Owner                                                                  Distance Downstream from
  [Intake #s Correspond to Spill Model Report]                                      Crossing Location (miles)
  Intake #3 Agricultural Intake (non-Tribal)                                                       4.4
  Intake #4 Agricultural Intake (Tribal)                                                           8.1
  Intake #5 South Central Regional Water District Drinking Water                                   11.3
  Intake* (non-Tribal)
  Intake #7 Former Fort Yates Drinking Water Intake (Tribal).                                      26.8
  Offline/Not in use.
  City of Mobridge Municipal Drinking Water Intake (non-Tribal)                                    71.5
  Intake #14 SRST Replacement Drinking Water Intake** (Tribal)                                     75.4
  WEB Water District Drinking Water Intake (non-Tribal)                                           141.5
  CRST’s Drinking Water Intake*** (Tribal)                                                        156.5
  Mni Wiconi Water Intake**** (Tribal/non-Tribal***))                                              205
  Note that only the drinking water and agricultural intakes downstream of the DAPL crossing referenced in this
  document are shown in this table and only the drinking water intakes listed above are illustrated in Figures B-1
  and B-2 (Appendix B).
  * The intakes selected hereAdditional information can be found in the Spill Model Report (RPS, 2018).
  *Select intakes include both the first Tribal and non-Tribal intakes agricultural andall of the known drinking
  water intakes encountered. Additional Tribal drinking water intakes are also presented. downstream within the
  156 mile analysis area. Also included are the first two agricultural intakes (one non-Tribal and the other Tribal)
  downstream from the Lake Oahe crossing. These represent the highest impact agricultural intake locations.
  Because of the reservation boundaries and EJ block groups on the west side of Lake Oahe, Itit is assumed for
  the purposes of this analysis that all of the intakes on the west side are Tribal. Likewise, due toit is assumed
  that the select intakes presented on the east side of Lake Oahe are non-EJ owned based on the location of the
  intakes and, the registered water rights owners, and the presence of non-EJ block groups on the east side of
  Lake Oahe. Additional information can be found in the Spill Model Report (RPS, 2018). it is assumed that the
  select intakes presented on the east side of Lake Oahe are non-EJ owned. Note that only drinking water
  intakes within the analysis area are illustrated in Figures B-1 and B-2 (Appendix B). Although the Mni Wiconi
  intake is much farther downstream and outside of the formal analysis area, it has been included in the text and
  table for completeness.
  ** The depth of the Standing Rock Sioux Tribe replacement intake is 60-80 feet, depending on water surface
  elevation (RPS, 2018).
  ***This intake is managed by the OST but serves both Tribal and non-Tribal communities. This water intake
  serves several regional water systems that were all combined into one large system of which the OST Mni
  Wiconi is one of them. Intake*** CRST’s drinking water intake is a minimum of 40 feet below the surface.
  Ordinary High Water - 1,617 feet above mean sea level (fmsl); Minimum Pool Elevation - 1,540 fmsl; Intake
  Elevation - Approx. 1,491 fmsl.
  **** The Mni Wiconi water intake, although managed by the OST, serves both Tribal and non-Tribal
  communities in multiple regional water systems.

Downstream of the Lake Oahe crossing, the river separates private land to the east from tribalTribal land
to the west. There are three water supply intakes within 15 miles downstream of this crossing. The first
intake fromclosest to the Lake Oahe crossing is approximately 4.4 miles downstream and is for
                                                          29

Draft: July 31, 2018




                                                                                                                       RAR001031
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 60 of 397




                                          PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




agricultural, non-tribalTribal use. The second intake is approximately 8.1 miles downstream and is an
SRST intake for agricultural use. The third intake, approximately 11.3 miles downstream, is the first
potable water intake and. It belongs to the non-tribalTribal South Central Regional Water District
(SCRWD). It provides water to numerous non-EJ communities within several North Dakota counties to the
east of Lake Oahe. The next drinking water intake downstream of the DAPL crossing is also a non-Tribal
intake: the municipal intake for the City of Mobridge, located approximately 71.5 miles downstream.

The first reported SRSTTribal intake currently used for public consumption is the SRST Replacement
Intake located approximately 75.4 miles downstream of the Lake Oahe crossing (south of the Highway
1806 bridge from Wakpala to Mobridge, South Dakota). This intake replacesreplaced the Fort Yates
intake, which according to the US Bureau of Reclamation is now off-line and scheduled for demolition9).
The Fort Yates intake was located approximately 26.8 miles downstream of the Lake Oahe crossing. The
nearest CRST intake is more than 150 miles downstream of the DAPL crossing.

As noted above, the spill model projects that even if a release were allowed to go unmitigated and travel
more than 75 miles downstream to reach the SRST Replacement Intake, the concentrations in the water
at the depth of the intake location are not anticipated to exceed regulatory thresholds. because no
appreciable DHC levels are predicted to be present there. In fact, even at the location of the off-line Fort
Yates intake at 26.8 miles downstream, the maximum concentration of dissolved hydrocarbonsDHC is
predicted to be only 145 µg/L in the top 5 m (0 to 16.4 ft) of the water column, only 74 µg/L at 5 - 10 m (or
16.4 to 32.8 ft) of depth below the surface, and 0 µg/L between a depth of 10 m (32.8 ft) and the bottom
of the river where the drinking water intake was located.

The concentrations in the upper layers would be further reduced at the SRST Replacement Intake, which
is located more than twice the distance downstream, due to dilution; volatilization from the dissolved
phase to the atmosphere; adsorption to suspended particulate material and sedimentation; stranding on
the shoreline or aquatic plants; or degradation. Because the depth of the SRST Replacement Intake is
more than 40 ft below the surface, depending oneven at minimum water surface elevationelevations, the
concentration of dissolved hydrocarbons is also predicted to be 0 µg/L at the point where water enters the
tribalTribal drinking water intake.

The CRST intake is even less at risk asbecause it is located more than twice as far downstream thanas
the SRST Replacement Intake and therefore the in-stream concentrations would be much lower than
those at the SRST Replacement Intake. This would again be due to dilution; volatilization from the
dissolved phase to the atmosphere; adsorption to suspended particulate material and sedimentation;
stranding on the shoreline or aquatic plants or degradation.

Until it was taken off-line, the Fort Yates municipal drinking water intake was the first known tribalTribal,
potable water intake downstream of the Lake Oahe crossing. Even then this put the first of such intakes
more than 15 miles further downstream of the Lake Oahe crossing than the non-tribalTribal SCRWD
intake. The estimated minimum travel time to reach the SCRWD intake for an unmitigated spill at the
Lake Oahe crossing is approximately 13-14 hours, compared with a minimum travel time of approximately
49-50 hours to reach the off-line Fort Yates intake. In each of these scenarios, the first oil predicted to
reach the intake location waswould be entrained oil within the water column. In the event that the spill
continues unmitigated for an extended period of time, the SCRWD intake would be impacted first. NoAs

9
  The Fort Yates intake is now off-line and scheduled for demolition as per That information is supplied in an email
from Tom Thompson, US Bureau of Reclamation, email to Larry Janis, USACE Omaha District on December 12,
2017.
                                                          30

Draft: July 31, 2018




                                                                                                                       RAR001032
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 61 of 397




                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




shown in Figure B-4 and as discussed in Part III, no community served by SCRWD is an EJ community at
the census block group level (see Figures B-1 and B-2 in Appendix B).. The release would have to go
unmitigated for approximately 49-50 hours to reach the former minority community intake at Fort Yates.
With this intake now off-line, the time to respond to a release potentially affecting a tribalTribal potable
water intake is even greater. It is estimated that a release would have to travel unmitigated for more than
10 days to reach the SRST Replacement Intake west of Mobridge (RPS, 2018). Although well beyond the
limits ofarea affected under the detailed modeling, sincebecause the Missouri River intake for the CRST
is located more than two times further downstream (about 156 miles downstream of the DAPL crossing),
it is reasonable to assume that a release would have to travel unmitigated approximately twice as long (or
more) to reach the CRST intake. It should also be noted that if any dissolved hydrocarbons remained in
the Missouri River and were to reach the Tribal drinking water intake of the CRST, the river water would
have already passed yet another non-Tribal drinking water intake, associated with the WEB Water
District, at approximately 141.5 miles downstream of the DAPL crossing.

The OST Mni Wiconi intake is even less likely to be impacted than the CRST intake based on the fact
thatbecause it is another 50 miles downstream of the CRST intake (205 miles downstream of the DAPL
crossing) and its locationis also downstream fromof the Lake Oahe dam. (which lies approximately 200
miles downstream of the DAPL crossing). The minimum water depth recorded for Lake Oahe for the
entire period of record was 1570.2 fmsl. The discharge pipes for the dam are at an elevation of
14251,425 fmsl --, meaning 46 m (142.5 ft) below thethat lowest everrecorded water depth. Thus, any
released hydrocarbons that reach the dam would need to mix within the water column to at least that
depth, even though142 feet below the lake surface. This is unlikely as near zero values of hydrocarbons
are predicted at depths greater than 10 m. within a few miles of the crossing, at locations much further
upstream (see Table A-2).

RegardlessMoreover, as noted in Section 3.2.1.2 of the EA (page 38), the potential for a release to
compromise a potable water supply intake would be continually evaluated as part of the response action
in the event of a release. Alternative potable water sources are included as part of the contingency plan.
Known drinking water intakes were identified in the Spill Model Report and incorporated into the site-
specific GRP. Shutting down certain Alternatives include switching to other non-impacted water intakes
and utilizing others or utilizing different drinking water sources or bottled water will be evaluated as part of
this process. The Federal On-Scene Incident Commander would be responsible for assimilating and
approving the response actions under the OPA 90.

Similar to the location of drinking water intakes, a private (non-Tribal) agricultural intake is located
upstream of the first tribalTribal agricultural intake. Thus, an unmitigated release would reach the
agricultural intake serving a non-minority population before reaching an intake associated with a minority
population.

Agricultural intakes along Lake Oahe are typically installed differently than drinking water intakes and only
need to be installed only 20 feet below the lake surface in lake environments. Therefore, agricultural
intakes are not anticipated to be deep permanent intake structures. TheRather, the agricultural intake
tubes/pipes are typically moveable and extended into the reservoir based on anticipated reservoir water
elevations. As a result, it was not possible to rule out the presence of agricultural intakes could not be
discounted as not being present within the top 10 m (31.4 ft)), where the modeling indicatesshows that
some level of hydrocarbons could be present if a spill were to occur.



                                                      31

Draft: July 31, 2018




                                                                                                                   RAR001033
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 62 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




Therefore, if applicablewhere needed, the intake owners of the potentially impacted downstream
agricultural irrigation intakes downstream would be contacted as toand advised of the anticipated date
/and time ofthat the plume reachingis expected to reach the respective locations. relevant intake location.
The owners would also be informed of anticipatedthe number of days for the plume is expected to travel
over the specific intake and be advised to suspend withdrawals for anticipated plume travel time over
their respectivethat intake (nominally four days) plus a conservative buffer time. Alternatively, the
agricultural intakes could be extended to the middle of channel through the use of additional pipes to
draw from deeper depthsparts of the lake where the modelling has indicatedpredicted that impacts would
not be anticipatedinsignificant or at least significantnon-existent.

In the event of If a crude oil release that resulted in the shut-down or relocation of intakes, Dakota Access
would be the party responsible party to rectify the situation / pay for the damages.for remediation. If the
responsible party cannot pay for remediation, funds from the Oil Spill Liability Trust Fund are used to
cover the cost.

Based on the above, significant potential health effects to humans are not anticipated. Even in the event
of a worst-case, unmitigated spill, neither the ingestion of drinking water above US EPA health limits nor
the consumption of impacted agricultural products is anticipated.

GivenIn sum, given that:

        (i) there is a low probability of a release to Lake Oahe from DAPL based on historic pipeline risk
        data from PHMSA,

        (ii) both private agricultural and non-tribalTribal municipal intakes would be reached before their
        tribalTribal counterparts,

        (iii) even a 10-day unmitigated release would not travel far enough to reach the current tribalTribal
        municipal intakes,

        (iv) Dakota Access is required by PHMSA to initiate response to a release within six hours, and

        (v) Dakota Access has committed to providing drinking water in the unlikely event that
        downstream intakes are impacted,

we conclude that there is no disproportionate EJ impact on downstream water intakes from the placement
or operation and maintenance of the DAPL pipeline at the Lake Oahe segment.

EJ Analysis for Fishing and Hunting Resources

As demonstrated in the Downstream Receptor Report (Section 3.3) and this document (Section II.A.3),
even under the worst-case scenarios, impacts to downstream beneficial lake uses were determined to be
limited in scale and temporary in duration.

A large release of oil to Lake Oahe would result in some mortality of aquatic species. The highestlargest
estimated area of potential mortality for aquatic species for the worst-case scenarios modeled was 6.3
km2 of the modeled area, based on the 50 μg/L biological threshold. Although any fish kill would be a
negative consequence, this area represents only 2.5% of the modeled area. Additionally, it is important to
note that the time series modeling results show that the 50 μg/L biological threshold for aquatic species in

                                                     32

Draft: July 31, 2018




                                                                                                                RAR001034
                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 63 of 397




                                         PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




the water column iswould only be exceeded for a number of hours (not days) and only within specific
zones within the water column, further limiting the area of potential mortality.

Stochastic maps of water column contamination offrom dissolved hydrocarbons depict the likelihood that
concentrations will exceed the identified threshold at any depth within the water column, but do not
specify the depth at which this occurswould occur. Therefore, the mapping presented in the Spill Model
Report does not imply that the entire water column (i.e., from surface to bottom) will experience a
concentration above the threshold as toxicity is a function of concentration and duration.

Additionally, the difference in water quality at different zones within the water column, as described forin
the water intakes discussion above, is applicable to the biota within the lake as well. At the location of the
off-line Fort Yates drinking water intake (26.8 miles downstream of the Lake Oahe crossing), the
maximum concentration of dissolved hydrocarbons is predicted to be 145 µg/L in the top 5 m (0 to 16.4 ft)
of the water column, 74 µg/L at 5 - 10 m (or 16.4 to 32.8 ft) of depth below the surface, and 0 µg/L below
10 m (32.8 ft) to the bottom of the river. The dissolved hydrocarbon levels that are present and may be
acutely toxic to sensitive species at the top of the water column are not modeled to be present in the
lower strata beyond the immediate location of aan oil release occurring at the bottom releaseof the lake.
Similarly, minimal accumulation of hydrocarbons into the sediments at the bottom of the lake is predicted
as all of the scenarios modelsmodeled showed less than 1% of the oil located in the sediments after the
10-day modeling period. This was an identified concern of someSome of the commenters identified as a
concern that feeding by bottom dwelling fish on benthic prey can then reintroduce sediment-associated
contaminants into the food web. Due to the low levels predicted in the bottom sediments, bioaccumulation
of contaminants by sediment-dwelling organisms would likely be limited. Therefore, aquatic biota utilizing
the very bottom of the lake during the period of contamination may not be significantly impacted. For the
above reasons above, the potential impact to the fishery resources of Lake Oahe is anticipated to be
limited.

According to the Standing Rock Game and Fish Department, the Tribe governs all taking of game and
fish species by Indians within the exterior boundaries of the Standing Rock Sioux Reservation as defined
by the Act of March 2, 1889, 25 Stat. 888, and by non-Indians within the exterior boundaries of the
reservation as defined above, on lands held by the United States in trust for the Tribe or for Indians10. The
Tribe protects and manages fish and wildlife resources of the reservation primarily for subsistence use by
tribalTribal members.

The Tribe sets daily and possession limits for a number of fish species including Walleye, Sauger (Sander
canadensis), Northern Pike, Largemouth Bass (Micropterus salmoides), Smallmouth Bass, White Bass,
Crappie (Pomoxis spp.), Bluegill (Lepomis macrochirus) and other sunfish (combined), Yellow Perch
(Perca flavescens), Muskellunge (Esox masquinongy) and hybrids, and Rainbow Smelt (Standing Rock
Game and Fish, 2017). No limits are set for catfish or bullheads (family Ictaluridae), Burbot (Lota lota), or
non-game species. Harvesting of Sturgeon (Scaphirhynchus spp.) and Paddlefish (Polyodon spathula) is
not allowed. In addition, the Tribe sets minimum size limits for Walleye, Sauger, Northern Pike, and
Muskellunge and hybrids.

In a declaration ondated November 28, 2016, the director of the Standing Rock Sioux TribesTribe
Department of Game, Fish and Wildlife Conservation noted that Lake Oahe is known for its walleye


10
     Standing Rock Game and Fish Department. 2017. http://gameandfish.standingrock.org/proclamations/fishingsmall-
gameprairie-dog/. Accessed July 2017.
                                                         33

Draft: July 31, 2018




                                                                                                                     RAR001035
                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 64 of 397




                                           PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




fishing, and that other commonly caught species include smallmouth bass, white bass, northern pike,
channel catfish and perch. The declaration also states that during 2015, the Tribe issued 199 family
fishing permits to Tribal members, that most of the fishing by Tribal members takes place on Lake Oahe,
and is done for subsistence purposes. According to 2015 ACSAmerican Community Survey 5-year
estimates the Standing Rock Sioux Tribe has a population of 5,876. Based on these numbernumbers,
approximately 3% of tribal memberTribal members bought fishing licenses in 2015.

In the event of a spill, local game and fish managers would be notified of the expected number of days in
which the plume would travel downstream within Lake Oahe and be advised to suspend fishing as
appropriate (nominally four days at any specific location, plus a conservative buffer time). Since most
species of fish can metabolize and excrete hydrocarbons, bioaccumulation is typically limited11.
Therefore, increasing duration of exposure even beyond four days would not typically result in higher
concentrations in tissues, which limits the potential health effects to humans. It is possible that the biggest
impact from petroleum buildup in fish tissues could be residual un-metabolized hydrocarbons that might
affect the taste of the fish. It is assumed that the impacts of eating fish with PAHs detectable in the edible
tissues would be short term, and therefore not considered to have serious long term impacts to
subsistence fishing.

Based on the deterministic model scenarios from the SIMAP model, mortality is predicted for birds and
aquatic small mammals utilized for hunting. However, none of the model scenarios showed a lake area
greater than 0.1 km2 (or 0.039 square mile) above the threshold of 10 μm surface oil thickness for
potential impacts to wildlife. Additionally, this surface oil impact is predicted to be of short duration at any
one location.

Oiling of the shoreline along Lake Oahe could also result in mortalities of shorebirds, waterfowl, and semi-
aquatic mammals. However, none of the model scenarios showed extensive shoreline oiling. The
estimated worst-case scenario is that less than 10% of the shoreline within the modeled area would have
oiling above the biological threshold. This amount of shoreline coverage would not be anticipated to have
a significant impact on the local wildlife population, especially given the requisite remediation following a
spill. Therefore, impacts to wildlife are not anticipated to be significant.

The potential impact to upland hunting along the shore of Lake Oahe is very low. Although some deer or
other wildlife species could ingest oil-impacted water or eat contaminated vegetation following a spill, the
concentration of contaminants would likely not be above acutely toxic thresholds and would not persist
long enough to result in a chronic health issue. Furthermore, Lake Oahe is not the only source of fresh
water for upland game species. If the western shore of Lake Oahe were to become impacted by an
inadvertent release of oil, it is likely that many terrestrial vertebrates would be able to utilize alternative
sources of freshwater.

For the reasons above, the potential impact to hunting resources along the shores of Lake Oahe is
anticipated to be limited.

It is also important to note the following about the modeled worst-case scenarios:




11
     NMFS (National Marine Fisheries Service). 2017. http://response.restoration.noaa.gov/oil-and-chemical-spills/oil-
spills/how-oil-spills-affect-fish-and-whales.html

                                                           34

Draft: July 31, 2018




                                                                                                                         RAR001036
                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 65 of 397




                                          PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




           1. The worst-case scenarios are developed based on a number of conservative assumptions. As
           noted earlier, a large spill into Lake Oahe is a low probability event.

           2. The modeled scenarios in the Spill Model Report all assume no detection and response, with
           the various releases allowed to travel unmitigated for 10 days. In reality, even if there were a
           release into Lake Oahe, it is highly unlikely that it would be allowed to travel unmitigated for even
           a fraction of that time. Dakota Access would implement its location-specific GRP for Lake Oahe
           and initiate remedial activities as soon as practicable.

           3. In the event of a crude oil release that resulted in damage to game species or hunting/fishing
           activities, Dakota Access would be held responsible to restore, replace, or acquire the equivalent
           natural resources in accordance with OPA 90. If the responsible party cannot pay, funds from the
           Oil Spill Liability Trust Fund are used to cover the cost of removal or damages.

Therefore, it is reasonable to determine that DAPL is not anticipated to have releases to soils or water
that would result in high adverse human health or environmental impacts to any populations, including
those examined in this EJ analysis.

c)         Review of Alternative Environmental Justice Analysis (Saha and Mohai, 2018)

The USACE has reviewed An Environmental Justice Analysis of Dakota Access Pipeline Routes12. The
authors utilized the areal apportionment method to calculate population-weighted minority and low-
income population statistics. The 1998 Final Guidance for Incorporating Environmental Justice Concerns
in EPA's NEPA Compliance Analyses advises “not to “artificially dilute or inflate" the affected minority
population when selecting the appropriate unit of geographic analysis” (e.g., census tract). The guidance
does not specify, however, the method to be used to measure minority and low-income populations. The
2016 Technical Guidance for Assessing Environmental Justice in Regulatory Actions specifically
discusses spatial identification and aggregating effects (Section 6.5.3). It acknowledges that “GIS-based
methods enable analysts to define spatial buffers around an emissions source that are more uniform in
size and that are easier to customize to reflect the appropriate scale and characteristics of the emissions
being analyzed”. However, it does not specify use ofdiscuss the areal apportionment method, simply
stating that “The method selected should be the one that is most appropriate for the specific regulatory
action”. It also warns of a number of challenges that arise when using geospatial data, such as the
modifiable areal unit problem (i.e., the fact that results can be sensitive to the level of aggregation used in
the analysis).

While the areal apportionment method may be appropriate to evaluate the siting of a project and
determine potential EJ issues based on chronic long-term exposures to airborne particulates from a
continuous emission source (e.g., evaluation of a compressor station), we disagree with the authors of
the report that their methodology utilizing the populations from all census block groups to obtain one
population-weighted “EJ value” for each metric is appropriate (much less, required) when evaluating a
discrete hypothetical release from a pipeline. The USACE is permitting an oil transmission pipeline; it is
not permitting a continuous discharge (or any known discharge) into Lake Oahe. There is a low
probability of a release and subsequent impacts to downstream beneficial lake uses. Additionally, as
noted in the previous sections, impacts from even a worst-case, unmitigated release to beneficial lake




12   Saha, R. and P. Mohai. 2018. An Environmental Justice Analysis of Dakota Access Pipeline Routes.
                                                         35

Draft: July 31, 2018




                                                                                                                   RAR001037
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 66 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




uses, including hunting and fishing resources, were determined to be of limited scale and of temporary
duration, with variations from one hypothetical release to another.

We believe that the boundary intersection method utilized in our analysis is in accordance with EPA
guidance and allows separate analysis of the EJ and non-EJ areas. The results of our analysis
demonstrate that the impacts on EJ populations (predominantly along the western shoreline) would not
be disproportionate to the impacts on non-EJ populations (predominantly along the entire eastern
shoreline).

An additional reason to not to combine together all of the census block groups together is that, depending
on lake and weather conditions, both sidesonly one side of the lake downstream of the DAPL crossing
may not be impacted by a spill, or the two sides may not be impacted to the same extent. The modeling
results presented in the Spill Model Report indicate that the distribution of downstream plume is highly
dependent upon currentcurrents and wind conditions and will not have a uniform distribution along Lake
Oahe from bank to bank for any given release. As indicated in that report, wind speed and direction at the
water surface affect which shore of Lake Oahe is predominantly impacted by a release. Modeled wind
data obtained from the National Centers for Environmental Prediction Climate Forecast System
Reanalysis waswere used to provide the best estimates of wind speed and direction over a 10-year
record (2000-2010) to produce annual wind “roses” and mean monthly wind speeds (presented as
Figures 4-6 and 4-7 in the Spill Model Report, RPS 2018). The model used time-varying or mean wind
speeds and directions for the time of the spill and simulation. At the Lake Oahe crossing site, the
predominant annual wind directions indicated in the results were north-westerly and south-easterly
(direction wind comes from) depending on the time of the year. Highest annual wind speeds were most
frequently from the north-west. Winds were notably stronger during winter, with speeds exceeding 10
meters per second (m/s) or 22.4 miles per hour (mph) from the northwest. In the summer, winds were
most frequently between 5-10 m/s (11.2-22.4 mph) from the southeast. Therefore, the eastern shore
would be more impacted during the winter months with the prevailing winds from the north-westnorthwest
and the western shore would be more impacted during the summer months with the prevailing winds from
the southeast.

Saha and Mohai also used a different end point for the impacts of a hypothetical spill downstream of the
Lake Oahe crossing. The choice of a cut-off point downstream of the Lake Oahe crossing is somewhat
subjective. In their report, Saha and Mohai observed that the actual distance that oil would be carried by a
spill depends on many factors, simply stating that “40 miles is within the distance of downstream impacts
from recent major spills from oil pipelines in the U.S.” (page 5). In contrast, and as noted at the beginning
of the Environmental Justice section, to assess the potential impacts of a spill on downstream tribalTribal
populations subject to this remand, this EJ analysis has been performed for downstream areas extending
to the census block group that includes the CRST drinking water intake. However, as most of the west
side of Lake Oahe downstream of the Lake Oahe crossing is within reservation lands, the general results
and conclusions of the EJ analysis would be no different if the downstream end of the impact area was 40
miles from the Lake Oahe crossing (as in Saha and Mohai) or extended to the CRST drinking water
intake (as was done for this analysis).

Furthermore, if the potential impact area should bewas extended south of the CRST intake towards the
Lake Oahe dam, as at least one other tribe (the Oglala Sioux Tribe) urges, the percentages of Native
American, minority, and poverty populations on both shores of Lake Oahe would be reduced. For
instance, if the impact area was extended only three miles south of the CRST intake, it would include one
additional census block group in Stanley County (Tract 9601/Block Group 1). That census block group is

                                                     36

Draft: July 31, 2018




                                                                                                                RAR001038
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 67 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




only 2.4% Native American, 2.4% minority, and 7.6% poverty. Likewise, if we were to extend the impact
area all the way down to the Sully County/Hughes County border on the eastern shore of Lake Oahe
(approximately 24.5 miles to the south of the CRST intake and 181 miles from the Lake Oahe crossing),
the impact area would include one additional census block group in Hughes County (Tract 9780/Block
Group 1). That census block group is only 4.1% Native American, 8.4% minority, and 2.9% poverty.
Finally, extending the impact area all the way down to the Lake Oahe dam (approximately 197 miles from
the Lake Oahe crossing) would add another census block group in Hughes County (Tract 9777/Block
Group 1) that is less than 1% Native American, less than 1% minority, and 7.6% poverty.

Additionally, ourAnother notable difference in the approach by Saha and Mohai is their use of block level
(instead of block group) data to analyze potential impacts on minority communities. Our analysis of
minority populationscommunity impacts instead relies on block group data fromfor 2011 – 2015 (5-year
estimates) from anthe American Community Survey 5-year estimates, whereas . This is the same dataset
that we (and Saha and Mohai chose to use) used for poverty populations. Although the block level data
Saha and Mohai used from the 2010 Census. Although blocks arecensus is more granular than block
groups, thereby increasing the precision, the tradeoff is a loss of consistency from using mismatched data
for the poverty and minority aspects of the analysis, the results are. We do not materially different.
Asbelieve this is a wise tradeoff, especially given that, as indicated in Table B-3 below, theusing the block
level data would not yield materially different results for this project area. The west shore is still
predominantly composed of EJ communities (94.7%), while the east shore is predominantly composed of
on non-EJ communities (91.6%). And, overall, the proportion of blocks that are EJ communities (38.0% or
166 out of 437 blocks) is not significantly different from the proportion of block groups that are EJ
communities (31.3% or 5 out of 16 block groups). More importantly, conducting the analysis at the block
group level allows us to use the same data set (2011-2015 American Community Survey) for both
minority and poverty populations, thereby ensuring consistency in the results.

Table B-3. High-Level Comparison by Geographic Unit

                                                             West Shore      East Shore         Total
  Total number of blocks                                          440             701           1,141
  Number of inhabited blocks                                      150             287            437
  Number of EJ-minority blocks                                    142             24             166
  EJ-minority blocks as percent of inhabited blocks              94.7%           8.4%           38.0%
  Total number of block groups                                     7               9              16
  Number of EJ-minority block groups                               5               0               5
  EJ-minority block groups as percent of all block groups        71.4%           0.0%           31.3%


Lastly, another contentious point in Saha and Mohai is that, by reporting statistics on household income,
disability rate, persons with less than a high school degree, and unemployed persons in Table 5 and
Table 6 of their report, the authors expanded the scope of the EJ analysis beyond what is required in E.O.
12898. Note however, thatIn any event, these socioeconomic characteristics are typically highly
correlated with persons below the poverty level, so their inclusion does not provide new insight, nor does
it change the conclusions of the EJ analysis.




                                                      37

Draft: July 31, 2018




                                                                                                                RAR001039
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 68 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




2. PART II – EJ Analysis for North Bismarck Alternative Crossing
As indicated in the section above (Part I), there are no disproportionate adverse impacts to EJ or minority
communities downstream of the DAPL crossing. However, due to concerns voiced by commenters on the
DAPL project, a supplemental EJ analysis was performed to determine the potential impacts downstream
had the North Bismarck Alternative crossing been used. The North Bismarck Alternative analysis area
includes 56 miles downstream from the North Bismarck crossing to the DAPL crossing. Beyond the DAPL
crossing, the impacts discussed in Part I would begin to be repeated for the overlapping areas. For
example, the impact areas for the next five miles of the North Bismarck crossing (miles 57-62), would be
the same as those for the first five miles of the DAPL crossing (miles 0-5).

In order to evaluate the potential impacts, the methodology utilized for the evaluation of the DAPL
crossing was also used to evaluate the North Bismarck Alternative. This includes the analysis of census
block groups downstream from the North Bismarck Alternative to the Dakota Access crossing at Lake
Oahe. The results of the analysis of minority and impoverished communities within a one-mile buffer of
the Missouri River are present in Table B-4 below. Impacts to the utilization of the Missouri River for
hunting, fishing, recreation, and cultural practices would be similar to those identified in the sections
above for Lake Oahe and are not repeated here.




                                                    38

Draft: July 31, 2018




                                                                                                              RAR001040
                                                  Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 69 of 397




                                                                                         PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                                   Table B-4. Minority and Low-Income Population Statistics for North Bismarck Crossing Alternative
                                                             (Data from ACS 2011-2015, 5-year estimates)

                                                                                                     Percent
                                                                         Am.                  Native                                               Persons
                                        Total                  Black
              Geographic Area                                           Indian              Hawaiian     Hispanic   Some     Two or     Total       Below
                                      Population                 or
                                                     White                and     Asian     and Other       or      Other     More     Minority      the
                                                              African
                                                                        Alaska                Pacific     Latino    Race     Races    Population   Poverty
                                                                Am.
                                                                        Native               Islander                                               Level
 State
 North Dakota                           721,640      87.05     1.60      5.20     1.22        0.04         2.85      0.05     2.00      12.95       11.46
 Counties
 Shore Shore
  East West




              Morton (ND)                28,985      91.39     0.65      3.57     0.14        0.00         2.29      0.00     1.96       8.61       7.99
              Sioux (ND)                 4,380       13.93     0.05     79.36     0.16        0.11         3.56      0.16     2.67      86.07       35.72
              Burleigh (ND)              88,223      91.07     0.86      3.76     0.65        0.02         1.75      0.04     1.85       8.93       8.17
              Emmons (ND)                3,463       96.79     0.00      0.32     0.46        0.00         0.12      0.00     2.31       3.21       11.33
 Block Groups
              Block Group 0201-1         2,051       96.73     0.05      0.93     0.00        0.00         2.29      0.00     0.00       3.27       3.72
              Block Group 0201-2         1,564       83.63     1.28      3.58     1.02        0.00         0.26      0.00    10.23      16.37       20.52
              Block Group 0201-4         1,177       73.58     0.00     26.42     0.00        0.00         0.00      0.00     0.00      26.42       3.91
              Block Group 0202-1         1,778       92.58     0.00      6.52     0.00        0.00         0.00      0.00     0.90       7.42       3.17
              Block Group 0202-2         1,371       98.83     0.00      0.00     1.17        0.00         0.00      0.00     0.00       1.17       3.32
 West Shore




              Block Group 0203-1         1,558       87.48     0.00     10.40     0.00        0.00         0.13      0.00     1.99      12.52       15.27

              Block Group 0203-2         2,032       89.71     0.00      7.78     0.00        0.00         1.53      0.00     0.98      10.29       22.93
              Block Group 0203-3         3,643       95.83     0.00      1.13     0.00        0.00         1.37      0.00     1.67       4.17       4.04
              Block Group 0204-1         1,511       95.43     0.00      2.58     0.00        0.00         0.00      0.00     1.99       4.57       4.43
              Block Group 0204-3          934        92.40     0.00      1.07     0.00        0.00         4.82      0.00     1.71       7.60       1.51
              Block Group 9408-1          961        13.32     0.00     82.73     0.00        0.00         1.04      0.31     2.60      86.68       42.80
              Block Group 9409-1         1,710       5.32      0.00     88.19     0.18        0.00         3.22      0.00     3.10      94.68       35.52
              Block Group 9409-2         1,000       8.00      0.20     85.10     0.00        0.30         4.30      0.40     1.70      92.00       37.99
                                                                                 39

Draft: July 31, 2018




                                                                                                                                                             RAR001041
                                                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 70 of 397




                                                                                         PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                                   Table B-4. Minority and Low-Income Population Statistics for North Bismarck Crossing Alternative
                                                             (Data from ACS 2011-2015, 5-year estimates)

                                                                                                     Percent
                                                                         Am.                  Native                                               Persons
                                        Total                  Black
              Geographic Area                                           Indian              Hawaiian     Hispanic   Some     Two or     Total       Below
                                      Population                 or
                                                     White                and     Asian     and Other       or      Other     More     Minority      the
                                                              African
                                                                        Alaska                Pacific     Latino    Race     Races    Population   Poverty
                                                                Am.
                                                                        Native               Islander                                               Level
              Block Group 101-2          1,086       88.86     3.41      0.00     0.00        0.00         7.27      0.00     0.46      11.14       3.59

              Block Group 101-3          1,448       77.28     0.97     15.81     0.90        0.00         3.45      0.00     1.59      22.72       27.79

              Block Group 105-1          2,367       88.34     4.82      2.96     0.00        0.59         1.06      0.00     2.24      11.66       6.63

              Block Group 105-2          1,920       97.45     0.00      0.73     0.00        0.00         0.21      0.00     1.61       2.55       13.05

              Block Group 105-3           772       100.00     0.00      0.00     0.00        0.00         0.00      0.00     0.00       0.00       3.29

              Block Group 106-1          1,131       88.24     0.00     11.76     0.00        0.00         0.00      0.00     0.00      11.76       15.51

              Block Group 106-2          1,161       40.31     3.70     36.61     0.09        0.00         1.81      0.00    17.48      59.69       51.30

              Block Group 106-3          2,300       93.83     0.00      3.61     0.57        0.00         2.00      0.00     0.00       6.17       4.43

              Block Group 107-2          1,122       92.87     0.62      1.34     0.00        0.00         3.03      0.00     2.14       7.13       20.59
 East Shore




              Block Group 107-3          1,823       98.03     0.00      1.32     0.00        0.00         0.66      0.00     0.00       1.97       0.77

              Block Group 111.03-1       1,505       99.20     0.00      0.00     0.80        0.00         0.00      0.00     0.00       0.80       2.33

              Block Group 111.03-2       1,887       87.44     1.59      6.41     1.80        0.00         1.96      0.37     0.42      12.56       5.11

              Block Group 111.04-2       3,215       94.34     0.00      1.99     2.21        0.00         1.28      0.00     0.19       5.66       2.18

              Block Group 111.05-1       3,052       95.48     0.00      3.01     0.00        0.00         0.33      0.00     1.18       4.52       2.15

              Block Group 111.05-2       1,146       98.69     0.00      0.70     0.00        0.00         0.61      0.00     0.00       1.31       0.00

              Block Group 112-1          1,675       86.69     0.12      2.09     0.00        0.00         0.00      0.00    11.10      13.31       8.89

              Block Group 112-3          1,097       92.43     0.82      4.28     0.00        0.00         1.19      0.00     1.28       7.57       1.24

              Block Group 112-4          2,129       88.30     2.68      0.94     0.00        0.00         5.31      0.00     2.77      11.70       1.92

              Block Group 113-2          2,105       96.06     0.10      1.85     0.05        0.00         0.62      0.00     1.33       3.94       1.62

              Block Group 114-2          1,807       95.57     0.00      1.72     0.89        0.00         0.66      0.00     1.16       4.43       2.94

              Block Group 9665-1          793        90.42     0.00      0.00     0.00        0.00         0.50      0.00     9.08       9.58       9.96

                                                                                 40

Draft: July 31, 2018




                                                                                                                                                             RAR001042
                                    Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 71 of 397




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Source: U.S. Census Bureau, American Community Survey (2015 estimates).




                                                                 41

Draft: July 31, 2018




                                                                                                                                 RAR001043
               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 72 of 397




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As shown in Table B-4 above, the communities impacted by an oil release into the Missouri River at the
North Bismarck Alternative crossing would include both EJ and non-EJ communities. Eight of the block
groups that intersect the one-mile analysis buffer qualify as EJ communities. In total, there are
approximately 8,087 minority individuals within the block groups that intersect the one-mile analysis
buffer. By way of comparison, the entire minority populations of the four counties within 56 miles
downstream of the DAPL crossing (Sioux County, ND and Corson County, SD on the west side; and
Emmons County, ND and Campbell County, SD on the east side)13 are only approximately 6,807 minority
individuals—fewer than the number within the block groups intersecting the one-mile buffer for the
release at the North Bismarck Alternative crossing.

A release to the river at the North Bismarck crossing location would also impact three drinking water
intakes within the 56-mile North Bismarck Alternative analysis area as indicated in Table B-5.

Table B-5. Drinking Water Intakes Downstream of the North Bismarck Alternative Crossing.


                                                                                  Distance Downstream
                         Drinking Water Intake/ Owner                             from North Bismarck
                                                                                    Crossing Location
                                                                                         (miles)

       South Central Regional Water District
       Missouri River Horizontal Drinking Water Intake Well Field*                        1.9 – 2.0
       (non-Tribal)


       City of Mandan                                                                        7.1
       Surface Water Intake (non-Tribal)


       City of Bismarck                                                                      11.6
       Surface Water Intake (non-Tribal)


       City of Bismarck
       Missouri River Horizontal Drinking Water Intake Wells*                                12.3
       (Well Installed Within Gravel Unit Interface Below Missouri
       River)



Drinking water intakes potentially affected by the North Bismarck Alternative Crossing (within the 56-mile analysis
area) are illustrated on Figure B-3.
* Both the SCRWD Drinking Water Intake Wells and the City of Bismarck Drinking Water Intake Well are wells that
were installed horizontally beneath the Missouri River at the river/groundwater interface below the Missouri River.
The SCRWD Missouri River Horizontal Drinking Water Intake Well Field consists of a series of nine intake wells.

13
   A release traveling 56 miles downstream of the North Bismarck crossing would only reach approximately the
midpoint of the two referenced South Dakota counties (Corson County on the west side and Campbell County on the
east side) after passing the two referenced North Dakota counties (Sioux County on the west side; and Emmons
County on the east side). Morton County, North Dakota is not included because the portion immediately downstream
of the Lake Oahe crossing (less than 0.5 mile) is uninhabited.
                                                          42

Draft: July 31, 2018




                                                                                                                      RAR001044
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 73 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




The City of Mandan and the City of Bismarck intakes would serve both EJ and non-EJ communities. By
contrast, no Tribal drinking water intakes would be impacted within an equivalent 56-mile reach
downstream of the DAPL crossing as indicated in Table B-7 in Part III below.

3. PART III – EJ Analysis Drinking Water Intake Distribution
As indicated in Parts I and II above, there are no disproportionate adverse impacts to EJ communities
with either the DAPL crossing or the North Bismarck Alternative crossing. Additionally, no significant
potential health effects to humans are anticipated in relation to water intakes downstream of the DAPL
crossing. Even in the event of a worst-case spill, no oil was modeled to be present at the intake locations
for drinking water. Therefore, no ingestion of drinking water above U.S. EPA health limits is anticipated.
Out of caution in the event of a release that results in surface oil reaching the intake locations, though,
operators would be advised to temporarily shut off water intakes until the plume had passed. In that case,
an alternative water source would be provided as described above. We do not believe the resulting
temporary inconvenience to users would be classified as an EJ issue under any measure. Regardless, for
the sake of completeness we have evaluated the populations served by the water intakes that might be
impacted under each alternative.

The same methodology discussed above (section II.B.1.a) was utilized for the evaluation of the drinking
water intake distribution. This includes the analysis of census block groups within all drinking water
districts that have an intake located on the Missouri River or Lake Oahe from 1) the North Bismarck
Alternative crossing to the DAPL crossing (approximately 56 miles) and 2) the DAPL crossing to the
CRST intake (approximately 156 miles south of the DAPL crossing). The results of the drinking water
intake distribution analysis are present in Table B-6.




                                                    43

Draft: July 31, 2018




                                                                                                              RAR001045
                                                                                                  Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 74 of 397




                                                      Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                      (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                       Percent

                                                                                                                                                               Native
                                    Geographic Area                            Total Population                  Black or         American                                                              Two or     Total        Persons
                                                                                                                                                            Hawaiian and     Hispanic or     Some
                                                                                                     White        African        Indian and      Asian                                                   More     Minority     Below the
                                                                                                                                                            Other Pacific      Latino      Other Race
                                                                                                                 American       Alaska Native                                                           Races    Population   Poverty Level
                                                                                                                                                              Islander

 States
 North Dakota                                                                      721,640           87.05          1.60            5.20          1.22          0.04             2.85         0.05       2.00      12.95          11.46
 South Dakota                                                                      843,190           83.22          1.52            8.30          1.20          0.04             3.31         0.08       2.34      16.78          14.11
 Counties
                   Burleigh (ND)                                                    88,223           91.07          0.86            3.76          0.65          0.02             1.75         0.04       1.85       8.93          8.17
                   Emmons (ND)                                                      3,463            96.79          0.00            0.32          0.46          0.00             0.12         0.00       2.31       3.21          11.33
                   Grant (ND)                                                       2,362            97.04          0.34            1.10          0.00          0.00             0.85         0.00       0.68       2.96          14.88
    North Dakota




                   Kidder (ND)                                                      2,430            94.73          0.00            0.00          0.00          0.00             5.02         0.00       0.25       5.27          7.62
                   Logan (ND)                                                       1,945            96.56          0.31            0.31          0.31          0.00             1.44         0.05       1.03       3.44          8.08
                   McIntosh (ND)                                                    2,759            95.83          0.33            0.51          0.51          0.00             0.91         0.00       1.92       4.17          11.73
                   Morton (ND)                                                      28,985           91.39          0.65            3.57          0.14          0.00             2.29         0.00       1.96       8.61          7.99
                   Oliver (ND)                                                      1,819            91.70          0.33            4.29          0.16          0.00             2.91         0.16       0.44       8.30          7.68
                   Sioux (ND)                                                       4,380            13.93          0.05            79.36         0.16          0.11             3.56         0.16       2.67      86.07          35.72
                   Brown (SD)                                                       38,060           89.91          1.51            3.34          1.86          0.02             2.25         0.03       1.09      10.09          9.82
                   Campbell (SD)                                                    1,548            94.90          0.00            3.49          0.78          0.00             0.19         0.00       0.65       5.10          9.06
                   Clark (SD)                                                       3,625            93.79          0.77            1.05          0.80          0.00             2.54         0.36       0.69       6.21          15.91
                   Corson (SD)                                                      4,149            30.95          0.29            66.76         0.29          0.00             0.58         0.00       1.13      69.05          45.58
                   Day (SD)                                                         5,618            87.02          0.00            9.11          0.46          0.00             1.94         0.00       1.46      12.98          22.10
                   Dewey (SD)                                                       5,579            21.72          0.04            75.57         0.00          0.00             0.91         0.00       1.76      78.28          27.83
    South Dakota




                   Edmunds (SD)                                                     4,018            96.69          0.12            1.34          0.40          0.00             1.27         0.00       0.17       3.31          12.29
                   Faulk (SD)                                                       2,359            94.07          0.00            1.78          0.13          0.00             4.03         0.00       0.00       5.93          16.37
                   Hand (SD)                                                        3,375            97.42          0.00            0.15          0.30          0.00             1.39         0.00       0.74       2.58          8.17
                   McPherson (SD)                                                   2,263            91.47          0.22            5.70          0.35          0.00             2.08         0.00       0.18       8.53          22.06
                   Marshall (SD)                                                    4,701            83.37          0.62            8.98          0.04          0.00             4.83         0.00       2.17      16.63          15.15
                   Potter (SD)                                                      2,307            92.72          0.00            3.34          1.13          0.00             0.87         0.00       1.95       7.28          11.59
                   Spink (SD)                                                       6,570            95.08          0.21            1.26          0.00          0.55             1.98         0.00       0.91       4.92          12.54
                   Walworth (SD)                                                    5,495            81.31          0.20            8.50          2.78          0.51             4.68         0.00       2.02      18.69          12.24
                   Ziebach (SD)                                                     2,833            23.72          0.28            70.56         0.74          0.00             3.67         0.00       1.02      76.28          39.55




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Draft: July 31, 2018




                                                                                                                                                                                                                                              RAR001046
                                                                                                            Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 75 of 397




                                                              Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                              (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                               Percent

                                                                                                                                                                       Native
                                        Geographic Area                                  Total Population                Black or         American                                                              Two or     Total        Persons
                                                                                                                                                                    Hawaiian and     Hispanic or     Some
                                                                                                               White      African        Indian and      Asian                                                   More     Minority     Below the
                                                                                                                                                                    Other Pacific      Latino      Other Race
                                                                                                                         American       Alaska Native                                                           Races    Population   Poverty Level
                                                                                                                                                                      Islander

 Block Groups
                                     380150101001   Block Group 1, Census Tract 101            748             95.32        0.00            0.13          2.54          0.00             0.67         0.00       1.34       4.68          24.63

                                     380150101002   Block Group 2, Census Tract 101           1,086            88.86        3.41            0.00          0.00          0.00             7.27         0.00       0.46      11.14          3.59

                                     380150101003   Block Group 3, Census Tract 101           1,448            77.28        0.97            15.81         0.90          0.00             3.45         0.00       1.59      22.72          27.79

                                     380150102001   Block Group 1, Census Tract 102           1,949            94.97        2.57            1.08          0.46          0.00             0.00         0.00       0.92       5.03          2.98

                                     380150102002   Block Group 2, Census Tract 102           1,513            96.03        0.00            2.25          0.00          0.00             0.99         0.00       0.73       3.97          2.27

                                     380150102003   Block Group 3, Census Tract 102           1,055            91.18        0.00            8.82          0.00          0.00             0.00         0.00       0.00       8.82          15.36

                                     380150102004   Block Group 4, Census Tract 102            711             61.32        0.00            33.61         0.00          0.00             5.06         0.00       0.00      38.68          62.73

                                     380150103001   Block Group 1, Census Tract 103           1,557            93.90        0.00            3.08          3.02          0.00             0.00         0.00       0.00       6.10          6.62

                                     380150103002   Block Group 2, Census Tract 103           1,567            97.83        1.08            0.00          0.00          0.00             0.00         0.00       1.08       2.17          6.83

                                     380150103003   Block Group 3, Census Tract 103            903             95.24        0.00            0.00          0.00          0.00             4.76         0.00       0.00       4.76          1.00

                                     380150103004   Block Group 4, Census Tract 103            597             95.48        4.36            0.17          0.00          0.00             0.00         0.00       0.00       4.52          8.01

                                     380150103005   Block Group 5, Census Tract 103            714             100.00       0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          11.03

                                     380150103006   Block Group 6, Census Tract 103           1,363            100.00       0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          6.16

                                     380150104001   Block Group 1, Census Tract 104           1,477            94.38        0.00            3.39          0.00          0.00             1.22         0.00       1.02       5.62          7.03
                   Burleigh County




                                                    Block Group 2, Census Tract 104            849             91.28        0.94            0.00          0.00          0.00             5.42         0.00       2.36       8.72          8.01
    North Dakota




                                     380150104002
                                     380150104003   Block Group 3, Census Tract 104           1,424            91.78        3.72            0.00          0.00          0.00             3.51         0.00       0.98       8.22          1.54

                                     380150105001   Block Group 1, Census Tract 105           2,367            88.34        4.82            2.96          0.00          0.59             1.06         0.00       2.24      11.66          6.63

                                     380150105002   Block Group 2, Census Tract 105           1,920            97.45        0.00            0.73          0.00          0.00             0.21         0.00       1.61       2.55          13.05

                                     380150105003   Block Group 3, Census Tract 105            772             100.00       0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          3.29

                                     380150106001   Block Group 1, Census Tract 106           1,131            88.24        0.00            11.76         0.00          0.00             0.00         0.00       0.00      11.76          15.51

                                     380150106002   Block Group 2, Census Tract 106           1,161            40.31        3.70            36.61         0.09          0.00             1.81         0.00      17.48      59.69          51.30

                                     380150106003   Block Group 3, Census Tract 106           2,300            93.83        0.00            3.61          0.57          0.00             2.00         0.00       0.00       6.17          4.43

                                     380150107001   Block Group 1, Census Tract 107           1,353            94.01        0.00            3.33          0.00          0.00             1.40         0.00       1.26       5.99          9.46

                                     380150107002   Block Group 2, Census Tract 107           1,122            92.87        0.62            1.34          0.00          0.00             3.03         0.00       2.14       7.13          20.59

                                     380150107003   Block Group 3, Census Tract 107           1,823            98.03        0.00            1.32          0.00          0.00             0.66         0.00       0.00       1.97          0.77

                                     380150108001   Block Group 1, Census Tract 108           2,087            85.48        0.00            10.11         0.00          0.00             0.05         0.00       4.36      14.52          19.79

                                     380150108002   Block Group 2, Census Tract 108           1,973            87.68        0.25            8.67          0.00          0.00             1.62         0.00       1.77      12.32          10.92

                                     380150109001   Block Group 1, Census Tract 109           1,879            92.39        0.00            1.44          0.00          0.00             5.48         0.00       0.69       7.61          9.12

                                     380150109002   Block Group 2, Census Tract 109           1,176            74.23        6.72            12.93         0.00          0.00             3.57         0.94       1.62      25.77          18.96

                                     380150109003   Block Group 3, Census Tract 109           1,571            97.20        0.57            0.00          0.00          0.00             0.95         0.00       1.27       2.80          1.34

                                     380150110011   Block Group 1, Census Tract 110.01        1,883            81.15        5.47            3.61          0.00          0.00             5.31         0.85       3.61      18.85          22.16

                                     380150110012   Block Group 2, Census Tract 110.01        2,393            92.77        0.00            1.50          5.22          0.00             0.00         0.00       0.50       7.23          8.73
                                                                                                                                   45

Draft: July 31, 2018




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                                                                                                Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 76 of 397




                                                  Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                  (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                   Percent

                                                                                                                                                           Native
                            Geographic Area                                  Total Population                Black or         American                                                              Two or     Total        Persons
                                                                                                                                                        Hawaiian and     Hispanic or     Some
                                                                                                   White      African        Indian and      Asian                                                   More     Minority     Below the
                                                                                                                                                        Other Pacific      Latino      Other Race
                                                                                                             American       Alaska Native                                                           Races    Population   Poverty Level
                                                                                                                                                          Islander

                         380150110013   Block Group 3, Census Tract 110.01        1,112            92.72        0.00            1.62          0.00          0.00             0.00         0.00       5.67       7.28          2.61

                         380150110021   Block Group 1, Census Tract 110.02        3,308            87.64        1.27            0.00          0.21          0.00             3.42         0.00       7.47      12.36          2.12

                         380150110022   Block Group 2, Census Tract 110.02        3,029            99.74        0.07            0.00          0.00          0.00             0.20         0.00       0.00       0.26          0.33

                         380150111011   Block Group 1, Census Tract 111.01        1,969            79.53        0.00            5.03          0.00          0.00             9.14         0.00       6.30      20.47          11.07

                         380150111012   Block Group 2, Census Tract 111.01         789             83.40        1.14            0.63          9.38          0.00             2.41         0.00       3.04      16.60          26.74

                         380150111013   Block Group 3, Census Tract 111.01        2,613            87.87        1.38            8.88          1.57          0.00             0.00         0.00       0.31      12.13          11.92

                         380150111031   Block Group 1, Census Tract 111.03        1,505            99.20        0.00            0.00          0.80          0.00             0.00         0.00       0.00       0.80          2.33

                         380150111032   Block Group 2, Census Tract 111.03        1,887            87.44        1.59            6.41          1.80          0.00             1.96         0.37       0.42      12.56          5.11

                         380150111041   Block Group 1, Census Tract 111.04        1,604            94.08        0.00            0.00          5.36          0.00             0.00         0.00       0.56       5.92          0.00

                         380150111042   Block Group 2, Census Tract 111.04        3,215            94.34        0.00            1.99          2.21          0.00             1.28         0.00       0.19       5.66          2.18

                         380150111051   Block Group 1, Census Tract 111.05        3,052            95.48        0.00            3.01          0.00          0.00             0.33         0.00       1.18       4.52          2.15

                         380150111052   Block Group 2, Census Tract 111.05        1,146            98.69        0.00            0.70          0.00          0.00             0.61         0.00       0.00       1.31          0.00

                         380150112001   Block Group 1, Census Tract 112           1,675            86.69        0.12            2.09          0.00          0.00             0.00         0.00      11.10      13.31          8.89

                         380150112002   Block Group 2, Census Tract 112           1,486            94.35        0.00            0.00          0.00          0.00             5.65         0.00       0.00       5.65          7.87

                         380150112003   Block Group 3, Census Tract 112           1,097            92.43        0.82            4.28          0.00          0.00             1.19         0.00       1.28       7.57          1.24

                         380150112004   Block Group 4, Census Tract 112           2,129            88.30        2.68            0.94          0.00          0.00             5.31         0.00       2.77      11.70          1.92

                         380150113001   Block Group 1, Census Tract 113           2,723            95.67        0.00            0.77          0.00          0.00             1.84         0.00       1.73       4.33          1.29

                         380150113002   Block Group 2, Census Tract 113           2,105            96.06        0.10            1.85          0.05          0.00             0.62         0.00       1.33       3.94          1.62

                         380150113003   Block Group 3, Census Tract 113           1,814            82.86        0.06            15.49         0.00          0.00             0.88         0.00       0.72      17.14          17.56

                         380150114001   Block Group 1, Census Tract 114            684             97.22        0.00            1.46          0.00          0.00             0.44         0.00       0.88       2.78          7.60

                         380150114002   Block Group 2, Census Tract 114           1,807            95.57        0.00            1.72          0.89          0.00             0.66         0.00       1.16       4.43          2.94

                         380150115001   Block Group 1, Census Tract 115            831             95.67        0.00            0.36          0.36          0.00             2.53         0.24       0.84       4.33          6.98

                         380150115002   Block Group 2, Census Tract 115            771             96.89        0.00            0.65          0.00          0.00             1.04         0.00       1.43       3.11          5.71

                         380299665001   Block Group 1, Census Tract 9665           793             90.42        0.00            0.00          0.00          0.00             0.50         0.00       9.08       9.58          9.96
               Emmons




                                        Block Group 2, Census Tract 9665           757             99.60        0.00            0.00          0.00          0.00             0.00         0.00       0.40       0.40          14.00
                County




                         380299665002
                         380299665003   Block Group 3, Census Tract 9665           783             98.08        0.00            1.40          0.51          0.00             0.00         0.00       0.00       1.92          11.40

                         380299665004   Block Group 4, Census Tract 9665          1,130            98.50        0.00            0.00          1.06          0.00             0.00         0.00       0.44       1.50          10.44
               County
               Grant




                         380379659002   Block Group 2, Census Tract 9659          1,430            98.67        0.00            0.56          0.00          0.00             0.49         0.00       0.28       1.33          17.52

                         380439668001   Block Group 1, Census Tract 9668           828             92.87        0.00            0.00          0.00          0.00             7.13         0.00       0.00       7.13          10.27
               County
               Kidder




                         380439668002   Block Group 2, Census Tract 9668           831             99.28        0.00            0.00          0.00          0.00             0.00         0.00       0.72       0.72          5.17

                         380439668003   Block Group 3, Census Tract 9668           771             91.83        0.00            0.00          0.00          0.00             8.17         0.00       0.00       8.17          7.41


                                                                                                                       46

Draft: July 31, 2018




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                                                                                                     Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 77 of 397




                                                         Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                         (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                          Percent

                                                                                                                                                                  Native
                                   Geographic Area                                Total Population                  Black or         American                                                              Two or     Total        Persons
                                                                                                                                                               Hawaiian and     Hispanic or     Some
                                                                                                        White        African        Indian and      Asian                                                   More     Minority     Below the
                                                                                                                                                               Other Pacific      Latino      Other Race
                                                                                                                    American       Alaska Native                                                           Races    Population   Poverty Level
                                                                                                                                                                 Islander

                                               Block Group 1, Census Tract 9725        1,166            97.26          0.00            0.51          0.51          0.00             0.00         0.00       1.72       2.74          6.57
               County
               Logan




                                380479725001

                                380479725002   Block Group 2, Census Tract 9725         779             95.51          0.77            0.00          0.00          0.00             3.59         0.13       0.00       4.49          10.39

                                380519729001   Block Group 1, Census Tract 9729        1,012            95.16          0.89            0.00          0.30          0.00             2.47         0.00       1.19       4.84          10.75
               McIntosh
                County




                                380519729002   Block Group 2, Census Tract 9729         943             97.99          0.00            0.74          0.00          0.00             0.00         0.00       1.27       2.01          11.56

                                380519729003   Block Group 3, Census Tract 9729         804             94.15          0.00            0.87          1.37          0.00             0.00         0.00       3.61       5.85          13.18

                                380590201001   Block Group 1, Census Tract 201         2,051            96.73          0.05            0.93          0.00          0.00             2.29         0.00       0.00       3.27          3.72

                                380590201002   Block Group 2, Census Tract 201         1,564            83.63          1.28            3.58          1.02          0.00             0.26         0.00      10.23      16.37          20.52

                                380590201003   Block Group 3, Census Tract 201          710             97.89          0.00            0.70          0.00          0.00             0.70         0.00       0.70       2.11          24.23

                                380590201004   Block Group 4, Census Tract 201         1,177            73.58          0.00            26.42         0.00          0.00             0.00         0.00       0.00      26.42          3.91

                                380590202001   Block Group 1, Census Tract 202         1,778            92.58          0.00            6.52          0.00          0.00             0.00         0.00       0.90       7.42          3.17

                                380590202002   Block Group 2, Census Tract 202         1,371            98.83          0.00            0.00          1.17          0.00             0.00         0.00       0.00       1.17          3.32

                                380590202003   Block Group 3, Census Tract 202         1,510            89.14          0.00            0.40          0.00          0.00             10.26        0.00       0.20      10.86          4.62

                                380590202004   Block Group 4, Census Tract 202         1,154            74.35         12.74            5.11          0.00          0.00             3.29         0.00       4.51      25.65          5.20
                Morton County




                                380590202005   Block Group 5, Census Tract 202         1,761            92.50          0.00            0.45          0.00          0.00             4.60         0.00       2.44       7.50          10.91

                                380590203001   Block Group 1, Census Tract 203         1,558            87.48          0.00            10.40         0.00          0.00             0.13         0.00       1.99      12.52          15.27

                                380590203002   Block Group 2, Census Tract 203         2,032            89.71          0.00            7.78          0.00          0.00             1.53         0.00       0.98      10.29          22.93

                                380590203003   Block Group 3, Census Tract 203         3,643            95.83          0.00            1.13          0.00          0.00             1.37         0.00       1.67       4.17          4.04

                                380590203004   Block Group 4, Census Tract 203         1,939            89.89          0.36            0.98          0.00          0.00             3.56         0.00       5.21      10.11          1.11

                                380590204001   Block Group 1, Census Tract 204         1,511            95.43          0.00            2.58          0.00          0.00             0.00         0.00       1.99       4.57          4.43

                                380590204002   Block Group 2, Census Tract 204          716             97.91          0.00            0.00          0.00          0.00             0.00         0.00       2.09       2.09          5.03

                                380590204003   Block Group 3, Census Tract 204          934             92.40          0.00            1.07          0.00          0.00             4.82         0.00       1.71       7.60          1.51

                                380590205002   Block Group 2, Census Tract 205          834             95.68          0.00            3.00          0.24          0.00             0.00         0.00       1.08       4.32          8.08

                                380590205003   Block Group 3, Census Tract 205         1,082            98.71          0.00            0.00          0.00          0.00             0.92         0.00       0.37       1.29          7.85

                                380590205004   Block Group 4, Census Tract 205          798             98.62          0.00            0.00          0.50          0.00             0.75         0.00       0.13       1.38          8.19

                                380659612001   Block Group 1, Census Tract 9612         824             92.84          0.00            5.70          0.00          0.00             1.21         0.00       0.24       7.16          7.23
               County
               Oliver




                                380659612002   Block Group 2, Census Tract 9612         995             90.75          0.60            3.12          0.30          0.00             4.32         0.30       0.60       9.25          8.05

                                380859408001   Block Group 1, Census Tract 9408         961             13.32          0.00            82.73         0.00          0.00             1.04         0.31       2.60      86.68          42.80
                Sioux County




                                380859408002   Block Group 2, Census Tract 9408         709             43.86          0.00            45.42         0.56          0.28             6.77         0.00       3.10      56.14          23.38

                                380859409001   Block Group 1, Census Tract 9409        1,710            5.32           0.00            88.19         0.18          0.00             3.22         0.00       3.10      94.68          35.52

                                380859409002   Block Group 2, Census Tract 9409        1,000            8.00           0.20            85.10         0.00          0.30             4.30         0.40       1.70      92.00          37.99



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Draft: July 31, 2018




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                                                                                                           Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 78 of 397




                                                               Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                               (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                                Percent

                                                                                                                                                                        Native
                                         Geographic Area                                Total Population                  Black or         American                                                              Two or     Total        Persons
                                                                                                                                                                     Hawaiian and     Hispanic or     Some
                                                                                                              White        African        Indian and      Asian                                                   More     Minority     Below the
                                                                                                                                                                     Other Pacific      Latino      Other Race
                                                                                                                          American       Alaska Native                                                           Races    Population   Poverty Level
                                                                                                                                                                       Islander

                                      460139513002   Block Group 2, Census Tract 9513        2,041            95.39          0.00            0.20          0.00          0.00             0.98         0.00       3.43       4.61          2.56
                                      460139514001   Block Group 1, Census Tract 9514        3,138            94.39          4.27            0.38          0.96          0.00             0.00         0.00       0.00       5.61          9.24
                                      460139516001   Block Group 1, Census Tract 9516        1,930            79.27          1.76            10.52         7.36          0.00             0.41         0.00       0.67      20.73          7.24
                                      460139516004   Block Group 4, Census Tract 9516         617             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          1.78
                                      460139517001   Block Group 1, Census Tract 9517         950             74.11          0.00            5.79          0.00          0.00             15.47        0.00       4.63      25.89          21.68
                                      460139517002   Block Group 2, Census Tract 9517        1,624            92.30          1.17            4.06          0.00          0.00             2.03         0.43       0.00       7.70          14.29
                                      460139517003   Block Group 3, Census Tract 9517        2,233            92.07          0.00            6.36          0.00          0.00             1.57         0.00       0.00       7.93          20.02
                      Brown County




                                      460139518001   Block Group 1, Census Tract 9518        1,741            97.76          0.00            2.07          0.00          0.00             0.00         0.17       0.00       2.24          1.51
                                      460139518003   Block Group 3, Census Tract 9518        1,518            98.68          1.32            0.00          0.00          0.00             0.00         0.00       0.00       1.32          18.35
                                      460139519001   Block Group 1, Census Tract 9519         602             93.85          0.00            0.00          0.00          0.00             6.15         0.00       0.00       6.15          15.45
                                      460139519002   Block Group 2, Census Tract 9519        1,873            91.08          0.00            2.78          0.00          0.00             5.61         0.00       0.53       8.92          1.81
                                      460139519003   Block Group 3, Census Tract 9519        1,202            98.84          0.50            0.25          0.00          0.00             0.25         0.00       0.17       1.16          5.37
                                      460139520001   Block Group 1, Census Tract 9520         693             98.27          0.00            0.72          0.00          0.00             0.43         0.00       0.58       1.73          8.51
                                      460139520002   Block Group 2, Census Tract 9520        1,446            95.30          0.00            2.35          0.00          0.00             0.00         0.00       2.35       4.70          1.52
                                      460139520003   Block Group 3, Census Tract 9520         405             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          10.72
    South Dakota




                                      460139520004   Block Group 4, Census Tract 9520         571             98.77          0.00            0.00          0.00          0.00             1.23         0.00       0.00       1.23          9.68
                                      460139520005   Block Group 5, Census Tract 9520        1,509            98.28          1.72            0.00          0.00          0.00             0.00         0.00       0.00       1.72          2.45

                                      460219641001   Block Group 1, Census Tract 9641         643             96.89          0.00            2.64          0.00          0.00             0.47         0.00       0.00       3.11          7.78
                    Clark Campbell
                   County County




                                      460219641002   Block Group 2, Census Tract 9641         905             93.48          0.00            4.09          1.33          0.00             0.00         0.00       1.10       6.52          9.98


                                      460259558001   Block Group 1, Census Tract 9558         454             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          2.42
                      Corson County




                                      460319410001   Block Group 1, Census Tract 9410         632             91.77          0.00            6.80          0.00          0.00             0.00         0.00       1.42       8.23          9.61
                                      460319410002   Block Group 2, Census Tract 9410        1,041            21.52          0.00            77.33         0.96          0.00             0.19         0.00       0.00      78.48          57.31
                                      460319411001   Block Group 1, Census Tract 9411        1,664            17.49          0.72            79.39         0.00          0.00             1.08         0.00       1.32      82.51          54.86
                                      460319411002   Block Group 2, Census Tract 9411         812             23.28          0.00            74.01         0.25          0.00             0.49         0.00       1.97      76.72          39.21
                                      460379527001   Block Group 1, Census Tract 9527         606             98.84          0.00            0.00          0.00          0.00             0.00         0.00       1.16       1.16          19.06
                                      460379527002   Block Group 2, Census Tract 9527        1,059            93.58          0.00            1.79          0.38          0.00             3.68         0.00       0.57       6.42          14.07
                      Day County




                                      460379528001   Block Group 1, Census Tract 9528         951             96.11          0.00            1.58          1.89          0.00             0.00         0.00       0.42       3.89          16.17
                                      460379528002   Block Group 2, Census Tract 9528        1,051            94.67          0.00            2.19          0.38          0.00             0.00         0.00       2.76       5.33          30.63
                                      460379529001   Block Group 1, Census Tract 9529        1,367            74.03          0.00            22.09         0.00          0.00             2.41         0.00       1.46      25.97          27.29
                                      460379529002   Block Group 2, Census Tract 9529         584             64.73          0.00            26.20         0.00          0.00             6.34         0.00       2.74      35.27          20.72



                                                                                                                                    48

Draft: July 31, 2018




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                                                                                                     Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 79 of 397




                                                         Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                         (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                          Percent

                                                                                                                                                                  Native
                                   Geographic Area                                Total Population                  Black or         American                                                              Two or     Total        Persons
                                                                                                                                                               Hawaiian and     Hispanic or     Some
                                                                                                        White        African        Indian and      Asian                                                   More     Minority     Below the
                                                                                                                                                               Other Pacific      Latino      Other Race
                                                                                                                    American       Alaska Native                                                           Races    Population   Poverty Level
                                                                                                                                                                 Islander

                                460419415001   Block Group 1, Census Tract 9415         856             10.75          0.23            85.75         0.00          0.00             2.69         0.00       0.58      89.25          16.77
                 Dewey County




                                460419415002   Block Group 2, Census Tract 9415        1,766             4.70          0.00            94.34         0.00          0.00             0.11         0.00       0.85      95.30          41.68
                                460419417001   Block Group 1, Census Tract 9417         412             34.95          0.00            63.59         0.00          0.00             0.00         0.00       1.46      65.05          25.24
                                460419417002   Block Group 2, Census Tract 9417        1,384            55.64          0.00            41.26         0.00          0.00             0.00         0.00       3.11      44.36          17.59
                                460419417003   Block Group 3, Census Tract 9417        1,161            10.59          0.00            84.67         0.00          0.00             2.24         0.00       2.50      89.41          27.12
                                460459621001   Block Group 1, Census Tract 9621        1,252            96.49          0.40            2.56          0.56          0.00             0.00         0.00       0.00       3.51          19.97
               Edmunds
                County




                                460459621002   Block Group 2, Census Tract 9621        1,007            98.41          0.00            1.59          0.00          0.00             0.00         0.00       0.00       1.59          5.94
                                460459622001   Block Group 1, Census Tract 9622         731             92.61          0.00            0.55          0.82          0.00             6.02         0.00       0.00       7.39          12.04
                                460459622002   Block Group 2, Census Tract 9622        1,028            98.15          0.00            0.19          0.29          0.00             0.68         0.00       0.68       1.85          8.75
                                460499611001   Block Group 1, Census Tract 9611         879             98.86          0.00            0.80          0.00          0.00             0.34         0.00       0.00       1.14          6.31
               County
               Faulk




                                460499611002   Block Group 2, Census Tract 9611         773             83.18          0.00            4.53          0.39          0.00             11.90        0.00       0.00      16.82          33.68
                                460499611003   Block Group 3, Census Tract 9611         707             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          9.04
               County
                Hand




                                460599756001   Block Group 1, Census Tract 9756         710             98.17          0.00            0.00          0.00          0.00             0.85         0.00       0.99       1.83          6.06

                                               Block Group 1, Census Tract 9631         790             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          16.38
               McPherson




                                460899631001
                County




                                               Block Group 2, Census Tract 9631         642             98.75          0.00            0.00          1.25          0.00             0.00         0.00       0.00       1.25          6.57
                                460899631002
                                               Block Group 3, Census Tract 9631         831             77.74          0.60            15.52         0.00          0.00             5.66         0.00       0.48      22.26          38.86
                                460899631003

                                               Block Group 2, Census Tract 9508        1,661            93.80          0.00            2.23          0.00          0.00             1.81         0.00       2.17       6.20          20.29
               Marshall
               County




                                460919508002

                                               Block Group 3, Census Tract 9508        1,720            95.52          1.45            0.47          0.00          0.00             0.41         0.00       2.15       4.48          5.76
                                460919508003
               County
               Potter




                                461070001002   Block Group 2, Census Tract 1           1,020            97.35          0.00            1.27          0.00          0.00             0.78         0.00       0.59       2.65          14.67

                                461150001001   Block Group 1, Census Tract 1            948             91.14          1.48            2.95          0.00          3.80             0.63         0.00       0.00       8.86          7.70
                                461150001002   Block Group 2, Census Tract 1            960             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          5.65
                 Spink County




                                461150002001   Block Group 1, Census Tract 2            785             100.00         0.00            0.00          0.00          0.00             0.00         0.00       0.00       0.00          10.29
                                461150002002   Block Group 2, Census Tract 2           1,109            92.25          0.00            2.25          0.00          0.00             1.35         0.00       4.15       7.75          27.58
                                461150002003   Block Group 3, Census Tract 2            938             99.79          0.00            0.00          0.00          0.00             0.21         0.00       0.00       0.21          2.86
                                461150003001   Block Group 1, Census Tract 3            668             92.66          0.00            4.04          0.00          0.00             3.29         0.00       0.00       7.34          17.93
                                461150003002   Block Group 2, Census Tract 3           1,162            91.22          0.00            0.26          0.00          0.00             7.31         0.00       1.20       8.78          14.46




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Draft: July 31, 2018




                                                                                                                                                                                                                                                 RAR001051
                                                                                                        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 80 of 397




                                                            Table B-6. Minority and Low-Income Population Statistics for Water Supply Areas Downstream of North Bismarck Alternative and DAPL Crossings
                                                                                                            (Data from ACS 2011-2015, 5-year estimates)

                                                                                                                                                                              Percent

                                                                                                                                                                     Native
                                      Geographic Area                                Total Population                  Black or         American                                                                   Two or         Total          Persons
                                                                                                                                                                  Hawaiian and      Hispanic or      Some
                                                                                                           White        African        Indian and      Asian                                                        More         Minority       Below the
                                                                                                                                                                  Other Pacific       Latino       Other Race
                                                                                                                       American       Alaska Native                                                                Races        Population     Poverty Level
                                                                                                                                                                    Islander

                                   461299651001   Block Group 1, Census Tract 9651         904             86.73          0.00            0.88          0.00           0.00             12.39         0.00           0.00          13.27            9.79
                 Walworth County




                                   461299651002   Block Group 2, Census Tract 9651        1,013            93.98          0.99            0.69          0.00           0.00             0.00          0.00           4.34           6.02            15.40
                                   461299652001   Block Group 1, Census Tract 9652         789             91.25          0.00            6.08          2.66           0.00             0.00          0.00           0.00           8.75            19.63
                                   461299652002   Block Group 2, Census Tract 9652         980             87.55          0.10            0.92          0.00           2.86             8.57          0.00           0.00          12.45            3.70
                                   461299652003   Block Group 3, Census Tract 9652         868             58.76          0.00            20.62         15.21          0.00             2.07          0.00           3.34          41.24            9.10
                                   461299652004   Block Group 4, Census Tract 9652         941             68.44          0.00            22.95         0.00           0.00             4.57          0.00           4.04          31.56            17.28

                                                  Block Group 1, Census Tract 9416        1,793            14.50          0.00            82.71         0.00           0.00             1.84          0.00           0.95          85.50            51.27
               Ziebach
               County




                                   461379416001
                                          Block Group 2, Census Tract 9416             1,040           39.62             0.77             49.62         2.02           0.00            6.83          0.00          1.15          60.38            19.03
                          461379416002
Source: U.S. Census Bureau. 2011-2015 American Community Survey 5-Year Estimates. Total population is based on data from Table B01003. Percent population by race is based on data from Table B03002 and Table B01003. Population below the poverty level is
based on data from Table B17021. State and County totals and percentages were calculated by summation of block group data from these respective tables.                                                                                                        Formatted: Font: (Default) Arial, 9 pt




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Draft: July 31, 2018




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              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 81 of 397




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For the drinking water supply analysis, all block groups that are served by the various water supply
districts/areas were analyzed to determine whether they contained EJ communities. The analysis area
includes 56 miles downstream from the North Bismarck crossing to the DAPL crossing, as well as 156
miles downstream from the DAPL crossing to the CRST intake. As shown in Table B-6 above, the
communities impacted by an oil release to the Missouri River at either the North Bismarck Alternative or
DAPL crossing would include both EJ and non-EJ communities.

Telephone interviews were conducted with public water districts in the analysis area to confirm the
location of water intakes/Missouri River well fields as well as the water distribution in the respective
districts. Water supply distributors were chosen for interview based on known intakes/wells utilizing the
Missouri River or geographic proximity to the Missouri River (i.e., water district bordering the Missouri
River).

In addition, it was assumed that Tribal intakes along the Missouri River served all the populations within
the reservation boundaries. This may be overly conservative, though, because some areas within the
reservation boundaries may be served by wells away from the river.

As indicated in Table B-7, the first drinking water intakes on the Missouri River (approximately two miles
downstream of the North Bismarck Alternative crossing and seven miles north of the City of Bismarck) are
the SCRWD Missouri River well field intakes. According to Larry Kassian, Executive Director of SCRWD,
this well field consists of nine wells directionally drilled under the Missouri River. These wells are drilled
and completed to depths of 15 to 35 feet in the gravel deposits directly below the bottom of the river. The
wells extend laterally beneath the river with distances of approximately 30 to 90 feet within permeable
gravel and sandy deposits. They were installed in order to utilize Missouri River water/groundwater at the
river/groundwater interface. During pumping, a blending of groundwater and Missouri River water is
utilized by the wells. At higher pumping rates, a greater percentage of water is pulled from the Missouri
River and the travel time through the river sediments below the Missouri River to the wells is decreased.

Table B-7. List of Tribal and Non-Tribal Drinking Water Intakes Downstream of the North Bismarck
Alternative and Lake Oahe Crossings

                                                                   Distance                 Distance
  Intake/ Owner
                                                               Downstream from          Downstream from
  [Intake #s When Present Correspond to RPS Spill
                                                                North Bismarck             Lake Oahe
  Model Report+]
                                                               Crossing (miles)         Crossing (miles)

  South Central Regional Water District
  Missouri River Horizontal Drinking Water Intake Well               1.9 – 2.0                  N/A
  Field* (non-Tribal)

  City of Mandan
                                                                        7.1                     N/A
  Surface Water Intake (non-Tribal)

  City of Bismarck
                                                                       11.6                     N/A
  Surface Water Intake (non-Tribal)




                                                     51

Draft: July 31, 2018




                                                                                                                 RAR001053
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 82 of 397




                                        PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




  City of Bismarck
  Missouri River Horizontal Drinking Water Intake Wells*
                                                                            12.3                       N/A
  (Installed Within Gravel Unit Interface Below Missouri
  River)

  Intake #5 South Central Regional Water District
                                                                            67.3                       11.3
  Drinking Water Intake (non-Tribal)

  Intake #7 Former Fort Yates Drinking Water Intake
                                                                            82.8                       26.8
  (Tribal). Not in use.

  City of Mobridge Drinking Water Intake (non-Tribal)                      127.5                       71.5

  Intake #14 SRST Replacement Drinking Water Intake
                                                                           131.4                       75.4
  (Tribal)
  WEB Water District Drinking Water Intake (non-
                                                                           141.5                       85.5
  Tribal)**
  Gettysburg Drinking Water Intake (associated with the
  - Mid-Dakota Rural Water District Intake)                                172.6                      116.6
  (non-Tribal). Not in use.

  CRST’s Drinking Water Intake (Tribal)                                    212.5                      156.5

  Mid-Dakota Rural Water District Intake (non-Tribal)                       252                        196

  Mni Wiconi Water Intake*** (Tribal/non-Tribal)                           261.0                      205.0
  Intakes are illustrated on Figure B-4 in Appendix B.
  + Note that only certain representative drinking water intakes downstream of the DAPL crossing were utilized in
  the Spill Model Report (RPS, 2018). Those that were included are referenced by intake #.
  * Both the SCRWD Drinking Water Intake Wells and the City of Bismarck Drinking Water Intake Well were installed
  horizontally beneath the Missouri River at the river/groundwater interface. The SCRWD Missouri River Horizontal
  Drinking Water Intake Well Field consists of nine intake wells.
  ** WEB Water District also provides drinking water for State Line Water Cooperative.
  ***This intake is managed by the OST but serves both Tribal and non-Tribal communities. This water intake
  serves several regional water systems that were all combined into one large system. Because of the reservation
  boundaries and EJ block groups on the west side of Lake Oahe, it is assumed for the purposes of this analysis
  that all of the intakes on the west side are Tribal. Likewise, due to the location of the intakes and the registered
  water rights owners as well as the presence of non-EJ block groups on the east side of Lake Oahe, it is assumed
  that the select intakes on the east side of Lake Oahe are non-Tribal.

The City of Mandan and the City of Bismarck have drinking water intakes 7.1 and 11.6 miles,
respectively, downstream of the North Bismarck Alternative crossing. The City of Bismarck also has a
horizontal collection well under the Missouri River, 12.3 miles downstream of the North Bismarck
Alternative crossing.

It is assumed that a pipeline located at the North Bismarck location would be placed well below the river
within less permeable geologic units (as described for the DAPL crossing at Lake Oahe). However,
similar to the assumptions made for the DAPL pipeline in the EJ analysis, it is assumed that any leak from
the pipeline under the river could somehow rise through the more impermeable geologic units and reach
the Missouri River. It would have to pass through the shallow groundwater contained within the gravel
deposits below the Missouri River before reaching the river.

                                                         52

Draft: July 31, 2018




                                                                                                                         RAR001054
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 83 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




In summary, the potential impacts to drinking water intakes associated with the North Bismarck
Alternative would be greater than with the DAPL crossing. At least one non-Tribal drinking water intake is
located upstream of each Tribal drinking water intake and would therefore be impacted before the
respective downstream Tribal intake.

Note: Since, as described under Part I, no drinking water impacts are anticipated from a release at the
Lake Oahe crossing, the comparison of drinking water impacts for the respective 156 mile river segments
is not necessary. In any event, such an analysis would yield no differences in EJ impacts. To conduct
such an analysis, the entire 156 mile portion of the river downstream of the DAPL crossing to the CRST
intake would need to be considered. And a comparable analysis of 156 miles downstream from the North
Bismarck Alternative would include the first 56 miles to the DAPL crossing and then the first 109 miles
downstream of the DAPL crossing. Therefore, both alternatives would include the SRST replacement
intake located approximately 75 miles south of the DAPL crossing.




                                                   53

Draft: July 31, 2018




                                                                                                             RAR001055
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 84 of 397




                          PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




       Remand Item C: Highly Controversial Considerations




                                     54

Draft: July 31, 2018




                                                                                 RAR001056
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 85 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




C.      Highly Controversial Considerations

Under the Council on Environmental Quality (CEQ) regulations, one factor that "should be considered" in
evaluating the significance of a proposed action's impact is "[t]he degree to which the effects on the
quality of the human environment are likely to be highly controversial." 40 C.F.R. § 1508.27(b)(4).

Page 127 and 128 of the Memorandum Opinion cite case law to define the term "controversial" to mean
"where a substantial dispute exists as to the size, nature, or effect of the major federal action rather than
to the existence of opposition to a use." The Court notes that "something more is required besides the
fact that some people may be highly agitated and be willing to go to court over the matter." Indeed, it has
to be something more than simply "a disagreement of qualified experts over the 'reasoned conclusions' as
to what the data revealed."

In order to consider the degree to which the pipeline’s effects are likely to be highly controversial, the
USACE requested that Dakota Access perform a factual and technical analysis of issues presented in 18
documents. Issues included the design; construction; proposed operation; pre-operational integrity
threat/risk analysis; risk mitigation systems; the impact of a potential spill from the pipeline on downstream
ecological receptors, human receptors such as hunting, fishing, recreation and cultural practices; and
environmental justice. The information provided was reviewed by multiple USACE representatives, which
consisted of specialists and technical experts in the fields of water resources, engineering, environmental
resources, geographic information systems, and modeling. The Court ordered a review of documents
received after the Final EA and FONSI were published on July 25, 2016 but before the easement was
granted on February 8, 2017. The USACE also reviewed documents received after February 8, 2017,
including information from SRST, CRST, OST, and YST regarding Tribal practices, the potential impacts of
a spill on specific issues of concern and emergency response coordination issues. A list of documents
reviewed and the date each was published is provided in Table C-1 below.

To initiate the technical analysis, the 18 documents were reviewed and assessed for issues of concern.
The issues raised within each of the documents are presented as comment excerpts (hereafter referred to
as “comments”). A general summary of comments is provided in Table C-2 below. Responses to comments
with similar subject matter were grouped together to reduce redundancy in the response process. For
comments with similar subject matter, a comprehensive response is provided the first time the issue is
addressed and the related comments are identified in association with the first Comment ID for that
comment topic. The results of the technical analysis are provided in Tables C-3, C-4, and C-5 based on
when the documents were received. Due to their length, Tables C-3, C-4, and C-5 as well as select
supplemental information to responses in those tables are provided in Appendix C.

Items contained within the Technical Analysis include:

     • Table C-1: An index of technical documents analyzed;
     • Table C-2: A summary of concerns identified from the documents;
     • Table C-3 [Appendix C]: Comment excerpts and responses related to documents [A, B, C, D, J,
       5 and 6**] received prior to the issuance of the easement on February 8, 2017;
     • Table C-4 [Appendix C]: Comment excerpts and responses related to documents [E, F, G, H and
       I**] received after February 8, 2017 prior to 2018 that were not available prior to the issuance of
       the easement;
     • Table C-5 [Appendix C]: Comment excerpts and responses related to documents [K, L, M and N]
       received in 2018;

                                                     55

Draft: July 31, 2018




                                                                                                                 RAR001057
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 86 of 397




                                     PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




     • Supplemental Information [Appendix C]: Select responses that require additional details or
       context not able to fit into Tables C-3 and C-4; and
     • Part C Figures [Appendix C]: Associated figures to select responses within this section.

As noted previously, the responses within this document are specific to the Lake Oahe Segment unless
otherwise noted. Some of the descriptions in this technical analysis may apply to both of the Project
crossings of the Missouri River or the pipeline as a whole; however, the main focus is the Lake Oahe
segment.

Table C-1. Index of Documents

ID   Common Name                                     Document Title                                 Dated
                               Documents Received Prior to February 8, 2017
                         Review of the Dakota Access Pipeline Project
A    EarthFax Letter     Letter to President John Yellow Bird Steele and Members of the Tribal    12/2/2016
                         Council Oglala Sioux Tribe
                         Richard White, PE; EarthfaxEarthFax Engineering Group
                         Accufacts Review of the U.S. Army Corps of Engineers (USACE)
                         Environmental Assessment (EA) for the Dakota Access Pipeline
B    Kuprewicz Letter    (“DAPL”)                                                                 10/28/2016
                         Memorandum to Jan Hasselman, Earthjustice
                         Richard Kuprewicz
                         Technical Engineering and Safety Assessment: Routing,
                         Construction and Operation of the Dakota Access Pipeline in North
C      Envy Report       Dakota                                                                    1/5/2017
                         ENVY Enerji ve Cevre Yatirimlari A.S.
                         Attachment A-7 of Declaration of Rollie E. Wilson
                         Examining the Potential Adverse Impacts of the Dakota Pipeline
D    Nezafati Report     Crossings to the Water Quality at the Cheyenne River Sioux Tribe          01/2017
                         Water Intake in the Missouri River
                         Attachment A-10 of Declaration of Rollie E. Wilson
                         Cheyenne River Sioux Tribe's Preliminary Informational Paper
                         Concerning Dakota Access LLC's Request for an Easement to Cross
      Wilson Decl.,      Lake Oahe, North Dakota, Pursuant to 30 U.S.C. § 185
J                        Harold Frazier                                                           1/18/2017
      Attachment A
                         Attachment A of Declaration of Rollie E. Wilson in Support of Cheyenne
                         River Sioux Tribe's Motion for Summary JudgementJudgment
                         Wilson Decl. Filed February 22, 2017
                         Declaration of Jeff Kelly
5    Kelly Declaration   Director of Game, Fish, and Wildlife SRST                                11/28/2016
                         Filed February 14, 2017
                          Assessment and Review, Dakota Access Pipeline Environmental
6     Bowser Report       Assessment Terrestrial and Aquatic Organisms                             01/2017
                          Dr. Gillian Bowser, PhD
                          Attachment A-9 of Declaration of Rollie E. Wilson
                         Documents Received After February 8, 2017, but Prior to 2018
       Kuprewicz         Second Declaration of Richard B. Kuprewicz (ECF No. 195-1)
E
      Declaration- 2     Earthjustice                                                             3/24/2017


                                                   56

Draft: July 31, 2018




                                                                                                               RAR001058
                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 87 of 397




                                                PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




          Kuprewicz             Declaration of Richard B. Kuprewicz (ECF No. 272-1) CONFIDENTIAL
F
          Declaration           Earthjustice                                                                                         2/12/2017
          Holmstrom             Declaration of Donald Holmstrom
G
          Declaration           Earthjustice                                                                                          8/7/2017
          Goodman               Declaration of Ian Goodman
H
          Declaration           Earthjustice                                                                                          8/7/2017

I     Goodman Exhibit           Declaration of Ian Goodman, Section 4- Exhibit C
                                The Goodman Group                                                                                     8/7/2017
                                                    Documents Received in 2018
                                An Environmental Justice Analysis of Dakota Access Pipeline
           SRST EJ
K                               Routes
           Analysis
                                Robin Saha, Ph.D. and Paul Mohai, Ph.D.                                                              2/23/2018
                                Impacts of an Oil Spill from the Dakota Access Pipeline on the
        SRST Oil Spill          Standing Rock Sioux Tribe
L
        Impact Report           Mike Faith, Jr. Chairman
                                Standing Rock Sioux Tribe                                                                            2/21/2018
                                Impacts of an Oil Spill from the Dakota Access Pipeline on the
                                Standing Rock Sioux Tribe - Appendices CONFIDENTIAL
                                Mike Faith, Jr. Chairman
                                Standing Rock Sioux Tribe
            SRST                Appendix C: SRST's Notice of Intent Comments on the Dakota
M        Appendices             Access Pipeline to the Army Corps of Engineers
       (Extension of L)         Appendix E: SRST Technical Team Fatal Flaw Analysis Lake Oahe
                                HCA Pipeline Crossing: Safety Instrumented Systems Report
                                Appendix F: Preliminary Report: Landslides in the Vicinity of the
                                Dakota Access Pipeline Crossing of the Missouri River Near the
                                Standing Rock Indian Reservation                                                                     2/21/2018
                                Preliminary Evaluation of Dakota Access Pipeline Emergency
        Oglala-White
N                               Response Plans
           Letter
                                Richard B. White, P.E., PLLC                                                                         4/18/2018

O*           CRST
                                Cheyenne River Sioux Tribe Letter and Attachments                                                    4/18/2018
        Yankton KSE             Affidavit of Kip Spotted Eagle
P*
          Affidavit             Kip Spotted Eagle, Yankton Sioux Tribal Historic Preservation Officer                                4/19/2018
*Relevant information from these documents was incorporated into the Downstream Receptor Report; however, no direct issues
were identified that required a specific response.
** - Note that the apparent non-sequential listing of letter or number identifiers is due in part to the timing of the receipt of documents
and the USACE coordination with Dakota Access related to supplemental information requests (reference the USACE information
request letter dated August 24, 2017 to Dakota Access, LLC). Among the items requested in that letter was a factual and technical
analysis that addresses the issues presented in nine documents (listed in USACE letter under Item 2, letters “A” through “I”). The nine
technical documents present issues concerning the design, construction, proposed operation, pre-operational integrity threat/risk
analysis, and risk mitigation systems. Two additional documents, the Kelly Declaration document referenced under Item 5 of the letter,
and the Bower Document referenced under Item 6, were also reviewed for technical issues related to the impact of a potential spill
from the pipeline on downstream receptors. In addition to the documents specifically listed in the letter from the USACE to Dakota
Access, only one additional technical document (Document J) received during the period of July 25, 2016 through February 8, 2017
was identified as containing issues not addressed in the original documents or already satisfactorily addressed within the EA.
Additional technical documents were received in 2018 that were identified as containing issues not addressed within the EA
(Documents K, L, M, and N).




                                                                   57

Draft: July 31, 2018




                                                                                                                                                 RAR001059
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 88 of 397




                                    PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




Table C-2. Summary of Concerns

                                                                                                  Document
 Category          Issue            Summary of Concerns
                                                                                                  ID
                                    A quantitative analysis of the risk associated with failure
                   Risk             of system components should have been provided in
                                    the EA.                                                       A, B, C, E,
                   Evaluation
 Risk                                                                                             F, G,H, J,
                   (Incident        The evaluation and conclusion of spill risk and spill
                                                                                                  K, L, M, 6
                   Occurrence)      volume are not adequate.
                                    The risk analysis is missing critical details.

                   Risk             Survey approach for endangered species in the area
                   Evaluation       was insufficient to detect those species.
 Risk                                                                                             6
                   (Threatened &    The surveys were conducted at seasonally
                   Endangered       inappropriate times for the organisms in question.
                   Species)
                                    Scour analysis should have been performed with dam
                                    breach scenario.
                                    Provide basis for scour calculations.
                   Risk             Clarify risk of landslide.
                   Evaluation       Describe erosion control practices used, in particular        A, B,C, E,
 Risk
                   (Pipeline        where ground slope is less than 25%.                          F, I, J, L, M
                   Damage)          Third party damage is not the leading cause of liquid
                                    transmission pipeline ruptures.
                                    Clarify causes of pipeline ruptures and risk of damage
                                    during construction.

                   Risk             Operator’s safety performance record should be
                   Evaluation       considered in risk evaluation.                                E, G, J, L,
 Risk
                   (Operator        A safety culture survey of the company should be              M
                   Performance)     conducted.

                                    Worst-case scenario spill volume was understated.
                                    -- Spill volume understated to due overstatement of
                                    closure time of valves.
                                    -- Lowest mean daily discharge rates should be used.
                                    -- Report fails to capture the significantly higher           A, B, C, D,
                   Spill Model
 Risk                               transient flow rates associated with rupture.                 E, F, G, J,
                   (Spill Volume)
                                    A broader pipeline elevation should be used for pipeline      K, L, M
                                    siting and valve placement.
                                    The EA did not adequately address how contaminants
                                    would travel up and through naturally-occurring
                                    geological cracks.



                                                    58

Draft: July 31, 2018




                                                                                                                  RAR001060
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 89 of 397




                                    PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                                                                                                 Document
 Category          Issue            Summary of Concerns
                                                                                                 ID
                                    Provide an updated winter spill scenario considering
                                    movement of oil beneath ice and slower response
                                    times.
                                    Consider specific oil properties, including volatility and   B, C, G, J,
 Risk              Spill Response
                                    flammability, in spill response.                             6, L, M
                                    Engage and train tribe in spill response plan.
                                    Confidential documents.
                                    Bioaccumulation in benthic organisms.
                                    Perform quantitative assessments of individual crude-oil
                                    constituents, other than benzene.
                                    Water quality limits used were inappropriate.
                                    Evaluate contaminant movement and impact under
                                    winter spill scenario.
                                                                                                 A, B, C, D,
 Risk              Spill Impacts    Consider that properties of spilled oil can change over      G, J, 5, 6,
                                    time, and be a continuous source of toxic substances         L
                                    such as benzene and PAHs.
                                    Consider impacts from oil spills to underlying aquifers
                                    and downstream drinking water intakes, vegetation,
                                    fish, and wildlife, as well as threatened and endangered
                                    species.

                                    Sufficient and specific mitigation for spill events is not
                                    included in EA. Mitigation measures should be in place
                                    prior to operation.
                                    Specify mitigation measures for water intake locations       A, C, D, J,
 Risk              Mitigation
                                    and leaks under Lake Oahe in the SPCC Plan.                  L, M
                                    Provide evaluation of spill response if immediate
                                    remediation is not possible/ adequate to eliminate a
                                    continuous source of contamination to the river.

                                    Leak detection system is not adequately characterized
                                    within the EA and supporting documents, or is
                   Design
                                    overstated.                                                  B, C, D, E,
 Regulatory        Guidelines
                                    Provide additional information on remote leak detection      F, G, J, L,
 Compliance        (Leak
                                    and response. Provide additional design detail and a         M
                   Detection)
                                    quantitative analysis of the risk associated with failure
                                    of system components.




                                                   59

Draft: July 31, 2018




                                                                                                               RAR001061
                Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 90 of 397




                                    PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                                                                                                  Document
 Category          Issue            Summary of Concerns
                                                                                                  ID
                                    The USACE must take into consideration the interplay
                                    between the proposed pipeline and the substantive
                                    statutory provisions in the Flood Control Act, which
                                    governs Lake Oahe.
                                    Additional requirements imposed by USACE Conditions
                   Easement         are existing requirements.
 Regulatory                                                                                       E, J, K, L,
                   Conditions and   Dakota Access has failed to address and ensure that
 Compliance                                                                                       M
                   Compliance       the right-of-way it seeks will not violate applicable air
                                    and water quality standards; damage the environment;
                                    result in hazards to public health or safety; or negatively
                                    impact the interests of individuals living the area who
                                    rely on the fish, wildlife and biotic resources of the area
                                    for subsistence purposes.

 Other Design                       Provide description of pipe bedding, if used, and the
                   Materials                                                                      A
 Considerations                     type of fusion bonded epoxy, or FBE, coating used.

                                    Potential for surge damage.
 Other Design
                   Valves           Length of time to shut the valves in the event of a leak.     A, B, F, G
 Considerations
                                    Components should be designed for winter conditions.

 Other Design                       Extremely long HDD has extreme risk, is not proven
                   HDD Crossing                                                                   C, L, M
 Considerations                     and presents inspection and maintenance issues.
                                    The analysis does not accurately or adequately assess
                   High             and include engineering and construction risks, or the
 Other Design                                                                                     B, C, E, F,
                   Consequence      fact that Lake Oahe is the fourth largest freshwater
 Considerations                                                                                   G, J, L
                   Area             reservoir in the United States supplying water to
                                    millions of people.
 Installation      Hydrostatic      Hydrostatically test the pipeline after it is installed.      A, E
 Inspections       Testing
 Installation      Radiographic     Weld/ radiographic testing protocols are poorly defined
                                                                                                  B, C, F
 Inspections       Testing          or inadequate.

                                    Discuss pipeline inspections tools including calibration.
                                    Provide additional detail on in-line inspection tools
 Operation and     Pipeline         related to action thresholds, corrosion threats and
                                                                                                  B, C, E, M
 Maintenance       Integrity        detection of transportation cracking.
                                    Quality assurance /quality control protocols are
                                    warranted.




                                                    60

Draft: July 31, 2018




                                                                                                                RAR001062
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 91 of 397




                                      PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




                                                                                                   Document
 Category           Issue             Summary of Concerns
                                                                                                   ID
                                      Relevant pipeline system information important to the
                                      federal crossings has not been provided in the EA.
                                      Worst-case impact to the federal easements and
                                      unusually sensitive areas has not been provided in the
                                      public documents associated with the EA.
                                      An engineering design and safety risk assessment was         B, C, D, E,
 NEPA Process       EA Content                                                                     G, H, I, J,
                                      not conducted by DAPL.
                                                                                                   K, L, M
                                      Projects like DAPL should logically consider a
                                      comprehensive comparison and evaluation of a broader
                                      range of alternatives.
                                      Lack of any environmental justice analysis in the EA.
                                      Dakota Access is not financially capable.
                    EA Content
                                      The pipeline would contribute man-made climate
 NEPA Process       (Climate                                                                       D, L, M
                                      change by building up the country’s oil infrastructure.
                    Change)



III.    Conclusion
The USACE has reconsidered the relevant portions of the final EA, reviewed and significantly discussed
the relevant issues and opposing viewpoints, and conducted significant factual and technical analysis of
spill model results, downstream receptor impacts, and impacts to EJ. Conclusions relative to these items
are provided below.

As demonstrated in the Downstream Receptor Report, even under the worst-case scenarios, impacts to
downstream beneficial lake uses, including fishing and hunting resources, were determined to be of
limited scale and of temporary duration.

Although a large oil spill into Lake Oahe would likely cause a localized fish kill, impacts would be limited
to the immediate area surrounding the site of the spill. Concentrations of crude oil in the water could
result in impacts to aquatic invertebrates utilized as a food source by the local fishery. However, even
under the worst-case scenarios, impacts to benthic macroinvertebrates and fish species would be of
limited scale and of temporary duration and therefore impacts to fishing in the area would also be limited.
None of the model scenarios showed a lake area greater than 0.1 km2 above the biological threshold of
10 μm for surface oil thickness for potential impacts to wildlife. Additionally, this surface oil impact is
predicted to be of short duration at any one location. Time series modeling results show that the 50 μg/L
biological threshold for aquatic species in the water column is only exceeded for a number of hours (not
days) and only within specific zones within the water column, further limiting the area of potential
mortality.

The estimated worst-case scenario is that <10% of the shoreline within the modeled release area would
have oiling above the biological threshold of 10 μm for surface oil thickness for potential impacts to
wildlife. It is not anticipated that this amount of shoreline coverage would have a permanent or significant

                                                     61

Draft: July 31, 2018




                                                                                                                 RAR001063
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 92 of 397




                                       PRIVILEGED AND CONFIDENTIAL – NOT FOR PUBLIC RELEASE




impact on the local wildlife population, especially given the requisite remediation following a spill.
Therefore, impacts to wildlife are not anticipated to be significant.

The potential impact to upland hunting along the shore of Lake Oahe is very low. Although some deer or
other wildlife species could ingest oil impacted water or eat contaminated vegetation following a spill, the
concentration of contaminants would likely not be above acutely toxic thresholds and would not persist
long enough to result in a chronic health issue. Furthermore, Lake Oahe is not the only source of fresh
water for upland game species. If the western shore of Lake Oahe were to become impacted by an
inadvertent release of oil, it is likely that many terrestrial vertebrates would be able to utilize alternative
sources of freshwater.

Additionally, in the event of a crude oil release that results in damages to game species or hunting/fishing
activities, Dakota Access would help restore, replace, or acquire the equivalent natural resources in
accordance with OPA 90. Under OPA 90, the owner or operator is liable for the costs associated with the
containment, cleanup, and damages resulting from a spill. Dakota Access maintains financial
responsibility for the duration of the response actions. If the responsible party cannot pay, funds from the
Oil Spill Liability Trust Fund are used to cover the cost of removal or damages.

DAPL was routed to be co-located with other existing utilities to the greatest extent practicable in order to
minimize the impacts on environmental resources (i.e., Lake Oahe and associated lands on the east and
west banks), avoid the creation of a new ROW through the affected communities, and reduce impacts on
current land uses. In addition, the routing location was chosen to minimize impacts to EJ communities as
there are no census block groups crossed by DAPL where either the poverty level is greater than 20% or
the minority population exceeds 50%. Furthermore, the construction of DAPL had the potential to
generate economic benefits to the broader local community as construction workers typically utilize local
gas stations, convenience stores, and restaurants in the general vicinity of the construction area.

Although a hypothetical release from DAPL would impact EJ communities downstream of the Lake Oahe
crossing, this impact is not meaningfully disproportionate as the crossing has the potential to impact both
EJ and non-EJ communities. There are five EJ census block groups and two non-EJ census block groups
on the west side of the Lake Oahe project centerline and nine non-EJ census block groups on the east
side of the Lake Oahe project centerline (See Figures B-1 and B-2).

After a detailed factual and technical analysis was performed on 18 documents submitted by the Tribes
that contained opposing viewpoints and relevant issues of concern, and for the reasons set out at length
in the Appendices, it was determined that all issues of concern have been adequately addressed, that the
remaining disputes are no more than disagreements of qualified experts over the reasoned conclusions to
be drawn from available data, and that the potential effects of the project do not rise to the level of highly
controversial.

Applying the applicable law under NEPA, the USACE has completed the required “hard look” at potential
environmental impacts of the DAPL Lake Oahe crossing. The USACE has reconsidered the relevant
portions of the final EA, reviewed and significantly discussed the relevant issues and opposing
viewpoints, and conducted significant factual and technical analysis of spill model results, downstream
receptor impacts, and impacts to EJ. The USACE has identified no new information indicating that actions
by the Department of the Army with respect to the Dakota Access Pipeline (DAPL) Project will affect the
environment to a significant extent not already considered. The USACE has determined that the risk of a
release from DAPL that significantly impacts Lake Oahe is low. The USACE believes its decision to be

                                                      62

Draft: July 31, 2018




                                                                                                                  RAR001064
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 93 of 397




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fully informed and well-considered in concluding that the DAPL Lake OhaeOahe crossing is not expected
to have significant direct, indirect, or cumulative impacts on the environment. Therefore, decisions made
by the USACE not to complete an Environmental Impact Statement (EIS) were in accordance with the law
and neither arbitrary nor capricious.




                                                   63

Draft: July 31, 2018




                                                                                                            RAR001065
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 94 of 397




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                          Spill Model Report




                                     64

Draft: July 31, 2018




                                                                                 RAR001066
              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 95 of 397




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                       Downstream Receptor Report




                                      65

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                                                                                  RAR001067
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 96 of 397


From:              Curby, Michelle
To:                Cossette, Brent J CIV USARMY CENWO (US)
Cc:                Rowe, Steve; Oh, Meghan
Subject:           [Non-DoD Source] Remand Package and Downstream Receptor Report - Privileged and Confidential
Date:              Thursday, June 21, 2018 4:35:33 PM




Brent,



Documents have been placed in the AMRDEC Safe Access File Exchange for you to download.

You should find the following documents on the AMRDEC site (Package ID: 14141185).



1.     Remand Package_20180620 V7 (word doc)



2.     Appendices A-C Compiled 20180621 V2 (word doc)



3.     Appendices A-C Compiled 20180621 V2 (pdf)



4.     Appendix C - Table C-3 20180621 V1 (excel table)



5.     Appendix C - Table C-4 20180621 V1 (excel table)



6.     Appendix C - Table C-5 20180621 V1 (excel table)



7.     Appendix C - Compiled Tables C3-C5 20180621 V1 (pdf)



8.     Receptor Report 20180621 V2 (word doc)



9.     Receptor Report 20180621 V2 (pdf)



The Spill Model Report was not included in this set of documents as it was sent previously in Feb 2018.




                                                                                                           RAR002547
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 97 of 397


The files will be available until 7/1/2018.




Please let me know if you have any questions.




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                                                                                                       RAR002548
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 98 of 397




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      Pursuant to Protective Order
       RAR002618 – RAR002642
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 99 of 397




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       RAR002678 – RAR002738
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 100 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR002739 – RAR002867
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 101 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR002868 – RAR002894
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 102 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR002895 – RAR002944
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 103 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR003001 – RAR003006
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 104 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
         RAR004499-RAR004740
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 105 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR004499 – RAR004893
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 106 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR004894 – RAR004901
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 107 of 397


From:               Borkland, Carl G
To:                 Doug Crow Ghost
Cc:                 Lindquist, Todd J CIV USARMY CENWO (US); Stasch, Eric D CIV USARMY CENWO (US); Elliott Ward; Mike Faith;
                    dnelson@crstepd.org; Stasch, Eric D CIV USARMY CENWO (US); Everett Iron Eyes; Cossette, Brent J CIV
                    USARMY CENWO (USA); Harlon, William D III CIV USARMY CEHNC (USA); Minter, Justin D; Peter Capossela;
                    Dean DePountis; Janet Thomas; Feiock, Patrick D CIV USARMY CENWO (US)
Subject:            [Non-DoD Source] RE: Emergency Planning Meeting SRST/ETP/ACOE
Date:               Thursday, March 01, 2018 8:58:04 AM
Attachments:        image003.png
                    image006.png




Thank you for your email Doug. As you know, the Geographic Response Plan is due to the court on April 1 – one
month from today. Dakota Access and the Corps have held two response planning meetings so far. The tribes did
not attend the first, held Jan. 11. They appeared at the second, held Feb. 8, only long enough to deliver (and, in
Standing Rock’s case, read aloud) letters requesting information, among other things. We are confirming
availability to meet March 7.



To the extent the Tribes have requested information relevant to response planning, we are prepared to go over that
information at the March meeting, just as were prepared to do so at the Feb. 8 meeting. In fact, the draft GRP that
we had available at the Feb. 8 meeting and that we will be discussing at the March 7 meeting includes a discussion
of remote monitoring and SCADA systems, as well as safety data sheets showing the composition of Bakken Crude
(including flammability and toxicity). On February 8, we were also prepared to explain (1) how portions of the
Facility Response Plan relevant to response planning at Lake Oahe have been incorporated into the GRP; (2) the
location and operation of shut-off valves near Lake Oahe; (3) the results of an unannounced emergency response
equipment deployment exercise at Lake Oahe in October 2017 with an initial response of just one hour and full
response within 3½ hours; and (4) the approximate number and locations of personnel who would respond to a spill
or leak at Lake Oahe.



At the March 7 meeting we are prepared to show and explain, in addition to all of that, the results of the recent spill
modeling and discuss how those results are informing the response planning. You asked about maximum spill
estimates. You have the original spill model with a worst case discharge of more than 12,000 barrels. The more
recent modeling includes a comparable amount as the worst case spill scenario, among other scenarios. You asked
for documentation about other spills at other locations. We do not believe that information is necessary or relevant
to planning at Lake Oahe. We are open to revisit our view on that after we have met on March 7 and gone over the
GRP and the other information I just previewed.



We will not enter the reservation without Standing Rock’s permission. We will be meeting March 7 at the Ramada,
1400 E. Interchange Ave, Bismarck ND 58501. We will start at 9:00 a.m. local time. This will be a meeting of
persons from each party who are involved in the emergency response planning. We strongly believe that this is the
sort of meeting needed to get the GRP completed by April 1. Both tribes have instead requested meetings on their
separate reservations. You are asking for senior ETP/Sunoco officials to meet with tribal leaders. Respectfully, that
is not the type of meeting we need in order to complete the response planning task.



It is our understanding that the Corps planned to send you the GRP draft that we used at the Feb. 8 meeting. If you
do not have it and would like to make arrangements to access it through a secure FTP site, let me know. It is a very
large file so I cannot email it. We are working on further updates to the GRP and will have a new draft available to



                                                                                                             RAR006565
      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 108 of 397


discuss on March 7.



Finally, as I have said many times before, if you have any information you believe would be helpful to completing
the response planning, including any inaccuracies or omissions you have identified in the most recent GRP draft,
please send them along before the next meeting. The only thing we have so far along those lines is a letter you sent
separately today from Chairman Faith. It mentions certain “historic properties of Lakota and Dakota origin in low-
lying areas along the Missouri River.” The letter adds that there needs to be an evaluation of the potential impacts
of an oil spill and clean-up activities on those properties.



Can you please send us information about the location and nature of these sites? The letter specifically mentions
“Mad Bear I and II.” It would particularly helpful if you could send us a map showing where those properties are so
that we can incorporate them (and other information you are able to share about them) into the response planning.
Based on the statement in the letter that “ETP personnel are not permitted on Tribal land for the purpose of
conducting any field surveys, at this time,” the information I am requesting is needed if we are going to keep sites
like these “properly protected” and the “impacts mitigated,” as the letter requests.



Thank you




C. Gus Borkland

VP- Environmental Projects & Emergency Planning/Response

EHS&S

Energy Transfer Partners



4041 Market Street

Aston, PA 19014




                                                                                                      RAR006566
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 109 of 397




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       RAR008065 – RAR008400
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 110 of 397


From:               Cossette, Brent J CIV USARMY CENWO (US)
To:                 Kruger, Heath Robert CIV USARMY CENWO (US); Tracy, Thomas J CIV USARMY CENWO (US); Grow, Catherine E
                    CIV USARMY CENWO (US); Derosa, Jason R CIV USARMY CENWD (US); Boyd, Milton W CIV USARMY CEHQ
                    (US); Casner, Melanie L CIV USARMY CEHQ (US)
Subject:            DAPL Remand - Letter Enclosure Info Current Status
Date:               Thursday, February 15, 2018 4:15:42 PM




1. Facility Response Plan without redactions: We cannot provide due to document being confidential. DAPL is not
willing to share.
2. Spill Model: We cannot provide due to document being confidential. DAPL is not willing to share any part of
the model.
3. Risk Analysis: We cannot provide due to document being confidential. DAPL is not willing to share.
4. Worst Case Discharge Calculation: We cannot provide due to document being confidential. DAPL is not willing
to share.
5. Location and SPECS of Shut Off Valves: We cannot provide due to document being confidential. DAPL is not
willing to share.
6. DAPL Pipeline Safety Management System and Implementation Plan: This plan is a best management practice
plan and is not mandatory to develop. It is a API recommended practice. However, DAPL is currently developing
this plan. DAPL needs more time to consider if they are willing to share.
7. Actual Response Time: At DAPL's last no notice exercise the first responders were on location within 1 hour
and all personnel were on location with 3 hrs and 20 minutes. PHMSA requires within 6 hours. DAPL does not
have an issue with sharing this information.
8. Number and Location of Oahe Personnel: There are about 40 people at Oahe.
9. Cathodic Protection: DAPL does have cathodic protection on the pipeline. The monitoring requirements are
mandated by PHMSA and are adhering to them. The design is confidential.
10. Bakken Crude Composition: I would need more time to collect this information. The emergency response
plans are confidential.

Again the information the Tribe wants to receive cannot be given as enclosures to letters as they are confidential.
The only way this information can be worked is at the Counsel level with non-disclosure agreements conducted
between all parties. DAPL would obviously need to be coordinated with on this.

Brent Cossette

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Environmental Stewardship
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                                                                                                        RAR008403
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 111 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR008743 – RAR008964
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 112 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR009112 – RAR009116
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 113 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR009187 – RAR009211
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 114 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR010203 – RAR010240
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 115 of 397




FILED UNDER SEAL
       Pursuant to Protective Order
       RAR012015 – RAR012237
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 116 of 397

DRAFT


SIMAP Model:

Previously, Dakota Access has conducted spill modeling utilizing a software package called
OILMAPLand. OILMAPLand, developed and administered by RPS, is a two dimensional model capable
of predicting the overland path and trajectory in water of a particular volume of oil released from a
specified release point. OILMAPLand is sufficient to provide volume and distance calculations to assist in
spill planning as it can primarily answer two very specific questions: How much oil could be released at
location X, and where would that oil go if unmitigated for Y hours. However, in order to support the
USACE request for additional analysis of a potential spill associated with the DAPL crossing of Lake
Oahe, an additional model has been proposed.

SIMAP modeling, also developed and administered by RPS, is a 3-dimensional model that includes
trajectory and fate as well as biological effects sub-models. SIMAP originated from the Natural Resource
Damage Assessment Models for Coastal and Marine Environments (NRDAM/CME) and Great Lakes
Environments (NRDAM/GLE), which RPS (previously Applied Science Associates or ASA) developed for
the U.S. Department of the Interior for use in "type A" Natural Resource Damage Assessment (NRDA)
regulations under the Comprehensive Environmental Response, Compensation and Liability Act of 1980
(CERCLA).

Some of the benefits of SIMAP are as follows:

        Examples of specific processes modeled include those related to complex physical and chemical
        fates such as vertical transport (the result of buoyancy), dissolution (soluble fractions of the
        hydrocarbons that enter the water), entrainment and resurfacing, emulsion formation (when water
        mixes with oil to form mousse), and degradation (biological and photo-oxidative processes that
        breakdown organic carbon compounds)
        SIMAP characterizes oil in the water column, on the water surface, and along shorelines, as well
        as the amount of oil that makes its way into sediments through sediment interaction, to the
        atmosphere via evaporation, or degrades naturally.
        SIMAP can be used to model ice-covered environments as well as open-water conditions.

The SIMAP model has been validated against many real-world releases and w as recently used for the
Natural Resource Damage Assessment for the Deepwater Horizon oil spill.

The RPS SIMAP model would improve upon the RPS OILMAPLand Model by providing the following
additional requested information.
        Seasonal considerations (such as ice cover on Lake Oahe)
        Estimation of the concentrations and dynamics of oil that will change over time as they go
        downstream
                Measurements of the oil's thickness on the water surface and concentration of
                hydrocarbons in the water column
                Expected impacts to the environment
                         Quantitative assessments of individual crude-oil constituents i.e. benzene, PAHs,
                         and other constituents that could potentially be present in concentrations above
                         the drinking w ater standards
                         Assess potential impacts to water intakes for irrigation and drinking water
                Expected impacts to hunting and fishing
                         Where oil contacts the shoreline
                         Amount of sediment contamination
                         Toxicity within the water column

Using SIMAP will allow Dakota Access to better quantify potential effects on hunting and fishing, as well
as the level of various contaminants that may or may not be present at the agricultural and drinking water
intakes downstream from the Lake Oahe crossing.




                                                                                            RAR012257
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 117 of 397

DRAFT


The SIMAP assessment will take approximately 3 months due to the complexity of the analysis. A
breakdown of the components involved in the timing of the delivery of the SIMAP model is presented
below:

Receipt of USACE Request and Preliminary Model Scenario Development

Meet with the USACE to Discuss Model (September 13, 2017)

Model Set-up/ Parameter Development (3 weeks)
  •    Develop the parameters of the model
          o Characterization of Bakken Light Crude
          o Characterization of habitat and land type (i.e. geospatia l information for the model)
          o Measure Lake Oahe' s cross sections shape, i.e. obtain multiple w ater depth
              measurements
          o Review Lidar and Bathymetry data provided by USACE

Model Runs of the Various Scenarios (3 weeks)
   •    Mult iple Model Runs
           o 2 Release Locations
                    • Sediment Water Interface (pipeline resting at the bottom of the lake)
                    •   Pipeline at Valve Site (west of Lake Oahe - Valve Site 380)
           o 2 Release Volumes Specific to Each Location
                    •   Estimated Volume - Full Bore Rupture
                    •   Estimated Volume - Majority of Spills
           o 3 Flow Rates
                    • Average Lake Oahe Flow
                    •   High Flow for Lake Oahe
                    • Low Flow for Lake Oahe
           o 2 Biological Thresholds

Result Interpretation and Preparation of Draft Report (4 weeks)
   •    Determine model run results that answ er the questions posed (e.g. which model run best
        bounds the w orst-case and most-likely-case for impact to hunting and fishing)
   •    Create figures, charts, and tables from the model runs
   •    Prepare text to accompany the results
   •    RPS - peer technical review of report
   •    RPS - QA/ QC the report
   •    RPS - Senior Technical and Legal review
   •    Deliver Draft Report to Wood Group Mustang for review and comment
   •    RPS incorporate comments and prepare Final SIMAP Model Report

Deliver SIMAP Model Report to USACE (Target Date of December 8, 2017)




                                                                                        RAR012258
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 118 of 397




                                                            RAR013605
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 119 of 397




                                                            RAR013606
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 120 of 397




                                                            RAR013607
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 121 of 397




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       Pursuant to Protective Order
                     RAR014969
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 122 of 397




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       Pursuant to Protective Order
                     RAR016716
Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 123 of 397




    ENVIRONMENTAL ASSESSMENT
      Dakota Access Pipeline Project
    Crossings of Flowage Easements
                 and Federal Lands



                      Prepared on behalf of:

     U.S. A rm y Corps of Engineers - O m aha District
                     1616 Capitol Avenue, Suite 9000
                           Omaha, NE 68102




                              July 2016




                                                           USAGE DAPL0071220
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 124 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016


                                                             TABLE OF CONTENTS

EXECUTIVE S U M M A R Y.............................................................................................................................................. 1

1.0        INTRODUCTION............................................................................................................................................. 3
            1.1  DAPL P ro je c t..................................................................................................................................... 3
            1.2  Purpose and Need............................................................................................................................ 3
            1.3  A u th o rity and Scope o f th e EA....................................................................................................... 3

2.0        ALTERNATIVES............................................................................................................................................... 5
            2.1  Alternatives Considered but Eliminated from Detailed Analysis..............................................5
                  2.1.1 A lternative 1 - M odification o f Existing In fra stru ctu re .............................................5
                  2.1.2 A lternative 2 - Trucking Transportation A lte rn a tive ................................................. 5
                  2.1.3 A lternative 3 - Rail Transportation A lte rn a tive .......................................................... 6
                  2.1.4 A lternative 4 - Route A lternatives.................................................................................. 7
                  2.1.5 A lternative 5 - M ajor W aterbody Crossing M ethod A lternatives......................... 12
            2.2  No Action A lte rn a tiv e ....................................................................................................................13
            2.3  The Proposed Action (Preferred A lte rn a tive )............................................................................13
                  2.3.1 Location and Detailed Description o f th e Proposed A c tio n .................................... 13
                  2.3.2 Description of Construction Techniques and Construction M itigation Measures
                           .......................................................................................................................................... 17

3.0        THE AFFECTED ENVIRONMENT AND POTENTIAL ENVIRONMENTAL IMPACTS OF THE PROPOSED
            ACTION AND NO ACTION ALTERNATIVE................................................................................................23
            3.1   Geology and Soils........................................................................................................................... 23
                   3.1.1 G eology............................................................................................................................ 23
                   3.1.2 M ineral Resources..........................................................................................................25
                   3.1.3 Geologic Hazards............................................................................................................ 26
                   3.1.4 P aleontology....................................................................................................................28
                   3.1.5 Soils................................................................................................................................... 29
            3.2   W ater Resources............................................................................................................................ 35
                   3.2.1 Surface W aters................................................................................................................ 35
                   3.2.2 G roundw ater................................................................................................................... 44
                   3.2.3 W etla nd s.......................................................................................................................... 49
                   3.2.4 F lo o dp lain ........................................................................................................................ 51
                   3.2.5 Levees...............................................................................................................................52
            3.3   Vegetation, Agriculture, and Range Resources.........................................................................52
                   3.3.1 V egetation........................................................................................................................52
                   3.3.2 Invasive and Noxious W eeds........................................................................................ 56
                   3.3.3 Threatened, Endangered, Candidate, andProposed Plant Species........................ 57
            3.4   W ildlife Resources.........................................................................................................................57
                   3.4.1 Recreationally and Economically Im portant Species and Nongame W ild life                                                              57
                   3.4.2 Threatened, Endangered, Candidate, andProposed W ildlife Species....................58
            3.5   Aquatic Resources..........................................................................................................................68
                   3.5.1 Habitat and C om m unities..............................................................................................68
            3.6   Land Use and R ecreation.............................................................................................................. 70
                   3.6.1 Land O w nership.............................................................................................................. 70
                   3.6.2 Land Use........................................................................................................................... 71




                                                                                                                                             USAGE DAPL0071221
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 125 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016

                    3.6.3 Recreation and Special Interest Areas......................................................................... 73
        3.7         Cultural and Historic Resources and Native American C onsultations................................... 75
                    3.7.1 Cultural Resources S tudies............................................................................................ 76
                    3.7.2 Native American C onsultations.................................................................................... 79
        3.8         Social and Economic C onditions.................................................................................................80
                    3.8.1 Demographics, Employment,Income and Economic Justice.................................... 80
        3.9         Environmental Justice...................................................................................................................84
                    3.9.1 Affected Environm ent.....................................................................................................84
                    3.9.2 Impacts and M itig a tio n ...................................................................................................85
        3.10        Hazardous W a s te .......................................................................................................................... 87
        3.11        Reliability and Safety.....................................................................................................................88
        3.12        Air Q uality and N oise................................................................................................................... 94
                    3.12.1 Air Q u a lity .........................................................................................................................95
                    3.12.2 N oise..................................................................................................................................96

4.0    CUMULATIVE IMPACTS............................................................................................................................. 98
       4.1  Geology and Soils.......................................................................................................................... 99
       4.2  W ater and Aquatic Life Resources........................................................................................... 100
       4.3  Vegetation, Agriculture, and RangeResources.......................................................................101
       4.4  Threatened, Endangered, Candidate,and Proposed Species............................................... 102
             4.4.1 Inte rio r Least T e rn .........................................................................................................102
             4.4.2 W hooping C rane............................................................................................................103
             4.4.3 Piping P love r.................................................................................................................. 103
             4.4.4 Rufa Red K n o t................................................................................................................ 103
             4.4.5 Pallid S turgeon............................................................................................................... 103
             4.4.6 Conclusion.......................................................................................................................104
       4.5  W ildlife Resources......................................................................................................................104
       4.6  Land Use and R ecreation........................................................................................................... 104
       4.7  Cultural and Historic Resources and Native American C onsultations................................. 105
       4.8  Social and Economic C onditions...............................................................................................105
       4.9  Transportation and T ra ffic ........................................................................................................ 106
       4.10 Environmental Justice.................................................................................................................107
       4.11 Air Q uality and N oise................................................................................................................. 107

5.0    IRREVERSIBLE AND IRRETRIEVABLE COMMITMENT OF RESOURCES.............................................108

6.0    MITIGATION SUMMARY.......................................................................................................................... 109

7.0    FEDERAL, TRIBAL, STATE, AND LOCAL AGENCY CONSULTATION AND COORDINATION                                                                                     Ill

8.0    STATUS OF ENVIRONMENTAL COMPLIANCE...................................................................................... 115

9.0    LIST OF PREPARERS AND REVIEWERS....................................................................................................126

10.0   ACRONYMS, INITIALS, AND ABBREVIATIONS...................................................................................... 128

11.0   REFERENCES...............................................................................................................................................131

12.0   FIGURES....................................................................................................................................................... 139




                                                                                                                                              USAGE DAPL0071222
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 126 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016

LIST OF TABLES

Table   2-1:    North Bismarck Route alternative Evaluation
Table   2-2:    North Bismarck Route alternative cost comparison
Table   2-3:    Flowage Easements and Federal Land Crossings
Table   2-4:    Environmental Assessment Areas of Interest
Table   3-1:    Soil Types Mapped on the Flowage Easements Project Area
Table   3-2:    Soil Types Mapped on the Federal Lands Project Area and Connected Action
Table   3-3:    Soil Impacts on the Flowage Easements Project Area
Table   3-4:    Soil Impacts on the Federal Lands Project Area and Connected Action
Table   3-5     W aterbodies w ith in th e Flowage Easements Project Area
Table   3-6     W aterbodies w ith in th e Federal Lands Project Area and Connected Action
Table   3-7:    Estimated Benzene Concentrations Following a Flypothetical Crude Oil Spill at Project
                 River Crossings
Table   3-8:    W etlands w ith in th e Flowage Easements Project Area
Table   3-9:    Land Cover Impacts on the Flowage Easements Project Area
Table   3-10:   Land Cover Impacts on the Federal Lands Project Area and Connected Action
Table   3-11:    Federally Listed Species w ith Potential to Occur w ith in the Project Area and Connected
                 Action
Table   3-12:   Land Use Impacts on the Flowage Easements Project Area
Table   3-13:   Land Use Impacts on the Federal Lands Project Area and Connected Action
Table   3-14:   M in o rity and Low-lncome Population Statistics fo r the Flowage Easements Project Area
Table   3-15:   M in o rity and Low-lncome Population Statistics fo r the Federal Lands Project Area
Table   3-16:    Noise Values
Table   7-1:     Comments Received
Table   8-1:     Environmental Permits, Approvals, and Consultations
Table   8-2:     Summary o f Environmental Impact Avoidance and M itigation Measures

Table 9-1:       List of Reviewers and Preparers



LIST OF FIGURES

Figure 1:        Project Location— Federal Lands and Flowage Easements
Figure 2:        Project Layout— Flowage Easements
Figure 3:        Project Layout— Federal Lands
Figure 4:        Soils— Flowage Easements
Figure 5:        Soils— Federal Lands
Figure 6:        Natural Resources— Flowage Easements
Figure 7:        Natural Resources— Federal Lands
Figure 8:        Cultural Resources— Flowage Easements
Figures:         Cultural Resources— Federal Lands
Figure 10        Land Cover— Flowage Easements
Figure 11        Land Cover— Federal Lands
Figure 12        Route A lte rn ative — Missouri River Crossing
Figure 13        Route A lte rn ative — Lake Oahe Crossing
Figure 14        Cross-Section Diagram of Lake Oahe FIDD Crossing




                                                                                         USAGE DAPL0071223
      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 127 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016

Figure 15:        Cross-Section Diagram o f Missouri River HDD Crossing
Figure 16:        W hooping Crane M igration Corridor



LIST OF APPENDICES

Appendix A:       S torm w ater Pollution Prevention Plan (SWPPP)/Spill Prevention Control and
                   Countermeasure (SPCC) Plan
Appendix     B:   HDD Construction Plan - and HDD Contingency Plan
Appendix     C:   Right-of-W ay (ROW) Configurations and Typical Construction Details
Appendix     D:   Geotechnical Reports
Appendix     E:   Blasting Plan
Appendix     F:    Unanticipated Discoveries Plan Cultural Resources, Human Remains, Paleontological
                   Resources and Contam inated Media (UDP)
Appendix G:       Environmental Construction Plan (ECP)
Appendix H:       Project Maps and HDD Cross-Sections
Appendix I:       Cultural Resources Report (Confidential-Not fo r Public Release)
Appendix J:       Sample Scoping Letter, D istribution List, and Comments Received
Appendix K:       Notice o f Availability of Draft Environmental Assessment (EA) fo r Comment
Appendix L:       D raft Facility Response Plan
Appendix M:       Sovereign Lands Permits issued by th e North Dakota Office o f th e State Engineer




                                                                                                       IV




                                                                                        USAGE DAPL0071224
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 128 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                             EXECUTIVE SUMMARY

In accordance w ith the National Environmental Policy Act (NEPA) and im plem enting regulations, the
fo llo w ing Environmental Assessment (EA) has been prepared to evaluate th e effects o f the United States
Arm y Corps o f Engineers (USAGE), Omaha District (District) granting permission to Dakota Access, LEG
(Dakota Access) to place a portion o f th e Dakota Access Pipeline Project (DAPL Project) on federal real
p roperty interests acquired and managed fo r th e Garrison Dam/Lake Sakakawea and Oahe Dam/Lake
Oahe Projects in North Dakota. Section 14 o f the Rivers and Harbors Act o f 1899, codified 33 U.S.C. Section
408 (Section 408), authorizes the Corps to grant permission to Dakota Access to m odify federal flood
control and navigation projects, provided the m odifications are not injurious to the public interest and
w ill not im pair th e usefulness o f th e projects. The EA addresses the purpose and need o f th e pipeline, as
w ell as th e location and m ethod o f installation o f the pipeline, but the analysis is lim ited to the effects o f
allow ing the pipeline to cross federal flowage easements near Lake Sakakawea and federally owned lands
at Lake Oahe in North Dakota, to determ ine w hether the placement o f the pipeline on federal real
p roperty interests is injurious to th e public interest or w ill im pair th e usefulness o f th e federal projects.

This EA was prepared by Dakota Access on behalf of th e Corps in compliance w ith th e NEPA Act of 1969;
th e Council on Environmental Q uality (CEQ) Regulations (40 CFR 1500-1508); Corps o f Engineers
Regulation ER 200-2-2 (33 CFR Part 230), and related environm ental compliance requirem ents, including
th e Section 106 o f the National Historic Preservation Act (Section 106). Tribes, Tribal Historic Preservation
Offices, State Historic Preservation Offices, the Advisory Council on Historic Preservation, and interested
parties w ere consulted by representatives from Dakota Access and th e Corps Omaha D istrict as required
by th e Programmatic Agreem ent and th e National Historic Preservation Act.

This EA was prepared in accordance w ith CEQ regulations in Section 1506.5(a) and 1506.5(b), which allow
an applicant to prepare an EA fo r federal actions. The Corps has independently evaluated and verified
th e inform ation and analysis undertaken in this EA and takes full responsibility fo r th e scope and content
contained herein.

The Corps published a draft EA on December 8, 2015, on the U.S. Arm y Corps o f Engineers (USAGE) Omaha
D istrict w ebsite (http://w w w .nw o.usace.arm y.m il/M issions/C ivilW orks/Planning/ProjectR eports.aspx)
and hard copies w ere made available at public libraries in Bismarck, W illiston, and Pierre. Additionally,
notifications w here made to cooperating agencies, other federal, state and local agencies, and signatory
and non-signatory Tribes to the Omaha Corps District Programmatic Agreement.

The Corps received com m ents from 20 reviewers in response to th e Draft EA, prim arily from individuals
believed to be members o f th e Standing Rock Sioux Tribe, and tw o sets of comments from EPA. These
com m ents relate to topics in th e EA. The Corps fu lly considered and responded to these comments. There
is no new, significant inform ation on environm ental effects as a result of these comments. As such, neither
a supplem ental nor a revised EA w ill be published fo r fu rth e r public review nor are additional NEPA
compliance actions required p rior to the Corps making a decision on the proposed action.

Impacts on th e environm ent resulting from the placem ent o f th e pipeline on federal real property
interests is anticipated to be tem porary and not significant as a result of Dakota Access's efforts to avoid,
m inimize, and m itigate potential impacts. Dakota Access w ill comply w ith all applicable local, state, and




                                                                                                  USAGE DAPL0071225
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 129 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




federal regulations and perm its associated w ith th e construction and operation o f the pipeline, which is
not expected to have any significant direct, indirect, or cum ulative impacts on th e environm ent.




                                                                                           USAGE DAPL0071226
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 130 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                            1.0      INTRODUCTION

Dakota Access is proposing to construct a new crude oil pipeline th a t w ould provide transportation service
fro m th e Bakken and Three Forks plays in North Dakota through portions o f South Dakota and Iowa to a
term inus in Patoka, Illinois (Figure 1). In coordination w ith th e U.S. Arm y Corps o f Engineers, the
Applicant, Dakota Access, LEG (Dakota Access), as th e non-federal representative fo r compliance w ith the
NEPA o f 1969, the CEQ Regulations (40 CFR 1500-1508), Corps of Engineers Regulation ER 200-2-2 (33 CFR
Part 230), and related environm ental compliance requirem ents, prepared this Environmental Assessment
to analyze w he the r the Corps could grant Section 408 permissions fo r th e placement o f Dakota Access
Pipeline Project (DAPL Project) on federal flowage easements near th e upper end o f Lake Sakakawea, and
federally owned lands at Lake Oahe in North Dakota ("the Requester's Preferred A lternative" or
"Proposed A ction"). Areas th a t are potentially impacted by construction an d /o r operation o f the
Proposed Action are referred to herein as the Project Area.

1.1     DAPL Project

The DAPL Project is an approxim ately 1,100-mile long crude oil pipeline project beginning near Stanley,
N orth Dakota, and ending at Patoka, Illinois. The DAPL project, as proposed and being evaluated herein,
w ould cross federal flow age easements near th e upper end o f Lake Sakakawea north of the Missouri River
in W illiam s County, North Dakota, and federally owned lands at Lake Oahe in M orton and Emmons
counties. North Dakota. The EA analysis is lim ited to these portions of th e pipeline only.

1.2      Purpose and Need

The purpose and need o f th e federal action is to determ ine w hether USAGE may grant permission fo r
Dakota Access to place the pipeline on federal real property interests acquired and managed by USAGE
fo r the Garrison Dam/Lake Sakakawea and Oahe Dam/Lake Oahe projects. Section 408 authorizes the
Corps to grant permission to Dakota Access to m odify federal flood control and navigation projects,
provided the m odifications are not injurious to th e public interest and w ill not im pair th e usefulness o f
th e projects. The EA addresses the purpose and need of th e pipeline, as well as the location and m ethod
o f installation o f th e pipeline, but th e analysis is lim ited to th e effects o f allowing the pipeline to cross
federal flow age easements near the upper end o f Lake Sakakawea and federally owned lands at Lake Oahe
in N orth Dakota.

1.3     Authority and Scope of the EA

The proposed crossings o f Corps-owned lands and easements w ould require the Corps to grant the Section
408 permissions as well as real estate outgrants. Therefore, th e scope o f this EA is lim ited to the crossings
o f Corps-owned lands and flow age easements. As noted below, separate Corps authorizations are being
sought fo r Section 404, Section 10, and Section 408 crossings on other portions of the DAPL route. Those
actions are not discussed in the EA.

The Proposed Action does not qualify fo r a Categorical Exclusion from NEPA docum entation as defined by
ER 200-2-2, 4 March 1998 paragraph 9. Thus, this EA has been prepared as required under NEPA to
determ ine potential impacts th a t may occur as result o f im plem enting the Proposed Action. If it is
determ ined th a t no significant impacts w ould be incurred after im plem enting the m itigation measures




                                                                                                 USAGE DAPL0071227
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 131 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




described w ith in this docum ent, the USAGE w ould issue a finding of no significant im pact (FONSI). If it is
determ ined th a t significant impacts w ould be incurred as a result o f construction an d /o r operations o f
th e Proposed Action, an environm ental im pact statem ent (EIS) w ould be prepared to fu rth e r evaluate the
Proposed Action under NEPA.

This effect analysis is being com pleted in accordance w ith CEQ regulations in Section CFR 1506.5(b), which
allow an applicant to prepare an EA fo r a federal action in coordination w ith th e lead federal agency (i.e..
Corps). The Corps w ill use the inform ation in th e EA to make a final determ ination w hether to grant the
required Section 408 permissions using the inform ation contained herein. The Corps independently
evaluated and verified the inform ation and analysis undertaken in this EA and takes full responsibility fo r
its scope and content.




                                                                                             USAGE DAPL0071228
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 132 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                            2.0      ALTERNATIVES

Dakota Access proposes th e DAPL Project to efficiently and safely transport at least 570,000 barrels of
crude oil per day (bpd) from th e Bakken and Three Forks production region in North Dakota to a crude oil
m arket hub located near Patoka, Illinois, and ultim ately to refineries located in the M idw est and th e Gulf
Coast, w here 80% o f the U.S. refining capabilities exist. Because the Corps can only grant permission fo r
th e m odification o f a federal project if it w ould not be injurious to th e public interest, the EA evaluated
alternatives to th e construction o f th e pipeline as a whole, as well as the alignm ent o f th e pipeline and
m ethod fo r installation on federal property. The alternatives were compared using the proposed purpose
o f the DAPL project. The EA also analyzed the potential fo r th e pipeline to im pair the usefulness o f the
federal projects.

2.1     Alternatives Considered but Eliminated from Detailed Analysis

2.1.1   Alternative 1 - Modification of Existing Infrastructure

There are no o the r m ajor interstate pipelines th a t w ould m eet th e purpose and need o f the Project. The
DAPL Project w ould be Energy Transfer's (Company's) firs t asset in th e state. For this reason, the
m anipulation o f operating pressures or additional o f pum p stations to increase transport capacity in
pipelines or altering existing infrastructure to increase storage and transport capacity are not viable
options to m eet the purpose and need o f th e Project.

2.1.2   Alternative 2 - Trucking Transportation Alternative

 W hile trucking is instrum ental in th e gathering and d istribution o f crude on a lim ited scale, trucking as an
alternative fo r transporting volum e o f crude oil th e distances planned fo r th e DAPL Project is not viable.
Based on data recorded by the North Dakota Pipeline A u th o rity as recently as November o f 2015,
approxim ately 1% o f the crude oil in the W illiston Basin is transported via truck out o f th e W illiston Basin
due to a lack o f transp ort capacity (Kringstad, 2016). Factors such as road safety, roadway capacity, and
a lack o f reliability due to seasonal constraints, in addition to o ther logistical issues involving availability
o f labor force, tra ile r tru ck capacity, and economics, all contribute to truck transportation not being a
realistic alternative.

A sharp increase in tra ffic on N orth Dakota roads as a result o f the rapid expansion in the num ber of
commercial trucks linked to the oil industry speaks to the issues associated w ith road safety. In 2012, the
Federal M o to r Carrier Safety A dm inistration reported a tra ffic fa ta lity rate in North Dakota o f 0.48 per
m illion vehicle miles traveled, w ith 48 deaths involving a bus or large truck, fa r surpassing any other state
(U.S. D epartm ent o f Transportation [DOT], 2014). In the pre-boom years o f 2001 to 2005, there was an
average o f only 13 annual deaths involving commercial trucks. Furtherm ore, the economic cost o f severe
truck crashes has m ore than doubled between 2008 and 2012. Much o f th e increase in th e fa ta lity rate
can be a ttrib ute d to the energy production boom, along w ith th e fact th a t the state's infrastructure still
consists o f single-lane, rural, and unpaved roads in many areas (Bachman, 2014). Flarsh w in te r w eather
and seasonal road restrictions com prom ise the reliability of tru ck transportation even fu rth e r. Based on
th e above, a pipeline is a safer and m ore economical alternative than trucking fo r the volumes transported
and distances covered by the DAPL Project.




                                                                                                 USAGE DAPL0071229
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 133 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Assuming the average oil tanker truck is capable o f holding about 220 barrels o f oil, the transportation o f
th e initial capacity o f the proposed Project (450,000 bpd), w ould require a to ta l o f 2,045 (450,000/220)
fu ll trucks to depart the proposed tank term inals daily, and m ore than 85 (2,045/24) trucks w ould have to
be filled every hour w ith a 24-hour/day operation. Time spent in transit, loading/offloading, and
additional tim e fo r m aintenance w ould add to the num ber o f trucks needed to offset fo r the DAPL Project.
For a trucking mode, an increase in daily truck tra ffic w ould lead to an increase in the degradation o f public
roads as well as contribute to the noise pollution adjacent to th e roads. For both truck and rail modes, an
increase in exhaust w ould be anticipated due to truck and locom otive combustion. An increase in air
pollution w ould also be anticipated from potential releases during th e filling operations fo r trucks or rail
cars.

Analysis o f infrastructure considerations (the burden o f thousands o f additional trucks on county, state,
and interstate highways, as well as the loading and offloading facilities th a t w ould have to be constructed
which w ould incur th e ir own environm ental impacts), economic considerations (e.g., labor costs, purchase
and m aintenance o f hauling equipm ent, fuel, public infrastructure, etc.), and reliability considerations
(e.g., w eather, mechanical, m anpower, road closures) all contribute to making the truck transportation
alternative unviable.

2.1.3   Alternative 3 - Rail Transportation Alternative

Reliance on rail as a transportatio n m ethod in the W illiston Basin has drastically increased in recent years,
carrying a negligible percentage o f th e overall m arket share as recently as 2010 to nearly 60% of the
overall m arket share by m id-2014 (Nixon, 2014). The rise in the use o f rail as a prim ary transportation
m ethod has been driven in large part by the rapid increase in production of crude oil coupled w ith a lack
o f pipeline capacity to account fo r additional supplies.

Negative impacts from th e grow th in popularity o f rail as a m ethod o f long-distance transportation o f
crude oil include delays th a t disrupt th e agricultural sector, reductions in coal-fired pow er plant
inventories, and significant production issues in the food production industry. In August 2014, reports
filed w ith the federal governm ent indicated th a t the Burlington Northern Santa Fe Railway had a backlog
o f 1,336 rail cars w aiting to ship grain and o ther products, w hile Canadian Pacific Railway had a backlog
o f nearly 1,000 cars (Nixon, 2014). For industries, such as those listed, in which the use of pipelines is not
an option, th e only viable alternative w ould be increased reliance on trucking, which w ould exacerbate
some o f the issues listed in th e section above.

Assuming a carrying capacity o f 600 barrels per car, a to ta l o f 750 rail cars w ould be required to depart
th e tank term inal daily to tra nsp ort 450,000 barrels o f crude oil to its final destination. Loading and
offloading 750 rail cars in a day w ould require servicing m ore than 31 rail cars per hour. W ith an
assumption of 125 rail cars per train, six trains w ould have to depart the tank term inal every day. W ith
10 to 12 trains currently leaving the state per day carrying Bakken crude, the DAPL Project w ould represent
a 50 to 60% increase in th e num ber o f trains transporting crude oil out o f th e state, likely exacerbating
issues w ith delays (Florwath and Owings, 2014).

Rail operations on th e scale o f the DAPL Project do not exist in the U.S. An oil-by-rail fa cility designed to
handle an average o f 360,000 bpd has been proposed in the Port o f Vancouver, W ashington. Known as
th e Vancouver Energy proposal, th e project w ould be the largest rail term inal in the country (Florip, 2014).




                                                                                               USAGE DAPL0071230
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 134 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




A rail transportation alternative to handle th e volumes of the DAPL Project w ould require th e design and
construction o f 125 to 158% o f th a t of th e Vancouver Energy proposal. A facility o f this size w ould incur
its own environm ental consequences.

From a safety standpoint, railroad transport consistently reports a substantially higher num ber of
transportation accidents than pipelines (DOT, 2005). A series of m ajor accidents taking place in 2013 to
2014 in Canada and th e U.S. has heightened concern about th e risks involved in shipping crude by rail
(Fritelli, 2014).

Increases in rail tra ffic necessary to tran sport th e volum e of crude oil proposed by the DAPL project would
increase the emissions o f com bustion products due the use o f diesel engines which could have an adverse
im pact on air quality in the region. This alternative w ould also directly affect com m unities along utilized
rail lines by increasing noise and creating transportation delays due to th e substantial increasing rail tra ffic
across railroad crossings o f roads.

W hile rail tanker cars are a vital part o f the short-haul distribution netw ork fo r crude oil, pipelines are a
m ore reliable, safer, and m ore economical alternative fo r th e large volumes transported and long
distances covered by the DAPL Project. This alternative w ould create delays on the rail lines due to the
substantial increase in rail tra ffic, resulting in shipping delays in other industries such as agriculture th a t
cannot rely on pipeline transportatio n. Furtherm ore, the purpose and need o f the Project w ould not be
attainable w ith the current oil-by-rail infrastructure in th e country because rail loading facilities o f
sufficient size do not exist. As such, rail transportation is not considered a viable alternative.

2.1.4   Alternative 4 - Route Alternatives

Although this EA is lim ited to the pipeline placem ent on federal real property interests adm inistered by
th e Corps, m ajor route alternatives w ere evaluated fo r th e pipeline route as a whole. During the DAPL
Project fatal fla w analysis and early routing process, Dakota Access utilized a sophisticated and proprietary
Geographic Inform ation System (GlS)-based routing program to determ ine the pipeline route based on
m ultiple publicly available and purchased datasets. Datasets utilized during the Project routing analysis
included engineering (e.g., existing pipelines, railroads, karst, powerlines, etc.), environm ental (e.g.,
critical habitat, fa u lt lines, state parks, national forests, brownfields, national registry o f historic places,
etc.), and land (e.g., fee owned federal lands, federal easements, dams, airports, cemeteries, schools,
mining, trib al lands, and m ilitary installations, etc.).

Each o f these datasets was w eighted based on th e risk (e.g., low, moderate, or high based on a scale o f
1,000) associated w ith crossing or fo llo w ing certain features. In general, th e route fo r the pipeline would
fo llo w features identified as low risk, avoid or m inimize crossing features identified as m oderate risk, and
exclude features identified as high risk. For example, the existing pipelines dataset was weighted as a low
risk feature, so th a t th e routing to o l follow ed existing pipelines to th e extent possible to minimize
potential impacts. An example o f a high risk feature is the national park dataset. Since national parks
w ere w eighted fo r th e DAPL Project as high risk, th e GIS routing program excluded any national parks
fro m th e pipeline route to avoid impacts on these federal lands. In addition, th e routing program
established a buffer between the proposed route and certain types o f land, such as m aintaining a 0.5-mile
b uffer from trib al lands.




                                                                                                 USAGE DAPL0071231
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 135 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Route Alternative for the Crossing of Flowage Easements at the Missouri River

Early in the routing process Dakota Access perform ed a cursory route evaluation to atte m p t crossing the
M issouri River at a location th a t does not contain flowage easements. This w ould dictate moving the
centerline west o f the flowage easements in W illiam s County. This alternative was not carried forw ard
through the environm ental consequences analysis, given th a t this w ould require approxim ately eight
additional miles o f pipe, an exceedance o f an additional 130 acres o f workspace, and another m ajor river
crossing (Yellowstone River) in addition to the Missouri River. Furtherm ore, other state and federal
properties are located along th e river w est of th e confluence o f Missouri and Yellowstone Rivers.

Route Alternative for the Crossing of Federal Lands at Lake Oahe

Early in th e routing phase o f the DAPL Project, Dakota Access considered but elim inated an alternative
centerline th a t originated in Stanley, North Dakota, w ith in M ountrail County, where it connected to
custom er receipt points and headed southw est through W illiam s County and crossed th e Missouri River
approxim ately 8.5 miles east o f the Yellowstone River and Missouri River confluence (Figure 12). The
centerline then headed southeast across th e state and crossed Lake Oahe approxim ately 10 miles north
o f Bismarck (Figure 13), w here it then headed south again and entered South Dakota approxim ately 35
miles east o f Lake Oahe in M cIntosh County. In addition to o ther evaluation criteria listed in Table 2.1,
th e route alternative was in proxim ity to a n d/or crossing m ultiple conservation easements, habitat
managem ent areas. National W ildlife Refuges, state tru s t lands, w aterfow l production areas, and private
triba l lands.

As a result o f public input and com m ent during this EA process, additional desktop evaluation of the North
Bismarck alternative portion o f th e early route (Figure 13) was undertaken. The comparison o f this
alternative to th e preferred route is included in Tables 2-1 and 2-2 contained herein. As illustrated in the
tables, th e data substantiates elim inating this route as a viable alternative. W hile the alternative does
avoid Corps fee owned land at Lake Oahe; therefore, w ould not require a Corps real estate outgrant or
Corps EA review, approxim ately 11-miles o f length w ould be added to the pipeline route, consisting of
roughly 165 additional acres o f impact, m ultiple additional road crossings, w aterbody and wetland
crossings, etc. In addition to th e criteria shown in the tables, due to th e proxim ity to Bismarck, the North
Bismarck route alternative crossed through or in close proxim ity to several wellhead source w ater
protection areas th a t are identified and avoided in order to protect areas th a t contribute w ater to
municipal w ate r supply wells. The route was also severely constrained by the North Dakota Public Service
Commission's 5 00-ft residential buffer requirem ent at m ultiple locations. Furtherm ore, this route
alternative crossed o th e r populated PFIMSA high consequence areas (FICAs), th a t are not present on the
preferred route. Pipeline safety regulations use the concept o f FICAs to identify specific locales where a
release from a pipeline could have the m ost significant adverse consequences.




                                                                                             USAGE DAPL0071232
                               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 136 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016

                                                              Table 2-1
         Alternatives Evaluation M atrix Between Preferred Crossing at Lake Oahe and Alternative Crossing North of Bismarck

                                                                                                           PREFERRED COMPARED
                                                  ALTERNATIVE ROUTE             PREFERRED ROUTE
               Evaluation Factors                                                                             TO ALTERNATIVE
                                               Crossing North of Bismarck      Crossing at Lake Oahe
                                                                                                                  ROUTE
 Total Overall Route Mileage
   Total Mileage                                          111.0                         100.4                       -10.6
 Collocation
       Pipeline (mi)                                       0.0                          34.6                        +34.6
       Powerline (mi)                                      2.9                           6.1                        +3.2
   Overall Corridor Collocation (%)                        3%                           41%                         +38%
   A m ount o f Greenfield Crossed
                                                          108.1                         59.6                        -48.4
   (non-collocated areas-mi)
 Existing Pipeline Crossing (count)
   Crossing Count                                           6                            10                          +4
 Floodplain 100 Year
   Floodplain Crossings (Count)                            13                             2                          -11
   Total Mileage                                           1.4                           0.2                        -1.2
 Land Cover Types (mi)
   Agriculture                                            42.5                          36.1                        -6.4
   Developed/Low Intensity                                 0.2                           0.1                        -0.1
   Developed/Open Space                                    6.6                           2.0                        -4.6
   Grass/Pasture                                          59.3                          60.7                        +1.4
 Land Ownership Potential Conflicts
   USAGE Reservoirs - Lake Oahe                            0                              1                          +1
 Flowlines- NFID*
   W aterbody Count                                        149                           116                         -33




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                             Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 137 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016

                                                               Table 2-1
          Alternatives Evaluation M atrix Between Preferred Crossing at Lake Oahe and Alternative Crossing North of Bismarck

                                                                                                               PREFERRED COMPARED
                                                      ALTERNATIVE ROUTE                 PREFERRED ROUTE
                 Evaluation Factors                                                                               TO ALTERNATIVE
                                                   Crossing North of Bismarck          Crossing at Lake Oahe
                                                                                                                      ROUTE
 Waterbodies- NHD*
   Perennial                                                     3                                1                    -2
   In te rm itte n t                                             1                                0                    -1
 NWI Wetland (count)
   Freshwater Emergent W etland                                 26                                5                   -21
   Freshwater Forested/Shrub W etland                            1                                0                    -1
   Freshwater Pond                                               2                                0                    -2
 PHMSA Populated Areas Dissolved (mi)
   Ecological MCA                                               2.6                              2.6                   0
   Highly Populated Areas                                        0                                0                    0
   O ther Populated Areas                                       1.6                               0                   -1.6
   Drinking W ater MCA                                           0                                0                    0
 Powerline Crossing
   Total Crossing Count                                          14                               13                   -1
 Transportation Crossing
   Total Crossing Count                                         139                              112                  -27
   Flowline and waterbody crossings from the U.S. Geological Survey (USGS) National Hydrography Dataset




                                                                                                                                  10




                                                                                                                               USAGE DAPL0071234
                              Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 138 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016

                                                             Table 2-2
                Construction Cost Comparison Between Crossing at Lake Oahe and Alternative Crossing North of Bismarck

                                                                                         ALTERNATIVE
                                                                                                                     PREFERRED ROUTE
                                                                                            ROUTE
                                                                                                                      Crossing at Lake
                                                                                       Crossing North of
                                                                                                                           Oahe
                                                                                           Bismarck
 Length of Segment                                                                                   111.0   miles                100.4   miles
                                                                                                  585,974    feet              530,112    feet
 Cost for Road/Railroad Bores
                                                    Number of Road/Railroad Bores                     139    bores                 112    bores
                                        Total Cost for Road Bores (at $34,600/bore)            $ 4,809,400   USD            $ 3,875,200
 Cost of Installation for Non-HDD Areas
                                                        Length of Pipeline Non-HDD                580,008    feet              522,312    feet
                                      Total Cost for Installation of Non-HDD Section         $201,262,915    USD          $ 181,242,264   USD
 Horizontal Directional Drill (HDD) Across Mo River/Lake Oahe
                                                                     Length of HDD                  5,966    feet                 7,800 feet
                                                         Total Cost of HDD Crossing            $ 7,696,140   USD           $ 10,062,000   USD
 Cost of Geotechnical Investigation
                                                                                                 $ 140,000   USD              $110,000    USD
 Aboveground Facility Costs
 Mainline Valves Needed (one per each 10 mile segment)                                                 11 valves                    10 valves
 Total Cost of Mainline Valves (at $450,000/valve location)                                    $ 4,995,000   USD            $ 4,500,000   USD
                                                                                              S 21 681 053   USD           S 19 614 144   USD
 Additional Cost Including Engineering and Consultants (at $131,000/mile)                     $ 14,538,380   USD           $ 13,152,400   USD

 Total Cost o f Alternative                                                                  $ 255,122,888   USD          S 232,556,008   USD




                                                                                                                                                  11




                                                                                                                                          USAGE DAPL0071235
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 139 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




A negative num ber indicates th a t th e value fo r the proposed action is less than the value fo r the
population th a t the proposed action is being compared to.

2.1.5   Alternative 5 - M ajor W aterbody Crossing Method Alternatives

Once an optim al route was selected based on the evaluation o f impacts discussed in Section 2.1.3, Dakota
Access then identified the preferred m ajor w aterbody crossing construction m ethod th a t w ould m eet the
purpose and need w hile m inim izing impacts to resources. Pipeline construction m ethods utilized at
w aterbody crossings are highly dependent on th e characteristics o f the w aterbody encountered. A variety
o f w aterbody crossing techniques w ere considered during th e DAPL Project planning stages fo r the
crossings o f m ajor w aterbodies, including Dam and Pump, Flume, Open-Cut, and Horizontal Directional
Drill.

Drv Crossings Methods

Two d iffe re n t techniques, including dam and pum p and flum e crossing methods, are typically used on
w aterbody crossings w ell under 100 fe e t in w id th and require a tem porary diversion o f flo w w ith in the
w aterbody. Because o f th e large volum e o f w ater w ith in the Missouri River system, it is not feasible to
te m p orarily divert th e w a ter e ither by pump or flum e, and these m ethods were ruled out of consideration
fo r the crossing of the Missouri River and Lake Oahe.

W et Open-Cut Crossing Method

Aside from trenchless or HDD crossing techniques, th e only feasible crossing m ethod from a
constructability standpoint fo r th e m ajor waterbodies associated w ith th e Proposed Action is th e w et
open-cut crossing m ethod, in which flo w w ould be m aintained througho ut installation of the pipeline.
This m ethod o f construction w ould require the construction right-of-w ay (ROW) to extend right up to the
w aterbody itself, allow ing equipm ent to operate from the banks o f the w aterbody to excavate a trench.
The sensitive habitat adjacent to the banks of the waterbodies w ould be cleared o f vegetation and graded
to create a safe and level workspace th a t could accommodate excavation equipm ent and spoil storage fo r
th e duration o f th e open-cut installation (approxim ately 6 months). Since th e w idths o f the Missouri River
and Lake Oahe at th e crossing locations is such th a t operating trenching equipm ent entirely from the
banks w ould not be possible, trench excavation in the w aterbodies w ould require equipm ent operating
fro m barges. Furtherm ore, th e depth o f the waterbodies crossed (15 to 25 feet) exceeds th e reach o f a
backhoe, and th e use o f mechanical dragline dredgers w ould be necessary. Spoil dredged from the
bottom o f the w aterbody w ould be stored on a spoil barge or otherwise tem porarily stockpiled in the
w aterbody itself. This m ethod of excavation w ould greatly influence th e overall sedim ent load generated
in the w aterbody fo r th e duration of the installation. The generation o f a downstream tu rb id ity plume
w ould have a direct effect on the aquatic habitat o f the waterbody. In addition, the operation of
equipm ent w ith in and on th e banks o f the w aterbody has th e potential fo r adverse effects on surface
w ate r quality (i.e., potential contam ination o f surface w ater resources from fuel or leaks from the
equipm ent). Compared to trenchless technology, the open-cut m ethod w ould incur fa r greater impacts
on sensitive habitat located on both the banks of the waterbodies and w ith in th e w aterbodies. Therefore,
this m ethod o f construction was elim inated from consideration.




                                                                                                              12




                                                                                               USAGE DAPL0071236
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 140 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The trenchless construction m ethod known as HDD was selected as the preferred construction m ethod of
th e Proposed Action, because this m ethod o f construction involves fa r less impacts on resources. In
addition, the Garrison Project - Lake Sakakawea Oil and Gas M anagem ent Plan explicitly states th a t: Oil
and gas pipelines should use directional drilling technology to traverse beneath sensitive habitat areas.
Further inform ation regarding th e HDD construction m ethod is provided in Section 2.3.2.6 below.

2.2     No Action Alternative

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project. The "no action"
alternative w ould not provide th e infrastructure necessary to transport light sweet crude oil to refining
facilities. In northw est North Dakota, exploration and production o f oil is a m ajor economic activity, w ith
crude oil production being th e prim ary mineral resource o f interest. Although the "no action" alternative
itself w ould not incur direct environm ental impacts, it w ould also not address the existing demand to
tra nsp ort crude oil to refining facilities. M arket demands w ould likely compel shippers to rely on
alternative m ethods o f crude oil tran sport such as truck or rail. Although, both th e truck and rail
alternatives are not sufficient to m eet the purpose and need of th e Project due to th e lack o f available
infrastructure and o th e r lim itations described in Sections 2.1.3 and 2.1.4, it is reasonable to assume th a t
truck and rail tra ffic w ould increase if the "no action" alternative were im plem ented. These alternative
shipping m ethods w ould adversely affect resources as described in Sections 2.1.3 and 2.1.4 and
th ro u g h o u t this EA.

It is purely speculative to predict th e resulting effects and actions th a t could be taken by another company
or Dakota Access' shippers and any associated direct or indirect environm ental impacts in response to the
"no action" alternative. However, if this alternative is im plem ented, it is likely th a t other m ethods of
transporting crude oil to the m arketplace w ould be im plem ented and anticipated effects o f the "no
action" alternative has been carried forw ard in the environm ental analysis o f this EA to provide a
comparison between it and the impacts of im plem enting the Preferred Alternative.

2.3     The Proposed Action (Preferred Alternative)

2.3.1   Location and Detailed Description of the Proposed Action

The DAPL Project originates near Stanley, North Dakota, traversing w esterly northw est o f W illiston then
tu rn ing south, crossing the Missouri River and traverses southeasterly across the state, exiting through
th e central portion o f the southern border. Dakota Access proposes to construct the pipeline, ranging in
size fro m 12 to 30 inches in diam eter, so th a t the m ajority o f lands crossed w ould be privately-owned
lands. The locations fo r collecting product into the proposed system w ere largely fixed based on the
location o f existing term inals. The firs t o f the six fixed input locations is located at the pipeline's origin
near th e to w n o f Stanley in M ountrail County. Three other input locations exist near the tow ns o f
Ramberg, Epping, and Trenton in W illiam s County. Two additional collection points are located south of
th e proposed Missouri River crossing on the flowage easements in McKenzie County near the tow ns o f
W aterford City and Johnson's Corner. Connecting th e input locations was largely a m atter o f minim izing
length and maximizing th e avoidance o f sensitive features, developments, public lands, and
constructability issues (e.g., steep terrain, potholes, excessive bedrock, etc.), as discussed above in Section
2.1.4 Route Alternatives. Based on th e location o f th e collection points, crossing the Missouri River (Lake
Sakakawea) was unavoidable. The selected crossing location o f the Proposed Action avoids federally-



                                                                                                              13




                                                                                               USAGE DAPL0071237
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 141 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




owned lands to the extent practical, is at a narrow w id th of the river upstream o f th e w ider Lake
Sakakawea, and minimizes impacts on sensitive resources (e.g., piping plover critical habitat, eagle nests,
etc.). The pipeline is 24 inches in diam eter w here it crosses approxim ately 14,942 fe e t (2.83 miles) o f the
Corps flow age easements at th e Missouri River and is 30 inches in diam eter where it crosses
approxim ately 1,109 fe et (0.21 mile) o f th e Corps-owned federal lands at Lake Oahe.

W ith in North Dakota, the proposed Supply pipeline crosses seven tracts of flowage easement retained by
th e Corps located north o f th e Missouri River in W illiam s County (Figure 2). The proposed DAPL Project
M ainline route travels through land owned and managed by th e Corps on both sides of the Lake Oahe
crossing at the border between M orto n and Emmons counties, approxim ately 0.55 m ile north of the
northern boundary o f th e Standing Rock Sioux Reservation (Figure 3).

The follow ing narrative relates to Figures 1 through 3 in Section 12.0 and is provided to assist the reader
in identifying th e Project Area under consideration in this analysis. Purple polygons indicate real estate
interests; e ither th e flow age easements th a t th e Corps has w ith private landowners upstream o f Lake
Sakakawea, or th e fee title lands th a t the Corps has on th e upper end o f Lake Oahe. The red hyphenated
line shows the DAPL Project centerline as it approaches Federal property at the Lake Oahe crossing and
tem porary workspace areas. The straight solid redline indicates th e HDD pipeline th a t w ill go beneath
Corps managed federal surfaces and is the Project Area being considered as part o f the Federal action to
issue a real estate easement. The yellow polygon indicates workspace where tem porary w ork is proposed
to be com pleted th a t directly supports the HDD installation o f the pipeline underneath th e river/reservoir.
Tem porary activities th a t w ould occur in this workspace include: welding togethe r pipe, inspecting and
testing th e pipeline to ensure no leaks are present prior to preparing to install beneath the river/reservoir
at both locations.

Potential impacts have to be evaluated in tem porary workspace, as actions com pleted here are directly
connected to th e ability fo r the applicant to com plete th e proposed project (both the purple and yellow
polygons). Further, these actions are directly connected to the federal decision to allow an easement fo r
th e pipeline to cross federal lands in this area. Notice th a t the Corps is not analyzing th e effects o f the
red hyphenated line (DAPL centerline) at the Lake Oahe crossing as it is outside the EA review area. This
is an im po rta nt difference compared to the flowage easement location w here tem porary w ork happens
to coincide w ith the orientation o f th e flowage easements perpendicular to the Missouri River. Therefore,
tem porary workspace required fo r portions o f th e pipeline installed via conventional (non-HDD) methods
on th e flow age easements is included in the EA review area.

The flowage easements and Corps owned lands associated w ith th e Proposed Action, and th e associated
Project im pact acreages, expressed as construction workspace, are identified in Table 2-3 below.

                                         Table 2-3
                         Flowage Easements and Federal Land Crossings
                                                                    Construction Workspace
    Grant of Easement Document Number           County
                                                                      W ithin Tract (acres)
 Flowage Easements
 LL3440E                                                   Williams                         9.4
 LL3483E-1                                                 Williams                         10.8




                                                                                                              14




                                                                                               USAGE DAPL0071238
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 142 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                              Table 2-3
                              Flowage Easements and Federal Land Crossings
                                                                                 Construction Workspace
    Grant of Easement Document Number                       County
                                                                                    W ithin Tract (acres)
 Flowage Easements
 LL3453E                                                   Williams                          10.7
 LL3430E                                                   Williams                          5.0
 LL3450E-2                                                 Williams                          5.2
 LL3431E                                                   Williams                          14.7
 LL3426E-2                                                 Williams                          3.4
                                       Total Acres             -                             59.2
 Federally-Owned Lands
 Federal Land                                               Morton                           0.4
 Federal Land                                              Emmons                            0.8
                                       Total Acres             -                             1.2



The EA review area includes areas w ith in th e Corps flowage easements and federal lands th a t are
potentially impacted by construction an d /o r operation of th e DAPL Project. The EA review area is
hereafter referred to as th e Project Area(s). Actions th a t occur outside o f th e flowage easements and the
federal lands at the Lake Oahe crossing are considered Connected Actions. Connected Actions are those
actions th a t are "closely related" and "should be discussed" in the same NEPA docum ent (40 CFR §
1508.25 (a)(i)). Actions are connected if they autom atically trigger other actions th a t may require an EA,
cannot or w ill not proceed unless other actions are taken previously or sim ultaneously or if the actions
are interdependent parts o f a larger action and depend upon th e large action fo r th e ir justification (40
CFR § 1508.25 (a)(i, ii, iii)). Connected Actions are lim ited to actions th a t are currently proposed (ripe fo r
decision). Actions th a t are not yet proposed are not Connected Actions, but may need to be analyzed in
th e cum ulative effects analysis if they are reasonably foreseeable. The only Connected Actions at each
individual crossing location associated w ith th e Proposed Action are those th a t relate to th e FIDD
workspace at the Missouri River crossing and th e FIDD workspace, FIDD stringing area, and the perm anent
easement on private lands in the vicinity o f th e Lake Oahe crossing. The tw o federal permissions are not
connected actions because the locations o f each crossing are independent o f one another and the location
o f th e firs t does not dictate th e location o f th e second.

Dakota Access initially proposed an isolation valve to be located w ith in the flowage easements (easement
LL3453E); however, th e Omaha District has assessed th e potential fo r open w ater and ice jam flooding
w ith in th e vicinity o f the Project Area in the "Reconnaissance Report, Missouri River, Buford-Trenton
Irrigation District, North Dakota" and based on th e findings th e valve w ould be located w ith in an area th a t
has th e potential to be submerged or damaged by ice jam flooding. Therefore, th e valve has been
removed fro m th e Project Area.

The Project Area and Connected Actions analyzed w ith in this E A for both crossings are outlined in Table
2-4, which identifies land status (private. Federal or Easement) and provides associated acreages.




                                                                                                               15




                                                                                                USAGE DAPL0071239
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 143 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                                Table 2-4
                                Environmental Assessment Areas of Interest
                                                               Federal/
                     Action/Activity                                                EA Review        Acres
                                                             Private Land
 Flowage Easements—Williams County
                                                             Private; Federal
Construction ROW within Corps flowage easements                                     Project Area     58.0
                                                                Easement
HDD workspace (exit point) within Corps flowage              Private; Federal
                                                                                    Project Area      1.2
easement                                                        Easement
Permanent easement over HDD profile within Corps             Private; Federal
                                                                                    Project Area      1.2
flowage easement and placement of temporary waterline           Easement
 Flowage Easements Connected Actions - McKenzie County
 HDD workspace (entry point) on private land                     Private         Connected Action     2.0
 Federal Lands and Connected Actions - Morton County
 HDD workspace (exit point) on private land                      Private         Connected Action     1.2
 HDD stringing area on private land                              Private         Connected Action     13.1
 Permanent easement over HDD profile on private land
                                                                 Private         Connected Action     0.8
 between HDD workspace (exit point) and federal lands
 Permanent easement over HDD profile on federal lands            Federal            Project Area      0.4
 Federal Lands and Connected Actions - Emmons County
 Permanent easement over HDD profile on federal land             Federal            Project Area      0.8
 Permanent easement over HDD profile on private land
                                                                 Private         Connected Action     0.3
 between federal land and HDD workspace (entry point)
 HDD workspace (entry point) on private land                     Private         Connected Action     1.2
 Lake Oahe
 Permanent easement over HDD profile across Lake Oahe              N/A              Project Area      6.3



                  2.3.1.1   Flowage Easements

The Missouri River HDD is located ju st upstream o f Lake Sakakawea and downstream o f the confluence
o f the Yellowstone and Missouri rivers. The proposed crossing o f flowage easements near upper Lake
Sakakawea (flowage easements) is located in Sections 1, 18, 19, and 30, Township 152 North, Range 103
West, in W illiam s County, North Dakota (Figure 2). The proposed pipeline is routed parallel to an existing
buried natural gas pipeline and associated valve sites, which cross th e Missouri River and flowage
easements just west o f th e proposed Dakota Access pipeline.

The HDD exit workspace w ould be located on a flowage easement tract. Access to th e Project Area on
th e flowage easements w ould be via the construction ROW from an existing road (38*^ Street NW). No
additional tem porary access roads w ould be required. The Connected Action at th e flowage easements
includes th e HDD entry workspace, located on the south side o f th e Missouri River on private lands in
McKenzie County. Access to th e HDD entry workspace w ill be via the existing access road located adjacent
to th e HDD entry workspace. No additional tem porary access roads w ould be required.




                                                                                                            16




                                                                                           USAGE DAPL0071240
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 144 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                 2.3.1.2    Federal Lands

The proposed crossing o f federally-ow ned tracts at Lake Oahe (federal lands) is located in Section 10,
Township 134 North, Range 79 W est in M orton County, North Dakota, and Section 11, Township 134
North, Range 79 W est in Emmons County, North Dakota (Figure 3). The proposed pipeline is routed to
parallel existing linear infrastructure (an overhead pow erline and a buried natural gas pipeline) in this
area. The HDD entry and exit point workspaces and stringing area w ould be located on private land
outside o f th e federal lands and are considered Connected Actions in this analysis. HDD design reflects a
crossing length o f approxim ately 7,500 feet, o f which approxim ately 5,420 feet occurs beneath the bed
o f Lake Oahe.

2.3.2   Description of Construction Techniques and Construction Mitigation Measures

All facilities associated w ith the Proposed Action w ould be designed, constructed, tested, operated, and
m aintained in accordance w ith th e U.S. DOT regulations in Title 49 CFR Part 195. Dakota Access is
currently developing project-specific plans and w ould im plem ent best m anagement practices (BMPs) to
m itigate fo r potential construction-related impacts associated w ith storm w ater runoff. This includes
im plem entation o f th e ir Storm w ater Pollution Prevention Plan (SWPPP; see Appendix A), which includes
th e Spill Prevention Control and Countermeasure Plan (SPCC Plan) as an appendix. Additionally, Dakota
Access w ould im plem ent th e ir HDD Construction Plan and HDD Contingency Plan (HDD
C onstruction/Contingency Plan; see Appendix B) fo r inadvertent release o f drilling mud during HDD
construction w ork at w etland and w aterbody crossings to protect sensitive resources from such releases.
The Proposed A ction w ould be constructed via a com bination o f conventional and specialized construction
procedures, as described below.

                 2.3.2.1    Clearing and Grading

Prior to com m encem ent o f ground-disturbing activities, a standard survey and stakeout w ould be
conducted to identify ROW and workspace boundaries and to locate existing foreign u tility lines w ith in
th e construction ROW. Following com pletion o f the surveys, the construction ROW w ould be cleared o f
vegetation and debris. Clearing of wetlands is lim ited to removal o f w oody debris in th e forested wetlands
above the HDD profile on th e north bank o f the Missouri River w ith in th e flowage easements. Stumps
w ould be cut flush w ith th e ground and le ft in place, as described in Section 3.2.3. Cleared vegetation and
debris along th e ROW w ould be disposed o f in accordance w ith federal, state, and local regulations either
by burning, chipping and spreading, or transportation to a commercial disposal facility. W here necessary,
to contain disturbed soils during clearing and grading in upland areas, and to m inimize potential erosion
and sedim entation o f wetlands and waterbodies, tem porary erosion control devices (ECDs) w ould be
installed p rior to initial ground disturbance and m aintained th ro u g h o u t construction. Vegetative buffers
w ould be left w here practical at all w aterbody crossings to lim it the exposure and im pact to these
features. Final clearing w ould take place im m ediately prior to crossing th e feature rather than advance.

                 2.3.2.2    Trenching

Trenching involves excavation of a ditch fo r pipeline placem ent and is accomplished through th e use o f a
trenching machine, backhoe, or sim ilar equipm ent. Trench spoil w ould be deposited adjacent to each
trench w ith in th e construction w ork areas, w ith topsoil segregation utilized where necessary based on



                                                                                                              17




                                                                                               USAGE DAPL0071241
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 145 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




land use (see the typical ROW configuration drawings in Appendix C). In standard conditions, th e trench
w ould be excavated to an appropriate depth to allow fo r a m inim um o f 36 inches o f cover over th e pipe.
Ground disturbance associated w ith conventional pipeline construction is generally lim ited to
approxim ately 6 to 10 fe et below th e existing ground surface. Typically the bottom of the trench w ould
be cut at least 12 inches greater than th e w id th o f th e pipe. The w id th at the to p o f the trench w ould vary
to allow th e side slopes to adapt to local conditions at th e tim e o f construction.

                  2.3.2.3    Pipe Stringing, Bending, and Welding

Following preparation o f the trench, th e new pipe w ould be strung and distributed along the ROW parallel
to the trench. Depending on available workspace, some pipe may be fabricated off-site and transported
to th e ROW in differing lengths or configurations. Pipe w ould be bent by hydraulic bending machines, as
necessary, to conform the pipe to th e trench. Once in place along th e ROW, pipe lengths w ould be aligned,
bends fabricated, and join ts welded togethe r on skids (i.e., tem porary supports). W elding w ould be
perform ed in accordance w ith th e American Petroleum Institute Standards, PHMSA pipeline safety
regulations, and Company welding specifications. All welds w ould be coated fo r corrosion protection and
visually and radiographically inspected to ensure there are no defects. Segments o f com pleted pipeline
w ould undergo hydrostatic pressure testing as described in Sections 3.2.1.2 and 3.11.

                  2.3.2.4    Pipeline Installation and Trench Backfilling

Completed sections o f pipe w ould be lifted o ff th e tem porary supports by side boom tractors or similar
equipm ent and placed into th e trench. Prior to lowering-in, the trench w ould be visually inspected to
ensure th a t it is free o f rock and o th er debris th a t could damage th e pipe or the coating. Additionally, the
pipe and th e trench w ould be inspected to ensure th a t the configurations are com patible. Tie-in welding
and pipeline coating w ould occur w ith in the trench to join th e newly lowered-in section w ith the
previously installed sections o f pipe. Following this activity, th e trench w ould be backfilled w ith the
previously excavated m aterial and crowned to approxim ately 6 inches above its original elevation to
compensate fo r subsequent settling.

                  2.3.2.5    Clean-up and Restoration

Following pipeline installation and backfilling, disturbed areas w ould be restored and graded to pre­
construction contours as closely as practicable. Construction debris and organic refuse unsuitable fo r
d istribution over th e construction ROW w ould be disposed o f at appropriate facilities in accordance w ith
applicable regulations. Permanent ECDs w ould be installed as appropriate, and revegetation measures
w ould be applied in accordance w ith the Environmental Construction Plan (ECP; see Appendix G), SWPPP,
and requirem ents o f applicable state and federal permits.

                  2.3.2.6    M ajor W aterbody Crossing Method

As previously discussed, th e preferred w aterbody crossing technique fo r th e Proposed Action is the FIDD
m ethod. The FIDD m ethod allows fo r construction across a feature w ith o u t th e excavation o f a trench by
drilling a hole significantly below conventional pipeline depth and pulling the pipeline through th e pre­
drilled hole. As described in subsequent sections o f this docum ent and in greater detail in the FIDD
Construction Plan (Appendix B), by utilizing th e trenchless technology, Dakota Access w ould minimize



                                                                                                                  18




                                                                                                  USAGE DAPL0071242
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 146 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




impacts to resources w ith in and adjacent to th e w aterbodies crossed and reduce the anticipated duration
o f the crossing. The HDD equipm ent w ould be staged well outside o f th e riparian area, avoiding impacts
on the steep banks, cultural resources, and sensitive habitat im m ediately adjacent to th e waterbody.
Cross sections o f th e Missouri River and Lake Oahe HDDs are provided in Figure 14 and Figure 15.

Depending on the HDD equipm ent utilized, to help guide the drill b it along the pipeline ROW, electric-grid
guide wires may be laid along the predeterm ined HDD route. In thickly vegetated areas, a small path may
be cut to accom m odate laying the electric-grid guide wires. Once th e electric-grid guide wires are
installed, th e directional drilling rig w ould drill a small diam eter pilot hole along the prescribed profile.
Following th e com pletion o f the pilo t hole, reaming tools w ould be utilized to enlarge th e hole to
accom m odate th e pipeline diam eter. The reaming tools w ould be attached to the drill string at th e exit
point and w ould then be rotated and drawn back to increm entally enlarge the pilot hole. During this
process, drilling fluid consisting o f prim arily bentonite clay and w ater w ould be continuously pumped into
th e pilot hole to rem ove cuttings and m aintain the integrity o f the hole. W hen the hole has been
sufficiently enlarged, a prefabricated segment o f pipe w ould be attached behind the reaming to o l on the
exit side o f th e crossing and pulled back through the drill hole tow ards th e drill rig.

Fluid pressures can build up w ith in th e borehole during HDD operations. In some instances, this can result
in hydraulic fracturing of the substrate and subsequent m igration o f drilling fluids either into the w aterw ay
or to th e land surface—this is known as a "frac-out." The depth o f th e proposed HDD profiles below the
beds o f the surface waters to be crossed w ould minimize the potential fo rfra c-o u ts to occur. Additionally,
precautions w ould be taken during all phases o f the drilling operation. A high quality drilling fluid w ould
be used to m aintain and p rotect th e integrity o f th e borehole during th e entire HDD operation until the
final pipe pull is com pleted. The HDD Construction Plan (Appendix B) includes m ore details regarding
HDD construction technology and methods. The w ork w ould be perform ed by an experienced drilling
contractor, Michels Directional Crossings, a Division o f Michels Corporation, th a t is knowledgeable in
effective HDD practices, including m aintaining proper drilling rate, drilling fluid com position, pumping rate
o f the drilling fluid, pull-back rate, and pumping rate on th e back ream, and adjusting these as appropriate
fo r the conditions.

The potential fo r river channel changes associated w ith w ater erosion and scour were considered when
selecting the m ajor w aterbody crossing m ethods and locations. Dakota Access has coordinated w ith the
N orth Dakota Office o f the State Engineer as part of th e Sovereign Lands Perm itting Process to verify
adequate depths fo r the pipe to be buried relative to geom orphological m ovem ents fo r th e Lake Oahe
and the Missouri River crossings. Accordingly, th e professional engineering firm evaluating HDD depths
fo r th e Proposed Action, GeoEngineers, has perform ed a scour analysis in order to evaluate th e scour risk
to the proposed pipeline during 100- and 500-year discharge events fo r th e Lake Oahe and the Missouri
River crossings.

The proposed HDD profile under Lake Oahe is designed to provide 92 feet o f cover below the bottom of
th e lake. Because o f th e depth o f the pipe below the waterbody, and the ponded condition of Lake Oahe,
this crossing is at a low risk to geom orphologic m ovements at the proposed crossing. The North Dakota
Office o f the State Engineer has issued Sovereign Lands Permit fo r the Lake Oahe crossing. A copy o f the
p e rm it is included in Appendix M.




                                                                                                              19




                                                                                               USAGE DAPL0071243
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 147 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The Missouri River HDD profile is designed to provide a m inim um o f 36 feet o f cover at the crossing
location beneath the lowest point o f th e Missouri River. This crossing has less proposed cover between
th e bottom o f the w aterbody and the to p o f the buried pipe and it is an active channel. As part o f the
Sovereign Lands Perm itting Process w ith the Office of the State Engineer, conservative assumptions were
utilized in th e analysis o f the Missouri River HDD design profile as a factor o f safety. For example, the
proposed crossing is not located at a bend in the channel and is located over 3,000 feet downstream o f
th e nearest upstream channel bend. An analysis o f historic photographs of the proposed crossing show
th a t th e upstream bend has been stable and in th e same location and th a t the potential downstream
m igration o f this bend is highly unlikely. However, although bend scour is not likely to propagate
downstream to th e proposed crossing, to be conservative in th e ir evaluation GeoEngineers assumed th a t
th e bend could m igrate downstream and negatively influence th e crossing.

GeoEngineers estim ated the maximum bend scour at the proposed pipeline to be 23 to 25 fe e t fo r the
100- and 500-year peak flo w events, respectively. The bend scour at the crossing location w ould not be
additive fo r successive storms as long-term degradation is assumed to be zero. Historic aerial imagery
and recent Google Earth imagery indicates bar building and deposition of sediments in th e Project Area,
representing a dynamic sedim ent environm ent. This equates to a high likelihood th a t there is an adequate
upstream sedim ent supply and likely m inim al long term degradation at the proposed crossing location. In
general term s, if th e area over the pipeline was to experience a large scour event from one large storm
event (up to 23 fee t o f scour during the 500-year peak flo w event follow ing the conservative assumptions),
this area w ould be filled in/covered after th e storm event by deposition o f sediments from upstream and
potential exposure o f th e pipeline w ould be negligible.

In addition to bend scour, there is potential fo r contraction scour th a t occurs when channel w id th varies
w ith in a short reach o f the river. There is a small contraction upstream o f the proposed crossing at the
downstream end o f th e bend approxim ately 3,000 fe e t upstream. The DAPL proposed crossing is not
located in a contraction, but actually a small expansion and th e contraction point is not likely to migrate
downstream to the proposed crossing. However, to be conservative in th e ir analysis as an additional
fa c to r o f safety, GeoEngineers assumed th a t th e contraction scour upstream o f th e proposed crossing
could m igrate downstream to the proposed crossing location. Based on this conservative assumption,
contraction scour estimates fo r the 100-year discharge event are approxim ately 9 feet. This 100-year
contraction scour depth is greater than w hat w ould occur during th e 500-year event as flood waters
spreading across th e floodplain actually reduce contraction and therefore reduce th e contraction scour
depth.

Combining th e conservative assumptions from above, th e maximum estim ated to ta l potential scour depth
at th e proposed Missouri River HDD site w ould occur during a 100-year flood event. This conservatively
assumes "w o rst case" th a t both th e bend scour and th e contraction scour m igrate downstream and are
both realized directly over the pipeline crossing at the same tim e. Under this scenario, the bend scour
w ould create a scour o f 23 fe e t and th e contraction scour w ould contribute another 9 fe e t creating the
m aximum estim ated to ta l potential scour depth o f 32 fe e t below the existing channel elevation during a
100-year flood event. To assess th e factor o f safety applied using these assumptions, GeoEngineers
utilized general scour equations th a t take into account bend and contraction scour and compared them
to the to ta l scour estim ated using the M aynord equation fo r bend scour and Laursen's live-bed
contraction scour equation. Utilizing the Blodgett equation, Lacey equation, and Blench equation fo r




                                                                                                           20




                                                                                            USAGE DAPL0071244
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 148 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




general scour, th e estim ated general scour at th e proposed pipeline crossing ranges between 14 to 23
fe e t fo r the 100- and 500-year peak flo w events. This results in a to ta l factor of safety o f 1.4 to 2.3 fo r
to ta l scour at the proposed crossing.

Based upon th e ir calculated worst-case scenario scour estimate, GeoEngineers considers th e risk o f scour
occurring down to the level o f the proposed pipeline to be low and th e proposed Missouri River HDD
design profile to be appropriate. The North Dakota Office o f the State Engineer has issued Sovereign
Lands Permit fo r the Missouri River crossing. A copy o f th e perm it is included in Appendix M.

                  2.3.2.7    Minor W aterbody Crossing Methods

There are no m inor w aterbodies crossed by th e pipeline on Corps Fee Lands. All m inor waterbodies
encountered on th e flowage easements have been identified as falling under th e jurisdiction o f the
B uford/Trenton Irrigation D istrict (BTID) and, in compliance w ith th e ir regulations, w ould be crossed via
trenchless pipeline construction m ethods (bores). Dakota Access is w orking through the BTID perm itting
and approval process separately. One in te rm itte n t w aterbody has been identified on the south side o f
th e Missouri River crossing, w ith in the connected action area but outside of the flow age easements, and
w ith in th e HDD workspace. Tem porary impacts to this w aterbody w ould be m itigated during construction
w ith a customized HDD equipm ent configuration, including th e placement o f tem porary m atting/bridging
over the feature as necessary to m aintain natural w ater flo w during construction, and installation o f
appropriate ECDs. Therefore, impacts on surface w aters and adjacent sensitive habitat w ould be
m inim ized by elim inating open-cut pipeline installations and in-stream w ork fo r all crossed waterbodies.

                  2.3.2.8   W etland Crossings

As discussed in Section 3.2.3 below, the only wetlands th a t w ould be crossed by the Proposed Action are
located w ith in the perm anent easement between HDD workspace and th e Missouri River on th e flowage
easements. As such, no wetlands w ould be impacted by construction or operation o f the facilities w ithin
th e Project Area/Connected Actions o f the federal lands, and no trenching w ith in wetlands w ould occur
w ith in th e Project Area on th e flow age easements. A tem porary w aterline w ould be laid aboveground,
across the wetlands located between th e HDD workspace and the north bank o f the Missouri River on
flow age easement LL3440E (Figure 6-B). No ground disturbing activity w ould be required fo r installation
o f th e tem porary w aterline. A m ore detailed discussion regarding wetlands is provided in Section 3.2.3.

                  2.3.2.9   Operation and Maintenance

Following com pletion o f construction, a 50-foot-w ide perm anent easement th a t is generally centered on
th e pipeline (25 fee t on either side o f the centerline) w ould be retained along the pipeline route. The 50-
fo o t-w id e easement w ould be m aintained by the O perator in an herbaceous state (cleared o f large
diam eter w oody vegetation) to fa cilitate inspection o f th e pipeline, operational maintenance, and
compliance w ith th e federal pipeline safety regulations. This 50-foot-w ide m aintained corridor w ould be
reduced to a 30-foot-w ide co rridor centered on th e proposed pipeline w ith in the w etland area north of
th e Missouri River in Corps Flowage Easement LL3440E (Figure 6-B).

M aintenance o f th e perm anent ROW w ould entail periodic vegetation clearing measures, in accordance
w ith PHMSA regulation fo r pipeline inspection. This may involve selective tree cutting and periodic



                                                                                                                21




                                                                                                 USAGE DAPL0071245
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 149 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




mowing. The use o f herbicides w ould not occur on Corps Fee Lands w ith o u t obtaining prior approval from
th e Corps. Vegetation maintenance o f the ROW in areas o f active cropland is not expected to occur due
to agricultural practices.




                                                                                                         22




                                                                                           USAGE DAPL0071246
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 150 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




        3.0    THE AFFECTED ENVIRONMENT AND POTENTIAL ENVIRONMENTAL IMPACTS OF THE
                         PROPOSED ACTION AND NO ACTION ALTERNATIVE

3.1       Geology and Soils

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project and no impacts
on geology and soils w ould occur. However, if th e objectives o f th e DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on geology and soils, which w ould likely be sim ilar to or greater than the DAPL Project.
If the Project is not constructed, less reliable shipping methods such as truck or rail could result in an
adverse effect on geology and soils due to increases in transportation accidents and fu tu re construction
o f infrastructure necessary to support these methods (i.e. additional loading/offloading facilities, rail
spurs, etc.).

3.1.1     Geology

                    3.1.1.1   Affected Environment

The Corps flow age easements to be crossed extend approxim ately 2.83 miles north o f th e Missouri River
in W illiam s County (Figure 2). Conventional open trench construction methods w ould be used to install
th e pipeline on approxim ately 13,553 fe et of the 14,953 feet o f flowage easements. The rem aining 1,400
fe e t w ould be installed via HDD fo r the adjacent Missouri River crossing. The easements and Connected
Action lie w ith in th e Missouri River valley and floodplain on to p o f the Quaternary Oahe Formation
(Clayton, 1980). The Oahe Formation is comprised o f unconsolidated sediments, including clay, sand, silt,
and gravel, w ith some dispersed organic m aterial. Geotechnical borings placed on both sides of the river,
ranging in depth from 75 to 95 fe e t below ground surface, confirm the presence o f unconsolidated sand,
gravel, and clay to at least these depths. A t this location, the Oahe Formation unconform ably overlies the
Paleocene Bullion Creek Formation, which is made up o f silt, sand, clay, sandstone, and lignite, and is the
upperm ost part o f a th ick sequence o f early T ertiary and late Mesozoic sedim entary form ations. Well
borehole data from McKenzie County indicates th a t this sequence occurs in excess of 15,000 feet thick in
certain locations (Freers, 1970). No soil borings were obtained below th e Missouri River crossing because
th e banks of th e Missouri River the length o f th e crossing is sufficiently short (930 feet) to allow fo r a
comprehensive geotechnical analysis w ith o u t testing directly beneath th e river itself.

The flow age easements crossed by th e Proposed Action and area crossed by the Connected Action occur
w ith in the Great Plains Physiographic Province, which is characterized by a broad expanse o f fla t land in
th e central portion o f the U.S. The easements and th e Missouri River Project Area lie w ith in an area where
physiography is characterized by low -re lief alluvial and floodplain deposits and range in elevation from
1,856 to 1,879 fe e t above mean sea level (MSL).

The bedrock geology of the Lake Oahe crossing area is characterized by Cretaceous sedim entary
form ations (Clayton, 1980). The Fox Hills Formation (sandstone and shale) overlies th e Pierre Formation
(shale), which has been exposed through erosion along th e axis of th e Lake Oahe reservoir o f the Missouri
River. The surficial geology is characterized by alluvium w ith in the valley and dune deposits moving in an
eastward direction. This was corroborated by geotechnical soil borings th a t w ere placed on private lands




                                                                                                            23




                                                                                             USAGE DAPL0071247
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 151 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




on both sides o f Lake Oahe th a t indicate the presence of sands and clays to depths ranging from at least
150 to 235 fe e t below ground surface (Appendix D).

The Lake Oahe crossing area also lies w ith in the Great Plains Physiographic Province. On th e w est side of
Lake Oahe, the federal land tracts range in elevation fro m 1,609 to 1,712 fe e t above MSL. The HDD exit
point workspace ranges from 1,699 to 1,711 fe e t MSL, and the stringing area ranges from 1,671 to 1,766
fe e t MSL. On th e east side o f Lake Oahe, th e federal lands range in elevation from 1,613 to 1,664 feet
MSL, and th e HDD entry point workspace ranges from 1,636 to 1,644 fe e t MSL.

                 3.1.1.2    Impacts and Mitigation

To protect th e terrain o f th e Project Area and Connected Actions, Dakota Access w ould, to the extent
feasible, restore th e areas affected by pipeline construction to pre-construction contours and sim ilar
vegetation (excepting trees w ith in approxim ately 15 feet o f th e centerline). Pre-construction and as-built
surveys w ould be com pleted and provided to th e Garrison Project.

Construction o f the pipeline on the flowage easements and Connected Action at th e Missouri River
crossing w ould result in m inor impacts on topography and geology, and no unique geologic features th a t
have received state or federal protection w ould be impacted w ith in the Corps flowage easements or
Connected Action.

The impacts a ttrib u ta ble to the HDD w ould not be significant. Vibrations produced during the HDD
process are not o f a m agnitude th a t would cause any impacts to geologic features or o ther resources. Any
vibrations associated w ith th e drilling process w ould be lim ited to the im m ediate vicinity of th e drilling
equipm ent on the surface and downhole. The vibrations produced from th e dow nhole tooling are o f a
very low m agnitude and are attenuated very quickly by th e fo rm ation such th a t vibrations are not fe lt at
th e surface. A vibration m onitoring analysis conducted by GeoEngineers in 2009 found th a t peak particle
velocities were less than 0.07 inches/second w ith in approxim ately 50 feet o f HDD operations. These
velocities are w ell below th a t which w ould cause any structural impacts and m oreover, th e recorded
vibrations were, in fact, im perceptible to human senses (GeoEngineers, 2009). Primary impacts o f open
trench installation w ith in th e Corps flow age easements or Connected Action w ould be lim ited to
construction activities and consist o f te m porary alteration due to grading and trenching operations.

Construction o f the pipeline at the Lake Oahe crossing w ould not result in adverse impacts on topography
or geology on federal lands o f th e Project Area. Similarly, construction impacts on topography and
geology fro m th e Connected Actions w ould be low to non-existent. No unique geologic features would
be impacted by any aspect o f th e HDD installation.

No impacts on topography or geology w ould occur during operations.

Based on recently obtained geotechnical analysis, no blasting w ould be expected to occur in association
w ith pipeline installation on th e Project Area or Connected Actions, given th a t th e HDD w ould be
conducted in unconsolidated or loosely indurated sediments, as described in Section 3.1.1.1. Although
not anticipated, if blasting is found to be necessary, Dakota Access w ould fo llo w procedures specified in
its Blasting Plan (Appendix E).




                                                                                                              24




                                                                                               USAGE DAPL0071248
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 152 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.1.2   Mineral Resources

                 3.1.2.1    Affected Environment

W illiam s and McKenzie counties have numerous mineral resources th a t include petroleum , lignite, halite,
sand and gravel, and scoria. Scoria, sediments baked from the in situ com bustion o f lignite (Carlson, 1985),
is com m only used to surface roads. Although lignite occurs througho ut W illiam s and McKenzie Counties,
th ere are no lignite beds in th e vicinity o f the Corps flowage easement crossings (M urphy, 2006; 2007). A
review o f aerial photographic and USGS 1:24K topographic coverage indicates th a t there are no sand,
gravel, or scoria pits w ith in 1.5 miles o f the Corps flow age easement crossing areas.

Two oil/gas wells are located w ith in the Corps flowage easements (LL3440E), but neither occur w ith in 150
fe e t of th e proposed HDD workspace. In addition, no oil/gas wells are located w ith in 150 fe e t o f the
Connected Action at th e Missouri River (North Dakota Departm ent of M ineral Resources, 2015). Impacts
w ith in 150 fe et o f th e Project was used follow ing the Federal Energy Regulatory Commission (FERC)
guidelines fo r th e evaluation o f construction impacts to well integrity. Although the Project is not under
th e jurisdiction o f the FERC, FERC guidance was deemed to be an appropriate distance fo r this evaluation.

The prim ary mineral resources o f M orton and Emmons counties are sand and gravel aggregates. The
older Cretaceous sediments in th e vicinity o f the Lake Oahe crossing (i.e., scoria) do not contain
economical deposits o f fossil fuels. Although lignite occurs in M orton County, no lignite beds were
identified in th e vicinity o f the Lake Oahe crossing. A review o f aerial photographic and USGS 1:24K
topographic coverage indicates th a t th ere are no sand, gravel, or scoria pits w ith in 1.5 miles o f the Lake
Oahe crossing.

Since M orto n and Emmons Counties are located outside th e areal extent o f the Bakken Formation, there
is little to no developm ent o f oil/gas resources. This is reflected in the fact th a t no oil/gas wells were
located w ith in 150 fe e t o f the federal lands or HDD workspace and stringing area. However, th e proposed
pipeline w ould be co-located w ith an existing buried natural gas pipeline and an overhead electric
transm ission line across the lake.

                 3.1.2.2    Impacts and Mitigation

As noted previously, mineral resources, including lignite, halite, sand and gravel, and scoria occur w ith in
th e region around the Corps flow age easements and Connected Action; however, th e only com m ercially
exploited mineral resources in th e direct vicinity o f the route are oil and gas, as evidenced by th e tw o
wells found w ith in th e Corps flow age easements. These wells w ould not be impacted by the Proposed
Action due to proposed conventional construction methods and distance from th e wells. No impacts on
any m ineral resources are expected as a result o f the proposed flowage easement crossings or Connected
Action.

The Proposed Action does not cross active mining areas nor any oil or gas wells and facilities in the vicinity
o f Lake Oahe. No impacts to any m ineral resources are expected as a result o f the proposed Lake Oahe
crossing.




                                                                                                             25




                                                                                              USAGE DAPL0071249
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 153 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Dakota Access, in accordance w ith North Dakota One Call, w ould require th a t th e construction contractor,
prio r to initiating any ground disturbance activities, identify all underground utilities to m inim ize the
potential fo r encountering buried u tility structures. Accordingly, the Proposed Action is not expected to
have any im pact on mineral resources, because there w ould be no additional surface disturbance required
beyond th a t used fo r construction.

3.1.3   Geologic Hazards

                  3.1.3.1   Affected Environment

Earthquakes and Seismic Hazards

The Project Area, traverses terrain th a t overall is geologically stable. The potential seismic hazard was
assessed by evaluating th e USGS 2014 Seismic Hazard Map. According to the Seismic Hazard Map, an
earthquake th a t has a 2% chance o f being exceeded in a 50-year period w ould result in peak ground
accelerations (PGAs) o f 2 to 4 percent gravity (g) in th e Project Area and Connected Actions (USGS, 2014a).

Ground m ovem ent from an earthquake o f this magnitude may cause a light perceived shaking but is not
expected to cause any structural damage. The low seismic hazard o f th e Project Area is fu rth e r
corroborated by the relatively low num ber o f earthquakes th a t have historically occurred in North Dakota
(N orth Dakota GIS Hub Data Portal, 2010).

Landslides

Landslides refer to the gravity-induced dow nw ard and outw ard m ovem ent o f slope-form ing materials and
pose the greatest risk to facilities on or near steep slopes or on soil materials th a t are susceptible to failure
particularly in response to earthquakes or heavy precipitation. A map developed by the USGS th a t
illustrates the regional potential fo r the occurrence o f landslides was used to evaluate th e Project Area
fo r landslide incidence and susceptibility (Radbruch et al., 1982).

Portions of th e Project Area w ith in th e Corps flow age easements are m oderately susceptible to landslides.
This includes 59.2 acres (100%) o f construction workspace, o f which 17.0 acres lies w ith in the 50-foot-
w ide perm anent easement, and 0.55 acre occurs w ith in th e 30-foot-w ide m aintained corridor above the
HDD profile w ith in th e Corps flow age easement (which w ould not have surface disturbance aside from
selective tree cutting and roots w ould remain in place). The HDD entry point on the south side o f the
M issouri River outside o f the flow age easements is considered th e Connected Action. The HDD entry
workspace is approxim ately 2.0 acres and is also m oderately susceptible to landslides.

As designed, th e Proposed Action does not require any surface impacts to the federally owned lands at
Lake Oahe, although , 0.4 acre of the perm anent easement through th e federal property on the west side
o f th e Lake Oahe (M orton County) is classified as having a high incidence o f landslides. Slopes greater
than 25% in the Project Area w ith in federal lands are not found on the east side o f Lake Oahe (Emmons
County) and comprise less than 0.02 acre on the west side. Activities related to the HDD crossing outside
o f the federal lands at th e Lake Oahe crossing are considered Connected Actions. On the west side o f
Lake Oahe, 1.2 acres o f the HDD workspace (exit point) and 13.1 acres of the pipe stringing area are
designated as having a high incidence fo r landslides. Additionally, the stringing area encompasses



                                                                                                                26




                                                                                                 USAGE DAPL0071250
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 154 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




approxim ately 1.8 acres o f land th a t is classified as highly susceptible to landslides. Approxim ately 0.9
acre w ith in th e stringing area has slopes exceeding 25%. Approxim ately 1.2 acres o f th e HDD entry point
workspace on th e east side o f Lake Oahe is designated as having a high incidence o f landslides, but there
are no slopes w ith in either th e east or west HDD workspace th a t exceed 25%.

Karst and Subsidence

Geologic terrane beneath the flow age easements as well as th e Connected Actions has potential fo r karst
developm ent owing to the presence o f evaporite deposits, consisting o f gypsum, salt, anhydrite, and/or
potash (W eary and Doctor, 2014). These deposits range in age from Devonian to Jurassic and occur at
depths ranging from 900 to 3,700 meters (3,000 to 12,000 feet). Fresh w ater must be present fo r the
necessary dissolution to o c c u rfo r karst developm ent. However, since fresh w ater is not likely to be found
at these depths, dissolution and karst developm ent are not likely to occur (Ackerman, 1980). Even if karst
conditions were to develop, any physiographic expression at the ground surface w ould be negligible given
th e great depth o f these form ations.

Geologic terrane beneath the federal lands crossings as well as the HDD workspaces at Lake Oahe area
may have potential fo r karst developm ent due to deposits o f gypsum and o ther evaporates (Weary and
Doctor, 2014). However, a review o f topographic and aerial photographic coverages as well as
geotechnical testing gave no indication o f karst feature development, and no docum entation was found
to indicate th a t karst features have actually developed in this area. Furtherm ore, an existing buried
pipeline and overhead electric transm ission line also cross in this location, and no inform ation was found
indicating those utilities have been impacted by karst.

Land subsidence may be caused by mining, underlying karst features, and extraction of fluids, such as oil
or groundw ater. No surface subsidence effects are expected to be incurred in th e Project Area since no
mines, oil/gas wells, w a te r wells, or karst developm ent have been identified in the Project Area.
M oreover, despite the fact th a t oil and gas production has occurred fo r decades in the W illiston Basin, no
surface subsidence effects have been docum ented in th a t area and, therefore, are not expected to impact
th e Project Areas w ith in or near th e margin o f the W illiston Basin.

                 3.1.3.2    Impacts and Mitigation

Although landslides can represent a significant geologic hazard during construction and operation of the
pipeline, th e pipeline w ould be installed via th e HDD to significantly reduce ground disturbing activities in
areas w ith steep slopes (greater than 25%), effectively m itigating th e risk.

As previously discussed, no ground disturbing activities w ould occur w ith in the Project Area on the federal
lands. Ground disturbing activities associated w ith the HDD workspace and pipe stringing area w ould be
required as part o f the Connected Action; however, these activities w ould consist o f clearing and grading
only and w ould occur, at the closest distance, 1,040 fe e t from th e bank o f Lake Oahe. As such, no
trenching or excavation activities w ould occur w ith in the Project Area or Connected Action o f the federal
lands, the re b y reducing th e potential fo r erosion and off-site sedim entation which could otherw ise occur
as a result o f side-slope trench excavation m ethods and accum ulation of w a te r w ith in th e trench.




                                                                                                             27




                                                                                              USAGE DAPL0071251
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 155 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




To fu rth e r m itigate impacts during construction, Dakota Access w ould utilize erosion and sedim ent control
devices in accordance w ith th e ECP and SWPPP, and in compliance w ith th e National Pollutant Discharge
Elim ination System (NPDES) program, during construction in these areas w ith slopes greater than 25%.
Dakota Access w ould install sedim ent barriers (e.g., silt fence) at the base of slopes and along the sides o f
slopes, as necessary, to prevent potential siltation downslope o f th e construction area from entering
waterbodies.

Tem porary ECDs w ould be m aintained until th e areas disturbed by construction have been successfully
revegetated or are replaced w ith perm anent ECDs. Following the com pletion o f construction activities,
disturbed areas w ould be restored and graded to pre-construction contours as closely as practical. In
order to m inim ize th e potential fo r fu tu re slip or landslide events during operation o f the Proposed Action,
Dakota Access may install perm anent ECDs in addition to perform ing regular restoration and revegetation
activities. Permanent ECDs w ould be installed in accordance w ith revegetation measures outlined in the
ECP, SWPPP, and specific landow ner requests. The effectiveness o f revegetation and perm anent ECDs
w ould be m onitored by Dakota Access' operating personnel during the long-term operation and
maintenance o f the Proposed Action facilities. Therefore, construction and operation of th e Proposed
Action facilities on th e Project Area and Connected Action of th e federal lands w ould not be expected to
increase th e potential fo r significant landslide or slip events or result in adverse impacts on aquatic life
resources w ith in Lake Oahe.

Dakota Access has com pleted a geotechnical analysis of the flowage easement and federal land crossing
sites to facilitate engineering and design, including selection o f appropriate materials and construction
m ethods to lim it any environm ental impacts a ttributable to landslides. Results o f the geotechnical
analysis are included in Appendix D.

The strength and d u ctility o f a properly designed pipeline w ould allow it to span a considerable distance
w ith o u t com prom ising its integrity in th e event o f a landslide or other ground m ovem ent, such as
subsidence. Arc-welded steel pipelines are the most resistant type o f piping, vulnerable only to very large
and abrupt ground displacem ent (e.g., earthquakes, severe landslides) and are generally highly resistant
to m oderate am ounts o f perm anent deform ation. This strength and du ctility effectively mitigates the
effects o f fa u lt m ovem ent, landslides, and subsidence. Therefore, by im plem enting th e m itigation
measures presented here, impacts on th e pipeline from geologic hazards are expected to be minim al.

No impacts associated w ith seismic activity w ith in the Project Area are anticipated. Due to th e lim ited
potential fo r large, seismically induced ground movements, there is m inim al risk o f earthquake-related
impacts on th e pipeline. Therefore, no m itigation beyond designing th e proposed pipeline to currently
accepted industry specifications is necessary.

3.1.4    Paleontology

                  3.1.4.1   Affected Environment

The surficial geology at th e Missouri River crossing is dom inated by Quaternary glacial d rift materials
w ith in th e floodplain overlying th e Bullion Creek and Sentinel Butte Formations. These bedrock
form ations have been known to contain w ide variety of fossils, including fossilized wood and tre e stumps.




                                                                                                                28




                                                                                                 USAGE DAPL0071252
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 156 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




mollusks, leaves, and insects (Hoganson and Campbell, 2002). Additionally, vertebrate fossils have been
found, including turtles, crocodile-like champosaurs, and bear-like titanoides.

The surficial geology at th e Lake Oahe crossing is also characterized by Quaternary glacial d rift materials;
however, it is underlain by th e Fox Hills and Pierre Formations. These form ations could contain diverse
fossils, including m arine reptiles (e.g., mosasaurs, plesiosaurs, sea turtles), fish (e.g., sharks and rays),
birds, and invertebrates (Hoganson, 2006).

W hile there is potential fo r th e bedrock form ations underlying the Missouri River and Lake Oahe crossings
to contain fossils, all activities, including HDDs, w ould only penetrate th e surficial geology th a t is
dom inated by unconsolidated sediments, as evidenced in the geotechnical report provided in Appendix D.
The potential fo r encountering fossils in these unconsolidated sediments at th e Missouri River and Lake
Oahe crossings is low, as fossils are prim arily found in sedim entary rock.

                 3.1.4.2   Impacts and Mitigation

Activities associated w ith pipeline construction th a t have the potential to im pact paleontological
resources are clearing, grading, and trenching, as well as site preparation fo r HDD operations. The
paleontological resources o f concern pertaining to construction o f the Proposed Action are vertebrate
fossils th a t may be present in the Paleocene bedrock sediments, and to a lesser degree, in Quaternary
alluvium since this type o f deposit only rarely contains vertebrate fossils.

In th e event paleontological resources are discovered during construction, Dakota Access w ould
im plem ent measures outlined in its Unanticipated Discoveries Plan Cultural Resources, Human Remains,
Paleontological Resources and Contam inated Media (UDP) (Appendix F) to avoid fu rth e r impacts on these
resources.

Invertebrate fossils are considered to be insignificant, and m itigation measures w ould not be required,
should they be encountered. However, if vertebrate fossils are found during pipeline construction, Dakota
Access w ould im m ediately cease construction activities and n otify appropriate agency personnel,
including the North Dakota state paleontologist as well as th e Corps archaeologist. The appropriate
authorities w ould determ ine th e significance o f the find and prescribe the m itigation procedures to be
com pleted prio r to resuming pipeline construction.

O peration o f th e pipeline w ould not disturb paleontological resources.

3.1.5   Soils

                 3.1.5.1   Affected Environment

Dakota Access identified and assessed soil characteristics in th e Project Area and Connected Actions using
th e Soil Survey Geographic Database, which is a digital version of th e original county soil surveys
developed by th e Natural Resources Conservation Service (NRCS) fo r use w ith GIS (NRCS, 2015). The
areas are located w ith in the Rolling Soft Shale Plain of North Dakota, South Dakota, and Montana. The
dom inant soil orders in the Rolling Soft Shale Plain are Mollisols and Entisols, which are shallow to very
deep, generally som ew hat excessively drained and loamy or clayey (NRCS, 2006).



                                                                                                           29




                                                                                             USAGE DAPL0071253
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 157 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The flowage easements and Connected Action are w ith in Zone A o f the Missouri River floodplain. Soils
w ith in the Project Area are form ed o u t o f alluvium deposited by th e river over tim e. Slopes througho ut
this Project Area are very fla t, ranging from 0-2%. Approxim ately 94% o f th e flow age easement Project
Area and Connected Action w ould be located w ith in either Scorio silty clay or Lohler silty clay (Table 3-1,
Figure 4). The Scorio and Lohler silty clay soils are m oderately well drained and form ed in clayey alluvium.
In th e case o f the Scorio silty clay, the clay alluvium is deposited over a loam alluvium. The Scorio and
Lohler soils are identified as Hydrologic Soil Group C, which have slow infiltra tio n rates when thoroughly
w e t and a slow rate o f w a te r transmission. The average depth to th e w ater table across the m ajority of
this Project Area is 4.25 feet. The soils w ith in th e flowage easements experience occasional flooding but
are not generally ponded. Soil boring data is provided in (Appendix D).


                                             Table 3-1
           Soil Types Mapped on the Flowage Easements Project Area and Connected Action
                                                                                 Hydrologic
                                                    Project                                                   Wind
Soil Map                                                        Farmland          Group ^       Hydric
                 Soil Map Unit Name                  Area                                                   Erodibility
  Unit                                                           Rating         (infiltration   Rating^
                                                   (acres) ^                                                 G roup"
                                                                                      )
           Mckeen loam, 0-1% slopes,
 E4039A                                              0.1           None              B/D           96%           4L
           frequently flooded
           Trembles fine sandy loam, slightly                  Farmland of
 E4051A    wet, 0-1% slopes, occasionally            0.5        Statewide             A            0%            3
           flooded                                             Importance
           Lohler silty clay, saline, 0-1%
 E4103A                                              0.9           None               C            0%            4
           slopes, occasionally flooded
                                                               Farmland of
           Lohler silty clay, slightly wet, 0-2%
 E4106A                                              27.8       Statewide             C            5%            4
           slopes, occasionally flooded
                                                               Importance
                                                               Farmland of
           Scorio silty clay, slightly wet, 0-2%
 E4159A                                              29.9       Statewide             C            0%            4
           slopes, occasionally flooded
                                                               Importance
           Arikara-Shambo-Cabba loams,
 E2725F                                              2.0           None               B            0%            6
           9-70% slopes
   EW      Water                                     0.3           None              N/A           N/A          N/A
                                         Total      61.5                                  -
^ The Project Area includes the construction workspace (58.0 acres) and 30-foot maintenance easement (1.0
  acre) located on the flowage easements as well as the Connected Action workspace (2.0 acres).
^ Hydrologic Soil Groups are used to estimate runoff from precipitation: A = high infiltration rate, low runoff
  potential; B = moderate infiltration rate; C = slow infiltration rate; D = very slow infiltration rate, high runoff
  potential.
^ Hydric Rating: Hydric (100%), Hydric (66-99%), Hydric (33-65%), Hydric (1-32%), Not Hydric (0%).
  Wind erodibility group in cultivated areas: Group 1 are the most susceptible to wind erosion, and those
  assigned to group 8 are the least susceptible. 4L indicates calcareous soils.




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                                                                                                      USAGE DAPL0071254
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 158 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The predom inant soil type at th e federal lands at Lake Oahe is the Flasher-Vebar-Parshall complex. This
complex w ould comprise 7.5 acres (34%) o f th e Project Area and Connected Action (Table 3-2, Figure 5).
The Flasher-Vebar-Parshall complex contains 36% Flasher or sim ilar soils, 22% Vebar or sim ilar soils, 15%
Parshall or sim ilar soils, and 27% m inor components. The Flasher-Vebar-Parshall complex is form ed from
sandy residuum weathered from sandstone and is steep w ith in th e Project Area and Connected Action,
w ith slopes ranging fro m 9 to 35% (NRCS, 2015). The Flasher-Vebar-Parshall complex is Flydrologic Soil
Group D, which has very slow in filtra tio n (high ru n o ff potential) when thoroughly w et. The depth to the
w a te r table is greater than 6.5 feet. A m ajority o f th e soils w ith in th e Project Area and Connected Action
are neither freq ue n tly flooded nor fre q uently ponded.


                                             Table 3-2
              Soil Types Mapped on the Federal Lands Project Area and Connected Action
                                                                             Hydrologic                 Wind
Soil Map                                       Project Area   Farmland                       Hydric
                Soil Map Unit Name                                             Group ^                Erodibility
  Unit                                           (acres) ^     Rating                        Rating ^
                                                                            (infiltration)             Group "
                                                              Farmland of
            Grail-Belfield clay loams, 2-6%
  E0623B                                           2.9         Statewide          c            0%           6
            slopes
                                                              Importance
            Dogtooth-Janesburg-Cabba
  E0701F                                           0.8           None             D            3%           6
            complex, 6-35% slopes
            Flasher-Vebar-Parshall
  E1423F                                           5.8           None             D            0%           2
            complex, 9-35% slopes
                                                              Farmland of
            Parshall fine sandy loam, 0-2%
  E1823A                                           0.7         Statewide          A            0%           3
            slopes
                                                              Importance
            Amor-Cabba loams, 6-9%
  E2601C                                           0.3           None             C            0%           6
            slopes
                                                              Farmland of
            Amor-Shambo loams, 3-6%
  E2803B                                           2.0         Statewide          C            0%           6
            slopes
                                                              Importance
                                                              Farmland of
            Linton-Mandan silt loams, 2-6%
  E3802B                                           2.6         Statewide          B            0%           5
            slopes
                                                              Importance
            Grassna silt loam, loess, 1-2%                      Prime
  E3813A                                           1.7                            B            2%           6
            slopes                                             Farmland
            Grassna silt loam, loess, 2-6%                      Prime
  E3813B                                           0.5                            B            2%           6
            slopes                                             Farmland
            Korchea-Fluvaquents complex,
  E4139A    channeled, 0-2% slopes,                0.4           None             B           43%          4L
            frequently flooded
   EW
            Water                                  6.4           None            N/A           N/A        N/A
 /E49999
                                       Total       24.1                                “




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                                                                                                 USAGE DAPL0071255
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 159 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                                       Table 3-2
               soil lypes iviappea on tne i-eoerai Lanas project Area ana connectei3 Action
                                                                                  Hydrologic                 Wind
Soil Map                                        Project Area       Farmland                       Hydric
                 Soil Map Unit Name                                                 Group ^                Erodibility
  Unit                                            (acres) ^         Rating                        Rating ^
                                                                                 (infiltration)             Group
   The Project Area includes Connected Action areas.
   Hydrologic Soil Groups are used to estimate runoff from precipitation: A = high infiltration rate, low runoff
   potential; B = moderate infiltration rate; C = slow infiltration rate; D = very slow infiltration rate, high runoff
   potential.
   Hydric Rating: Hydric (100%), Hydric (66-99%), Hydric (33-65%), Hydric (1-32%), Not Hydric (0%).
   Wind erodibility group in cultivated areas: Group 1 are the most susceptible to wind erosion, and those
   assigned to group 8 are the least susceptible. 4L indicates calcareous soils.



Prime Farmland

Prime farm land has the best com bination o f physical and chemical characteristics fo r producing food,
feed, forage, fiber, and oilseed crops and is available fo r these uses. Other soils th a t do not m eet the
criteria fo r prim e farm land may be considered farm land of statewide im portance. These soils may
produce high yields o f crops when managed appropriately (NRCS, 2013). Climate is the prim ary lim iting
fa c to r preventing farm land o f statew ide im portance in North Dakota from being considered prime
farm land; therefore, specific managem ent techniques or other soil amendments cannot elevate farm land
o f statew ide im portance to a prim e farm land designation (Sieler, 2015).

W ith in the flow age easements and Connected Action, 95% o f soils are considered farm land o f statewide
im portance, and none o f the soils are considered prim e farm land. Approxim ately 9.5% o f th e soils on the
federal lands, consisting only o f Grassna silt loams, are considered prim e farm land. Additionally, Linton-
Mandan silt loam and Armo-Sambo loam, which comprise 25% o f th e soils on federal lands, are designated
as farm land o f statew ide im portance. The rem aining soils do not have a farm land designation.

                   3.1.5.2    Impacts and Mitigation

Pipeline construction activities such as clearing, grading, trench excavation, and backfilling, as well as the
m ovem ent o f construction equipm ent along the ROW may result in tem porary impacts on soil resources.
Clearing removes protective cover and exposes soil to the effects o f w ind and precipitation, which may
increase th e potential fo r soil erosion and m ovem ent o f sediments into sensitive environm ental areas.
Grading and equipm ent tra ffic may compact soil, reducing porosity and percolation rates, which could
result in increased ru n o ff potential and decreased soil productivity. Trench excavation and backfilling
could lead to a mixing o f topsoil and subsoil and may introduce rocks to the soil surface from deeper soil
horizons.

Dakota Access w ould minimize or avoid these impacts on soils by im plem enting th e m itigation measures
described in the DAPL Project's SPCC, SWPPP, and ECP as well as requirem ents o f applicable state and
federal perm its. These docum ents w ould be included as contract documents and enforced as such
th ro u g h o u t the DAPL Project. As a result, impacts on soils as a result of th e Proposed Action are expected
to be insignificant.



                                                                                                                         32




                                                                                                       USAGE DAPL0071256
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 160 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Tem porary erosion and sedim entation control measures may include installation o f silt fence, straw bales,
slope breakers, trench breakers, erosion control fabric, and mulch.

To minimize potential impacts on soil productivity, topsoil w ould be separated during trench excavation
in agricultural land, and if applicable, o ther areas where soil productivity is an im portant consideration.
Unless otherw ise requested by th e landowner, topsoil in cropland w ould be removed to a maximum depth
o f 12 inches from the trench and spoil storage area and stored separately from the trench spoil. A fte r the
trench is backfilled, topsoil w ould be returned to its approxim ate original location in th e soil horizon.

Compaction o f agricultural soils w ould be minimized by restricting construction activities during periods
o f prolonged rainfall. W here unacceptable levels o f com paction occur in agricultural lands, a chisel plow
or o th e r deep tillage equipm ent w ould be utilized to loosen the soil.

Dakota Access w ould retain environm ental inspectors (Els) to m o n ito r th e contractor's compliance w ith
applicable requirem ents to p rotect soil resources during construction o f th e DAPL Project. The Garrison
Project w ould be notified if th e Els docum ent non-com pliant activities by the contractor(s) on the Project
Area or Connected Action Areas.

Soils w ould be te m p orarily disturbed w ith in HDD workspaces during construction at the Missouri River
and Lake Oahe crossings. Primary impacts a ttributable through open trench installation w ith in the Corps
flow age easements and Connected Action w ould be lim ited to construction activities and consist of
tem porary alteration of the construction ROW due to grading and trenching operations. Tables 3-3 and
3-4 present the soil types th a t w ould be impacted by construction and maintenance activities. By
im plem enting BMPs and recognized construction methods identified in the ECP (Appendix G), impacts to
soils should be lim ited.

Additionally, tem porary workspace used fo r staging HDD operations w ould impact soils, particularly in
association w ith th e HDD entry excavation pit (approxim ately 5 fe e t to 15 fe e t across). The pits w ould
contain th e drilling flu id th a t w ould be circulated through th e borehole during drilling operations and the
cuttings th a t are removed fro m the borehole. All drilling mud and cuttings w ould be disposed at an
approved location on non-federal lands, which may include land farm ing on private property or disposal
at a licensed disposal facility. Drilling fluid pits at th e HDD entry and exit workspaces w ould be backfilled
and th e area returned as closely as practical to pre-construction conditions. Dakota Access would
im plem ent the erosion control measures described in th e SWPPP (Appendix A). The HDD workspace sites
w ould be cleared, graded and m atted as needed to avoid ru ttin g and m inimize compaction.

There w ould be no soil disturbance outside o f the construction workspace. Permanent impacts on soils
w ould be avoided through the im plem entation of BMPs during construction, restoration, and post­
construction revegetation management.        A m ore com plete description of BMPs and recognized
construction m ethods can be found in the ECP (Appendix G).

There w ould be no conversion of prim e farm land soils to non-agricultural use.




                                                                                                              33




                                                                                               USAGE DAPL0071257
      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 161 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                              Table 3-3
              Soil Impacts on the Flowage Easements Project Area and Connected Action
                                                                         Project       Connected
  Soil                                                                    Area           Action         Permanent
  Map                        Map Unit Name                             Temporary       Temporary         Impacts
  Unit                                                                   Impacts        Impacts           (acres)
                                                                          (acres)        (acres)
 E4039A    McKeen loam, 0-1% slopes, frequently flooded                    0.1              0               0
           Trembles fine sandy loam, slightly wet, 0-1% slopes,
 E4051A                                                                    0.5              0               0
           occasionally flooded
           Lohler silty clay, saline, 0-1% slopes, occasionally
 E4103A                                                                    0.9              0               0
           flooded
           Lohler silty clay, slightly wet, 0-2% slopes,
 E4106A                                                                    27.8             0               0
           occasionally flooded
           Scorio silty clay, slightly wet, 0-2% slopes,
 E4159A                                                                    29.9             0               0
           occasionally flooded
 E2725F    Arikara-Shambo-Cabba loams, 9-70% slopes                         0              2.0              0
                                                             Total         59.3            2.0              0



                                                 Table 3-4
                   Soil Impacts on the Federal Lands Project Area and Connected Action
                                                                      Project Area     Connected Action     Total
Soil Map
                             M ap Unit Name                           Temporary          Temporary         Impact
  Unit
                                                                     Impacts (acres)    Impacts (acres)    Acres^
  E0623B   Grail-Belfield clay loams, 2-6% slopes                          0                     2.9            2.9
  E0701F   Dogtooth-Janesburg-Cabba complex, 6-35% slopes                  0                     0.8            0.8
  E1423F   Flasher-Vebar-Parshall complex, 9-35% slopes                    0.4                   5.4            5.8
  E1823A   Parshall fine sandy loam, 0-2% slopes                           0                     0.7            0.7
  E2601C   Amor-Cabba loams, 6-9% slopes                                   0                     0.3            0.3
  E2803B   Amor-Shambo loams, 3-6% slopes                                  0                     2.0            2.0
  E3802B   Linton-Mandan silt loams, 2-6% slopes                           0                     2.6            2.6
  E3813A   Grassna silt loam, loess, 1-2% slopes                           0.7                   1.0            1.7
  E3813B   Grassna silt loam, loess, 2-6% slopes                           0                     0.5            0.5
           Korchea-Fluvaquents complex, channeled,0-2%
  E4139A                                                                   0                     0.4            0.4
           slopes, frequently flooded
   EW      Water                                                           0.1                   0              0.1
                                                            Total          1.2                  16.6            17.8
  All soil impacts on Federal Lands and Connected Action at Lake Oahe are considered to be temporary.




                                                                                                                       34




                                                                                                       USAGE DAPL0071258
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 162 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.2     W ater Resources

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on w ate r resources w ould occur. However, if th e objectives of th e DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on w ater resources, which w ould likely be sim ilar to or greater than the DAPL Project.
Less reliable shipping m ethods such as truck or rail could result in an adverse effect on w a te r resources
due to increases in transportation accidents and fu tu re construction of infrastructure necessary to
support these m ethods (i.e. additional loading/offloading facilities, rail spurs, etc.).

3.2.1   Surface Waters

                 3.2.1.1   Affected Environment

The Missouri River is a large perennial river and form s the border between W illiam s and McKenzie
counties. The flow age easements are located on th e north side of Lake Sakakawea in the Lake Sakakawea
sub-basin (HUC 11010101) w ith in the Upper Missouri River Basin. All drainage patterns from th e flowage
easements flo w east and south tow ards and into the Missouri River/Lake Sakakawea ending at the
Garrison Dam. Once released fro m th e dam, w a te r flow s south into th e Missouri River (NRCS, 2008).

Lake Oahe is a large reservoir form ed behind th e Oahe Dam on the Missouri River. Lake Oahe form s the
border between M orton and Emmons counties. The northern boundary o f the Standing Rock Sioux
Reservation is located in Sioux County, North Dakota approxim ately 0.55 m ile south o f th e DAPL Project
Area. The Project Area is located in th e Upper Lake Oahe W atershed (HUC 10130102) w ith in th e Missouri
River Basin and adjoins both sides o f Lake Oahe at th e crossing.

The Oahe Dam/Lake Oahe project is part o f the chain o f Missouri River main stem lakes authorized in the
Flood Control Act o f 1944. The Oahe Dam is located 6 miles north o f Pierre, South Dakota and was placed
into operation in 1962. The dam and associated reservoir (Lake Oahe) are congressionally authorized to
provide flood control, hydroelectric power, navigation, irrigation, fish and w ild life enhancement,
municipal w a te r supply, w a te r quality, and recreational opportunities to th e residents o f both South
Dakota and N orth Dakota. At maximum normal operating pool level (1,617 fe e t MSL), Lake Oahe extends
roughly 231 miles from th e Oahe Dam in South Dakota to near Bismarck, North Dakota. A t this level, the
lake covers approxim ately 360,000 acres. A t elevation 1,607.5 feet MSL base flood control elevation, the
lake has over 2,250 miles o f shoreline.

Lake Oahe can be divided into three segments based on the character of the lake. The Project Area is
located w ith in the northern segment. The northern segment extends north from th e North Dakota/South
Dakota state line to th e upstream Oahe Dam/Lake Oahe project boundary near Bismarck, North Dakota.
This segment is m ore river-like in appearance and is characterized by both submerged and em ergent
snags, sandbars, many shallow areas, and a definite current (USACE, 2010a).

Dakota Access conducted field and desktop delineations of th e Project Area/Connected Action on the
flow age easements and the Project Area/Connected Action o f the federal lands. Field surveys to o k place
upon permission to access the properties in order to verify desktop delineations and ensure th a t the most
accurate, up-to-date data is used fo r Section 404 o f the CWA a n d/or Section 10 o f the RHA perm it filings.



                                                                                                            35




                                                                                             USACE DAPL0071259
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 163 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




There are fo u r w aterbodies (one perennial stream and three ephemeral ditches) w ith in the Project Area
on the flow age easements and one in te rm itte n t w aterbody w ith in the Connected Action (Figure 6). The
Project Area and Connected Action o f the federal lands encompass tw o waterbodies (one lake [Lake Oahe]
and one ephemeral stream) (Figure 7). W aterbody ID, type, surface w ater classification, and approxim ate
m ilepost (MP) are summarized in Table 3-5 and Table 3-6.

                  3.2.1.2    Impacts and Mitigation

Direct and indirect impacts on Lake Oahe and th e Missouri River w ould be minimized by using HDD
construction m ethods to install the proposed pipeline underneath the Missouri River and Lake Oahe. At
th e Missouri River crossing, a 24-inch pipeline w ould be installed at least 36 fe e t below th e bottom o f the
M issouri River. At Lake Oahe, a 30-inch pipeline w ould be installed approxim ately 140 to 210 fe e t below
th e ground surface o f federal lands and approxim ately 92 fe e t below the bottom of Lake Oahe (Appendix
H). A dditional docum entation elaborating on the rationale used to determ ine suitable HDD depth is
provided in Appendix D. Appendix M includes th e Sovereign Lands Permits issued by th e North Dakota
Office o f th e State Engineer.

The prim ary im pact th a t could occur as a result o f an HDD is an inadvertent release o f drilling fluid directly
or indirectly into th e w aterbody. Drilling fluid (also referred to as drilling mud) is prim arily comprised of
w ater. However, bentonite clay is added to the w ater to enhance lubricating, spoil transport and caking
properties o f the drilling fluid. Bentonite is a naturally occurring, non-toxic, inert substance th a t meets
National Science Foundation (NSF)/American National Standards Institute (ANSI) Standard 60 Drinking
W ater Additives Standards and is fre qu e ntly used fo r drilling potable w ater wells. The potential exists fo r
drilling flu id to leak through previously unidentified fractures in the material underlying the river bed.
Potential release sources of th e drilling fluid include the drilling fluid e n try/e xit pit(s) and the directional
borehole itself, which is m aintained under pressure to keep it open. The probability o f an inadvertent
release is greatest when the drill b it is w orking near the surface (i.e., near th e entry and exit points). To
alleviate this concern, the HDD Contractor plans to install steel surface casing at both the entry and exit
locations o f th e Lake Oahe crossing. Because the HDD entry and exit points w ould be set back from the
banks o f the Missouri River (approxim ately 1,400 fe e t north and 300 feet south) and Lake Oahe
(approxim ately 900 fe e t east and 1,100 feet west) the potential fo r an inadvertent release to occur in the
w a te r w ould be minimized. Additionally, geotechnical investigations conducted by Dakota Access
indicated th a t the drill path is not located in materials where there is a high probability o f an inadvertent
release o f drilling fluids th a t w ould reach ground surface or enter Lake Oahe. Therefore, th e potential fo r
inadvertently released drilling fluids to enter any w aterbody from below or from the shoreline is low. No
downstream impacts to Sovereign Nations from inadvertent release of drilling fluid are anticipated.

The drilling mud and cuttings w ould be disposed of in accordance w ith applicable laws and regulations,
likely in an existing landfill or by land farm ing. Final disposition w ould be negotiated w ith th e facility or
private landow ner prior to disposal. Dakota Access w ould conduct all HDD w ork according to the HDD
Construction Plan (Appendix B), and w ould im plem ent the HDD Contingency Plan (Appendix B) in the
event o f an inadvertent release. The HDD Construction Plan establishes a 24-hour a day m onitoring
program fo r m onitoring and detection o f inadvertent releases, including m onitoring fo r loss of drilling
fluids. The HDD Contingency Plan describes m onitoring and m itigation procedures fo r any inadvertent
release o f drilling mud into the w aterbody or areas adjacent to th e w aterbody and includes procedures
to contain and clean up inadvertent releases.



                                                                                                                 36




                                                                                                  USACE DAPL0071260
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 164 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Dakota Access plans to hydrostatically test the HDD pipeline segments prior to installation at the Lake
Oahe and Missouri River crossings. Hydrostatic testing involves fillin g th e new pipeline segments w ith
w a te r acquired in accordance w ith applicable permits, raising th e internal pressure level, and holding th a t
pressure fo r a specific period o f tim e per U.S. DOT requirem ents.

Dakota Access is requesting permission to w ith d ra w w ater from the Missouri River th a t w ould be required
fo r installation of the HDD and hydrostatic testing o f the pipeline at th e Missouri River crossing.
Approxim ately 470,000 gallons o f w a te r w ould be required fo r activities associated w ith the installation
o f HDD and th e hydrostatic testing o f HDD pipeline segment. Dakota Access intends to subm it an
application to th e North Dakota State W ater Commission, W ater Appropriations Departm ent fo r a
Tem porary W ater Permit. The exact num ber and size o f th e w ithdraw al pumps w ould be determ ined as
a result o f th e lim its imposed by the Tem porary W ater Permit. The w ithdraw al activity w ould com ply w ith
all applicable perm it conditions and regulations, including the specifications on perm itted intake
structures outlined in the Corps' Regional Conditions fo r North Dakota applicable to NWP 12 (U tility Line
Activities) (Corps, 2012). This regional condition requires th a t th e applicant 1) utilize an intake screen
w ith a maximum mesh opening of %-\nch; 2) w ire, Johnson-like screens must have a m aximum distance
between wires o f 1/8-inch; 3) w a ter velocity at th e intake screen shall not exceed Vi-foot per second; 4)
intake structure shall be floating; and 5) at the beginning o f pumping, th e intake shall be placed over w ater
w ith a m inim um depth o f 20 feet.

The Acquisition point w ould coincide w ith th e proposed pipeline crossing o f the Missouri River. An 8"x 8"
Power Associates 2500 Single Stage Pump w ould be set on a barge or flo a t anchored just offshore at the
proposed perm anent easement. The barge/float w ould be approxim ately 12 fe e t wide by 14 feet long
and fitte d w ith a secondary containm ent structure (an Eagle 4Drum Flexible Containm ent SpillNest-T8103
or similar). The pump, capable o f w ithdraw ing 2,400 gallons per m inute w ithdraw al and 120 fe e t of head
pressure, w ould be placed w ith in th e secondary containm ent on the barge/float.

The pum p's flexible intake hose w ould be 8 inches in diam eter and connect the screened intake to the
pump. The screened intake (approxim ately th e size of a 55 gallon drum ) w ould be suspended by floats
(approxim ately the size o f a tire ) w ith in th e w ater colum n and w ould be screened to prevent im pingem ent
entrainm en t o f foreign objects and aquatic life. A hard 8-inch diam eter take-w ay pipe extending from the
pum p w ould push the w ater to the to p of bank then to th e HDD equipm ent or pipeline section. This
tem porary w aterline w ould be laid by hand on to p o f the ground surface w ith in the perm anent ROW, and
thus w ould not require any ground disturbance or trench excavation. The w aterline, barge, pump, and
associated equipm ent w ould be removed follow ing com pletion o f construction activities. A depiction o f
th e layout o f the barge, pump, and w aterline is provided in Figure 6-B.

W ater needed fo r HDD construction and hydrostatic testing at th e Lake Oahe Crossing in Emmons and
M o rton counties. North Dakota w ould not be obtained from Lake Oahe. Required w ater w ould instead
be obtained fro m an alternate surface w ater, groundw ater, or commercial source and transported to the
Project Area via w a ter trucks. W ater trucks w ould not be required to cross Corps Fee Lands. Prior to
construction, Dakota Access w ould identify a w ater source fo r construction activities at th e Lake Oahe
crossing in accordance w ith all applicable perm its and regulations.

W ater discharges associated w ith hydrostatic testing on Corps flowage easements w ould be conducted in
accordance w ith applicable perm its. Hydrostatic test w ater discharges w ould not occur on Corps fee



                                                                                                               37




                                                                                                USACE DAPL0071261
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 165 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




property. Dakota Access w ould conduct trench dewatering and hydrostatic test discharges in a manner
consistent w ith the N orth Dakota Pollutant Discharge Elimination System (NDPDES) General Permit NDG-
070000. Discharged hydrostatic test w a ter w ould not contain additives unless w ritte n approval is received
fro m Dakota Access and applicable perm its authorize such additives. Els w ould m o n ito r perm it
compliance. W here appropriate, w ater w ould be discharged into an energy dissipation an d /o r filtering
device, as described in Dakota Access' SWPPP (Appendix A) to remove sedim ent and to reduce the erosive
energy of th e discharge.

Of the five w aterbodies located w ith in th e flowage easements Project Area and Connected Action, one
ephemeral ditch (d-k8-wi-011) is located w ith in the portion of th e Project Area th a t w ould be crossed via
th e Missouri River HDD; therefore, no trenching w ould occur w ith in this feature. However, a tem porary
w aterline w ould be installed across this feature to transport surface w a te r from the Missouri River to the
HDD equipm ent. The tem porary w aterline w ould be laid on to p of the ground surface, and no grading or
ground disturbance in the vicinity o f th e w aterbody crossed by the w aterline w ould be required. The hard
pipe segments w ould be hand-carried down the slope and assembled by hand. No tracked or wheeled
equipm ent w ould be necessary fo r construction or removal of th e tem porary aboveground w aterline.
Four waterbodies w ould be te m p orarily impacted by pipeline construction. However, impacts on
w aterbodies w ould be minim ized by conducting pipeline construction activities in accordance w ith
applicable regulatory requirem ents and im plem enting trenchless w aterbody construction procedures, as
described in sections 2.3.2.6 and 2 3.2.1 and th e ECP.

No w aterbody w ould be perm anently drained or filled as part o f th e DAPL Project, and effects on
w aterbodies are expected to be short-term and m inor. Dakota Access w ould restore the area as close to
its previous state and naturally functioning condition as practicable. Additionally, Dakota Access w ould
take measures described in Dakota Access' SPCC, SWPPP (Appendix A), and ECP (Appendix G) to minimize
th e potential fo r surface w ate r contam ination from an inadvertent spill o f fuel or hazardous liquids during
refueling or maintenance o f construction equipm ent or during operation of aboveground facilities. Fuel
and all o the r hazardous materials w ould be stored in accordance w ith th e requirem ents o f Dakota Access'
SPCC, SWPPP, and ECP. These docum ents also describe response, containm ent, and cleanup measures.

Drinking w a te r intakes located downstream from th e Missouri River and Lake Oahe crossings could be at
risk if there was a release th a t reached these bodies o f w ater in th e vicinity o f the intake structures. The
Standing Rock Sioux Reservation is located south of th e Lake Oahe Project Area and th e m ajority of
reservation residents depend on wells fo r w ater supply (Standing Rock Sioux Tribe, 2016). However, the
Standing Rock Sioux also have intake structures w ith in the river downstream o f th e Lake Oahe Project
Area.

In order to m aintain th e integ rity o f the pipeline, prevent Project losses, and protect the general public
and th e environm ent, the operator w ill inspect, exercise, and deploy Company-owned protective and
response equipm ent in accordance w ith the National Preparedness fo r Response Exercise Program (PREP)
guidelines. However, in the unlikely event o f a pipeline leak, response measures to protect th e users of
downstream intakes w ill be im plem ented to minim ize risks to w ater supplies. Dakota Access w ould be
responsible party fo r im plem enting the response actions in accordance w ith Geographical Response Plan
(GRP) and the Facility Response Plan (FRP). The potential fo r a spill to compromise a potable w ater supply
intake w ould be continually evaluated as part of the response action. A lternative sources w ould be
included as part o f the contingency planning. Shutting down certain intakes and utilizing others or



                                                                                                               38




                                                                                                USACE DAPL0071262
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 166 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




d iffe re n t drinking w a te r sources or bottled w ater w ill be evaluated as part o f this process. The Federal
On-Scene Incident Commander (USEPA) w ould be responsible fo r assimilating and approving the response
actions under th e Unified Command. Dakota Access maintains financial responsibility fo r th e duration of
th e response actions. The Dakota Access has prepared a FRP th a t includes measures such as notifications
to surrounding com m unities, affected governments, and utilities in th e event o f an inadvertent pipeline
release.

The FRP complies w ith the applicable requirem ents o f the Oil Pollution Act o f 1990 (OPA 90), and has been
prepared in accordance w ith th e National Oil and Flazardous Substances Pollution Contingency Plan (NCP)
and the M id-M issouri Sub-Area Contingency Plan (SACP). Specifically, this Plan is intended to satisfy the
applicable requirem ents of:

    •   Pipeline and Flazardous M aterials Safety A dm inistration, U.S. Departm ent o f Transportation
        requirem ents fo r an OPA 90 plan (49 CFR 194)
    •   South Dakota Environmental Protection Oil Pipeline Plan Requirements (34A-18).
    •   American Petroleum Industry (API) RP 1174 - Recommended Practice fo r Pipeline Emergency
        Preparedness and Response.
    •    N orth Dakota Adm inistrative Code 69-09-03-02

The operator has contractually secured personnel and equipm ent necessary to respond, to th e maximum
extent practicable, to a w orst case discharge or a substantial th re a t o f such discharge. The operator
requires an annual certification from each Oil Spill Response Organization (OSRO) to assure compliance
w ith the National PREP guidelines. Each listed OSRO has its own response equipm ent, including
containm ent booms, absorbents, boats, and vacuum trucks.

Sub-freezing tem peratures during th e w in te r m onths could cause ice to form on the surface o f Lake Oahe
and th e Missouri River. This layer of ice could impede th e deploym ent o f traditional containm ent booms.
Flowever, th e ice itself often serves as a natural barrier to the spread o f oil (Dickens 2011). Pockets o f oil
naturally contained by th e ice can be drilled to and removed using vacuum trucks.             Dakota Access's
contracted professional emergency responders are prepared to respond under w in te r conditions so th a t
response procedures can be carried out in accordance PFIMSA operational regulations. Therefore, a
release during w in te r conditions is anticipated to have lesser impacts to w ater resources, particularly w ith
respect to area o f extent, as compared to a release during the w arm er months.

A copy o f the Draft FRP fo r the Dakota Access Pipeline North Response Zone is included in Appendix L.
Dakota Access anticipates subm itting this plan to PFIMSA fo r review and approval in the th ird quarter of
2016 and w ill provide a copy o f the updated d ra ft to th e Corps concurrent w ith the subm ittal to PFIMSA.
The FRP w ould be in place prio r to operating the DAPL Project in accordance w ith PFIMSA and federal
regulations.




                                                                                                               39




                                                                                                USACE DAPL0071263
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 167 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                             T ib le 3-5
             Waterbodies within the Flowage Easements Project Area and Connected Action
                                                                                ND Surface
                                                                       Class of
          Waterbody      W aterbody                    Delineation                 W ater
 MR                                     Flow Type                     Aquatic                       Area of Impact
              ID            Type                         Source                 Classificatio
                                                                      Resource
                                                                                     n
                                                                                                    Construction and
 92.7     d-k8-wi-013        Ditch       Ephemeral         Field        §404            III
                                                                                                    Permanent ROW
                                                                                                    Construction and
 92.77    s-k8-wi-002      Stream        Perennial         Field        §404            III
                                                                                                    Permanent ROW
                                                                                                    Construction and
 93.23    d-k8-wi-007        Ditch       Ephemeral         Field        §404            III
                                                                                                    Permanent ROW
                                                                                                    Permanent ROW
                                                                                                    over HDD Profile
 94.64    d-k8-wi-011        Ditch       Ephemeral         Field        §404            III
                                                                                                      (Temporary
                                                                                                       Waterline)
          s-mlO-wi-
                                                                                                    Construction and
 94.9    001/s-k2-mk-      Stream        Perennial         Field         §10             1
                                                                                                    Permanent ROW
             001
                                                                                                    Construction and
 95.1     s-k2-mk-002      Stream       Intermittent       Field        §404            III
                                                                                                    Permanent ROW
Surface water classifications from North Dakota Administrative Code 33-16-02.1-09:
Class I Streams: quality of the waters in this class shall be suitable for the propagation or protection, or both, of
  resident fish species and other aquatic biota and for swimming, boating, and other water recreation. The
  quality of the waters shall be suitable for irrigation, stock watering, and wildlife without injurious effects. After
  treatment consisting of coagulation, settling, filtration, and chlorination, or equivalent treatment processes,
  the water quality shall meet the bacteriological, physical, and chemical requirements of the department for
  municipal or domestic use.
Class III Streams: The quality of the waters in this class shall be suitable for agricultural and industrial
  uses. Streams in this class generally have low average flows with prolonged periods of no flow. During periods
  of no flow, they are of limited value for recreation and fish and aquatic biota. The quality of these waters
  must be maintained to protect secondary contact recreation uses (e.g. wading), fish and aquatic biota, and
  wildlife uses.



The only surface w aterbody identified on the federal lands Project Area is Lake Oahe (s-kc4-em-001/s-
kc4-mo-002), which w ould be avoided via HDD. The pipe stringing corridor (Connected Action) at Lake
Oahe crosses tw o drainageways th a t are indicated on th e National Hydrography Dataset.                Field
delineations carried out by Dakota Access identified one ephemeral stream (s-kc-4-mo-004) associated
w ith these tw o drainageways th a t intersect the pipe stringing corridor o f th e Connected Action. Impacts
on the delineated w aterbody w ould be entirely w ith in the pipe stringing additional tem porary workspace
(ATWS) and are expected to be avoided by bridging the waterways fo r equipm ent and vehicle tra ffic
during pipe stringing, fabrication and pullback. No trenching w ould occur w ith in the pipe stringing ATWS.
W hile lim ited grading may be necessary w ith in the pipe stringing ATWS, no grading w ould be expected to
occur w ith in th e w aterbody itself. Vegetation may be m owed/brush-hogged, however, no root masses
are anticipated to be removed. Revegetation o f these areas w ould be in accordance w ith the North




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                                                                                                     USACE DAPL0071264
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 168 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Dakota tree and shrub regulations and w ould not be impacted during operation o f th e Proposed Action.
No trees are expected to be cleared on Corps fee-ow ned lands.

                                                 Table 3-6
                  Waterbodies within the Federal Lands Project Area and Connected Action
                                                                        Class of ND Surface
                        W aterbody           Delineation
   MR     W aterbody ID            Flow Type                           Aquatic     W ater              Area of Impact
                           Type                Source
                                                                       Resource Classification
                                                                                                     Project Area -
        s-kc4-em-001 /      Lake (Lake
  166.3                                       N/A           Field          §10              1        Permanent ROW
         s-kc4-mo-002         Oahe)
                                                                                                     over HDD Profile
                                                                                                     Connected Action -
   166     s-kc4-mo-004       Stream       Ephemeral        Field         §404             III
                                                                                                     HDD Stringing Area
  Surface water classifications from North Dakota Administrative Code 33-16-02.1-09:
  Class I Streams: quality of the waters in this class shall be suitable for the propagation or protection, or both, of
    resident fish species and other aquatic biota and for swimming, boating, and other water recreation. The
    quality of the waters shall be suitable for irrigation, stock watering, and wildlife without injurious effects. After
    treatment consisting of coagulation, settling, filtration, and chlorination, or equivalent treatment processes,
    the water quality shall meet the bacteriological, physical, and chemical requirements of the department for
    municipal or domestic use.
  Class III Streams: The quality of the waters in this class shall be suitable for agricultural and industrial
    uses. Streams in this class generally have low average flows with prolonged periods of no flow. During periods
    of no flow, they are of limited value for recreation and fish and aquatic biota. The quality of these waters must
    be maintained to protect secondary contact recreation uses (e.g. wading), fish and aquatic biota, and wildlife
    uses.



Environmental Inspectors w ould m o n ito r compliance w ith applicable w aterbody protection requirem ents
during construction o f th e facilities. The ECP (Appendix G) and SWPPP (Appendix A) describe additional
m itigation measures and contain illustrations o f how sedim ent control devices are typically installed at
w aterbody crossings. Additionally, Dakota Access w ould m aintain a vegetative buffer until th e actual
crossing o f th e w aterbody takes place. Tem porary sedim ent control measures, such as silt fence installed
at each crossing, w ould m inim ize th e introduction o f sedim ent into waterbodies during construction and
m inim ize the m ovem ent o f spoil and sedim ent from surface ru n o ff during and a fte r construction.
Permanent erosion control measures, such as vegetation and installation o f slope breakers, w ould
effectively stabilize riparian zones. Dakota Access w ould stabilize stream banks disturbed during
construction using m ethods as directed by applicable state a n d/or federal perm its. Trenching and
dew atering activities used in construction o f th e proposed pipeline could tem porarily alter surface
drainage patterns. However, these impacts are expected to be localized and tem porary, since the
contours and vegetation w ould be returned as closely as practical to pre-construction conditions.
Dewatering activities w ould be conducted in accordance w ith applicable perm its and Dakota Access'
SWPPP and ECP.

All construction equipm ent utilized on or in waters o f the state w ould be subject to inspection by the
D epartm ent in accordance w ith the North Dakota Adm inistrative Code (Title 30, Article 3, Chapter 6-01).
Further, Dakota Access w ould im plem ent required measures including th e removal of all aquatic




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                                                                                                     USACE DAPL0071265
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 169 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




vegetation fro m vessels, m otors, trailers, or construction equipm ent. All w ater w ould be drained from
bilges or confined spaces. All Aquatic Nuisance Species w ill be removed from equipm ent in accordance
w ith the North Dakota Adm inistrative Code (Title 30, Article 3, Chapter 6). The contractor or his agents
or subcontractors must provide the North Dakota Game and Fish D epartm ent a reasonable opp o rtu n ity
to inspect any and all vehicles, vessels, pumps and equipm ent th a t w ill be used in th e project in or on the
w aters o f the state p rior to those items being launched or placed in th e w aters of the state.

W ater Intake Mitigation Measures

In th e unlikely event of a release during pipeline operations, drinking and irrigation w ater intakes located
downstream fro m the Missouri River and Lake Oahe crossings could be at risk if hydrocarbons were to
reach these bodies o f w a ter in the vicinity o f th e intake structures. In order to m inim ize th e risk o f a
pipeline leak and p rotect the users o f downstream intakes, Dakota Access w ill im plem ent the design and
operation measures summarized below as well as all other measures described th ro u g h o u t this EA and in
th e FRP.

    •   Pipe specifications th a t m eet or exceed applicable regulations, w ith a quality assurance program
        fo r pipe m anufacturers
    •   Use o f th e highest quality external pipe coatings (fusion bond epoxy or FBE) to reduce the risk of
        corrosion, and stress corrosion cracking.
    •   Active Cathodic Protection applied to th e pipeline and facilities
    •   Four fe e t o f soil cover w ill be provided over th e buried pipeline on either side of th e FIDD
         crossings. The proposed FIDD profiles under th e Missouri River and Lake Oahe are designed to
         provide a m inim um o f 36 fe e t and 92 fe e t o f cover below th e w ater bodies, respectively. .
    •   Pipeline system inspection and testing programs w ill be im plem ented prior to operation to
        ensure the pipeline is b u ilt in accordance w ith the standards and specifications.
    •   Non-destructive testing o f 100 percent o f girth welds
    •    Flydrostatic testing o f the pipeline to 125% percent o f th e Maximum Operating Pressure (MOP).
    •   A continuous SCADA pipeline m onitoring th a t rem otely measures changes in pressure and
         volum e on a continual basis at all valve and pump stations, is im m ediately analyzed to
         determ ine potential product releases anywhere on the pipeline system.
             o   Pipeline variables are the parameters pertaining to SCADA systems, instrum entation,
                 fluid properties, physical attributes o f pipelines, pressure, tem perature, and flo w ra te
             o Includes pressure transm itters to m onitor flow ing pressure in real-tim e and alarm in the
                 event o f adverse pressure changes due to potential leaks / releases
             o Includes custody transfer quality meters to m onitor pipeline Receipts / Deliveries in real­
                 tim e and alarm in the event o f flo w ra te discrepancies due to potential leaks / releases
    •    Leak Detection System - LeakWarn - A Com putational Pipeline M onitoring System (CPM) to
         m o n ito r th e pipeline fo r leaks via com putational algorithm s perform ed on a continual basis.
              o     Includes separate ultrasonic meters at each pump station to continuously verify and
                    com pare flow rates along the pipeline in real-tim e as part o f a leak detection system,
              o This m easurem ent data is im m ediately analyzed to determ ine potential product
                    releases anywhere on the pipeline system,
              o The m athem atical algorithm s are based on physics and abide by the conservation
                    principles o f mass, m om entum and energy.



                                                                                                                42




                                                                                                USACE DAPL0071266
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 170 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




        Periodic pipeline integrity inspection programs using internal inspection tools to detect pipeline
        diam eter anomalies indicating excavation damage, and loss o f wall thickness from corrosion.
        Periodic above-ground Close Interval Surveys (CIS) conducted along th e pipeline.
        Aerial surveillance inspections w ill be conducted 26 tim es per year (not to exceed 3 weeks
        apart) to detect leaks and spills as early as possible, and to identify potential th ird -p a rty
        activities th a t could damage the pipeline.
        M ainline valves are installed along th e pipeline route to reduce or avoid spill effects to PHMSA-
        defined HCAs.
        Periodic landow ner outreach and the im plem entation o f a Public Awareness program
        Participation in "One-Call" and "Before You Dig" notification systems.



Im m ediately upon discovery o f a release o f oil th a t could im pact the Missouri River or Lake Oahe, Dakota
Access w ill initiate emergency response efforts, including containm ent and recovery.

Site-specific GRPs have been developed fo r the Missouri River and Lake Oahe crossings. These security
sensitive documents, subm itted to the USACE as Privileged and Confidential, identify site-specific
resources and response measures fo r an im m ediate, safe, and effective response to a release o f crude oil
fro m the Dakota Access Pipeline w ith the potential to im pact th e Missouri River near these tw o crossings.
Response measures include, but are not lim ited to, th e deploym ent of containm ent or diversionary booms
at predeterm ined locations and oil collection/recovery activities to prevent fu rth e r m igration of crude oil.

Emergency response notifications w ill be made to Federal, State, and Local agencies and tribal officials as
outlined in the FRP. Dakota Access and its contractors w ill w o rk w ith Federal, State, local and Tribal
officials to protect downstream w a ter intakes. To m inimize potential impacts to intakes, protection and
m itigation measures w ill be im plem ented in cooperation w ith intake operators.

Dakota Access w ill identify an all-w eather access and collection point downstream o f both th e Missouri
River crossing and Lake Oahe crossing. A t each location, Dakota Access w ill provide an equipm ent storage
facility th a t includes a perm anent storage area fo r w in te r and open w ater spill response equipm ent.
Dakota Access w ould coordinate w ith the USACE and any o ther applicable stakeholders to obtain all
necessary perm its and approvals prior to construction fo r any ground disturbing activities associated w ith
these facilities.

Dakota Access w ill conduct emergency response drills/exercises at both the Missouri River crossing near
W illiston and th e crossing at Lake Oahe. These exercises w ill include both open w ater and ice response
activities. Regulatory and stakeholder participation w ill be encouraged and solicited fo r th e exercises.
Section 3.2.2.2 Impacts and M itigation Remediation, Section 3.11 Reliability and Safety and the FRP
(Appendix L) contain more detail regarding spill prevention, detection and response measures. The
emergency response drills/exercises are fu rth e r discussed in Section 3.11.




                                                                                                              43




                                                                                               USACE DAPL0071267
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 171 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.2.2   Groundwater

                 3.2.2.1   Affected Environment

G roundw ater occurs w ith in th e Project Area o f th e Corps flow age easements and federal lands in both
glacial d rift and bedrock aquifers. Although bedrock aquifers tend to have a greater distribution and be
m ore continuous than Quaternary aquifers, Quaternary aquifers typically provide higher yields to wells.

G roundw ater in th e bedrock aquifers flow s tow ards th e Missouri River and Lake Qahe, a regional
groundw ater discharge zone. The w ater table w ith in phreatic aquifers, which may include both
Q uaternary and bedrock form ations, is typically a subdued replica o f th e surface topography. Although
groundw ater flo w directions may vary w idely particularly w ith in localized flo w regimes, overall regional
flo w o f groundw ater in the phreatic aquifer w ould be to th e Missouri River and Lake Qahe.

The most econom ically im p orta nt aquifers in the vicinity o f th e Corps flowage easements are the
Cretaceous Dakota Group, the Tertiary Fort Union Group (which includes the Sentinel Butte and
Bullion/Tongue River Formations), and glacial d rift aquifers o f th e Quaternary Period (Armstrong, 1969).
The glacial d rift aquifers are relatively th in at the Project Area, except w here th e y occur in buried or
present-day bedrock valleys. In the absence o f Quaternary aquifers, members o f the Paleocene Fort
Union Group com m only serve as the shallowest aquifer. Individual aquifer members o f th e Fort Union
Group include, in descending order, th e Sentinel Butte, Tongue River, Cannonball, and Ludlow Formations
(Croft, 1985). Q ther bedrock aquifers o f economic im portance in th e flowage easement region are the
late Cretaceous Flell's Creek and Fox Flills A quifer system and th e Cretaceous Dakota Group.

Three dom estic wells and six observation wells (one o f which has been destroyed) are located on the
flow age easements, but occur outside o f th e Project Area. The closest well to the proposed pipeline
centerline is a dom estic well located approxim ately 430 fe e t from the centerline. The flowage easements
or Connected Action do not overlie any source w ater protection areas.

The m ost econom ically im p orta n t aquifers in M orton and Emmons counties, w here th e federal lands along
Lake Qahe are located, include aquifers w ith in the Cretaceous Fox Flills and Flell Creek Formations; the
Tertiary Fort Union Group, which includes the Cannonball and Ludlow Formations, Tongue River
Formation, and Sentinel Butte Formation (northw est part of th e county only); and alluvial and glacial d rift
aquifers o f th e Quaternary Period (Ackerman, 1980; Arm strong, 1978). The Pierre Formation is
considered th e base o f the active near-surface aquifers, because it is thick and relatively impervious.

No w a te r wells are located w ith in 150 fe e t o f the federal lands or Connected Actions at the Lake Qahe
crossing. Impacts w ith in 150 fee t of the Project was used follow ing th e Federal Energy Regulatory
Commission (FERC) guidelines fo r th e evaluation o f construction impacts to w ater wells and springs.
Although the Project is not under the jurisdiction o f th e FERC, FERC guidance was deemed to be an
appropriate distance fo r this evaluation. Additionally, none of the Project Area or Connected Action
overlie any source w a te r protection areas.




                                                                                                           44




                                                                                             USACE DAPL0071268
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 172 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                  3.2.2.2    Impacts and Mitigation

Ground disturbance associated w ith conventional pipeline construction is generally lim ited to
approxim ately 6 to 10 fe et below th e existing ground surface. W here excavation penetrates the w ater
table, potential groundw ater impacts from pipeline construction are prim arily lim ited to the radius of
influence around th e excavation profile.

Construction activities, such as trenching, dewatering, and backfilling th a t encounter shallow aquifers
w ould cause m inor direct and indirect impacts via fluctuations in groundw ater levels an d /o r increased
tu rb id ity w ith in the aquifer adjacent to th e activity due to dewatering activities. Dewatering w ould consist
o f a single or series o f submersible pumps th a t w ould be low ered into the pipe trench to review excess
w a te r to fa cilitate pipe installation. In cases o f greater w ater in filtra tio n , well pointing (a series o f
dew atering points along the outside o f th e trench connected in series to a pump to enable effective
dew atering o f the trench) may be used. These impacts are tem porary (only while th e trench is open) and
highly localized as th e in filtra tio n o f the dewatered groundw ater is in th e im m ediate vicinity o f the
dew atering activity.

Construction and dew atering activities are not expected to have a significant direct or indirect effect on
regional groundw ater flo w patterns. Shallow aquifers w ould quickly reestablish equilibrium if disturbed,
and tu rb id ity levels w ould rapidly subside. Consequently, th e effects of construction w ould be m inor and
short-term . Impacts on deeper aquifers are not anticipated.

The introduction o f contam inants to groundw ater due to accidental spills o f construction-related
chemicals, fuels, or hydraulic fluid could have an adverse effect on groundw ater quality. Spill-related
impacts from construction activities are typically associated w ith im proper fuel storage, equipm ent
refueling, and equipm ent maintenance. Dakota Access' SPCC Plan outlines measures th a t w ould be
im plem ented to avoid, m inimize, prevent, and respond to releases o f fuels and o ther hazardous
substances during construction and includes measures fo r cleanup, docum entation, and reporting o f spills
(Appendix A). Project-specific SPCCs w ould be developed by th e selected contractor and im plem ented
th ro u g h o u t construction. By im plem enting th e protective measures set fo rth in these plans, groundw ater
contam ination due to construction activities is not anticipated. The d ra ft SPCC is included as Appendix B
o f Appendix A (SWPPP); the project-specific plan to be developed by the Contractor w ould m eet or exceed
all conditions presented in the d ra ft plan.

Accidental releases from the pipeline system during operations could potentially affect groundwater.
Although most com ponents o f crude oil are relatively insoluble (Neff and Anderson, 1981), crude oil
released into soil can m igrate tow ard w a ter where certain constituents can dissolve into groundw ater or
surface w ate r in lim ited amounts. As a liquid, th e product w ould travel along the path of least resistance
both laterally and vertically at a rate determ ined by a num ber o f factors including volum e released, soil
conditions (perm eability, porosity, m oisture, etc.), depth to groundw ater, and the speed and effectiveness
o f response and rem ediation measures.

The DAPL Project w ould tran spo rt light sweet crude oil from the m iddle Bakken and upper Three Forks
form ations (Bakken). The Energy Inform ation A dm inistration (EIA) categorizes light sweet crude oil as
having an API gravity between 35° and 50° and less than 0.3 w t % sulfur. API gravity is a measure o f how
heavy or light liquid oil is compared to w ater: if its API gravity is greater than 10, it is lighter and floats on



                                                                                                                 45




                                                                                                  USACE DAPL0071269
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 173 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




w ater. The oil extracted from the Bakken has an API gravity generally between 40° and 43° and a sulfur
content o f less than 0.2 w eight percentage (w t %) (Turner, Mason and Company, 2014). Therefore, the
Bakken oil has properties th a t fall w ith in the m id-range o f light sweet crude.

M ost crude oil constituents are not very soluble in w ater. The dissolved concentration o f w ater soluble
compounds (e.g., benzene) is not controlled by th e am ount o f oil in contact w ith the w ater, but by the
concentration o f the specific constituent in th e oil (Charbeneau et al., 2000; Charbeneau, 2003; Freeze
and Cherry, 1979). Studies o f 69 crude oils found th a t benzene was the only arom atic or polycyclic
arom atic hydrocarbon com pound tested th a t is capable o f exceeding the 0.005 ppm groundw ater
protection threshold values fo r drinking w ater (i.e., maximum contam inant levels (MCLs) or W ater Health
Based Limits) (Kerr et al., 1999 as cited in O'Reilly et al., 2001).

In aquatic environm ents, crude oil's to xicity is a function o f the concentration o f its constituent
compounds and th e ir toxic effects, along w ith th e ir solubility (and bioavailability) in w ater. Based on the
com bination o f toxicity, solubility, and bioavailability, benzene is com m only considered to pose the
greatest to xicity th re a t from crude oil spills (M uller, 1987). The lowest acute to xicity threshold fo r aquatic
organisms fo r benzene is 7.4 ppm based on standardized to xicity tests (USEPA, 2016). .

Accordingly, theoretical concentrations o f benzene in river w ater fo r a range o f potential DAPL Project
spills at th e tw o pipeline river crossings are presented in Table 3-7. An assumption o f a 1-hour release
period fo r th e entire spill volum e at each location was used. The follow ing additional conservative
assumptions w ere developed to estim ate potential spill effects fo r planning purposes:

    •    The entire volum e o f a crude oil spill was released due to a catastrophic failure of the pipeline and
         reached the w aterbody;
    •   Complete, instantaneous mixing occurred;
    •   The entire benzene content o f the crude oil was solubilized into the w ater column; and
    •   The receptor is located at the im m ediate site o f the crude oil spill and there is no loss due to
         evaporation or degradation.


The conservative analysis presented in Table 3-7 includes a range o f values from 4 barrels to 10,000
barrels spilled. However, exam ination o f th e PHMSA dataset from 2002 to 2015 (PHMSA, 2016) indicates
th a t the m ajority o f actual pipeline spills are relatively small and fifty percent o f the spills consist o f 4 bbis
or less. The spill volum e w ould be likely small due to a num ber of factors including:

    •   M ost releases are not caused by fu ll ruptures o f the pipeline;
    •   The overburden on th e HDD section o f th e pipeline or the compacted back-fill over a buried
         pipeline restricts the volum e th a t could be released during a spill and restricts the affected area;
         and
    •    Due to anti-siphoning effects, a fu ll gravity drain-dow n between valve locations on either side of
         th e river crossings rarely occurs.


As indicated in Table 3-7, the acute to xicity threshold fo r aquatic organisms fo r benzene o f 7.4 ppm is not
exceeded under any o f th e hypothetical spill volum e scenarios. The most probable spill volum e (4 barrels



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                                                                                                     USAGE DAPL0071270
            Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 174 of 397
   Environmental Assessment
   Dakota Access Pipeline Project
   July 2016




   or less) does not yield benzene concentrations th a t exceed th e drinking w ater criteria even w ith the ultra
   conservative mixing assumptions. It should be noted th a t under real life conditions, th e spill and mixing
   events outlined by the assumptions are beyond physical actualities. Therefore the use o f the upper ranges
   o f spill volumes and the concentrations in th e table is lim ited and is not recom mended beyond this NEPA
   analysis.


                                               Table 3-7
    Estimated Benzene Concentrations Following a Hypothetical Crude Oil Spill at Project River Crossings
                                                             Estimated Benzene Concentration in Surface W ater
                               Acute
                                                                                    m)_________
   River          River Flow Toxicity       Benzene MCL
                                                                                            M oderate
  Crossing           (cfs)   Threshold         (ppm)         Very Small      Small Spill:                   Large Spill:
                               (ppm)                         Spill: 4 bbl     100 bbl                       10,000 bbl
                                                                                             1,000 bbl

Missouri River     20,374          7.4           0.005         0.00075          0.019           0.19            1.88


 Lake Oahe         22,484          7.4           0.005         0.00068          0.017           0.17            1.70

   Notes:
   - Adapted from Stantec, 2015
   - Estimated concentration is based on release of benzene into water over a 1-hour period with uniform mixing
     conditions.
   - Concentrations are based on a 0.28 percent by volume benzene content of the transported material (Marathon
     Oil 2010).
   - bbl - An oil barrel defined as 42 US gallons,
   - MCL-Maximum contaminant levels
   - ppm - Parts per million
   - cfs - Cubic feet per second
   - Stream flows are measured mean discharge from the gage stations closest to the pipeline crossings located on the
     Missouri River at Williston (USGS Station 06330000) and Bismarck (USGS Station 06342500)(USGS 2016; 2016b).



   Sub-freezing tem peratures during th e w in te r m onths could cause ice to form on the surface o f Lake Oahe
   and the Missouri River. This layer of ice w ill tra p oil released below the lake's surface and prevent benzene
   evaporation from occurring. Therefore, during the w inter, evaporative loss w ill be negligible, and w ill
   allow a longer contact between the crude oil and th e w ater column. Additionally, natural undulations in
   th e b ottom o f the ice w ill tra p th e m aterial and reduce horizontal spreading, potentially causing very
   localized impacts to organisms in prolonged contact w ith the near-surface w ater (e.g., phytoplankton)
   (Dickens 2011). Exposure to fish deeper in th e w ater column w ould not likely experience adverse impacts.
   The natural containm ent o f w in te r releases facilitates cleanup efforts as the pockets o f oil can be drilled
   to and removed using vacuum trucks. Thus, w in te r releases are predicted to have low er impacts,
   particularly w ith respect to area o f extent, as compared to releases occurring during th e w arm er seasons.




                                                                                                                  47




                                                                                                   USAGE DAPL0071271
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 175 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




If no active ground w a ter rem ediation activities w ere undertaken (see discussion below), dispersion,
evaporation, dissolution, sorption, photodegradation, biodegradation, and natural attenuation ultim ately
w ould allow a return to preexisting conditions in both soil and groundwater.

Remediation

As part o f the pipeline operation, which is regulated by the PHMSA, Dakota Access has an ongoing
maintenance, inspection, and integrity testing program to m o n ito r th e safety o f th e pipeline system.
M on itoring activities include constant rem ote oversight o f the entire system 24/7/365 from th e control
center, routine inspection of the cathodic protection system, and th e use o f inspection tools th a t travel
through the inside o f the pipeline to check pipe integrity (see Section 3.11 fo r additional inform ation
regarding reliability and safety and th e proposed m ethods fo r m onitoring the Proposed Action facilities).
Dakota Access also perform s regular aerial flyovers to inspect the pipeline ROW. In the event o f a leak,
Dakota Access w ould w ork aggressively to isolate the source through th e use o f rem ote-controlled shut-
o ff valves, in itiate cleanup activities, and contact the appropriate federal and state authorities to
coordinate leak containm ent and cleanup. To prevent pipeline failures resulting in inadvertent releases,
Dakota Access w ould construct and m aintain the pipeline to m eet or exceed industry and governmental
requirem ents and standards. Specifically, the steel pipe w ould m eet PHMSA specifications under 49 CFR
§ 195, fo llo w standards issued by th e American Society of Mechanical Engineers, National Association fo r
Corrosion Engineers and API. Once installed, th e pipeline w ould be subjected to testing to verify its
inte grity and compliance w ith specifications, including hydrostatic pressure testing at th e crossings,
checking coating integrity, and X-ray inspection o f th e welds. The pipeline w ould be placed into service
only afte r inspection to verify compliance w ith all construction standards and requirem ents. Dakota
Access w ould m aintain and inspect the pipeline in accordance w ith PHMSA regulations, industry codes
and prudent pipeline operating protocols and techniques. The pipeline ROW w ould be patrolled and
inspected by air every 10 days, w eather perm itting, but at least every three weeks and not less than 26
tim es per year, to check fo r abnorm al conditions or dangerous activities, such as unauthorized excavation
along the pipeline route.

W hile a release o f crude oil into groundw ater or a surface w aterbody has th e potential to cause
environm ental impacts, the likelihood o f such an event is very low. Dakota Access has detailed provisions
fo r protecting and m itigating potential impacts to w ater resources in Section 3.11 Reliability and Safety.
Emergency response and rem ediation efforts have th e potential fo r dram atically reducing the appreciable
adverse environm ental effects.

In th e unlikely event o f a spill during operations o f the pipeline, impacts to w ater resources w ould be
fu rth e r m itigated by follow ing th e cleanup procedures and rem ediation activities described in th e Dakota
Access' FRP (Appendix L).

Specific clean-up procedures and rem ediation activities w ould be determ ined by groundw ater
rem ediation specialists w ith in Dakota Access and contracted professional consultants. Each groundw ater
m itigation situation is unique and w ill be treated according to the actual circumstances present.

The firs t step in the m itigation process consists o f the delineation o f the plum e to define the nature and
extent o f the release. If appropriate, Dakota Access w ould recover product as soon as practical to prevent
th e spread of contam ination using excavators to remove the impacted soils, oil skimmers installed w ithin



                                                                                                             48




                                                                                              USAGE DAPL0071272
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 176 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




collection wells, pumps, and storage containers or vacuum trucks at collection areas or some other
m ethod appropriate fo r the site conditions.

Dakota Access w ould develop a groundw ater rem ediation plan in coordination w ith th e North Dakota
D epartm ent o f Health and other responsible federal, state or o ther governm ental authorities. The
proposed groundw ater rem ediation system w ould be designed to tre a t th e impacted groundw ater by
rem oving th e released oil, converting it into harmless products, m onitoring natural attenuation, etc.

Released product can often be physically removed from groundw ater by several methodologies. The
pum p and tre a t m ethod is one of the m ost w idely used physical methods o f ground w ater rem ediation
and consists o f pum ping th e groundw ater to surface and then using either biological or chemical
treatm ents to remove the oil. A nother common m ethod o f removing floating hydrocarbon contam inants
is th e use o f a m onitoring-w ell oil skimmer. This m ethod utilized a belt m aterial w ith a strong affin ity fo r
hydrocarbons to bring th e oil to the surface where it can be removed. A dual-phase vacuum extraction
removes both contam inated groundw ater and soil vapor. A high-vacuum extraction well is installed w ith
its screened section in th e zone o f contam inated soils and groundw ater to remove contam inants from
above and below the w ate r table. Released product can also be removed from groundw ater by applying
various chemical m ethodologies including ozone and oxygen gas injection, surfactant enhanced recovery.
Biological tre a tm e n t techniques can also be utilized including bioventing and bioaugm entation.

The ground w a te r tre a tm e n t rem ediation plan w ould be selected in coordination w ith th e North Dakota
D epartm ent o f Health and o th er responsible governm ental authorities and may utilize a com bination of
technologies.

A prelim inary evaluation o f geology indicates th a t groundw ater w ith in the floodplain th ro u g h o u t most of
th e Corps flow age easements is less than 6.5 feet deep (GeoEngineers, 2014). The pipeline w ould be
installed in saturated sediments as part o f th e HDD crossing o f Lake Oahe. Due to the nature o f HDD
m ethodology, this construction m ethod is inherently not a risk to groundw ater resources and uses benign
substances (bentonite and w ater) to penetrate through soil, rock, and groundwater. Construction of the
Project Area and Connected Action w ould not be expected to result in significant negative direct or
indirect impacts on groundw ater resources.

3.2.3    Wetlands

                  3.2.3.1    Affected Environment

W etland data fo r th e Project Areas was derived from desktop analyses along the entire route and verified
by field delineations. Using data fro m the U.S. Fish & W ildlife Service's (USFWS) National W etlands
Inventory (NWI) dataset, aerial imagery, and topography, an experienced biologist applied professional
ju dgm ent to create polygon coverage in GIS to define th e areal extent o f wetlands. These areas have been
field-verified to ensure th a t the m ost accurate, up-to-date data is being used fo r perm it filings.

The field w etland investigations w ere conducted using the on-site m ethodology set fo rth in the 1987
Corps o f Engineers W etland Delineation Manual and the 2010 Regional Supplement to the Corps o f
Engineers W etland Delineation Manual: Great Plains Region (USAGE, 1987; 2010b). In addition to the
1987 Manual and the Regional Supplement, wetland areas were examined through analysis o f the



                                                                                                                  49




                                                                                                  USAGE DAPL0071273
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 177 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




vegetation, soils, and hydrology, as described in th e Classification o f W etland and Deepwater Habitats o f
th e U.S. and The National W etland Plant List (Cowardin et al., 1979; Lichvar et al., 2014).

                  3.2.3.2   Impacts and Mitigation

The routing analysis utilized to determ ine the crossing locations was designed to avoid impacts to sensitive
environm ental resources including wetlands. Construction workspace on the flowage easements has
been selected based on an absence o f wetlands w ith in the Project Area and, as confirm ed by field
verification in 2015, no wetlands w ould be impacted by trench excavation w ith in the construction ROW,
ATWS, HDD workspace, or HDD stringing corridor on the flow age easements or Connected Action.

The field w etland investigations conducted by Dakota Access results identified fo u r wetlands located
w ith in th e perm anent easement on th e flowage easements (w-ml0-wi-001_PSS, w -m l0-w i-001_PEM , w-
m l0-wi-001_PFO , and w-m l0-wi-002_PSS). These wetlands occur in th e portion o f the Project Area on
th e flow age easements th a t w ould be constructed via HDD; therefore, no trenching w ould occur w ithin
these wetlands. However, fo llo w in g construction, a 30-foot-w ide corridor centered on the proposed
pipeline w ould be m aintained in non-forested state to facilitate inspections o f the pipeline, operational
maintenance, and compliance w ith the federal pipeline safety regulations. The 30 fo o t perm anent ROW
w ould encompass a to ta l o f approxim ately 0.30 acre o f the fo u r wetlands. One o f these wetlands (w-
m l0-wi-001_PFO ), approxim ately 0.05 acre, is classified as a palustrine forested (PFO) w etland and w ould
be converted to shrub-scrub or herbaceous w etland as a result o f the Proposed Action since trees w ould
be routinely removed fo r the life o f the pipeline. The rem aining palustrine em ergent (PEM) w etland (w-
m l0-w i-001_PEM ) and tw o palustrine scrub-shrub (PSS) wetlands (w-ml0-wi-001_PSS and w -m lO -w i-
002_PSS), comprising a to ta l o f 0.25 acres of th e perm anent pipeline easement, may require infrequent
vegetation clearing o f encroaching w oody vegetation but w ould otherwise remain in th e ir natural state.
Dakota Access is in th e process o f obtaining verification fo r use o f NWP 12 fo r the crossings o f wetlands
and w aterbodies associated w ith DAPL Project.

Pending approval and receipt o f applicable perm its and easement permission, a tem porary w aterline
w ould be installed between the shoreline and the HDD workspace on the flow age easements w ith in the
perm anent ROW (Figure 6-B), in order to supply the HDD equipm ent w ith w ater needed fo r drilling fluid
preparation and hydrostatic testing. The tem porary w aterline w ould be laid on to p o f the surface, and no
ground disturbance o f the fo u r w etland features along the perm anent easement is anticipated. The hard
pipe segments w ould be hand-carried down the slope and assembled by hand. No tracked or wheeled
equipm ent w ould be necessary fo r construction or removal o f th e tem porary aboveground pipeline. No
excavation or disturbance o f wetlands or th e river bank is anticipated.

Table 3-8 summarizes wetlands w ith in the flowage easements th a t occur w ith in the perm anent ROW,
which is 30-feet-w ide centered on th e centerline over the HDD profile and 50-feet-w ide elsewhere.

No wetlands w ould be impacted by th e HDD workspace on private land and th e perm anent ROW on
federal land at th e crossing o f Lake Oahe, because no wetlands exist w ith in the Project Area and
Connected Action Area at the Lake Oahe Crossing.

The ECP and SWPPP specify several measures to protect wetlands and w aterbodies from becoming
polluted w ith fuels or o th e r hazardous materials during construction. These plans pro h ib it th e storage o f



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                                                                                                USAGE DAPL0071274
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 178 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




fuel or o the r hazardous materials w ith in 100 feet o f a w etland or waterbody. The ECP also specifies th a t
equipm ent m ust be refueled at least 100 fe e t from w aterbodies unless, due to site-specific conditions,
th ere is no practical alternative such as th e proposed pum ping intake structure located on the barge at
th e Missouri River Crossing. In th a t case, the contractor m ust im plem ent site-specific protective measures
and containm ent procedures described in the ECP. Contractors w ould be required to provide trained
personnel, appropriate equipm ent, and materials to contain and clean up releases o f fuel, lubricating oil,
or hydraulic flu id th a t result from equipm ent failure or o ther circumstances in accordance w ith
containm ent plans as described above.


                                                 Table 3-8
                            Wetlands within the Flowage Easemen ts Project Area
                                                          Pre-
                                                                        Delineation    Area
  MR        W etland ID          W etland Type         Construction                              Impacted Area ^
                                                                          Source      (acres)
                                                          Notice?
                                                                                                 Permanent ROW
  94.7    w-mlO-wi-OOl      Palustrine Scrub-Shrub           No             Field       0.07
                                                                                                 over FIDO Profile
                                                                                                 Permanent ROW
  94.7    w-mlO-wi-001      Palustrine Emergent              No             Field       0.04
                                                                                                 over FIDO Profile
                                                                                                 Permanent ROW
  94.8    w-mlO-wi-001      Palustrine Forested              No             Field       0.05
                                                                                                 over FIDO Profile
                                                                                                 Permanent ROW
  94.9    w-mlO-wi-002      Palustrine Scrub-Shrub           No             Field       0.14
                                                                                                 over FIDO Profile



3.2.4    Floodplain

                 3.2.4.1    Affected Environment

Floodplains refer to th e 100-year floodplain, as defined by Federal Emergency M anagem ent Agency
(FEMA), and as shown on Flood Insurance Rate Maps (FIRM) or Flood Flazard Boundary Maps fo r all
com m unities participating in th e National Flood Insurance Program (NFIP). The 100-year floodplain is an
area subjected to inundation by the 1% chance o f an annual flood event. Executive Order (EG) 11988
(Floodplain M anagement) requires federal agencies to avoid direct or indirect support o f developm ent
w ith in th e 100-year floodplain whenever there is a practical alternative.

According to th e FEMA FIRM map, the seven flowage easements are located w ith in Zone A (the 100-year
floodplain) o f the Missouri River in W illiam s County. A FEMA flood map is not available fo r th e Connected
Action w ith in McKenzie County. The Lake Oahe crossing in Emmons County is located in Zone D, which is
an area o f undeterm ined, but possible flood hazards (FEMA, 1987). FEMA has not com pleted a study to
determ ine flood hazards fo r M orton County; therefore, a flood map has not been published at this tim e.

                 3.2.4.2    Impacts and Mitigation

The Proposed Action has been designed in accordance w ith accepted floodplain m anagem ent practices;
therefore, no impacts on floodplain elevations or velocities are anticipated. Following construction.



                                                                                                              51




                                                                                                USAGE DAPL0071275
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 179 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




disturbed areas w ould be restored to pre-construction grades and contours, as practical. If necessary, soil
displaced by installation o f th e 24-inch pipeline on the flowage easements w ould be removed fro m the
floodplain and hauled to an upland location in order to ensure original floodplain elevations are restored

The Corps Omaha District Flood Risk and Floodplain M anagem ent Section (FRFM) is responsible fo r
coordinating compliance w ith th e requirem ents of EG 11988. The FRFM reviewed the proposed pipeline
plans fo r the portion o f the DAPL Project th a t crosses th e flow age easements fo r compliance w ith
Appendix A (Typical Cut and Fill Volumes fo r Land Development Proposals) of NWDR 1110-2-5, Land
Developm ent Guidance at Corps Reservoir Projects, and found th a t the lowest elevation o f the Proposed
Action on th e flow age easements (1872.25 feet MSL) w ould be above the Garrison flood control pool
m aximum operation elevation (1854.0 fe et MSL). Therefore, there w ould be no adverse impacts on the
operation o f the Garrison flood control pool. Provided th a t th e site topography is left at its natural ground
elevation after construction and all excess material is hauled o ff site, the FRFM concluded th a t there are
no flood risk and floodplain managem ent concerns associated w ith th e Proposed Action. On April 7, 2015
th e FRFM provided Dakota Access w ith a m em orandum verifying compliance under EO 1198 and
recom m ending approval o f th e Proposed Action (Krause, 2015).

3.2.5   Levees

Based on a search o f the Corps National Levee Database and FEMA FIRM maps, no levees are located
w ith in 10 miles o f th e Lake Oahe or flow age easement crossings (Corps, 2014). Because no levees are
located w ith in 10 miles of e ither crossing, construction of th e Proposed Action is not expected to impact
levees.

3.3     Vegetation, Agriculture, and Range Resources

Under th e "no action" alternative, Dakota Access w ould not construct the proposed DAPL Project and no
impacts on vegetation, agriculture, and range resources w ould occur. Flowever, if th e objectives o f the
DAPL Project are to be m et under th e "no action" alternative, other projects and activities w ould be
required and these projects w ould result in th e ir own impacts on vegetation, agriculture, and range
resources, which w ould likely be sim ilar to or greater than th e DAPL Project. Impacts associated w ith a
fu tu re project developed in response to the "no action" alternative are unknown, w hile only tem porary
and m inor impacts or insignificant perm anent impacts on vegetation, agriculture, and range resources
w ould occur as a result of the Proposed Action, as described in the sections below.

3.3.1   Vegetation

                 3.3.1.1    Affected Environment

Land cover was analyzed fo r th e flow age easements and federal lands and associated Connected Actions
based on the 2011 USGS National Land Cover Dataset (NLCD) and was field-verified w here access was
available. Land cover on the flow age easements is comprised m ostly o f cultivated crops, which include
corn, sugar beets, alfalfa, soybeans, and spring w heat. Other present land cover types include developed
areas, which are prim arily roads, pasture/hay/grassland areas th a t are interspersed w ith the cultivated
crops, em ergent wetlands, w oody wetlands, mixed forest and deciduous forest associated w ith the
M issouri River.



                                                                                                              52




                                                                                               USAGE DAPL0071276
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 180 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Land cover on the federal lands is comprised o f cultivated crops, em ergent herbaceous wetlands,
grassland/herbaceous, and open w ater. Over half o f the area of the tracts is characterized as
grassland/herbaceous, which prim arily occurs on the w est side of Lake Oahe. Cultivated cropland consists
m ainly of oats and canola on th e east side o f the Lake.

A description o f each land cover type encountered at both crossing areas is provided below.

Cultivated Crop

The cultivated cropland com m unity is characterized by land used fo r th e production o f annual crops, such
as corn and soybeans. This class includes all land being actively tilled.

Deciduous Forest

Deciduous forest typically includes trees th a t are greater than 16 feet tall. M ore than 75% o f th e tree
species in this land cover class shed foliage sim ultaneously in response to seasonal change.

Mixed Forest

M ixed forest are generally areas dom inated by trees generally greater than 5 meters tall, and greater than
20% o f to ta l vegetation cover. The vegetation cover w ith in mixed forest typically does not have either
deciduous or evergreen species greater than 75% o f the to ta l tree cover.

Developed/Open Space

The developed/open space com m unity type is dom inated by lawn grasses and may include some
developed areas and roads. Impervious surfaces account fo r less than 20% o f the to ta l cover. This class
w ould typically include m inor roads and associated ditches.

Developed/Low Intensity

The developed/low intensity com m unity includes areas w ith a m ixture of constructed m aterial and
vegetation. These areas m ost com m only include single-fam ily housing units. D eveloped/low intensity in
th e Project Area is associated w ith im pervious surfaces of larger roads.

Emergent Herbaceous Wetland

Refer to Section 3.2.3, which provides a description of data obtained during delineations of the wetlands
th a t w ould be impacted by th e Proposed Action.

Woody Wetlands

Refer to Section 4.2.3, which provides a description o f data obtained during delineations o f th e wetlands
th a t w ould be impacted by th e Proposed Action.




                                                                                                          53




                                                                                            USAGE DAPL0071277
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 181 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Grassland/Herbaceous

The grassland/herbaceous com m unity is dom inated by gram inoid or herbaceous vegetation. These areas
are not subject to intensive m anagement such as tillin g but can be utilized fo r grazing.

Pasture/Hay

The pasture/hay com m unity type consists o f areas o f grasses, legumes, or grass-legume m ixtures planted
fo r livestock grazing or the production o f seed or hay crops, typically on a perennial cycle.

Open W ater

The open w a ter cover type includes areas o f open w ater. This land cover type is associated w ith Lake
Oahe and th e Missouri River.

                    3.3.1.2   Impacts and Mitigation

Tem porary impacts on land cover w ould occur in essentially all areas w ith in the construction fo o tp rin t of
th e Project Area and Connected Actions, the vast m ajority o f which w ould return to pre-construction land
cover upon com pletion o f construction. One exception is at the flow age easement Project Area in
forested areas along th e perm anent easement Impacts on cultivated crops make up th e m ajority of
tem porary impacts and w ould return to cultivated crops post-construction.

Tables 3-9 and 3-10 show land cover types impacted by construction and maintenance activities.                 A
description of each category is provided below.

                                             Table 3-9
           Land Cover Impacts on the Flowage Easements Project Area and Connected Action
                                      Connected Action- Connected Action- Construction
                                                                                       Permanent ROW
        Land Cover Type                 Construction     Permanent ROW     Workspace
                                                                                           (acres)
                                      Workspace (acres)      (acres)        (acres) ^
 Cultivated Crops                            0                   0                 47.4              13.3
 Deciduous Forest                           0.9                 0.2                 0                 0
 Developed, Low Intensity                    0                   0                 0.4               0.4
 Developed, Open Space                      0.1                 0.01               1.2               0.4
 Emergent Herbaceous                         0                   0                 0.9               0.4
 Wetlands
 Hay/Pasture                                 0                   0                 6.6                1.8
 Grassland/Herbaceous                       0.1                  0                 1.7               0.5
 Mixed Forest                               0.2                 0.03                0                 0
 Open Water                                 0.7                 0.1                 0                 0
 Woody Wetlands                              0                   0                 1.4               0.8
                              Total         2.0                 0.3                59.3              17.6
 ^ Construction workspace includes permanent ROW.




                                                                                                              54




                                                                                               USAGE DAPL0071278
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 182 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Permanent impacts on land cover in th e federal lands w ould be lim ited to th e perm anent ROW and involve
lim ited tree removal w ith in th e perm anent easement. Impacts on land cover as part o f th e Connected
Action w ould occur on private lands and include th e HDD workspaces, stringing area, and the perm anent
easements between the HDD workspaces and federal lands.

                                            Table 3-10
             Land Cover impacts on the Federal Lands Project Area and Connected Action
                                                 Connected             Connected
                                                  Action-               Action-           Federal Lands
                Land Cover                      Construction        Permanent ROW        Permanent ROW
                                                 Workspace              (acres)              (acres) ^
                                                  (acres)
 Cultivated Crops                                    0.0                   0.0                   0.1
 Emergent Herbaceous Wetlands                        0.0                   0.0                   0.4
 Woody Wetlands                                      0.2                   0.0                   0.0
 Grassland/ Herbaceous                               15.3                  1.1                   0.6
                                     Total           15.5                  1.1                   1.2
 ^ Land cover impacts on federal lands are limited to the maintained 50-foot permanent easement and do not
   include approximately 6.3 acres of permanent easement over the HDD profile across Lake Oahe. Land cover
   within the banks of Lake Oahe (open water, woody wetlands, and emergent herbaceous wetlands) would not
   be disturbed during construction.



Measures to Protect Vegetation

Dakota Access w ould clear th e ROW to th e extent necessary to assure suitable access fo r construction,
safe operation, and maintenance o f th e DAPL Project. Clearing o f herbaceous vegetation during
construction is anticipated to result in short-term impacts. W ithin areas disturbed by construction in the
flow age easements Project Area and Connected Actions, Dakota Access w ould im plem ent active
revegetation measures and rapid colonization by annual and perennial herbaceous species to restore
m ost vegetative cover w ith in th e firs t growing season. In areas th a t require perm anent revegetation,
Dakota Access w ould utilize an NRCS native seed m ix th a t has been selected fo rth e Proposed Action based
on the North Dakota State University Extension Service Publication, Successful Reclamation o f Lands
Disturbed by Oil and Gas Developm ent and Infrastructure Construction. . Ground disturbing activities
w ould not occur on Corps fee-ow ned lands; therefore, reseeding is not anticipated in these areas.
However, if reseeding w ere to become necessary on Corps fee-ow ned lands, all activities w ould be
conducted in accordance w ith applicable Lake Oahe or Garrison Project revegetation guidelines.

In non-agricultural areas, vegetation cleared from ATWS w ould be allowed to revegetate after
construction depending on arrangements w ith th e landowner. Consequently, significant changes in cover
types are not anticipated. Revegetation w ould allow w ild life species to return to the area after
construction is com pleted. Tem porary revegetation measures may also be im plem ented to quickly
establish ground cover to m inim ize the potential fo r soil erosion and noxious weeds to establish. A
tem porary seed mix may be applied in these situations. Revegetation o f trees and shrubs w ould take




                                                                                                          55




                                                                                            USAGE DAPL0071279
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 183 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




place in accordance w ith the N orth Dakota tree and shrub regulations. The ECP (Appendix G) contains
m ore details regarding tem porary revegetation.

A fte r com pletion o f w aterbody crossings, Dakota Access w ould revegetate disturbed stream banks in
accordance w ith th e ECP, SWPPP, and requirem ents o f applicable state and federal permits. When
constructing in agricultural areas, up to 1 fo o t o f topsoil (organic layer) w ould be stripped from the trench
line and stockpiled separately from trench spoil to preserve the native seed stock. The ECP contains
additional details regarding topsoil segregation.

A t stream approaches, the C ontractor w ould leave a 20-foot buffer o f undisturbed herbaceous vegetation
on all stream banks during initial clearing, except w here grading is needed fo r bridge installation or where
restricted by applicable regulations a n d /o r perm it conditions.

3.3.2   Invasive and Noxious Weeds

                 3.3.2.1    Affected Environment

The state o f North Dakota has 11 state-listed noxious and invasive weeds ("invasive species"). The species
listed are: Russian knapweed (Acroptilon repens), absinth w orm w ood {Artem isia absinthium), musk thistle
(Carduus nutans), diffuse knapweed (Centaurea diffusa), yellow toadflax (Linaria vulgaris), spotted
knapweed (Centaurea maculosa), Canada th istle (Cirsium arvense), leafy spurge (Euphorbia esula),
dalm atian toadflax (Linaria dalm atica), purple loosestrife (Lythrum salicaria), and saltcedar (Tamarix
chinensis). These state invasive species are controlled and regulated under North Dakota Law (NDCC §
4.1-47-02) (North Dakota D epartm ent o f Agriculture, 2014a).

Each county in North Dakota has a County Weed Board, which consists o f a regulation com m ittee to
manage noxious and invasive weeds. Each o f these county boards is responsible fo r the addition of
county-specific invasive species to th e state-listed species. Additional noxious weeds are listed in
McKenzie County including field bindweed (Convolvulus arvensis), burdock (Arctium sp.), black hendane
(Hyoscyamus niger), houndstongue (Cynoglossum officinale), and yellow starthistle (Centaurea
solstitialis). No additional invasive species have been identified fo r listing in W illiams, M orton, and
Emmons counties.

                 3 3 .2.2   Environmental Impact and Mitigation

Dakota Access sent notifications to th e McKenzie, W illiams, M orton, and Emmons counties weed boards
describing th e Proposed Action and requesting any guidance regarding the known locations o f noxious
and invasive weeds pertaining to th a t county. Dakota Access w ould w ork w ith the county weed boards
to ensure th e ECP contains relevant and necessary m itigation measures th a t w ould be im plem ented to
prevent th e spread o f noxious weed species during construction and operation o f th e Proposed Action.




                                                                                                              56




                                                                                               USAGE DAPL0071280
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 184 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.3.3   Threatened, Endangered, Candidate, and Proposed Plant Species

                 3.3.3.1    Affected Environment

There is one federally-listed plant species in North Dakota, th e threatened w estern prairie fringed orchid.
This plant species is associated w ith high quality moist, tall grass prairie. M ost of the orchids in North
Dakota are located in the Sheyenne National Grasslands in Ransom and Richland counties in the
southeastern corner o f the state. The population at Sheyenne National Grasslands is th e largest
population le ft in the w orld, w ith over 7,000 orchids (USFWS, 2013a).

N orth Dakota does not have a state threatened and endangered species program or track plant species
th a t are not federally listed.

                 3.3.3.2    Impacts and Mitigation

There are no known records o f w estern p rairiefringed orchids in the Project Area counties, and no suitable
habitat was docum ented; therefore, no effect on the w estern prairie fringed orchid is expected as a result
o f the proposed undertaking. In the unlikely event th a t any are observed during construction on federal
lands, w o rk w ould stop and the Corps w ould be contacted.

3.4     W ildlife Resources

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on w ild life resources w ould occur. However, if the objectives o f the DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on w ild life resources, which w ould likely be sim ilar to or greater than the DAPL Project.
Impacts associated w ith a fu tu re project developed in response to th e "no action" alternative are
unknown, w hile only tem porary and m inor impacts, if any, on w ild life resources w ould occur as a result
o f th e Proposed Action, as described in the sections below.

3.4.1   Recreationally and Economically Important Species and Nongame W ildlife

                 3.4.1.1    Affected Environment

The Proposed Action region is home to a large num ber of mammal and bird species. Big game species
th a t occur in the Proposed Action region include pronghorn and w hite-tailed deer. Game birds potentially
using th e types o f w ild life habitat in the Project Area include the ruffed grouse, sharp-tailed grouse,
pheasant, woodcock, snipe, and doves. Furbearers and predators potentially occurring w ith in the Project
Area include coyote, beaver, badger, red fox, raccoon, bobcat, fisher, mink, weasel, and muskrat.
Potential small mammal species occurring w ith in the habitat types associated w ith the Project Area
include pocket gopher, skunk, and w hite -tailed jackrabbit.

W aterfow l and shorebird species potentially occurring w ith in th e Project Area include mallards, pintails,
American wigeon, blue-winged teal, w estern grebe, California gull, Canada goose, common tern, killdeer,
W ilson's phalarope, and lesser yellowlegs. Numerous songbirds, including th e American goldfinch, black-




                                                                                                              57




                                                                                               USAGE DAPL0071281
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 185 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




capped chickadee, cedar waxwing, clay-colored sparrow, lark bunting, song sparrow, tree swallow,
w estern kingbird, w estern m eadowlark, and yellow w arbler can be expected to occur in the Project Area.

Numerous species o f reptiles and amphibians may also occur w ith in the Project Area. Some amphibian
species th a t may be expected to occur in the Project Area include the northern leopard frog, tiger
salamander, and western chorus frog. Reptile species th a t may be expected to occur w ith in the Project
Area include com m on snapping tu rtle , w estern painted tu rtle , com mon garter snake, and racer (Hoberg
and Gause, 1992).

                  3.4.1.2    Impacts and Mitigation

Tem porary impacts on w ild life could occur during construction due to clearing o f vegetation and
m ovem ent o f construction equipm ent along the ROW. The ROW and ATWS w ould remain relatively clear
o f vegetation until restoration is com pleted. M ost w ildlife, including the larger and m ore m obile animals,
w ould disperse from th e Project Area as construction activities approach. Displaced species may
recolonize in adjacent, undisturbed areas, or reestablish in th e ir previously occupied habitats after
construction has been com pleted and suitable habitat is restored. Some smaller, less m obile w ildlife
species such as amphibians, reptiles, and small mammals have the potential to be directly impacted during
clearing and grading activities, but given the lim ited extent o f th e proposed crossing, measurable impacts
are not anticipated. No impacts to tre a ty fishing and hunting rights are anticipated due to construction
w ith in th e Project Area or Connected Actions.

Herbaceous cover w ould be seeded on disturbed upland areas during restoration, and it is expected th a t
pre-existing herbaceous and shrub habitats w ould quickly reestablish themselves. Consequently, it is
expected th a t th e w ild life species th a t use these habitats w ould also return w ith in one growing season o f
construction com pletion. Routine clearing o f th e perm anent easement to im prove visibility and remove
encroaching trees w ould be perform ed in compliance w ith PHMSA requirem ents. The lack o f trees
reestablishing w ould be the only potential long-term im pact to w ild life th a t depends on forested
com m unities. This im pact is expected to be negligible, as it only pertains to extrem ely small portions of
th e perm anent easement and very little forested habitat is present w ith in the Project Area and Connected
Actions.

3.4.2   Threatened, Endangered, Candidate, and Proposed W ildlife Species

The Endangered Species Act (ESA) directs all federal agencies to w ork to conserve endangered and
threatened species. Crossing th e Corps flowage easements and federal lands triggers th e consultation
procedures o f section 7 o f th e ESA. This section serves as the Biological Evaluation or w ritte n analysis
docum enting th e Corps' conclusions and th e rationale to support those conclusions regarding th e effects
o f the Proposed Action on protected w ild life resources. The Bald Eagle (Haliaeetus leucocephalus) was
removed fro m the federal list of threatened and endangered species on August 9, 2007 and is no longer
protected under th e ESA. However, the bald eagle is provided protection under the Bald and Golden Eagle
Protection Act (BGEPA) and th e M igratory Bird Treaty Act (MBTA), which prohibits disturbance o f eagles
and other raptors. In order to ensure compliance w ith these acts, Dakota Access obtained USFWS and
state agency data regarding known eagle nests in th e vicinity o f th e Missouri River and Lake Oahe crossings
fro m th e North Dakota Game and Fish Departm ent, w ho houses th e eagle location database. The
Proposed Action and Connected action w ill be over 1,000 fe e t from known or historic eagle nesting areas.



                                                                                                                 58




                                                                                                 USAGE DAPL0071282
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 186 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Based on th e known nest data, there are no eagle nests w ith in the USFWS National Bald Eagle
M anagem ent Guidelines recom m end nest buffers o f 660 fe e t fo r linear construction activities if the
activity w ill be visible from th e nest and 330 feet if the activity w ill not be visible from th e nest (USFWS,
2007). These guidelines are intended to help th e public m inimize impacts to bald eagles, particularly
w here they may constitute "disturbance", which is prohibited by th e BGEPA. Given th e distance from
known eagle nesting areas, and the m itigation o f use o f the FIDD m ethod fo r both th e Missouri and Lake
Oahe crossings, th e Proposed Action is not anticipated to have any effect on Bald or Golden eagles

                 3.4.2.1    Affected Environment

Nine federally listed species have been identified in W illiam s, McKenzie, M orton, and Emmons counties.
Designated critical habitat fo r the piping plover also occurs in each o f th e fo u r counties. The USFWS
concurred w ith the Corps effect determ inations included below in Section 3.4.2.2 fo r all listed species
w ith in th e EA review area.

Interior Least Tern

In North Dakota, th e in te rio r least te rn (Sterna antillarum ) utilizes sparsely vegetated sandbars on the
M issouri River. Birds nest, raise young, and relax on barren river sandbars. In North Dakota, the least
te rn is found m ainly on the Missouri River from Garrison Dam south to Lake Oahe and on the Missouri
and Yellowstone Rivers upstream o f Lake Sakakawea. A pproxim ately 100 pairs breed in North Dakota
during the sum m er before flying to coastal areas o f Central and South American and th e Caribbean Islands
(USFWS, 2013b).

Whooping Crane

W hooping cranes (Grus Americana) em bark on a bi-annual m igration from summer nesting and breeding
grounds in W ood Buffalo National Park in northern Alberta to th e barrier islands and coastal marshes o f
th e Aransas National W ildlife Refuge on the Gulf Coast of Texas. Twice yearly in the spring and fall,
w hooping cranes m igrate along the Central Flyway, a m igratory corridor approxim ately 220 miles wide
and 2,400 miles in length. The Central Flyway includes eastern M ontana and portions o f North Dakota,
South Dakota, Nebraska, Kansas, Oklahoma, and eastern Texas (USFWS, 2014a) (Figure 16). During the
m igration, cranes make numerous stops, roosting fo r short durations in large shallow marshes, and
feeding in harvested grain fields. Approxim ately 75% o f th e whooping crane sightings in North Dakota
occur w ith in th e Central Flyway. The prim ary threats to whooping cranes are power lines, illegal hunting,
and habitat loss.

Black-footed Ferret

The black-footed fe rre t (M ustela nigripes) is a small m em ber o f the Mustelidae fam ily native to North
American shortgrass and mixed grass prairie. Prairie dogs make up approxim ately 90% o f the black-footed
fe rre t diet and as such, the species is associated almost exclusively w ith large complexes o f prairie dog
tow ns (USFWS, 2013c; Black-footed Ferret Recovery Im plem entation Team [BFFRIT], 2011). Black-footed
ferrets are fossorial, nocturnal predators, spending the m ajority o f th e ir tim e underground in prairie dog
burrows, leaving only to hunt (BIFFRIT, 2011). Once th ough t to be extirpated in the w ild, captive-born




                                                                                                              59




                                                                                               USAGE DAPL0071283
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 187 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




individuals have been reintroduced to 21 sites in W yoming, Montana, South Dakota, Colorado, Utah,
Kansas, New Mexico, and Arizona since 1991 (USFWS, 2013c).

Gray W olf

A habitat generalist, the gray w o lf (Canis lupus) historically occupied m ost habitat types in North America.
They show little preference fo r one cover type over another and successfully utilize alpine, forest,
grassland, shrubland, and w oodland habitats across th e ir range (Mech, 1974). Once though t to require
wilderness areas w ith little to no human disturbance, recent range expansions have dem onstrated the
species' ability to to le ra te higher rates o f anthropogenic developm ent than previously thought. Given
abundant prey and low rates of human-caused m ortality, wolves can survive in proxim ity to human-
dom inated environm ents (Fuller, 1989).

Northern Long-eared Bat

N orthern long-eared bats (M yotis septentrionalis) occur th ro u g h o u t th e eastern and north-central U.S.
Eastern populations have declined significantly in recent years as a result o f w hite-nose syndrome (WNS),
a contagious fungal infection. Although historically less common in the w estern portion o f its range than
in the northern portion, northern long-eared bats occur th rougho ut North Dakota. Flabitat througho ut
its range includes caves and abandoned mines during th e w in te r and hardwood or mixed forests fo r
roosting and foraging during th e sum m er (USFWS, 2015).

N orthern long-eared bats may roost singly or in colonies in cavities, crevices, hollows, or beneath the bark
o f live and dead trees a n d /o r snags, regardless of tree species. They prefer trees w ith a diam eter at breast
height o f at least 3 inches. Less frequently. Northern long-eared bats have been observed roosting in
man-made structures such as sheds or barns. Northern long-eared bats prim arily forage at dusk on insects
in forests, but w ill occasionally forage over small forest clearings and w ater (USFWS, 2015).

Piping Plover

Piping plovers (Charadrius melodus) are shore birds th a t inhabit areas near w ater, preferring river
sandbars and alkali wetlands in th e Great Plains fo r nesting, foraging, sheltering, brood-rearing, and
dispersal. Piping plovers w in te r along large coastal sand or m udflats near a sandy beaches througho ut
th e southeastern U.S. Critical Flabitat fo r the piping plover is designated along the Missouri River system
th ro u g h o u t North Dakota (USFWS, 2012).

Dakota Skipper

The Dakota skipper (Hesperia dacotae) is a small b u tte rfly found in dry-mesic and wet-m esic tallgrass and
mesic mixed grass prairie rem nants characterized by alkaline and com posite soils. The Dakota skipper is
a habitat specialist requiring high-quality prairie habitat (i.e., grasslands or discrete patches of habitat
w ith in grasslands th a t are predom inantly native and th a t have not been tilled). Only 146 populations are
docum ented in th re e states and tw o Canadian provinces (McCabe, 1981; Royer and M arrone, 1992;
Cochrane and Delphey, 2002; USFWS, 2011; 2013d). Remaining populations vary in size and density and
fo r th e most part are not influenced by dispersal between populations (McCabe, 1981; Dana, 1991; Dana,
1997; Cochrane and Delphey, 2002). The species overw inters at the base o f grasses in the soil o f the site



                                                                                                                60




                                                                                                 USAGE DAPL0071284
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 188 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




which th e y inhabit. In North Dakota, the skipper typically occupies both wet-m esic and dry-mesic prairie
(Royer and M arrone, 1992; Cochrane and Delphey, 2002). The current status o f the Dakota skipper in the
state is considered tenuous, and m ost populations are considered vulnerable due to th e ir extrem ely
isolated nature.

Rufa Red Knot

The rufa red knot (Calidris canutus rufa) is a large sandpiper noted fo r its long-distance m igration between
sum m er breeding grounds in th e Arctic and w intering areas at high latitudes in the Southern Hemisphere
(USFWS, 2014b). Some rufa red knots w intering in the northw estern Gulf o f Mexico m igrate through
in te rio r North America during both spring and fall and use stopover sites in the N orthern Great Plains.
During spring and fall migrations, rufa red knots are typically found in marine habitats along the Pacific
and A tlantic coasts o f North America, generally preferring sandy coastal habitats at or near tidal inlets or
th e m ouths o f bays and estuaries. However, some m igrating rufa red knots use sandbars and sandy shore
and beach habitats along large rivers and reservoirs of the in te rio r o f North America. This area contains
th e Atlantic, Mississippi, and Central Flyways (USFWS, 2014g). The species also heavily relies on exposed
substrate at w etland edges fo r stopover habitat, and the suitability of a wetland fo r rufa red knots
depends on w a ter levels and may vary annually (G ratto-Trevor et al., 2001).

Pallid Sturgeon

Pallid sturgeon (Scaphirhynchus albus) prefer benthic environm ents associated w ith sw ift waters of large
turbid , free-flow ing rivers w ith braided channels, dynamic flo w patterns, periodic flooding of terrestrial
habitats, and extensive m icrohabitat diversity. Pallid sturgeon inhabit the Missouri and Mississippi Rivers
fro m M ontana to Louisiana and have been docum ented in the Missouri River downstream from the Fort
Peck Dam in M ontana to the headwaters of Lake Sakakawea, North Dakota, and downstream from
Garrison Dam, North Dakota to th e headwaters of Lake Oahe, South Dakota (USFWS, 2014c). Pallid
sturgeon populations are fragm ented by dams on th e Missouri River and are very scarce in th e Lake Oahe
portion o f th e Missouri River.

                  S.4.2.2   Impacts and Mitigation

Dakota Access conducted pedestrian surveys of the workspace w ith in the Project Area at the flowage
easements in September 2014 and July 2015 and at th e Lake Oahe crossing in April 2015 to assess suitable
habitat fo r listed species. Given th e lim ited scope o f the Proposed Action, m inim ization measures, and
th e im plem entation o f specialized construction techniques, the Corps has determ ined th a t the Proposed
Action w ould have no effect on the black-footed fe rre t, gray w olf, northern long-eared bat, and Dakota
skipper w ith in the Project Area. The Corps also determ ined th a t th e Proposed Action may affect, but is
not likely to adversely affect the in te rio r least tern, w hooping crane, piping plover, rufa red knot, and
pallid sturgeon in the Project Area. The effect determ ination fo r these species th a t may be affected, but
are not likely to be adversely affected was concurred w ith in a le tte r received from the USFWS on May 2,
2016. A Biological Opinion (BO) associated w ith other portions of th e DAPL Project, outside o f the EA
review area, was issued by the USFWS on May 31, 2016 but is not applicable to this docum ent. Table 3-
11 lists the im pact determ inations o f the protected species w ith potential to occur w ith in the Project Area
and Connected Action. A summary o f habitat evaluations and th e basis fo r the determ ination o f impacts
fo r each listed species is provided below.



                                                                                                              61




                                                                                               USAGE DAPL0071285
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 189 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                                Table 3-11
     Federally Listed Species with Potential to Occur within the Project Area and Connected Action
                                                                      County
          Species                 Status                                                            Impact Determination
                                                Williams     McKenzie       Morton Emmons
                                                                                                    May Affect, Not Likely to
 Interior Least Tern           Endangered           X             X             X           X
                                                                                                    Adversely Affect
                                                                                                    May Affect, Not Likely to
 Whooping Crane                Endangered           X             X             X           X
                                                                                                    Adversely Affect
 Black-footed Ferret           Endangered                         X             X                   No Effect
 Gray Wolf                     Endangered           X             X             X                   No Effect
 Northern Long-eared Bat Threatened                 X             X             X           X       No Effect
                                                                                                    May Affect, Not Likely to
 Piping Plover                 Threatened           X             X             X           X
                                                                                                    Adversely Affect
 Dakota Skipper                Threatened                         X             X           X       No Effect
                                                                                                    May Affect, Not Likely to
 Rufa Red Knot                 Threatened           X             X             X           X
                                                                                                    Adversely Affect
                                                                                                    May Affect, Not Likely to
 Pallid Sturgeon               Endangered           X             X             X           X
                                                                                                    Adversely Affect



Interior Least Tern

Suitable habitat may exist fo r in te rio r least terns at the Missouri River and at the Lake Oahe crossing
depending on precipitation and seasonal flo w variations as exposed sand/gravel bars suitable fo r nesting
may be present. Dakota Access proposes to cross the Missouri River and Lake Oahe utilizing th e HDD
construction m ethod. Pipeline installation via HDD w ill avoid in-stream disturbance th a t w ould otherw ise
occur if th e pipe was installed via th e tra ditional open-cut m ethod, as described in Section 2.1.4.

Potential sources fo r indirect impacts on in te rio r least terns include the inadvertent release of non-toxic
benton ite mud (used fo r lubricating the drill path) into th e w aterbody or nesting habitat and noise
associated w ith th e drilling equipm ent. Dakota Access conducted geotechnical analyses at each o f the
proposed HDD crossings and designed the HDD to m inimize th e likelihood th a t the drilling mud is
inadvertently released. W hile th e likelihood o f an inadvertent release has been minimized to the
m aximum extent practicable, w ere it to occur, im plem entation o f Dakota Access' HDD Contingency Plan
(Appendix B) w ould minimize any potential impacts on in te rio r least terns by quickly and efficiently
containing and rem oving the released, non-toxic mud.

O peration o f the HDD equipm ent w ill result in a tem porary increase in noise in the im m ediate vicinity of
th e HDD activities. Although the HDD entry and exit sites are located m ore than 960 fe e t from any suitable
in te rio r least te rn habitat, it is p o s s ib le th a tth e activities w ould be audible if in te rio r leastterns are nesting
in th e area. However, Atw ood et al. (1977) found th a t noise associated w ith human activities (an airfield
in the case o f th e referenced study) did not affect site fid e lity or nesting success o f least terns. Similarly,
Hillman et al. (2015) found th a t noise from m ilitary and civilian overflights did not impact nest success and
th a t restricting human disturbance to greater than 50 meters (164 feet) from colony boundaries m itigated




                                                                                                                               62




                                                                                                             USAGE DAPL0071286
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 190 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




adverse impacts to nesting birds. Noise associated w ith aircraft overflights at low altitudes in the Hillman
et al. (2015) study were a m inim um o f 67.7 decibels (A-weighted) (dBA), greater than the anticipated
sound levels generated by HDD equipm ent. Noise studies conducted at the proposed HDD entry and exit
locations indicate th a t sound levels w ould be less than 60 dBA at approxim ately 600 fe e t from the
equipm ent. Therefore, noise associated w ith the HDD crossings o f the Missouri River and Lake Oahe may
affect, but are not likely to adversely affect in te rio r least terns potentially nesting in th e area.

Dakota Access plans to w ithdraw al w ater from the Missouri River, which is required fo r activities
associated w ith the installation o f the HDD and th e hydrostatic testing o f th e HDD segment. A tem porary
w aterline w ould be installed at the Missouri River between the shoreline and the HDD workspace on the
flow age easements w ith in the perm anent ROW (Figure 6-B). The tem porary w aterline w ould be laid by
hand on to p o f th e surface, and no tracked or wheeled equipm ent w ould be necessary fo r installation or
removal o f the tem porary aboveground w aterline. No disturbance o f the river banks is anticipated.
Additionally, installation and removal o f th e w aterline are anticipated to be com plete prior to nesting
season; therefore, no impacts on the in te rio r least tern are anticipated to occur at th e Missouri River. If
th e w ate r w ithdraw al activities are not able to be com pleted prior to nesting season, Dakota Access w ould
conduct surveys prior to placem ent o f the w aterline to confirm the presence/absence o f in te rio r least
terns w ith in th e pipeline ROW. If in te rio r least terns are nesting w ith in the pipeline ROW, Dakota Access
w ould postpone w ater w ithdraw al activities and contact th e Corps and USFWS. W ork w ould only resume
when th e USFWS has given permission follow ing a survey to ensure in te rio r least terns w ould no longer
be affected. No w ate r w ithdraw al from or access to Lake Oahe is required to com plete th e Lake Oahe
crossing.

As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal of w oody vegetation. Because suitable
in te rio r least tern nesting habitat is on unvegetated flats w ith in th e Missouri River and Lake Oahe, routine
maintenance activities w ould not occur w ith in suitable habitat. During operation o f the pipeline, in the
unlikely event th a t a leak or spill w ere to occur and reach in te rio r least tern habitat, Dakota Access w ould
im plem ent its FRP and strictly adhere to PHMSA regulations.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the proposed Project Area, USAGE has determ ined th a t the Proposed Action may affect,
but is not likely to adversely affect the in te rio r least tern.

Whooping Crane

In North Dakota, w hooping cranes are only present during th e tw ice-yearly m igration between w in te r
grounds and sum m er nesting sites. As the whooping crane is a m igrant and does not breed in North
Dakota, the species cannot be confirm ed as present in or absent from th e Project Area. The results o f the
habitat assessment field surveys indicate th a t the Project Area may contain suitable stopover habitat (i.e.,
agricultural fields). It is anticipated th a t whooping cranes w ould avoid the Project Area during active
construction, as th e y tend to avoid areas w ith human disturbance (Howe, 1989; USFWS, 1994; Lewis and
Slack, 2008). The noise and land disturbance from construction activities during th e m igration periods
w ould likely cause birds to choose m ore suitable landing and overnight roosting locations away from
construction activities given th e abundance o f sim ilar habitat th ro u g h o u t the m igration corridor in North
Dakota and in the general vicinity o f th e Project Area.



                                                                                                                 63




                                                                                                  USAGE DAPL0071287
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 191 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




W hile th ere is potential fo r individuals to land in the Project Area during construction, w ork w ould halt if
a w hooping crane is observed w ith in the Project Area and w ould not resume until the bird leaves the area.
A dditionally, Dakota Access w ould n o tify th e Corps and USFWS o f the observation. The presence o f
construction activities w ith in potentially suitable stopover habitat during m igration could disturb
w hooping cranes in th e area or cause flying w hooping cranes to avoid th e area and select o ther suitable
stopover habitat. Due to the abundance o f available stopover habitat along the N orth Dakota m igration
corridor and in the vicinity o f the Project Area (USFWS, 2009a), impacts w ould be negligible. As illustrated
in Figure 16, the Project Area represents a m inute fraction of th e w hooping crane m igration corridor in
N orth Dakota.

As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal o f w oody vegetation. As w hooping cranes
utilize open fields and em ergent wetlands fo r stopover habitat, affects from maintenance activities w ould
be m inim al and w ould be sim ilar to those described above during construction activities. If whooping
cranes w ere observed in the area during maintenance activities, maintenance personnel w ould suspend
activities until the cranes leave the area. Similarly, if maintenance activities are ongoing at the tim e of
m igration, w hooping cranes w ould likely avoid the disturbance area.

In order fo r w hooping cranes to be affected by a spill or leak during operation, an individual w ould have
to be present when the leak or spill occurred or land in the spill itself. Due to th e strict adherence to
PFIMSA regulations designed to prevent spills and leaks during operation, the short tim efram e th a t
w hooping cranes are present during m igration, and the abundance o f available stopover habitat along the
m igration corridor in North Dakota (USFWS, 2009a), the measures im plem ented by Dakota Access in the
event o f a leak in accordance w ith the FRP, such occurrences are unlikely.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the w hooping crane.

Black-footed Ferret

No suitable black-footed fe rre t habitat is present in th e Project areas. The black-footed fe rre t has been
recorded in M orton County; however, based on occurrence data received from North Dakota Parks and
Recreation, there are no docum ented occurrences w ith in the vicinity o f th e Proposed Action. Further, it
is believed th a t black-footed ferrets have been extirpated from North Dakota, and no reintroductions
have occurred in th e state (USFWS, 2013f; North Dakota Game and Fish D epartm ent, 2012). Due to the
lack o f suitable habitat and the distance o f the Project areas from known black-footed fe rre t occurrences,
construction, operation, and maintenance activities associated w ith the Proposed Action w ould have no
effect on black-footed ferrets.

Gray W olf

The gray w o lf is listed as endangered in all three counties o f the Proposed Action areas in North Dakota
(south and west o f the Missouri River upstream to Lake Sakakawea and west of the centerline o f Flighway
83 from Lake Sakakawea to th e Canadian border). Wolves in eastern North Dakota are part o f the Great
Lakes Distinct Population Segment th a t was delisted by the USFWS in January 2012 (USFWS, 2014e).



                                                                                                              64




                                                                                               USAGE DAPL0071288
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 192 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




N orth Dakota does not currently have an established breeding population (North Dakota D epartm ent of
A griculture, 2014b). Observations o f wolves are sporadic, and it is believed th a t these individuals are
dispersers from adjacent populations (i.e., from M innesota and M anitoba) (USFWS, 2006; Licht and Fritts,
1994). Given th e unlikely occurrence and high m obility o f this species, construction, operation and
maintenance activities associated w ith the Proposed Action w ould have no effect on gray wolves.

Northern Long-eared Bat

The northern long-eared bat is currently listed by the USFWS as threatened in North Dakota. On April 2,
2015, th e USFWS published th e final listing in the Federal Registrar w ith an effective date o f May 4, 2015.
The USFWS listed the northern long-eared bat as threatened and chose to exercise th e option of issuing
an interim 4(d) rule to allow fo r m ore flexible im plem entation o f th e ESA and "to ta ilo r prohibitions to
those th a t make the m ost sense fo r protecting and managing at-risk species." In areas outside of the 150-
m ile WNS buffer zone, incidental take from lawful activities is not prohibited. The State of North Dakota
currently falls outside o f the WNS 150-mile buffer zone. Per the exem ptions o f the interim 4(d) rule,
construction, operation and m aintenance activities associated w ith th e Proposed Action w ould have no
effect on the northern long-eared bat (USFWS, 2015).

Piping Plover

Due to th e sim ilarity in life history and habitat requirem ents, impacts on piping plovers w ould be similar
to those discussed in above fo r the in te rio r least tern. Suitable habitat may exist fo r piping plover at the
M issouri River and at the Lake Oahe crossing, depending on precipitation and seasonal flo w variations, as
exposed sand/gravel bars suitable fo r nesting may be present. These areas are also designated as critical
habitat fo r this species under the ESA. Dakota Access proposes to cross the Missouri River and Lake Oahe
utilizing the FIDD construction m ethod. Pipeline installation via FIDD w ill avoid in-stream disturbance th a t
w ould otherw ise occur if th e pipe was installed via the traditional open-cut m ethod, as described in
Section 2.1.4.

Potential sources fo r indirect impacts on piping plovers include th e inadvertent release o f non-toxic
benton ite mud (used fo r lubricating the drill path) into the w aterbody or nesting habitat and noise
associated w ith th e drilling equipm ent. Dakota Access conducted geotechnical analyses at each o f the
proposed FIDD crossings and designed th e FIDD to m inimize the likelihood th a t th e drilling mud is
inadvertently released. W hile th e likelihood o f an inadvertent release has been minimized to the
m aximum extent practicable, w ere it to occur, im plem entation o f Dakota Access' FIDD Contingency Plan
w ould m inim ize any potential impacts on piping plovers by quickly and efficiently containing and removing
th e released, non-toxic mud.

O peration o f the FIDD equipm ent w ill result in a tem porary increase in noise in the im m ediate vicinity of
th e FIDD activities. Although the FIDD entry and exit sites are located m ore than 960 feet from any suitable
piping plover habitat, it is possible th a t the activities w ould be audible if piping plovers are nesting in the
area. Flowever, piping plovers are fre q u ently observed nesting in and around active sand and gravel mines
and do not appear to be deterred by elevated noise levels associated w ith th e operation of equipm ent
(Marcus et al., 2008; Brown et al., 2013).




                                                                                                               65




                                                                                                USAGE DAPL0071289
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 193 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




As discussed fo r the in te rio r least te rn above, impacts associated w ith installation o f th e tem porary
w aterline at th e Missouri River required fo r activities associated w ith the installation o f the HDD and the
hydrostatic testing o f th e HDD segment w ould be avoided. If th e w ater w ithdraw al activities are not able
to be com pleted prior to nesting season as expected, Dakota Access w ould conduct surveys prior to
placem ent of th e w aterline to confirm the presence/absence of piping plovers w ith in the pipeline ROW.
If piping plovers are nesting w ith in th e pipeline ROW, Dakota Access w ould postpone w ater w ithdraw al
activities and contact the USFWS and th e Corps. W ork w ould only resume when the USFWS has given
permission fo llow ing a survey to ensure piping plovers w ould no longer be affected. No w ater w ithdraw al
fro m or access to Lake Oahe is required to com plete the Lake Oahe crossing.

As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal o f w oody vegetation. Because suitable
piping plover nesting habitat is on unvegetated flats w ith in th e Missouri River and Lake Oahe, routine
maintenance activities w ould not occur in suitable piping plover habitat. In the unlikely event th a t a leak
or spill occurs and reaches piping plover habitat during operation o f the pipeline, Dakota Access w ould
im plem ent its FRP and strictly adhere to PHMSA regulations.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the piping plover.

Dakota Skipper

There is no suitable Dakota skipper habitat w ith in the Project Area based on species occurrence and
grassland analysis. As such, construction, operation and maintenance activities associated w ith the
Proposed Action w ould have no effect on this species.

Rufa Red Knot

Rufa red knots do not nest in th e Project Area and only occur as an occasional m igrant. During spring and
fall migrations, the rufa red knot has th e potential to occur in North Dakota. M igrating rufa red knot
w ould likely only occur at m igratory stopover habitat (suitable shoreline and sandy beach habitat along
m ajor rivers, streams, waterbodies, and wetlands) fo r a brief am ount o f tim e (24 hours or less). The
results o f the habitat assessment field surveys indicate th a t potentially suitable stopover habitat (sandbar
and beach habitats) fo r m igrating rufa red knots is present at th e Lake Oahe crossing. Lake Oahe w ould
be crossed using the HDD construction m ethod, and thus w ould avoid direct impacts on potentially
suitable rufa red knot stopover habitat. W hile direct impacts to the rufa red knot m igratory habitat w ould
be avoided through the HDD construction m ethod at Lake Oahe, indirect impacts could occur due to
potential disturbance during construction (i.e., noise or an inadvertent release o f non-toxic drilling mud).

During construction, noise associated w ith the HDD may act as deterrent to rufa red knots potentially
m igrating through the area. These individuals may have to travel to o ther suitable stopover habitat in the
area (e.g., upstream or downstream o f th e Proposed Action area). Similarly, if an inadvertent release of
non-toxic drilling mud w ere to occur when rufa red knots w ere present, it could cause individuals to
relocate to nearby habitat.




                                                                                                             66




                                                                                              USAGE DAPL0071290
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 194 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal o f w oody vegetation. As rufa red knots
utilize suitable shoreline and sandy beach habitat along m ajor rivers, streams, waterbodies, and wetlands
fo r stopover habitat, effects from m aintenance activities w ould be negligible and w ould be sim ilar to those
described above during construction activities. If rufa red knots w ere present in the area during
maintenance activities they w ould likely relocate to nearby suitable habitat. Similarly, if m aintenance
activities are ongoing at the tim e o f m igration, rufa red knots w ould likely avoid the disturbance area.

In order fo r rufa red knots to be affected by a spill or leak during operation, an individual w ould have to
be present when the leak or spill occurred or stop on the spill or leak. Due to th e strict adherence to
PHMSA regulations designed to prevent spills and leaks during operation and the short tim efram e th a t
rufa red knots are present during m igration, such occurrences are unlikely.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the rufa red knot.

Pallid Sturgeon

Suitable habitat fo r the pallid sturgeon occurs at the Missouri River and Lake Oahe crossings. Impacts on
suitable habitat w ould be avoided by crossing these waterbodies via HDD. As discussed in fo r th e in te rio r
le a stte rn above, pipeline installation via HDD w ill avoid in-stream disturbance th a t w ould otherw ise occur
if th e pipe was installed via th e trad ition al open-cut m ethod.

Dakota Access has also m inim ized the potential fo r pallid sturgeon to be indirectly affected by th e HDD
installation across th e Missouri River and Lake Oahe. The only potential source fo r indirect impacts on
pallid sturgeon associated w ith the HDDs is an inadvertent release of non-toxic bentonite mud (used fo r
lubricating th e drill path) into the w aterbody. Dakota Access conducted geotechnical analyses at each of
th e proposed HDD crossings and designed the HDD to m inim ize the likelihood th a t the drilling mud is
inadvertently released. W hile th e likelihood o f an inadvertent release has been minimized to the
m aximum extent practicable, w ere it to occur, im plem entation o f Dakota Access' HDD Contingency Plan
w ould m inim ize any potential impacts on pallid sturgeon by quickly and efficiently containing and
rem oving th e released, non-toxic mud.

Dakota Access plans to w ith draw w a te r from the Missouri River fo r installation activities and hydrostatic
testing o f th e HDD segment fo r the Missouri River. However, potential impacts on the pallid sturgeon or
suitable habitat present w ith in th e Missouri River w ould be avoided by im plem enting the conditions fo r
perm itted intake structures outlined in th e Corps' Regional Conditions fo r North Dakota applicable to
NWP 12 U tility Line Activities (Corps, 2012) (see Section 3.2.1.2) and as described in th e USFWS Recovery
Plan fo r th e Pallid Sturgeon (USFWS, 2014f). No w ater w ithdraw al from or access to Lake Oahe is required
to com plete the Lake Oahe crossing. The HDD construction m ethod, application o f the HDD Contingency
Plan, and im plem entation o f the Corps' conditions fo r the intake structure w ith in the Missouri River w ould
avoid and minimize potential impacts to the pallid sturgeon.

M aintenance activities w ill not occur w ith in the Missouri River or Lake Oahe; therefore, no impacts on
pallid sturgeon w ould occur. The depth o f the pipeline below th e respective rivers and the design and



                                                                                                               67




                                                                                                USAGE DAPL0071291
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 195 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




operation measures th a t m eet or exceed the respective PHMSA regulations make a release into either
w aterbody extrem ely unlikely. However, in the unlikely event a leak or spill was to occur and reach the
Missouri River or Lake Oahe, impacts w ould be localized. If pallid sturgeon were present in th e area where
th e spill or leak occurred, they w ould likely relocate outside o f th e contam inated area. Further, oil floats
and, as pallid sturgeon are b ottom dwellers prim arily inhabiting th e low er w ater column (USFWS, 2014c),
impacts on pallid sturgeon in th e event o f a spill, w ould be minimal.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the pallid sturgeon.

3.5     Aquatic Resources

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on aquatic resources w ould occur. However, if the objectives o f th e DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on aquatic resources, which w ould likely be sim ilar to or greater than th e proposed
DAPL Project. Impacts associated w ith a fu tu re project developed in response to th e "no action"
alternative are unknown, w hile only tem porary and m inor impacts, if any, on aquatic resources w ould
occur as a result o f the Proposed Action, as described in th e sections below.

3.5.1   Habitat and Communities

                 3.5.1.1    Affected Environment

W est o f W illiston, th e Missouri River is a braided channel varying in w id th from 800 feet to over 1,500
feet, w ith sand bars in many locations. The Yellowstone River confluence w ith the Missouri River is
approxim ately 20 miles west o f W illiston and 3.5 river miles upstream from the proposed Missouri
crossing. East o f W illiston, the Missouri River feeds into Lake Sakakawea, the th ird largest man-made lake
in the U.S. form ed by th e Garrison Dam, several hundred miles downstream . This portion o f th e Missouri
River is home to several fish species, including cu tth ro a t tro u t, rainbow tro u t, brown tro u t, walleye,
northern, and sauger. Am phibians are found along the shores and nearby riparian areas o f the Missouri
River. Common species found near the Missouri River crossing include W oodhouse's toad, the northern
leopard frog, and western chorus frog (Hoberg and Gause, 1992).

Lake Oahe is a 232-m ile-long reservoir th a t extends upriver from th e Oahe Dam on the Missouri River
fro m Pierre, South Dakota, to Bismarck, North Dakota. A pproxim ately three-quarters o f a mile south of
th e proposed pipeline crossing is the confluence o f the Cannonball River into the Missouri. This portion
o f the Missouri River is home to several fish species, including walleye, northern pike, and channel catfish.
Amphibians are found along the shores and nearby riparian areas o f Missouri River. Common species
found near th e Lake Oahe crossing include th e Great Plains toad, W oodhouse's toad, northern leopard
frog, and tig e r salamander (Hoberg and Gause, 1992).




                                                                                                              68




                                                                                               USAGE DAPL0071292
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 196 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                  3.5.1.2   Impacts and Mitigation

The Missouri River, including Lake Oahe, is th e only w aterbody th a t w ould be crossed by the Proposed
Action w ith aquatic resources th a t have potential to be impacted by the Proposed Action.

All subsurface disturbing activities w ould be set back from the banks o f Lake Oahe at the HDD entry point.
This provides a b uffer o f undisturbed land between active construction and the Lake. There is potential,
although very low due to setbacks o f approxim ately 1,100 fe e t on th e west bank and 900 fe e t on the east
bank, fo r sedim ent to be transported from th e workspace into the river during precipitation events, which
could increase th e local tu rb id ity and sedim ent load in th e lake. These increased loads have potential to
te m p orarily affect sensitive fish eggs, fish fry, and invertebrates inhabiting the river. However, sediment
levels w ould quickly attenuate both over tim e and distance and w ould not adversely affect resident fish
populations or perm anently alter existing habitat. By also im plem enting the erosion and sedim ent control
measures specified in th e ECP (Appendix G) and SWPPP (Appendix A), the potential fo r sediment
tra nsp ort is likely avoided or minimized.           Following construction, the ROW w ould be restored,
revegetated, m aintained in an herbaceous or scrub-shrub state, and m onitored in accordance w ith
applicable regulations and p erm it conditions.

A successfully com pleted HDD crossing w ould m inim ize environm ental impacts on Lake Oahe since the
pipeline w ould be installed w ith o u t disturbing th e aquatic and benthic environm ents. However, crossings
via HDD carry a low risk o f an inadvertent release of drilling mud, composed prim arily o f bentonite (a
naturally occurring fine clay) slurry. Increased levels o f sedim entation and tu rb id ity from an inadvertent
release could adversely affect fish eggs, juvenile fish survival, benthic com m unity diversity and health, and
spawning habitat.      Dakota Access' HDD Construction/Contingency Plan (Appendix B) establishes
m onitoring procedures and prescribes measures to be im plem ented to m inimize th e impact in th e event
it occurs. All HDD operations conducted fo r crossing the Lake Oahe w ould adhere to th e HDD Contingency
Plan and applicable perm it conditions to reduce th e likelihood of an inadvertent release to m inimize and
m itigate environm ental impacts.          Dakota Access' construction contractor w ould ensure th a t the
appropriate response personnel and containm ent equipm ent are available onsite to effectively
im plem ent th e HDD Contingency Plan.

In addition to th e crossing o f Lake Oahe, aquatic resources could also be impacted during w ater
w ithdraw al fro m the Missouri River, which is required fo r activities associated w ith th e installation of HDD
and th e hydrostatic testing o f HDD pipeline segment located on the flowage easements. However, w ater
w ithdraw al activities w ould be conducted in accordance w ith all applicable perm it conditions and
regulations and in a m anner th a t w ould not reduce w ater flo w to a point th a t w ould im pair flo w or impact
aquatic life. Intake screens and floats w ould also be utilized, as previously discussed in Section 3.2.1.2, to
prevent entrainm en t o f aquatic life and avoid impacts on aquatic resources. In addition, by placing the
pum p w ith in a secondary containm ent structure on the barge, the potential fo r impacts on aquatic
resources associated w ith accidental fuel spills or leaks is likely avoided or minimized.

The prim ary issue related to impacts on th e aquatic environm ent from operation o f the Proposed Action
w ould be related to a release fro m th e pipeline. For portions o f th e pipeline installed beneath the lake,
th e depth o f th e pipeline profile, increased wall thickness o f the pipe, installation o f rem otely operated
valves on both sides o f the river crossing, and m onitoring o f th e system 24/7 w ould fu rth e r lim it the
potential fo r an inadvertent release into th e waterbody. As a result, operations activities are not



                                                                                                                69




                                                                                                 USAGE DAPL0071293
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 197 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




anticipated to im pact aquatic resources or th e ir habitat. Adherence to th e Dakota Access FRP w ould
m inim ize potential impacts on aquatic w ild life from potential spills during th e operation o f th e pipeline.
In the event o f a leak, Dakota Access w ould w ork aggressively to contain the leak, initiate cleanup
activities, and contact th e appropriate authorities, including the Corps. The FRP is discussed under
Section 3.2.1.2 and a d ra ft o f th e FRP is included in Appendix L.

3.6     Land Use and Recreation

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on land use and recreation w ould occur. Flowever, if th e objectives of the DAPL Project are to be met
under the "no action" alternative, o the r projects and activities w ould be required and these projects
w ould result in th e ir own impacts on land use and recreation, which w ould likely be sim ilar to or greater
than th e DAPL Project. The impacts associated w ith a fu tu re project developed in response to the "no
action" alternative are unknown, w hile only tem porary and m inor impacts or insignificant perm anent
impacts on land use and recreation w ould occur as a result o f th e Proposed Action, as described in the
sections below.

3.6.1   Land Ownership

The proposed 24-inch pipeline w ould cross seven contiguous Corps flowage easements over eight
privately-ow ned parcels (Figure 2) th a t are associated w ith the Buford-Trenton-lrrigation District
(Garrison Dam). Based upon Corps-provided easement docum ents and mapping, th e distance across the
flow age easements on th e north side o f the Missouri River in W illiam s County is approxim ately 14,953
fe e t (2.83 miles).

The flow age easements allow the G overnm ent to flood and saturate th e land, surface, and subsurface of
these properties. Generally, these easements prohibit the construction o f structures fo r human
habitation; provide th a t any o the r structures require w ritte n approval by th e Corps; and provide th a t no
m ineral exploration, excavation or placem ent o f fill m aterial may occur on the easement area w ith o u t the
prio r approval o f the Corps.

The proposed pipeline route w ould also cross federal lands on th e east and west banks o f Lake Oahe in
M o rton and Emmons counties. The distance from the w estern boundary o f federally-ow ned lands to the
eastern boundary o f federally-ow ned lands on both sides of the lake, including the w id th of the lake, at
th e proposed crossing location is approxim ately 6,450 feet. The proposed pipeline w ould be routed to
parallel existing linear infrastructure (an overhead power line and a buried gas transm ission pipeline)
across Lake Oahe in th e same area. The FIDD entry and exit points, measuring approxim ately 200 by 250
feet, w ould be located on private lands, as w ould th e stringing corridor required to facilitate the
installation. The northern boundary o f the Standing Rock Sioux Reservation is located approxim ately 0.55
m ile south o f th e Lake Oahe Project Area.

Dakota Access is securing a 50-foot-w ide perm anent easement th a t is generally centered on the pipeline
(25 fee t on either side o f the centerline). W ithin th e 50-foot-w ide easement, a 30-foot corridor free of
large w oody vegetation, located w ith in flowage easement LL3440E on th e north bank o f the Missouri
River, w ould be required to allow fo r a clear line o f sight once construction is com pleted to perform visual
inspections during operation o f the pipeline. The corridor w ould be m aintained in a vegetative state.



                                                                                                              70




                                                                                               USAGE DAPL0071294
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 198 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.6.2   Land Use

                 3.6.2.1    Affected Environment

Land use w ith in th e Project Area was assigned a classification based on th e principal land characteristic in
a given area.        Aerial photography, th e National Land Cover Database (M ulti-Resolution Land
Characteristics Consortium, 2011), th e M orton County Zoning Map (M orton County, 2014), and the
W illiam s County Comprehensive Plan w ere used to identify and classify general land use fo r the Project
Area (Figures 10 and 11).

Agricultural Land

Agriculture is the prim ary land use w ith in th e Project Area. These lands are prim arily used fo r ranching
and cultivating crops. Agricultural lands allows fo r land uses such as farm ing, ranching, animal feeding
operations, grain storage, and related functions. Agricultural land w ith in the flowage easements are
prim arily pivot irrigated cropland (i.e., areas used fo r production o f annual crops such as corn and
soybeans).

Developed Land

Developed land includes open space around structures such as homes, farmsteads, outbuildings, well
sites, and areas associated w ith roads and ditches.

Open Space

Open space includes all land th a t is not agriculture or developed; namely wetlands, open water,
grasslands, and scrub-shrub. Open space is found prim arily along th e river banks. See sections 3.2 and
3.3 fo r a discussion on w a te r resources and vegetation.

                 3.6.2.2    Impacts and Mitigation

The Proposed Action w ould result prim arily in tem porary, short-term impacts on land use during
construction. Construction activities w ould require th e tem porary and short-term removal of existing
agricultural land from crop and forage production w ith in the construction fo o tp rin t. During construction,
tem porary impacts such as soil com paction and crop damage are possible along the construction ROW.
M itigation measures to m inim ize impacts such as topsoil segregation and decom paction practices w ould
be fu lly im plem ented in accordance w ith th e ECP and SWPPP. Upon the com pletion o f construction
activities, th e Project Area w ould be restored and returned to pre-construction land use.

As m entioned above, much o f th e cropland w ith in the Corps flow age easements uses pivot irrigation
systems. Dakota Access w ould coordinate w ith all landowners on acceptable methods fo r construction
and restoration, including potential impacts to irrigated fields. Compensatory damages w ould be paid
accordingly.

The nearest residence to the Proposed Action on the flow age easements is approxim ately 1,750 fe e t east
o f th e pipe centerline. Tem porary impacts on nearby residences could include inconvenience caused by




                                                                                                             71




                                                                                              USAGE DAPL0071295
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 199 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




noise and dust generated from construction equipm ent and tra ffic congestion associated w ith the
tra nsp ort of equipm ent, materials, and construction workers. Impacts from noise and dust during
construction w ould dim inish w ith distance from these areas and w ould be lim ited to th e tim e o f
construction which w ould typically occur during daylight hours.

The prim ary im pact on fam ily farm s w ould be th e loss o f standing crops and use o f the land w ith in the
w o rk area fo r th e seasons during which DAPL Project-related activities occur, as w ell as potential
dim inished yields fo r a few years fo llo w ing construction. Dakota Access proposes to im plem ent m itigation
measures to m inim ize these potential impacts as described in the ECP. Dakota Access w ould repair
surface drains and drainage tiles disturbed during ROW preparation, construction, and maintenance
activities. Dakota Access w ould repair or replace fences and gates removed or damaged as a result of
ROW preparation, construction, or maintenance activities.

A t Lake Oahe, prim ary im pact on ranching operations w ould be tem porary prohibition o f livestock grazing
in th e construction ROW, workspace areas, and restrictions on livestock m ovem ent across the
construction ROW and workspace areas during construction. Given the narrow, linear nature o f the DAPL
Project and the alignm ent o f the pipeline along property boundaries, livestock grazing reductions and
livestock m ovem ent restrictions w ould be m inor. Long-term or perm anent impacts on fam ily ranches are
not anticipated. Following construction and restoration, th e w ork area w ould be restored and ranching
w ould be allowed to continue over the operational ROW. Landowners w ould be compensated fo r
tem porary loss o f land and low er yields. Grazing activities w ould return to normal after Revegetation of
th e disturbed areas.

Once in operation, a perm anent 50-foot ROW w ould be m aintained except at segments o f the ROW above
th e HDD profile on th e flow age easements (between the HDD workspace and the river shore) th a t w ould
be m aintained by clearing w oody vegetation over a 30 fo o t corridor (a 50 fo o t easement w ould still be
obtained). M aintenance w ould include the removal o f any large trees and shrubs; agricultural land use
w ould not be impacted by maintenance activities in this area. Trees outside o f th e ROW w ould be
protected by Dakota Access in a m anner com patible w ith th e safe operation, maintenance, and inspection
o f th e pipeline. Applicable regulations w ould be adhered to regarding tree and shrub removal from along
th e route. Field surveys have confirm ed th a t no shelter belts w ould be impacted w ith in th e Project Area
or Connected Actions.

Tables 3-12 and 3-13 below detail the acreage o f land use impacts associated w ith the Proposed Action.


                                              Table 3-12
             Land Use Impacts on the Flowage Easements Project Area and Connected Action
                                            Construction Workspace
               Land Use                                                         Permanent ROW (acres) ^
                                                     (acres) ^
 Agricultural Land                                      54.0                                15.1
 Developed                                              1.6                                 0.8
 Open Space                                             6.0                                 2.0
                                 Total                  61.3                                17.9
 ^ Construction Workspace includes the permanent ROW.
 ^ Permanent ROW includes the 50-foot permanent easement and the 30-foot maintenance easement.



                                                                                                             72




                                                                                              USAGE DAPL0071296
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 200 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                             Table 3-13
               Land Use Impacts on the Federal Lands Project Area and Connected Action
                                                                                           Federal Lands -
                                   Construction             Connected Action -
           Land Use                                                                       Permanent ROW
                                 Workspace (acres)        Permanent ROW (acres)
                                                                                              (acres)^
 Agricultural Land                        0.0                        0.0                         0.1
 Open Space                              15.5                        1.1                         1.0
                         Total            15.5                         1.1                      1.2
 ^ Land Use Impacts on federal lands are limited to the maintained 50 foot permanent easement and do not
   include approximately 6.3 acres of permanent easement beneath the HDD profile within the banks of Lake
   Oahe.



Dakota Access w ould obtain and com ply w ith applicable state regulations, county perm its, and zoning and
land use regulations. Permits may include, but are not lim ited to, grade and fill permits, ditch crossing
perm its, road and u tility perm its, and conditional use perm its. Dakota Access w ould retain one or more
Els to m o nito r compliance w ith environm ental conditions of county permits.

3.6.3   Recreation and Special Interest Areas

                 3.6.3.1    Affected Environment

Generally, recreation and special interest areas include federal, state, or county parks and forests;
conservation lands; w ild life habitat management areas; hunter management areas; natural landmarks;
scenic byways; designated trails; recreational rivers; and campgrounds.             Nearby recreational
opportunities in th e vicinity of the Project Area and the Connected Action include W ildlife Managem ent
Areas (WMAs), Lake Oahe, and the Missouri River, none of which are being impacted by the construction,
although th e HDD w ould cross under Lake Oahe itself.

The Missouri River and its shoreline are open to th e public and used fo r recreational activities such as
boating, swimming, and fishing. Because th e flowage easements are federally regulated and privately
owned, there is very lim ited, if any, recreational opportunities w ith in the flow age easements.
A dditionally, th ere is little boating and open w ater angling on th e entire upper end o f Lake Sakakawea
because o f lack of access and extrem ely tu rb id w ater th rougho ut much o f th e recreational season (USAGE,
2007).

Lake Oahe's 2,250 m ile shoreline is open to the public and offers a variety o f opportunities to ou td o o r
recreationists such as fishing, swim m ing, sightseeing, camping, and picnicking. M ore than 1.5 m illion
visitors enjoy Lake Oahe's recreation facilities each year. Fishing is the m ajor recreational activity of
visitors to th e Oahe project, w ith 44% o f visitors engaging in this activity (USAGE, 2010c).

There are no public boat access sites, marinas, or public swim m ing beaches w ith in one mile of the flowage
easements or federal lands crossings. There are no designated state parks or recreation areas, historic




                                                                                                             73




                                                                                              USAGE DAPL0071297
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 201 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




trails, scenic by-ways, designated wilderness or natural areas or o ther sensitive land uses th a t w ould be
affected by the crossings (North Dakota Parks and Recreation Departm ent, 2014).

A t th e flow age easement crossing, the closest N ationwide Rivers Inventory (NRI) segment is a one mile
stretch o f the Missouri River w ith in the Fort Union Trading Post National Historic Site, which is about 9.2
river miles upstream fro m th e crossing. At th e federal lands crossing, th e closest NRI segment is Square
Butte Creek to the O liver/M ercer County Line, which is about 50 river miles upstream from the Project
Area (National Park Service, 2009).

N orth Dakota has approxim ately 54,373 miles o f river, but no designated w ild & scenic rivers (USFWS et
al., 2014).

W ildlife Management Areas

The North Dakota Game and Fish D epartm ent manages th e Trenton and Overlook W MAs; neither of which
are crossed by the Proposed Action. The Trenton W M A encompasses 2,647 acres and is located
southw est of W illiston near Trenton, along th e Missouri River and Lake Sakakawea. A bout 13.55 acres o f
th e Trenton W M A extends into the eastern portion o f flowage easement LL3440E (Figure 6) but the
closest edge is approxim ately 800 fee t from th e HDD workspace. This area is largely prim itive and the
landscape has been allowed to develop naturally. The W M A provides recreational opportunities fo r
fishing and hunting w aterfow l, deer, and pheasants. The Overlook W M A encompasses 32 acres and is
located 6.5 miles north o f Cartw right, about 1,430 feet w est o f th e HDD entry point in McKenzie County.
The Overlook W M A is only accessible by boat and is used fo r hunting deer.

The Oahe W M A is located along Missouri River and Oahe Reservoir, about 17 miles south o f Bismarck
(USGS, 2014b). The proposed pipeline at th e Lake Oahe crossing is about 14.5 miles south of the Oahe
W MA.

W ater Quality and Recreation

Section 303(d) o f th e CWA requires states to subm it th e ir lists o f w ater quality lim ited waterbodies. This
list has become known as th e "TMDL list" or "Section 303(d) list." A TMDL is th e am ount of a particular
po lluta n t a stream, lake, estuary, or o ther w aterbody can "handle" w ith o u t violating State w ater quality
standards. The final 2014 Section 303(d) list, which was subm itted to Environm ental Protection Agency
(EPA) as part o f th e integrated Section 305(b) w ater quality assessment report and Section 303(d) TMDL
list, includes a list of waterbodies not m eeting w ater quality standards and those fo r which a TMDL is
needed.

Lake Sakakawea is on th e 2014 Section 303(d) list o f impaired waters as not supporting fish consum ption
because o f high levels o f m ethyl-m ercury; however. Lake Sakakawea w ould not be crossed or otherwise
impacted as a result o f the Proposed Action on th e flowage easements. Lake Oahe is not listed as needing
a TMDL and fu lly supports recreational use (North Dakota Departm ent o f Health, 2015). Because Lake
Oahe already meets the state w a ter quality standards, the Proposed and Connected Action Areas are not
anticipated to result in impacts th a t w ould cause an im pairm ent o f w ater quality or the designated use of
Lake Oahe.




                                                                                                               74




                                                                                                USAGE DAPL0071298
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 202 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Wilderness Areas

The Wilderness Act o f 1964 defines wilderness as lands th a t may contain ecological, geological, scientific,
educational, scenic or historical value. There are three designated wilderness areas w ith in North Dakota:
Chase Lake, Lostwood, and Theodore Roosevelt Wilderness Areas. There are no designated wilderness
areas, and no designated Nature Preserves or Natural Areas w ith in one mile o f either crossing (Wilderness
Institute, 2014).

Standing Rock Sioux Reservation

The Standing Rock Sioux Reservation is situated at the border o f South Dakota and North Dakota,
approxim ately 0.55 miles south o f the Lake Oahe Project Area. The Cannon Ball River is located along the
northern border o f th e Standing Rock Sioux Reservation in Sioux County, North Dakota. The western
border o f th e reservation ends at th e Perkins County, South Dakota and Adams County, North Dakota
lines, w hile th e Missouri River is the eastern border o f th e reservation. The southern border o f the
reservation is located w ith in Dewey and Ziebach counties in South Dakota. The to ta l land area o f the
Standing Rock Sioux Reservation is 2.3 m illion acres and o f that, 1,408,061 m illion is trib a lly owned. The
Standing Rock Sioux Tribal members are descendants o f the Teton and Yankton Bands o f the
Lakota/Dakota Nations (Standing Rock Sioux Tribe, 2016). Some o f the many attractions w ith in the
reservation include Sitting Bull Grave Site, Standing Rock M onum ent, Fort Manuel, Lewis and Clark Legacy
Trail, and th e Standing Rock Tribal Office (Standing Rock Tourism, 2016). The terrain o f the reservation
consists o f river valleys, lakes, woodlands, prairies, and rolling hills. Big game on th e reservation includes
w h ite tail deer, m ule deer and antelope, w hile small game includes jackrabbit, cottontail, and squirrel
(Standing Rock Sioux Tribe and Standing Rock Sioux Tribe Game & Fish Departm ent, 2016).

                  3.6.3.2   Impacts and Mitigation

The recreational enjoym ent o f w ild life (such as hunting or bird watching) may be tem porarily affected by
construction activities, depending on season and location. Flowever, this effect w ould be short-term .

Recreationists may observe ROW clearing along the river banks. Because the pipeline w ould cross
underneath the river via the FIDD m ethod, there w ould be no disruption to the course or cross-current of
th e river, and w ould not im pact lake/river recreationists.

3.7     Cultural and Historic Resources and Native American Consultations

Section 106 o f the National Historic Preservation Act o f 1966 (NHPA), as amended, and im plem ented by
36 CFR Part 800, requires Federal lead agencies to assess th e effects o f perm itted actions on historic
properties. Historic properties are defined in th e NHPA as prehistoric and historic archaeological sites,
standing structures, or o the r historic resources listed in, or eligible fo r listing in the National Register o f
Historic Places (NRHP).

Under th e "no action" alternative, Dakota Access w ould not construct the DAPL Project and no impacts
on cultural and historic resources w ould occur. However, If th e objectives o f the DAPL Project are to be
m et under th e "no action" alternative, o ther projects and activities w ould be required and these projects
could result in th e ir own impacts on cultural and historic resources, which w ould likely be sim ilar to or



                                                                                                                75




                                                                                                 USAGE DAPL0071299
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 203 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




greater than th e DAPL Project. The "no action" alternative w ould likely result in an increase in truck and
rail tra ffic th a t could have an adverse effect on cultural, historic and Native American resources.
Furtherm ore, impacts to resources associated w ith these methods may not be identified and evaluated
because th e protections afforded under Section 106 o f th e NHPA w ould not apply unless a federal perm it
w ere to be required.

3.7.1   Cultural Resources Studies

The scope o f the cultural resource analysis was designed to be com m ensurate w ith th e Proposed Action.
The Proposed Action is to authorize th e crossing o f federal flow age easements near the upper end o f Lake
Sakakawea north o f the Missouri River in W illiam s County, North Dakota and federally owned lands at
Lake Oahe in M orton and Emmons counties. North Dakota.

The cultural resource inform ation fo r th e Project Area, and fo r areas in th e vicinity o f th e Proposed Action
(to provide context) was obtained through a com bination o f cultural resources investigations
commissioned by Dakota Access on private lands w ith in a 400-foot-w ide linear corridor as defined by the
DAPL centerline and previous cultural investigations conducted on private lands adjacent to the Proposed
Action area, and previous cultural investigations conducted on federal lands.             New cultural resources
investigations w ere not conducted on federal lands as part o f the Proposed Action, as no impacts are
anticipated to occur on federal lands.

Based on data com piled fro m previously executed archaeological investigations, it is recognized th a t much
o f th e region has been inhabited by human populations fo r approxim ately 12,000 years. Throughout
much o f the state the recorded prehistoric occupations range from Paleoindian Period encampments to
Late Prehistoric Period sites. M ultip le sites have been explored th a t suggest th e area was inhabited by
societies adapted fo r lifestyles on th e Plains and in the various geographical regions of th e state dating
back to 6000 BC. The current Project Area has a m oderate to high probability fo r archaeological deposits
based on proxim ity to perm anent w a ter sources, topography, lack o f significant ground disturbances, and
depositional processes.

                  3.7.1.1   Affected Environment

Flowage Easements, Williams County, North Dakota

The Missouri River is a large perennial river th a t serves as the border between W illiam s and McKenzie
counties. North Dakota. The flow age easements consist o f a series o f expansive agricultural fields located
on the northern side of the River. W hile th e individual tracts are privately owned, the USAGE maintains
easement rights across these tracts to facilitate flo o d w a te r control th ro u g h o u t the region. The DAPL
Project proposes to traverse certain sections of these easements, and install th e pipeline via HDD under
th e Missouri River. As these tracts are federally managed, cultural resources investigations were
conducted in accordance w ith Section 106 o f the NHPA, and in compliance w ith th e North Dakota State
Historic Preservation Office (NDSHPO) Guidelines Manual fo r Cultural Resources Inventory Projects
(SHSND, 2012). Specifically, th e cultural resources investigations were confined to a 400-foot-w ide linear
corridor (survey corridor), as defined by the DAPL centerline. Prior to field investigations, a Class I
lite ra tu re and records search was conducted w ith in an expanded study area corridor, which extended fo r
a m ile on either side o f the DAPL centerline. The Class I literature review determ ined th a t th e DAPL survey



                                                                                                                76




                                                                                                 USAGE DAPL0071300
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 204 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




corridor traverses one previously recorded site (32WI1367), and th a t portions of the DAPL survey corridor
have been subject to previous surveys (Larson et al. 1987). Site 32WI1367, also known as the Buford-
Trenton Irrigation System (BTIS), is a National Register nom inated cultural resource consisting o f a
pum ping plant, main canal, and associated irrigation components. The BUS construction began in 1940
and continued through the 1950's managed by the D epartm ent o f Interior, W ork Progress A dm inistration,
and th e Farm Security A dm inistration. The DAPL survey corridor traverses one o f th e extant irrigation
canals listed as a contributing elem ent o f the BTIS in the northeastern corner o f Section 30 of Township
152 North, Range 103 West.

The Class ll/lll inventory investigations w ith in the DAPL survey corridor across the flow age easements
consisted o f a com bination o f pedestrian surveys and shovel probing. Archaeologists walked along fixed
transects spaced 30 m (98 ft.) apart w ith in the survey corridor, and systematically excavated shovel probes
across high probability settings, or in areas w ith low surface visibility. The Class ll/lll investigations
resulted in th e revisit o f the portion o f Site 32WI1367 w ith in the survey corridor, and the docum entation
o f a new prehistoric site (32MZ2874) located on the southern banks o f the Missouri River (Appendix I).
The assessment o f site 32W I1367 consisted o f mapping and docum entation o f the canal feature. No
artifacts, evidence o f features, or o th er undocumented components were noted. Dakota Access has
designed an HDD to install the pipeline below this canal feature. Additionally, th e HDD workspace w ould
be off-set a sufficient distance to ensure th a t no com ponents or associated features o f this canal w ould
be adversely impacted.

As site 32MZ2874 is located on the southern banks o f the Missouri River, it is not located on USACE-
managed flow age easement tracts. However, the site is referenced herein given its proxim ity to the
workspace associated w ith HDD o f the Missouri River. Site 32MZ2874 is a small prehistoric a rtifact scatter
th a t is recom m ended as unevaluated fo r listing in the NRHP pending fu rth e r testing investigations. The
HDD workspace on the southern banks o f th e Missouri River has been designed to avoid im pacting this
site and is situated beyond th e mapped site boundary. Exclusionary fencing w ould be installed along the
eastern border o f th e HDD workspace during drilling activities to prevent inadvertent impacts or
trespassing.

Federal Lands - Lake Oahe Crossing: Morton and Emmons Counties, North Dakota

The proposed crossing o f federally-ow ned tracts at Lake Oahe is located in Section 10, Township 134
North, Range 79 W est in M orto n County, North Dakota, and Section 11, Township 134 North, Range 79
W est in Emmons County, North Dakota (see Figure 3). Dakota Access proposes to install the pipeline via
HDD below Lake Oahe, and th e HDD entry and exit point workspaces and stringing area w ould be located
on private land beyond the boundary o f the federal lands. W hile no activities associated w ith the
Proposed Action w ill occur on th e surface of federal lands, the HDD entry and exit point workspaces and
stringing areas are considered Connected Actions, and as such w ere subject to cultural resources
investigations in accordance w ith Section 106 o f the NHPA, and in compliance w ith th e NDSHPO
Guidelines (SHSND, 2012). No new cultural resources investigations of any kind w ere conducted on
federal lands in association w ith th e DAPL project as no impacts are anticipated to occur between the
HDD workspaces on either side o f Lake Oahe. However, previous cultural resource surveys o f USACE
managed lands are cited in the report; Dakota Access Pipeline Project, Class ll/lll Cultural Resources
Inventory o f th e Crossings o f Flowage Easements and Federal Lands. Prepared collaboratively fo r Dakota
Access, LLC in March of 2016 (Landt and McCord 2016). This report is contained in Appendix I.



                                                                                                            77




                                                                                             USACE DAPL0071301
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 205 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Prior to field investigations, a Class I literature and records search was conducted w ith in an expanded
study area corridor, which extended fo r a mile on either side of the DAPL centerline. The Class I literature
review determ ined th a t no previously recorded sites are located on the private lands w ith in the
Connected Action areas (i.e., HDD workspaces and stringing area). A to ta l o f 43 previously recorded
cultural resources are located w ith in th e study area corridor. Of these, 18 are located in M orton County
and th e rem aining 25 are located in Emmons County. These consist o f isolated finds and site leads (i.e.,
resources reported to the SHSND w ith o u t field verification), prehistoric artifact scatters, and historic
resources. A to ta l o f 10 o f the previously recorded sites w ith in th e study area corridor are located on
federal lands directly adjacent to the banks o f Lake Oahe and the Cannonball River. Specifically, seven o f
these sites (32M 00001, 32MOx0004, 32M 00054, 32M 00060, 32M 00061, 32M 00064, and 32MO0259)
are located in M orton County, on the w estern side of the Lake Oahe. The remaining three sites
(32EM0019, 32EM0021, and 32EM0221) are located in Emmons County, on th e eastern side of Lake Oahe.
A m ore comprehensive discussion o f these sites and associated mapping detail is provided in Appendix I.

The Class ll/lll inventory investigations at Lake Oahe to o k place exclusively w ith in the Connected Action
areas located on private lands beyond the lim its federal lands (i.e., HDD workspaces and stringing area).
The Class ll/lll inventory investigations w ith in th e Connected Action areas associated w ith th e Lake Oahe
crossing consisted o f a com bination o f pedestrian surveys and shovel probing. Archaeologists walked
along fixed transects spaced 30 m (98 ft.) apart w ith in the survey corridor, and systematically excavated
shovel probes across high probability settings, or in areas w ith low surface visibility. The Class ll/lll
investigations w ith in the Connected Action areas resulted in the docum entation o f one new
archaeological site (32MO570). This site consists o f a singular lithic flake in isolated contexts and is
recom m ended as not eligible fo r listing in the NRHP and no fu rth e r w ork is w arranted.

                 3.7.1.2   Impacts and Mitigation

The impacts a ttrib uta ble to the HDD on cultural resources w ould not be significant. The geotechnical
analysis perform ed to support the HDD crossings supports the lack of anticipated impacts due to
vibrations related to construction and HDD activities. Vibrations produced during th e HDD process are
not o f a m agnitude th a t w ould cause any impacts to cultural resources. Vibrations associated w ith the
drilling process w ould be lim ited to the im m ediate vicinity o f th e drilling equipm ent on the surface and
downhole. The vibrations produced from the downhole tooling are o f a very low m agnitude and are
attenuated very quickly by the fo rm atio n such th a t vibrations are never fe lt at the surface. A vibration
m onitoring analysis conducted by GeoEngineers in 2009 found th a t peak particle velocities were less than
0.07 inches/second w ith in approxim ately 50 feet o f HDD operations. These velocities are well below th a t
which w ould cause any structural impacts and moreover, th e recorded vibrations were, in fact,
im perceptible to human senses (GeoEngineers, 2009).

Flowage Easements

Dakota Access has conducted Class ll/lll inventory surveys w ith in th e 400-foot-w ide survey corridor across
th e flowage easements. The survey investigations resulted in the revisit o f site 32WI1367 on the northern
side of the Missouri River, and th e docum entation of site 32MZ2874 on the southern banks o f the Missouri
River. Impacts to site 32W I1367 w ould be avoided via HDD to ensure the integrity o f construction design
fo r these historic-age features is preserved. Additionally, no impacts to site 32MZ2874 are anticipated to
occur as the HDD workspace is located beyond the site boundaries.                        These management



                                                                                                            78




                                                                                             USACE DAPL0071302
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 206 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




recom m endations have been included as viable avoidance options in th e Class ll/lll report subm itted to
th e USACE regional archaeological staff. A m ore thorough discussion o f the cultural setting, relevant
previous studies, as w ell as geologic and geom orphic analysis of th e region, and results of th e current
survey w ith associated mapping detail can be referenced in Appendix I.

Federal Lands

Dakota Access has conducted Class ll/lll inventory surveys w ith in the Connected Action areas on private
lands associated w ith the Lake Oahe crossing. These investigations resulted in the docum entation o f one
prehistoric site consisting o f a singular lithic artifact (32MO570). This site is recom mended as not eligible
fo r listing in th e NRHP. No additional cultural resources w ere docum ented w ith in th e Connected Action
areas associated w ith th e Lake Oahe crossing. W hile the Class I background review determ ined th a t eight
previously recorded sites are located on federal lands, no evidence o f these sites was encountered w ithin
th e Connected Action areas on private lands.

Dakota Access' UDP was developed (Appendix F) fo r use during all DAPL Project construction activities
regardless o f jurisdiction or landownership. The UDP describes actions th a t w ould take place in th e event
th a t an undocum ented cultural resource site is discovered during construction activities. The UDP
explicitly calls fo r w ork to stop until the correct a u thority or agency can be contacted and th e find can be
properly evaluated.

3.7.2    Native American Consultations

The 2004 Program m atic Agreem ent fo r the Operation and M anagem ent o f the Missouri River Main Stem
System fo r Compliance w ith the National Historic Preservation Act, as amended, (PA) was developed to
address challenges associated w ith cultural and historic resource impacts involved w ith th e ongoing
operation and maintenance o f the Missouri River system o f main stem dams. This agreem ent outlines
th e processes through which affected Tribes, agencies and interested parties are consulted by th e Corps
on issues th a t may affect im p o rtan t historic and cultural resources. These processes are essential to fu lfill
th e Corps' Tribal Trust Responsibilities and also comply w ith Section 106 of the NHPA.

The United States D epartm ent o f Defense recognizes its tru s t responsibilities to federally recognized
Indian Tribes and has established an American Indian and Native Alaskan Trust policy th a t directs its
agencies, including th e Corps, to w ork w ith Tribes in a manner th a t incorporates tribal needs, traditional
resources, stewardship practices, and the developm ent o f viable working relationships. In addition, EO
13175, Consultation and Coordination w ith Indian Tribal Governments (EO 13175), outlines policy and
criteria regarding th e establishm ent o f "regular and meaningful consultation and collaboration w ith tribal
officials in the developm ent o f Federal policies th a t have tribal implications, and are responsible fo r
strengthening the governm ent-to-governm ent relationship between the United States and Indian tribes"
(https://w w w .w hiteh ouse.gov/the-press-office/m em orandum -tribal-consultation-signed-president).

EO 13175 continues w ith the follow ing; "H istory has shown th a t failure to include the voices o f tribal
officials in form u latin g policy affecting th e ir com m unities has all to o often led to undesirable and, attim es,
devastating and tragic results. By contrast, m eaningful dialogue between Federal officials and tribal
officials has greatly im proved Federal policy tow ard Indian tribes. Consultation is a critical ingredient o f a




                                                                                                                    79




                                                                                                    USACE DAPL0071303
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 207 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




sound and productive Federal-tribal relationship". These concepts are reflected in th e Omaha District's
PA/Section 106 coordinatio n/consultation process.

Section 106 coordination/consultation was initiated fo r th e Proposed Action beginning in October 2014,
w ith an inform ation le tte r regarding a prelim inary geo-testing o f th e proposed Oahe crossing alignm ent.
Per th e Omaha District's usual process, this le tte r was sent to Tribes, THPOs, SHPOs, agencies and
interested parties, soliciting inform ation relevant to the Proposed Action. Subsequently, the same
process was utilized in circulating inform ation and pertinent data fo r the installation o f the Oahe pipeline
crossing, in the form o f a le tte r distributed in July 2015. The USACE recom mended a "No Historic
Properties Subject to Effect" D eterm ination to the North Dakota SHPO and th e SHPO concurred on April
22, 2016.

3.8      Social and Economic Conditions

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project and no impacts
on social and economic conditions w ould occur. Although th e impacts associated w ith a fu tu re project
developed in response to the "no action" alternative are unknown, if the objectives o f the DAPL Project
are to be m et under the "no action" alternative, o ther projects and activities w ould likely be required (e.g.
transportation o f oil by tru ck or rail). A lternative shipping methods w ould likely result in th e ir own impacts
on social and economic conditions, such as increases in vehicular accidents and personal injury, worsening
tra ffic congestion, and increased infrastructure deterioration.

The overall DAPL Project is a $3.78 billion dollar investm ent directly im pacting th e local, regional, and
national labor force by creating nearly 12,000 construction jobs. Dakota Access has publically com m itted
to utilizing American labor to build the pipeline. Dakota Access has team ed up w ith th e various craft and
labor unions in th e DAPL Project regions and nationally to ensure th e DAPL Project is constructed by highly
qualified and experienced local and regional labor resources. These construction jobs w ould create
considerable labor income and state income tax revenue - including the generation o f m ore than $13.4
m illion in ad valorem taxes. Upon authorization, the DAPL Project w ould put welders, mechanics,
electricians, pipefitters, heavy equipm ent operators, and others w ith in the heavy construction industry to
w ork.

3.8.1    Demographics, Employment, Income and Economic Justice

                  3.8.1.1    Affected Environment

The Proposed Action at the flow age easements and th e Missouri River are in McKenzie County and
W illiam s County. The tw o census tracts (CT) crossed are CT9625 and CT 9535, respectively. Demographic
inform ation including population, income, and em ploym ent statistics fo r these census tracts, counties in
th e general geographic area, and the state o f North Dakota are provided in Table 3-14. The industries
em ploying the greatest num ber of persons in these census tracts is agriculture follow ed by educational
services health care and social assistance fields; and construction.

A t the Lake Oahe crossing, tw o Census tracts are crossed, CT9665 in Emmons County and CT204 in M orton
County. Demographic inform ation including population, income, and em ploym ent statistics fo r these
census tracts, counties, and the state o f North Dakota are provided in Table 3-15. The to p three industries



                                                                                                                 80




                                                                                                  USACE DAPL0071304
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 208 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




providing em ploym ent in Emmons County are agriculture follow ed by educational services, health care
and social assistance fields, and then construction. Educational services, health care and social assistance
are th e leading industry employers in CT204 in M orton County follow ed by agriculture and retail trade.
Although not directly affected by the Proposed Action or Connected Action Areas, Sioux County borders
th e Missouri River to the w est and is south of the Lake Oahe crossing point. Due to proxim ity of this
county to th e project, it has been incorporated as part o f the geographical area fo r the county baseline
data fo r analysis purposes relating to the Lake Oahe crossing.

                 3.8.1.2    Impacts and Mitigation

The Proposed Action is assumed to have a short construction w indow w ith a small num ber of construction
w orkers dedicated to these crossings. It is possible th a t counties w ith in the general Project Area
(McKenzie, W illiams, M orton, Emmons, and Sioux) could experience short-term tem porary effects to the
local econom y through induced spending from construction employees working on th e crossing. No
residential homes or farm s w ould be relocated resulting fro m the proposed action. Additionally, no
dem ographic changes in th e Census tracts affected or the counties representing in th e geographical area
are anticipated because no perm anent em ploym ent w ould be created as a result o f the Proposed Action.

The DAPL Project also has trem endous secondary and sustainable economic benefits to th e United States
by supporting energy independence, increasing em ploym ent opportunities, and adding to demand in
many m anufacturing sectors, which w ould be a boost to the overall economy. W hen considering the
economic impact and benefit, once U.S. workers are em ployed on the DAPL Project, consistent w ith most
infrastructure projects, th e w orkers w ould spend th e ir earnings in th e com m unities w here they w ork and
live, resulting in m ultiplied economic impacts th a t w ould be nearly $5 billion ju st during th e construction
phase. This economic im pact w ould affect m anufacturing in many dom estic sectors such as the follow ing
examples. It results in new vehicles being purchased, which positively impacts the auto industry. It w ould
result in new homes being built, which improves and increases the housing construction, resale, and
lending business located in th e region and across the U.S. It impacts the food industry by requiring m ore
food services and products to be delivered and consumed in the DAPL Project region. And it delivers
abundant American energy to U.S. markets, thereby enhancing supply. The list could continue w ith a
description o f many secondary benefits, but in summary, th e economic impact to the U.S. as w ell as the
im m ediate region w here the pipeline is located is considerable.




                                                                                                              81




                                                                                               USACE DAPL0071305
                            Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 209 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016



                                                             Table 3-14
            M inority and Low income Popuiation Statistics for the Flowage Easements Project Area and Connected Action
                                                                                        Percent
                                                                                       Native
                                                                 Am.
                                                                                      Hawaiian                                   Persons
                            Total                    Black or   Indian                            Some    Two or     Total
   Geographic Area                                                                      and                                     Below the
                          Population       W hite    African     and      Asian                   Other   More      Minority
                                                                                       Other                                     Poverty
                                                       Am.      Alaska                            Race    Races    Population
                                                                                       Pacific                                    Level
                                                                Native
                                                                                      Islander
state
 North Dakota               704,925         89.20      1.53      5.25      1.15         0.04      0.73     2.10      10.80        11.9
Counties W ithin Baseline Analysis (Baseline Area)
 McKenzie                    8,333          78.98     0.22      17.16     0.60          0.00      1.04     2.00      21.02        14.6
Williams                     27,066         90.76      1.12      4.16     0.55          0.03      1.27     2.12       9.24         8.2
Average                      17,700        84.87      0.67      10.66     0.58          0.01      1.16     2.06      15.13        11.40
Proposed Action Area
CT9625                        1,522         97.50     0.00       1.05     0.20          0.00      0.53     0.72       2.5          5.8
CT9535                        1,708         74.41     0.47      17.15     0.00          0.00      0.00     7.96      25.59         7.7
Average                      1,615         85.96      0.23       9.10     0.10          0.00      0.26     4.34      14.04        6.75
State Comparison to Proposed Action Area
 Proposed Action            -703,310        -3.24     -1.30      3.86     -1.05         -0.04     -0.46    2.24       3.24        -5.15
County Comparison to Proposed Action Area
 Proposed Action            -16,085         1.09      -0.43     -1.56     -0.48        -0.01      -0.89    2.28      -1.09        -4.65

Source: U.S. Census Bureau, American Community Survey (2010-2014 5-year estimates).
Note: totals may not sum across the table due to rounding used in data collection.




                                                                                                                                           82




                                                                                                                                  USACE DAPL0071306
                               Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 210 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016



                                                               Table 3-15
                                M inority and Low income Population Statistics for Federal Lands Project Area
                                                                                     Percent
                                                         Am.                Native
  Geographic        Total                    Blacker    Indian            Hawaiian        Some       Two or                    Persons Below
                                                                                                              Total Minority
     Area         Population       W hite    African    and       Asian   and Other       Other       More                      the Poverty
                                                                                                               Population
                                               Am.     Alaska                Pacific       Race       Races                        Level
                                                       Native               Islander
 state
 North Dakota       704,925         89.20      1.53      5.25     1.15        0.04         0.73       2.10        10.80            11.9
 Counties W ithin Baseline Analysis (Baseline Area)
 Morton              27,439         93.98      0.50      3.70     0.20        0.00         0.50       1.30         6.20             8.7
 Emmons               3,491         99.28      0.00      0.23     0.17        0.00         0.00       0.32         0.72            13.5
 Sioux                4,317         13.67      0.02     82.26     0.25        0.07         0.53       3.20        86.33            36.4
 Average             15,465        68.98       0.17     28.73     0.21        0.02         0.34       1.60        31.08            58.6
 Proposed Action Area
 CT204                3,143         96.5         0       1.4        0          0               0.8     1.3         3.5              4.4
 CT9665               3,491         99.3         0       0.2       0.2         0               0       0.3         0.7             13.5
 Average              3,317        97.88       0.00      0.83     0.09        0.00         0.40       0.81         2.12            8.95
 State Comparison to Proposed Action Area
 Proposed
                    -701,608        8.68       -1.53    -4.42     -1.07      -0.04         -0.33      -1.29       -8.68            49.65
 Action
 Baseline Area Comparison to Proposed Action Area
 Proposed
                     -12,148        28.90      -0.17    -27.90    -0.12      -0.02         0.05       -0.79       -28.96           -2.95
 Action
 Source: U.S. Census Bureau, American Community Survey (2010-2014 5-year estimates).
 Note: totals may not sum across the table due to rounding used in data collection.




                                                                                                                                           83




                                                                                                                                     USACE DAPL0071307
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 211 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.9     Environmental Justice

EO 12898, Federal Actions to Address Environm ental Justice in M in o rity Populations and Low-income
Populations, requires federal agencies to identify and address disproportionately high and adverse human
health or environm ental o f th e ir programs and policies on m inority and low-incom e populations and
com m unities and Indian tribes. The CEQguidance suggests th a t an environm ental justice population may
be identified if "th e m in o rity population percentage of th e affected area exceeds 50%, or if the m inority
population percentage o f the affected area is m eaningfully greater than the m in o rity population in the
general population or other appropriate unit o f geographic analysis" (CEQ, 1997). The CEQ defines low-
income populations based on an annual statistical poverty threshold. In 2013, the poverty threshold fo r
th e 48 contiguous states fo r an individual under th e age o f 65 living alone was $12,119 (U.S. Census
Bureau, 2014).

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project and no
environm ental justice impacts w ould occur. However, If th e objectives of th e Project are to be m et under
th e "no action" alternative, o th e r projects and activities w ould be required and these projects could result
in th e ir own environm ental injustice impacts, which w ould likely be sim ilar to or greater than the proposed
Project. It is reasonable to assume th a t alternative methods of crude oil transportation w ould be relied
on to m eet m arket demands. M in o rity or low income com m unities along utilized rail lines or truck routes
could be affected by increasing noise and creating transportation delays due to the substantial increasing
truck tra ffic on county, state and interstate highways as w ell as rail tra ffic across railroad crossings.

3.9.1   Affected Environment

Transportation projects, such as under th e Federal Transit A dm inistration, and natural gas pipeline
projects under the Federal Energy Regulatory Commission (e.g. Docket Nos. CP12-507-000 and CP12-508-
000, DOE FE 12-97-LNG, and FERC/EIS-0252F), typically use a 0.5 mile buffer area to examine
Environmental Justice effects. The census tracts crossed by the Proposed Action encompass an area
greater than 0.5 m ile radius fo r th e project; therefore additional census tracts w ere not evaluated.

Since tw o census tracts are w ith in 0.5 mile o f th e Flowage Easements at the Missouri River, and another
tw o census tracts are located w ith in 0.5 mile o f the federal lands at Lake Oahe, an average of the
dem ographic data from tw o respective census tracts was compared to the average demographic data of
th e counties in the general vicinity o f each crossing as well as th e state o f North Dakota dem ographic data.

For th e Flowage easements and Missouri River crossing, which are generally centrally located w ithin
McKenzie and W illiam s Counties, the averaged data from those tw o counties was used to obtain the
Baseline Area data set.

Lake Oahe crossing is generally centrally located w ith in Emmons County on th e east side o f the Lake,
how ever it is near the southern boundary o f M orton County. Therefore Sioux County (located greater
than 0.5 miles) was included in the geographical area o f the Lake Oahe. Thus M orton, Emmons, and Sioux
county data was averaged to obtain the Baseline Area data set.




                                                                                                              84




                                                                                               USACE DAPL0071308
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 212 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.9.2   Impacts and Mitigation

For analyzing impacts to the m in o rity and low income populations at th e Proposed Action Area at the
flow age easements and Missouri River Crossing, Census Tracts CT9625 and CT9535 were compared to the
averaged county baseline (McKenzie and W illiam s Counties - "Baseline Area") data and then to th e state
data to determ ine if there w ere any siting concerns relative to Environmental Justice.

The m ino rity population o f the Proposed Action Area at th e Missouri River is greater than th e state as a
w hole (3% greater) but low er than surrounding county geographical area (1% lower). N either of these
differences is considered meaningful.

The percentage o f the population below th e poverty level fo r th e Proposed Action Area at the Missouri
River is 5% low er than th e state as a w hole and also 5% low er than surrounding county geographical area.
These differences are not considered m eaningful.

For analyzing impacts to the m ino rity and low income populations at the Lake Oahe Crossings, data fo r
th e averaged Census Tracts (CT204 and CT9665) was compared to the averaged county baseline (M orton,
Emmons and Sioux - "Baseline Area") fo r the county geographical area (M orton, Emmons, and Sioux
Counties - "Baseline Area") data and then to th e state to determ ine if there w ere any siting concerns
relative to Environmental Justice.

Based on this analysis, th e m in o rity population o f the Proposed Action Area at Lake Oahe is low er than
th e state as a w hole (9% lower). Although th e average m inority population o f the counties geographical
baseline is greater than the state as a w hole, the m in o rity population in th e averaged census tra c t of the
Proposed Action Area at Lake Oahe is much low er than surrounding county geographical area. In this
case, the census tracts associated w ith the Proposed Action Area at Lake Oahe have a m eaningfully low er
m in ority percentage (29% lower) than th e Baseline Area consisting o f th e three county area.

No appreciable m ino rity or low -incom e populations exist w ith in th e Census tracts directly affected by the
Proposed Action at either crossing (Tables 3-14 and 3-15). No local com m unity w ith appreciable m inority
or low -incom e populations exists at either the crossing o f federal lands or flowage easements (Tables 3-
14 and 3-15). Based on this analysis, there is no concern regarding environm ental justice to m inority
populations at the Proposed Action Area at th e Missouri River Crossing or at Lake Oahe.

                 3.9.2.1    Standing Rock Sioux Reservation

It is recognized th a t th e Standing Rock Sioux Tribe is downstream o f the Lake Oahe Crossing, which has a
high population o f m inorities and low -incom e residents. Dakota Access and the Corps sought to engage
Tribal representatives in th e vicinity o f th e Proposed Action, and especially the Standing Rock Sioux Tribe,
in discussion as to the nature o f the Project, cultural resource concerns and th e Lake Oahe crossing. The
initial contact by Dakota Access w ith the Standing Rock Sioux Tribe was in October o f 2014 w ith additional
contacts and subsequent meetings occurring through March 2016. Direct and Indirect impacts from the
Proposed and Connected Actions w ill not affect members o f the Standing Rock Sioux Tribe or the Tribal
reservation. The Lake Oahe crossing w ill be installed via FIDD beneath th e river from private lands
adjacent to Corps owned lands to avoid impacts to environm ental resources (e.g. w ater, soil, cultural
resources, vegetation, etc.). The FIDD drilling process is an expensive technique th a t itself is a m itigation



                                                                                                              85




                                                                                               USACE DAPL0071309
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 213 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




measure w ith no anticipated effects to th e environm ent including vibration or frac-out w ith in or outside
o f the Proposed Action fo r th e short duration o f th e construction project (see sections 2.3.2.6 and 3.1.1.2
fo r additional inform ation).

As discussed in m ore detail in sections o f this Environmental Assessment (i.e. Section 2.3.1), Dakota Access
utilized a complex routing model to examine alignm ent options fo r the Project and an array o f
environm entally protective criteria w ere used to cite the Project. Perhaps m ost im portant fo r purposes
o f this analysis, are the citing criteria th a t require the avoidance o f Tribal reservations and federal lands.
Since th e route must cross the Missouri River, it was not practicable to fu lly avoid federal land (see
discussion in Section 2.1.3), and hence th e necessity fo r this EA. However, m aintaining a m inim um
distance o f 0.5 m ile from Tribal land, consistent w ith o ther federal citing criteria, avoided tribal land as a
m itigation and routing measure. Furtherm ore, the Proposed Action, and hence the route and installation
methods, is at a distance sufficient such th a t there are no direct or indirect impacts to Tribal lands,
members or protected cultural resources.

A nother prim ary consideration in routing included a preference fo r co-locating th e route w ith existing
infrastructure. The Proposed Action is co-located w ith existing power and pipe lines across Lake Oahe
and partially co-located w ith a gas line at the flow age easements and Missouri River. As examples, the
routing model affirm atively excludes such locations as Tribal lands. National Registry Historic Places,
wilderness, parks, landmarks and an array o f other special needs areas.

As a result o f this routing criteria, th e nature o f th e action (construction associated w ith laying an
underground oil pipeline), the short te rm duration o f effects, construction and operation on private lands,
th e concurrent reclam ation activities, state o f the art construction techniques, use o f high quality
materials and standards th a t m eet or exceed federal standards, there w ill be no direct or indirect effects
to th e Standing Rock Sioux trib e. This includes a lack o f im pact to its lands, cultural artifacts, w ater quality
or quantity, tre a ty hunting and fishing rights, environm ental quality, or socio-economic status. Therefore,
th ere is no resulting adverse or disproportionate impacts o f the Proposed Action w ith respect to
Environmental Justice considerations.

The Standing Rock Sioux Reservation boundary is over 0.5 miles south o f th e Lake Oahe Project Area
crossing. Based on aerial imagery, the closest residence on th e Standing Rock Sioux Reservation is a rural
residence located greater than 1.5 miles from th e Lake Oahe Project Area Crossing. This distance is well
beyond any federal or state siting criteria. The North Dakota Energy Conversion and Transmission Facility
Siting Act Exclusion and Avoidance Areas Criteria (49-22-05.1) establishes an avoidance setback
requirem ent o f 500 fe e t from inhabited rural residences.

The pipeline route expressly and intentionally does not cross the Standing Rock Sioux Reservation and is
not considered an Environmental Justice issue. If it were it determ ined th a t there w ould be some effects
to the Standing Rock Sioux Tribe as a low income, m in o rity population, it w ould not disproportionately or
predom inately bear impacts fro m the Proposed Actions (the impacts w ill actually disproportionately
affect private lands, non-low income populations and non-m inority populations). The impacts along the
M issouri River and the Lake Oahe crossing are not disproportionate to th e tribe. The Missouri River
crossing is on private lands w ith private lands and US federal lands downstream ; th e nearest reservation
is Fort Berthold approxim ately 50 miles due east and Standing Rock Reservation is approxim ately 160
miles southeast. The Lake Oahe HDD crosses under US Federal lands from lands th a t are privately owned;



                                                                                                                  86




                                                                                                  USACE DAPL0071310
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 214 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




private lands continue downstream of the crossing on th e east side o f the Lake and Standing Rock
Reservation (0.55 miles). Thus, th e impacts at best can be said to be equivalent between tribal lands and
private landowners at th e Lake Oahe crossing. As stated above, linear projects typically use a 0.5 mile
b uffer area to examine Environmental Justice effects. There are no low-incom e, m inority or tribal lands
w ith in 0.5 m ile o f the Proposed Action.

Concerns have been expressed regarding an inadvertent release reaching intake structures on Lake Oahe.
Given th e engineering design, proposed installation m ethodology, quality o f material selected, operations
measures and response plans th e risk o f an inadvertent release in, or reaching. Lake Oahe is extrem ely
low. W hile th e locations o f w a ter intakes is not public inform ation fo r disclosure in this docum ent, there
are private a n d /or non-tribal intakes closer to the Lake Oahe crossing than any intakes owned by the tribe;
fu rth e r dem onstrating th e lack o f disproportionate impacts o f an inadvertent release to the Tribe and the
reservation. W e understand th a t due to th e rural nature o f this area, tribal drinking w ater supplies are
obtained from a com bination o f wells and surface w ater. The siting and construction o f oil pipelines
upstream o f drinking w a ter intakes is not uncommon througho ut th e United States and is not considered
an Environmental Justice issue. In th e unlikely event o f a release, sufficient tim e exists to close the nearest
intake valve to avoid human impact.

Dakota Access has com m itted to plan fo r th e protection o f this and other w ater crossings and associated
w a te r intakes as part o f its emergency preparedness protocol and in accordance w ith PHMSA
requirem ents outlined in 49 CFR §§ 194 and 195 (see section 3.11 fo r fu rth e r detail).             Tribal
representatives have been identified fo r early contact along w ith other federal, state and local
governm ents by th e Corps as w ell as independently by th e applicant.

Based on th e above sections, it has been determ ined th a t there are no environm ental justice issues or
concerns resulting from the Proposed Action.

3.10    Hazardous Waste

The EPA (2015) defines hazardous waste as waste th a t is dangerous or potentially harm ful to human
health or the environm ent, occurring as liquids, solids, gases, or sludges. They can be generated through
th e disposal o f commercial products, such as cleaning fluids or pesticides, or m anufacturing processes.
Im proper managem ent and disposal of hazardous substances can lead to pollution of groundw ater or
o th er drinking w ater supplies and the contam ination o f surface w ater and soil. The prim ary federal
regulations fo r the m anagement and disposal o f hazardous substances are th e Comprehensive
Environmental Response, Compensation, and Liability Act (CERCLA) and the Resource Conservation and
Recovery Act (RCRA).

A review of regulated facilities fo r hazardous materials along the Proposed Action corridor was conducted
by searching online records m aintained by th e EPA (2014). Presently, there are no recognized Radiation
Inform ation Database, Brownfields, Superfund, Toxic Release Inventory, or air emission sites w ith in one
m ile o f the flowage easements and Lake Oahe crossings. No operating sensitive receptors, such as schools
or hospitals, are reported w ith in at least one mile. Additionally, there are no NPDES discharge sites w ith in
one m ile o f th e Project Areas.




                                                                                                               87




                                                                                                USACE DAPL0071311
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 215 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




W ith the Proposed Action, th ere is potential fo r tem porary impacts to public safety from hazardous
m aterial use. O ther hazards to w orker safety may also exist along the Proposed Action corridor, but do
not pose a significant impact. Because there were no regulated sites found w ith in the one-m ile search
radius o f the Project Area, no impacts to th e Proposed Action, Proposed Action media, or w orker safety
are expected. In the unlikely event contam ination is encountered during construction, th e UDP (Appendix
F) w ould be im plem ented to p rotect people and the environm ent and avoid or m inimize any effects from
unearthing th e material.

Any hazardous materials discovered, generated, or used during construction w ould be managed and
disposed o f in accordance w ith applicable local, tribal, state, and federal regulations. Should emergency
response be required during construction, th e contractor w ould have some of th e ir own trained or
contracted responders, and local response teams w ould be expected to assist.

Dakota Access w ould com ply w ith any laws, regulations, conditions, or instructions issued by the EPA, or
any Federal, state, or local governm ental agency having jurisdiction to abate or prevent pollution, such as
th e RCRA, and State hazardous waste managem ent rules.

3.11    Reliability and Safety

The PHMSA, a federal agency w ith in the U.S. DOT is the prim ary federal regulatory agency responsible fo r
ensuring the safety o f America's energy pipelines, including crude oil pipeline systems. As a part o f th a t
responsibility, PHMSA established regulatory requirem ents fo r the construction, operation, maintenance,
m onitoring, inspection, and repair o f liquid pipeline systems.

Construction activities could present safety risks to those perform ing the activities, residents and other
pedestrians in th e neighborhood. Given the low population density o f th e area, risks w ould be lim ited to
w orkers involved w ith the Proposed Action. All activities w ould be conducted in a safe manner in
accordance w ith th e standards specified in th e Occupational Safety and Health A dm inistration (OSHA)
regulations.

To prevent pipeline failures resulting in inadvertent releases, Dakota Access w ould construct and maintain
th e pipeline to m eet or exceed industry and governm ental requirem ents and standards. Specifically, the
steel pipe w ould m eet PHMSA specifications under 49 CFR § 195, fo llo w standards issued by the American
Society o f Mechanical Engineers, National Association fo r Corrosion Engineers and API. Once installed,
th e pipeline w ould be subjected to testing to verify its integrity and compliance w ith specifications,
including hydrostatic pressure testing at th e crossings, checking coating integrity, and X-ray inspection o f
th e welds. The pipeline w ould be placed into service only after inspection to verify compliance w ith all
construction standards and requirem ents. Dakota Access w ould m aintain and inspect th e pipeline in
accordance w ith PHMSA regulations, industry codes and prudent pipeline operating protocols and
techniques. The pipeline ROW w ould be patrolled and inspected by air every 10 days, w eather perm itting,
but at least every three weeks and not less than 26 tim es per year, to check fo r abnorm al conditions or
dangerous activities, such as unauthorized excavation along th e pipeline route.

As discussed in Section 3.2.1.2, Dakota Access has drafted a FRP, in accordance w ith 49 CFR 194, which
details th e procedures to be im plem ented in the event o f an inadvertent pipeline release and w ould be in




                                                                                                           88




                                                                                             USACE DAPL0071312
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 216 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




place prior to commencing transportatio n o f crude oil. The FRP is discussed under Section 3.2.1.2 and a
d ra ft o f th e FRP is included in Appendix L.

Following com pletion o f construction and th ro u g h o u t operation o f the Proposed Action facilities, the
O perator and qualified contractors w ould m aintain emergency response equipm ent and personnel at
strategic points along th e pipeline route. These personnel w ould be trained to respond to pipeline
emergencies as w ell as in the National Incident M anagem ent System (NIMS) Incident Command System
(ICS). Additionally, contracts w ould be in place w ith oil spill response companies th a t have the capability
to m obilize to support cleanup and rem ediation efforts in th e event of a pipeline release. The Operator
w ould also coordinate w ith local emergency responders in preventing and responding to any pipeline
related problems. These activities w ould include conducting and hosting, over a period o f tim e,
emergency response drills w ith both Dakota Access employees and local emergency responders along the
pipeline route.

Dakota Access w ill conduct emergency response drills/exercises in accordance w ith PREP, which is
recognized, and approved, by th e EPA, US Coast Guard, and PFIMSA. These emergency response exercises
w ill consist o f annual table to p exercises and equipm ent deploym ent drills. Dakota Access is com m itted
to conducting a w orst case discharge fu ll scale exercise at e ither the Missouri River crossing near W illiston
or the crossing at Lake Oahe once every 6 years and w ill include both open w a te r and ice response. Dakota
Access w ill alternate the location and type o f exercise. Regulatory and stakeholder participation w ill be
encouraged and solicited fo r th e exercises.

In addition to the testing and inspection measures listed above, Dakota Access w ould utilize a supervisory
control and data acquisition (SCADA) system to provide constant rem ote oversight o f the pipeline
facilities. Power fo r the SCADA system w ould be provided from an existing pow er grid. In th e event of a
pow er outage, a 500 w a tt U ninterruptable Power Supply w ould supply low voltage pow er to the
Programmable Logic C ontroller and com m unication equipm ent. Com munication w ith the SCADA system
w ould be accomplished via satellite (Flughes Global Network) and telephone (4G cellular [ATT] or landline
depending on availability/coverage). Both form s o f com m unication are continually engaged to poll
inform ation fro m these sites fo r 100% reliable rem ote m onitoring / operation o f these sites through the
SCADA system to th e Operations Control Center (OCC) in Sugarland, Texas (a backup control room is
located in Bryan, Texas), and are proven to have the least potential fo r interruption during pipeline
operations.

If an alarm criteria threshold is met, th e SCADA system w ould alert Dakota Access' OCC Operators, located
in Sugarland and Bryan, Texas, o f rapid drops in pressure, w ho w ould then activate th e controls as
necessary and in itia te procedures fo r an appropriate response. The OCC prioritizes and responds to all
alarms in accordance w ith the control room m anagem ent regulations referenced in PFIMSA CFR 195.446
(e). This regulation requires th a t th e OCC O perator have a SCADA system alarm management plan; in
general, the plan must include review of the SCADA alarm operations to ensure alarms support safe
pipeline operations, identify any required m aintenance th a t may affect safety at least once every calendar
m onth, verify correct safety-related alarm values and descriptions at least once every calendar year when
associated field equipm ent are changed or calibrated, determ ine effectiveness o f the alarm management
plan through a yearly review, and m o n ito r content and volum e o f activity at least once a calendar year to
assure controllers have adequate tim e to review incoming alarms. Leak Warn, a leading softw are program
fo r m onitoring pipelines, is being tailored to th e pipeline facilities, in accordance w ith Pipeline and



                                                                                                              89




                                                                                               USACE DAPL0071313
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 217 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Hazardous M aterials Safety A dm inistration requirem ents. The O perator w ould utilize a Com putational
Pipeline M onitoring System (CPM) to m o nitor th e pipeline fo r leaks. The CPM is a state-of-the-art pipeline
m onitoring tool and features a real-tim e transient model th a t is based on pipeline pressure, flow , and
tem p erature data, which is polled from various field instrum ents every 6 seconds and updates th e model
calculations to detect pipeline system variations every 30 seconds. A fter the system is tuned, this state-
o f-the -a rt CPM system is capable o f detecting leaks down to 1 percent or better o f th e pipeline flo w rate
w ith in a tim e span o f approxim ately 1 hour or less and capable o f providing rupture detection w ith in 1 to
3 minutes. S ta te -o f-the -a rt leak detection equipm ent and softw are utilized during operations or the
pipeline w ill be updated per federal standards in accordance w ith PHMSA requirem ents. In th e event th a t
a leak is confirm ed through verification, pump station shutdown w ould be initiated w ith in a
predeterm ined am ount o f tim e to effectuate. Next, the rem otely controlled isolation valves (mainline
valve sites w ould be installed on both sides o f large w aterbody crossings fo r isolation in th e event o f an
emergency shutdown), which are operable from the OCC, w ould be closed. These valves have a closure
tim e o f no greater than three (3) minutes. M onitoring o f th e pipeline segments installed via HDD w ould
be accomplished in the same m anner as those segments installed by conventional methods (i.e., SCADA,
internal inspection devices, and aerial patrols). Typically, repairs are not made on any section of pipe
greater than 10 to 20 fee t below the ground surface depending on th e repair needed. If a m aterial impact
was on the pipeline below the 10-foot depth, operation o f th e system w ould be m odified accordingly (e.g.,
reduce operating pressure) or th e line w ould be re-drilled.             If inspections identify an anomaly,
requirem ents w ould be follow ed to com ply w ith U.S. DOT requirem ents.

In the unlikely event o f a leak during operations o f th e pipeline, the O perator w ould im plem ent the
response measures described in th e FRP. Below is a list o f typical response activities. However, each spill
m itigation situation is unique and w ill be treated according to the actual spill circumstances present at
th e tim e o f release.

N otification: The O perator w ill conduct notifications in accordance w ith federal and state guidelines.
These guidelines, along w ith additional notification form s/procedures are presented in Appendix B of the
FRP. Local governm ent response agencies w ould be notified firs t follow ed by federal and state agencies
as w ell as surrounding com m unities, and governm ents (including tribal governm ents and utilities) in
accordance w ith the relevant provisions o f the FRP and relevant law. Response notification to such
entities as th e National Response Center, PHMSA, EPA, USACE, and affected state regulatory entities w ill
be made in accordance w ith the requirem ents dictated by th e incident type. A com plete list o f required
notifications is included in the FRP. In accordance w ith PHMSA policy, th e FRP w ill be updated every five
years or sooner if there are m aterial changes to the Plan.

M obilize Response Equipment: Emergency equipm ent w ould be available to allow personnel to respond
safely and quickly to emergency situations. Company-owned equipm ent w ill be inspected and exercised
in accordance w ith PREP guidelines and w ould be m obilized and deployed by the O perator from strategic
staging locations along the pipeline. Additionally, th e operator w ill contractually secure OSROs to provide
trained personnel and equipm ent necessary to respond, to the maximum extent practicable, to a w orst
case discharge or substantial th re a t o f such discharge. At a m inim um , each OSRO w ill have a containm ent
booms, absorbents, boats, and vacuum trucks available. A com plete list o f equipm ent and list o f trained
personnel necessary to continue operations of the equipm ent and staff th e oil spill removal organization
fo r each o f the OSRO contractors is included in th e FRP.




                                                                                                              90




                                                                                               USACE DAPL0071314
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 218 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Response Activities: Following incident command protocols, th e O perator w ould w ork in unison to
cooperate w ith and assist fire, police and o ther firs t responders when im plem enting actions to protect
personnel, public safety and the environm ent. The FRP includes a spill response checklist which lists
activities th a t could be conducted during a spill which w ould be m odified to best address the specific
circumstances o f a spill event. Incident response activities may include: initiating spill assessment
procedures including surveillance operations, tra je cto ry calculations, and spill volum e estim ating;
berm ing or deploym ent o f containm ent an d /o r sorbent booms; lining shorelines w ith sorbent or diversion
booms to reduce impacts; and recovering contained product as soon as possible to prevent the spread o f
contam ination using appropriate hoses, skimmers, pumps, and storage containers or vacuum trucks at
collection areas. The response activities w ould continue until an appropriate level of cleanup is obtained
as provided by th e responsible federal, state or o ther governm ental authorities. The nature and location
o f th e incident w ill affect the regulatory and notification requirem ents, fo r which m ore detail is provided
in th e FRP. Incidents involving discharges to navigable waters are governed th e Oil Pollution Act o f 1990.

Dakota Access w ill im plem ent numerous measures to m inimize the risk of a pipeline leak and protect the
users o f downstream intakes:

        1) Spill Prevention, Leak Detection and Spill Response Measures:

          Based on a w orst case discharge (WCD) scenario specific to Lake Sakakawea and Lake Oahe,
calculated by guidance in 49 CFR § 194.105, a largest possible release volum e was determ ined specific to
th e segment o f the pipeline th a t w ould cross Corps-managed lands. This calculation was based on
environm ental assumptions such as air tem perature, w ind dire ctio n /p ro b a b ility and w ind speeds th a t
w ere averaged from data over a one-year period derived from th e U.S. Geological Survey National
Flydrological Dataset (NFID, version 2). This inform ation was extrapolated into a 24-hour model. The WCD,
at the end o f the 24-hour period, produced a surface oil slick attenuation distance, volum e rem aining in
th e w a ter column, volum e th a t w ould be ashore and the volum e w ould evaporate w ith in this tim efram e.
It is im po rta nt to note, this WCD scenario is also calculated on the assumption th a t the pipeline is on to p
o f the river verses FIDD. Because the proposed pipeline w ould be installed at a m inim um depth o f 36 feet
below the Missouri River above Lake Sakakawea and 92 feet below th e lakebed o f Lake Oahe, there is a
greater response tim e combined w ith th e use of th e autom ated SCADA system.

W hile th e potential risk fo r a WCD scenario is low, such a spill w ould result in high consequences. Review
and approval o f th e overall regional FRP, which encompasses th e regional DAPL Pipeline response
strategies in th e event o f an oil spill, is th e responsibility and jurisdiction o f PFIMSA. Federal regulations
49 CFR 194 specify m inim um requirem ents o f such an FRP. For the proposed project, th e DAPL Pipeline
FRP w ill be required to align w ith th e content and directions identified in the M id-M issouri Sub-Area
Contingency Plan. A tactical GRP specific to a response strategy fo r Lake Sakakawea and Lake Oahe was
provided by th e applicant and includes specific response strategies and equipm ent fo r all affected water.
Both the FRP and GRP w ill be finalized a fte r construction and be subm itted to the USACE fo r review and
th e incorporation o f USACE com m ents p rior to subm ittal to PFIMSA.

W ith in these response plans, DAPL training exercise program w ould be consistent w ith th e exercise
requirem ents as outlined in th e PREP Guidelines th a t were developed by the U.S. Coast Guard in
conjunction w ith PFIMSA and EPA. Training exercises include quarterly notification exercise, annual




                                                                                                               91




                                                                                                USACE DAPL0071315
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 219 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




ta b leto p exercises to include a WCD scenario every three years, annual facility-ow ned equipm ent
deploym ent exercises annual contractor exercises and unannounced exercises by governm ent agencies.

The applicant has com m itted to additional full scale open w ater and full scale w in te r/ic e exercises th a t
w ill be conducted at Lake Sakakawea and Lake Oahe. A full scale exercise w ill occur once every 3 years
(triennial cycle) w ith th e location and type of exercise occurring on alternating schedules (e.g. open w ater
exercise at Oahe th e first triennial cycle, follow ed by w in te r exercise at Sakakawea the follow ing triennial
cycle, follow ed by a w in te r exercise at Oahe the follow ing triennial cycle, etc.). Stakeholder (federal, state,
local, and Tribal) involvem ent w ill be solicited fo r each exercise. The firs t exercise w ill occur w ith in the
firs t 3 years after the pipeline becomes operational.

         2) Risk Analysis

         W hile an oil spill is considered unlikely and a high precaution to minimize th e chances has been
taken, it is still considered a low risk/high consequence event. A risk analysis conducted by DAPL
addressed nine industry-recognized pipeline integrity th re a t categories in com bination w ith public and
environm ental im pact th a t could occur in th e event o f a release into Lake Sakakawea and Lake Oahe.
These th re a t categories include the follow ing: 1) th ird -p a rty damage, 2) external corrosion, 3) internal
corrosion, 4) pipe m anufacturing defects, 5) construction related defects 6) incorrect operations, 7)
equipm ent failure, 8) stress corrosion cracking and 9) natural forces. DAPL derived the follow ing analysis
risk process fro m the W. Kent M uhlbauer Relative Index M ethodology (2004), in accordance w ith 49 CFR
195.452 "Hazardous Liquid Pipelines in High Consequence Area", API RP 1160 "Managing System Integrity
fo r Hazardous Liquid Pipelines", and ASME B31.8S "Managing System Integrity o f Gas Pipelines".

         1 - Third Party Damage

Pipeline failure due to th ird party damage is ranked low fo r the Missouri River above Lake Sakakawea and
Lake Oahe (36 and 92 fe e t below th e river and lakebed, respectively). The only th ird party damage th a t
w ould threaten this portion o f the pipeline w ould be another HDD in the same location o f the DAPL
Pipeline. Due to tracking technological advances such as subm eter accuracy, a perm anent and accurate
record o f th e proposed pipeline w ould be docum ented so no such possibility o f another pipeline being
placed via HDD in the same location w ould occur.

         2 - External Corrosion

Pipeline failure fo r the portion of th e proposed project th a t crosses Lake Sakakawea is classified as low.
The potential is ranked low due to the high perform ance external coating system th a t is being used (heavy
epoxy-concrete abrasion resistant layer over fusion bonded epoxy) and deep w ell cathodic protection.
This portion o f the pipeline is constructed w ith a thicker wall pipe compared to segments o f the pipeline
in upland-classified areas. A conservative corrosion grow th rate was determ ined to take 70 years before
a through-w all metal loss could occur. Because in-line inspection metal loss detection tools run every five
years, external corrosion activity w ould be detected and m itigated prior to it becoming an integrity threat.

         3 - Internal Corrosion




                                                                                                                 92




                                                                                                  USACE DAPL0071316
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 220 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Pipeline failure due to the internal corrosion th re a t fo r th e portion o f the proposed project th a t w ould
cross Lake Sakakawea is ranked low. Causes of internal corrosion w ould be due to accum ulation o f w ater
and solids in low spots o f the pipeline. However, DAPL internal corrosion m itigation program fo rth e entire
DAPL pipeline include chemical analysis o f the crude product stream, pipeline operations (maintenance
o f m inim um flo w rates th a t keep entrained w ater and solids moving through the system), a maintenance
pigging program, wall pipe design and in-line inspection perform ed every five years. The potential does
exist, but successful im plem entation and continual m onitoring o f th e effectiveness o f th e above programs
w ill m itigate the risk. As w ith th e external corrosion threat, the internal corrosion w ould be detected and
m itigated p rio r to it becoming an in te g rity threat.

        4 - Pipe M anufacturing Defects

Pipeline failure due to m anufacturing defects is considered low fo r th e portion o f the pipeline th a t crosses
Lake Sakakawea and Lake Oahe. Upon com pletion o f construction and prior to the commissioning o f the
pipeline, th e segment o f the pipeline crossing Corps-managed lands w ould be hydrostatically strength-
tested fo r eight hours at 1,800 psig which w ould be 1.25 tim es greater than th e 1,440 MAOP. Should any
strength-related defects be found in th e pipe as a result o f the hydrostatic test, this segment o f the
pipeline w ould have been over-pressured by m ore than tw o-tim es to have a potential effect on those
defects. An over-pressure event o f this m agnitude is not likely w ith th e equipm ent installed.

        5 - Construction Related Defects

Pipeline failure fo r th e segment th a t crosses under Lake Sakakawea due to construction related defects is
categorized as low. All pipe jo ints w ould be welded by qualified welders and th e required 100% girth weld
radiography w ould provide a tw o-dim ensional grayscale image o f th e weld. A fte r construction and prior
to commissioning o f the pipeline, the hydrostatic testing w ould be perform ed. A fte r the drill string is
installed and p rior to th e line being put into service, an in-line inspection to o l w ould be ran to identify an
injurious mechanical damage th a t may have gone undetected during construction.

        6 - Incorrect Operations

Pipeline failure due to incorrect operations (e.g. overpressure event caused by human error) is ranked low
fo r the section of the pipeline th a t crosses Lake Sakakawea and Lake Oahe. This section o f the DAPL
pipeline has a design factor nearly 2-times greater than th e maximum allowable operating pressure (1440
psig) o f the pipeline. In addition, the system is controlled and m onitored 24 hours a day, 365 days a year
by experienced controllers in the control center in Sugarland, Texas. The system is designed w ith
instrum ents and pressure relief systems to m inimize the o p p o rtu n ity fo r overpressure.

        7 - Equipment Failure

Pipeline failure due to equipm ent failure fo r the section o f the pipeline th a t crosses the Missouri River
above Lake Sakakawea and Lake Oahe are categorized as low. The only equipm ent located in this section
o f the pipeline are the shut-off valves on either side o f th e Missouri River above Lake Sakakawea and Lake
Oahe which are rem otely operated. These valves are secured in perim eter fencing.

        8 - Stress Corrosion Cracking



                                                                                                                93




                                                                                                 USACE DAPL0071317
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 221 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The potential fo r pipeline failure due to stress corrosion cracking fo r th e portion o f the pipe th a t crosses
th e Missouri River above Lake Sakakawea and Lake Oahe is ranked as low because this section w ill operate
at a low stress and is externally coated w ith a fusion bond epoxy coating.

         9 - Natural Forces

The potential fo r pipeline failure due to natural forces is ranked low fo r the segment o f the pipeline th a t
crosses Lake Sakakawea and Lake Oahe. The National Pipeline M apping System, m aintained by PHMSA,
rates this geographic location fo r natural hazards as th e follow ing: Hurricane- Low; Earthquake- Low;
Flood- High and; Landslide-High. Erosion o f cover/ exposure of the pipeline to debris during flood
conditions is highly unlikely due to the depth o f cover at th e Missouri River and Lake Oahe crossings (36
fe e t and 92 fe e t below th e river and lakebed, respectively). In addition, landslide/ creep o f th e pipeline is
highly unlikely as th e pipe is at a depth below th a t which w ould be affected by land m ovem ent.

         10 - Consequences

In th e event th a t a pipeline failure occurs and product is released into the Missouri River at either crossing,
th e w orst case consequence scenario is ranked high because several drinking w ater intake High
Consequence Areas (HCAs) and m ultiple ecologically sensitive HCAs could be impacted. To m inimize the
im pact o f a release (e.g. size and spread) the pipeline w ill continuously be m onitored by a real-tim e
m onitoring and leak detection system , which is considered to be the best available technology; m otor
operated isolation an d /o r check valves are installed on either side o f th e Missouri River above Lake
Sakakawea and Lake Oahe which can be actuated to close as soon as a leak is detected; PHMSA-approved
FRP w ill be in place, all w eather access and collection points w ill be staged strategically downstream o f
each lake crossing, and DAPL has com m itted to additional fu ll scale open w ater and fu ll scale w in te r/ice
exercises th a t w ill be conducted at Lake Sakakawea and Lake Oahe. A fu ll scale exercise w ill occur once
every 3 years (triennial cycle) w ith th e location and type o f exercise occurring on alternating schedules
(e.g. open w ater exercise at Oahe th e firs t triennial cycle, follow ed by w in te r exercise at Sakakawea the
fo llo w ing triennial cycle, follow ed by a w in te r exercise at Oahe the follow ing triennial cycle, etc.).
Stakeholder (federal, state, local, and Tribal) involvem ent w ill be solicited fo r each exercise. The firs t
exercise w ill occur w ith in th e firs t 3 years a fte r the pipeline becomes operational.




3.12     Air Quality and Noise

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project and no impacts
on air quality and noise w ould occur. However, If th e objectives o f the DAPL Project are to be m et under
th e "no action" alternative, o the r projects and activities w ould be required and these projects w ould
result in th e ir ow n impacts on air quality and noise, which w ould likely be sim ilar to or greater than the
DAPL Project. If th e "no action" alternative is im plem ented and the Project is not constructed, shippers
w ill likely rely on truck or rail to tra n sp o rt crude oil. Additional road and rail tra ffic necessary to transport
th e volum e o f crude oil proposed by th e DAPL project w ould increase th e emissions o f combustion
products due to the potential releases during th e filling operations o f trucks or rail cars and th e use of
diesel engines. These w ould be recurring inputs into the environm ent which could have an adverse impact
on air quality in the region. Similarly, an increase in noise from truck and rail tra ffic w ould be widespread



                                                                                                                    94




                                                                                                    USACE DAPL0071318
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 222 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




and long term as opposed to th e noise impacts of the preferred action which are tem porary and prim arily
lim ited to th e vicinity o f the construction workspace.

3.12.1 Air Quality

                 3.12.1.1 Affected Environment

The Clean Air Act (CAA) o f 1970 requires th a t states adopt am bient air quality standards. The CAA (42
u se 7401 et seq.) establishes am bient air quality standards, perm it requirem ents fo r both stationary and
m obile sources, and standards fo r acid deposition and stratospheric ozone (03) protection. The standards
have been established in order to p rotect the public from potentially harm ful am ounts o f pollutants.
Under th e CAA, the EPA establishes prim ary and secondary air quality standards. Primary air quality
standards protect public health, including th e health o f "sensitive populations, such as people w ith
asthma, children, and older adults." Secondary air quality standards protect public w elfare by prom oting
ecosystem health, and preventing decreased visibility and damage to crops and buildings.

According to th e EPA, North Dakota has no nonattainm ent areas fo r criteria pollutants. The Bismarck air
quality m onitoring station in Burleigh County is located approxim ately 23 miles n orth-northw e st o f the
Lake Oahe crossing. The Bismarck air quality m onitoring station measures sulfur dioxide, nitrogen dioxide,
particulate m atter, ground-level ozone, and m eteorological data (North Dakota Departm ent of Health,
2013). The W illiston air quality m onitoring station in W illiam s County is located approxim ately 18 miles
northeast o f th e flow age easement crossing. The W illiston air quality m onitoring station measures
particulate m atter, ground-level ozone, and m eteorological data. The m onitoring objective o f both
stations is to measure population exposure to air quality parameters.

M on itoring data fo r these stations from 2003-2013 show pollutan t levels fo r sulfur dioxide, nitrogen
dioxide, ozone, and particulate m a tte r did not exceed state or deferral am bient air quality standards at
any o f the state-operated m onitoring sites (N orth Dakota D epartm ent o f Health, 2013).

                 3.12.1.2 Impacts and Mitigation

W ith the Proposed Action, no long-term impacts to air quality w ould occur; the proposed pipeline w ould
not em it any criteria air pollutants. Short-term impacts to air quality may occur during construction phase
o f th e Proposed Action. The contribution o f the Proposed Action to greenhouse gas emissions during
construction w ould be considered a m inor indirect im pact to clim ate change.

During construction, emissions from fuel-burning internal com bustion engines (e.g., transportation trucks,
heavy equipm ent, drill rigs, etc.) w ould tem porarily increase the levels o f some criteria pollutants,
including carbon monoxide, nitrogen dioxide, ozone, particulate m atter, and non-criteria pollutants such
as volatile organic compounds. Construction o f th e Lake Oahe crossing is likely to take six to eight weeks
to com plete. Conventional pipeline construction across the flowage easements w ould take approxim ately
tw o weeks and activities at th e HDD exit point fo r crossing the Missouri River on th e flowage easement
LL3440E w ould likely operate fo r fo u r to six weeks. To reduce th e emission of criteria pollutants, fuel-
burning equipm ent running tim es w ould be kept to a m inim um and engines w ould be properly
m aintained. This tem porary increase in emissions is not expected to im pact air quality or visibility in the
region long-term .



                                                                                                           95




                                                                                             USACE DAPL0071319
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 223 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




3.12.2   Noise

                  3.12.2.1 Affected Environment

Sound is a sequence o f waves o f pressure th a t propagates through compressible media such as air or
w ater. W hen sound becomes excessive, annoying, or unwanted it is referred to as noise.

Decibels (dB) are the units o f m easurem ent used to quantify th e intensity o f noise. To account fo r the
human ear's sensitivity to low level noises, the decibel values are corrected fo r human hearing to weighted
values known as decibels o f th e A-weighted scale (dBA; see Table 3-16). The EPA has set values th a t
should not be exceeded. W hile the prim ary responsibility o f regulating noise was transferred from the
EPA to state and local governm ents in 1981, the Noise Control Act o f 1972 and the Quiet Communities
Act o f 1978 are still in effect.

                                                    Table 3-16
                                                   Noise Values

                            Area                              Noise Level                   Effect

 All areas                                                  Leq (24) <70 dBA   Hearing
 Outdoors in residential areas and farms where people
                                                                               Outdoor activity interference
 spend varying amounts of time in which quiet is a basis    Ldn <55 dBA
                                                                               and annoyance
 for use
 Outdoor areas where people spend limited time such as                         Outdoor activity interference
                                                            Leq (24) <55 dBA
 school yards, playgrounds, etc.                                               and annoyance
                                                                               Indoor activity interference
 Indoor residential areas                                   Ldn <45 dBA
                                                                               and annoyance
                                                                               Indoor activity interference
 Indoor areas with human activities such as schools, etc.   Leq (24) <45 dBA
                                                                               and annoyance
 Source: (The Engineering ToolBox, 2015)
 Leq: 24-hr equivalent sound level
 Ldn: day-night average sound level



The dom inant land use in the proposed Project Area is agricultural. The Day-Night Average Sound (Ldn)
level fo r agricultural crop land is 44 dBA, and rural residential is 39 dBA (The Engineering ToolBox, 2015).

                  3.12.2.2 Impacts and Mitigation

Construction o f th e Proposed Action w ould tem porarily affect th e noise levels on and around th e flowage
easement and federal lands crossing areas. Construction w ould cause tem porary increases in the am bient
sound environm ent in the areas im m ediately surrounding active construction. The use o f heavy
equipm ent or trucks w ould be the prim ary noise source during construction and excavation. The level of
im pact w ould vary by equipm ent type, duration o f construction activity and the distance between the
noise source and th e receptor. Construction activities w ould typically be lim ited only to daytim e hours.
Potential exceptions include w o rk determ ined necessary based on w eather conditions, safety




                                                                                                               96




                                                                                              USAGE DAPL0071320
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 224 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




considerations, a n d/o r critical stages o f th e HDD [e.g. if pausing fo r th e night w ould put th e drill at risk o f
closing or jam m ing].

Once constructed and in-service, normal pipeline operations are not audible and noise impacts w ould be
lim ited to the short-term construction w indow . Dakota Access w ould m itigate noise impacts by lim iting
equipm ent running tim es and the duration o f Proposed Action construction to the m inim um am ount
necessary to com plete the Proposed Action. Noisy construction activities w ould typically be lim ited to
th e least noise-sensitive tim es o f day (daytim e only).

It is not anticipated th a t the tem porary increase in am bient sound levels associated w ith construction
w ould result in a significant noise impact.




                                                                                                                      97




                                                                                                      USAGE DAPL0071321
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 225 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                        4.0      CUMULATIVE IMPACTS

Cumulative impacts to the environm ent result from the increm ental im pact o f the action when added to
o th er past, present, and reasonably foreseeable fu tu re actions regardless o f w hat agency (Federal or non-
Federal) or person undertakes such other actions. Cumulative impacts may result from individually m inor
but collectively significant actions taking place over a period o f tim e 40 CFR Part 1508.

Consultation w ith the North Dakota Public Service Commission (NDPSC) personnel, and subsequent
evaluation o f its online resources, provided a systematic source o f inform ation th a t was useful fo r
evaluating cum ulative impacts. Although th e NDPSC does not m aintain a centralized repository fo r energy
infrastructure developm ent projects, it provides a summary o f siting applications, which offers one m etric
o f energy project developm ent (excluding gathering lines), particularly over tim e (NDPSC, 2012a). The
siting application summary (NDPSC, 2012b) contains records starting in 1996. The num ber o f statewide
siting applications increases m arkedly starting in 2007, coinciding w ith developm ent of th e Bakken
Formation oil field. Prior to tha t, only three to fo u r applications w ould typically be subm itted on an annual
basis (NDPSC, 2012a).

Past actions in the vicinity o f the Proposed Action include oil and gas developm ent and associated
infrastructure, u tility installation, and agriculture. These past activities most likely have had effects on
soils, w ater resources, vegetation, w ildlife, land use, visual resources, paleontological resources, and
cultural resources. The DAPL Project route was sited to m inimize green-space impacts by co-locating w ith
existing u tility corridors over much o f its length. As a result, the flow age easement crossing, as designed,
w ould be co-located w ith a Oneok/TransCanada natural gas pipeline and th e Lake Oahe FIDD w ould be
co-located w ith a natural gas pipeline and a 345 kV pow er line. At both of these locations, the
predom inant land use is agriculture. In addition to ongoing agricultural practices and th e expansion o f
regional oil and gas developm ent activities, cum ulative impacts associated w ith the DAPL Project as w hole
w ere also considered.

If th e Corps approval o f the Proposed Action m arkedly changed th e rate at which the oil and gas industry
grows, or facilitated a rapid increase in production, then the changes in the industry's rate o f grow th and
th e associated environm ental consequences could be considered along w ith th e effects of th e Proposed
Action as a cum ulative im pact and w ould need to be quantified in this EA. Flowever, according to Bruce
Flicks, N orth Dakota Industrial Commission's Departm ent o f M ineral Resources Oil and Gas Division, the
critical factors lim iting th e rate at which the industry grows w ith in North Dakota is the availability o f drill
rigs and hydrofracing crews (U.S. Arm y Corps of Engineers, 2011). Because th e availability o f rigs and
crews is the critical fa cto r affecting the grow th of the industry in the region, approval of the Proposed
Action is not anticipated to have a cum ulative impact o f increasing production or reliance upon non­
renewable resources.

Cumulative impacts w ere evaluated fo r th e follow ing resources and w ere determ ined to be negligible or
nonexistent based on past and foreseeable fu tu re actions in th e Project Area and th e m inor and
tem porary contribu tion o f th e Proposed Action to effects on these resources:

     •    Geology and Soils                                                        Section 4.1
     •    Water and Aquatic Life Resources                                         Section 4.2




                                                                                                                 98




                                                                                                 USAGE DAPL0071322
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 226 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




          Vegetation, Agriculture, and Range Resources                           Section 4.3
          Threatened, Endangered, Candidate, and Proposed Species                Section 4.4
          Wildlife Resources                                                     Section 4.5
          Land Use and Recreation                                                Section 4.6
          Cultural and Historic Resources and Native American Consultations      Section 4.7
          Social and Economic Conditions                                         Section 4.8
          Transportation and Traffic                                             Section 4.9
          EnvironmentalJustice                                                   Section 4.10
          Air Quality and Noise                                                  Section 4.11


4.1     Geology and Solis

The continued developm ent o f oil and gas exploration and production in the region at its current level
increases th e potential fo r adverse cum ulative impacts to geologic and soil resources. Cumulative impacts
could occur when fu tu re utilities seek to be co-located w ith in existing corridors or alternatively when
greenfield developm ent occurs in landslide prone or highly erodible areas. However, w ith th e proper
im plem entation o f reclam ation and restoration BMPs these impacts can be reduced.

A nother potential cum ulative im pact to geologic resources is the continued developm ent o f the mineral
resource, which could lead to its depletion. The mineral resource is understood to be finite. The effect
w ould be prim arily economic to the various entities w ith financial interests; secondarily there could be
indirect impacts, potentially beneficial, associated w ith technological advances w ith in the industry th a t
w ould fa cilitate the recovery o f m ineral resources th a t cannot be recovered currently.

Agricultural practices throu gh o u t the region as well as the thousands o f miles o f gathering pipelines that
may be bu ilt in th e region could contribute to cum ulative impacts on soils. Agricultural practices can result
in increased erosion and ru n o ff when soils are exposed fo r long periods such as when fields are fallow or
prio r to seeding. Impacts to soils as a result o f pipeline installation are tem porary and typically associated
w ith excavation activities which may result in com paction and erosion when soils are exposed prior to
revegetation. Impacts to soils as a result o f th e Proposed Action w ould be m itigated through the
im plem entation o f BMPs which may include topsoil segregation, erosion controls, and decompaction.
Furtherm ore, adherence to NPDES storm w ater perm its w ould require adequate design, grading, and use
o f BMPs to ensure th a t erosion and sedim ent control measures are properly utilized. Generally, because
o f th e utilization o f to p soil segregation and erosion controls, as well as the m inim al workspace
requirem ents and m inim um duration o f exposed excavations during construction of th e Proposed Action,
th e cum ulative impacts on soils when com bined w ith agricultural practices and o ther pipeline installations
w ould not be significant.

No impacts on mineral extraction, mining, or other deeper geologic resources w ould be cum ulative, since
these uses o f geologic resources (i.e., mining) do not occur in the Project Area. Clearing and grading
associated w ith construction o f the Proposed Action and other projects in th e vicinity could increase soil
erosion in th e area. The introduction o f contam inants to groundw ater due to accidental spills of
construction-related chemicals, fuels, or hydraulic fluid could have an adverse effect on groundw ater
quality. Because the direct effects w ould be localized and lim ited prim arily to the period o f construction.




                                                                                                              99




                                                                                                USAGE DAPL0071323
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 227 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




cum ulative impacts on geology, soils, and sediments w ould only occur if o ther projects were constructed
at th e same tim e and place as the Proposed Action facilities.

There are smaller diam eter, unregulated, crude oil gathering lines th a t have leaked and affected soil and
ground/surface w ater.      These pre-existing lines have lim ited cathodic protection (external corrosion
protection) and as such th e y are not routinely m onitored. The Proposed Action is th e construction o f a
regulated large diam eter crude oil transmission line and, as discussed th ro u g h o u t this docum ent, is highly
regulated and m onitored. The cum ulative impacts of this pipeline are m inimized by th e regulatory
criteria, th e m onitoring, protections and response im plem ented by Dakota Access during th e operation
o f th e pipeline.

4.2    W ater and Aquatic Life Resources

Cumulative impacts on w ater resources (i.e., groundw ater, surface waters, wetlands) associated w ith the
Proposed Action w ould be avoided, tem porary, an d /o r m inor, as all surface waterbodies w ould be crossed
via trenchless m ethods (i.e., HDD or bore), no perm anent fill or loss o f wetlands are anticipated, and
potential spill-related impacts w ould be avoided or greatly reduced by regulating fuel storage and
refueling activities and by requiring im m ediate cleanup should a spill or leak occur. Spill response and
rem ediation measures associated w ith construction activities are discussed in detail in Dakota Access'
SWPP, SPCCand ECP.

Recently com pleted construction or current construction w ith in th e vicinity o f the Project Area could
extend th e period o f exposure o f soils as a result o f incom plete revegetation. These exposed soils may
increase the potential fo r soil erosion or sedim ent transport via overland flo w during precipitation events
resulting in sedim entation in surface waterbodies. These increased loads could have th e potential to
te m p orarily im pact w a te r quality, wetlands, and sensitive fish eggs, fish fry, and invertebrates inhabiting
w aterbodies in th e Project Area watersheds. However, all projects, including the DAPL Project as a whole,
are subject to regulation by the USAGE under the ON A. By installing th e pipeline using th e HDD technique
at th e Missouri River and Lake Oahe crossings, as well as other crossings associated w ith the DAPL Project
as a w hole, and im plem enting th e erosion and sedim ent control measures specified in th e ECP (Appendix
G) and SWPPP (Appendix A), th e potential fo r increased sediment loading from terrestrial sources is
m inim ized and the cum ulative effect is considered to be negligible.

In addition to w a te r quality impacts associated w ith sedim ent loading from erosion and run-off, an
inadvertent release o f non-hazardous drilling mud could occur during HDD activities, including those at
Lake Oahe and th e Missouri River. The likelihood o f inadvertent releases o f drilling mud is greatly
m inim ized through thorough geotechnical analysis and detailed design/m itigation plans at each crossing
and careful m onitoring o f drilling mud returns and pressure during HDD activities. If an inadvertent
release w ere to occur w ith in a w aterbody during HDD activities, such as those at the Missouri River and
Lake Oahe crossings, impacts on w ate r quality and aquatic resources w ould be m inor. Drilling mud is non-
hazardous and impacts on w a te r quality and aquatic resources w ould be akin to those associated w ith
sedim ent loading. Due to the q ua ntity o f drilling mud used in relation to th e size o f waterbodies typically
crossed via HDD, impacts w ould be tem porary and m itigated through im plem entation o f an HDD
Contingency Plan (Appendix B) Impacts on all w aterbodies crossed by th e DAPL Project in its entirety
w ould be minim ized or avoided via HDD an d /o r use o f erosion and sedim ent control measures; thereby
m inim izing the potential fo r cum ulative impacts on w ater and aquatic life resources.



                                                                                                               100




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       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 228 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Impacts on w a ter and aquatic life resources associated w ith sedim ent loading, including potential
inadvertent releases o f non-hazardous drilling mud, as a result o f the Proposed Action and th e DAPL
Project as a w hole w ould be tem porary and short-term . Therefore, these impacts, when evaluated w ith
o th er oil and gas developm ent and infrastructure projects in th e region and agricultural practices, w ould
result in m inor cum ulative impacts on w ater and aquatic life resources.

Spills or leaks o f hazardous liquids during construction and operation o f the Proposed Action, or other
projects in the vicinity, have th e potential to result in long-term impacts on surface and groundw ater
resources as w ell as aquatic life resources. However, construction impacts w ould be m itigated by the
proper design and im plem entation o f BMPs w ould ensure avoidance, m inim ization, an d /o r m itigation o f
potential impacts on w a te r resources and aquatic resources, as required by th e various regulating
agencies th a t have jurisdiction over the DAPL Project. Operational risks are being m itigated by DAPL
Project design to m eet or exceed the applicable federal regulations as detailed in Sec 3.11- Reliability and
Safety. In the unlikely event o f an unanticipated release during operations o f th e pipeline, the effects
w ould be rem ediated fo llow ing the cleanup procedures and rem ediation activities described in Section
3.2.2.2.Therefore, th e potential cum ulative impacts fro m the Proposed Action on w ater resources and
aquatic resources resulting from spills w ould be m inor.

In addition, w hile construction and operation of the Proposed Action along w ith the o ther potential
projects and activities could result in cum ulative impacts on existing wetlands in th e Project Area
watersheds, regulation o f activities under th e CWA by the Corps requires perm itting and m itigation fo r
w etland impacts so th a t there w ould be no net loss in the regional w etland resources. Therefore,
cum ulative impacts on w etland resources in th e Project Area w ould be minim al.

4.3     Vegetation, Agriculture, and Range Resources

As described w ith in Section 3.3.1, all vegetation disturbed by construction w ith in th e flowage easements
and the Project Area/Connected Actions of the federal lands w ould be restored to pre-construction
conditions follow in g the com pletion o f construction activities, w ith the exception o f one PFO wetland
located w ith in the perm anent ROW on the flowage easements th a t w ould be converted to shrub-scrub or
herbaceous wetlands.

No forest fragm entation w ould occur as a result of construction and operation o f th e Proposed Action.
No in te rio r (core) forest habitat is crossed by the Proposed Action, and the only w ooded area th a t w ould
be perm anently impacted by the Proposed Action include one PFO wetland (0.05 acre) located w ith in the
perm anent ROW on th e flowage easements between HDD boxes. However, much o f the forest and PFO
w etlands in the vicinity o f the Project Area have already been fragm ented by agricultural activities, roads,
and o the r commercial or industrial developments. Further, construction o f the Proposed Action facilities
w ould not result in the perm anent loss o f w etland features. Although trees w ith in a 30-foot corridor
centered on the pipeline th a t could compromise th e integrity o f th e pipeline coating w ould be selectively
removed th ro ug ho u t th e operational life o f the Proposed Action, this portion o f the PFO w etland impacted
by the Proposed Action w ould be converted to PEM or PSS and allowed to revegetate w ith scrub-shrub or
herbaceous species. Therefore, fu rth e r fragm entation o f wetlands or creation o f new forest-edge habitat
as a result o f th e Proposed Action w ould be negligible.




                                                                                                             101




                                                                                               USAGE DAPL0071325
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 229 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




Generally, the greatest im pact to th e native vegetative com m unity is associated w ith past and current
agricultural practices. Pipeline projects impact a relatively small area in relation to th e to ta l landscape, as
these impacts are typically short in duration and tem porary in nature. Examples of impacts to vegetation,
agriculture, and range resources could include introduction o f non-native plants an d /o r noxious weeds,
habitat fragm entation, altered vegetative structure, reduced population sizes below critical threshold
levels, sedim entation or degradation o f surface waters, erosion, and siltation.                  However, the
im plem entation o f BMPs outlined in the SWPPP (Appendix A) and ECP (Appendix G) and reclam ation o f
disturbed areas w ith native vegetation w ould reduce the chances o f adverse individual or cum ulative
impacts. In addition, w hile other project pipeline corridors may require clearing o f forested areas and
potential habitat fragm entation, te m porary workspace areas w ould be revegetated upon com pletion of
construction. Further, these projects w ould be located in a region of North Dakota th a t is dom inated by
open or agricultural land, thereby m inim izing the potential fo r perm anent habitat fragm entation.
Regionally, there have been releases o f hazardous m aterial from unregulated, smaller diam eter gathering
pipelines th a t have had an adverse effect on vegetation, agriculture and range resources. In the unlikely
event o f an unanticipated release during operations o f the pipeline, th e effects w ould be rem ediated
fo llo w ing th e cleanup procedures and rem ediation activities described in Section 3.11. Therefore, the
potential cum ulative impacts from th e Proposed Action on vegetation, agriculture and range resources
w ould be m inor.

4.4     Threatened, Endangered, Candidate, and Proposed Species

As required by th e ESA, the status o f each species listed as threatened or endangered is evaluated every
5 years by USFWS to assess its recovery and determ ine if a change in its listing status is warranted. W here
available, these docum ents w ere utilized to identify the potential fo r ongoing regional oil and gas
developm ent to significantly threaten the species listed in the Project area. For species in which a 5-Year
Review was not available, Dakota Access utilized the species Recovery Plan an d /o r Final Rule to evaluate
potential threats on the species resulting from regional oil and gas developm ent.

Species fo r which no suitable habitat is present in th e Project Area or Connected Action Area, such as the
black-footed ferret, Dakota skipper, and gray w olf, w ere not evaluated, as th e Proposed Action w ould not
co ntribu te to cum ulative impacts on these species. Further, the northern long-eared bat was not
evaluated since th e species is not provided federal protection in the Project Area or Connected Action
Area under th e Interim 4(d) Rule; this area is w ell outside of th e published W hite-Nose Syndrome Buffer
Zone.

H abitat loss and m odification are th e prim ary threats to th e continued existence o f interior least tern,
w hooping crane, piping plover, rufa red knot, and pallid sturgeon. The potential cum ulative impacts from
oil and gas activities in th e region on th e current listing or potential elevated fu tu re listing o f these five
species are discussed in detail below.

4.4.1   Interior Least Tern

The USFWS does not address oil and gas activities, including potential spills, as a potential or ongoing
th re a t to th e in te rio r least te rn in either the 5-year review, or th e recovery plan (USFWS, 2013e). The
prim ary th re a t to in te rio r least terns and th e cause of the initial population declines resulted from river




                                                                                                               102




                                                                                                 USAGE DAPL0071326
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 230 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




channelization, im poundm ents, and changes in river flo w resulting in loss of suitable habitat througho ut
th e ir range.

4.4.2   Whooping Crane

According to th e USFWS (2007) International Recovery Plan fo r the W hooping Crane {Grus Americana)
th e USFWS considers oil and gas activities as a secondary threat, especially w ithin th e w intering range in
th e southeast United States. Potential threats on whooping cranes along the Central Flyway m igratory
route in th e region of the Proposed Action include loss o f stopover habitat from conversion o f natural
wetlands (e.g., prairie potholes) to croplands, as well as developm ent activities associated w ith natural
gas and oil production. The Proposed Action w ould not result in any loss of stopover habitat fo r the
whooping crane; therefore, it w ould not contribute to cum ulative impacts on the species.

4.4.3    Piping Plover

The USFWS (2009b) 5-Year Review fo r the piping plover does specifically address threats from oil and gas
activities in North Dakota. Flowever, impacts from oil and gas activities th a t are threatening piping plover
are associated w ith the developm ent of oil and gas exploration wells located near th e alkali lakes habitat,
which accounts fo r 83% o f the U.S. Northern Great Plains piping plover breeding habitat. The Proposed
Action is not located w ith in the vicinity o f any o f these areas and w ould therefore not contribute to
cum ulative impacts on piping plovers.

4.4.4    Rufa Red Knot

According to th e Final Rule (79 FR 73706) fo r the rufa red knot (USFWS, 2014b), the USFWS considers oil
and gas activities as a secondary thre at, especially near th e coast (prim arily in southeast Texas in the
w inte rin g range). Potential threats to these species along th e Central Flyway m igratory route in the region
o f th e Proposed Action include loss o f stopover habitat from conversion o f natural wetlands (e.g., prairie
potholes) to croplands and developm ent (including oil and gas exploration). The Proposed Action w ould
not result in any loss o f stopover habitat fo r th e rufa red knot; therefore, it w ould not contribute to
cum ulative impacts on th e species.

4.4.5    Pallid Sturgeon

The USFWS (2014c) Revised Recovery Plan fo r the Pallid Sturgeon (Scaphirhynchus albus) specifically
addresses the potential effects o f energy developm ent such as oil and gas pipelines on pallid sturgeon. It
states th a t w hile a rupture o f a pipeline w ith in sturgeon habitat could pose a threat, the impacts w ould
be localized and th e m agnitude o f th e im pact w ould be dependent on th e quantity and tim ing of the
m aterial released. It is highly unlikely th a t a cum ulative im pact resulting from a spill or leak w ould occur,
as it w ould require m ultiple pipelines in th e same general area to experience anomalous events
simultaneously. Even if this w ere to occur, these impacts w ould be localized and tem porary and w ould
likely not result in a significant im pact on the recovery o f pallid sturgeon, as a whole, as it is found in other
w aterbodies and in other regions th rou gho ut its range (USFWS, 2014c).




                                                                                                               103




                                                                                                 USAGE DAPL0071327
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 231 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




4.4.6   Conclusion

The collocation o f utilities in established corridors; the proper im plem entation of erosion control devices;
compliance w ith perm its issued fo r regulated activities; and rapid, thorough, environm entally appropriate
reclam ation efforts, and design and operation o f projects to m eet or exceed regulatory requirem ents are
industry standards that, when applied consistently, on a regional basis, w ould m inim ize cum ulative
impacts now and in the futu re . Based on th e pipeline route, and th e utilization o f HDDs, the Proposed
Action is not likely to have any perm anent adverse impacts to habitat utilized by listed species, including
aquatic species as discussed in Section 3.4. Therefore, th e Proposed Action w ill not have a cum ulative
effect on listed species.

4.5     W ildlife Resources

Regionally, th e greatest impacts to w ild life (past, present or future) can be associated w ith agricultural
developm ent. Agricultural land use replaced th e existing natural diversity w ith th e m onoculture row
crops. The practice also introduced noxious weeds, soil pests, and other exotics, which all had significant
cum ulative impacts on regional w ildlife. Relative to the habitat and land use impacts associated w ith past
agricultural activities, the Proposed Action impacts, as well as those associated w ith the oil and gas
industry on a regional basis and Connected Actions w ould be nominal. This is due to th e short duration
and small scale o f the Proposed Action relative to the regional landscape and the large scale o f agricultural
activities in the region.

The Proposed Action w ould not perm anently alter the character o f th e m ajority o f available habitats as
m ost impacts are expected to be tem porary (see Section 4.3 fo r a discussion o f vegetation impacts
associated w ith the Proposed Action and the DAPL Project as a whole). Possible tem porary, short-term
impacts on w ild life include the te m porary displacement of some m obile individuals to similar, adjacent
habitats during construction activities. Further, w hile o ther oil and gas projects' pipeline corridors may
require clearing o f forested habitat (if present), once construction is complete, tem porary workspace
areas w ould be able to revegetate. In addition, th e perm anent easement w ould be allowed to revegetate
w ith herbaceous species, w hich provides habitat to a variety o f species th a t utilize herbaceous and edge
habitats. W hen analyzed on a regional basis, these impacts do not change significantly in m agnitude when
compared to th e current and historic impacts previously imposed upon the regional w ild life by agricultural
developm ent. Therefore, fu rth e r habitat fragm entation as a result o f th e Proposed Action or o ther oil
and gas developm ents in th e region w ould be negligible and is not anticipated to significantly contribute
to cum ulative effects on w ildlife.

4.6     Land Use and Recreation

Regional oil and gas developm ent and related activities could cause an impact to land use and recreation
in th e Project Area. However, increased impacts are not anticipated based on the design of th e DAPL
Project and BMPs th a t w ould be im plem ented to restore th e impacted area. Tem porary impacts to land
use w ould potentially occur during the period o f active construction but areas w ould revert to
preconstruction use fo llo w ing restoration. Because construction w ould be short term and land use
conversion w ould be m inim al, th e cum ulative im pact on land use as a result o f th e Proposed Action w ould
be te m porary and minor.




                                                                                                            104




                                                                                              USAGE DAPL0071328
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 232 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The flow age easement crossing w ould be located in an area w ith a greater density o f prior development,
w hile th e Lake Oahe crossing w ould be located in an area w ith relatively little surface developm ent. That
said, since the Proposed Action has been co-located w ith existing pipelines the additional im pact incurred
by th e Proposed Action w ould be negligible if restored as proposed.

The potential cum ulative impacts from th e Proposed Action on land use and recreation resources resulting
fro m spills w ould be m inor. Although there have been releases o f hazardous m aterial from small
diam eter, unregulated gathering pipelines th a t have had an adverse effect on land use and recreation
resources, it is highly unlikely fo r an unanticipated release to occur w ith in the EA review area during
operations of th e DAPL pipeline, which is subject to DOT construction regulations and pipeline leak
detection m onitoring guidelines.

In th e event o f an unanticipated release during operations of th e pipeline, th e effects w ould be
rem ediated follow ing th e cleanup procedures and rem ediation activities described in Section 3.11.
Cumulatively, the impacts associated w ith land use and recreation resources w ould be minimal.




4.7     Cultural and Historic Resources and Native American Consultations

Dakota Access w ould im plem ent measures to avoid or m itigate adverse effects to cultural resources th a t
have been determ ined, in consultation w ith th e federal land managing agencies, NDSHPO, and Native
American tribes, to be eligible fo r listing in th e NRHP. At the one potential NRHP-eligible site mapped
adjacent to th e workspace w ith in the EA review area, Dakota Access w ould install exclusionary fencing
along th e o u ter workspace boundary during construction to prevent inadvertent trespassing by
construction staff or vehicles. This area w ould be classified generically as sensitive environm ental areas,
and w ould be closely m onitored by El staff. If an unanticipated discovery occurs during construction,
Dakota Access w ould fo llo w th e measures described in its UDP (Appendix F).

Although the possibility o f an unanticipated discovery is low based on the negative findings o f the field
survey efforts in the Project Area, the measures outlined in th e UDP includes a thorough notification
protocol which w ould ensure th a t th e necessary cultural resources specialists and agency personnel are
involved to appropriately address the nature and significance and o f th e find. The Proposed Action is not
anticipated to im pact cultural resources; therefore, cum ulative impacts associated w ith th e Proposed
Action w ould not occur.

4.8     Social and Economic Conditions

Construction of the overall DAPL Project w ould contribute m ore than $1 billion in direct spending just fo r
materials - th e m ajority o f which w ould be purchased in th e U.S. Fifty-seven percent o f th e pipe; the
m ajority o f the valves, fittings, valve actuators; and the m ajority of the remaining materials w ould be
m anufactured in th e U.S., creating significant opportunities fo r regional and national m anufacturing. In
addition to m anufactured goods and services, th e DAPL Project w ould provide $195 m illion in easement
payments to th e landowners whose property is crossed by the DAPL Project.



                                                                                                          105




                                                                                             USAGE DAPL0071329
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 233 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




The Proposed Action w ould have a relatively short construction w indow w ith a small num ber o f
construction workers dedicated to th e crossings. It is possible th a t nearby tow ns could experience short­
te rm tem porary increases to the local economy through induced spending fro m construction employees
w orking on the Proposed Action. No residential homes or farm s w ould be relocated as a result o f the
Proposed Action. Additionally, no demographic changes in the Census tracts affected w ith in the Project
Area counties are anticipated because no perm anent employees w ould be created as a result o f the
Proposed Action. Therefore, the only indirect socioeconomic impacts from the Proposed Action are likely
to be related to the tem porary influx o f workers, such as increased demand fo r short term housing and
th e secondary economic benefits discussed in Section 4.10.

The regional population has dram atically increased over th e last seven year period due to oil and gas
developm ent; concentrated in th e Project Area. The m ajority o f th e current available and transient labor
force in the region is involved in the exploration and production o f th e resources, or construction of
related infrastructure, both o f which are labor intensive efforts though tem porary in nature. W ell rigs are
m obile and the num ber o f available drilling leases is lim ited as well as the mineral resource itself. For
these reasons the labor pool effects associated w ith the exploration and production o f the resource are
considered to be a tem porary impact.

Regarding cum ulative impacts to socioeconomic resources, th e Proposed Action w ould provide a benefit
to local m erchants and vendors as well as providing potential tem porary em ploym ent opportunities to
th e local w orkforce. As such, no substantive negative direct, indirect, or cum ulative impacts to
socioeconomic resources w ould result from th e Proposed Action.

4.9    Transportation and Traffic

As discussed in Section 3.3, roads th ro u g h o u t North Dakota have received a sharp increase in truck tra ffic
due to increased oil and gas activity. The greater am ount of tra ffic has led to a decline in the
transportation infrastructure and a decrease in road safety th ro u g h o u t the state. Additional oil and gas
developm ent and production may continue to contribute to cum ulative effects on roads in the vicinity of
th e Project Area requiring a higher frequency o f road maintenance and repair on public roadways.

Cumulative impacts fro m construction o f th e Proposed Action w ould tem porarily increase tra ffic in the
im m ediate vicinity o f the Project Area. This increase in tra ffic w ould be tem porary and is not expected to
result in significant impacts to North Dakota's transportatio n infrastructure. Road im provem ents such as
grading w ould be made as necessary and any impacts resulting from Dakota Access's use w ould be
repaired in accordance w ith applicable local permits. Traffic interruptions w ould be minimized to the
extent practical and w ould result in insignificant, tem porary cum ulative impacts on regional
transportation resources as it w ould be localized to the im m ediate vicinity o f the Project Area and m ajor
delivery routes.

During operations o f the Proposed Action, there is expected to be a positive effect on tra ffic resources in
N orth Dakota. Once in operation, Dakota Access plans to transport 450,000 bpd o f crude oil via pipeline
which w ould significantly reduce the demand fo r the comm ercial trucking o f crude oil on county, state
and interstate highways. It is anticipated th a t the cum ulative effects o f the DAPL Project and o ther fu tu re
pipeline projects w ould be beneficial to the transportatio n infrastructure in North Dakota by decreasing
oil hauled by tru ck tra ffic and th e re fo re reducing wear and tear on roads and highways.



                                                                                                              106




                                                                                                USAGE DAPL0071330
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 234 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




4.10    EnvironmentalJustice

The Proposed Action and Connected Actions and associated cum ulative effects where practicable have
been co-located w ith existing utilities and across USAGE easements and fee owned property. The DAPL
Project avoids crossing Tribal reservation lands across its entire length. There are no reasonable past,
present or reasonably foreseeable actions th a t togethe r w ith these Proposed Actions w ill have a
cum ulative significant adverse effect on th e environm ent o r a disproportionate im pact on low income or
m in ority populations, including the Standing Rock Sioux or other tribes in or around th e Project.

Additionally, th e holders o f the mineral rights and landowners in th e region, including particular tribes
and trib al members, have witnessed a recent w indfall from oil and gas developm ent. Oil and gas
developm ent generally occurs on private land w ith permission o f th e landowner. Given this ascent, there
is no disproportionate im pact to low income, m inority or trib a l populations benefited by the
Environmental Justice policy. The DAPL Project was routed to avoid sensitive lands and populations,
including triba l lands, and areas and does not have a disproportionate im pact on any low income, m inority
or trib al population benefited by Environmental Justice policy, as discussed in section 3.9, above. For
these reasons, th e Proposed Action and its associated cum ulative actions and effects have no significant
cum ulative im pact to low-incom e, m in ority or tribal populations.

4.11    Air Quality and Noise

No operation emissions are associated w ith th e Proposed Action, as no m ajor aboveground facilities
w ould be constructed in the Project Area. Potential cum ulative impacts on air quality w ould result from
concurrent construction o f th e Project and other developm ent projects in the region. Cumulative impacts
on air quality associated w ith construction o f the Proposed Action w ould be tem porary and short-term ;
therefore, even if construction o f o th er projects were concurrent w ith th e Proposed Action, cum ulative
construction-related air quality impacts w ould be negligible.

Construction of th e Proposed Action w ould affect am bient noise levels at some nearby residences during
active construction. The noise im pact o f th e pipeline construction w ould prim arily originate from the HDD
equipm ent and w ould be highly localized to th e HDD entry and exit sites. However, because the duration
o f construction w ould be short-term , the contribution o f the Proposed Action to cum ulative impacts on
noise w ould be negligible.




                                                                                                          107




                                                                                            USAGE DAPL0071331
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 235 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                5.0      IRREVERSIBLE AND IRRETRIEVABLE COMMITMENT OF RESOURCES

As required by NEPA, irreversible and irretrievable com m itm ents o f resources involved in the Proposed
Action should it be im plem ented, m ust be addressed in th e EA. Irreversible com m itm ents o f resources
result in a loss o f fu tu re options. C om m itm ents o f resources which are irreversible are those resources
which are destroyed or consumed and are neither renewable nor recoverable fo r use by fu tu re
generations. Examples o f irreversible com m itm ents o f resources include consum ption of petroleum -
based fuels or minerals and destruction cultural resources. Irretrievable com m itm ents o f resources result
in a loss o f productivity. Com m itm ents o f resources which are irretrievable occur when th e productive
use or value o f a renewable resource is lost fo r a period o f tim e. For example, tim b e r or soil productivity
may be lost fo r a period o f tim e resulting in an irretrievable loss o f production, but th e action is reversible.

Construction activities associated w ith th e Proposed Action w ould result in the consum ption of materials
such as alum inum , steel, other metals, w ood, gravel, sand, plastics, and various form s o f petroleum-based
fuels, th e use o f which w ould constitute an irreversible com m itm ent of resources. M ost of these materials
are nonrenewable and w ould be irreversibly com m itted if not recycled or reused during maintenance or
at th e end o f th e life o f the Proposed Action.

Areas o f vegetation removal or conversion along th e perm anent right-of-w ay, such as areas w here trees
or shrubs w ere established p rior to construction but w ould be m aintained in an herbaceous state during
operation, w ould represent an irretrievable com m itm ent o f resources. Additionally, erosion, compaction,
or an overall loss o f soil productivity could occur if these impacts are not properly m itigated. Use o f w ater
fo r dust control and hydrostatic testing w ould also be irretrievable. O ther irretrievable com m itm ents of
resources could occur if areas te m p orarily impacted by construction were not restored.

Overall, there w ould be a very m inim al com m itm ent o f irreversible an d /o r irretrievable resources as a
result o f th e Proposed Action since the m ajority o f impacts w ould be tem porary and w ould occur w ith in
agricultural land. Additionally, irreversible a n d /o r irretrievable com m itm ents of resources w ould be
m inim ized through the m itigation measures fo r the affected environm ents identified th rougho ut this EA.




                                                                                                                 108




                                                                                                  USAGE DAPL0071332
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 236 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                       6.0    MITIGATION SUMMARY

Dakota Access has selected th e Proposed Action to m inim ize impacts to natural/cultural resources as
summarized in Table 8-2. System and routing alternatives w ere considered fo r the entire DAPL Project in
order to m eet purpose and need, design criteria and construction requirem ents, w hile minimizing
potential impacts to th e existing environm ent and socioeconomic setting. Impacts to the environm ent
w ould be tem porary and not significant as a result o f avoiding, m inim izing and m itigation any potential
impacts. The m ajority o f potential impacts w ould be m itigated by HDD technology which w ould bore
beneath resources and allow pipeline construction to proceed w ith the least am ount o f impacts possible.
Dakota Access has w ould also im plem ent general m itigation measures such as those described in th e ECP
(Appendix G). The ECP has been developed based on decades o f experience im plem enting BMPs during
construction in accordance w ith generally accepted industry practices fo r linear infrastructure and cross­
county pipelines. It is intended to m eet or exceed federal, state, and local environm ental protection and
erosion control requirem ents, specifications and practices. The ECP describes current construction
techniques and m itigation measures th a t w ould be em ployed to minimize th e effects o f construction on
environm ental resources. Some o f th e basic procedures identified in the ECP are listed below:

    •   BMPs designed to m inim ize th e effects o f construction on environm ental resources;
    •   Tem porary and perm anent erosion and sedim ent control measures;
    •   Soil handling procedures designed to preserve the integrity o f th e soil (e.g., topsoil segregation,
        decom paction, etc.);
    •   W etland and w aterbody crossing and stabilization procedures
    •   W ildlife and livestock m itigation measures
    •   Restoration and revegetation procedures
    •   Refueling and waste m anagement procedures
    •   W eed managem ent procedures
    •   W in te r construction practices
    •   S torm w ater managem ent procedures

Dakota Access incorporates environm ental requirem ents into all construction specifications and the ECP
w ould be included in contract docum ents and enforced as such th rougho ut the proposed action. The
construction contractor(s) m ust com ply w ith all applicable perm its and plans during all phases o f
construction. In addition to the ECP, th e Proposed Action w ould be constructed in accordance to the
measures detailed in Dakota Access' SWPPP, SPCC, HD Construction Plan, HDD Contingency Plan, and
UDP.

To fu rth e r ensure compliance w ith perm its, plans, obligations, and com m itm ents, Dakota Access w ould
have fu ll-tim e Els to m o nito r construction and compliance. The Els w ould be responsible fo r observing
construction activities to verify th a t w ork is carried o u t in accordance w ith environm ental perm it
requirem ents and ensure th a t designed avoidance and m itigation measures are properly executed during
construction.

No additional m itigation measures were identified fo r geology and soils; w ater resources; vegetation,
agriculture, and range resources; w ild life resources; aquatic resources; land use and recreation; cultural
and historic resources, social and economic conditions; environm ental justice; or air and noise. General



                                                                                                          109




                                                                                             USAGE DAPL0071333
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 237 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




m itigation measures, as described in sections 3.1 through 3.7, or avoidance associated w ith th e trenchless
installation (i.e., HDD or bore) o f the proposed pipeline are expected to m itigate adverse impacts to
resources.




                                                                                                         110




                                                                                            USAGE DAPL0071334
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 238 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




      7.0        FEDERAL, TRIBAL, STATE, AND LOCAL AGENCY CONSULTATION AND COORDINATION

The follow ing is a listing o f all individuals and agencies consulted during preparation o f th e EA regardless
o f w h e th er a response was received. On March 30, 2015, Dakota Access sent letters to interested parties
(indicated by the Corps) requesting comm ents on the federal actions associated w ith crossing Corps
flow age easements and Corps owned and managed federal land. A sample request fo r com m ent letter
sent to individuals and agencies consulted, along w ith the m ailing list and comm ents received, is included
in Appendix J. Appendix K contains th e Notice o f Availability o f th e Draft EA fo r com m ent. Table 7-1
includes a summary o f agency personnel consulted.

                                                  Table 7-1
                                         Agency/Entity Consultation List
                                                                                           Date Received/
            Agency/Entity                    Name                   Address
                                                                                         Relevant EA Section
                                                           110114th Ave. NW STB 1400
            American Rivers          Kristen McDonald                                             N/A
                                                           Washington, DC 20005-5637
  Bureau of Indian Affairs - Fort                                 PO Box 370
                                     Floward Bemer                                                N/A
        Berthold Agency                                       New Town, ND 58763
  Bureau of Indian Affairs - Great                           115 Fourth Avenue S.E.
                                     William Benjamin                                             N/A
      Plains Regional Office                                  Aberdeen, SD 57401
   Bureau of Indian Affairs-Fort                                 P.O. Box 370
                                     Earl Silk                                                    N/A
        Berthold Agency                                       New Town, ND 58763
     Bureau of Indian Affairs-                                      P.O. Box E
                                     Robert Demery                                                N/A
         Standing Rock                                        Fort Yates, ND 58538
                                                           99 23rd Avenue West, Suite
   Bureau of Land Management         Rick Rymerson                     A                          N/A
                                                              Dickinson, ND 58601
                                                                1200 Missouri Ave
    Dakota Prairie Grasslands        Dennis Neitzke                                               N/A
                                                               Bismarck, ND 58504
                                                                  P.O. Box 1095
     Dakota Resource Council         MarkTrechock                                                 N/A
                                                               Dickinson, ND 58601
                                                           400 East Broadway Avenue,
       Bismarck-Mandan
                                     Brian Ritter                   Suite 417                     N/A
    Development Association
                                                              Bismarck, ND 58501
                                                                210 2nd Ave NW
  Morton County Commissioners        Dawn Rhone                                                   N/A
                                                               Mandan, ND 58554
                                                               210 2nd Ave NW
 Morton County Extension Agent       Kari Presler                                                 N/A
                                                            Mandan, ND 58554-3158
                                                               2916 37th St. NW
   Morton County Weed Board          Wayne Carter                                                 N/A
                                                               Mandan, ND 58554
            Emmons County                                          P.O. Box 129
                                     Marlys Ohihauser                                             N/A
            Commissioners                                       Linton, ND 58552
    Emmons County Extension                                   Courthouse, Box 278
                                     Connie Job                                                   N/A
            Agent                                            Linton, ND 58552-0278




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      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 239 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                              Table 7-1
                                     Agency/Entity Consultation List
                                                                                         Date Received/
        Agency/Entity                    Name                     Address
                                                                                       Relevant EA Section
                                                              510 Sampson Ave.
 Emmons County Weed Board         Sam Renschler                                               N/A
                                                              Linton, ND 58552
                                                              205 East Broadway
 Williams County Commissioners    Beth Innis                      PO Box 2047                 N/A
                                                           Williston, ND 58802-2047
                                                              302 East Broadway
 Williams County Extension
                                                                  PO Box 1109                 N/A
 Agent
                                                           Williston, ND 58802-1109
                                                                   109 Main St
 Williams County Weed Board       Jim Basaraba                                                N/A
                                                           Williston, ND 58801-6018
 National Audubon Society State   Genevieve                118 Broadway, Suite 512
                                                                                              N/A
 Office                           Thompson                     Fargo, ND 58102
 Natural Resources Conservation                                 PO Box 583
                                  Kyle Hartel                                                 N/A
 Service                                                   Watford City, ND 58854
 Natural Resources Conservation                              2540 Overlook Lane
                                  Michele R. Doyle                                            N/A
 Service                                                   Mandan, ND 58554-1593
 Natural Resources Conservation                               318 Broadway St. S
                                  Jennifer M. H. Vetter                                       N/A
 Service                                                    Linton, ND 58552-7612
 Natural Resources Conservation                                 1106 West 2nd St
                                  David Schmidt                                               N/A
 Service                                                   Williston, ND 58801-5804
                                                           NDSU Dept 7680 PO Box
 NDSU Dept of Soil Science-
                                                                    6050                      N/A
 Department Chair
                                                            Fargo, ND 58108-6050
 North Dakota Council of                                     1948 Anderson Drive
                                  Leo Keelan                                                  N/A
 Humane Societies                                              Minot, ND 58701
 North Dakota Department of                                  600 East Boulevard
                                  Peter Wax                                                   N/A
 Health                                                      Bismarck, ND 58505
                                                             4900 Ottawa Street
 North Dakota Farm Bureau                                                                     N/A
                                                             Bismarck, ND 58503
                                                                                         April 22, 2015/
                                                              307 1st Street East
 North Dakota Forest Service      Larry Kotchman                                         Section 2.0 and
                                                          Bottineau, ND 58318-1100
                                                                                           Section 3.5
 North Dakota Game & Fish                                 100 N. Bismarck Expressway
                                  Steve Dyke                                                  N/A
 Department                                                Bismarck, ND 58501-5095
 North Dakota Game & Fish                                      406 Dakota Ave
                                  Dave Fryda                                                  N/A
 Department                                                  Riverdale, ND 58565
                                                              100 North Bismarck
 North Dakota Game & Fish
                                  Bruce Kreft                     Expressway                  N/A
 Department
                                                           Bismarck, ND 58501-5095




                                                                                                           112




                                                                                           USAGE DAPL0071336
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 240 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                                Table 7-1
                                      Agency/E ntity Consultation List
                                                                                         Date Received/
         Agency/Entity                    Name                   Address
                                                                                       Relevant EA Section
 North Dakota Game & Fish                                 13932 West Front Street
                                   Kent Luttschwager                                           N/A
 Department                                               Williston, ND 58801-8602
 North Dakota Game & Fish                                     406 Dakota Ave
                                   Fred Ryckman                                                N/A
 Department                                                 Riverdale, ND 58565
                                                             100 North Bismarck
 North Dakota Game & Fish
                                   Terry Steinwand               Expressway                    N/A
 Department
                                                          Bismarck, ND 58501-5095
                                                                                         April 16, 2015/
 North Dakota Industrial
                                                            600 East Boulevard            Section 3.1.2,
 Commission - Oil and Gas          Lynn Flelms
                                                            Bismarck, ND 58505          Section 3.1.3, and
 Division
                                                                                          Section 3.1.4
 North Dakota Industrial
                                                            600 East Boulevard
 Commission - Oil and Gas          Bruce E. Flicks                                             N/A
                                                            Bismarck, ND 58505
 Division
                                                         1707 North 9th St. P.O. Box
 North Dakota Land Department      Mike Brand                       5523                       N/A
                                                          Bismarck, ND 58506-5523
                                                                                         April 20, 2015/
                                                         1600 East Century Avenue,
 North Dakota Parks &                                                                     Section 3.3.1,
                                   Kathy Duttenhefner              Suite 3
 Recreation Department                                                                   Section 3.4 and
                                                         Bismarck, ND 58503-0649
                                                                                           Section 3.5.
 North Dakota Petroleum                                        P.O Box 1395
                                   Ron Ness                                                    N/A
 Council                                                    Bismarck, ND 58502
 North Dakota State Flistorical                           612 East Boulevard Ave.         April 2, 2015/
                                   Susan Quinnell
 Society                                                    Bismarck, ND 58505            Section 3.7.1
 North Dakota State Water                                  900 East Boulevard Ave.
                                   John Paczkowski                                             N/A
 Commission                                               Bismarck, ND 58505-0850
                                                               P.O. Box 2057
 North Dakota Tourism Division     Sarah Otte Coleman                                          N/A
                                                          Bismarck, ND 58502-2057
 U.S. Army Corps of Engineers,                                1513 12th St. SE
                                   Daniel Cimarosti                                            N/A
 Regulatory Office                                          Bismarck, ND 58504
 U.S. Fish and Wildlife Service,                            3425 Miriam Avenue
                                   Scott Larson                                                N/A
 North Dakota Field Office                                Bismarck, ND 58501-7926
                                                         2110 Miriam Drive, Suite A
 USDA-APHIS-WS                     Philip Mastrangelo                                          N/A
                                                            Bismarck, ND 58501
 USDA-Natural Resources                                   220 East Rosser Avenue,         April 13, 2015/
 Conservation Service-North        Mary Podoll                   Room 270                Section 3.1.5 and
 Dakota State Office                                      Bismarck, ND 58502-5020          Section 3.2.3
 USDOI-Office of Surface Mining                               P.O. Box 11018,
                                                                                          April 13, 2015/
 Reclamation and Enforcement-      Jeffrey Fleischman    150 East B Street, Rm 1018
                                                                                           Section 1.1
 Dick Cheney Federal Building                                Casper, WY 82602



                                                                                                            113




                                                                                           USAGE DAPL0071337
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 241 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                              Table 7-1
                                    Agency/E ntity Consultation List
                                                                                        Date Received/
         Agency/Entity                  Name                    Address
                                                                                      Relevant EA Section
                                 Omaha District;          1616 Capitol Avenue
 U.S. Army Corps of Engineers                                                                N/A
                                 CENWO-PM-AA             Omaha, NE 68101-4901
 North Dakota Parks &                                  1600 E. Century Ave. Suite 3
                                 Mr. Jesse Hanson                                            N/A
 Recreation Department                                  Bismarck, ND 58503-0649"
 North Dakota Chapter of the                                  PO Box 1442
                                 Mr. Kory Richardson                                         N/A
 Wildlife Society                                          Bismarck, ND 58502
                                                          311 East Thayer Ave
 Sierra Club - North Dakota
                                 Mr. Blaine Nordwall           Suite 113                     N/A
 Office
                                                          Bismarck, ND 58501




                                                                                                      114




                                                                                          USAGE DAPL0071338
         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 242 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                           8.0       STATUS OF ENVIRONMENTAL COMPLIANCE

Table 8-1 is a listing o f environm ental protection statutes and o ther environm ental requirem ents, as well
as the status o f Applicant compliance w ith these statutes and requirem ents, regarding this EA.

                                              Table 8-1
                          Environmental Permits, Approvals, and Consultations

    Jurisdiction        Permit or Authorization            Status              Requirement or Action

 Federal
                                                      Pending,
                                                      Application        RHA, Section 10: Missouri River/Lake
 Corps                 RHA, Section 10
                                                      Submitted Dec      Oahe
                                                      2014
                                                      Pending,
                                                      Application        NWP 12, Section 404 Waters with
                       Section 404 CWA
                                                      Submitted Dec      PCN
                                                      2014

                       Survey permission,             Received April     Survey permission, geotechnical
 Corps - Omaha         geotechnical investigation     2015               investigation
 District              Title 30 Rights-of-Way for                        Real Estate Outgrant and EAfor
                       pipelines through Federal                         Crossing the Missouri River/Lake
                                                      Pending
                       Lands and Temporary                               Oahe (Fee title Lands on both sides of
                       Construction License                              river/lake)
                       Flowage Easement Consent
                                                      Pending            Consent to Cross
                       to Cross
                       Section 7 Endangered
                                                      Received May       Compliance under 404 Permit NWP
 USFWS                 Species Act (ESA)
                                                      2016               12 Joint Application
                       Consultation
 Bureau of             Letter of consent to cross     Received           BOR water conveyance facilities, near
 Reclamation           irrigation works               December 2015      cities of Buford and Trenton, ND
 State
                       North Dakota Energy
 North Dakota Public   Conversion and
                                                      Received
 Service Commission    Transmission Facility Siting                      Siting Application, PU-14-842
                                                      January 2016
 (NDPSC)               Act: Certificate of Corridor
                       and Route
 North Dakota
                                                      Permits Received   Crossing Permits for the Lake Oahe
 Office of the State   Sovereign Land Permit
                                                      April 2016         and the Missouri River Crossings
 Engineer
 State Historical
                                                      Received April     Section 106
 Society of North      Section 106 NHPA
                                                      2016               Concurrence/Consultation
 Dakota




                                                                                                              115




                                                                                              USAGE DAPL0071339
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 243 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                              Table 8-1
                          Environmental Permits. Annrovals. and Consultations

    Jurisdiction        Permit or Authorization           Status              Requirement or Action

                       Section 401 Water Quality
                                                     Pending            Automatic with NWP 12
                       Certification
                       Hydrostatic Test Water
                                                     Permits Received   Obtain permit coverage prior to
                       Discharge Permit No.
                                                     May 2016           discharge
 North Dakota          NDG07-0000
 Department of         North Dakota Pollutant
 Health                Discharge Elimination
                       System (NDPDES)               Permit Received
                                                                        Obtain permit coverage
                       Construction Stormwater       April 2016
                       General Permit (NDRIO-
                       0000)



Table 8-2 provides a summary o f th e environm ental m itigation measures discussed th rougho ut this EA
th a t Dakota Access has com m itted to as part o f th e Proposed Action design to avoid or minimize potential
impacts on environm ental and human resources througho ut construction and operation activities.




                                                                                                          116




                                                                                             USAGE DAPL0071340
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 244 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                            Environmental Avoidance/Mitigation Measures

                          To protect the terrain of the Project Area and Connected Actions, Dakota Access would, to the extent feasible, restore
                          the areas affected by pipeline construction to pre-construction contours and similar vegetation (excepting trees within
                          approximately 15 feet of the centerline). Pre-construction and as-built surveys would be completed and provided to
                          the Garrison Project.
                          Although not anticipated, if blasting is found to be necessary, Dakota Access would follow procedures specified in its
                          Blasting Plan (Appendix E).
                          Dakota Access, in accordance with North Dakota One Call, would require that the construction contractor, prior to
                          initiating any ground disturbance activities, identify all underground utilities to minimize the potential for encountering
                          buried utility structures.
                          Dakota Access has completed a geotechnical analysis of the flowage easement and federal land crossing sites to
                          facilitate engineering and design, including selection of appropriate materials and construction methods to limit any
                          environmental impacts attributable to landslides.
                          The proposed pipeline would be designed and constructed to meet or exceed industry specifications, which would
                          effectively mitigate the effects of fault movement, landslides, subsidence, and subsidence.
 Geology and Soils        In the event paleontological resources are discovered during construction, Dakota Access would implement measures
                          outlined in its Unanticipated Discoveries Plan Cultural Resources, Human Remains, Paleontological Resources and
                          Contaminated Media (UDP) (Appendix F) to avoid further impacts to these resources.
                          If any vertebrate fossils are found during pipeline construction, Dakota Access would immediately cease construction
                          activities and notify the appropriate agency personnel, including the North Dakota state paleontologist as well as the
                          USACE archaeologist. The appropriate authorities would determine the significance of the find and prescribe the
                          mitigation procedures to be completed prior to resuming pipeline construction.
                          Dakota Access would minimize or avoid impacts on soils by implementing the mitigation measures described in the
                          DAPL Project's SPCC, SWPPP, and ECP as well as requirements of applicable state and federal permits. These
                          documents would be included as contract documents and enforced as such throughout the DAPL Project.
                          To minimize potential impacts on soil productivity, topsoil would be separated during trench excavation in agricultural
                          land, and if applicable, other areas where soil productivity is an important consideration. Unless otherwise requested
                          by the landowner, topsoil in cropland would be removed to a maximum depth of 12 inches from the trench and spoil
                          storage area and stored separately from the trench spoil. After the trench is backfilled, topsoil would be returned to
                          its approximate original location in the soil horizon.




                                                                                                                                                   117




                                                                                                                                             USAGE DAPL0071341
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 245 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                           Environmental Avoidance/Mitigation Measures

                          Compaction of agricultural soils would be minimized by restricting construction activities during periods of prolonged
                          rainfall. Where unacceptable levels of compaction occur in agricultural lands, a chisel plow or other deep tillage
                          equipment would be utilized to loosen the soil.
                          Dakota Access would retain Els to monitor the contractor's compliance with applicable requirements to protect soil
                          resources during construction of the DAPL Project. The Garrison Project would be notified if the Els have concerns on
                          the Project Area or Connected Action Area.
                          The HDD workspace sites would be cleared, graded and matted as needed to minimize rutting and compaction.
                          Permanent impacts to soils would be avoided through the application of BMPs during construction, restoration, and
                          post-construction revegetation management, as outlined in the ECP (Appendix G).
                          Impacts to Lake Oahe and the Missouri River would be minimized by using HDD construction methods to install the
                          proposed pipeline underneath the Missouri River and Lake Oahe.
                          The HDD Contractor plans to install steel surface casing, where defined in the site specific HDD plans, to reduce the
                          probability of an inadvertent release when the drill bit is working near the surface.
                          The drilling mud and cuttings would be disposed of in accordance with applicable laws and regulations, likely in an
                          existing landfill or by land farming.
                          Dakota Access would conduct all HDD work according to the HDD Construction Plan (Appendix B) that it has prepared,
                          and implement the HDD Contingency Plan (Appendix B) in the event of an inadvertent release.
                          The Missouri River water withdrawal activity would comply with all applicable permit conditions and regulations,
                          including the specifications on permitted intake structures outlined in the USACE's Regional Conditions for North
 Water Resources          Dakota applicable to NWP 12 (Utility Line Activities). This regional condition requires that the applicant 1) utilize an
                          intake screen with a maximum mesh opening of %-inch, 2) wire, Johnson-like screens must have a maximum distance
                          between wires of 1/8-inch, 3) water velocity at the intake screen shall not exceed %-foot per second, 4) intake
                          structure shall be floating, and 5) at the beginning of pumping, the intake shall be placed over water with a minimum
                          depth of 20 feet.
                          The barge/float required for water withdrawal from the Missouri River would be fitted with a secondary containment
                          structure, and the pump would be placed within this structure to contain accidental spills of fuels. The intake hose
                          would be suspended by floats within the water column and screened to prevent impingement entrainment of foreign
                          objects and aquatic species.
                          Water discharges associated with hydrostatic testing on Corps flowage easements would be conducted in accordance
                          with applicable permits. Hydrostatic test water discharges would not occur on Corps fee property.




                                                                                                                                                   118




                                                                                                                                            USACE DAPL0071342
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 246 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                           Environmental Avoidance/Mitigation Measures

                           Dakota Access would conduct trench dewatering and hydrostatic test discharges in a manner consistent with the North
                           Dakota Pollutant Discharge Elimination System (NDPDES) General Permit NDG-070000, as applicable.
                          Discharged hydrostatic test water would not contain additives unless written approval is received from Dakota Access
                          and applicable permits authorize such additives.
                          Where appropriate, water would be discharged into an energy dissipation and/or filtering device as described in
                          Dakota Access' SWPPP (Appendix A) to remove sediment and to reduce the erosive energy of the discharge.
                          Impacts to waterbodies would be minimized by conducting pipeline construction activities in accordance with
                          applicable regulatory requirements and waterbody construction procedures described in Section 2.3.2.8 and the ECP.
                          Fuel and all other hazardous materials would be stored in accordance with the requirements of Dakota Access' SPCC,
                          SWPPP, and ECP. These documents also describe response, containment, and cleanup measures.
                          Els would monitor compliance with applicable waterbody protection requirements during construction of the facilities.
                          The Project ECP (Appendix G) and SWPPP (Appendix A) describe additional mitigation measures and contains
                          illustrations of how sediment control devices should be utilized.
                           Dakota Access would maintain a vegetative buffer until the actual crossing of the waterbody takes place.
                          Temporary sediment control measures, such as silt fence, would minimize the introduction of sediment into
                          waterbodies during construction and minimize the movement of spoil and sediment from surface runoff during and
                          after construction.
                           Dewatering activities would be conducted in accordance with applicable permits and Dakota Access' SWPPP, and ECP.
                          All surface drainage contours and vegetation would be returned as closely as practical to preconstruction conditions.
                          The potential for groundwater contamination would be avoided by implementing the protective measures set forth in
                          the Project specific SPCCs prepared by the contractor and in Dakota Access' SPCC Plan (Appendix A).
                          In the event of a leak, Dakota Access would work aggressively to isolate the source through the use of remote-
                          controlled shut-off valves, initiate cleanup activities, and contact the appropriate federal and state authorities to
                          coordinate leak containment and cleanup. Dakota Access proposes to meet or exceed all applicable regulations and
                          requirements for pipeline design, construction, and operation.
                          Construction workspace on the flowage easements has been selected based on an absence of wetlands within the
                          Project area.
                          Dakota Access is in the process of obtaining verification for use of NWP 12 for the crossings of both the Missouri River
                          and Lake Oahe Section 10 waterbodies.




                                                                                                                                                  119




                                                                                                                                           USACE DAPL0071343
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 247 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                           Environmental Avoidance/Mitigation Measures

                          The Project ECP and SWPPP specify several measures to protect wetlands and waterbodies from becoming polluted
                          with fuels or other hazardous materials during construction. This plan prohibits the storage of fuel or other hazardous
                          materials within 100 feet of a wetland or waterbody. The ECP also specifies that equipment must be refueled at least
                          100 feet from waterbodies unless, due to site-specific conditions, there is no practical alternative such as the proposed
                          pumping intake structure located on the barge at the Missouri River Crossing. In that case, the contractor must
                          implement site-specific protective measures and containment procedures described in the ECP. Contractors would be
                          required to provide trained personnel, appropriate equipment, and materials to contain and clean up releases of fuel,
                          lubricating oil, or hydraulic fluid that result from equipment failure or other circumstances.
                          The Project has been designed in accordance with accepted floodplain management practices; no impacts to floodplain
                          elevations or velocities are anticipated. Following construction, disturbed areas would be restored to pre-construction
                          grades and contours as practical.
                          If necessary, soil displaced by the installation of the 24-inch pipeline on the flowage easements would be removed
                          from the floodplain and hauled to an upland location in order to ensure original floodplain elevations are restored.
                          Remotely operated above-ground mainline valve sites would be installed on both sides of the Missouri River and Lake
                          Oahe crossings for isolation in the event of an emergency shutdown.
                          Dakota Access will identify an all-weather access and collection point downstream of both the Missouri River crossing
                          and Lake Oahe crossing. At each location, Dakota Access will provide an equipment storage facility that includes a
                          permanent storage area for winter and open water spill response equipment.
                          Impacts to cultivated crops make up the majority of temporary impacts and would return to cultivated crops post­
                          construction.
                          Within areas disturbed by construction of the Project, and not being actively cultivated, including the flowage
                          easement Project Area, Dakota Access would implement active revegetation measures and rapid colonization by
                          annual and perennial herbaceous species to restore most vegetative cover within the first growing season.
                          In areas that require permanent revegetation, Dakota Access would specify appropriate seed mixes, application rates,
                          and seeding dates, taking into account recommendations of appropriate state and federal agencies and landowner
                          requests.
                          In non-agricultural areas, vegetation cleared from ATWS would be allowed to revegetate after construction depending
                          on arrangements with the landowner.
                          Temporary revegetation measures may also be implemented to quickly establish ground cover to minimize the
                          potential for soil erosion and noxious weeds to establish. A temporary seed mix may be applied in these situations.
                          The Project ECP (Appendix G) contains more details regarding temporary revegetation.



                                                                                                                                                 120




                                                                                                                                           USACE DAPL0071344
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 248 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                            Environmental Avoidance/Mitigation Measures

                          When constructing in agricultural areas, a minimum of 1 foot of topsoil (organic layer) would be stripped from the
                          trench line and stockpiled separately from trench spoil to preserve the native seed stock. The ECP contains additional
                          details regarding topsoil segregation.
                          At stream approaches, the contractor would leave a 20-foot buffer of undisturbed herbaceous vegetation on all stream
                          banks during initial clearing, except where grading is needed for bridge installation or where restricted by applicable
                          regulations and/or permit conditions.
                          Dakota Access would work with County Weed Boards to ensure the Project ECP contains relevant and necessary
                          mitigation measures that would be implemented to prevent the spread of noxious weed species during construction
                          and operation of the Project.
                          Herbaceous cover would be seeded on disturbed upland areas during restoration and it is expected that pre-existing
                          herbaceous and shrub habitats would quickly reestablish themselves.
                          In the unlikely event that a listed species is encountered on the Project at Corps owned lands during construction,
                          construction activities would stop and the Corps would be contacted.
                          Herbaceous cover would be seeded on disturbed upland areas during restoration and it is expected that pre-existing
                          herbaceous and shrub habitats would quickly reestablish themselves.
                          In the unlikely event that a listed species is encountered on the Project at Corps owned lands during construction,
                          construction activities would stop and the Corps would be contacted.
                          Installation and removal of the temporary waterline on the flowage easements are anticipated to be complete prior to
                          nesting season; therefore, impacts on the interior least tern and piping plover are not anticipated. However, if the
                          water withdrawal activities are not able to be completed prior to nesting season as expected, Dakota Access would
                          conduct surveys prior to placement of the waterline to confirm the presence/absence of these species within the
 Wildlife Resources       pipeline ROW. If these species are nesting within the Project Area, Dakota Access would postpone water withdrawal
                          activities at the Missouri River until these species have left the area.
                          Direct impacts on potentially suitable habitat for the interior least tern and piping plover at the Missouri River and Lake
                          Oahe would be avoided by crossing the waterbodies via HDD.
                          Lake Oahe would be crossed using a HDD construction method, avoiding impacts on potential migrating rufa red knot
                          loafing habitat.
                          Impacts on the pallid sturgeon or suitable habitat present within the Missouri River would be avoided by implementing
                          the conditions on permitted intake structures outlined in the USACE's Regional Conditions for North Dakota applicable
                          to NWP 12 (Utility Line Activities) and as described in the USFWS Recovery Plan for the Pallid Sturgeon.




                                                                                                                                                  121




                                                                                                                                             USAGE DAPL0071345
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 249 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                            Environmental Avoidance/Mitigation Measures

                           Impacts on the pallid sturgeon or suitable habitat present within Lake Oahe would be avoided by crossing the lake via
                           HDD.
                          A successfully completed HDD crossing would avoid aquatic resource impacts to Lake Oahe since the pipeline would be
                          installed without disturbing the aquatic and benthic environments.
                          All construction equipment utilized on or in waters of the state would be subject to inspection by the Department in
                          accordance with the North Dakota Administrative Code (Title 30, Article 3, Chapter 6-01). Further, Dakota Access
                          would implement required measures including the removal of all aquatic vegetation from vessels, motors, trailers, or
                          construction equipment. All water would be drained from bilges or confined spaces. All Aquatic Nuisance Species will
                          be removed from equipment in accordance with the North Dakota Administrative Code (Title 30, Article 3, Chapter 6).
                          All HDD operations conducted for the Missouri River and Lake Oahe crossings would adhere to the HDD Contingency
                          Plan and applicable permit conditions to reduce the likelihood of an inadvertent release to minimize and mitigate
                          environmental impacts. Dakota Access' construction contractor would ensure that the appropriate response
                          personnel and containment equipment are available onsite to effectively implement the HDD Contingency Plan.
                          Water withdrawal activities at the Missouri River would be conducted in accordance with all applicable permit
 Aquatic Resources
                          conditions and regulations and in a manner that would not reduce water flow to a point that would impair flow or
                          impact aquatic life.
                          Intake screens and floats would also be utilized during the withdrawal of water from the Missouri River to prevent
                          entrainment of aquatic life and avoid impacts on aquatic resources.
                          The potential for impacts on aquatic resources associated with accidental fuel spills or leaks during the withdrawal of
                          water from the Missouri River would be avoided or minimized by placing the pump within a secondary containment
                          structure on the barge.
                          For portions of the pipeline installed beneath the lake, the depth of the pipeline profile, the increased wall thickness of
                          the pipe, the installation of remotely operated valves on both sides of the river crossing, monitoring of the system
                          24/7, aerial patrols, and in-line inspection, would further limit the potential for an inadvertent release into the river.
                          Adherence to the GRPs for Lake Oahe and the Missouri River would minimize potential impacts on aquatic wildlife
                          from potential spills during the operation of the pipeline.




                                                                                                                                                   122




                                                                                                                                             USAGE DAPL0071346
                           Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 250 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

         Resource                                             Environmental Avoidance/Mitigation Measures

                           Conduct emergency response drills/exercises in accordance with the National Preparedness for Response Exercise
                           Program (PREP) consisting of table top exercises and equipment deployment drills. Dakota Access has committed to
                           additional full scale open water and full scale winter/ice exercises that will be conducted at Lake Sakakawea and Lake
                           Oahe. A full scale exercise will occur once every 3 years (triennial cycle) with the location and type of exercise
                           occurring on alternating schedules (e.g. open water exercise at Oahe the first triennial cycle, followed by winter
                           exercise at Sakakawea the following triennial cycle, followed by a winter exercise at Oahe the following triennial cycle,
                           etc.). Stakeholder (federal, state, local, and Tribal) involvement will be solicited for each exercise. The first exercise will
                           occur within the first 3 years after the pipeline becomes operational.
                           In the event of a leak, Dakota Access would work aggressively to contain the leak, initiate cleanup activities, and
                           contact the appropriate authorities, including the Corps.
                           Mitigation measures to minimize impacts to soils, such as topsoil segregation and decompaction practices, would be
                           fully implemented in accordance with the ECP and SWPPP.
                           Dakota Access would coordinate with all landowners on acceptable methods for construction and restoration,
                           including potential impacts to irrigated fields.
                           Dakota Access would repair surface drains and drainage tiles disturbed during ROW preparation, construction, and
                           maintenance activities.
                           Dakota Access would repair or replace fences and gates removed or damaged as a result of ROW preparation,
                           construction, or maintenance activities.

 Land Use and Recreation   Following construction and restoration, the work area would be restored and ranching would be allowed to continue
                           over the operational ROW. Landowners would be compensated for temporary loss of land and lower yields. Grazing
                           activities would return to normal after revegetation of the disturbed areas.
                           Trees would be protected by Dakota Access in a manner compatible with the safe operation, maintenance, and
                           inspection of the pipeline. Applicable regulations would be adhered to regarding tree and shrub removal from along
                           the route.
                           Dakota Access would obtain and comply with applicable state regulations, county permits, and zoning and land use
                           regulations. Permits may include, but are not limited to, grade and fill permits, ditch crossing permits, road and utility
                           permits, and conditional use permits. Dakota Access would retain one or more Els to monitor compliance with
                           environmental conditions of county permits.
                           In accordance with Section 106 of the NHPA, Dakota Access has made a good faith effort to identify significant historic
 Cultural and Historic
                           properties within the Project area. Based on the result of these efforts, no properties consisted to be eligible, or
 Resources
                           potentially eligible for listing in the NRHP would be adversely impacted by the proposed Project or Connected Action.



                                                                                                                                                        123




                                                                                                                                                  USAGE DAPL0071347
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 251 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

         Resource                                          Environmental Avoidance/Mitigation Measures

                          Impacts to the NRHP-eligible BUS (site 32WI1367) would be avoided via HDD to ensure the integrity of construction
                          design for these historic-age features is preserved.
                          HDD workspaces, as well as staging and stringing areas, would be positioned in excess of 100 feet beyond the mapped
                          boundaries of the previously recorded cultural sites in the vicinity of the Lake Oahe crossing.
                          Dakota Access' UDP was developed (Appendix F) for use during all DAPL Project construction activities which describes
                          actions that would be taken in the event of a previously unrecorded cultural resource site is discovered during
                          construction activities. The UDP explicitly calls for work to stop until the correct authority or agency can be contacted
                          and the find can be properly evaluated.
                          The USAGE will conduct archeological monitoring of construction for the HDD activities on both sides of Lake Oahe.
                           No residential homes or farms would be relocated resulting from the proposed action.
 Social and Economic
                          No demographic changes in the Census tracts affected are anticipated, because no permanent employees would be
 Conditions
                          created as a result of the Proposed Action.
                          In the unlikely event contamination is encountered during construction, the UDP (Appendix F) would be implemented
                          to protect people and the environment and avoid or minimize any effects from unearthing the material.
                          Any hazardous materials discovered, generated, or used during construction would be managed and disposed of in
                          accordance with applicable local, tribal, state, and federal regulations. Should emergency response be required during
 Hazardous Waste
                          construction, the contractor would have some of their own trained or contracted responders, and local response
                          teams would be expected to assist.
                          Dakota Access would comply with all applicable laws and regulations to abate or prevent pollution, such as the RCRA,
                          and State hazardous waste management rules.
                          All activities would be conducted in a safe manner in accordance with the standards specified in the OSHA regulations.
                          To prevent pipeline failures resulting in inadvertent releases, Dakota Access would construct and maintain the pipeline
                          to meet or exceed industry and governmental requirements and standards. Specifically, the steel pipe would meet
                          PHMSA specifications under 49 CFR § 195, follow standards issued by the American Society of Mechanical Engineers,
 Reliability and Safety   National Association for Corrosion Engineers and API.
                          Dakota Access would maintain and inspect the pipeline in accordance with PHMSA regulations, industry codes and
                          prudent pipeline operating protocols and techniques. The pipeline ROW would be patrolled and inspected by air every
                          10 days, weather permitting, but at least every three weeks and not less than 26 times per year, to check for abnormal
                          conditions or dangerous activities, such as unauthorized excavation along the pipeline route.




                                                                                                                                                 124




                                                                                                                                            USAGE DAPL0071348
                          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 252 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016
                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                           Environmental Avoidance/Mitigation Measures

                          Dakota Access is currently drafting a FRP, in accordance with 49 CFR 194, which details the procedures to be
                          implemented in the event of an inadvertent pipeline release and would be in place prior to commencing
                          transportation of crude oil.
                          Following completion of construction and throughout operation of the Project facilities, the Operator and qualified
                          contractors would maintain emergency response equipment and personnel at strategic points along the pipeline route.
                          Contracts would be in place with oil spill response companies that have the capability to mobilize to support cleanup
                          and remediation efforts in the event of a pipeline release. The operator would also coordinate with local emergency
                          responders in preventing and responding to any pipeline related problems.
                          A SCADA system would be utilized to provide constant remote oversight of the Project facilities.
                          A Computational Pipeline Monitoring System (CPM) would be utilized to monitor the pipeline for leaks.
                          LeakWarn is being tailored to the Project facilities, in accordance with PFIMSA requirements, to monitor the pipeline
                          for leaks.
                          To reduce the emission of criteria pollutants, fuel-burning equipment running times would be kept to a minimum and
                          engines would be properly maintained.
 Air Quality and Noise    Dakota Access would mitigate noise impacts by limiting equipment running times and the duration of Project
                          construction to the minimum amount necessary to complete the Project. Noisy construction activities would typically
                          be limited to the least noise-sensitive times of day (daytime).




                                                                                                                                                  125




                                                                                                                                          USAGE DAPL0071349
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 253 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                 9.0     LIST OF PREPARERS AND REVIEWERS

Dakota Access, in cooperation w ith the USAGE Preparers, reviewers, consultants and Federal officials
include th e follow ing:

                                                    Table 9-1
                                        List of Preoarers and Reviewers
            Name                               Title/Office                             Agency

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 Omaha District Operations        Natural Resource Specialist,
                                                                          Corps of Engineers, Omaha District
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                                  Garrison Dam / Lake Sakakawea Project   Corps of Engineers, Omaha District
 Archaeologist
 Bismarck Regulatory Chief        Operations Division                     Corps of Engineers, Omaha District

 Oahe Project Archaeologist       Oahe Dam and Lake Project               Corps of Engineers, Omaha District
 Omaha District Operations
                                  Operations Division                     Corps of Engineers, Omaha District
 Branch Chief
 Omaha District Project           Flood Risk and Floodplain Management
                                                                          Corps of Engineers, Omaha District
 Engineer                         Section
 Garrison Project Staff           Garrison Dam                            Corps of Engineers, Omaha District
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                                                                                                               126




                                                                                               USAGE DAPL0071350
      Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 254 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                                                  Table 9-1
                                      List of Preparers and Reviewers
           Name                             Title/Office                              Agency
                                                                        Perennial Environmental Services,
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                                                                        LLC




                                                                                                            127




                                                                                            USAGE DAPL0071351
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 255 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




                         10.0      ACRONYMS, INITIALS, AND ABBREVIATIONS

ANSI                   American National Standards Institute

API                    American Petroleum Institute

ATWS                   Additional Tem porary Workspace

BMP                     Best M anagem ent Practice

bpd                    barrels per day

BTIS                    Buford-Trenton Irrigation System

CAA                    Clean A ir Act

CERCLA                 Comprehensive Environmental Response Compensation and Liability Act

CEQ                    Council on Environmental Quality

CFR                    Code o f Federal Regulations

Corps                   U.S. Arm y Corps o f Engineers

Company                 Energy Transfer Company

CWA                    Clean W ater Act

DA                      D epartm ent o f th e Army

dB                      Decibels

Dakota Access           Dakota Access, LLC

DAPL Project            Dakota Access Pipeline Project

DOT                     D epartm ent o f Transportation

EA                      Environmental Assessment

ECP                     Environmental Construction Plan

ECD                     Erosion Control Device

El                      Environmental Inspector

EG                      Executive Order

EPA                     U.S. Environmental Protection Agency

ESA                     Endangered Species Act

FEMA                    Federal Emergency M anagem ent Agency




                                                                                             128




                                                                                  USAGE DAPL0071352
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 256 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




FERC                    Federal Energy Regulatory Commission

FIRM                    Flood Insurance rate Maps

FRP                     Facility Response Plan

FRFM                    Flood Risk and Floodplain M anagem ent Section

g                      gravitational acceleration

GIS                    Geographic Inform ation System

GRP                    Geographical Response Plan

HDD                     Horizontal Directional Drilling

MP                     m ilepost

MSL                     Mean Sea Level

NDPSC                   N orth Dakota Public Service Commission

NDPDES                  N orth Dakota Pollutant Discharge Elim ination System

NDSHPO                  N orth Dakota State Historic Preservation Office

NEPA                    National Environmental Preservation Act

NFIP                    National Flood Insurance Program

NHPA                    National Historic Preservation Act

NLCD                    National Land Cover Dataset

NPDES                   National Pollutant Discharge Elimination System

NPS                     U.S. National Park Service

NRCS                    Natural Resources Conservation Service

NRHP                    National Register o f Historic Places

NRI                     N ationw ide Rivers Inventory

NSF                     National Science Foundation

NWI                     National W etland Inventory

NWP                     N ationw ide Permit

OSHA                   Occupational Safety and Health Adm inistration

OSRO                   Oil Spill Response Organization




                                                                                       129




                                                                                USAGE DAPL0071353
        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 257 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




PA                      Programmatic Agreem ent

PEM                     Palustrine Emergent

PRO                     Palustrine Forested

PHMSA                   Pipeline and Hazardous M aterials Safety A dm inistration

PREP                    National Preparedness fo r Response Exercise Program

Project Area           Areas th a t are potentially impacted by construction an d /o r operation o f the
                       Proposed Action

Proposed Action        Crossing o f federal flowage easements near the upper end o f Lake Sakakawea
                       north o f the Missouri River in W illiam s County, North Dakota and federally owned
                       lands at Lake Oahe in M orton and Emmons counties, N orth Dakota

RCRA                    Resource Conservation and Recovery Act

RHA                     Rivers and Harbors Act

ROW                     Right-of-W ay

SPCC                   Spill Prevention, Control and Countermeasure Plan

SWPPP                  S torm w ater Pollution Prevention Plan

THPO                   Tribal Historic Preservation Office

UDP                     Unanticipated    Discoveries Plan Cultural Resources,         Human     Remains,
                        Paleontological Resources and Contaminated Media

USAGE                   U.S. Arm y Corps o f Engineers

USDA                    U.S. D epartm ent o f Agriculture

USFWS                   U.S. Fish and W ildlife Service

USGS                    U.S. Geological Survey

WMA                    W ildlife M anagem ent Area




                                                                                                      130




                                                                                         USAGE DAPL0071354
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 258 of 397
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Dakota Access Pipeline Project
July 2016




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                                                                                                             131




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July 2016




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                                                                                                              132




                                                                                                USAGE DAPL0071356
       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 260 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




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        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 261 of 397
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July 2016




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        Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 262 of 397
Environmental Assessment
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July 2016




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Environmental Assessment
Dakota Access Pipeline Project
July 2016




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       Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 266 of 397
Environmental Assessment
Dakota Access Pipeline Project
July 2016




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Figure 1:      Project Location— Federal Lands and Flowage Easements
Figure 2:      Project Layout— Flowage Easements
Figure 3:      Project Layout— Federal Lands
Figure 4:      Soils— Flowage Easements
Figure 5:      Soils— Federal Lands
Figure 6:      Natural Resources— Flowage Easements
Figure 7:      Natural Resources— Federal Lands
Figures:       Cultural Resources— Flowage Easements
Figure 9:      Cultural Resources— Federal Lands
Figure 10      Land Cover— Flowage Easements
Figure 11      Land Cover— Federal Lands
Figure 12      Route A lte rn ative — Missouri River Crossing
Figure 13      Route A lte rn ative — Lake Oahe Crossing
Figure 14      FIDD Cross Section— Missouri River Crossing
Figure 15      FIDD Cross Section— Lake Oahe Crossing
Figure 16      W hooping Crane—Central Flyway




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                                                                                                            F ield D e lin e a te d W a te rb o d y
                                                                                                            F ield D e lin e a te d P E M W e tla n d                                        Dakota Access Pipeline Project
                                 North Dakota                                                     □         F ield D e lin e a te d PRO W e tla n d                                                     Figure 6-A
                                                                      U                           I        I F ield D e lin e a te d P S S W e tla n d                                              Natural Resources
                                                                                                 ^ ^ J U S A C E Flowage Easements                                                                 Flowage Easements
                                                                                                                                                                                             Williams County, North Dakota


                                                                                                                                  1,200
                                                                                                                                      Feet                         e                            Page 1 of 2

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Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\0 6 N D _ A _ F lo w E a se m e n tN a tu ra lR e so u rce s.m xd
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                                  Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 274 of 397



                                                 LL3430E



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                                                                                                                                    LL3483E-1




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                                                                                                       •   Milepost
                                                                                                   I       [Barge Location With
                                                                                                            Pumping Intake Structure
                                                                                                  ^ " P r o je c t Centerline                                                                                    DAKOTA ACCESS, LLC
                                                                                                  “     'DAPL Centerline
                                                                                                  = =Temporary Above Ground Waterline
                                                                                                         Workspace
                                                                                                                                                                                             Dakota Access Pipeline Project
                                 North Dakota                                                     ^ “      Field D e lin e a te d W a te rb o d y
                                                                                                                                                                                                        Figure 6-B
                                                                      U                           ^ ■ F ie ld Delineated PEM Wetland
                                                                                                  F ^ ^ Pield Delineated PFO Wetland
                                                                                                  1        [Field Delineated PSS Wetland
                                                                                                                                                                                                    Natural Resources
                                                                                                                                                                                                   Flowage Easements
                                                                                                            USACE Flowage Easements
                                                                                                                                                                                             Williams County, North Dakota


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Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\0 6 N D _ B _ F lo w E a se m e n tN a tu ra lR e so u rce s.m xd
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                                                                                Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 275 of 397




                                                                                                •        Milepost                                                              I         I Standing Rock Sioux Reservation                DAKOTA ACCESS, LLC
                                                                                                         Project Centerline
                                                                                                                                                                                                                             Dakota Access Pipeline Project
                             North Dakota                                                   -       -    DAPL Centerline                                                                                                                Figure 7
                                        r r ^                                                            Field Delineated Waterbody                                                                                                Natural Resources
                                                                                                                                                                                                                                     Federal Lands
                                                                                                         Workspace                                                                                                                Morton County and
                                                                                           ^ ^ 3 USACE Federal Lands                                                                                                         Emmons County, North Dakota

                                                                                                        0                                1,750
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                                                                                                     LL3426E
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                                                                                                 •     M ile p ost
                                                                                                 a     B arge Location W itfi P u m p in g Intake S tru ctu re *
                                                                                                                                                                                DAKOTA ACCESS, LLC
                                                                                             =       = T em p o ra ry A b o ve G ro u n d W a te rline
                                                                                                       Pro je ct C e n te rlin e
                                                                                             —       ■ D A P L C e n te rlin e
                                                                                                                                                                   Dakota Access Pipeline Project
                                 North Dakota                                                          W o rkspa ce
                                                                                                                                                                              Figure 8
                                                                                             ^ 3       u SACE        F low ag e E a se m e nts
                                                        t= l_ L i                            fS<N P ro je ct A rc fia e o lo g ic a l S u rve y
                                                                                                                                                                         Cultural Resources
                                                                                                                                                                         Flowage Easements
                                                                                                                                                                   Williams County, North Dakota


                                                                                                                                   2,200
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Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\0 8 N D _ C R .m xd
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                                                                                                                                                                    i



                                                                                                           Milepost
                                                                                                           Project Centerline
                                                                                                                                                                                      DAKOTA ACCESS, LLC
                                                                                                           DAPL Centerline
                                                                                                           USACE Federal Lands                                           Dakota Access Pipeline Project
                             North Dakota                                                       f x y j Project Archaeological Survey                                               Figure 9
                                                                                                           Workspace                                                          Cultural Resources
                                                                                                I    I     Standing Rock Sioux Reservation
                                                                                                                                                                                 Federal Lands
                                                                                                                                                                              Morton County and
                                                                                                                                                                         Emmons County, North Dakota
                                                                                                                                                                                                  :2 .000
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                                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 278 of 397




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                                                                                              LL3426E-2




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                                                                                          >         :              LL3430E                     .        ^              f
           Cultivated Crops

            Developed, Low Intensity

            Developed, Open Space

            Emergent Herbaceous Wetland

     . '•/y Grassland/Herbaceous

           Open V\i^ter                                                                                                                                                    |«sw- .
            Pasture/Hay

           Shrub/Scrub

           Woody Wetlands                                                                                                                                                               LL3483E-1
                                                                                                         Milepost
                                                                                                         Project Centerline
                                                                                                                                                                                                   DAKOTA ACCESS, LLC
                                                                                                         DAPL Centerline
                                                                                                         Workspace
                                                                                                                                                                                 Dakota Access Pipeline Project
                                 North Dakota                                                            USACE Flowage Easements
                                                                                                                                                                                           Figure 10-A
                                                                                                                                                                                           Landcover
                                                                                                                                                                                       Flowage Easements
                                                                                                                                                                                 Williams County, North Dakota

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            Cultivated Crops

             Deciduous Forest

             Developed, Low Intensity

           I Developed, Open Space

  Y/ / \ Emergent Herbaceous Wetlands
            Grassland/Herbaceous

             Mixed Forest

            Open V\i^ter

             Pasture/Hay

            Shrub/Scrub

            Woody Wetlands




                                                                                                        B arge Lo ca tion W itfi P u m p in g In take S tru ctu re
                                                                                                •       M ile p ost                                                                       DAKOTA ACCESS, LLC
                                                                                            =       =   T em p o ra ry A b o ve G rou n d W a te rline
                                                                                                        P ro je ct C e n te rlin e
                                                                                                                                                                           Dakota Access Pipeline Project
                                 North Dakota                                               —       — D A P L C e n te rlin e
                                                                                                                                                                                     Figure 10-B
                                           U                                                            W o rkspa ce                                                                 Landcover
                                                                                           ^ ^ ^ U S A C E F low ag e E a se m e nts                                             Flowage Easements
                                                                                                                                                                           Williams County, North Dakota


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Path: P :\G IS \C lie nt\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 0 N D _ B _ L a n d co ve r.m xd
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            Cultivated Crops

            Deciduous Forest

            Developed, Open Space

    ;       Emergent Herbaceous Wetlands

        ^ G rassland/Herbaceous

            Open W ater

            W oodv W etlands


                                                                                            •        Milepost
                                                                                                     Project Centerline                                                                                DAKOTA ACCESS, LLC
                                                                                        -       -    DAPL Centerline
                                                                                                                                                                                          Dakota Access Pipeline Project
                           North Dakota                                                              W orkspace
                                                                                                                                                                                                    Figure 11
                                                                 I
                                     O S]                                              ^ ^ 3 USACE Federal Lands
                                                                                        I           I Standing Rock Sioux Reservation
                                                                                                                                                                                                   Landcover
                                                                                                                                                                                                  Federal Lands
                                                                                                                                                                                               Morton County and
                                                                                                                                                                                          Emmons County, North Dakota

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Path: P :\G IS \C lie n t\E T C _ E n e rgyT ran sfer\D ako taA ccess_ D A P L\M a p s\E N V \N D _ F lo w E ase m e nts\1 1 N D _ L ake O ah e _L an d cove r.m xd
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                                                                                                                                                                            S pring
                                                                                                                                                                            Brook




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            r«rview


                                                                                                                            le x a n d e r




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                                                                                                                                                                                                Cit




                                                                                                     •Preferred Alternative
                                                                                                      Route Alternarive
                                                                                                     ■USACE Garrison Flowage Easements                                                         DAKOTA ACCESS, LLC
                                                                                                     lO tfier Government Lands

                                                                                                                                                                                      Dakota Access Pipeline Project
                                 North Dakota                                                                                                                                                    Figure 12
                                           U                                                                                                                                                 Route Alternative
                                                                                                                                                                                         Missouri River Crossing
                                                                                                                                                                                      Williams County, North Dakota


                                                                                                 0           2          4
                                                                                                                                                ■Miles             e
Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 2 N D _ M isso u ri_ R _ X in g .m xd
                                                                                                                                                                            NAD 1983 UTM Zone 14N
                                                                                                                                                                                                             1:400,000

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                                  Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 282 of 397

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                                             4                                                          ■Preferred Alternative
                                                                                                         Route Alternarive
                                                                                                        =>USACE Garrison Flowage Easements                                                                 DAKOTA ACCESS, LLC
                                                                                                        IStandIng Rock Sioux Reservation
                                                                                                        I USAGE Lake Oafie Fee-Owned Land
                                                                                                                                                                                             Dakota Access Pipeline Project
                                  North Dakota                                                          lO tfier Government Lands
                                                                                                                                                                                                       Figure 13
                                         t n r                                                                                                                                                     Route Alternative
                                                                                                                                                                                                  Lake Oahe Crossing
                                                                                                                                                                                         Emmons & Morton Counties, North Dakota



                                                                                                    0      2      4
                                                                                                                                 I   Miles                              e              NAD 1983 UTM Zone 14N
Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 3 N D _ L a ke _ O a h e _ X in g _ u p d a te 2 0 1 6 0 4 1 2 .m xd
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                                                                                                                         Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 283 of 397




                                                                                                                                                                                  FIGURE 14


                                                                                                                                                                                                                 Project Area
                                                                                         Connected Action                                                                                                                                                                                  Connected Action
                                                                                                                                                                                                      USACE Fee-Owned Lands
                                                                                                                                                                                                                                                                                                                             Hoiiztental Drilling Rig
                                                                                                                                                                                                                                                                                                              Entu Point
   Drilling Mud Pit
                                                                                                      Private Land USACE Land                                                                                                                                           USACE Land Private Land                   v
                                                                                                                                                                                                    LAKE OAHE
                                                                        jssigned




                                                                                                                                                                                                      j»iign«o




STAGE 1 - DRILLING PILOT HOLE                                                                                                                                                                   Dlrecticn of Drilling Operation




                                                                                                                                                                                                      5.450
                                                                                                                                                                                                                                                                                                                              Hoiijtonlal Orilling Rig

                                                                                                                   Private USACE                                                                                                                                                           Private
                                                                                                                                                                                                    LAKE OAHE
                      A b o v e w a t $ r iin $                                                                                                                                                                                                                                                          30 A b o v e W a t e r lin e
                                                                                                                                                   •115 ■Depth of Pipeline                                                      Daiith sf Lak» Oahs|ici'-2CI
                                                                                                                                                                                                                                                                               Dull Pipe


                                                                                                                                                                             Reamer / Swivel Head                                                              Pilot Mole




STAGE 2 - REAMING AND PIPELINE PULL-BACK                                                                                                                 Direction of Reaming and Puii-Back Operation



N o te : T h is d ia g r a m is c o n c e p tL ia l a n d n o t d ra w n to s c a le . D im e n s io n s s h o w n a re a p p r o x im a te                                   Total Length of Directional Drill = 7,500'                                            DAPL-WGM-GNOOO-PPL-STY-0021 - Figure 2 (03-21-16)



                                                                                                                                              CROSS-SECTION DIAGRAM OF LAKE OAHE HDD CROSSING




                                                                                                                                                                                                                                                                                           USACE DAPL0071380
                                                                             Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 284 of 397




                                                                                                                                        FIGURE 15




                                                                      -Project Area-                                                                                                                                                      Connected Action •
                                                                                                                                                                                                                                                                                      H orijtontal Drilling R
                                Exit Poim
                                                                                                    USAC E FLO W AG E EASEMENTS                                                                                                               Private Land
                                                                                                                                                                                  M IS S O U R I R IV E R

                                                                                                                                                          I Depth pfPipelme                                 Depth of Kivei




                                                                                                                                                                                                                                             V             -           ,:


     STAGE 1 - DRILLING PILOT HOLE                                                                                                           Direction of Drilling Operation




                                                                                             -1 4 6 0 '                                                                                    -9 2 5 '-                                                      - 3 3 0 '-
          PrB-Fabrical9cj
                                                                                                                                                                                                                                                                                      Harlstontal Drilling Rig
          Pull-Back Section
                                                                                                      USAC E FLO W AG E EASEMENTS                                                                                                             Private
                                                                                                                                                                                  MISSOURI RIVER
              5 Above Waterline
                                                                                                                                               30 '- EE 'H O sD th Of Pieeiirie                             Depth of RiverU 2S                                               10' Above Wateflinel
                                                                                                                                                                                                                                             Drill Pipe


                                                                                                                                                                                   Ream er! Swiue Head                       Pilot Hole



                  ^ 0 ^                                                                                                                                                                                                                                                          ISouth

     STAGE 2 - REAMING AND PIPELINE PULL-BACK                                                                         Direction of Reaming and Pull-Back Operation


                                                                                                                               Total Length of Directional Drill = 2,715'
N ote: T h is d ia g ra m is co n ceptual and not draw n to scale D im e n s io n s show n a re a p p ro xim a te .                                                                                                                       DAPL-W GM -GN0Q0-PPL-STY-Q 022- Figure 2 (03-21-16)



                                                                                     CROSS-SECTION DIAGRAM OF MISSOUR RIVER HDD CROSSING




                                                                                                                                                                                                                                                                            USACE DAPL0071381
                                                                                 Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 285 of 397




                                                            Williams

                                                           Flowage Easements




                                                               McKenzie
                                                                                                                                                                                                                                        Minnesota
  Montana                                                                                                                                                   North Dakota



                                                                                                                                                Morton

                                                                                                                                                                                 Federa Land



                                                                                                                                                                                Emmons




                                                                                                                                                           South Dakota

                                                                                                                                                                                                                                   DAKOTA ACCESS, LLC
                                                  W in nipeg                                    1 = 1          DAPL Action Area
                                                                               of                                                                                                                                                  Figure 16
                                                                                                 \ / / '/ \    Whooping Crane Migration Corridor                                                                        Dakota Access Pipeline Project
                                             N ORTH
                                             PAKOT,^                  MINNESOTA                                                                  Whooping Crane Migration Corridor from Whooping Cranes & Wind      USACE NO Flowage Easement/408 Areas
                                                                                                                                                 Development - An Issue Paper By Regions 2 and 6, U. S. Fish and
                                                                                                                                                 Wildlife Service April 2009 (Stehn, I , and I . Wassenich. 2008.
                                                                                                                                                 Whooping crane collisions with power lines: an issue paper.          Whooping Crane Migration Corridor
                                                                  Minnc^Ol'^
                                          SO I! TH                                                                                               2006 North American Crane Workshop. In press.)



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                                         DAKOTA
                                                                                                                                                                                                                                               1:2,800,000
      OAfJ V                                                                                                                              40
                                                                                                                                           I Miles                                                                    UTM 83-14F          Date: March, 2016
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                                                                         Page 1 o f n o



                                       UNCLASSIFIEDWFOR OFFICIAL USE ONLY




Project: (450474) DAPL             Review:


 Use the form below to select criteria for the report

a. Comment Type freq.) (S) Any     O   Critical______
                       DAPL Environmental Analysis




b. Review(s) (opt.)
c. Evaluation Status (opt.) Please select from below v
d. BackCheck Status (opt.) Please select from below v
e. Discipline (opt.) Please select from below
f. Keyword(s) (opt.)                                        o
g. Start Date (opt.)

h. End Date (opt.)
i. Comment ID(s) (opt.)                                         J
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DAPL Environm ental Analysis


Displaying 178 comments for the criteria specified in this report.
    Id            Discipline               Section/Figure              Page Number                Line Number
 6116831         Geotechnical                    4.1.3.1                   n/a                        n/a
Comment Classification: UnclassifiedUFor Official Use Only (UWFOUO)

Earthquakes and Seismic Hazard paragraph. Please include acceleration values discussed in the paragraph for the
2% and 4% exceeded within 50 year period



Submitted By: Jason Wagner (402-995-2276). Submitted On: Jun 09 2015


       1-0 Evaluation Concurred
           Subsequent EA draft will be revised as follows (Section 4.1.3.1, Page 20-21):
           The potential seismic hazard was assessed by evaluating the USGS 2014 Seismic Hazard Map'll 5.
           According to the Seismic Hazard Map, earthquake peak ground acceleration (PGA) that has a 2 percent
           chance of being exceeded in 50 years has a value between 2 and 4 percent of gravity (g) for the Project
           Area and Connected Action.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jun 24 2015 (Attachment:
           IMD_2014_Seismic_Hazard_Map.pdf)




https://www.projnet.org/projnet/binKoniHome/index.cfm                                                       6/2/2016
                                                                                                 USAGE DAPL0072161
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 287 of 397
                                                                         Page 2 o f 110


         1-1 Backcheck Recommendation Close Comment
             The response addresses my comment.

            Submitted By: Jason Wagner (402-995-2276) Submitted On: Jul 10 2015.
            Current Comment Status:



   Id               Discipline               Section/Figure                 Page Number                  Line Number
6116834           Geotechnical                Appendix E                         n/a                         n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Blast Plan: Where will blasting be needed? There are no details as to if and where blasting may be needed.



Submitted By: Jason Wagner (402-995-2276). Submitted On; Jun 09 2015


        1-0 Evaluation Concurred
            EA Text (Section 4.1.1.2, Page 19) reads as follows:
            Based on recently obtained geotechnical analysis, no blasting Is expected In association with pipeline
            Installation on the Project Area or Connected Actions given that the HDD will be conducted in
            unconsolidated or loosely indurated sediments, as described in Section 4.1.1.1. Although not anticipated,
            If blasting Is found to be necessary, Dakota Access will follow procedures specified in Its Blasting Plan
            (Appendix E).

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jun 24 2015


        1-1 Backcheck Recommendation Close Comment
            Response addresses my comment

           Submitted By: Jason Wagner (402-995-2276) Submitted On: Jul 10 2015.
           Current Comment Status:



     Id             Discipline                  Section/Figure                   Page Number              Line Number
 6121653          Geotechnical         3.1 and drill logs in appendices                n/a                     n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

In Section 3.1 geology of the area is discussed and states that

Geologic mapping indicates the Holocene Age (11,700 yrs to present) Coleharbor Formation overlies the Fox Hills
Formation on the east side of Lake Oahe. The Coleharbor consists oif sand and gravel river sediments. The Pierre
Formation may be encountered below the Fox Hills Formation, particularly on the east side of Lake Oahe. The Pierre
consists primarily of dark gray shale derived from marine offshore sediment (Bluemie, 1979), (Bluemie, 1984), (USGS
Mineral Resources).

In section 4.1.4.1 states "pipeline construction, including HDD activities, are not expected to penetrate the Cretaceous
Pierre Formation as evidenced by the geotechnical borings (Appendix D), which indicate that the HDD would only
penetrate the surficial geology that Is dominated by unconsolidated sediments."

Looking at the ND geologic map the drill logs and the HDD profile in the appendix of the EA I question the
statements above or would like clarification. WIN the directional drill be at least partially in bedrock or not and if so
what formation? LO-B-1 boring Indicates a lot of high blowcount material int he boring leading me to believe that
maybe the Fox Hills or maybe the Pierre Shale.

Please clarify the statements in Section 3 and 4 and note on profile If bedrock is expected. This may be Important for
mud design etc.



Submitted By: Jason Wagner (402-995-2276). Submitted On: Jun 12 2015




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 288 of 397
                                                                         Page 3 of 110



            1-0 Evaluation C oncurred
                While high blowcount materials were encountered in the borings and portions of the HDD profile are
                located within these materials, the recovered soils were indicative of highly consolidated glacial deposits
                and not bedrock and as such we infer that the HDD profile penetrates the Coleharbor Formation. Sieve
                analyses and Atterberg limits determinations were completed on the soil samples recovered from the
                borings to characterize the soils and help in the development of a drilling fluid plan for HDD operations.

                As requested, a note will be added to the HDD profile for Lake Oahe clarifying that bedrock is not
                expected to be encountered.

                 Submitted By: Jonathan Fredland (7134627121) Submitted On: Jun 24 2015


           1-1 Backcheck Recommendation Close C om m ent
               The response addresses my comment

                Submitted By: Jason Wagner (402-995-2276) Submitted On: Jul 10 2015.
                Current Comment Status:



     Id              D iscip lin e            S e ction /F igyre            Page N um ber               Line Num ber
 6 1 3 i1 2 4        Operations                 Table 1-2                         3                          n/a
Comment ClassifiGation: U ncla ssifie dttF or O ffic ia l Use O nly (UWFOUO)

The fourth line within the table says the exit point within Corps flowage easement. Are you planning to HDD North to
South or South to North? 1 don't believe the Corps has flowage easements on the south side of the river.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


           1-0 Evaluation C oncurred
               The table is correct. The HDD will exit on the flowage easements on the North side of the River. The entry
               point o f the HDD will be on the South side of the River on Private land. Drilling will occur from South to
               North.

                Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


           1-1 Backcheck Recommendation C lose C om m ent
               Closed without comment.

                Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
                Current Comment Status;



      Id           Discipline             S ection/F igure            Page Number                   Line Number
 i1 3 i1 2 7      Operations         1.1.1 Flowage Easements                4             Last Sentence of Last Paragraph

Commerit Classification: UnclassifiedW For O fficia l Use O n ly (UWFOUO)

What about the access road? How much fill will be added for the road within the flowage easement? Which flowage
easements will be impacted. Corps Flood Plain Section only reviewed the valve iocation and not the road. Should get
similar engineering drawings for the road with elevations to confirm with Flood Plain there are no issues.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


           1-0 Evaluation C on curred
               Access road would be located on the same Flowage Easement as Valve Site (LL3453E). Requested




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 289 of 397
                                                                         Page 4 of 110


                 drawing is attached. NOTE THAT NO FILL INCREASING THE ELEVATION WILL BE ADDED.

                 Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015 (Attachment:
                 Valve_Site„and_Road^Typieal_103957~MLV-ND-160-BJ3).pdf)


           1-1 Backcheck Recommendation Close C om m ent
               Closed without comment.

                 Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
                 Current Comment Status;



     Id             D iscip lin e         S ection/F igure           Page N ym b er                 Line Num ber
 6 1 3 i1 3 i      Operations         1.1.2 Federal Lands                 5               Last Sentence of First Section
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

This statement is confusing. Does the 5,420 feet get the pipeline from entry to exit point? Is there any back trenching
occurring on fee property. If so, the Corps would like for the HDD to extend the entire length so this does not occur.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


           1-0 Evaluation C oncurred
               EA text: The HDD entry and exit point workspaces and stringing area will be placed on private land
               outside o f the federal lands and are considered Connected Actions in this analysis, HDD design reflects a
               crossing length of approximately 7,500 feet of which approximately 5,420 feet is beneath the bed of Lake
               Oahe.

                The HDD has been designed to span the entire width of Corps lands. The 5,420 is the length beneath
                Lake Oahe. The entire HDD, from entry to exit point, is approximately 7,500 and spans the COE owned
                lands; no excavation o f any kind will occur on Federal owned lands. This is visually depicted on the
                figures produced for the EA. "

                Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


           1-1 Backcheck Recommendation C lose C om m ent
               Closed without commerit.

                Submitted By: Brent Cossette (402-996-2712) Submitted On: Jul 13 2015.
                Current Comment Status:



    Id              D iscip lin e           S ection/F igure              Page N um ber                Line N um ber
6139131            Operations              2.2.1 Open-Cut                      10                     Third Sentence
Comment Classification; UnclassifiedW For O fficia l Use Only (UWFOUO)

There is no plans for this open bank trenching to occur on Corps fee lands is there?



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


         1-0 Evaluation C oncurred
             Open-Cut waterbody crossings for pipeline installation w/ill not be utilized on Corps fee lands. Pipe will be
             installed via HDD only on Corps Owned lands.

               Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 290 of 397
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              Backcheck Recommendation Close Comment
              Closed without comment.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
              Current Comment Status;



      Id                Discipline                Section/Figure                Page Number              Line Number
    6139132          Environmental                     n/a                         n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                                         )

The scoping letters section Included conversations between the applicant and NRCS. A letter from NRCS was
referenced but not attached. Recommend the NRCS letter be included In the scoping letters section.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


            1-0 Evaluation Concurred
                NRCS letter dated 4/13/2015 from State Soil Scientist, Wade Bott, is found In the Appendix J (page 426 of
                429).

               Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


           1-1 Backcheck Recommendation Close Comment
               Closed without comment.

               Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
               Current Comment Status:



     Id          Discipline              Section/Figure               Page Number                  Line Number
6139135         Operations       4.1.5.2 Impacts and Mitigation            28            Eighth Paragraph First Sentence
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Mud pits on Corps lands? If so, can they be off Corps lands? They need to be a closed loop system. Need to clarify
within the EA.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


          1-0 Evaluation Concurred
              "Mud pits are required to implement the HDD crossing method. There are no mud pits on the Corps fee
              owned lands, one is located on the flowage easements. The term ""closed loop system"" is applicable to
              drilling wells, not horizontal directional drills. Language from the Garrison Oil and Gas Management Plan for
              your reference:
              Garrison Project Oil and gas Management Plan, Appendix D, Construction of Facilities #10 Closed Loop
              Systems: The use of a completely closed loop system including all muds, fluids, and cuttings, will be
              required on all wells located on Corps lands. No reserve pits will be allowed on the well location. All waste
              will be properly disposed of in a State approved disposal facility. Operators are not allowed to dispose of
              waste in commercial waste pits. The Applicant must provide documentation of ail closed loop systems to the
              Garrison Project.

             Appendix F of the Oil and Gas Management plan addresses/acknowledges the need for mud pits with
             respect to pipeline HDDs. There does not appear to be a restriction against these being on COE lands, the
             restriction for pits Is clear with respect to exploration/production wells. Clips from the Oil and Gas
             Management Plan Appendix is provided below In respect to the need and placement of pits.

             Appendix F, A Partial List of Requirements for Pipeline Installation Using HDD Techniques, letter b states:




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 291 of 397
                                                                         Page 6 o f 110


              Detailed drawings showing the plan location of the entrance and exit pits with respect to the levee
              embankments.
              Letter o states: The exit and entrance pits at the ends of the design drill path shall be at least 300-feet
              landside of any landside levee toe and at least 50-feet riverside of any riverside levee toe. Where the design
              drill path is within 100-feet of either levee toe, the drill path shall be level and in rock or a minimum of 50-
              feet below the base of the flood protection system.

              Additionally, Appendix F includes an Example HDD frac out plan that states; Drill fluid is easily contained by
              standard erosion and sedimentation control measures such as stray bales and silt fence. Drill fluid would be
              contained on entry and exit worksites by hay bales and silt fence installed and maintained around the
              perimeter of each site. Within the boundaries of the worksites drill fluid would be controlled through the use
              of pits at the crossing entry and exit points and typical fluid handling equipment such as trash pumps. Drill
              fluid is released regularly on the drill rigs as part of normal operations when sections of drill pipe are
              separated. The worksite will be graded such that fluid released on the rig will flow into the fluid pit in front of
              the rig.


              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open Comment
            While conducting the HDD the cuttings/material will need to be separated from the drilling fluid. The use of
            mud pits Is not allowed. Will need to review further when the HDD plan is sent. Also, verify with USAGE
            Engineering Division on your plan.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
        2-0 Evaluation Concurred
            Based on 7/15/15 comment resolution meeting the reference in the EA to the use of pits will be clarified.
            DAPL plans to construct entry and exit pits within the HDD workspaces. Cuttings will be separated from the
            drilling fluid and not disposed of in a mud pit. See revised EA section 3.1.5.2 and 3,2.1.2.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
              Current Comment Status:



   Id           Discipline               Section/Figure                Page Number                   Line Number
6139139        Operations       4.1.5.2 Impacts and Mitigation              33            Last Sentence of First Paragraph
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Any revegetation occurring on Corps lands needs to be approved through Lake Oahe Project Office.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


        1-0 Evaluation C o n c u r r e d -- ^ — - J-----------------
            "We think this ih'TeTerence'To Sec1idhTf"2.T.2lnsTead of 4.1.5.2.
            EA text: Revegetation of these areas will be in accordance with the ND treeshrub regulations and will not be
            impacted during operation oLthe project. Revegetation discussed in this section is referring to vegetation
            cleared within the pipe stringing corridor (Connected Action) at the Lake Oahe Crossing. This corridor Is not
            on Corps Lands. It is not anticipated that revegetation efforts will be needed on the Corps Owned Lands; in
            the unlikely event any revegetation is needed on Corps Owned lands, it will be coordinated with the Lake
            Oahe Project Office. "

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 292 of 397
                                                                         Page 7 of 110


              Backcheck Recommendation Close C om m ent
              Closed without comment.

              Submitted By; Brent Cossette (402-995-2712) Submitted On; Jul 13 2015.
              Current Comment Status:



      Id                   Discipline                Section/Figure                 Page Number             Line Number
    6139142             Environmental                       n/a                 -        n/a                    n/a
Comment Classification: UnclassifiedW For O fficia l Use Only (UWFOUO)
(                                          )
Response to the ND Public Service Commission indicates that reforestation guidelines will be followed. This would be
accurate for those properties that are not owned in fee title by the Corps. Trees removed for construction and/or
operational purposes by lessees on Corps fee property will be mitigated per Corps policy. This would apply to trees
and shrubs removed at the Oahe crossing.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


            1-0 Evaluation C oncurred
                W e think this this comment referring to the response to Liz Smith, ND Forest Service rather than ND
                Public Service Commission (NDPSC). The Tree and Shrub replanting regulations described in the
                response to the ND Forest Service are to meet NDPSC "Tree and Shrub Mitigation Specifications". There
                are no trees on the Corps Fee owend lands at Lake Oahe that would be cleared; reforestation is not
                applicable to Corps Fee owned lands.

                Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 01 2015


            1-1 Backcheck Recommendation Close C om m ent
                Closed without comment.

                Submitted By: William Harlon (402-995-2500) Submitted On; Jul 15 2015.
                Current Comment Status:



     Id           D iscip lin e             S e ction /F igu re            Page Number                  Line Number
6131144          Operations         4.1.5.2 Impacts and Mitigation                  33            Second to Last Sentence
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

The statement o f "extent practicable" is throughout the document. What does this mean? Mitigation needs to occur
and monitoring to ensure full reclamation takes place is what is required. This statement makes it seem that you
CQyld do 60% and consider that "extent practicable".



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


          1-0 Evaluation C oncurred
              "EA Text: Trenching and dewatering activities used in construction o f the proposed pipeline could temporarily
              alter surface drainage patterns. However, these impacts are expected to be localized and temporary since
              the contours and vegetation w ill be returned to preconstruction conditions to the extent practicable.
              Dewatering activities will be conducted in accordance with applicable Permits and Dakota Access' SWPPP,
              and ECP.
              The term ""extent practcabie"" is a common term in the industry with respect to regulatory compliance.
              USAGE Nationwide Permit Defines Practicable as; Available and capable of being done after taking into
              consideration cost, existing technolr^y, and logistics In light of overall project purpose. Extent Practicable or
              Maximum Extent Practicable (MEP) is often cited in USAGE regulations and is generally left up to
              interpretation by the designer and the reviewer of each Project/Plan. "




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 293 of 397
                                                                         Page 8 of 110



             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


         1-1 Backcheck Recommendation Open Comment
             An Environmental Analysis is meant to quantify the Impacts so you can cumulatively decide on the total
             impacts. You must clearly state what the impacts are and what you plan on doing to mitigate those impacts,
             USAGE must make a decision on total Impacts therefore we must know what those Impacts are.

             Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
         2-0 Evaluation Concurred
             Based on 7/15/15 comment resolution meeting the EA will be reviewed and revised where "extent
             practicable" is used. All Instances where a description of a quantifiable impact or mitigation measure is
             possible will be clarified. See Revised EA sections 3.1.1.2, .3.1.5.2, 3.2.1.2 and 3.6.2.2.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


         2-1 Backcheck Recommendation Close Comment
             Closed without comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
         2-2 Backcheck Recommendation Close Comment
             Closed without comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
            Current Comment Status:



    Id                Discipline                Section/Figure               Page Number                Line Number
6139147            Environmental                      n/a                         n/a                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                                     )

1 did not see refernece to a vegetation maintenance plan In the EA. How will vegetation be maintained on the ROW
after construction. For example, will chemical or mechanical methods be used?



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation Concurred
             Ongoing vegetation of the permanent ROW would entail periodic vegetation clearing measures in
             accordance with PHMSA regulation for pipeline Inspection. This may involve selective tree cutting and
             periodic mowing. The use of herbicides will not occur on Corps Fee Lands without obtaining prior approval
             from the USAGE. Vegetation maintenance of the right-of-way In areas of active cropland is not expected to
             occur due to agricultural practices.

             Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 07 2015


         1-1 Backcheck Recommendation Close Comment
             Recommend an environmental commitment to replace trees & shrubs per Corps policy and vegetation
             maintenance occur outside of nesting season.

             Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
             Current Comment Status:



    Id          Discipline                Section/Figure              Page Number                   Line Number
6139150        Operations       4.2.2.2 Impacts and Mitigation              35            Last Paragraph Third Sentence
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)




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                                                                                                       USAGE DAPL0072168
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 294 of 397
                                                                         Page 9 of 110


 The EA states monitoring activities includes remote oversight. Is this a SCADA system? If so, how will this system
 receive power/signal {i.e. fiber optic, wireless)? Past incidents have shown wireless works marginally at best because
 of the remoteness of these areas. You should expand on this technology and describe the installation within the EA.



 Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


         1-0 Evaluation C oncurred
             The SCADA system will be used for remote monitoring oversight. Power will be provided from the existing
             power grid. In the event o f a power outage, a. 500 watt Unintenruptabfe Power Supply will supply low
             voltage power to the Programmable Logic Controller and communication equipment. Communication with
             the monitoring system will be accomplished primarily via satellite with a telephone back-up (4G cellular or
             landline depending on availability/coverage). The communications system will be evaluated for what works
             best at the valve site and the system with the least potential for interruption during operations will be
             utilized.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Open C om m ent
             This should be included within the EA. Information such as this helps with your risk factors. May want to
             expand on what else you plan on doing to decrease risk of a spill. Operation and maintenance plan for
             example would be a good resource to pull this information from once you develop and send for our review.

             Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
         2-0 Evaluation Concurred
             This information has be added to EA section 3.11 (formerly 4.11) Reliability and Safety.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


         2-1 Backcheck Recommendation Open Comment
             THe EA does not state what power sources will be used for the SCADA system. It states what might be
             used based on available coverage.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
      3-0 Evaluation Concurred
          Section 3.10- Reliability and Safety states "Power for the SCADA system would be provided from an existing
          power grid, in the event of a power outage, a 500 watt Uninterruptable Power Supply would supply low
          voltage power to the Programmable Logic Controller and communication equipment."

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Sep 11 2015


      3-1 Backcheck Recommendation Close Comment
          Closed without comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On; Oct 21 2015.
            Current Comment Status:



    Id                Discipline                S e ction /F igu re         Page Number                 Line Number
 6139151           Environmental                     1.1.1                        4                         n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
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What is the elevation for all shut off valves? Is that elevation susceptible to ice jams, flooding debris, etc? Will they
be accessible when the Missouri River is in flood stage?



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015




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          Case 1:16-cv-01534-JEB
ProjNet; Logged In User          Document 406 Filed 03/22/19 Page 295 ofPage
                                                                         397 10 of 110


         1-0 Evaluation C oncurred
             Please provide information on the potential o f flooding in the vicinity of the valve site in question.
             Information that the USAGE provides would assist Dakota Access in determining risks from flooding/ice at
             the valve site and addressing potential impacts in the EA.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Open C om m ent
             Please provide elevation o f valve locations.

              Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
         2-0 Evaluation C oncurred
             The valve site on the flowage easements is at an elevation of 1873.29 to 1872.00.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


         2-1 Backcheck Recommendation Close C om m ent
             Closed without comment.

              Submitted By: William Harlon (402-995-2500) Submitted On: Sep 04 2015.
              Current Comment Status:



    Id          Discipline              Section/Figure            Page Number                   Line Num ber
i1 3 i1 5 6    Operations      4.2.3.1 Affected Environment             36           First Paragraph Second Sentence
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

The Nationaf Wetland Inventory dataset is not that accurate. These need to be identified by field biologists walking
the route identifying all wetlands.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


         1-0 Evaiuation C oncurred
             "Since this initial draft of the EA, the areas where access was previously denied has been granted; all areas
             have been field verified. We will revise the EA to clarify that NWI data, along with aerial imagery and
             topographic maps were used to provide baseline data. Field delineations per the USAGE guidelines have
             occurred on 100% of the Project and Connected Action areas by qualified biologists.


              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


         1-1 Backcheck Recommendation Open C om m ent
             Good, I will want to verify the information before the comment is closed.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
         2-0 Evaluation C oncurred
             Noted, See section 3.2.3 of the revised EA.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


         2-1 Backcheck Recommendation Close C om m ent
             Closed without comment.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
              Current Comment Status:




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ProjNet; Logged In User          Document 406 Filed 03/22/19 Page 296 ofPage
                                                                         397 11 of 110


    Id                D iscip lin e              Section/Figure                    Page Number            Line Number
 61391 SO          Environmental                      n/a                             n/a                     n/a
Comment Classification: U n c la s s ifie d W o r O ffic ia l Use Only (UttFOUO}
C                              )
I did not see reference in the EA where the control room for the pipeline will be located. Recommend that the control
room, leak detection system, utilities to SCADA, etc be evaluated in the EA.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation C oncurred
             Control room is located in Sugarland, Texas with a backup control room in Bryan, Texas. Leak Warn, a
             leading software program for monitoring pipelines, is being tailored to the Dakota Access Project in
             coordination with PHMSA requirements. The Operator will utilize a Computational Pipeline Monitoring
             System (CPM) to monitor the pipeline for leaks. The CPM is a state-of-the-art pipeline monitoring tool and
             features a real-time transient model that is based on pipeline pressure, flow and temperature data which is
             polled from various field instruments every 6 seconds and updates the model calculations to detect pipeline
             system variations every 30 seconds. After the system is tuned, this state-of-the-art CPM system is capable
             of detecting leaks down to 1% or better of the pipeline flow rate within a time span of approximately 1 hour
             or less and capable of providing rupture detection within 1 - 3 minutes.

             Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 07 2015


         1-1 Backcheck Recommendation Open C om m ent
             Can DAPL elaborate on what utility will be used to transmit data to the control room. Does the EA evaluate
             how alarms in the control room will be handled?

             Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
         2-0 Evaluation C oncurred
             Revised text on SCADA communication incorporated into the EA in Section 3.11. The valves will be
             connected, via cellular and satellite service, Based on existing utilities in the immediate area using these
             same systems, we have knowledge that both systems are reliable for communications needs.
             No, the EA does not evaluate how alarms will be handled.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


         2-1 Backcheck Recommendation Open C om m ent
             Please address within the EA.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 29 2015.
         3-0 Evaluation C on curred
             The following has been added to the revised EA to address how alarms will be handled (Section 3.11, Page
             65-66); The OCC prioritizes and responds to all alarms in accordance with the control room management
             regulations referenced in PHMSA CFR 195.446 (e). This regulation requires that the OCC Operator have a
             SCADA system alarm management plan; in general, the plan must include review o f the SCADA alarm
             operations to ensure alarms support safe pipeline operations, identify any required maintenance that may
             affect safety at least once every calendar month, verify correct safety-related alarm values and descriptions
             at least once every calendar year when associated field equipment are changed or calibrated, determine
             effectiveness of the alarm management plan through a yearly review, and monitor content and volume of
             activity at least once a calendar year to assure controllers have adequate time to review incMming alarms.

            Submitted By: Jonathan Fredland (7134627121) Submitted On; Now 02 2015


         3-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 03 2015.
            Current Comment Status:




httpsi/ZwwViLprojnet.org/projnet/biiiKomHome/inclex.cfin                                                            6/2/2016
                                                                                                        USAGE DAPL0072171
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 297 ofPage
                                                                         397 12 of 110



   Id             Discipline                Section/Figure                 Page Number                 Line Number
6139161          Operations                  Table 4-11                          46                         n/a
Comment Classification; UnclassifiedWFor Official Use Only (UWFOUO)

Why is the Northern Long Eared Bat not included?



Submitted By: Brent Cossette (402-995-2712), Submitted On: Jun 26 2015


        1-0 Evaluation Concurred

           We will edit the EA to include a heading for the NLEB and include the information below
           The NLEB is currently listed by the USFWS as threatened in North Dakota. On April 2, 2015, the USFWS
           published the final listing in the Federal Registrar with an effective date of May 4, 2015. The USFWS listed
           the northern long-eared bat as threatened and chose to exercise the option of issuing an interim 4(d) rule to
           allow for more flexible implementation of the ESA and "to tailor prohibitions to those that make the most
           sense for protecting and managing at-risk species". In areas outside of the 150-mile WNS buffer zone,
           incidental take from lawful activities will be allowed. The state of North Dakota currently falls outside of the
           WNS 150-mile buffer zone. Per the exemptions of the interim 4(d) rule, the Project would not negatively
           impact the northern long-eared bat. (U.S. Fish and Wildlife Service. 2015. Endangered and Threatened
           Wildlife and Plants; Threatened Species Status for the Northern Long-Eared Bat With 4(d) Rule.) "

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


        1-1 Backcheck Recommendation Open Comment
            I will want to verify within the EA before this comment is closed.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Jul 13 2015.
        2-0 Evaluation Concurred
            See Section 3,4.2 of the Revised EA.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
           Current Comment Status:



   Id              Discipline                    Section/Figure                       Page Number        Line Number
6139167         Environmental              2.2 Water body crossings                      n/a                  n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                        )

The Corps preferred method for pipelines, utilities, etc to cross water bodies is via HDD methods. HDD limits the
impacts to aquatic resources.



Submitted By; William Harlon (402-995-2500). Submitted On: Jun 26 2015


        1-0 Evaluation Concurred
            The HDD Technique will be utilized to cross the Missouri River and Lake Oahe. There are no waterbodies
            crossed by the pipeline on Corps Fee Lands other than Lake Oahe. All irrigation canals within the Flowage
            Easements would be crossed via trenchless technology (boring) in coordination with the irrigation districts;
            the canals account for all waterbodies on the Flowage Easements, therefore there will be no open cut of
            waterbodies for the project or connected action. The EA will be updated to reflect this.




https://www.projnet.org/projnet/binKomHome/index.cfm                                                                6/2/2016

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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 298 ofPage
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              Submitted By: Jonathan Fredtand (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Close C om m ent
             Closed without comment.

              Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
              Current Comment Status:



    Id          D iscip lin e                 S e c tio n ffig y re             Page N um ber                 Line N um ber
6 1 3 i1 iS    Operations             4.6.2.2 Impacts and Mitigation                55                Last Paragraph First Sentence
Comment Classification: UnclassifiedW For O ffic ia l Use Only (UWFOUO)

You should include discussion on the South side valve location.



Submitted By; Brent Cossette (402-995-2712). Submitted On; Jun 26 2015


         1-0 Evaluation C oncurred
             The valve site on the south side of the Missouri River wiil be located on private land. Therefore, the valve
             site is not part of the Project Area and is not discussed in ttie EA. To clarify, the area to be included in the
             EA was defined in coordination with the Corps EA group to be the flowage easements north o f the Missouri
             River only. Because o f the type of authorization needed across the easements, it was confirmed that the
             analysis of the flowage easements would be for the flowage easements only and that there was no
             "connected section"; the Misouri River HDD. Anything south o f the river is outside of this scope.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


         1-1 Backcheck Recommendation Open C om m ent
             General description o f the south valve would be all that is needed.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
         2-0 Evaluation C oncurred
             EA revised with text" An additional valve will be placed on the south side of the Missouri River,
             approximately 1,860 feet from the river." in Section 3.6.2.2

              Submitted By; Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
              Current Comment Status:



    Id                D iscip lin e                        S e ction /F lgyre             Page N um ber              Line N um ber
6139174            Environmental                   2.1.1 Clearing & Grading                     n/a                      n/a
Comment Classification: UnclassifiedW For O ffic ia l Use Only (UWFOUO)
{                        )

W hat is the anticipated timeline for clearing and grading? Recommend that contstruction and maintenance activities
on Corps property not conflict with T&E species and occur outside of the nesting season.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015




https://www.projnet.org/projnet/binKoriiHome./index.cfm                                                                        6/2/2016
                                                                                                                   USAGE DAPL0072173
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 299 ofPage
                                                                         397 14 of 110


        1 - i Evaluation C oncurred
              Construction activities will commence upon receipt of applicable authorizations. The HDD is anticipated to
              commence in the winter of 2015/2016. It is anticipated that open trench construction will take place later in
              the spring after the thaw and when the roads are suitable for transporting heavy equipment.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


        1-1 Backcheck Recommendation Close Comment
            Recommend an environmental commitment to minimize environmental impacts by scheduling construction
            and maintenance activities outside of the nesting season.

            Submitted By; William Harlon (402-995-2500) Submitted On: Jul 15 2015.
            Current Comment Status:



   Id         Discipline             Section/Figure               Page Number                    Line Number
8139178      Operations     4.6.2.2 Impacts and Mitigation             56           Seventh Paragraph Third Sentence
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

How will these shelter belts be protected? The Corps requires HDD to be done to avoid/minimize impacts.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


        1-0 Evaluation Concurred
            "EA text: Shelter belts and trees will be protected by Dakota Access to the extent practicable in a manner
            compatible with the safe operation, maintenance, and inspection of the pipeline. Applicable regulations will
            be adhered to regarding tree and shrub removal from along the route.
            Upon completion of field surveys subsequent to drafting the EA, we have confirmed that there are no shelter
            belts that will be impacted within the Project Area or Connected Action. The language in the EA will be
            revised accordingly. "

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


        1-1 Backcheck Recommendation Open C om m ent


           Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
        2-0 Evaluation Concurred
            On 7/15/15 at the comment resolution meeting Brent indicated that he had meant to close this comment
            since no shelter belts will be impacted.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Aug 17 2015.
           Current Comment Status:



   Id              Discipline                  Section/Figure                Page Number                Line Number
6139183         Environmental                 Drawing P I2-22                     n/a                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)


The discharge of hydrostatic water will need to be reviewed and approved prior to discharge onto Corps property.




https://www.projnet.org/projnet/bmKomHome/index.cfm                                                                6/2/2016

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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 300 ofPage
                                                                         397 15 o f 110




Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


       1-0 Evaluation Concurred
           ''Disctiarges of Hydrostatic Test water will not occur on Corps owned lands. Disctiarge on flowage
           easements will be conducted in accordance with Hydrostatic Test Water Discharge Permit No. NDG07-0000
           to be obtained from the ND Department of Health prior to discharge. No discharge on Corps Owned Lands
           is proposed, only in the flowage easement within the HDD workspace for the exit point.
           Does this comment mean that the hydrostatic test discharge needs to included in the EA or there is another
           approval process?”

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


       1-1 Backcheck Recommendation Close Comment
           Recommend the hydrostatic test discharge proposed on Corps flowage easement property be included in the
           EA. This discussion of this topic in the EA should also clarify there is no intention of discharges on Corps
           fee property. Consideration should be given to minimize environmental impacts associated with the
           hydrostatic test discharge(s).

            Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
            Current Comment Status:



      Id               Discipline               Section/Figure              Page Number               Line Number
    6139195         Environmental                     n/a                        n/a                       n/a
Comment Classification; UnclassifiedWFor Official Use Only (UWFOUO)
(                                        )

The titles of appendices is unclear in many examples. For example, Appendix A references both SPCC and SWPPP
but Appendix B is also titled SPCC. Recommend revising all appendices for clarity of title, reference, etc.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


           1-0 Evaluation Concurred
               Appendix A of the EA is the SWPPP. The SPCC is Appendix B of the SWPPP to comply with federal
               regulation. References to the SCPP will be clarifed as (Appendix B of Appendix A). The fly sheet to the
               SWPPP's Appendices will be edited to clarify the commenter's confusion.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


           1-1 Backcheck Recommendation Close Comment
               Closed without comment.

              Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
              Current Comment Status:



      Id            Discipline                    Section/Figure                   Page Number          Line Number
 6139244         Environmental          Appendix B- Reportable Quantities               n/a                  n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                                    )

Recommend clarifying that reports to the NRC should be immediate. Corps (roject and District ECC's) should be also
be contacted immediately for spills on Corps property.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 301 ofPage
                                                                         397 16 of 110




Submitted By; William Harlon (402-995-2500). Submitted On; Jun 26 2015


         1-0 Evaluation C oncurred
             Appendix B of the SPCC, Reportalale Quantities, will be updated by the Construction Contractor once
             selected. The SPCC will include "NRC should be notified immediately in the event of a reportable spill."
             The Corps Regional and District ECC's will be included for contact regarding reportable spills on Corps
             owned Property.

              Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 01 2015


         1-1 Backcheck Recommendation C lose C om m ent
             To clarify, all spills on Corps fee and flowage easement properties should be reported to the Project and
             District ECC.

              Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
              Current Comment Status:



   Id            D iscip lin e               S e ction /F igu re                Page N um be r              Line Num ber
S13i245          Operations        4.12.2.2 Impacts and Mitigation                   56                  General Comment
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

Least Tern and Piping Plover are sensitive to noise. Will this construction occur during their nesting period?
Especially, for Oahe there is critical habitat near the right of way location. I think something needs to be said within
the EA about these impacts and what the mitigation measures will be.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


        1 - i Evaluation C oncurred
              Dakota Access will commence HDD of both Rivers upon receipt of all applicable authorizations. We
              anticipate this will take place early in the first quarter o f 2016 and continue through early spring 2016,
              ideally prior to the nesting season. It is expected that the HDD would at least commence prior to the
              nesting season thus the drilling activities and respective noise would deter Uie species from nesting in the
              noise impact area. It should be noted that the HDD point on the flowage easements is greater than 1,400
              feel from the habitat and 960 feet and 1125 feet at Lake Oahe, which Is beyond the typically recommended
              buffer distance for nesting birds. Further, the habitat In question is subject to industrial ship traffic along the
              Missouri River. The HDD noise is not expected to have a discernible impact to the species.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open C om m ent
            What you just described is good background and information. Put this type of information within the EA. It
            helps quantify the work and impacts and generally describes the things you will do to mitigate those
            potential impacts.

              Submitted By: Brent Cossette (402-995-2712) Submitted On; Jul 13 2015.
        2-0 Evaluation C on cyrre d
            This infom ation will be added to the EA. See section 3.4,2.2 of the revised EA.

              Submitted By: Jonathan Fredland (7134627121) Sulsmitted On: Jul 22 2016


        2-1 Backcheck Recommendation Open C om m ent
            The Interior Least Tern section (i.e. 3.4.2.2 impacts and Mitigation, page 55) describes possible water
            withdrawal. I thought you pulled that request?

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Aug 17 2015.
        3-0



https://www.projnet.org/projnet/biiiKomHome/index.cfm                                                                  6/2/2016

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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 302 ofPage
                                                                         397 17 of 110


              Evaluation C oncurred
              The request to withdrawal water from Lake Oahe was pulled based on comments received, but Dakota
              Access maintained the request to withdrawal water from the Missouri River. This revised water withdrawal
              request was submitted to the COE on July 1, 2015. The July 1 submittal to the COE is attached.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Sep 11 2015 (Attachment:
              Retfised_Water_Withdrawal_Write-Up.msg)


         3-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
              Current Comment Status:



    Id                D iscip lin e              S e ction /F igu re           Page N ym b er              Line N um ber
6139249             Environmental                 Appendix C                        n/a                        n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)
(                                          )
The State reporting requirements should list the contact numbers and weblinks for each state involved in the permit
area.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation C oncurred
             Appendix C of the SPCC, State Requirements, will be updated by the Construction Contractor to include ND
             Department of Heath Spill Reporting website and contact numbers.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

              Submitted By: William Harlon (402-995-2500) Submitted On; Jul 15 2015.
              Current Comment Status:



    Id                D iscip lin e              S e ction /F igu re           Page Num ber                Line Num ber
6139254            Environmental                  Appendix C                        n/a                        n/a
Comment Classification: UnclassifiedW For O fficia l Use Only (UWFOUO)


I believe the State of ND requires spills of 25 or more gallons of oil released on land to be reported to the ND Dept
o f Health.



Submitted By; William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation C oncurred
             Per ttie ND Department of Health Spill Reporting website : Specific minimum quantities for mandatory
             reporting of spills have not been established. Ail spills which may potentially impact waters o f the state,
             either surface water or ground water, must be reported.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


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          Case 1:16-cv-01534-JEB
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                                                                        397 18 of 110


            Backcheck Recommendation Open Comment
            I recall a spill response presentation where the presenter indicated that the NDDOH required reporting of oil
            spills greater than 25 gallons on land. Recommend a clarification from NDDOH.

            Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
         2-0 Evaluation Concurred
             It was asked at the 7/15/15 meeting that Dakota Access confirm there is no minimum reporting volume for
             spills in North Dakota. Kary Crowdus, NDDH Environmental Specialist confirmed via telephone conversation
             with Jonathan Fredland (7/16/15, 9:00 a.m.) that there is no 25 gallon or any minimum quantity for
             mandatory reporting of spills In North Dakota.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 16 2015


         2-1 Backcheck Recommendation Close Comment


            Submitted By: William Harlon (402-995-2500) Submitted On: Sep 04 2015.
            Current Comment Status:



    Id               Discipline                Section/Figure              Page Number                Line Number
6139256            Environmental                Appendix H                      n/a                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                                        )

The spill response contractors should be provided to the Corps prior to commencement of construction activities on
Corps property.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation Concurred
             Appendix H of the SPCC, Emergency Response Contractors; Disposal and Treatment Facilities, will be
             updated by the Construction Contractor prior to construction. The updated SPCC will be provided to the
             Corps at that time.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


         1-1 Backcheck Recommendation Close Comment
             Closed without comment.

            Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
            Current Comment Status:



    Id               Discipline                Section/Figure              Page Number                Line Number
6139258           Environmental                 Appendix C                      n/a                       n/a
Comment Classification: UnclassifiedV\For Official Use Only (UWFOUO)
(                                        )

Would the inspection forms and instructions be better placed in Appendix A SWPPP?



Submitted By; Wiliam Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation Concurred
             Inspection Forms and Instructions are currently included in the SWPPP (EA Appendix A). The inspection
             Forms and Instructions are Appendix C of the SWPPP. The confusion is likely due to the SPCC being part




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 304 ofPage
                                                                         397 19 of 110


           of the SWPPP (Appendix B) and all are included in one PDF for the purposes of the EA review. Fly sheets
           will be updated to clarify the commenter's confusion. The bookmarks within the PDF document can be used
           to navigate the appendices an avoid confusion.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


        1-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

           Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
           Current Comment Status:



   Id                 D iscip lin e          S e ction /F igu re         Page N um ber                 Line Num ber
6131262            Environmental               Appendix B                     n/a                          n/a
Comment Classification: UnclassifiedW For O fficial Use Only (UWFOUO)
{                                    )

Recommend ttiat the referenced Appendix B HDD plan should be renamed or consolidated with the geotech plan.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


        1-0 Evaluation C oncurred
            Appendix B of the EA contains the HDD Construction Plan and HDD Contingency Plan. The HDD Contractor
            will conduct all HDD work according to Appendix B. The Geotechnical Data Report (Appendix D) was
            completed to provide existing surface and subsurface soil and groundwater conditions to facilitate
            engineering and design. Does the comment refer to combining the HDD Construction Plan and the HDD
            Contingency Plan with the Geotechnical Data Report? Please clarify what plans are recommended to be
            COn so Ii date/renamed.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 08 2015


        1-1 Backcheck Recommendation Close C om m ent
            During review, it seemed reasonable to me for the HDD plans to be included with the geotech plan since
            they are related topics.

           Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
           Current Comment Status:



   Id       D iscip lin e                      S e c tio n lF ig yre                   Page N um ber     Line Num ber
            Operations 7,0 Federal, Tribal, State, and Local Agency Consultation and       _           General Comment
                                                Coordination
Comment Classification; U nclassifiedW For O fficia l Use O nly (UWFOUO)

Comments received should be noted along with responses.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


        1-0 Evaluation C oncurred
            Comments received as well as all Dakota Access responses are included as Attachment J,

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


        1-1 Backcheck Recommendation C lose C om m ent
            Closed without aamment.




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ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 305 ofPage
                                                                         397 20 of 110



            Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
            Current Comment Status:



    let        Discipline                    S ection/F igure                   Page Number            Line Number
                             Stormwater Pollution Prevention Plan - 3.1-3.2          „           General Comment - First
 6139278      Operations             Revegetation and Seeding                        ®                   Bullet
Comment Classification: UnclassifledW For O ffic ia l Use O nly (UftFOUO)

Seed Mixture: Only native mixtures wiil be allowed on Corps property. Any revegetation/reclamation that occurs on
Corps fee property needs to be approved by the Corps. The Garrison Project has pre-approved seed mixes.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015

Revised Jun 26 2015.



          1-0 Evaluation C oncurred
              SWPPP Text: Seed, fertilizer, and agricultural time application will be accomplished af the following rates
              and mixtures unless otherwise instructed by applicable permits or land managing agency requirements:
              Other alternative seed mixes specifically requested by the landowner or land-managing agency may be
              used. Please provide the Garrison Project pre-approved seed mixes and clarify if "Corps Property" is in
              reference to Corps fee land, corps easements, or both. The requirement will be added to the construction
              line list, which the contractor uses to maintain compliance with any specific conditions.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


          1-1 Backcheck Recommendation C lose C om m erit
              Closed without comment.

             Submitted By: Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
             Current Comment Status:



   Id        Discipline                    S e ction /F igu re                Page Number            Line Number
6139280 Oopratlons           Stormwater Pollution Prevention Plan - 5.0                          First Paragraph Last
         pe                                Inspections                                                 Sentence
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO}

The Corps works toward 80% density of pre-construction cover.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015

Revised Jun 26 2015.



        1-0 Evaluation C oncurred
            "SWPPP text: The Project area should be considered stabilized when construction activity ceases and a
            uniform perennial vegetative cover of at least 70 percent density o f pre-construction cover has been
            established-
            The SWPPP will be updated to reflect 80% density per COE goals. To clarify, Corps owned lands should
            have no Impacts requiring revegetation and the fiow^age easements are largely in crop production, therefore
            reseeding would not apply in those locations. "

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015




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ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 306 ofPage
                                                                         397 21 of 110


             1-1 Backcheck Recommendation C lose C ornm ent
                 Closed without comment.

                  Submitted By; Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
                  Current Comment Status:



        Id        Discipline                            Section/Figure                              Page Number Line Number
                  Operations               Stormwater Pollution Prevention Plan - 8.2                                    .
                                           Contractor's/Subcontractor's Certification                                   ™
Cornment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

Do you mean NPDES permit?



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jun 26 2015


             1-0 Evaluation C oncurred
                 "SWPPP text: I certify under penalty of law that 1 understand the terms and conditions of the NDPDES
                 permit that authorizes the stormwater discharges associated with industrial activity from the construction site
                 identified as part of this certification.
                 Per NDPDES General PermitiThe Federal Clean W ater Act (FCWA, 1972, and later amendments in 1977,
                 1981, and 1987, etc.) established water quality goals for the navigable (surface) waters of the United States.
                 One mechanism for achieving the goals of the Clean Water Act is the National Pollutant Discharge
                 Eiimination System (NPDES). by which the United States Environmental Protection Agency (US EPA) has
                 oversight authority, in 1975 the State o f North Dakota wras delegated primacy of the NPDES program by
                 EPA. The state governor accepted the delegation and the state legislature assigned the power and duty for
                 conducting NPDES permitting and enforcement to the North Dakota Department of Health (NDDH). The
                 legislature defined North Dakota Department of Health's authority and obligations for the waste water
                 discharge permit program in North Dakota Administrative Code (NDAC) 33-16, which was promulgated
                 pursuant to North Dakota Century^ Code (NDCC) 61-28. The NDDH uses North Dakota Pollutant Discharge
                 Elimination System (NDPDES) as its permitting title,"

                  Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


             1-1 Backcheck Recommendation C lose C om m ent
                 Closed without comment.

                  Submitted By; Brent Cossette (402-995-2712) Submitted On: Jul 13 2015.
                  Current Comment Status:



         Id                D iscip lin e              S ection/F igure              Page N um ber            Line Number
    i1 3 9 2 i1          Environmental             Karts & Subsidence                    22                       n/a
Comment Classification: U n c la s s ifie d lF o r O ffic ia l Use O nly (UWFOUO)
(   ■                              }



This section indicates that the proposed alignment does not come into close proximity to mines or oil & gas well
pads, However, a scoping letter response from the Office of Surface mining indicates that the current alignment
'appears to extend just southwest o f the Coyote Creek Mine in Mercer County ND." Recommend including this and
inclusion o f adjacent well pads in the analysis of this section.



Submitted By; William Harlon (402-995-2500), Submitted On: Jun 26 2015


               1-0 Evaluation C oncurred
                   "EA text: No surface subsidence effects are expected to be incurred in the Project Area since no
                   mines, oil/gas wells, water wells, or karst development have been identified in the Project vicinity. The
                   Project Area and Connected Action Area is not located within or near Mercer County where the Cayote




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                                                                                                           USAGE DAPL0072181
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 307 ofPage
                                                                         397 22 of 110


                 Creek Mine is found, it is approximately 80 miles from Lake Oahe and greater than 100 miles to the
                 Missouri River crossings. Section 4.1.2, Mineral Resources, includes more on mineral resources within the
                 vicinity of the Project. "

                 Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


              1-1 Backcheck Recommendation Close C om m ent
                  Closed without comment.

                 Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
                 Current Comment Status:



    Id              Discipline                    Section/Figure                   Page Number           Line Number
6 1 3 i2 i6       Environmental            4.2.1.2 Impacts & Mitigation                 31                    n/a
Comment Classification: U ncla ssifie dttF or O fficia l Use O nly (UWFOUO)
(                        )

Recommend rewording "due to a prohibition of water extraction from the Missouri River"



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation C oncurred
             "EA text: However, due to a prohibition o f water extraction from the Missouri River system, water needed for
             HDD construction and hydrostatic testing will be obtained from alternate surface water, groundwater, or
             municipal sources.
             Dakota Access will revise the wording based on information recently provided clarifying the ability for
             acquisition at various locations along the Missouri River. "

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Open C om m ent
             Can DAPL provide the page(s} where w ater withdrawals from the Missouri River are referenced?

              Submitted By: William Harlon (402-995-2500) Submitted On: Jul 16 2015.
         2-0 Evaluation C oncurred
             W ater withdrawals from the Missouri River are referenced in Sections: 2,3.1, 2,3,2.9, 3.2.1.2, and 3.2.3.2.
             Page numbers are not available as the draft EA is still in a working stage and page numbers are subject to
             change.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

              Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 29 2015.
              Current Comment Status:



     Id               Discipline                   Section/Figure                Page Num ber            Line Number
 6139302            Environmental          4.2.1.2 Impacts & Mitigation                32                    n/a
Comiment Classification; ynclassifledW For O fficia l Use O nly (UWFOUO)
(                         )

1 cannot find a copy o f the referenced "NDG-0700000" NPDES permit. Recommend providing a copy of the document
or correcting the referenced permit number. Also recommend adding the equivalent SO NPDES permit number.




https://www.projnet.org/projnet/binKomHome/index.cfm                                                               6/2/2016

                                                                                                      USAGE DAPL0072182
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 308 ofPage
                                                                         397 23 o f 110




Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


           1-0 Evaluation Concurred
               NDPDES Permit for Temporary Dewatering and Hydrostatic Testing (Permit No. NDG07-0000) will be
               obtained prior to discharges of Hydrostatic test water in North Dakota. The permit will be applied for closer
               to the discharge date. Additional information can be found at . SD NPDES permits are not discussed in
               this EA because the South Dakota portion of the DAPL Project is not part of the Project Area or
               Connected Action.

               Submitted By; Jonathan Fredland (7134627121) Submitted On; Jul 01 2015


           1-1 Backcheck Recommendation Open Comment
               Are you indicating that the crossing of Lake Oahe in SD is not part of the Project Area or Connected
               Action?

               Submitted By: William Harlon (402-995-2500) Submitted On: Jul 15 2015.
           2-0 Evaluation Concurred
               Yes. The Lake Oahe crossing is in North Dakota.

               Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 16 2015


           2-1 Backcheck Recommendation Close Comment
               Closed without comment.

               Submitted By: William Harlon (402-995-2500) Submitted On: Sep 04 2015.
              Current Comment Status;



    Id               Discipline                 Section/Figure               Page Number                Line Number
6139320            Environmental                     n/a                          n/a                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                                     )

I did not see reference of a risk analysis for pipeline spills in the EA. Recommend inclusion of such analysis into the
EA due to the size and scope of this transportation pipeline.



Submitted By: William Harlon (402-995-2500). Submitted On: Jun 26 2015


         1-0 Evaluation Concurred
             What does the commenter mean by "risk analysis"?

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Open Comment
             I have seen risk analysis and risk assessments as interchangable terminology.

            Submitted By: William Harlon (402-995:2500) Submitted On: Jul 15 2015.
         2-0 Evaluation Concurred
             North Dakota Lake Oahe Crossing Spill Model Discussion is attached.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015 (Attachment:
            DAPL_ND_Lake_Oahe_Crossing_Spill_Model_Discussion_Rev-A.pdf)


         2-1 Backcheck Recommendation Open Comment
             Please include booming strategies and collection points for worst case scenario discharges. Also, include
             where you would gain access via water for response.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 309 ofPage
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        Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 03 2015.
    3-0 Evaluation Concurred
        Booming [ocations/collection points and potentiai access locations are shown in the respective ICS 204
        Assignment Lists included in the Geographical Response Plans. These plans were submitted to Brent
        Cossette on September 10, 2015 via email and uploaded into ProjNet under comment #6139347. Please
        note that both documents are privileged and confidential and are not for public release.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Nov 03 2015


    3-1 Backcheck Recommendation Open Comment
        if I understand the regulation(s) correctly, both proposed pipeline crossings would fall under the EPA Region
        8 Mid-Missouri River Sub-Area Contingency Plan. 1 referenced this document with the Lake Oahe Spill
        Model referenced and attached above. I noticed that some of your data does not appear to correlate with
        the Mid-Missouri SACP. I believe it would be a good idea to have the proposed plans follow the guidelines
        in the SACP. For instance, the SACP uses a planning distance of 27 hours following a discharge. The SACP
        also uses the USGS National Hydrography Dataset (NHD) to determine velocity data to plot the 27 hour
        projection. It is unclear to me what dataset your spill plan used, it is also unclear to how your plan
        determined the projected spill volume. The SACP lists a conservative estimate of 50,800 bbis released for a
        30" pipe, which I believe is the size of the pipe at the Oahe crossing. The SACP also indicates that spill
        control points be pre-estabilished and coordinated through the appropriate land management agency. I
        believe these control points need to be more clearly defined in the EA and that NEPA analysis, including
        cultural approval, be conducted.

        Submitted By: William Harlon (402-995-2500) Submitted On: Nov 05 2015.
    3-2 Backcheck Recommendation Open Comment
        Clearly show how the volume was calculated.

        How was the 6 hour response time calculated?

       What are you going to do for cultural up front inspections/clearances at the control points?

       Steve Way POC EPA region 8

       Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
    4-0 Evaluation Concurred
        Please see the attached word document with DAPL's responses to Mr. Harlon's comment.

       Submitted By: Jonathan Fredland (7134627121) Submitted On: Nov 12 2015 (Attachment:
       Response_to_Gpen_Harlon_Comment_ltems_(6139320)_11-11-1 S.docx)


       Backcheck not conducted
    5-0 Evaluation Concurred
        Also attached is a confidential White Paper discussing Federal Spill Prevention and Control Regulation of Oil
        Transmission Pipelines.

       Submitted By: Jonathan Fredland (7134627121) Submitted On: Nov 12 2015 (Attachment:
       Oil_Spill_Pianning_White_Paper_11-11-15.pdf)


       Backcheck not conducted
    6-0 Evaluation Concurred
        In response to our call with Steve Way, Dennis Woods received a call back Mellissa Payan (EPA Region 8 -
        303-312-6511). She explained that Mr. Way does the field response coordination while she handles the
        permitting. Therefore, Mr. Way passed the request for consultation/clarification to Ms. Payan to respond.

       Ms. Payan concurred with our assertion that the EPA only has jurisdiction over non-transportation related
       sites. She indicated that the authority for our Spill Planning for the pipeline solely falls to the DOT PHMSA.

       Please let us know if you need any additional clarifications for William to close out his comments relative to
       the EA.

       Submitted By: Jonathan Fredland (7134627121) Submitted On: Nov 16 2015




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 310 ofPage
                                                                         397 25 of 110


     i-1 Backcheck Recommendation Open C om m ent
         Has a risk assessment/analysis been completed for each of the Missouri River crossings associated with this
         proposed project?

         Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
     7 - i Evaluation C oncurred
           As indicated in the response to Comment 6356954, DAPL has conducted worst case risk analysis for the
           pipeline crossings at each of the Missouri River locations.

         Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


     7-1 Backcheck Recommendation Open C om m ent
         During the recent meeting on 3/31/16, the Team discussed the potential to update each of the spill modeling
         plans for items such as specifying the USGS gauge station used for flow data, expanding spill trajectory to
         24 hours, including all HCA's, etc. Since then, the Corps has supplied an Intake dataset for Lake Sakakawea
         to PHMSA as means to hopefully resolve an apparent data gap. The Team discussed these variables would
         likely impact risk calculations. It's my understanding that these updates are forthcoming.
         Tom Siguaw also clarified that the current risk analysis only pertained to design factors. Tom also indicated
         that items like risk factors and weighted consequences are typically addressed in a subsequent risk analysis
         for O&M of the pipeline. In order to be consistent with other pipeline proposals, I would ask that DAPL also
         provide a risk analysis for the O&M life of the pipeline at each River crossing. If the Corps Planning section
         concurs, some level of information from ttie risk analysis should be referenced in the EA.

         Submitted By: William Harlon (402-995-2500) Submitted On: Apr 07 2016.
     8-0 Evaluation C oncurred
         The Spill Model reports for Lake Oahe and the Missouri River were revised to contain the following
         information:
         * Tables and Figures related to downstream HCAs that would be encountered by an unabated plume by
         milepost. Both the 6-hour and 24-hour cases were included.
         * Example calculations presented in Appendix 2.
         * Reference for the data source for the river flow information.

         Sybmitted By: Jonathan Fredland (7134627121) Submitted On: Apr 12 2016 (Attachment: OAPL-
         Missourl_River_Splll_ModeLReport_2016-04-11 .pdf)


         Backcheck not conducted
     9 - i Evaluation C oncurred
           Revised Missouri River Spill Model Report is attached to the previous evaluation. The revised Lake Oahe
           Spill Model Report is attached here.

         Sybmitted By: Jonathan Fredland (7134627121) Submitted On: Apr 12 2016 (Attachment; DAPL-
         Lake_Oahe_SpilLM odeLReport_2016-04-11 ,pdf)


         Backcheck not conducted
    1 0 -i Evaluation C oncurred
           The submittal of an integrity risk report was initially discussed during the Open Comments meeting on
           3/31/2016 and this topic was further discussed during a telephone call on 4/8/2016 between Mr. Harlon, Tom
           Siguaw, and Steve Rowe. During the 4/8/2016 discussion, Mr, Siguaw reiterated that the requirements for an
           operating pipeline are different than fo r gathering lines. PHMSA requires operating pipelines to conduct
           periodic O&M integrity risk inspections and analyses and then to prepare mitigative strategies as necessary.
           The findings of the testing and analysis, and any mitigation measures, are reported to PHMSA in an Integrity
           Management Plan (IMP). Mr. 'Siguaw explained that IMP for the operating pipeline are prepared after the
           pipeline construction is complete and the initial tests on the pipeline installation have been performed. The
           operating pipeline is required to make the IMP available to PHMSA within one year o f construction. The
           testing/analysis/and identification of mitigation measures is what we believe to the spirit o f what Mr. Harlon
           is looking for with his data request. Mr. Siguaw Indicated that because the input parameters are not even
           available yet, it is not possible to provide a meaningful IMP document at this time. However, DAPL agrees to
           a condition of approval in the Corps easement to make the IMP available to the USAGE (or applicable
           pipeline segments under Corps jurisdiction as appropriate). DAPL will also make available the bi-annual risk
           review and IMP updates as appropriate. Documents will either be provided directly to the USAGE or they will
           be made available through PHMSA pending access and cxinfidentiality requirements.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 311 of Page
                                                                         397 26 o f 110



             Submitted By: Jonathan Fredland (7134627121) Submitted On: Apr 13 2016


     10-1 Backcheck Recommendation Close Comment
          On 5/23/16, DAPL agreed to insert risk analysis section in the EA which confirms iow risk but high
          consequences. DAPL also agreed to mitigation measures to reduce this unavoidable risk and Impacts if a
          spill were to occur in the Missouri River. The applicant has committed to additional full scale open water and
          full scale winter/ice exercises that will be conducted at Lake Sakakawea and Lake Oahe. A full scale
          exercise will occur once every 3 years (triennial cycle) with the location and type of exercise occurring on
          aiternating schedules (e.g. open water exercise at Oahe the first triennial cycle, followed by winter exercise
          at Sakakawea the following triennial cycle, followed by a winter exercise at Oahe the following triennial
          cycle, etc.). Stakeholder (federal, state, local, and Tribal) involvement will be solicited for each exercise. The
          first exercise will occur within the first 3 years after the pipeline becomes operational.j. Within one year of
          operation of the pipeline, DAPL must provide for an all-weather access and collection point downstream of
          the HDD crossings at Lake Oahe and Lake Sakakawea. DAPL must provide an equipment storage facility on
          non-federal lands that includes a fenced permanent storage area for winter and open water spill response
          equipment. The storage facility should be placed in a strategic location and near existing facilities that would
          support access to the water. DAPL would coordinate with the USAGE and any other applicable stakeholders
          to obtain ail necessary permits and approvals prior to construction for any ground disturbing activities
          associated with these facilities. The storage facility should be maintained throughout the life of the pipeline
          and contain sufficient response equipment at a minimum to mitigate an unintended worst case release for
          this crossing.

             Submitted By: William Marion (402-995-2500) Submitted On: May 24 2016.
             Current Comment Status:



    Id               Discipline                Section/Figure               Page Number                 Line Number
6139347            Environmental                     n/a                         n/a                        n/a
Comment Classification: UnctassifiedWFor Official Use Only (UWFOUO)
(                                     )
[Critical/Flagged]

i did not see reference to a spill response plan for the operation of the pipeline after construction is complete.
Recommend that this be included in the analysis of the EA.



Submitted By: William Marion (402-995-2500). Submitted On: Jun 26 2015


          -0 Evaluation Concurred
             A Facility Response Plan (equivalent to an Emergency Response Plan) is currently in draft form per PHMSA
             regulations and can be provided to the USAGE once it is finalized and approved by PHMSA (expected the
             third quarter of 2016).

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Open Comment
             Can DAPL provide discussion of the FRP in the EA? The Missouri River is a very important resource in the
             upper Midwest. Understanding the risk and having an adequate response plan are common key factors in
             minimizing impacts if a release were to occur in the Missouri River. The hydraulics of the Missouri River,
             drastic variances in weather, and remoteness of the region make time critical response actions very
             challenging.

             Submitted By: William Marlon (402-995-2500) Submitted On: Jul 15 2015.
         2-0 Evaluation Concurred
             A discussion on the of the Facility Response Plan is included in the revised EA, Section 3.5.1.2. Additional
             details regarding Dakota Access commitment to emergency response is provided in Section 3.11, Reliability
             and Safety.

            Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 22 2015




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                                                                                                      USAGE DAPL0072186
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 312 ofPage
                                                                         397 27 of 110


            Backcheck not conducted
        3-0 Evaluation Concurred
            Geographical Response Plan Pipeline Crossing at the Missouri River Emmons County, North Dakota is
            attached.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Sep 11 2015 (Attachment:
            GeographicaLResponse_Plan_DAPL_Lake_Oahe.pdf)


        3-1 Backcheck Recommendation C lose C om m ent
            Reference comment id# 6139320 backcheck.

            Submitted By: Brent Cossette (402-995-2712) Submitted On; Nov 06 2015.
        4-0 Evaluation C oncurred
            Geographical Response Plan Pipeline Crossing at the Missouri River McKenzie and Williams Counties, North
            Dakota is attached.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Sep 11 2015 (Attachment:
            GeographicaLResponse_Pian__DAPL_Missouri_River_.pdf)


            Backcheck not conducted
            Current Comment Status:



   Id            Discipline               S e ction /F igu re             Page Number                   Line Number
6141075           General                       n/a                             3                           n/a
Comment Classification; U ncla sslfie d ttF o r O fficia l Use O nly (UWFOUO) -

the number o f acres for flowage easements differ in table 1 (59.3)and table 2 (58)



Submitted By: Am ee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            'T a ble 1-1 (59.3 acres) includes all areas impacted by the Project within the flowage easements. Table 1-2
            (58 acres) refers to only acres within the Construction footprint. The difference of 1.3 acres is the areas that
            were not going to be accessed during construction and therefore not part of the Construction ROW and only
            including the permanent easement over HDD profile (1.2 acre) and the permanent access road (0.1 acre).
            These areas are listed separately in the table.
            Due to the potential availability of water use from the Missouri River, we wilt reflect access over the HDD
            profile along the permanent easement in the construction footprint due to the required water line. "

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 01 2015


        1-1 Backcheck Recommendation Open C om m ent
            There is no discussion of water withdrawal from the MR inthe analysis or of a water line.

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation C oncurred
            As previously stated in the Submitted Discussion: "Due to the potential availability of water use from the
            Missouri River, we will reflect access over the HDD profile along the permanent easement in the
            construction footprint due to the required water line."

           Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 313 ofPage
                                                                         397 28 o f 110




   Id            Discipline              Section/Figure                  Page Number                   Line Number
6141096          General                      1.1.1                            4                            n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

What is the length and depth of the HDD crossing for the Missouri River?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            The HDD exits the Corps Flowage Easements at an elevation 1800 feet. The maximum depth of the pipe on
            the flowage easements is 69 feet. The remainder of the HDD is outside of the Project Area as defined in
            coordination with the COE and is not discussed in the EA.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jui 02 2015


        1-1 Backcheck Recommendation Open Comment
            the Missouri River is under the jusrisdiction of the Corps. Additionally effects of HDD crossing of the river
            needs to analyzed in this EA.

           Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        1-2 Backcheck Recommendation Open Comment
            Section 3.2.1 surface water and 3.5.1 do not discuss impacts to the Missouri river at the HDD crossing

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
        1-3 Backcheck Recommendation Close Comment
            3.2.1.2 and 3.5.1 Impacts and Mitigation (EA 11/2/2015)has this information included. Includes impacts
            discussion.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Nov 06 2015.
        2-0 Evaluation Concurred
            The Project has been clearly defined as the boundaries of the flowage easements and the Lake Oahe
            crossing with the connected action being the areas for the HDD. It was confirmed with Brent Cossette that
            the Missouri River crossing was outside the scope of the EA. A PCN under NWP 12 has been submitted to
            the COE regarding the HDD of the Missouri River,

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


           Backcheck not conducted
           Current Comment Status:



    Id                Discipline                 Section/Figure              Page Number                 Line Number
 6141100            Environmental                     1.1                          n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

This section describes the proposed action. Appears pre-decisional as the P/N and alternatives have not been
discussed. The sections should be reorganized to show we thought about our purpose and need for the projects and
what alternatives were evaluated before selecting the Proposed Project.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation Concurred
              The P/N and alternatives section will be restructured to avoid appearing pre-decisional based on input



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ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 314 ofPage
                                                                          39729 of 110


              from Johnathan Shelman on 7/6/15.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


           1-1 Backcheck Recommendation Close C om m ent
               Agree with change.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
              Current Comment Status:



      Id             Discipline                  Section/Figure                Page Number               Line Number
    6141105       Biology-Ecology           1.2 Purpose and Need                       5-6                   n/a
Comment Classification: UnclassifiedW For O fficia l Use Only (UttFOUO)


In accordance with CEQ Reg 1502.13- "The statement shall briefly specify the underlying purpose and need to which
the agency is responding in proposing the alternative including the proposed action". Please ensure that the Purpose
and Need statement is succinctly and accurately portraying how the propsed action w ill fullfill the purpose and need of
the proposed project.



Submitted By: Rebecca Podkowka (4029952677). Submitted On: Jun 29 2015


           1-0 Evaluation C oncurred
               Replace with the following: The purpose o f the Proposed Action Is to consider providing Dakota Access
               with a ROW easement across federal owned lands and Corps managed flowage easements to meet the
               overall objectives for the Dakota Access Pipeline Project. Federal actions, or actions which are potentially
               subject to Federal control and responsibility, must undergo an environmental review process to show
               compliance with the National Environmental Policy Act (NEPA). In this case, the Federal Action
               necessitating the need for NEPA compliance is the granting of easements by the USAGE for the
               proposed pipeline construction through Federal lands and consent to easements across USAGE flowage
               easements.

               Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


           1-1 Backcheck Recommendation Close Comment
               Closed without comment.

               Submitted By: Rebecca Podkowka (4029952677) Submitted On: Jul 13 2015.
               Current Comment Status:



      Id               Discipline                S e ction /F igu re         Page Number                Line Number
    6141106         Environmental                      1.1                         8         ^               n/a
Comment Classification: U nclassifiedW For O fficia l Use O nly (UV\FOUO)
(                                                       ')   -

Location / transportation of water obtained for hydrostatic testing is also a connected action and should be included in
narrative and table below. Alternatives evaluated to obtain water (from the lake, river or elsewhere) need to be
included in the alternatives considered narrative and through the environmental consequences sections of this EA.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2016


           1-0 Evaluation C oncurred
               Appropriate edits will be made to the respective sections of the EA.




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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 315 ofPage
                                                                         397 30 of 110



             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
             Current Comment Status:



    Id                D iscip lin e             S ection/F igure            Page N um ber              Line Num ber
 6141109           Environmental                     1.2                         n/a                        n/a
Comment Classification: UnclassifiedW For O fficial Use O nly (UWFOUO)

P/N statement needs to be simplified. I suggest something along the lines of "the purpose o f the project is to safely
and efficiently transport crude oil from a production region in North Dakota to the east coast where refineries exist to
meet market demands for petroleum based products." Probably make the first paragraph work with some rewording.

All this other descriptive informatioo should go in another section.



Submitted By: Johnathan Shelman (402-995-2708), Submitted On: Jun 29 2015


         1-0 Evaiuation C oncyrred
             The EA will be revised accordingly.

             Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
             Current Comment Status;



    Id               D tscipline               S ection/F igure             Page N um ber              Line N um ber
 6141111         Biology-Ecology                    4.0                          18                         n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)
(                    ,                )

No Action Alternative need to depict what it consists of, not just that it doesn't need the Purpose and Need. The NAA
could include circumventing federal property (thereby negating the need for NEPA) and/or the no construction of the
pipeline



Submitted By: Rebecca Podkowka (4029952677). Submitted On: Jun 29 2015


         1-0 Evaluation Concurred
             A route alternative that avoids all USAGE owned and managed lands in NO wilt be added to the
             alternatives section. Support for not carrying this analysis forward will be provided describing the
             additional impacts of the route alternative (additional miles/acres of disturbance) and other sensitive areas
             that may be traversed.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Close C om m ent
             Closed without comment.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 316 ofPage
                                                                         397 31 o f 110



              Submitted By: Rebecca Podkowka (4029952677) Submitted On: Jul 13 2015.
              Current Comment Status:



    Id               Discipline                Section/Figure              Page Number              Line Number
 6141112           Environmental                    1.2                         11                       n/a
Comment Classification: UnciassifiedWFor Official Use Only (UWFOUO)

This paragraph and the following two need to be moved to sociai impact considerations and there is repetitive text.
See word document for clarification.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaiuation Concurred
             The three paragraphs wiii be moved to the social impact considerations section.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation Close Comment
             ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jui 24 2015.
             Current Comment Status:



   id                Discipline                Section/Figure              Page Number              Line Number
6141119           Environmental                     1.3                         12                      n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

The Authority and Scope section needs to go after the relocated purpose and need or at least somewhere in the very
beginning of the document.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaluation Concurred
             The EA will be reorganized so the Purpose and Need is followed by the Project Description which is
             followed by the Authority and Scope.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation Close Comment
             ok

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
            Current Comment Status:



    Id                Discipline               Section/Figure              Page Number              Line Number




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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 317 ofPage
                                                                         397 32 of 110


 6141122          Biology-Ecology                    4.0                        18                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)


Adeqoate and equal consideration needs to be given to all alternatives, to include the NAA. Describe in further detail
how alternative routes were eliminated. Bring forward considered alternatives and NAA in affected envrionmenl/env
consequences



Submitted By; Rebecca Podkowka (4029952677). Submitted On: Jun 29 2015


          1-0 Evaluation C oncurred
              No Action Alternative section/discussion will be amended based on input from Johnathan Shelman on
              7/6/15.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


          1-1 Backcheck Recommendation C lose C om m ent
              Closed without comment.

              Submitted By: Rebecca Podkowka (4029952677) Submitted On: Jul 13 2015.
              Current Comment Status:



   Id               D iscip lin e              S ection/F igure            Page N um ber            Line N um ber
6141127           Environmental                     2.0                         14                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

This section goes into describing the proposed action and should not precede the alternative analysis.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On; Jun 29 2015


        1-0 Evaluation C oncurred
            The "Typical Construction Sequence and Construction Mitigation Measures" will be put after the
            "Alternatives" section.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id               Discipline                 Section/Figure              Page Number              Line Number
6141131           Environmental                    2.1.1   '                    14                       n/a
Comment Classification; UnclassifiedWFor Official Use Only (UWFOUO)

Ensure discussion of impacts included regarding wetlands is in the environmental consequences section.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Impacts to wetlands is discussed in Section 4.2.3 2 Impacts and Mitigation.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 318 ofPage
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           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backctieck Recommendation Close Comment
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id               Discipline                 Section/Figure               Page Number                 Line Number
6141134           Environmental                       2.1.3                         15                      n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

What about hydrostatic testing and the process of obtaining the water to complete the test?



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Prior to June, the applicant was informed that water appropriation was not permitted from the Missouri River
            system. EA text will be updated to account for the possibility of water appropriations. Discussion of
            Hydrostatic Testing is found in Section 4.2.1.2, page 31, last paragraph.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close Comment
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



    Id             Discipline              Section/Figure                 Page Number                  Line Number
 6141143           General                      2.3                            12                          n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

the first paragraph in this section states topsoil segregation would be utilized, the second paragraph states topsoil
segregation would be utilized "as practical". Topsoil needs to be segregated in wetlands. Addition of contruction mats
needs to occur where rutting is anticitpated not after it is experienced.



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


          1-0 Evaiuation Concurred
              EA text: Topsoil segregation techniques will be utilized in unsaturated wetlands to preserve the seed bank
              and allow for expedited successful restoration of the disturbed area. Wetland crossings for the Project
              may be accomplished via the conventional lay method in accordance with all applicable permit conditions.
              Construction techniques for this method are similar to the opencut method in upland areas; however, top
              soil segregation techniques will be utilized as practical in nonsaturated features to facilitate revegetation
              following the completion of construction activities. Where excessive rutting is anticipated or experienced,
              construction mats will be used to minimize disturbances to wetland hydrology and to maintain soil
              structure. We have determined that there will be no excavation in wetlands, thus topsoil segregation in
              wetlands is moot and respective discussions will be removed from the EA. We will add language that
              mats will be used where rutting is anticipated.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 319 ofPage
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          1-1 Backcheck Recommendation Close Comment


              Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
              Current Comment Status:



     Id                  Discipline             Section/Figure               Page Number                Line Number
 6141170               Environmental                   2.2.1                       15                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Considering the high potential for a frac-out (safety factor less than 1.0 at some locations) during the drill as indicated
in the HDD plan, shouldn't you consider this as a potential alternative at Oahe? If our engineers are do not think the
risk is something we can accept and DAPL still wishes to cross the reservoir than this would be the only other way.
DAPL would have to work through 408 to see if this would be allowable. This comment doesn't need to be addressed
in this section, but later in the alternative development / env. consequences sections.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


           1-0 Evaluation Concurred
               The HDD technique is preferable to the Open-cut pipeline construction method due to a greater potential
               for adverse impacts to environmental and cultural resources. The EA will be amended to include a
               discussion of an open-cut installation in the Alternatives Considered but Eliminated from Detailed
               Analysis.

              Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


           1-1 Backcheck Recommendation Open Comment
               Please take the open cut method out of the "Proposed Action" alternative description and place in Section
              2 . 1.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
          2-0 Evaluation Concurred
              Open Cut method has been moved to section 2.1.4 as requested.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


          2-1 Backcheck Recommendation Close Comment
              Closed without comment.

              Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Oct 20 2015.
              Current Comment Status:



   Id             Discipline             Section/Figure                  Page Number                  Line Number
6141197           General                    4.1.3.2                          22                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

there needs to be an analysis of effects of landlides on the aquatic habitat, is there potential for landslides to reach
the Missouri River?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            The potential of Project activities influencing landslide that may reaching the Missouri River is mitigated by
            rigorous engineering and construction methods . Chiefly, the crossing locations have been selected to avoid




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ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 320 ofPage
                                                                          397 35 of 110


            steep slopes and unstable landforms and ground-disturbing activities for the Project will avoid significant
            slopes via HDD method of construction near the Missouri River. Construction will not occur perpendicular to
            the slopes at the crossings and Project activities will not increase the potential for landslides to reach the
            aquatic habitat.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open C om m ent
            On the west side of Lake Oahe, 1.2 acres of the HDD workspace (exit point) and 13.1
            acres of the pipe stringing area are designated as having a high incidence for landslides. Additionally, the
            stringing area encompasses approximately 1.8 acres classified as highly susceptible to landslides.
            Approximately 0.9 acre within the stringing area has slopes exceeding 25%. Approximately 1.2 acres of
            the HDD entry point workspace on the east side is designated as having a highly incidence of landslides—
            This needs to be analyzed for effects

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2 - i Evaluation C oncurred
              "Text has been revised in EA Section 3.1.3.2 as follows: As previously discussed, no ground disturbing
              activities will occur within the Project Area on the federal lands. Ground disturbing activities associated with
              the HDD workspace and pipe stringing area will be required as part of the Connected Action; however, these
              activities will consist of clearing and grading only and will occur, at the closest distance, 1,040 feet from the
              bank of Lake Oahe. As such, no trenching activities will occur within the Project Area or Connected Action
              o f the federal lands, thereby reducing the potential for erosion which could otherwise occur as a result of
              side-slope trench excavation methods and accumulation of water within the trench. However, the probability
              of slips or landslide events increases by clearing vegetation and grading contours in areas with steep
              slopes. Therefore, Dakota Access will utilize additional erosion and sediment control devices in accordance
              with the ECP and S W P P P , and in compliance with the National Pollutant Discharge Elimination System
              (NPDES) program, during construction in these areas with slopes greater than 25%. Additionally, Dakota
              Access will install sediment barriers (e.g., silt fence) at the base of slopes and along the sides o f slopes, as
              necessary, to prevent potential siltation downslope o f the construction area from entering waterbodies.the
              lake.

           Temporary erosion control devices (ECDs) will be maintained until the areas disturbed by construction have
           been successfully revegetated. Following the completion of construction activities, disturbed areas will be
           restored and graded to pre-construction contours as closely as possible. In order to minimize the potential
           for future slip or landslide events during operation o f the Project facilities, Dakota Access may install
           permanent ECDs in addition to performing regular restoration and revegetation activities. Permanent ECDs
           will be installed in accordance with revegetalion measures outlined in the ECP, SWPPP, and specific
           landowner requests. The effectiveness of revegetation and permanent ECDs will be monitored by Dakota
           Access' operating personnel during the long-term operation and maintenance of the Project facilities.
           Therefore, construction and operation of the Project facilities on the Project Area and Connected Action of
           the federal lands are not anticipated to increase the potential for significant landslide or slip events or result
           in adverse impacts on aquatic life resources within waterbodies.
           II




            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
            Current Comment Status:



   Id                Discipline                  Section/Figure                   Page Number             Line Number
6141244           Environmental                      2.2.4                            16                       n/a
Comment Classification: U h c la s s ifie d W o r O fficia l Use O nly (UWFOUO)

...fluid consisting primarily of bentonite and clay...

Irrdnuates other substances are part of the drilling fluid. What else is in it?




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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 321 ofPage
                                                                         397 36 of 110



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            We will remove the word "primarily". We only intend to add water.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

            Submitted By; Johnathan Shelman (402-995-2708) Submitted On; Jul 24 2015.
            Current Comment Status:



   Id                Discipline                 Section/Figure                Page Number             Line Number
S141246           Environmental                     2.2.4                         16                      n/a
Comment Classification: U n c la s s ifle d W o r O fficia l Use O nly (UWFOUO)

This section needs to be revised because the HDD plan has been completed recently and this narrative does not
reflect that.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurreel
            We will revise accordingly.

            Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id                D iscip lin e              S ection/F igure              Page N um ber           Line N um ber
i14124S           Environmental                     2.2.4                         16                      n/a
Comment Classification: UnclassifiedW For O fficia l Use Only (UWFOUO)

Add the name of HDD contractor. If unknown at this time add the statement that the Corps would need to approve
HDD contractor.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            Michels Corporation will be the HDD contractor. We will provide the respective information.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 322 ofPage
                                                                         397 37 of 110


            Current Comment Status;



    Id               D iscip lin e               S e ction /F igu re               Page N um ber     Line N um ber
6141252           Environmental                        3.0                             18                n/a
Comment Classification: U nclassifiecftlFor O fficia l Use O nly (UttFOUO)

The alternatives discussion should follow the purpose and need statement prior to the description of work associated
with the preferred action.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             The sections will be reorganized based on this and other comments received.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation Close C om m ent
             ok

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
            Current Comment Status:



    Id                Discipline                 S e ction /F igu re               Page Num ber      Line Number
 6141261           Environmental                        3.0                            18                n/a
Comment Classification: U n c ia s s ifie d lF o r O fficia l Use O nly (UWFOUO)

....could not be avoided..statement near bottom of page

What about north o f Bismarck? The proposed crossing is very near the upper end of Federal properly at Oahe.
Elaborate on why you did not choose to avoid Corps land. VWiat sensitive properties lay in the areas just north o f the
proposed crossing outside federal property?

Also, the pipeline could have avoided our easements as well by going just west of where the proposed pipeline
currently is planned to cross. The decision making process needs to be clearly conveyed in this narrative.

These alignments would meet the purpose and need o f the project and are viable for environmental impact
assesment and should be brought through that discussion.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation C oncurred
              Based on 7/6/15 discussion with Johnathan Shelman and Brent Cossette at the USAGE, the Alternative'
              Section will be amended to address a route alternative that was eliminated from detailed analysis.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


          1-1 Backcheck Recommendation Open C om m ent
              Please add the map as indicated by comment from A T I and JF 2.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jui 24 2015.
          2 - i Evaluation C oncurred
                Figures 12 and 13 have been added to the EA in reference to Section 2.1.3

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015




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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 323 ofPage
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         2-1 Backcheck Recommendaiion Open C om m ent
             I see the figures listed in the TOC, but they are not in either the edited or dean version narrative of what
             was submitted.

             Submitted By; Johnathan Shelman (402'995-2708) Submitted On; Oct 20 2015.
         2-2 Backcheck Recommendation Close C om m ent
             Closed without comment.

             Submitted By: Johnathan Shelman {402-995-2708} Submitted On: Oct 21 2015.
         3-0 Evaluation C oncurred
             Figures are a standalone attachment and are not included in the text o f the document. The entire updated
             figure package is attached including figures 12 and 13.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 21 2015 {Attachment:
             Re vised_EA_F i gu res_9-10-16. pdf)


            Backcheck not conducted
            Current Comment Status:



    Id               Discipline                Section/Figure               Page Number                Line Number
 6141265           Environmental                     4.0                         22                        n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

CEQ requires that the "no action" alternative be brought forward through the environmental analysis (1502.14 (d)).

Again. I think since it states above that the crossing locatfons chosen on the reservoir/rivers were done to limit
impacts to "sensitive" resources, those alternatives should be brought forward through the environmental
consequences section. The decision maker (Colonel) needs to compare the merits (good or bad) of the Proposed
action against these other alternatives that meet the purpose and need for the project (CEQ 1502.14 (c))



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             The EA will be revised accordingly.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok

             Submitted By: Johnathan Sheiman (402-995-2708) Submitted On: Jul 24 2015.
             Current Comment Status:



    Id              D iscip lin e              S ection/F igure            Page N um ber              Line N ym ber
 6141260          Environmental       ‘            4.1.1.2                      24                         n/a
Comment Classification: UnclassifiedW For O ffic ia l Use Only (UWFOUO)

State that pre-construction and as-built surveys will be completed and those drawings will be provided to the Garrison
Project. Trees that are impacted on fee land would have to be mitigated.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On; Jun 29 2015

Revised Jun 29 2015.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 324 ofPage
                                                                         397 39 of 110



         1-0 Evaluation C on cyrre d
             "EA text: Section 4.1.1,2 Impacts and Mitigation (Geology) To protect the terrain of the Project Area and
             Connected Actions, Dakota Access will, to the extent practicable, restore the areas affected by pipeline
             construction to pre?construction contours and similar vegetation (excepting trees within approximately 15
             feet of the centerline).
             EA will be updated to state: Pre-construction and as-built surveys will be completed and provided to the
             Garrison Project.
             We do not typically discuss tree mitigation in regard to geology. "

               Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok

               Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
               Current Comment Status:



   Id                 D iscip lin e              Section/Figure                 Page Number           L ine Num ber
8141273             Environmental                   4.1.3.2                        27                     n/a
Comment Classffication: U ncia ssifie dttF or O fficia l Use O nly (UW O UO )

Update narrative to reflect findings in the HDD report.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1 - i Evaluation C oncurred
              The narrative will be updated to reflect the HDD report.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close C om m ent
            ok

              Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
              Current Comment Status:



   Id                 D iscip lin e              S ection/F igure           Page Num ber              Line Num ber
6141278            Environmental                    4.1.4.2                        28                     n/a
Comment Classification; UnclassifiedW For O fficia l Use O nly (UttFOUO)

Add Corps archaeologist to list of those that need to be contacted if cultural resources are found.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015 ^

Revised Jun 29 2015.



        1-0 Evaluation C oncurred
            The Corps archaeologist will be added to the list to be contacted.

              Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1



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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 325 ofPage
                                                                         397 40 o f 110


           Backcheck Recommendation Close Comment
           ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jui 24 2015.
           Current Comment Status:



   Id               Discipline                 Section/Figure               Page Number                Line Number
6141285           Environmental                   4.1.5.1                        28                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

..if managed appropriately...under prime farmland

If this is the "if irrigated than considered prime farmland" designation than state that or whatever management
techniques would make them prime farmland.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            This statement is not referring to "if irrigated than considered prime farmland." Based on consultation with
            the North Dakota NRCS, there are no management techniques that would allow soils designated as
            farmland of statewide importance to be considered prime farmland in the state. The limiting factors
            precluding farmland of statewide importance from a prime farmland designation pertain to climate, and
            cannot be addressed with management techniques. The EA text will be updated to avoid confusion.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



    id               Discipline                Section/Figure               Page Number                Line Number
 6141289           Environmental                    4.1.5.2                      28                        n/a
Comment Classification; UnciassifiedWFor Official Use Only (UWFOUO)

4th paragraph

An unsaturated wetland? Wetlands don't have to be saturated to be given impact consideration. I recommend that you
do not Impact wetlands, even temporarily flooded wetlands for any length of time. If this is planned It needs to be
coordinated with Regulatory and mitigated appropriately from a CW perspective if on fee title land.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaluation Concurred
             "EA text: To minimize potential impacts on soil productivity, topsoil will be segregated during trench
             excavation in agricultural land, unsaturated wetlands, and if applicable, other areas where soil productivity
             Is an important consideration.
             The referenced EA text is applicable to topsoil segregation techniques only. All wetlands regardless of
             saturation were given impact consideration as described In Section 4.2.3. Topsoil segregation in saturated
             or inundated wetlands is not feasible. "




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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 326 ofPage
                                                                         397 41 of 110



                 Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


              1-1 Backcheck Recommendation C lose C om m ent
                  ok

                 Submitted By: Johnathan Shelman (402-995-2708) Submitted On; Jul 24 2015.
                 Current Comment Status:



   Id                  D iscip lin e             Section/Figure                 Page Number            Line Number
i14 12 94            Environmental                   4.1.5.2                          33                    n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

6th paragraph

The Garrison Project should be notified If the Inspectors have concerns on Corps or connected action lands.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On; Jun 29 2015

Revised Jun 29 2015.



        1-0 Evaiuation C oncurred
            "EA text: Dakota Access wiii retain environmental inspectors (Els) to monitor the contractor’s compliance
            with applicable requirements to protect soli resources during construction o f the DAPL Project.
            EA will be amended to state ""The Garrison Project will be notified if the Els have concerns on the Project
            Area or Connected Action Area."

               Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

               Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
              Current Comment Status:



   Id              D iscip lin e           S ection/F igure              Page Num ber                 Lin e Num ber
614133S             General                   4.1.4.1                           n/a                       n/a
Comment Classification: U ncla ssifie d ttF o r O fficia l Use O nly (UWFOUO)

what are the effects/impacts to paleontology at the Missouri River HDD crossing?



Submitted By; Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation C oncyrred
            Based on geotechnical borings collected at the Missouri River crossing, the HDD will pass through
            unconsolidated alluvial material and will not penetrate the underlying bedrock formations. Alluvial material
            only rarely contains fossils, as these deposits are generally too young. Therefore, the Missouri River HDD
            Crossing is not anticipated to impact fossils. The Unanticipated Discovery Plan (Appendix F) describes
            measures to be followed in the event that a paleontoiogicai resource is encountered on the ROW.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1




https://w”W’w.projnet.org/projnet/bmKom.Home/inciex,cfm                                                         * 6/2/2016

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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 327 ofPage
                                                                        397 42 o f 110


              Backcheck Recommendation Close Comment
              please add to the EA

              Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
              Current Comment Status:



   Id             Discipline             Section/Figure                Page Number                   Line Number
6141370            General                  4 .2 ,1 2                       31                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Impacts would be reduced not "avoided" as there is the potential for frac outs



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Dakota access is confident in the design and construction of the HDD to overcome the potential for frac outs
            and stands by their position that impacts would be avoided by utilizing the HDD method of pipeline
            construction.

              Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open Comment
            Effects of fracking needs to be addressed in the EA as it does occur

              Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation Concurred
            Fracking is process related to down hole exploration and production and is not relevant to the EA.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

              Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
              Current Comment Status;



   Id             Discipline             Section/Figure                Page Number                  Line Number
6141389            General                    n/a                           32                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

the table and discussion of effects is missing information about the Missouri River HDD crossing



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Missouri River HDD was expressly excluded from the EA as the scope of the Action and Connected Action
            was dearly defined when drafting the scoping letters. At the flowage easements, only the flowage
            easements were required to be included in the EA.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1




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ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 328 ofPage
                                                                          39743 of 110


            Backcheck Recommendation Open C om m ent
            Crossing the MR is a required part of your proposed plan and effects of the crossing need to be analyzed.

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation C oncurred
            See response to comment # 6141096

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


        2-1 Backcheck Recommendation Close C om m ent
            The Missouri River crossing has been added to the EA since the time of this comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On; Nov 06 2015.
            Current Comment Status:



   id            Discipline                Section/Figure                   Page Number                     Line N um ber
6141399           General                        n/a                              34                             10
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

tables 4-5 and 4-6 indicate the streams are ephemeral, can construction to cross them occur in the dry season to
minimize impacts?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            "Construction will occur upon receipt o f all applicable approvals.
            Since we do not have firm commitments as to when this will happen, we cannot commit to crossing
            ephemeral streams with no protected resources during the dry season. Waterbodies of all types are routinely
            successfully crossed conventionally during periods of flow. However, all waterbodies on the flowage
            easements will be crossed utilizing trenchless technology (HDD or bore). The ephemeral stream related to
            the Lake Oahe HDD is on the HDD stringing corridor (Connected Action), no instream activities are
            anticipated. If flowing water is present, a bridge will be installed to facilitate activities in the area. The EA will
            be revised to reflect this information."

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open C om m ent
            where will the HDD workspaces on the flowage easements be located? The stream on the Oahe stringing
            corridor has a defined channel and riparian area so is not ephemeral.

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation C oncurred
            HDD workspace within the flowage easements is shown in the EA figures. An ephemeral stream is not
            defined by the presence or absence o f a defined channel or riparian area. Nationwide Permit Definitions
            (USAGE Omaha District Website) Ephemeral stream: : An ephemeral stream has io w in g water only during,
            and for a short duration after, precipitation events in a typical year. Ephemeral stream beds are located
            above the water table year-round. Groundwater is not a source of wafer for the stream. Runoff from rainfall
            is the primary source of w ater for stream flow.

            Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


        2-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015,
            Current Comment Status;




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 329 of Page
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   Id            Discipline              Section/Figure                  Page Number                   Line Number
6141420          General                    table 4-6                         33                            n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

the first stream has a flow type of "no"?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Steam ID s-d-mo-014 will be updated to read "Ephemeral" in the Flow Type column of table 4-6.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Open Comment
            These stream types need to be field varified so actual effects of crossing can be determined.

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation Concurred
            All areas of the Project and connected action have been field verified. The crossing of this ephemeral
            feature will be limited to stringing pipe for the HDD.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:



   Id               Discipline                 Section/Figure               Page Number                Line Number
6141539           Environmental                         n/a                        33                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

We do not allow pits for drilling on our property as outlined In the Oil and Gas Management plan.



Submitted By: Johnathan Shelman (402-995-2708), Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            "Appendix F of the Oil and Gas Management plan addresses/acknowledges the need for mud pits with
            respect to pipeline HDDs. There does not appear to be a restriction against these being on COE lands, the
            restriction for pits is clear with respect to exploration/production wells. Clips from the appendix provided
            below. To clarify, there is no feasible way to complete an HDD without the use of a mud pit at the entry/exit
            point.

           Appendix F, A Partial List of Requirements for Pipeline Installation Using HDD Techniques, letter b states:
           Detailed drawings showing the plan location of the entrance and exit pits with respect to the levee
           embankments.
           Letter o states: The exit and entrance pits at the ends of the design drill path shall be at least 300-feet
           landside of any landside levee toe and at least 50-feet riverside of any riverside levee toe. Where the design
           drill path is within 100-feet of either levee toe, the drill path shall be level and in rock or a minimum of 50-
           feet below the base of the flood protection system.
           Additionally, Appendix F includes an Example HDD frac out plan that states: Drill fluid is easily contained by
           standard erosion and sedimentation control measures such as stray bales and silt fence. Drill fluid would be
           contained on entry and exit worksites by hay bales and silt fence Installed and maintained around the
           perimeter of each site. Within the boundaries of the worksites drill fluid would be controlled through the use




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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 330 ofPage
                                                                         397 45 of 110


            of pits at the crossing entry and exit points and typical fluid handling equipment such as trash pumps. Drill
            fluid is released regularly on the drill rigs as part of normal operations when sections of drill pipe are
            separated. The worksite will be graded such that fluid released on the rig will flow into the fluid pit in front of
            the rig. ''

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jui 02 2015


      1-1 Backcheck Recommendation Close C om m ent
          ok

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
            Current Comment Status:



                                                                                                           Line Num ber
 6141540            Environmental                      n/a                          33                         n/a
Comment Classification: U ncIassifled ttF o r O fficia l Use O nly (UttFOUO)

5th paragraph ....statewide importance...

As you state above, the FPPA considers statewide important soils prime farmland. You need to fill out the NRCS
Prime Farmland Conversion Sheet (Form AD-1006) and submit to local NRCS contact for guidance.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Based on consultation with the North Dakota NRCS, the privately funded Dakota Access Pipeline Project is
            not subject to requirements under the Farmland Protection Policy Act (FPPA). The FPPA only applies to
            projects in which federal funds are utilized.

             Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 07 2015


        1-1 Backcheck Recommendation Close C om m ent
            ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
             Current Comment Status:



                                                                                                           Line N um ber
 Si 41543          Environmental                       n/a                          35                         n/a
Comment Classification: UnclassifiedW For Official Use Only (UWFOUO)

4th paragraph.

...Additional field surveys....

Need verification that this is completed. Items that are "to-do" should be compiled in a list somewhere in this
document so we can track them. Or has this been done since we received this document?



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 28 2015

Revised Jun 29 2015.



        1-0 Evaluation C on curred
            We are complete with surveys on the Corps flowage easements and the HDD and connected action at



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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 331 of Page
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             Lake Oahe. The language in the EA will be revised accordingly.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


          1-1 Backcheck Recommendation Close Comment
              ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 2 4 2015.
             Current Comment Status:



   Id               Discipline               Section/Figure              Page Number           Line Number
6141547           Environmental                  4.2.1.2                      35                   n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Need to update assessment following the recently released HDD document. I'll make a few comments, but the entire
section needs to be revised.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation Concurred
             The assessment will be updated based on the recent HDD document.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation Close Comment
             ok

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
            Current Comment Status:



   Id               Discipline               Section/Figure              Page Number           Line Number
6141576          Environmental                  4.2.1.2                       36                   n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

2nd paragraph contains another reference to a pit on our property. See other pit comment.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            See Comment #6139135 response.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



    Id               Discipline               Section/Figure             Page Number           Line Number
 6141579          Environmental                  4.2.1.2                      36                   n/a




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                  User            Document 406 Filed 03/22/19 Page 332 ofPage
                                                                          397 47 of 110


Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

2nd paragraph states inadvertent releases are low. The HDD plan states that they are moderate to very high. Again,
this entire narrative needs to be rewritten since the release of the HDD pian.



Submitted By: Johnathan Sheiman (402-995-2708), Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             The narrative w ill be revised to reflect the information in the HDD plan.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
             Current Comment Status:



   Id            Discipline               S ection/F igure                Page Number             '     Line Number
6141584           General                     4.2.2.2                          35                            n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (OWFOUO)         '

line 2 of this paragraph, states ground disturbance is limited to 6 to 10 feet below the surface, this contradicts earlier
statements.



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evafyation C oncurred
            "EA text; Ground disturbance associated with conventional pipeline construction is generally limited to
            approximateiy six to ten feet below the existing ground surface. Where excavation penetrates the water
            table, potential groundwfater impacts from pipeline construction are primarily limited to the radius of influence
            around the excavation profile.
            This discussion reflects conventional pipeline construction, not HDDs. "

            Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 02 2015


        1-1 Backcheck Recommendation Open C om m ent
            "Ground disturbance associated with conventional pipeline construction is generally limited to approximately
            six to ten feet below the existing ground surface"— needs to be added to Page 9, section 2.1.2 to clarify
            trenching activity.

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation C on cyrre d
            Revision will be made as recommended.

           Submitted By: Jonathan Fredland (7134627121) Submitted On; Jui 09 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On; Nov 06 2015.
           Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                   Line Number




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 333 ofPage
                                                                         397 48 of 110


6141619            General                      n/a                             36                            n/a
Comment Classification: UnciassifiedWFor Official Use Only (UWFOUO)
(                                        )

states the ground water of flowage easments Is less than 6.5 feet deep, what Is the groundwater depth at the
Missouri River crossing? with shallow groundwater and the length of pipeline over the easements will very likely have
an effect on groundwater



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


       1-0 Evaluation Concurred
           "EA text: A preliminary evaluation of geology Indicates that groundwater within the floodplain throughout
           most of the Corps flowage easements Is less than 6.5 feet deep. 33 The pipeline will be Installed in
           saturated sediments as part of the HDD crossing of Lake Oahe. Due to the nature of HDD methodology, It Is
           Inherently not a risk to groundwater resources, uses benign substances (bentonite and water) to penetrate
           through soil, rock, and groundwater. Construction of the Project Area and Connected Action Is not expected
           to significantly negatively impact groundwater resources.
           Please advise what Impacts Is the commentor suggesting be addressed?"

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


       1-1 Backcheck Recommendation Open Comment
           there are no impacts to ground water discussed for the flowage easments. if the ground water is less than
           6.5 feet deep and your trench If 6 to 10 feet deep, you would be trenching over 12 miles in water, and
           laying a pipe that if leaked would be In the groundwater, these Impacts need to be addressed.

            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
       2-0 Evaluation Concurred
           The pipeline Is being designed and constructed to meet or exceed all federal regulations. While a leak on
           the flowage easements would negatively impact groundwater in the area of the leak until properly
           remediated, this is highly unlikely due to the proper design, construction, and operation of the system. A
           Facility Response Plan Is being drafted for submittal to PHMSA prior to operation In accordance with
           regulations, this Is not a document that Is able to be finalized until toward the end of construction. Please
           note that the pipeline will have cathodic protection to prevent corrosion, continual monitoring via a SCADA
           system, routine In-line inspections to detect anomalies, and regular aerial patrols.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


       2-1 Backcheck Recommendation Close Comment
           Closed without comment.

            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
            Current Comment Status:



      Id               Discipline                 Section/Figure               Page Number                Line Number
    6141622          Environmental                    4.2.1.2                        36                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UV\FOUO)

3rd paragraph states that extracting water is prohibited. That Is not true. Water from Garrison may be obtained
through a surplus water agreement and technically the same applies for Oahe, but the ASA has not signed off on the
Surplus Water EA for that project.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


           1-0 Evaluation Concurred
               Language will be updated to reflect the applicant's recent clarification from the corps on the availability of




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 334 ofPage
                                                                         397 49 of 110


              w ater from areas along the Missouri River.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


          1-1 Backcheck Recommendation C lose C om m ent
              ok

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
              Current Comment Status:



    Id               D iscip lin e              S ection/F igure                 Page N um ber       Line N um ber
 6141638           Environmental                    4.2.2.2                          40                   n/a
Comment Classification; UnclassifiedW For O fficia l Use O nly (UWFOUO)

4th paragraph

..Project specific SPCCs will be developed....

Please provide these and Include in the narrative. If speculative, include what these measures might be and why they
would need to be impiennented.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             EA text: Project specific SPCCs will be developed by the selected contractor and implemented throughout
             construction. By implementing the protective measures set forth in these Plans, groundwater contamination
             due to construction activities is not anticipated. Ttte draft SPCC is included as Appendix B of Appendix A
             (SWPPP); the project specific plan to be developed by the contractor will meet or exceed all condition
             presented in the draft.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


            Backchsck not conducted
         2-0 Evaluation C on curred
             EA text: Project specific SPCCs will be developed by the selected contractor and implemented throughout
             construction. By implementing the protective measures set forth in these Plans, groundwater contamination
             due to construction activities Is not anticipated. The draft SPCC is included as Appendix B of Appendix A
             (SWPPP); the project specific plan to be developed by the contractor will meet or exceed ail condition
             presented in the draft.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

            Submitted By; Johnathan Shelman (402-995-2708) Submitted On; Oct 23 2015.
            Current Comment Status:



   Id               D iscip lin e              S ection/F igure                  Page N um ber       Line Number
SI 41838          Environmental                    4.2.2.2                           40                  n/a
Comment Ctassification: U n cla ssifie d ftF o r O fficia l Use O nly (UWFOUO)

5th paragraph

Add that remotely controlled shut o ff valves will also be installed.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 335 ofPage
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Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            Shut-off valves will be installed and information added to the second last sentence of the paragraph
            mentioned.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id               Discipline                  Section/Figure                    Page Number         Line Number
S141S40           Environmental                    4.2.3.1                            40                  n/a
Comment Classifieation; U n c la s s ifle d W o r O fficia l Use O nly (UWFOUO)

1st paragraph

Any update due to recent surveys?



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            Surveys have been completed on all lands in the scope of the EA, the flowage easements, the Lake Oahe
            HDD and associated workspaces. Revisions to the EA will be made throughout based on the results of the
            completed surveys.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id               D iscip lin e               S ection/F igure                  Page N um ber       Line N um ber
g141i41           Environmental                    4.2.3.2                           41-42                n/a
Comment Classification: UnclassifiedW For Official Use Only (UWFOUO)

1st paragraph

We need pre/post disturbance surveys.

Is regulatory aware that you are draining wetlands? Is this temporary? Explain what a trench plug is.

The description indicates that topsoil would be replaced fn unsaturated wetlands. What about the topsoil in saturated
wetlands?

All disturbed areas on fee lands w ill need to be reseeded in accordance with the Garrison Project revegetation
guidelines.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 336 ofPage
                                                                         397 51 of 110




Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C o n cyrre d
            "Based on completed surveys, there are no excavation impacts to wetlands on lands addressed in this EA.
            The language throughout will be revised accordingly.
            To clarify the language that reviewed, impacts to assumed wetlands would have been automatically
            authorized under NWP 12. so there was no need to notify regulatory.
            Trench plugs are described in the SWPPP and are barriers within the trench installed so that the trench isn't
            a conduit for draining the hydrology in a wetland,
            Topsoil segregation is largely only feasible in unsaturated wetlands, it is typically not feasible in saturated or
            inundated wetlands, hence the language about returning topsoil in unsaturated wetlands only.
            No impacts to Corps owned lands are anticipated that would warrant reseeding on corps owned lands.
            Please clarify, that if reseeding is needed at Lake Oahe, the Garrison Project guidelines would bee be
            implemented? "

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Open C om m ent
            Use Lake Oahe guidelines if they are available, if not Garrison is geographically similar enough that they
            could be used.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
        2-0 Evaluation C oncurred
            Revised EA Section 3.3.1.2: Ground disturbing activities will not occur on Corps fee-own lands; therefore
            reseeding is not anticipated in these areas. However, if reseeding where to become necessary on Corps
            fee-owned lands, all activities would be in accordance with applicable Lake Oahe or Garrison Project
            revegetation guidelines.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 20 2015.
           Current Comment Status:



   Id                Discipline                 Section/Figure                Page Number                 Lin e Number
6141643           Environmental                     4.2.3.2                        43                         n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UttFOUO)

3rd paragraph

...remove trees...

All trees removed on fee property would have to be mitigated as outlined in the Garrison Tree Mitigation Plan



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Juri 29 2015


        1-0 Evaluation C oncurred
            "EA text; However, following construction, a 30? foot?wide corridor centered on the proposed pipeline would
            be maintained in non?forested state to facilitate inspections of the pipeline, operational maintenance, and
            compliance with the federal pipeline safety regulations.
            No trees are expected to be removed from Corps owned property. "

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015




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                                                                                                         USAGE DAPL0072211
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 337 ofPage
                                                                         397 52 of 110


        1-1 Backcheck Recommendation Close C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id                D iscip lin e             Section/Figure                Page Number                Line Number
8141S48           Environmental                    4.3.1.2                        47                         n/a
Comment Classification: UnciassifiedW For O fficia l Use Only (UUFOUO)

2nd paragraph

...rapid oolonization..

On Fee lands you will have to reseed with a mix approved by the Garrison Project.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            "EA text: Active revegetation measures and rapid colonization by annual and perennial herbaceous species
            in the disturbed areas will restore most vegetative cover within the first growing season. In areas that require
            permanent revegetation, Dakota Access will specify appropriate seed mixes, application rates, and seeding
            dates, taking into account recommendations of appropriate state and federal agencies and landowner
            requests.
            It is understood that Corps Fee lands would require approved reseeding mixtures. However, there are no
            ground disturbing activities expected on Corps owned lands. "

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2016.
           Current Comment Status:



    Id                D iscip lin e             S ection/F igure             Page N um ber              Line Num ber
 6141848           Environmental                    4.3.3.2                       49                         n/a
Comment Classification: UnclassifiedW For O fficia l Use Only (UW OUO)

That does not mean they are not there, if one is found during survey's or construction, work must stop and the Corps
must be contacted.

Use Section 7 ESA determination verbiage. If there is the possibility that they could be present but not effected, the
call would be "may effect, but would not likely adversely effect".

Update effect calls throughout document to use correct terminology.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaluation C on cyrre d
             "EA text will be revised as follows: There are no known records o f western prairie fringed orchids in the
             Project Area counties and no suitable habitat was documented; therefore no impact is expected as a result




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 338 ofPage
                                                                         397 53 of 110


             o f the proposed undertaking. In the unlikely event that any are observed during construction on federal
             lands, work will stop and the Corps would be contacted."

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015.
             Current Comment Status:



    Id            Discipline               S e ctio n /F ig yre            Page Number                   Line Number
 6141656           General                     4.2.3.2                          37                           n/a
Comment Classification: U nclassifiedU F or O fficia l Use Only (UttFOUO)

this section needs clarification, there is discussion of the effects of surface construction in wetlands but also states
the wetlands will be avoided by HDD



Submitted By: Amee Riel (4029952544). Submitted On: Jun 29 2015


         1 - i Evaluation C oncurred
               Clarification on types of v^etland impacts will be made. All wetlands will be HOD'd, there will be no
               excavation in any wetlands.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
            Current Comment Status;



   Id            Discipline               Section/Figure                  Page Number                   Line Number
6141662           General                    table 4-8                          38                           n/a
Comment Classification: UnclassifiedWFor Official Use O nly (UWFOUQ)

are the area/acres the acres of disturbance? what is the percetage of the total area of each wetland cleared of
vegatation?



Submitted By; Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            The wetland acreage in Table 4-8 was based on preliminary desktop data of the wetland area within the
            stringing corridor. The area has since been field verified and it does not meet wetland criteria. As the area Is
            not considered to be a wetland Table 4-8 and Section 4.2.3.2 will be updated accordingly.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open C om m ent
            are the area/acres the acres o f disturbance? what is the percetage of the total area of each wetland cleared
            o f vegatation?

           Submitted By: Amee Rief (4029952544) Submitted On; Jul 08 2015.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 339 ofPage
                                                                         397 54 of 110


        2-0 Evaluation Concurred
            The area/acres in Table 4-8 showed wetland acreage within the area of disturbance. We do not delineate
            wetlands beyond the survey corridor in accordance with our landonwer survey permissions, so we cannot
            comment on the % of the total area of each wetland cleared of canopy cover. However, field verification has
            indicated that there is not a wetland at the location indicated in Table 4-8 and the table will be updated
            accordingly. To clarify, based on recent field verification the only wetlands that would be affected are limited
            to be clearing of canopy cover along the HDD profile on the north bank o f the Missouri River within the
            flowage easement. The a tje s o f this vegetation maintenance is in Table 4-7.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

              Submitted By: Amee Rief (4029952544) Submitted On; Nov 06 2015.
              Current Comment Status:



    Id                 Discipline               Section/Figure               Page Number                L ine Number
 6141664             Environmental                   4.4.2                        50                         n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

You don't have the Northern Long Eared Bat in here. Pretty sure Project on our land is within its range and if trees
are coming down than a may effect, but would not likely adversely effect call would be prudent.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation Concunred
             "We will add a section for the species and clarify the no effect determination.
             The species is listed by the USFWS as threatened in North Dakota. Per the exemptions o f the interim 4(d)
             rule, the Project would not negatively impact the northern long-eared bat. (U.S. Fish and Wildlife Service.
             2015. Endangered and Threatened W ildlife and Plants; Threatened Species Status for the Northern Long-
             Eared Bat With 4(d) Rule.) "

               Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

               Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015.
               Current Comment Status:



   Id                D iscip lin e             S e ction /F igyre           Page N um ber               Line N um ber
6141665            Environmental                   4.4.2.1                        50                         n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UftFOUO)

1st paragraph

Change all calls to correct verbiage as stated in the Section 7 ESA manual. This comment is applicable to anywhere
in any document where you are making an ESA effect call and will not be repeated. In response to comment, note
where changes were made.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0




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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 340 ofPage
                                                                         397 55 o f 110


            Evaluation Concurred
            Effect determination verbiage w/ill be updated in the EA upon our continued consultation with the ND USFWS
            Field Office. Dakota Access is of the opinion that it may be a "no effect".
            Section 4.4.2 ""not likely to adversely affect"" will be changed to ’"'no effect"". The Draft EA included an
            effect determination of '"’not likely to adversely affect"" (i.e. ""may affect, not likely to adversely affect"") for
            the piping plover and least tern. However, Dakota Access has determined that the Project will have no effect
            on all listed species within the Proposed Action or Connected Action areas. The no effect determinations will
            be further defined in Section 4.4.2 within the revised EA."

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 08 2015


        1-1 Backcheck Recommendation Open Comment
            Disagree. The narrative only speaks to when the construction of the pipeline will occur. What about the
            potential that leaks may affect shorelines that species use? Because the presence of these species may
            occur and even if the applicant speculates the probability of a leak is low throughout the life of the pipeline,
            we would make a "may effect, but would not likely adversely effect" call for listed species in this area. The
            FWS will provide concurrence or not.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
        2-0 Evaluation Concurred
            EA has been revised to show a May Affect, Not Likely to Adversely Affect determination for the piping
            plover, interior least tern and pallid sturgeon. See revised EA section 3.4.2.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On; Oct 20 2015.
            Current Comment Status:



   Id                Discipline                  Section/Figure                 Page Number                 Line Number
6141666           Environmental                      4.4.2.1                        50                           n/a
Comment Classification; UnclassifiedWFor Official Use Only (UWFOUO)

Table 4-11

Place table after narrative for each species below.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Table 4-11 is a summary table that is supported by the preceding paragraph and kicks off the discussion of
            the subsequent discussions. Please clarify that we are just being asked to put the table at the end instead of
            the beginning.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Open Comment
            Yes, but the impact determination needs to be updated as discussed in the previous backcheck.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
        2-0 Evaluation Concurred
            EA has been revised to show a May Affect, Not Likely to Adversely Affect determination for the piping
            plover, interior least tern and pallid sturgeon. See revised EA section 3.4.2.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015




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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 341 ofPage
                                                                         397 56 of 110


        2-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 20 2015.
            Current Comment Status:



   id                Discipline                 Section/Figure                Page Number              Line Num ber
S1416S8           Environmental                     4.4.2,2                       53+                      n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (UW O U O )

Include effect determination call in each species impact determination paragraph below.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On; Jun 29 2015


        1-0 Evaluation C oncurred
            The effect determination will be included in the individual species write-up.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015.
            Current Comment Status:



   Id                 D iscip lin e             Section/Figure                Page Number              Line Number
6141689            Environmental                    4,4.2.2                       53+                      n/a
Comment Classification: U ncla ssifle dttF or O fficia l Use Only (UttFOUO)

For Terns and Plovers, add a note that additional reduction of potential impacts would occur if construction occurred
outside of about mid-April to the end of August.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On; Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaluation C oncurred
             A note will be included for Terns and Plovers, regarding reduction of potential impacts would occur If
             construction was outside the respective nesting season.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015,
             Current Comment Status:



   Id                 Discipline                Section/Figure                Page Number             Line N um ber
 6141671           Environmental                    4.4.2.2                       53+                      n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 342 ofPage
                                                                         397 57 of 110


Note that if any of the listed species are encountered on Corps property during construction, that work would stop
and the Corps would be contacted. We'll contact the FWS.



Submitted By: Johnattian Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             A note will be included that If listed species are encountered in Corps lands, construction would stop and
             Corps would be contacted.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             ok

             Submitted By: Johnathan Shelman (402-995-2708) Sutjmitted On: Jul 24 2015.
             Current Comment Status:



   W             D iscip lin e            S ection/F igure                  Page N um ber            Line N um ber
S141672          General                        n/a                                43                    n/a
Comment Classification: U n cla ssifie d ftF o r O ffic ia l Use Only (UIFO UO )

3rd paragraph, are there standing water wetlands? they were not identified or analyzed in the wetlands section.



Submitted By: Amee Rief (4029952544). Submitted On; Jun 29 2015


        1-0 Evaluation C oncurred
            Standing water wetlands are not anticipated.
            We will remove all references/discussions of conventional construction through wetlands as this does not
            apply to the EA scope.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 B ackdieck Recommendation C lose C om m ent
            Closed without coniment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:



   Id                D iscip lin e              S ection/F igure               Page Num ber           Line Num ber
6141S76          Environmental                    , 4.4.2.2                             57                n/a
Comment Classification: UnclassifiedW For O fficia l Use Only (UtlFOUO)

Rufa Red Knot

Do not agree w/effect determination of no effect. Suitable habitat exists in the project area and although unlikely a red
knot may stopover during construction, it Is possible. Change to may effect, but would not likely adversely e ffe d
throughout document.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.




https://www.projnet.org/projnet/biiiKomHome/index.cfiii                                                         6/2/2016

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          Case 1:16-cv-01534-JEB
ProjNet; Logged In User          Document 406 Filed 03/22/19 Page 343 of Page
                                                                         397 58 o f 110


    1-0 Evaluation Concurred
        Rufa red knot do not nest in tfie project area and only occur as an occasional migrant. In the event that a
        migrating rufa red knot is in the area during construction, they will likely avoid the area and utilize other
        suitable foraging habitat which is abundant throughout the region. Because rufa red knot is not expected to
        be present in the project area during construction, the project wiii have no effect on this species. This is
        being confirmed with the USFWS. EA text will be revised as follows for clarification: During spring and fali
        migrations, the rufa red knot has the potential to occur in North Dakota. Migrating rufa red knot would likely
        only occur at migratory stopover habitat (suitable shoreline and sandy beach habitat along major rivers,
        streams, waterbodies, and wetlands) for a brief amount of time (24 hours or less). The results of the habitat
        assessment field surveys indicate that potentially suitable loafing habitat (sandbar and beach habitats) for
        the migrating rufa red knot is present at the Missouri River and Lake Oahe. The Missouri River and Lake
        Oahe will be crossed using a HDD construction method, avoiding impacts to potential migrating rufa red knot
        loafing habitat. Based on the results of the habitat assessment field survey, the brief amount of time that
        rufa red knots could be in the area, and the proposed implementation of a HDD construction method to
        cross the Missouri River and Lake Oahe, Dakota Access has determined that construction of the Project
        would have no effect on migrating rufa red knots.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


    1-1 Backcheck Recommendation Open Comment
        Disagree. The possibility of impact, whether direct or indirect, exists because the project occurs within the
        red knot's range therefore our call would be "may effect, but would not likely adversely effect". No effect
        determinations are those with 100% no possibility of effect. The verbiage in your response (e.g. "will likely
        avoid") alludes to the potential possibility that they may occur or may be disturbed, which makes a no effect
        determination inaccurate for this, and other avian, species.

        This backcheck comment is applicable to ail the birds that are listed under ESA within the project area.

        Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
    2-0 Evaluation Concurred
        We are unaware of the "100% no possibility for effect" to reach a "no effect" determination under the ESA.
        Per NMFS ESA Section 7 Effects Determination Guidance ( March 2014) no effect determination does not
        require 100% no possibility of effect but rather no plausible effects, a) Some examples of when a "no effect"
        conclusion would be reached are: The species occurs in the action area and may be present at the time of
        the project, but there are no plausible (i.e., no credible) routes of effects (beneficial or adverse) to the
        species. A route of effect could be implausible if it would require a series of exceedingly rare events to
        occur in a particular sequence, in order to impact individuals of a listed species or habitats. A single event
        could also be in this category if the route of effect is so unrealistic its occurrence would be implausible .
        Because a transient red knot would more than likely stopover for less than 24 hours, the loafing habitat is
        being avoided via HDD, and the abundance of suitable habitat in the region it is not plausible that the
        species would be exposed to any potentially harmfui/beneflcial elements of the action.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015


    2-1 Backcheck Recommendation Open Comment
        Our call in our EA that you are preparing for us is "may effect, but would not likely adversely effect".

        Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 20 2015.
    3-0 Evaluation Concurred
        To address comment 6141676, the impact for all birds that are listed under the ESA within the Project area
        will be changed to a "may affect, not likely to adversely affect" as requested.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 21 2015


    3-1 Backcheck Recommendation Open Comment
        Ok. I will close when I see in EA. Current 10-7-15 version still has no effect.

        Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015.
    4-0 Evaluation Concurred
        Updated section 3.4.2 Threatened, Endangered, Candidate, and Proposed Wildlife Species is attached. The
        impact determinations have been changed to "May Affect, Not Likely to Adversely Affect" for the requested
        species.




https://www.proJnet.org/projnet/binKomHome/mdex.cfin                                                           6/2/2016

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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 344 ofPage
                                                                         397 59 of 110


            Submitted By; Jonathan Fredland (7134627121) Submitted On: Nov 04 2015 (Attachment;
            DAPL_TandE_Assessment_from_USACE_EA_103016,docx)


        4-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

            Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Nov 05 2015.
            Current Comment Status:



   Id            D iscipline            S e ctio n /F ig yre          Page N um ber               Line N um ber
6141884          General                    4.3.3.2                          44                       n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

Needs a weed control and prevention plan



Submitted By; Amee Rief (4029952544). Submitted On; Jun 29 2015


        1-0 Evaluation C oncurred
            Please advise how a weed control plan is applicable to Threatened, Endangered, Candidate, and Proposed
            listed Plant Species; of which none are known to occur on the project area and no suitable habitat was
            documented.

           Submitted By; Jonathan Fredland (7134627121) Submitted On; Jul 02 2015


        1-1 Backcheck Recommendation Open C om m ent
            should be 4.3.2.2 noxious weeds section, needs a prevention plan.

           Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015,
        2-0 Evaluation C oncyrred
            Noted. Does the COE have a plan they use or one that they like to see used?

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 09 2015


           Backcheck not conducted
        3-0 Evaluation C oncurred
            Based on meeting notes from 7/15/15: Pipeline construction on Corps owned lands will be completed via
            HDD. Ground disturbance is not anticipated on Corps owned lands and a prevention plan is not required,

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 16 2015


        3-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On:-Nov 06 2015.
           Current Comment Status:



   Id               Discipline                 Section/Figure            Page Number               Line Number
6141885          Environmental                      4.5.1.2                       57                   n/a
Comment Classification; U nclasslflecft\For O fficia l Use O nly (UttFOUO)

Update 2nd paragraph w/rsew HDD plan information.

Where will the containment equipment be located?

How long are the response times of appropriate response personnel?




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 345 ofPage
                                                                        397 60 of 110



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


     1-0 Evaluation Concurred
         Containment equipment will be onsite in the HDD additional work space and containment/cieanup efforts will
         begin Immediately upon discovery of a frac-out. The HDD Plan contains more details regarding such.

          Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


     1-1 Backcheck Recommendation Open Comment
         Do you plan on submitting a risk analysis similar to the example that we provided?

          Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
     2-0 Evaluation Concurred
         North Dakota Lake Oahe Crossing Spill Model Discussion is attached.

          Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015 (Attachment:
          DAPL_ND_Lake_Oahe_Crossing_Spill_Model_Discussion_Rev-A1.pdf)


     2-1 Backcheck Recommendation Open Comment
         Why are the spill model plans for the Missouri River and Oahe crossings different? The former seems more
         qualitative while the latter is quantitative. One example is the use of PHMSA approved spill calculation
         software (OILMAP Land).

          Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 21 2015.
     2-2 Backcheck Recommendation Close Comment
         Closed without comment.

          Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015.
          Current Comment Status:



    Id               Discipline                Section/Figure           Page Number              Line Number
 6141687        Cultural Resources                 4.7                         64                    n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

I am entering Dave Cain's cultural comments:

General comment re: CR evaluation..

Overall comment: The archaeologists do not feel very comfortable with commenting because we have not initiated
government to government consultation to find out firsthand what our PA partners think. However some comments are
provided with that caveat.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation Concurred
             Comment noted.

            Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 07 2015


         1-1 Backcheck Recommendation Close Comment
             Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
            Current Comment Status:




https://www.projnet.org/projnet/binKoraHome/index.cfin                                                     6/2/2016

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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 346 ofPage
                                                                         397 61 of 110



   Id                  D iscip lin e                Section/Figure               Page Number               Lin e Number
8141i8S           Cultural Resources                      4.7                         64                        n/a
Commerit Classification: UnclassifiedW For O ffic ia l Use O nly fUWFOUOJ

1st paragraph

This is oversimplified for us. We have the PA, as you are aware and it will require us to do more than "take into
consideration".



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            EA text revised as follows: Section 106 of the National Historic Preservation Act of 19K i (NHPA), as
            amended, and implemented by 36 CFR Part 800, requires Federal lead agencies "to assess the
            effects" [instead o f take into consideration] o f permitted actions on historic properties.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On; Aug 07 2015.
           Current Comment Status:



    Id                 Discipline                 Section/Figure               Page Number                 Line Number
 6141690          Cultural Resources                    4.7                          64                        n/a
Comment Classification: UnclassifiedW For O ffic ia l Use Only (UWFOUO)

2nd paragraph

...Class II Recon inventories,..

List the authorizations (ARPA permits and written consent of the land managers to conduct class II inventory) here.
The Omaha district, by way of the PA, requires our partners a review o f the permit applications for survey conducted
on Fee title. If Fee title was not included that should be outlined.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation C on curred
              A t the direction of the Corps, Corps fee owned lands were not surveyed. This ■■wilFber-elarifiedJBi.the text,.
              EA text revised as follows: Survey investigations were restricted to those
              was voluntarily given by landowners. As detailed in Appendix 1, an Archaeolo,glcal..Res.o.utce,Rrotedion
              Act (ARPA) permit was not required for any fee title or federal lands as all Cjass:j l / I | ; ^ u i : ^
              conducted exclusively across private lands where the HDD entrance and exit' wbrkspaces wilTBe^located.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 06 2 01 5(U Z !I


          1-1 Backcheck Recommendation C lose C om m ent
              Closed without comment.

              Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
              Current Comment Status:




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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 347 ofPage
                                                                         397 62 of 110


   Id                  Discipline                 Section/Figure             Page Num ber             Line Number
6141S92           Cultural Resources                  4.7.1                       64                       n/a
Comment Classification; UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

..Native American habitation..



And Euro American, Lets not forget about the whole "settlement of the west" part o f our history.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1 - i Evaluation C oncurred
              Appropriate revision will be made in regards to Native American habitation and Euro American settlement
              history.

           Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 02 2015


        1-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
           Current Comment Status:



    Id                 Discipline               Section/Figure              Page Number               Line Number
 614169S          Cultural Resources                4.7.1.1                      64                       n/a
Comment Classification: UnclassifiedWFor O ffic ia l Use Only (UWFOUO)

first paragraph

...flowage easement Project Area.

This is not very descriptive of the location studied. The state refers to this area as the Garrison Study Unit, The
USACE calls it part of the Garrison Dam Project. The rest of the interested parties might only recognize this area as
associated with Lake Sakakavs/ea. If you don't establish that here It needs to be done sooner.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation C oncurred
              "EA text: Cultural resources background studies and field surveys w ere conducted within the flowage
              easement Project Area. Portions of the flowage easement Project Area have been subject to previous
           . surveys.
              The ""flowage easement"" project area is one of the two distinct project areas under evaluation in this EA
              and defined/described in the beginning of the EA and referred to accordingly throughout. "

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


          1-1 Backcheck Recommendation C lose C om m ent
              Closed without comment.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
              Current Comment Status:



   Id                Discipline                 Section/Figure             Page Number                Line Number




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          Case 1:16-cv-01534-JEB
ProjNet: Logged Iii User         Document 406 Filed 03/22/19 Page 348 ofPage
                                                                         397 63 of 110


6141697         Cultural Resources                    4 J.1.1                       64                     n/a
Comment Classification: U ncla ssifie dftF or O ffic ia l Use O nly (UttFOUO}

1st paragraph

...horzlntal directional drill and snow fenceing...

Has the SHPO approved this method of avoidance/mitigation? If so this would be a good point to advertise your
diligence, If not, go talk to them and get a letter. That letter will need to be a supporting document in the appendices.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


      1-0 Evaluation C oncurred
          The SHPO has told us that they will consult with the federal agency in accords with Section 106. If the COE
          wishes to issue us the designated Dakota Access and the non-federal representative, please provide this in
          writing and we will coordinate with the SHPO respectively.

          Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 02 2015


     1-1 Backcheck Recommendation Open C om m ent
         Dave Cain reply;

          It is stated in the cultural summary that all mitigation efforts will be reviewed by the SHPO. I was drawing
          attention to the fact that HDD under an eligible site is a mitigation effort and needs to be treated as such.

          Submitted By: Johnathan Shelman (402-995-2708) Submitted On; Aug 07 2015.
     2 - i Evaluation C o n cyrre d
           Agreed. HDD technique has been identified as a mitigation effort in the EA and would be reviewed by
           SHPO once government to government consultation occurs. EA text Section 3.7.1.2: Regarding the NRHP-
           etigible BTIS (site 32WI1367), the Project proposes to traverse one historic canal feature that has been
           determined to be an eligible component of the site. Impacts to this feature would be avoided via HDD to
           ensure ttie integrity of construction design for these historic-age features is preserved. Ttiis management
           recommendation has been included as a viable avoidance option in the Class III report submitted to both the
           ND SHPOs office that the USACE regional archaeological staff. To date, the SHPO has deferred
           consultation to the regional USACE archaeologist and has not provided comment regarding these avoidance
           options.

          Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015


     2-1 Backcheck Recommendation C lose C om m ent
         Closed without comment.

          Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 21 2015.
          Current Comment Status:



    Id                D iscip lin e               S e ction /F igu re           Page N um ber          Line N um ber
 §141698         Cultyral Resources                   4.7.1.1                       64                     n/a
Comment Classification: U ncla ssifie dttF or O fficia l Use O nly (UWFOUO)

2nd paragraph

Was sub surface testing conducted? Or was the alignment pedestrian surveyed? This Is a flood plain near one of the
largest navigable waterways in the US. I think some sort of geomorphic discussion needs to happen to address,
buried horizons, sunken steam boats, and sterile recently accreted stream load.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015




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ProjNet; Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 349 ofPage
                                                                         397 64 of 110


         1-0 Evaluation C oncyrred
             EA Text Revised as Follows: The Class ll/Class 111 cultural resource Inventory of the proposed Project
             Area was conducted in accordance with the North Dakota SHPO Guidelines Manual for Cultural
             Resources Inventory Projects (SHSND 2012). As outlined in Appendix I, systematic survey methods
             employed by field crews included surface inspection and shovel probing. Surface inspection was
             conducted in areas with surface visibility greater than 10 percent along fixed 15 m (49 ft) interval
             transects. Shovel probes were excavated on a 30 m grid in areas with less than 10 percent surface
             visibility. In general, shovel probing was employed minimally to document soil profile data as the majority
             of these areas are dominated by expansive agricultural pastures with high surface visibility. The surveys
             resulted in the assessment of the portion of Site 32WI1367 within the survey corridor. Dakota Access will
             entirely avoid impacting this NRHP-eligible canal feature by installing the pipe via HDD in this area. The
             HDD workspace will be off-set a sufficient distance to ensure that no components or associated features
             o f this canal will be adversely impacted. Aside from this previously recorded site, the surveys were
             negative with no cultural materials encountered on the surface or within any o f the shovel probes. A more
             thorough discussion of the cultural setting, previous studies, as well as geologic and geomorphic analysis
             o f the region, and results o f the current survey are found in Appendix I.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
             Current Comment Status:



    Id                D iscip lin e              S e ction /F igu re            Page N um be r          Line Num ber
 6141699         Cultural Resources                  4.7.11                         65                      n/a
Comment Classification; U ncla ssifie dttF or O ffic ia l Use O nly (UttFOUO)

Last paragraph

Please outline the ARPA authorizations (permit numbers) for this survey. If no fee title land was surveyed state that. It
is likely that if the survey was not conducted it will need to be due to the recent unveiling of the need to draw
industrial water from Oahe.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             No USACE Fee lands were included in the surveys we conducted. According to the GIS data obtained
             from SHPO, which was confirmed by the USACE, the USACE lands had taeen previously surveyed.
             Further, no physical impacts were anticipated as these parcels virere to be avoided by HOD. EA text will
             be revised as follows: Cultural resources surveys were not conducted across USACE-owned lands as the
             Class I literature search determined that these federally-owned properties have been sufficiently surveyed
             for cultural resources as detailed in Appendix I (Figures 5b and 5c). Class ll/llll survey investigations were
             restricted to those properties where land access was voluntarily given by private landowners. As detailed
             in Appendix I, an Archaeological Resource Protection Act (ARPA) permit was not required for any fee title
             or federal lands as all Class 11/111 surveys were conducted exclusively across private lands where the
             Project workspaces will be located. W ater will not be withdrawn from Lake Oahe.

            Submitted By: Jonathan Fredland (7134627121) Submitted On; Jul 07 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
            Current Comment Status:




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 350 ofPage
                                                                         397 65 of 110


    Id                 Discipline                   Section/Figure                  Page Number        Line N um ber
 8141702          Cultural Resources                    4.7.1.2                        65                   n/a
Comment Classification: U n c ia s s ifie d W o r O ffic ia l Use O nly (UttFOUO)

 1st paragraph

In the event that it happens on non-fed land. If an impact happens on USACE fed land the district commander or his
agent is the authority for considering such measures.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             The language In section 4.7.1.2 will be revised to clarify the authority on Corps fee owned lands.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
             Current Comment Status:



   Id                  D iscip lin e                 Section/Figure                 Page Number        L in e Number
8141703           Cultural Resources                     4.7.1.2                        65                  n/a
Comment Classification; UnclassifiedW For O fficia l Use O nly {UWFOUO)

2nd paragraph

Just above you state that the SHPO will be involved in making this decision. How was the SHPO involved in this
mitigation decision?



Submitted By: Johnathan Shelman (402-995-2708). Submitted On; Jun 29 2015


        1-0 Evaluation C oncurred
            The EA clearly says this is what is proposed. The report that was reviewed and has been submitted to the
            SHPO includes this measure. No Comments from the SHPO have been received to date. The SHPO is
            awaiting the federal agency to initiate consultation in accordance with 106.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Open C om m ent
            Dave Cain reply:

           And this is why it is problematic to conduct reviews before consultation is initiated.

           Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015,
        2-0 Evaluation C o n cyrre d
            Understood. Please initiate consultation with the SHPO or designate Dakota Access as the non-federal
            representative so that consultation can occur without further delay.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 21 2015.



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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 351 ofPage
                                                                         397 66 o f 110


           Current Comment Status:



   Id                  Discipline                  Section/Figure              Page Number               Line Number
6141705           Cultural Resources                  4.7.1.2                       65                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

3rd paragrapti

Is this a recommendation to effect or a determination. Please use the catch words from section 106 to make
reference to what you are doing here.



Submitted By; Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaiuation Concurred
            EA text revised as foliows: in accordance with Section 106 of the NHPA, Dakota Access has made a good
            faith effort to identify significant historic properties within the Project area. Based on the result of these
            efforts, no properties recommended as eligible, or potentially eligible for listing in the National Register of
            Historic Places (NRHP) will be adversely impacted by the proposed Project or Connected Action.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
            Current Comment Status:



   Id                  Discipline                  Section/Figure              Page Number               Line Number
6141706           Cultural Resources                   4.7.1.2                      65                        n/a
Comment Classification; UnclassifiedWFor Official Use Only (UWFOUO)

4th paragraph

Avoided by how far. it is a standard 100 foot for the Omaha district.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaiuation Concurred
            EA text will be revised as follows: Although there are seven previously documented cultural sites within the
            400-foot survey corridor in the vicinity of the Lake Oahe crossing, these sites will not be adversely impacted
            by the Project. HDD workspaces, as well as staging and stringing areas wiii be positioned in excess of 100'
            beyond the mapped boundaries of these previously recorded sites. Additionally, Class III survey efforts
            conducted within the Project workspace directly adjacent to these site boundaries were negative for cultural
            resources thus confirming that no cultural components associated with these sites stretch into the currently
            defined workspace areas. Overview maps depicting workspace design in relation to these previously
            recorded sites is provided in Appendix I.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
           Current Comment Status:




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 352 ofPage
                                                                         397 67 of 1 iO




   Id            Discipline              Section/Figure                  Page Number                   Line Number
6141707          General                     4,4.2.2                          49                            n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

which species were field varified (include year of survey and methodology) and which were desktop



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            Habitat assessments for all species were field verified. We will update to include the survey dates.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:



    Id                 D iscip lin e             S ection/F igure             Page Number                Line Number
 S141711          Cultural Resources                   4.7.2                       65                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

1S t paragraph

Much has changed with this project since then. We are still uncertain of the alignment on their traditional lands, as
well this project affects much more than the SRST. We consult with nearly 30 Missouri River tribes on every
undertaking and this is why consultation is taking so long to initiate. We do not initiate until we know what we are
consulting about. This project has not even been formally proposed.

A word to the wise: the Corps does not like to sign and accept documents as their o w n when they are being blamed
for the inaccuracies and short comings within. Get your ducks in a row, tell us what your ducks are doing, and we will
initiate consultation for your proposal.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation C oncurred
              EA Text revised as follows: In October 2014, Dakota Access met with representatives o f the Standing
              Rock Sioux Tribe and the Tribal Historic Preservation O fic e (THPO) of the Standing Rock Sioux Tribe to
              informally introduce the Project, and inquire about any potential areas of interest or cultural importance
              traversed by the Project. This meeting was meant as a good faith effort to discuss this project with the
              tribe due to the proximity of their reservation to the Lake Oahe crossing in early routing evaluation.
              Formal consultation with federally-recognized tribal entities for those portions of the Project on federal or
              fee titled lands will be initiated by the federal agency per Section 106 of the National Historic
              Preservation Act (NHPA) which requires government to government consultations with tribal entities.

              Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


          1-1 Backcheck Recommendation C lose C om m ent
              Closed without comment.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On; Aug 07 2015.
              Current Comment Status:




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 353 ofPage
                                                                         397 68 of 110




   Id                D iscip lin e              S e ction /F igyre            Page Number                 Line Number
8141714           Environmental                    4.12.2.2                        74                         n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

Would construction hours be during normal weekday business hours near residential / commercial areas?



Submitted By: Johnathan Shelman (402-995-270S). Submitted On: Jun 29 2015

Revised Jun 29 2015.



        1-0 Evaluation C oncurred
            Construction activities would typically be limited only to daytime hours. Potential exceptions include critical
          . HDD operations or work determined necessary based on weather conditions, safety considerations, and/or
            critical stages o f the HDD [e.g. if pausing for the night would put the drill at risk of closing or jamming].

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation C lose C om m ent
            ok

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
            Current Comment Status:



    Id                Discipline                 Section/Figure               Page Number                 Line Number
 6141716           Environmental                      5.0                          75                         n/a
Comment Classification: UnelassifiedW For O ffic ia l Use O nly (UWFOUO)

Need to add discussion of irreversible and irretrievable commitment of resources fo r at! resource narratives or in a
separate section if you prefer. Where appropriate resources can be combined to create a succinct discussion is
acceptable.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaluation C oncurred
             A section with a brief discussion concerning the irreversible and irretrievable commitment of resources will
             be added to the Draft EA.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Open C om m ent
             I would remove "destruction ‘ o f' cultural resources" as an example. Just find something else to substitute
             just so there is no inference this is occurring.

             At the end of the last sentence in Ch. 5, reference chapter / table where mitigation measures are
             summarized.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
         2-0 Evaiuation C oncurred
             EA text revised as follows: Examples of irreversible commitments of resources include consumption of
             petroleum based fuels or minerals and permanent alteration of environmental resources.




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                  User            Document 406 Filed 03/22/19 Page 354 ofPage
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             Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


         2-1 Backcheck Recommendation Close Comment
             Closed without comment.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 21 2015.
             Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                   Line Number
6141722           General                      n/a                             50                            5
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

how close of proximity are they located?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            "EA text: Based on known occurrence data, the black?footed ferret has been recorded in Morton County but
            not in close proximity to the proposed Lake Oahe crossing location."
            EA text will be updated to provide distances from Project area of known blackfooted ferret occurrence data
            in Morton County.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
            Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                   Line Number
8141732           General                      n/a                             51                            5
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

need to discuss the potential impacts of a frac out on plovers and critical habitat



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Dakota Access maintains it's position that a likelihood of a frac out is negligible and does not warrant
            evaiuation in this decision document as the frac out potential is being managed by implementation of the
            measures described in the HDD Rian.

            Submitted By. Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open Comment
            from the EA "Fluid pressures can build up within the borehole during HDD operations, in some instances,
            this can result
            in hydraulic fracturing of the substrate and subsequent migration of drilling fluids either into the waterway
            or to the land surface—this is known as a "frac?out."
            effects to species needs to be addressed




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 355 of Page
                                                                         397 70 of 110



            Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015,
        2-0 Evaluation Concurred
            EA bias been revised to stiow a May Affect, Not Likely to Adversely Affect determination for the pallid
            sturgeon. See revised EA section 3.4,2. Based on the safety factor resulting from the construction
            implementation plan for the HDD, the potential for a frac-out to breach the surface (land or river bottom) is
            negligible. Frac-out potential will be discussed in detail during the August 12 meeting.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 07 2015


        2-1 Backcheck Recommendation Close Comment
            Meeting was held August 15th with DAPL, HDD contractor, and USACE Engineering Division. USACE
            Engineering has reviewed and approved.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
            Current Comment Status:



   Id            Discipline              Section/Figure                 Page Number                   Line Number
6141749          General                      n/a                             52                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

Paliid sturgeon, no effect means absolutly no effect, impacts of frac outs need to be discussed here.



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            The sediment ioad of a frac-out in the main channel of Lake Oahe would result in insignificant impacts to the
            pailid sturgeon due to the volume and velocity of the water and the mobility and biological characteristics of
            the species. A spawning habitat requires a hard substrate bottom, which is derived from fast moving
            currents, which precludes deposition of fine particulate matter such as those resulting from an inadvertent
            release of drilling mud. The planned HDD would result in no effect to the species.

           Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Open Comment
            data indicate that pallid sturgeon free embryos, as young as five days post-hatch, are able to survive to
            age-1 in the Missouri River between Fort Peck Dam and Lake Sakakawea

           Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation Concurred
            The Missouri River HDD is not part of the previously defined, and recently verified, scope for this EA. The
            Lake Oahe Crossing is outside of the river segment referenced in the comment. The potential for an in water
            frac-out is negligible. Further drilling mud is a benign naturally occurring material of clay particles, which
            would readily dissipate into the water column due to the size and flow of the river. No impact to the paliid
            sturgeon is anticipated.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jui 22 2015


        2-1 Backcheck Recommendation Open Comment
            were the effects of the Missouri river crossing on T and E species submitted to FWS? I cannot close this
            comment until I see the BA and the BO from FWS

           Submitted By; Amee Rief (4029952544) Submitted On: Nov 06 2015.
        2-2 Backcheck Recommendation Close Comment
            The BA is integrated within the EA. A BO is not expected at this point because USAGE is informally
            consulting with the USFWS.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 356 ofPage
                                                                         397 71 o f 110



           Additionally, a BA is being completed for the entire pipeline for regulatory. These crossings are covered
           within that as well.

           Also, see comment 6154194.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
            Current Comment Status;



   Id            Discipline              Section/Figure                 Page Number                  Line Number
6141781          General                     4.4.2                           46                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

this section Is missing an analysis of the northern long-eared bat



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            EA will be revised to include the Northern Long-Eared Bat and the 4(d) rule for a no effect determination.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:



    Id                Discipline                Section/Figure              Page Number               Line Number
 6141787            Environmental                    5.0                          76                       n/a
Comment Classification; UnclassifiedWFor Official Use Only (UWFOUO)

Combine water and aquatic resource narratives Into one cumulative Impact discussion as they are essentially
synonyms. No discussion of past actions and Impacts on these resources. What about the splits from pipelines that
have historically impacted the lake? What about erosion and sedimentation cumulative impacts to water quality from
Incremental impacts due to future development? What about the increased risk of spills as more wells/pipellnes are
constructed and their potential impact the lake? Need a more robust discussion.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



          1-0 Evaluation Concurred
              Section 5.2 and 5.6 will be combined as recommended.
              EA text will be amended as follows: Recently completed construction or current construction within the
              vicinity of the proposed Project could extend the period of exposure of soils as a result of incomplete
              revegetation. These exposed soils may Increase the potential for soil erosion resulting in sedimentation in
              surface waterbodies, which could adversely impact water quality and fish in the Project watersheds.
              However, all of these projects would be subject to regulation by the USACE under the Clean Water Act.
              In addition, spills or leaks of hazardous liquids during construction of the proposed Project or other
              projects in the vicinity have the potential to result in long-term impacts on surface and groundwater
              resources as well as aquatic life resources. However, implementation of BMPs required by the various
              regulating agencies that have jurisdiction over the projects would ensure avoidance, minimization, and/or
              mitigation of potential Impacts on water resources and aquatic resources. Furthermore, impacts on water




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 357 ofPage
                                                                         397 72 o f 110


             and aquatic resources associated with the Project will be avoided, temporary, and/or minor, as all surface
             waterbodies will be crossed via trenchless methods (i.e., HDD or bore), no permanent fill or loss of
             wetlands are anticipated, and potential spill-reiated impacts will be avoided or greatly reduced by
             regulating fuel storage and refueling activities and by requiring immediate cleanup should a spill or leak
             occur. Therefore, cumulative impacts on water resources and aquatic resources would be negligible.

             Submitted By; Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


          1-1 Backcheck Recommendation Close Comment
              ok

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jui 24 2015.
             Current Comment Status:



    Id               Discipline                Section/Figure               Page Number                 Line Number
 6141789          Environmental                      5.3                          77                         n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

i've seen pipeline scars across the landscape years after construction has been completed. I think short and
temporary are not accurate as pipelines can operate for decades and the vegetation is managed (mowed) while the
pipe is operating.

Elaborate on effects of habitat fragmentation from past (none), to current level and what is reasonably foreseeable.

Add section of EA where reader can find more details.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation Concurred
             No forest fragmentation will occur as a result of construction and operation of the Project within the
             flowage easements and the Project Area/Connected Actions of the federal lands. No interior (core) forest
             habitat is crossed by the Project, and the only wooded area that would be affected by the Project include
             one PFO wetland (0.05 acre) located within the permanent ROW on the flowage easements between HDD
             boxes. However, much of the forest and PFO wetlands in the vicinity of the Project area has already been
             fragmented by agricultural activities, roads, and other commercial or industrial developments. Further,
             construction of the proposed Project facilities wiii not result in the permanent ioss of wetland features.
             Although trees within a 30-foot corridor centered on the pipeline that could compromise the integrity of the
             pipeline coating and hamper visual inspection will be selectively removed throughout the operational life of
             the Project, this portion of the PFO wetland would be converted to PEM or PSS and allowed to revegetate
             with scrub-shrub or herbaceous species. Therefore, further fragmentation of wetlands or creation of new
             forest-edge habitat as a result of the Project will be negligible.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation Close Comment
             Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
            Current Comment Status:



   Id              Discipline                 Section/Figure                Page Number                 Line Number
6141791          Environmental                     5.4                           77                         n/a
Comment Classification: UnclassifiedWFor Official Use Oniy (UWFOUO)

Add discussion of past actions. How has oil and gas development (and associated development) helped contribute, if
at ail, to the decline in these species? Risks of spills increase with every pipeline that is installed on or next to these




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In, User         Document 406 Filed 03/22/19 Page 358 ofPage
                                                                         397 73 of 110


species habitat. How does that increase in risk and potential adverse impact to sensitive species habitat contribute
towards the continued listing or new listing o f these species?



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


     1-0 Evaluation C on curred
         Specific information regarding impacts on threatened and endangered species is not available for past oil
         and gas development, and thus cannot be evaluated for cumulative impacts. How/ever, all existing facilities
         would be subject to regulations under the Endangered Species Act and thus, would have avoided,
         minimized, and/or mitigated for impacts on threatened and endangered species prior to construction and
         operation of the project,

         Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


     1-1 Backcheck Recommendation Open C om m ent
         No information exists? Former applicants have completed this request. You may ask the FWS if they have
         any reference material. I would still like the questions that 1 ask to be answered in this section. It may
         require you to forecast using your best knowledge and available reference material.

         Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
     2-0 Evaiuation C oncurred
         Revised text has been incorporated into Section 4.4 as follows: As required by the Endangered Species Act,
         the status of each species listed as threatened or endangered is evaluated every 5 years by USFWS to
         assess its recovery^ and determine if a change in its listing status is warranted. Where available, these
         documents were utilized to identify the potential for ongoing regional oil and gas development to significantly
         threaten the spedes listed in the Project area. For species in which a 5-Year Review was not available,
         Dakota Access utilized the species Recovery Plan and/or Final Rule to evaluate potential threats on the
         species resulting from regional oil and gas development.
         Species in which no suitable habitat is present in the Project Area or Connected Action Area, such as black-
         footed ferret, Dakota skipper, northern long-eared bat, and gray wolf, were not evaluated, as the Project will
         not contribute to cumulative impacts on these spedes.
         Habitat loss and modification are the primary threats to the continued existence of pallid sturgeon, interior
         least tern, rufa red knot, whooping crane, and piping plover. The potential cumulative impacts from oil and
         gas activities in the region on the current listing or potential elevated future fisting of these five species are
         discussed in detail below.
         The USFWS (2014c) Revised Recovery Plan for the Pallid Sturgeon (Scaphirhynchus albus) specifically
         addresses the potential effects of energy development such as oil and gas pipelines on pallid sturgeon. It
         states that while a rupture o f a pipeline within sturgeon habitat could pose a threat, the impacts would be
         localized and the magnitude of the impact would be dependent on the quantity and-timing of the material
         released, it is highly unlikely that a cumulative impact resulting from a spill or teak would occur, as it would
         require multiple pipelines in the same general area to experience anomalous events simultaneously. Even if
         this were to occur, these impacts would be localized and temporary and would likely not result in a
         significant impact on the recovery of pallid sturgeon, as a whole.

         Submitted By: Jonathan Fredland (7134627121) Submitted On; Aug 05 2015


         Backcheck not conducted
     3-0 Evaluation C on curred
         Continuation o f Section 4.4 Revision: According to the Final Rule (79 FR 73706) for the rufa red knot
         (USFWS, 2014b) and the USFWS (2007) international Recovery Plan for the Whooping Crane (Grus
         americana), the USFWS considers oil and gas activities as a secondary threat, especially near the coast
         (primarily in southeast Texas in the wintering range). Potential threats to these species along the Central
         Flyway m igratoiy route in the region of the Project include loss of stopover habitat from conversion of
         natural wetlands (e.g., prairie potholes) to croplands and development (including oil and gas exploration).
         The Project will not result in any loss of stopover habitat for either the whooping crane or rufa red knot;
         therefore, it will not contribute to cumulative impacts on either species as result of regional oil and gas
         activities.
         The USFWS does not address oil and gas activities, including potential spills, as a potential or ongoing
         threat to the interior least tern in either the 5-year review, or the recovery plan (USFWS, 2013e). The
         primary threat to interior feast terns and the cause of the initial pofjulation declines resulted from river
         charmeiization, impoundments, and changes in river flow resulting in loss of suitable habitat throughout their




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 359 ofPage
                                                                         397 74 of 110


            range.
            The USFWS (2009) 5-Year Review for the piping plover does specifically address threats from oil and gas
            activities In North Dakota. However, impacts from oil and gas activities th a t are threatening piping plover are
            associated with the development of oil and gas exploration wells located near the alkali lakes habitat, which
            accounts for 83% of the U.S. Northern Great Plains piping plover breeding habitat. The Project is not
            located within the vicinity o f any of these areas and will therefore not contribute to cumulative impacts on
            piping plovers resulting from oil and gas activities.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Aug 05 2015


        3-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

            Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 21 2015.
            Current Comment Status:



    Id                D iscip lin e             S e ction /F igyre              Page N um ber            Line Number
 6141792           Environmental                      5.5                            77                       n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (UttFOUO)

Agree agriculture has effect, but a discussion of effects of oil and gas development (well pads and pipelines as the
latter doesn't exist without the former) needs to be inclueied with an emphasis on habitat fragmentation.



Submitted By; Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             Information regarding cumulative impacts on habitat fragmentation associated witti the proposed Project
             and oil and gas development in the region is provided in the response to comment #6141789

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On; Oct 23 2015.
             Current Comment Status:



   Id               D iscip lin e               S ection/F igure                Page N um ber            Line Number
6141795          Environmental                       5,6                            77                       n/a
Comment Classification: U ncla ssifie dttF or O ffic ia l Use O nly (UttFOUO)

See comment about Section 5.2



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            See Comment # 6141787

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close C om m ent
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jui 24 2015.




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ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 360 ofPage
                                                                          397 75 of 110


             Current Comment Status:



    Id                 Discipline                S e ction /F igu re          Page Number               Line Number
 6141 iO §        Cultural Resources                   5.8                         78                        n/a
Coniment Classification: U nclassifiedW For O fficia l Use Only (UWFOUO)

1st paragraph

...all practical measures...

This is loose. I would suggest "DAPL will take every measure possible to avoid AND appropriately mitigate. Practical
Measures doesn't seem to obligate the applicant to much of anything.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


         1-0 Evaluation C oncurred
             "EA text: Dakota Access will take all practical measures to avoid or appropriately mitigate adverse effects
             to cultural resources that have been determined, in consultation with the federal land managing agencies,
             NDSHPO, and Native American tribes, to be eligible for listing In the National Register of Historic Places
             (NRHP). Those NRHP?eiigible sites that have been avoided via reroute or HDD located beyond actual
             workspace but in close proximity to construction, operation or maintenance activities may experience
             cumulative impacts in the form of looting. In such cases, Dakota Access will install exclusionary fencing
             along the border of workspace areas in proximity to such resources to ensure no inadvertent trespassing
             occurs.
             Dakota Access would not implement a measure that isn't practical, 'possible' is too broad of a term for us
             to commit to. If we avoid an impact, we would not mitigate it.
             We will reword ""Dakota Access will implement measures to avoid or mitigate adverse effects..."""

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


         1-1 Backcheck Recommendation Close C om m ent
             Closed without comment.

              Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
              Current Comment Status;



    Id                 D iscip lin e             S ection/F igure             Page N um ber             Line Num ber
 6141802          Cultural Resources                  5.8                         78                        n/a
Comment Classification: O n classlfied ftF o r O fficial Use O nly (UWFOUO)

1S t paragraph

..no inadvertent trespassing...

1 assume you are talking about snow fencing? Fencing at all draws attention to the location of sites. This is not a
protective measure that w ill mitigate the proximity of a site. Fencing is usually placed temporarily to draw attention to
a sensitive area for heavy equipment operators. How long will the fences be in place?



Submitted By; Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



         1-0 Evaluation C oncurred
             "We are not looking to mitigate proximity, we are looking to mitigate impacts, "exclusion fencing" is used




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 361 ofPage
                                                                         397 76 o f 110


              to identify a number of sensitive resources along the edges of a pipeline corridor including cultural
              resources, sensitive habitat, unapproved landowners, etc.
              Heavy equipment is operated in every stage of construction and restoration.
              We anticipated the exciusion fencing wouid be in place from clearing through restoration.
              Please advise on a measure you feel is more appropriate."

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


          1-1 Backcheck Recommendation Close Comment
              Closed without comment.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015,
              Current Comment Status:



   Id                  Discipline                    Section/Figure             Page Number             Line Number
6141805           Cultural Resources                      5.8                        78                      n/a
Comment Classification: UnclassifledWFor Official Use Only (UWFOUO)

2nd paragraph

...incidence...

This suggests the measure of probability. Which suggests some quantitative analysis. This statement is highly
qualitative. Use possibility.



Submitted By: Johnathan Sheiman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



        1-0 Evaluation Concurred
            We will replace "incidence" with "possibility".

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

            Submitted By; Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
            Current Comment Status:



   Id             Discipline              Section/Figure                Page Number                   Line Number
6141810           General                 4th paragarph                         53                         n/a
Comment Classification: UnclassifledWFor Official Use Only (UWFOUO)
[Critical/Flagged]

what about the Missouri River HDD site?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            We are not clear what this comment is or where it is referencing.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015




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ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 362 ofPage
                                                                          397 77 of 110



        1-1 Backcheck Recommendation Open C om m ent
            there is no dicussion of the MR HDD site in the effects to aquatic resources section even though the EA
            states "The Missouri River, including Lake Oahe, is the only waterbody crossed by the Project with aquatic
            resources that have potential to be impacted by the Project."

           Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation C oncurred
            The Missouri River impacts for this EA are limited to the potential withdrawal o f water. The Missouri River
            crossing is not part of the previously defined, and recently verified, scope for this EA.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jui 09 2015


        2-1 Backcheck Recxjmmendation C lose C om m ent
            See comment response 6141389.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
           Current Comment Status:



     Id                 Discipline                       Section/Figure                 Page N um ber   Line Number
 8141811          Cultural Resources                               n/a                      n/a             n/a
Comment Classification: U n c la s s ifie d lF o r   O ffiG la l   Use O nly (UWFOUO)

2nd paragraph

...contribution to the understanding o f cultural resources..

Really? Because it has been my experience that when something is inadvertently crushed or ripped from the earth
there is not much to learn from its mutilated context. This is arguable at least. The Native American perspective o f
such a "positive spin" will set the stage for argument during the public comment period.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation C oncurred
              EA text revised as follows: Although the possibility of an unanticipated discovery is low based on the
              negative findings o f the field survey efforts, the measures outlined in the UDP includes a thorough
              notification protocol which wrifl ensure that the necessary cultural resources specialists and agency
              personnel are involved to appropriately address the nature significance and of the find.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


          1-1 Backcheck Recommendation C lose C om m ent
              Closed without comment.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Aug 07 2015.
              Current Comment Status;



   Id                D iscip lin e                    S e ction /F igyre            Page Num ber        Line N um ber
6141815           Environmental                           . 5.9                            78               n/a
Comment Classification: U n cla sslfie d ttF o r O fficia l Use O nly (UWFOUO)

Add discussion here or tn another section on transportation and traffic cumulative effects (likely positive).



Submitted By: Johnathan Sheiman (402-995-2708), Submitted On: Jun 29 2015




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 363 ofPage
                                                                         397 78 o f 110


        1-0 Evaluation Concurred
            Transportation and Traffic Cumulative Impact Section vi/ill be added to Section 5.0 as follows: As discussed
            in Section 3.3, roads ttirougtiout North Dakota have received a sharp increase in truck traffic due to
            increased oil and gas activity. The greater amount of traffic has led to a decline in the transportation
            infrastructure and a decrease in road safety throughout the state. Additional oil and gas development and
            production may continue to contribute to cumulative effects on roads in the vicinity of the Project Area
            requiring a higher frequency of road maintenance and repair on public roadways.

           Construction of the project would temporarily increase traffic in the immediate vicinity of the Project Area.
           This increase in traffic would be temporary and Is not expected to result in significant impacts to North
           Dakota's transportation infrastructure. Road improvements such as grading wouid be made as necessary
           and any impacts resulting from Dakota Access's use would be repaired in accordance with applicable local
           permits. Traffic interruptions would be minimized to the extent practical and would result in insignificant,
           temporary cumulative impacts on regional transportation resources as it wouid be localized to the immediate
           vicinity of the Project Area and major delivery routes.

           During operations of the Project, there is expected to be a positive effect on traffic resources in North
           Dakota. Once in operation, DAPL plans to transport 450,000 bpd of crude oil via pipeline which would
           significantly reduce the demand for the commercial trucking of crude oil on county, state and interstate
           highways. It is anticipated that the cumulative effects of the Project and other future pipeline projects would
           be beneficial to the transportation infrastructure in North Dakota by decreasing oil hauled by truck traffic and
           therefore reducing wear and tear on roads and highways.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jui 08 2015


        1-1 Backcheck Recommendation Close Comment
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jul 24 2015.
           Current Comment Status:



   Id               Discipline                 Section/Figure               Page Number                 Line Number
6141818           Environmental                     5.10                         78                         n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Are there any low-income, minority, or subsistence population in or around the project area?



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015


        1-0 Evaiuation Concurred
            There are no appreciable minority or low-income populations exist in the census tracts at either crossing.
            Aiso there is no evidence of subsistence populations in or around the Project Area. See EA Section 4.9.2 for
            details.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            ok

           Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Jui 24 2015.
           Current Comment Status:



    Id               Discipline                 Section/Figure              Page Number                 Line Number
 6141820           Environmental                     6.0                          80                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 364 ofPage
                                                                         397 79 of 110


bullet points

The specific action, what impact it is potentially mitigating and the resource that may be impacted is what 1 would like
to see in a table that could be handed to the contractor / construction supervisor. See next comment.



Submitted By: Johnathan Shelman (402-995-2708). Submitted On: Jun 29 2015

Revised Jun 29 2015.



          1-0 Evaluation C oncurred
              A-typical commitments are summarized in a construction line list that is issued to the contractor. It
              indicates all special circumstances committed to by tract. We can provide you the matrix requested below
              prior to construction once all applicable authorizations and easements have been acquired as the
              conditions are typically finalized in the easement, authorized permit, etc. This document Is not available at
              this time.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


          1-1 Backcheck Recommendation C lose C om m ent
              Closed without comment.

             Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015,
             Current Comment Status;



   Id            Discipline               Section/Figure                  Page Number                  Line Number
6141830          General                 2nd paragarph                         55                           n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UWFOUO)

last sentance contradicts earlier statements about vegetation



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation C oncurred
            "EA text: The corridor will be maintained in a vegetative state.
            Please specify what the contradiction is. Do we need to specify that vegetative maintenance wouldn't take
            place on agricultural lands?"

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Open C om m ent
            from the EA "The corridor will be
            maintained in a vegetative state." also states the ROW would be cleared of vegetation.

           Submitted By: Amee Rief (4029952544) Submitted On: Jul 08 2015.
        2-0 Evaluation C oncurred
            The construction ROW where conventional trenching will occur will be cleared of vegetation prior to
            construction. Once construction is complete, the ROW would be maintained in a vegetative state.
            The ROW over the HDD segment on flowage easement will be cleared of canopy cover, not o f all
            vegetation. Edits to the text will be made to better clarify this.

           Submitted By: Jonatlian Fredland (7134627121) Submitted On: Jui 09 2015


        2-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 365 ofPage
                                                                        397 80 of 110



            Submitted By; Amee Rief (4029952544) Submitted On: Nov 06 2015.
            Current Comment Status:



    Id                 Discipline                Section/Figure              Page Num ber               Line Number
 6141831             Environmental                    8,0                          85                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Either in another section or included in this one I wouid like to see a matrix of all the commitments made to avoid or
mitigate with respect to any given resource for quick reference by the contractor. I want it to be included in the plans
and specs that the contractor has and be available for construction supervisor to have in the field when they are on
Corps property.



Submitted By: Johnathan Sheiman (402-995-2708). Submitted On: Jun 29 2015


          1-0 Evaluation Concurred
              A-typical commitments are summarized in a construction line list that is issued to the contractor. It
              indicates all special circumstances committed to by tract. We can provide you the matrix requested below
              prior to construction once ail applicable authorizations and easements have been acquired as the
              conditions are typically finalized in the easement, authorized permit, etc. This document is not available at
              this time.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


          1-1 Backcheck Recommendation Close Comment
              Closed without comment.

              Submitted By: Johnathan Shelman (402-995-2708) Submitted On: Oct 23 2015.
              Current Comment Status:



   Id            Discipline              Section/Figure                  Page Number                  Line Number
6141866          General                  water quality                       59                           n/a
Comment Classification: UnclassifledWFor Official Use Only (UWFOUO)
[Critical/Flagged]

section contradicts Aquatic Resources section that states may be impacts from tracking and run off from the HDD
working sites



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            "EA text: Section 303(d) of the CWA requires states to submit their lists of water quality limited waterbodies.
            This list has become known as the "TMDL list" or "Section 303(d) list." A TMDL is the amount of a particular
            pollutant a stream, lake, estuary, or other waterbody can ""handle"" without violating State water quality
            standards. The final 2014 Section 303(d) list, which was submitted to Environmental Protection Agency
            (EPA) as part of the integrated Section 305(b) water quality assessment report and Section 303(d) TMDL
            list, includes a list of waterbodies not meeting water quality standards and which need TMDLs. Lake
            Sakakawea is on the 2014 Section 303(d) list of impaired waters as not supporting fish consumption
            because of high levels of methyl?mercury. Lake Oahe is not listed as needing a TMDL and fully supports
            recreational use. The Proposed and Connected Action Areas are not anticipated to impact Water Quality or
            Recreation at Lake Oahe.
            The Aquatic resources section discusses all aquatic resources, i.e. the canals and minor waterbodies and
            wetlands. Based on the layout, no run-off from the project is anticipated to impact Lake Oahe. "




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 366 ofPage
                                                                         397 81 o f 110



            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1“1 Backcheck Recommendation Close Comment
            A SWPPP (Storm Water Pollution Prevention Plan), Environmental Construction Plan, and SPCC (Spill
            Prevention Control and Countermeasure)were provided.

            Frack out concerns were reviewed by USACE Engineering Division.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
            Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                  Line Number
6141910          General                     4.7.1.1                            60                          n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

were surveys conducted on Missouri River crossing site?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Surveys have been completed for all areas covered in this EA. This will be clarified in the EA.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 02 2015


        1-1 Backcheck Recommendation Close Comment
            Clarification that surveys were completed within Section 3.7.1.1.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
           Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                  Line Number
6142022          General                       soils                            72                          n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

cummulative effects of soil erosion from pipeline ground disturbance and ag land cultivation?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Other past and present actions that may contribute to cumulative impacts to soil resources include
            accelerated soil erosion due to agriculture practices in the vicinity of the Project Area. When vegetation is
            disturbed whether it be for pipeline construction or the tilling of farmland, exposed topsoil is subject to wind
            and water erosion at a accelerated rate. Implementation of BMPs described in section 4.1.5 and timely
            reclamation of disturbed areas with vegetation after construction in coordination with the farmers, will reduce
            the chances of cumulative impacts to soil erosion.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.




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                                                                                                       USACE DAPL0072241
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 367 ofPage
                                                                         397 82 o f 110



            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
            Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                    Line Number
6142029           General                       5.2                             72                            n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

This section is lacking any cummulative effects analysis for w/ater resources, only mentions wetlands



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            A discussion on cumulative impacts to water resources will be added to section 5.2. See Comment #
            6141787 response for detail regarding cumulative impacts to water resources.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 08 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

            Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015,
            Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                    Line Number
6142049           General                       5.4                             73                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

this section contradicts earlier effects analysis which indicated there would be impacts.



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            The Draft EA included an effect determination of may affect, not likely to adversely affect for the piping
            plover and least tern, and no effect on the remaining listed species. However, Dakota Access has
            determined that the Project will have no effect on all listed species within the Action Area. The no effect
            determinations will be further defined in Section 4.4.2 within the revised EA, thereby clarifying that Section
            5.4 is stated correctly in the Draft EA and that the Project is not likely to impact any habitat utilized by listed
            species.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 08 2015


        1-1 Backcheck Recommendation Close Comment
            The effects determination was modified from no effect to may effect not likely to adversely effect.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Nov 06 2015.
           Current Comment Status:



   Id            Discipline               Section/Figure                  Page Number                    Line Number
6142059          General                        5.6                             73                           n/a




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                                                                                                        USACE DAPL0072242
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 368 ofPage
                                                                         397 83 o f 110


Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

what about effects of tracking?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1'0 Evaluation Concurred
            The Project is not a Oil and Gas development project. Cumulative effects of hydraulic fracturing or "tracking"
            is not relevant to cumulative impacts of the Project.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jui 08 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:



   Id            Discipline              Section/Figure                 Page Number                  Line Number
6142072          General                      4.1                            67                           n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

How would pipeline be monitored or repaired in the HDD locations?



Submitted By: Amee Rief (4029952544). Submitted On: Jun 29 2015


        1-0 Evaluation Concurred
            Monitoring of HDD segments would be accomplished in the same manner as the conventionally installed
            segments (i.e. SCADA, Internal Inspection Devices, and Aerial Patrols). Typically, repairs are not made on
            any section greater than 1 0 - 2 0 feet below ground surface depending on the repair needed. If a material
            impact was on the line below the 10' depth, operation of the system would be modified accordingly (e.g.
            reduce operating pressure) or the line would be re-drilled. If inspections identify an anomaly, requirements
            would be followed to comply with DOT requirements.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 07 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Amee Rief (4029952544) Submitted On: Nov 06 2015.
           Current Comment Status:



   Id              Discipline              Section/Figure                 Page Number                 Line Number
6154194           Operations                     n/a                          n/a                         n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
jCritical/Flagged]

Overall Comment: The EA is missing a biological assessment. This comment is being made by Brent Cossette
(Operations) and Planning (John Shelman).



Submitted By: Brent Cossette (402-995-2712). Submitted On: Jul 10 2015




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                                                                                                     USACE DAPL0072243
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 369 ofPage
                                                                         397 84 of 110


        1-0 Evaluation C oncurred
            Based on discussion from the 7/15/15 Comment Resolution Meeting; A statement has been added to EA
            Section 3.4.2 (formerly 4.4.2) Threatened. Endangered, Candidate, and Proposed Wildlife Species stating:
            The Endangered Species Act (ESA) directs all Federal agencies to work to conserve endangered and
            threatened species. Under Section 7 of the ESA, the USACE is required to consult with the USFWS when
            any action the agency carries out, funds or authorizes may affect a listed species. This section serves as
            the Biological Evaluation or written analysis documenting the USAGE'S conclusions and the rationale to
            support those conclusions regarding the effects of the Proposed Action on protected wildlife resources.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jul 22 2015


        1-1 Backcheck Recommendation Open C om m ent
            We will need a letter from USFWS that confirms this determination.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 23 2015.
        2-0 Evaluation C oncurred
            The Threatened and Endangered, Candidate, and Proposed Wildlife Species Section (Section 3.4.2) from
            the EA has been submitted to the USFWS along with a letter requesting concurrence that the format and
            level of analysis in this section is adequate for informal consultation. As soon as a written response is
            received from USFWS it will be provided to the USACE.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Nov 04 2015


        2-1 Backcheck Recommendatiori Open C om m ent
            USACE will wait on concurrence from USFWS. Will need before decision document.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
        3 - i Evaluation C oncurred
              Attached, please find a copy of the USFWS Concurrence Letter for the DAPL project.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: May 13 2016 (Attachment:
            DAP L_Secti on_7_Resportse_Lette r_5-2-16. pdf)


        3-1 Backcheck Recommendation C lose C om m ent
            USACE received concurrence from USFWS.

            Submitted By: Brent Cossette (402-995-2712) Submitted On; Jun 01 2016.
            Current Comment Status:



   Id         D iscip lin e             S e ction /F igyre             Page N um be r              Line N um ber
6245728      Operations       CRM Report 2.1 Flowage Easements               8            Paragraph 1 last sentence
Comment Classification: UnclassifiedW For O fficia l Use O nly {UWFOyO)

The last sentence references the valve site within the flowage easement.



Submitted By; Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaluation C oncurred
            Text has been revised to remove valve site reference

           Submitted By: Jonathan Fredland (7134627121) Submitted On; Oct 07 2015


        1-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
           Current Comment Status:




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 370 ofPage
                                                                         397 85 of 110




   Id         Discipline                  Section/Figure                    Page Number            Line Number
S245731      Operations         CRM Report 2.1 Flowage Easements                   8        Paragraph 2 First Sentence
Comment Classification; U n c la s s lfie d W o r O fficia l Use O nly {UttFOUO)

The first sentence of paragraph 2 references the valve location within the flowage easement.



Submitted By; Brent Cossette (402-995-2712). Submitted On; Sep 24 2015


        1-0 Evaluation C oncurred
            Text has been revised to remove valve site reference

           Submitted By; Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Oct 21 2015.
           Current Comment Status;



   id           Discipline                    Section/Figure                       Page Number         Line N ym ber
6245733        Operations                CRM Report Figure 4a                          19                   n/a
Comment Classification: UnclassifiedWFor Official Use O nly fUWFOUO)

Legend in figure references valve site within flowage easement.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaluation Concurred
            Figure has been revised to remove valve call-out from legend

           Submitted By; Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1-1 Backcheck Recommendation C lose C om m ent
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Oct 21 2015.
           Current Comment Status:



   Id           D iscip lin e                 Section/Figure                       Page Number         Line Num ber
6245744        Operations                CRM Report Figure 4b                          20                  n/a
Comment Classification: U nclassifiedW For O fficia l Use Only (UWFOUO)

Figure references the location and describes it within the legend.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaluation C oncurred
            Figure has been revised to remove valve call-out from legend and from the mapping exhibit




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 371 ofPage
                                                                        397 86 of 110



           Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1“1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015,
           Current Comment Status:



   Id           Discipline                  Section/Figure                 Page Number        Line Number
6245745        Operations               CRM Report Figure 4c                  21                  n/a
Comment Classification: UnclassifledWFor Official Use Only (UWFOUO)

Legend of figure references the valve location within the flowage easement.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaiuation Concurred
            Figure has been revised to remove valve call-out from legend

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
           Current Comment Status:



   Id           Discipline                  Section/Figure                 Page Number        Line Number
6245746        Operations              CRM Report Figure 4d                   22                  n/a
Comment Classification: UnclassifledWFor Official Use Only (UWFOUO)

Legend of figure references the valve location within the flowage easement.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaluation Concurred
            Figure has been revised to remove valve call-out from legend

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
           Current Comment Status:



   Id        Discipline                         Section/Figure                      Page Number   Line Number
        „    ..               O&M Summary-Background Information/Construction
6245748 Operations                          Specifications:                              1              n/a

Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)




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          Case In
ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 372 ofPage
                                                                          397 87 of 110


Within the fourth paragraph it references valve locations within the flowage easements. This is inaccurate as it has
been removed.



Submitted B y. Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaluation C oncurred
            Revision has been made to remove valve from flowage easements.

            Submitted By; Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
           Current Comment Status:



   Id         D is c ip lin e                   S ection/F igure                    Page N um ber       Line Num ber
8245753      Operations         Appendix I Cultural Resources Report - Figure 2           5                 n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (UWFOUO)

Need to revise it is showing the valve location that is being removed out of the flowage easement.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1 -0 Evaluation C oncurred
             Figure has been revised to remove valve

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 07 2015


        1-1 Backcheck Recommendation Close C om m ent
            Closed without comment.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Oct 21 2015.
           Current Comment Status;



   Id         D iscip lin e                     Section/Figure                      Page Number        Line N um ber
6245757      Operations         Appendix I Cultural Resources Report - Figure 4           18                n/a
Comment Classification: UnclassifledW For O fficia l Use O nly (UttFOUO)

Figure needs to be revised as it is showing the valve location that is being removed from the flowage easement.



Submitted By: Brent Cossette (402-995-2712). Submitted On: Sep 24 2015


        1-0 Evaluation C oncurred
            Figure has been revised to remove valve

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Oct 07 201S


        1-1 Backcheck Recommendation Close C om m ent
            Closed without comment.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 373 ofPage
                                                                         397 88 o f 110



            Submitted By: Brent Cossette (402-995-2712) Submitted On: Oct 21 2015.
            Current Comment Status:



   Id            Discipline              Section/Figure                 Page Number                  Line Number
6356952          General                      n/a                            n/a                          n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Document Formatting: Since I initially made the comment regarding risk assessments in ProjNet, the applicant has
provided a series of separate documents. Some of these documents were supplied in email, some are found within a
response in ProjNet, and many are in various formats and titles.
Potential Solution: i recommend that all of these be consolidated into one comprehensive document titled Response
Plans.



Submitted By: William Marion (402-995-2500). Submitted On: Jan 16 2016


        1-0 Evaluation Concurred
            All of the information that can be included in the document has been included and is referenced throughout
            the document.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


        1-1 Backcheck Recommendation Close Comment
            I am dosing this comment but would like to acknowledge that the material contained within 2 Spill Models, 2
            GRP's, and 2 FRP's has increased review time. As such, resolution of comments has also been lengthened
            due to the time between new, separate submittals. It's my understanding that the operator has agreed to
            Include redacted FRP’s in the EA, which I hope will include appendices for the GRP's and Spill Models for
            each of the Missouri River crossings.

           Submitted By: William Marlon (402-995-2500) Submitted On: Feb 20 2016.
           Current Comment Status:



   Id                Discipline                Section/Figure              Page Number                Line Number
6356954         Risk Assessment                     n/a                            n/a                     n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
[Critical/Flagged]

Applicability into the EA: My initial comment was in reference to materials not being present in the EA. I just recently
realized that much of this information was labeled as "Privileged and Confidential" by the applicant and did not make
it into the EA. I believe this is problematic in two primary ways: a) I believe response plans for this pipeline (as
proposed) are required by 49 CFR Section 194 and b) we have received multiple public comments regarding the
conclusions provided by similar pipeline requests.
Potential Solution: Provide the material in a revised EA. I would recommend that the Corps complete a separate 'in-
house' risk analysis, especially If the applicant is not agreeable to making the information public.



Submitted By: William Marlon (402-995-2500). Submitted On: Jan 16 2016


        1-0 Evaluation Concurred
             Information provided to the COE as "Privileged and Confidential" is protected by federal law and cannot be
             published in a public document. While the these plans are required by 49 CFP 194, the information
            contained within Is not public, no one can FOIA these documents from PMMSA either. These documents will
             remain part of the record as "privileged and confidential". As this information and requirement is under the
            jurisdiction of PHMSA, dupiicating the applicant's efforts by the COE is unnecessary as factors outside the
            control and jurisdiction are incorporated into these plans.




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          Case In
ProjNet: Logged 1:16-cv-01534-JEB
                  User            Document 406 Filed 03/22/19 Page 374 ofPage
                                                                          39789 o f 110



              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


     1-1 Backcheck Recommendation Open Comment
         Has a risk assessment/analysis been completed for each of the Missouri River crossings? Is the operator
         going to include redacted versions of the FRP in the EA, including appendices for each of the spill models
         and GRP's?

              Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
     2-0 Evaluation Concurred
         DAPL has conducted worst case risk analysis for the pipeline crossings at each of the Missouri River
         locations including an analysis of the flow distance and the time that It would take for the first oil from an
         unabated release to travel downstream and reach water intakes. A redacted version of the FRP will be
         included with the EA. The spill models and the GRPs will be submitted to the USACE as "Privileged and
         Confidential" documents. More information related to the relationship of the FRP, GRPs and Spill Models is
         provided as the response to Comment 6400949. We recommend that this comment be closed and indicate
         that this issue is being addressed as part of Comment 6400949.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


     2-1 Backcheck Recommendation Close Comment
         This comment was entered essentially as a follow up to #6139320, where the lack of risk analysis was
         mentioned. This particular comment essentially requested that the risk analysis be incorporated Into the EA.
         Since then, DAPL has indicated that some of the information is Privileged & Confidential, but has provided
         all of the Information to the Corps and allowed redacted versions to be included in the EA. This comment is
         being closed due to the material being included in the EA. However, 6139320 is left open because of data
         gaps in the spill modeling, risk analysis, and EA.

          Submitted By: William Harlon (402-995-2500) Submitted On: Apr 07 2016.
          Current Comment Status:



   Id                  Discipline              Section/Figure             Page Number                Line Number
6356955            Risk Assessment                  n/a                        n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Authority: I concede that the ultimate approval of said response plans rests with the Office of Pipeline Safety (§
194.119 (d)) and that approval is technically required before the pipeline is operational (§ 195.402 (a)). However, I
believe that the Response Plans are a critical component of the NEPA process because they help to Identify risk and
potential impacts. On page 6 of "North Dakota Lake Oahe Crossing Spill Model Discussion" the applicant indicates,
"Each simulated spill is then analyzed to determine which locations along the pipeline pose the greatest risk, thus
allowing DAPL to mitigate potential risks in the design phase." To me, this statement does a very good job
summarizing Response Plans role in the overarching Avoid-Minimize-Mitigate steps of NEPA.
Potential Solution: Update the accuracy and content of the response plans for both the Oahe and Wllliston crossings.



Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


        1-0 Evaluation Concurred
            The plans for the Lake Oahe and Missouri River crossings are current to date.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


        1-1 Backcheck Recommendation Open Comment
            The FRP and GRP do not include WCD calculations for the river crossing near Williston. The FRP and
            GRP do not include details regarding how the operator will minimize risk and mitigate impacts from spills
            under Ice conditions and/or by groundwater pathways.

              Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 375 ofPage
                                                                         397 90 o f 110


            Evaluation Concurred
            The Spill Model Report for the Missouri River contains the worst case discharge information for the
            crossing near Williston. Information on how the pipeline will be designed and tested to prevent pipeline
            failures resulting in inadvertent releases and therefore minimize risk to surface and groundwater is
            discussed in the Spill Model Reports.The FRP has been revised to include Section 5.7 Spill Under Ice, and
            Section 5.8 Spill On Ice. Discussion relative to why this information is not repeated In each document is
            provided with the response to Comment 6356966. We recommend that this comment be closed and
            indicate that this issue is being addressed as part of Comment 6356966.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommendation Close Comment
             Reference comment # 6356966, which remains open to address projection data and HCA's, Tom Siguaw
             indicated during a 3/31/16 meeting that updated mapping will be provided to the Corps to show all HCA's
             that could be impacted by a 24 spill incident at each of the 2 River crossings.

            Submitted By: William Harlon (402-995-2500) Submitted On: Apr 07 2016.
            Current Comment Status:



   Id               Discipline                 Section/Figure                Page Number                 Line Number
6356958         Risk Assessment                      n/a                          n/a                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Coordination within the Region 8 RRT: The Corps, PHMSA, EPA, Coast Guard, and other RRT members have
collectively discussed lessons learned from recent high profile spilis in our Region (e.g. Silvertip, Yellowstone,
Blacktail Creek, etc). Such lessons have included the solubility of Bakken Crude In the water table during ice-over
conditions (Yellowstone) and impacts to groundwater (Blacktail Creek). As with any emergency, the cooperating
agencies discussed potential ways to avoid similar mistakes in the future. To that end, I greatly appreciate the
comments that EPA Region 8 has provided to a handful of these larger pipeline requests that many believe may have
the potential to impact resources on a regional scale. I believe a common goal would be to incorporate the best
response plans possible to Improve response actions and hopefully reduce impacts of any future spills.
Potential Solution: Provide response plans to the EPA and/or Region 8 RRT for review and a means to resolve any of
their draft EA comments.



Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


        1-0 Evaluation Concurred
            Melisa Payan (EPA Region 8) confirmed in a telephone conversation with Dennis Woods that the EPA only
            has jurisdiction over non-transportation related sites. She Indicated that the authority for our Spill Planning
            for the pipeline solely fails to the DOT PHMSA and not the EPA. See response to comment 6139320 for
            more details.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


        1-1 Backcheck Recommendation Open Comment
            Has the EA been revised to show how the operator plans to minimize risk and/or mitigate spill impacts? In
            particular, does the EA include a discussion on environmentally sensitive areas (T&E, cultural resources,
            water Intakes, etc) and spill detection and mitigation procedures (I.e. solubility of Bakken crude in the water
            table, response conditions for ice and/or groundwater releases, etc)?

           Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
        2-0 Evaluation Concurred
            The EA includes a discussion on how the operator plans to minimize risk and/or mitigate spill Impacts as
            well as a discussion on environmentally sensitive areas. Threatened and Endangered Species is discussed
            in Section 3.4.2. Cultural Resources is discussed in Section 3.7. Potential impacts to ground water is
            discussed in Section 3.2.2.2. Spill detection and mitigation procedures is discussed in Section 3.11
            Reliability and Safety (additional text has been added to this section in response to other comments). More
            information regarding spill mitigation measures is found In the Facility Response Plan which has been added
            to the EA as Appendix L. Potential impacts to water intakes and response conditions for ice has been added




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 376 ofPage
                                                                         397 91 of 110


           to the discussion in Section 3.2.1 Surface Waters. A discussion on the solubility of Bakken crude in the
           w ater table has been added to Section 3.2.2 Ground Water.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


     2-1 Backcheck Recommendation Open C om m ent
         Surface waters section of the EA does not include reference to all HCA's that could be impacted from a
         release into the Missouri River at either o f the pipeline crossings. The groundwater section of the EA does
         not include the solubility table referenced in the last response. The groundwater section does not Include
         reference to how contaminants would be contained, recovered, and/or treated in groundwater. A correlation
         could be made to the risk analysis, which shows a relatively low risk of occurrence but a high consequence
         if a spill were to occur to either surface w ater and/or groundwater.

           Submitted By: W iliam Harlon (402-995-2500) Submitted On: Apr 07 2016.
     3-0 Evaluation C oncurred
         Discussion addressing the previous question regarding the solubility o f Bakken crude in the water table (WH
         2/20) has been added to the groundwater section (3.3.2.2). A new subsection "Remediation" has been
         added under 3,3.2.2 that describes how contaminants would be contained, recovered, ancJ/or treated in
         groundwater.
         Tables illustrating HCAs downstream o f eacti of the tw o crossings are presented in the respective spill
         plans. These tables are not presented in the EA as it is our understanding that the location of specific HCAs
         should not be released in public docucuments.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Apr 13 2016


     3-1 Backcheck Recommendation Open C om m ent
         Based on our discussions today, it appears that the solubility o f Bakken crude oil under the ice is still
         lacking from the EA. The reference to a 'solubility table' in the EA is also not present. Please add these two
         items so the comment can be dosed.

         Submitted By: William Harlon (402-995-2500) Submitted On: Way 06 2016.
     4-0 Evaluation C oncurred
         Requested table and proposed text to accompany the previously added dissolution text in the EA Section
         3.2.2.2 is attached.

         Submitted By: Jonathan Fredland (7134627121) Submitted On: May 12 2016 (Attachment: Proposed_Table-
         TextJnsert_for_Dissolution_Secton.docx)


         Backcheck not conducted
     5-0 Evaluation C oncurred
         The text requested relative to the impact o f ice cover on Bakken crude was included In the attached draft
         EA (Section 3.2.2,2) in red-line. Note: this verison of the EA was sent to Brent Cossette, Johnathan
         Shelman. and William Harlon on 5/10/16 via email from Steve Rowe.

         Submitted By: Jonathan Fredland (7134627121) Submitted On; May 12 2016 (Attachment: D A P U C O E „E A -
         Draft_Final-2016-05-10.docx)


     5-1 Backcheck Recommendation C lose C om m ent
         On 5/23/16, DAPL agreed to revisions of the EA. EPA Region 8 had previously conducted research on the
         solubility of Bakken crude in the water table. Should funding become available through private or public
         resources, 1 would strongly encourage the industry and regulatory agencies to continue evaluations of
         Bakken Crude in the wafer and under ice.

         Submitted By: William Harlon (402-995-2500) Submitted On: May 24 2016.
         Current Comment Status:



    Id               D iscip lin e             S e ction /F igu re         Page Num ber              Line Num ber
 §35B9S1         Risk Assessment                     n/a                        n/a                      n/a
Comment Classification: U nciassifieelttFor O fflelal Use O nly (UWFOUO)




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          Case 1:16-cv-01534-JEB
ProjNet; Logged In User          Document 406 Filed 03/22/19 Page 377 ofPage
                                                                         397 92 o f 110


§ 194.103 Significant and substantial fiarm; operator's statement: Did the operator prepare a significant and
substantial harm operators statement? I did not see it specifically listed in the Lake Oahe spill model and/or
geographic response plans for Emmons and/or Williams County crossings. I also did not see reference to water
intakes and/or environmentally sensitive areas in the applicants' plans. The Williams County crossing does not have a
spill model discussion.
Potential Solution: I recommend the inclusion (if warranted) of a substantial harm operator's statement. Exhibits can
be generated to show spill projections that are consistent with the Sub-Area Contingency Plan. (EPA TERA viewer
shows at least 2-3 municipal intakes downstream of the Oahe crossing and the Williston intake downstream of the
Williams County crossing). Include reference to mitigating measures for cultural resources and T&E species in the
Response Plan. Draft a spill model discussion for the Williston crossing.



Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


          1-0 Evaluation Concurred
              Both the Lake Oahe and Missouri River spill models were sent to Jonathan Shelman on October 21.
              2015 and forwarded to Mr. Harlon on January 7, 2016. If required, the Significant and Substantial Harm;
              Operator's statement would be issued as part of the Facility Response Plan prior to operating the Project,
              in accordance with PHMSA and federal regulations. Affects to water resources are found in the Draft EA
              Section 3.2 Water Resources. Specific municipal Intake locations are not available per EPA's Guidance
              and Municipal Facilities' Policy.

              Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


          1-1 Backcheck Recommendation Close Comment
              Closed without comment.

              Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
              Current Comment Status:



   Id               Discipline                Section/Figure              Pago Number                Line Number
6356963         Risk Assessment                    n/a                         n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

§ 194.105 Worst case discharge: The methodology and calculations are still unclear.
Potential Solution: The applicant could clarify if they are using historic discharge data or their best estimate for
determining detection and shutdown times. The applicant could clarify how the worst case scenario volume was
calculated and this can be verified by someone in our engineering section. I cannot find reference to what the largest
line volume is after shutdown (this is one of the key factors in the volume equation).



Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


        1-0 Evaluation Concurred
            "Operators best estimate is used for determining shutdown times in accordance with 40 CFR Section
            194.105. As indicated in the Lake Oahe and Missouri River Spill Model Reports, the worse-case release was
            calculated based on pipe diameter, flow rate, valve location, valve and pump shut down times, and the
            elevation profile along the pipeline following the DOT PHMSA-approved spill model. The calculation was
            based on the following factors:
            • Maximum pump shutdown response time
            • Longest duration for a mainline valve closure
            • Maximum flowrate in the pipeline
            • Largest opening in the pipeline - assumes a full-diameter (guillotine) separation
            See response to comment # 6139320 for more information. "

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


        1-1 Backcheck Recommendation Open Comment
            It appears that the methodology and WCD volume has changed in the FRP as what was referenced above




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                                                                                                   USACE DAPL0072252
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 378 ofPage
                                                                         397 93 of 110


          and in the Oahe spill modeL The spill model for Oahe calculated the WCD to be 12,501 bbl but the FRP
          calculated the WCD to be 25,174 bbl. Has the WCD calculation for the Wlllston crossing also changed? The
          Williston crossing WCD was not referenced in the FRP but was calculated to be 3,691 bbl in the Williston
          spill model.

          Submitted By: W iliam Harlon (402-995-2500) Submitted On: Feb 20 2016.
      2-0 Evaluation C oncurred
          While hypothetical worst case discharge analysis have been performed for Lake Sakakawea and Lake
          Oahe , this information will not be included within the FRP. As discussed with Mr. David Lehman of PHMSA
          on February 23, 2016, if an operator can demonstrate that they have the response team and equipment to
          respond to a worst case scenario, then PHMSA is satisfied that they have the response team and equipment
          to respond to smaller releases and the operator is not required to incorporate these other scenarios into the
          FRP. The complete response/rationale for the separation o f the presentation of the WCD numbers within the
          FRP and the respective GRPs is presented under Comment 6400949. We recommend that this comment be
          closed and indicate that this issue is being addressed as part o f Comment 6400949.

          Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


     2-1 Backcheck Recommendation C lose C om m ent
         Justin Minter (Sunoco) clarified during a meeting on 3/31/16 in Omaha that the WCD volume of 25,174 bbl
         was calculated for a spill at mile post 294 In South Dakota. He also mentioned that the 12,501 bbl volume
         has been consistent for the Lake Oahe crossing, Steve Rowe later provided the rationale for the calculations
         behind this volume in a follow up email on 4/5/16.
         Given: 600,000 bbl. o f oil are projected to flow through the pipeline per day.
         600.000/24 = 25,000 bbis per hr
         25,000/60 = 416.6 bbIs per minute
         Given; the pump stations are designed to shut down in 9 minutes
         Therefore in a nine minute period 416.6 * 9 = 3750 bbis
         The volume of oil remaining in the pipeline between the next nearest valves is calculated as follows:
         Given: the volume of a cylinder is pi*r*2*Lengfh
         Given: there are 63,360 inches in a mile
         Given: there are 9,702 cubic Inches In a bbl of oil
         Therefore the volume in one mile of 30" diameter pipe is: 3.14159 * 15*2 * 63,360 in/mile = 44,786,507.04
         cubic inches
         44,786,507.04 cubic inches = 4,616 bbis of oil in one mile of 30" diameter pipe
         In the case of lake Oahe, ttiere is approx. 3.4 miles of pipe between MLV-ND-380 and MLV-ND-390 (see
         graph below)
         Some of the oil will be retained in the valleys created by topography and will not flow out of a rupture
         directly over top of Lake Oahe, there areas are shown below in green.
         If you take the remaining line segments between the two valves you have approximately 1.9 miles of pipe
         that you can expect to drain down.
         The Total Volume o f Oil Released = The volume of oil that leaves the pipeline under pressure before the
         pumps are shut down + the volume o f oil remaining in the pipeline between the next nearest valves.
         Therefore the total volume spilled in this location = 3750 bbis + 4616*1.8958 = 12,501
         This matches the computer generated number of 12,501 bbis for this area.

         Submitted By: William Harlon (402-995-2500) Submitted On: Apr 07 2016.
         Current Comment Status:




              Risk Assessment                       n/a           •             n/a                      n/a
Comment Classification: U ncla ssifie d ftF o r O fficia l Use O nly (UWFOUO)

§ 194.107 General response plan requirements: The current geographic response plans and Oahe spill model are not
consistent with the Mid-Missouri Sub-Area Contingency Plan. The estimated spill projection downstream does not
appear to use a 27 hour projection as do the EPA and US Coast Guard for this ACP.
Potential Solution; Each response plan must include procedures and a list of resources for responding, to the
maximum extent practicable, to a worst case discharge and to a substantial threat of such a discharge. 1 recommend
clarifying the spill volume calculation, utilizing a 27 hour spill projection downstream, addressing measures to protect
w ater intakes and environmentally sensitive areas, addressing solubility o f Bakken crude oil in the water table, and
how to address spill response in winter conditions when the surface water is frozen.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 379 ofPage
                                                                         397 94 o f 110




Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


     1-0 Evaluation Concurred
         The US Department of Transportation Pipeline and Hazardous Materials Safety Administration (DOT
         PHMSA) is the governing body for the transportation of oil via pipelines. See comment # 6139320 response
         for additional information on how responsibilities are allocated between the DOT and the US Environmental
         Protection Agency (EPA) for spill contingency planning relating to the transportation of oil. 6 Hour Response
         Time: The DOT PHMSA requires that an operator must respond to a spill in a reasonable amount of time
         and that the response time shall be no more than 24 hours. ASA utilized the real-project time commitment of
         DAPL of 6 hours for emergency response in the development of the spill model. This is the real-project
         time required for response equipment to arrive on site and for personnel to begin control and containment of
         the release. If an alarm criteria threshold is met, the SCADA system would alert Operators at Dakota
         Access' Operations Control Center who would then activate the controls as necessary and initiate
         procedures for the response. DAPL will have contracts In place with oil spill response companies that have
         the capability to mobilize to support cleanup and remediation efforts In the event of a pipeline release.

         Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


     1-1 Backcheck Recommendation Open Comment
         The FRP's and GRP's do not include details regarding how the operator will minimize risk and mitigate
         Impacts to environmentally sensitive areas. This Includes Ice conditions or groundwater pathways.

         Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
     2-0 Evaluation Concurred
         Information on how the pipeline will be designed and tested to prevent pipeline failures resulting in
         Inadvertent releases and therefore minimize risk to surface and groundwater Is presented In Section 5.0 of
         the Spill Model Reports. This section also provides and overview of monitoring activities after
         commissioning. Additional details regarding the design and operation measures that the operator will utilize
         to minimize the risk of spills Is provided in Section 7.0 of the Spill Mode! reports. Steps to mitigate Impacts
         associated with an Inadvertent release are described within the FRP and GRP documents, The FRP has
         been revised to include Section 5.7 Spill Under Ice, and Section 5.8 Spill On Ice. As the GRP documents
         are a companion document and subordinate to the FRP. this Information is not replicated In the GRP
         documents. [Note; Information on how the pipeline will be designed, tested, and monitored is not repeated
         within the FRP or GRP documents as the Intent of these documents Is spill planning and response.]

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


    2-1 Backcheck Recommendation Open Comment
        Of the 5 Items listed In the original comment, 2 remain unresolved. Based upon the last meeting on 3/31/16,
        DAPL indicated that the spill models would be updated for a 24 hour downstream distance. The current
        documents Included only 6 hour projections for both River crossings. DAPL also Indicated a lack of intake
        data on the PHMSA database. The Corps supplied an Intake dataset for Lake Sakakawea to PHMSA on
        4/6/16. Since DAPL appears to be working on resolutions, I would anticipate this comment will be closed
        once the projection modeling and all HCA's are updated.

        Submitted By: William Harlon (402-995-2500) Submitted On: Apr 07 2016.
    3-0 Evaluation Concurred
        The Spill Model reports for Lake Oahe and the Missouri River were revised to contain the following
        information:
        * Tables and Figures related to downstream HCAs that would be encountered by an unabated plume by
        milepost. Both the 6-hour and 24-hour cases were included.
        * Example calculations presented In Appendix 2.
        * Reference for the data source for the river flow Information.

        Revised Spill Model Reports have been uploaded to ProjNet on comment # 6139320.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Apr 13 2016


    3-1 Backcheck Recommendation Open Comment
        During our last meeting on 5/6/16, It was noted that the river velocity was derived from the River Reach
        Database (Version RF3). I am not familiar with this database and It Is different from the USGS National




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 380 ofPage
                                                                         397 95 of 110


           Hydrographic Database that has been referenced in past discussions, The Mid-Missouri Sub-Area
           Contingency Plan references the USGS NHD in their spill modeling. 1 recommend inclusion of the USGS
           NHD or yerificatioii there is no negligible difference between the RF3 and USGS NHD.

           Submitted By: William Harlon (402-995-2500) Submitted On: May 09 2016,
      3-2 Backcheck Recommetidation C lose C om m ent
          DAPL has agreed to additional mitigation measures and will be submitting revised spill models, FRP/GRP,
          IMP, etc prior to submission to PHMSA and prior to commissioning the line.

           Submitted By: William Harion (402-995-2500) Submitted On: May 24 2016.
           Current Comment Status:



    Id                D iscip lin e               S ection/F igure                Page N ym b er         Lin e Num ber
 6356967          Risk Assessment                        rt/a                         n/a                    n/a
Comment Classification: U n cla ssifie d ttF o r O ffic ia l Use O nly (UWFOUO)

§ 194.115 Response resources: The current response plans do not clearly show what resources the operator will use
to mitigate or prevent a substantial threat of a worst case discharge.
Potential Solution: Include explanation for how resources will be used for all 3 tiers o f response activities.



Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


         1-0 Evaiuation C oncurred
             Tier I: Consists of company owned resources and local personnel. This tier will consists o f defensive and
             offensive tactics. Tier II: Consists of company owned resources, area personnel and local oil response
             contractors personnel and resources. This tier will consists of defensive and offensive tactics. Tier III:
             Consists of company owned resources, nationwide company personnel and nationwide personnel from oil
             response contractors. This tier will consists of defensive and offensive tactics. Each response is unique
             based on the details and facts of the release. The response will be structured based on the Incident
             Command System (ICS), The responsible party, local, state and federal incident commanders will enter into
             a unified command to develop an incident action plan (lAP) to state objectives and tactics to respond to
             incidents.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


         1-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

            Submitted By: William Harlon (402-995-2500) Submitted On: Feb 20 2016.
            Current Comment Status:



    Id                D iscip lin e               S e ction /F igu re             Page N ym ber         Line N um ber
 6356S71          Risk Assessment                       n/a                           n/a                    n/a
Comment Ciassiflcation; U tic la s s ifle d W o r O fficia l Use O nly (UWFOUO)

Notification Overview: Each of the submitted Geographic Response Plans have a referenced notification overview.
H o w B ve r, both tack notification of regulatory agencies (NRG, NOOOH, PHMSA, EPA, etc) and the Corps.
Potential Solution: Update the tiotification lists in respective response plans for each crossing. Eacfi list could mirror
w hat is required in SPCC plans and can include notification timelines.



Submitted By: Wiiliam Harlon (402-995-2500). Submitted On: Jan 16 2016


         1-0 Evaluation C oncorred
             The Geographic Response Plans have been developed for use as a "field" response aide during the
             incipient stages of a response. Detailed regulatory agency notification requirements, including agency



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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 381 ofPage
                                                                         397 96 of 110


            contact numbers, notification timelines and reportable quantities, are included in the Faciiity Response
            Plan (FRP). The FRP will be consulted and utilized for making the necessary agency notifications.

            Submitted By; Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


         1-1 Backcheck Recommendation Open Comment
             Notification lists in the FRP were not comprehensive and lacked many agencies/trustees.

            Submitted By: William Flarlon (402-995-2500) Submitted On: Feb 20 2016.
         2-0 Evaluation Concurred
             As indicated in the response to Comment 6400951, additional agency and trustee contacts were added to
             Table 2-3 of the FRP. If additional information is still required, we recommend that this comment be closed
             and indicate that this issue is being addressed as part of Comment 6400951.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommendation Close Comment
             Closed without comment.

            Submitted By: William Flarlon (402-995-2500) Submitted On: Mar 30 2016.
            Current Comment Status:



    Id                   Discipline                  Section/Figure           Page Number              Line Number
 6356974        Environmental Engineering                 n/a                         n/a                  n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

SPCC: ProjNet comment ID # 6139249 has been closed previously but the correction as indicated by the applicant is
not reflected in the EA. This Is relating to the NDDOH Spill Reporting website and contact numbers. I would consider
reopening this comment and request an accurate notification overview be provided in the SPCC plan.



Submitted By; William Harlon (402-995-2500). Submitted On: Jan 16 2016


         1-0 Evaluation Concurred
             Appendix C of the SPCC, State Requirements, will be updated by the Construction Contractor to Include
             ND Department of Heath Spill Reporting website and contact numbers. It is acknowledged that the
             construction contractor has not yet been Identified, therefore the SPCC Is still In draft form.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


         1-1 Backcheck Recommendation Close Comment
             Closed without comment.

             Submitted By: William Marion (402-995-2500) Submitted On: Feb 20 2016.
             Current Comment Status:



    Id               Discipline                Section/Figure              Page Number               Line Number
 6356977         Risk Assessment                    n/a                         n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)

Facility Response Plan: ProjNet Comment # 6139347 was administratively closed and referenced by DAPL for
inclusion Into the EA. However, It appears only one general sentence was included in the EA. ! would consider
reopening this comment and request, as I had above, the response plans be incorporated into the EA as originally
requested.




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                                                                                                    USACE DAPL0072256
          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 382 ofPage
                                                                         397 97 of 110




Submitted By: William Harlon (402-995-2500). Submitted On: Jan 16 2016


         1-0 Evaluation C oncyrred
             Response plans are considered confldential.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Jan 22 2016


         1-1 Backcheck Recommendation Open C om m ent
             Did ttie operator agree to include a redacted FRP in the EA, including appendices for GRP's and spill
             models for each of the 2 river crossings?

            Submitted By: William Harion (402-995-2500) Submitted On: Feb 20 2016.
         2-0 Evaluation C oncurred
             A redacted version o f the FRP will be included with the EA. The spill models and the GRPs will be
             submitted to the USACE as "Privileged and Confidential" documents. More information related to the
             relationship of the FRP. GRPs and Spill Models is provided as the response to Comment 6400949. We
             recommend that this comment be closed and indicate that this issue is being addressed as part of
             Comment 6400949.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommeridation C lose C om m ent
             Closed without comment.

            Submitted By; William Harlon (402-905-2500) Submitted On: Mar 30 2016.
            Current Comment Status:



    Id               Discipline                S e ction /F igu re          Page Number             Line Number
 640§S 4i        Risk Assessment                     n/a                       n/a                      n/a
Comment Classification: UnclassifiedW For O ffic ia l Use O nly (UllFOUO)


Due to Lake Sakakawea and Lake Oahe being environmentally sensitive areas, I recommend that DAPL update the
FRP by including the volume of small, medium, and worst case discharges into each of the Reservoirs. Ideally, a risk
analysis and response strategy maps would accompany at least the worst ease discharge volume for each of the twro
Reservoir crossings.



Submitted By: William Harlon (402-995-2500). Submitted On; Feb 20 2016


         1-0 Evaluation C oncurred
             DAPL has developed a FRP which identifies the W orst Case Discharge, as required by PHMSA and
             defined in 49 CFR 194.105 (referred to as the PHMSA worst case discharge). The FRP also identifies,
             and ensures, by contract or other approved means, the resources necessary to respond to a worst case
             discharge.

             DAPL has also conducted a "hypothetical" worst case risk analysis for the pipeline crossing at each of
             these locations. The calculated worst case discharge volumes at the Missouri River crossings near Lake
             Sakakawea and Lake Oahe are significantly less than the PHMSA worst case discharge volume as
             identified in the FRP. Because the FRP identifies, and ensures, the resources necessary to respond to
             the PHMSA worst case discharge by extension, it ensures the resources necessary to respond to a worst
             case discharge at the Missouri River crossings near Lake Sakakawea and Lake Oahe.

             Because Lake Sakakawea and Lake Oahe are important to the coordination efforts with the USACE,
             DAPL has developed Geographical Response Flans (GRP's) for the Missouri River crossings, near Lake
             Sakakawea and Lake Oahe, to facilitate a rapid and effective response during the indpient stages o f a
             release. The GRP's include tactical response/mitigation measures, as well as maps depicting potential




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 383 ofPage
                                                                        397 98 of 110


           access, containment, and staging areas. However, eacti response is unique and, as sucti,
           response/mitigation measures will be implemented according to ttie actual circumstances at ttie time of
           ttie release. Ttie respective GRPs were developed in consideration of ttiese worst case tiypottietlcal
           discharge scenarios at the Missouri River crossings.

           While hypothetical worst case discharge analysis have been performed for Lake Sakakawea and Lake
           Oahe , ttiis information will not be Included within the FRP. As discussed with Mr. David Lehman of
           PHMSA on February 23, 2016, if an operator can demonstrate that they have the response team and
           equipment to respond to a worst case scenario, then PHMSA is satisfied that they have the response
           team and equipment to respond to smaller releases and the operator is not required to Incorporate these
           other scenarios into the FRP. Additionally, the worst case discharge volumes are considered "Security
           Sensitive Information" by both DAPL and PHMSA and are protected from public disclosure and therefore
           will not be included within the respective GRP documents. Although the GRPs will be issued as Privileged
           and Confidential, these documents will be utilized during training exercises and the security of this
           information cannot be guaranteed.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


           Backcheck not conducted
        2-0 Evaluation Concurred
            "Discussion was added to Section 7.3 so that It is on the record that an alternative worst case discharge
            volume has been calculated for both the Missouri River crossing near Buford, ND and the Missouri River
            crossing near Cannon Ball, ND. Because the alternative worst case discharge volume calculated at each
            of these locations is significantly less than the actual worst case discharge volume (as required by
            PHMSA), it is concluded that the notification procedures and mitigation and response measures outlined
            the FRP are sufficient to respond to an alternative worst case discharge at either of the Missouri River
            crossings,

           These alternative worst case discharge volumes are presented for USACE review with the respective spill
           model reports. The Inclusion of alternative worst case discharge volumes into the FRP would provide no
           material value for PHMSA. As noted during the conference call with Mr. Lehman, If there is a spill, then
           the FRP is available on site, Even if the spill was a small release to an upland area, parties that respond
           to the notification may potentially be on site and may potentially have access to the FRP.

           Therefore, It Is DAPL's opinion that the benefits of inclusion of the alternative worst case spill information
           for both the Missouri River crossing near Buford and the Missouri River crossing near Cannon Ball In the
           FRP are outweighed by the risk of a mechanism for potential exposure of data.

           We request that the USACE respect our sensitivity to this matter and concur with our position that the
           presentation of this information in the respective spill model reports is sufficient.
           ir




           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


        2-1 Backcheck Recommendation Close Comment
            Closed without comment.

           Submitted By: William Harlon (402-995-2500) Submitted On: May 09 2016.
           Current Comment Status:



   Id              Discipline                Section/Figure                Page Number                Line Number
6400950         Risk Assessment                    n/a                     Cover page                      n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
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I recommend that additional regulatory citations are added to the cover page and the applicant Insures the FRP
addresses compliance with the requirements of each citation. These include: 49 CFR 192.615; 40 CFR 112 EPA Oil
Pollution Prevention; 33 CFR 154 US Coast Guard; NCP and Mid-Missouri SACP; 29 CFR 1910 OSHA; OPA 90.



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 384 ofPage
                                                                         397 99 of 110



      1-0 Evaluation C oncurred
          Appendix B to 40 CFR 112 outlines the Memorandum of Understanding (MOU) among the Secretary of the
          Interior, Secretary o f Transportation, and the Adm inistrator of the EPA. The MOU delegates regulatory
          authority to the Secretary of Transportation (PHMSA) for interstate and intrastate onshore pipeline systems,
          including pumps and appurtenances related thereto, as well as in-line and breakout storage tanks. As such.
          DAPL complies with 49 CFR 194,

         - The FRP's have been drafted to comply with OPA 90 as promulgated in 49 CFR 194 and to be consistent
         with the applicable Area Contingency Plan. The current reference in the FRP to the "applicable Area
         Contingency Plans (ACP)" will be changed to tfie "Mid-Missouri Sub-Area Contingency Plans (SACP)"

         - 49 CFR 192.615 applies to operators o f gas pipelines. DAPL is not a gas pipeline, but rather a liquids
         (oil) pipeline that complies with 49 CFR 194.

         33 CFR 154 applies to Marine Transportation Related (MTR) facilities. DAPL is not a M IR , but rather a
         liquids (oil) pipeline that complies with 49 CFR 194.

         Submitted By: Jonathan Fredland (7134627121) Submitted On; Feb 22 2016


      1-1 Backcheck Recommendation Open C om m ent
          Citations to original comment will be added to the cover page.

         Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 23 2016.
      2-0 Evaluation C oncurred
          Appendix B to 40 CFR 112 outlines the Memorandum o f Understanding (MOU) among the Secretary o f the
          Interior, Secretary o f Transportation, and the Administrator of the EPA. The MOU delegates regulatory
          authority to the Secretary of Transportation (PHMSA) for interstate and intrastate onshore pipeline systems,
          including pumps and appurtenances related thereto, as well as in-line and breakout storage tanks. As such,
          DAPL complies with 49 CFR 194.

         - The FRP's have been drafted to comply with OPA 90 as promulgated in 49 CFR 194 and to be consistent
         with the applicable Area Contingency Plan. The current reference In the FRP to the "applicable Area
         Contingency Plans (ACP)" will be changed to the "Mid-Missourf Sub-Area Contingency Plans (SACP)"

         - The FRP will be updated to include a statement indicating that DAPL will comply with 29 CFR 1910, as
         applicable, during emergency response activities.

         - 49 CFR 192.616 applies to operators o f gas pipelines. DAPL Is not a gas pipeline, but rather a liquids
         (oil) pipeline that complies with 49 CFR 194.

         33 CFR 154 applies to Marine Transportation Related (MTR) facilities. DAPL Is not a MTR, but rather a
         liquids (oil) pipeline that complies with 49 CFR 194.

         Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


     2-1 Backcheck Recommendation Open C om m ent
         DAPL will include applicable citations within the FRP. Once done comment will be closed.

         Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
     3-0 Evaluation C oncurred
         "The Cover Page was modified to change the applicable Area Contingency Plans (ACP) to the "Mid-
         Missouri Sub-Area Contingency Plan (ACP),

         Table 6.2 has been revised to indicate that all Company responders designated in the Plan must have 24
         hours of initial spill response training in accordance with 29 CFR 1910:


         Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


     3-1 Backcheck Recommendation Open C om m ent
         Per the latest copy provided by email from Brent Cossette, the following citations were still absent from the
         cover page: 29 CFR 1910, 40 CFR 112, OPA 90, and NCP/Mid-Missouri SACP.




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                                                                                                  USACE DAPL0072259
          Case 1:16-cv-01534-JEB
ProjNet; Logged In User          Document 406 Filed 03/22/19 Page 385 of 397100 o f 110
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             Didn't the applicant agree to list these references on the cover page?

             Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
         4-0 Evaluation Concurred
             The requested references for 29 CFR 1910, 40 CFR 112, OPA 90, and Mid-Missouri SACP have been
             added to the cover page of the FRP,

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Apr 11 2016 (Attachment:
             2016_4_7_Cover_Page.pdf)


             Backcheck not conducted
         5-0 Evaluation Concurred
             Also attached is the revised Page 1 (1.1. Purpose and Plan) from the Draft FRP which includes the
             requested references.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Apr 11 2016 (Attachment:
             2016_4_7_Page_1 .pdf)


         5-1 Backcheck Recommendation Close Comment
             Closed without comment.

             Submitted By: William Harlon (402-995-2500) Submitted On: Apr 13 2016.
             Current Comment Status:



    Id                Discipline                Section/Figure               Page Number               Line Number
6400951           Risk Assessment                      2                          n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                             )

Recommend adding USACE, USFWS, State Wildlife Agencies, Standing Rock, and Three Affiliated Tribes for any spill
Into the Missouri River. I did not notice a description of how each of the 3 Tier responses will be covered.



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016


         1-0 Evaluation Concurred
             The FRP will be revised to include notification to the USACE for releases into the Missouri River. Likewise,
             the FRP's will be revised to include notification information for the USFWS, State Wildlife Agencies,
             Standing Rock, and the Three Affiliated Tribes.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


         1-1 Backcheck Recommendation Open Comment
             DAPL will include agencies listed in FRP. Once completed comment will be closed.

            More description needed for the 3 tier response. Reference comment ID 6356967 seems have addressed
            the 3 tier description. Note this comment is already closed. DAPL will add to FRP.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
         2-0 Evaluation Concurred
             "Contact information for the USFWS, North Dakota iSame and Fish Department, South Dakota Game, Fish
             and Parks, the SRST, three individuals for the SRST, and a contact for the Three Affiliated Tribes were
             added to Table 2-3.

            The 3-Tiered approach for responding to a pipeline failure has been added to Section 4.0


            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016




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                  User            Document 406 Filed 03/22/19 Page 386 of 397101 of 110
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         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By; William Harlon (402-995-2500) Submitted On; Mar 30 2016.
             Current Comment Status:



    Id                 D iscip lin e                S ection/F igure                Page N um ber      Line N ym ber
6400952            Risk Assessment                         3                            16                  n/a
Comment Classification: U n c la s s ifie c ilF o r O ffic ia l Use Only (UWFOUO)
C                                )
I apologize if this was addressed earlier but do we know what types of communication wilt be used at each o f the
River crossings.



Submitted By: VWiliam Harlon (402-995-2500). Submitted On: Feb 20 2016


         1-0 Evaluation C oncurred
             Dakota Access would utilize a supervisory control and data acquisition (SCADA) system to provide constant
             remote oversight of the pipeline facilities including each of the river crossings. Communication with the
             SCADA system would be accomplished via satellite (i.e., Hughes Global Network) and telephone (4G cellular
             [i.e., ATT] or iandline depending on availability/coverage). Both forms o f communication are continually
             engaged to poll information from these sites for 100% reliable remote monitoring / operation of these sites
             through the SCADA system to the Operations Control Center (OCG) in Sugarland, Texas (a backup control
             room is located in Bryan, Texas), and are proven to have the least potential for interruption during pipeline
             operations.

             Submitted By: Jonathan Fredtand (7134627121) Submitted On: Feb 26 2016


         1-1 Backcheck Recommendation C lose C om m ent
             Communication has been adequately covered. EA was edited as well.

             Submitted By: Brent Cossetle (402-995-2712) Submitted On: Feb 29 2016,
         2-0 Evaluation C oncurred
             Section 3.1 already includes a statement that the Company's SCADA system acquires data via a satellite
             network and that the communication system has redundancy to provide accurate and reliable data to the
             pipeline operators. It is assumed that the more detailed response above contains the information that Mr.
             Harlon needed for internal review but that this detail Is not needed for the FRP and therefore was not added
             to the FRP.

             Submitted By: Jonathan Fredtand (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
             Current Comment Status;



    Id              Discipline                    Section/Figure                      Page Number       Line Number
i4 0 0 ii3      Risk Assessment             3.3 Response Equipment                        n/a               n/a
Comment Classification; UncIassifiedW For O fficia l Use O nly (UWFOUO)
C                                )
Does the applicant have separate equipment caches for groundwater, fast moving water, and/or ice conditions?



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016



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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 387 ofPage
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        1-0 Evaluation Concurred
            DAPL has their o\vn equipment and has contracted professional Oil Spill Response Organizations (OSRO's)
            so that response procedures can be carried out in accordance with federal response requirements including
            groundwater, fast moving water, and/or ice conditions. Company owned response equipment is listed in the
            FRP. Any specialized response equipment, beyond company owned response equipment, will be provided by
            OSRO's and/or contractors. DAPL has contracted with the National Response Corporation, an international
            response organization, which maintains contracts with hundreds of OSRO's nationwide. Resources for all
            response types can be mobilized as needed. A listing of contractor response equipment is included in the
            FRP and will continually be evaluated and updated as necessary.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


        1-1 Backcheck Recommendation Close Comment
            Verified in the FRP. Comment can be closed.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
        2-0 Evaluation Concurred
            It is assumed that the more detailed response above contains the information that Mr. Harlon needed for
            internal review but that this detail is not needed for the FRP and therefore was not added to the FRP. As
            noted above, Brent closed during the 2/29 meeting.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


        2-1 Backcheck Recommendation Close Comment
            Thank you for reopening the comment and allowing the reviewer to close the comment. The OSRO
            information was included in the latest FRP provided by Brent Cossette on 3/25/16. This information should
            stay in the final version of the FRP.

            Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
            Current Comment Status;



   Id               Discipline                    Section/Figure                 Page Number           Line Number
6400954         Risk Assessment              Table 2-3 and Table 2-4                  n/a                   n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                         )

Table 2-3 and Table 2-4 did not include mention of the Trustees that I listed in item #3 above.



Submitted By; William Harlon (402-995-2500). Submitted On: Feb 20 2016


        1-0 Evaluation Concurred
            The Trustees/stakeholders will be added to the notification tables (Table 2-3 and Table 2-4) as mentioned in
            #3 above.

           Submitted By: Jonathan Fredtand (7134627121) Submitted On: Feb 26 2016


        1-1 Backcheck Recommendation Open Comment
            DAPL will include in the FRP. Once done comment will be verified and closed.

           Submitted By: Brent Cossette (402-995-2712) Submitted On; Feb 29 2016.
        2-0 Evaluation Concurred
           II


           Because Table 2-4 is Emergency Services Contact Information, these contacts would not be applicable and
           repetition of the contact information for these trustees is unnecessary. DAPL revises the previous response
           to read as follows; The Trustees/stakeholders have been added to Table 2-3.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 388 of 397103 of 110
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            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

            Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
            Current Comment Status:



    Id              Discipline                   Section/Figure                  Page Number           Line Number
 6400355        Risk Assessment            5.1 Exercise Requirements                  30                    n/a
Comment Classification; U nciassifiedU For O ffic ia l Use O nly (UWFOUO)
(                                 )

I recommend that each of the requirements for PHMSA, EPA, OSHA. and US Coast Guard be listed out to insure
compliance o f regulations are met through the FRP.



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016

Revised Feb 20 2016.



         1-0 Evaluation C oncurred
             DAPL will conduct emergency response drills/exercises In accordance with the National Preparedness for
             Response Exercise Program (PREP), which is recognized, and approved, by the EPA, USCG, and PHMSA.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


         1-1 Backcheck Recommendation Open C om m ent
             DAPL will include PREP as an appendix to the FRP.

             Submitted By: Brent Cossette (402-996-2712) Submitted On: Feb 29 2016.
         2-0 Evaluation C oncyrred
             "The FRP has been updated to Include the PREP Training and Record Guide in Attachment H. The
             purpose of this guidance document is to outline the exercise requirements and identify the roles and
             responsibilities of key individuals in order to maintain compliance

             The following was added to Section 6,1: The Company participates in the National Preparedness for
             Response Exercise Program (PREP) in order to satisfy the exercise requirements of PHMSA and EPA.
             Emergency responders, regulatory agencies and other stakeholders are routinely invited to observe or
             participate in table top and equipment deployment drills. A description o f exercise requirements and
             documentation procedures is included in Appendix H.

             Table 6-2 was updated to indicate that spill management team personnel training will follow the PREP
             Training and Record Guide,


             Submitted By: Jonathan Fredland (7134627121) Submitted .On: Mar 17 2016


         2-1 Backcheck Recommendation C lose C om m ent
             Closed without comment.

             Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
             Current Comment Status:



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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 389 of 397104 of 110
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6400956        Risk Assessment          Emergency Response Training                   34                      n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                         )

I recommend that the operator include reference/narrative to describe how Internal Notification Exercises, Internal
Tabletop Exercises, Owner/Operator Equipment Deployment Exercises, and Unannounced Exercises will be
conducted.



Submitted By: Wiiiiam Harlon (402-995-2500). Submitted On: Feb 20 2016

Revised Feb 20 2016.



        1-0 Evaluation Concurred
            As mentioned in item #7, DAPL will conduct emergency response drills/exercises in accordance with PREP.
            The FRP's will be revised to include a reference to DAPL’s PREP Guidance document. The PREP Guidance
            document will be included as an Appendix in the FRP.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


        1-1 Backcheck Recommendation Open Comment
            DAPL will include PREP as an appendix to the FRP. Once complete we can verify and close the comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
        2-0 Evaluation Concurred
            "The training program is described in Section 6.3 of the FRP. The PREP Training and Record Guide
            included in Appendix H provides details of the individual exercise requirements including frequency, scope,
            objectives, records, credit, and roles and responsibilities. These requirements include: Qualified Individual
            (Ql) Notifications, Tabletop Exercises, Equipment Deployment Exercises, Telephone Verification Exercise,
            Emergency Procedures Exercises, and the annual FRP Review.

           The deployment of DAPL-owned emergency equipment identified on page 4 of 17 of the PREP Training and
           Record Guide. The purpose is to demonstrate the ability of personnel to deploy and operate response
           equipment. The deployment of OSRO-Owned emergency equipment is also identified on page 4 of 17 of the
           PREP Training and Record Guide. This is done annually.

           As indicated on page 4 of 17, the deployment of DAPL-owned emergency equipment is done semi-annually
           and one deployment per year must be unannounced. As indicated on page 7 of 17, all facilities are subject
           to Government-Initiated Unannounced Exercises and AREA Exercises. . All terminal or pipeline facilities are
           required to participate as directed by the EPA, USCG, and/or PHMSA as requested. Government-Initiated
           Unannounced Exercises are described on page 16 of 17.


           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


        2-1 Backcheck Recommendation Close Comment
            Overview of the PREP is sufficient but the Corps and our stakeholders would like to insure that unavoidable
            risk, especially towards high consequence areas (HCAs), is mitigated. Examples could include establishing a
            permanent, all weather access point(s), holding periodic on-site mandatory full scale response exercises
            (including open water and ice scenarios at both Lake Oahe and Lake Sakakawea) with stakeholder
            involvement, etc. This comment can be closed but note comment 6400962 is left open for any unresolved
            mitigation measures.

           Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
           Current Comment Status:



   Id              Discipline                   Section/Figure                  Page Number              Line Number
6400957       Risk Assessment           Emergency Response Training                   34                     n/a
Comment Classification: UnclassifiedWFor Officiai Use Only (UWFOUO)




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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page '390 of
                                                                       Page
                                                                          397105 of 110


(                                )

I recommend that the operator identify any response zones outside of North/South Dakota.



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016

Revised Feb 20 2016.



         1-0 Evaluation C oncurred
             The DAPL has been divided into two response zones. The North Response Zone covers North and South
             Dakota. DAPL respectfully requests further clarification on the request for response zones outside of North
             and South Dakota be provided.

             Submitted By; Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


         1-1 Backcheck Recommendation Open C om m ent
             This is important because the same spill response contractors are not required to practice in multiple
             response zones if they are the same contractor used for multiple zones. A contractor practicing spill
             response in Texas does not give much specific details to the downstream receptors in North Dakota.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
         2-0 Evaluation C oncurred
             DAPL has identified, and has contracted, OSROs local to the Project Area. The local OSROs have been
             identified on Table 2-5 o f the North Response Zone FRP. DAPL commits to having these local OSROs
             participate in response drills/exercises, including the table top exercises and equipment deployment
             exercises related to Lake Sakakawea and Lake Oahe discussed under the response to Comment 6400962

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommendation C lose C om m ent
             Overview o f the PREP is sufficient but the Corps and our stakeholders virould tike to insure that unavoidable
             risk, especially towards high consequence areas (HCAs), is mitigated. Examples could include establishing a '
             permanent, all weather access point(s), holding periodic on-site mandatory full scale response exercises
             (including open water and ice scenarios at both Lake Oahe and Lake Sakakawea) with stakeholder
             involvement, etc. This comment can be closed but note comment 6400962 is le t open for any unresolved
             mitigation measures.

            Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
            Current Comment Status:



    Id               D iscip lin e                 S e ction /F igu re           Page N um ber           Line N um ber
6400958          Risk Assessment               Appendix A, CPA 90                       n/a                  n/a
Comment Classification: UnclassifiedW For O fficia l Use O nly (U IFO U O )


The specific items listed for Section 5 are currently not described in the actual narrative.



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016

Revised Feb 20 2016.



         1-0 Evaluation C oncurred
             DAPL recognizes that the tables referenced in Section 5 of Appendix A are not fully populated within the
             Draft FRP. Once contact information for the specified positions becomes available, the appropriate tables
             referenced in Section 5 of Appendix A will be completed. The USAGE will be provided copies of the updated




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ProjNet: Logged In User
          Case 1:16-cv-01534-JEB                                       Page
                                 Document 406 Filed 03/22/19 Page 391 of 397106 o f 110


           version of the FRP as it becomes available.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


        1-1 Backcheck Recommendation Open Comment
            DAPL needs to add within the FRP as a narrative. Once done will verify and close comment.

            Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
        2-0 Evaluation Concurred
            The following tables have been updated with the respective contact names: Table 1-1, Table 2-1, and Table
            2-2. It is assumed that telephone numbers for every individual are not required at this time for Mr. Marlon's
            internal review. However, telephone numbers will be added as this document is finalized. This information
            will be required for PHMSA approval of the final document. As committed during the PHMSA meeting on
            February 23, 2016, DAPL will provide the USAGE with a redacted version of the Final FRP. The unredacted
            versions with telephone numbers would be available on the PHMSA secure site to the appropriate
            individuals, including those from the USAGE. Mr. Harlon confirmed during the February 23rd meeting that
            the appropriate USAGE staff would have access to the secure website.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


     2-1 Backcheck Recommendation Close Comment
         Closed without comment.

           Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
           Current Comment Status:



   Id              Discipline                    Section/Figure                    Page Number              Line Number
6400959       Risk Assessment         Appendix E, Response Zone Maps                    n/a                      n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                         )

Can the operator clarify what "Other Population Zones" refer to? Legend items such as environmentally sensitive
areas (i.e. all of Lake Sakakawea and Lake Oahe), drinking water intakes, drinking water areas, and Corps recreation
areas are ail not identified on the response maps. I did not see any response strategy maps for flow distances,
booming strategies, etc. What is DAPL proposing to do to minimize the impact to these sites in the event a spill
occurs?



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016

Revised Feb 20 2016.



        1-0 Evaluation Concurred
            Drinking water intakes located downstream from the Missouri River crossing near Lake Oahe would
            potentially be at risk if there was a release that reached these bodies of water in the vicinity of the intake
            structures. In order to maintain the integrity of the pipeline, prevent Project losses, and protect the general
            public, the operator will inspect and exercise company-owned equipment in accordance with the PREP
            guidelines. The FRP includes measures such as notifications to surrounding communities, affected
            governments, and utilities in the event of an inadvertent pipeline release.

            Once water intakes immediately downstream of the Missouri River crossings are provided to DAPL by the
            USAGE, these water intakes will be included in the respective GRP documents. Mitigation measures,
            including notification procedures, will be identified to protect water intakes which could potentially be at risk.

            The response mapping will be updated with environmentally sensitive areas (as identified in the Mid-
            Missouri River Sub-Area Contingency Plan), drinking water intakes, and Corps recreation areas.

            DAPL will also utilize the water intake information to calculate flow distances to the four SRST intakes and
            any other intakes immediately downstream of the crossings that are identified by the USAGE.




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 392 ofPage
                                                                         397107 o f 110



           As described in the response to item #3, DAPL will update the FRP to include notification information for
           the USAGE, USFWS, State Wildlife Agencies and the Standing Rock Sioux Tribe.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


           Backcheck not conducted
      2-0 Evaluation Concurred
          Text regarding the flow distance and the time that it would take for the first oil from an unabated release to
          travel downstream and reach water intakes has been incorporated into the spill planning documents. DAPL
          and its contractors will work with Federal, State, local, and Tribal officials to protect downstream drinking
          water and irrigation water intakes. To minimize potential impacts to intakes, protection and mitigation
          measures will be implemented in cooperation with intake operators.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


      2-1 Backcheck Recommendation Close Comment
          The solubility table and revised spill models, risk analysis, etc helped to show the level of mitigation
          necessary at each Lake crossing. Environmental commitments for training and all weather collection and
          access points are sufficiently addressed in the EA and covered in the easement conditions.

           Submitted By: William Harlon (402-995-2500) Submitted On: May 24 2016.
           Current Comment Status:



    Id                Discipline                Section/Figure              Page Number                Line Number
 6400961         Risk Assessment                     n/a                         n/a                       n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                         )

I recommend consideration be given to include reference to the following in the FRP: Environmental Response
Scenarios (in-situ, bioremediation, ice, etc specific to characteristics of Bakken Crude); Waste Management; Natural
Resource Damage Assessment (NRDA); Historical/Archaeological Resources;



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016


         1-0 Evaluation Concurred
             The FRP will be updated to include consideration for Environmental Response Scenarios, Waste
             Management, Natural Resource Damage Assessment, and Historical/Archaeological Resources as
             recommended.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


         1-1 Backcheck Recommendation Open Comment
             DAPL needs to update the FRP. Will verify once completed and close comment.

             Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
         2-0 Evaluation Concurred
             Section 3.2 has been updated to indicate that consideration will be given to the use of alternative
             response strategies, NRDA, and Historical/Archaeological Resources. Should alternative response
             strategies, such as in-situ burning or the use of dispersants, as identified in the Mid-Missouri River Sub
             Area Contingency Plan or the Region 8 Regional Contingency Plan, Sunoco Pipeline will seek approval
             from the Regional Response Team prior to implementation.

             Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016


         2-1 Backcheck Recommendation Close Comment
             Closed without comment.




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          Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 393 ofPage
                                                                         397108 of 110


              Submitted By: William Harlon (402-995-2500) Submitted On: y a r 30 2016.
              Current Comment Status:



   Id            D iscip lin e                  S e ctio n /F ig yre              Page N ym ber          Line N um ber
6400362      Risk Assessment        O w ner/O perato^r^Ew m ent Deployment

Comment Classification: UnclassifiedW For O ffic ia l Use Only (UWFOUO)


As a condition of approval in the FRP and Corps easement, I recommend that the operator be required to conduct at
least 1 open water AND 1 ice exercise at Lake Sakakawea OR Lake Oahe once every 5 years. The operator shall
alternate the type and location of each training. This would include stakeholder participation, downstream w ater intake
protection measures, etc.



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016


        1-0 Evaluation C on cuired
            Emergency response exercises will be conducted in accordance with PREP and will include an annual table
            top exercise. A worst case, or alternate worst case, discharge exercise will be conducted every triennial
            cycle. DAPL is committed to conducting a worst case discharge exercise at Lake Sakakawea or Lake Oahe
            during the first triennial cycle following the commencement of operations. The exercise scenario will be
            designed to include either an open water response or an ice response. Regulatory and stakeholder
            participation will be encouraged and solicited for the exercise.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Feb 26 2016


        1-1 Backcheck Recommendation Open C om m ent
            Need to clarify the triennial cycle. Practicing only one time in North Dakota does not seem like a reasonable
            mitigation measure. Recommendation for once every 5 years in North Dakota to include both open water
            and ice methods.

           Submitted By: Brent Cossette (402-995-2712) Submitted On: Feb 29 2016.
        2-0 Evaluation C oncyrred
            "DAPL understands that the reviewer is recommending worst case discharge exercises at Lake Sakakawea
            or Lake Oahe be conducted more than just one time in North.Dakota as a mitigation measure and that these
            include both open water and ice response. In accordance with this requested mitigation, DAPL proposes to
            conduct an alternate worst case discharge exercise at Lake Sakakawea or Lake Oahe once every 6 years
            (multiple o f 3 to match the triennial cycle) and will include both open w ater and ice response. DAPL will
            alternate the location and type of exercise as recommended.
            With this additional agreed-upon mitigation added, the complete answer to the original question is as follows:
            Emergency response exercises will be conducted in accordance with PREP and will include an annual table
            top exercise. A worst case, or alternate worst case, discharge exercise w ill be conducted every triennial
            cycle. DAPL is committed to conducting an alternate worst case discharge exercise at either Lake
            Sakakawea or Lake Oahe once every 6 years and will include both open w ater and ice response. DAPL will
            alternate the location and type of exercise. Regulatory and stakeholder participation will be encouraged and
            solicited for the exercise.


           Submitted By: Jonathan Fredland (7134627121) Submitted On; Mar 17 2016


        2-1 Backcheck Recommendation Open C om m ent
            During the 3/31/16 meeting, the Team discussed confusion with some of the wording referring to
            commitments in the fast statement. 1 recommend that DAPL rework the response to more accurately reflect
            the conversations from that meeting. As an example, we discussed the commitment being full-scale
            exercises (open and ice) at Lake Oahe and/or Lake Sakakawea once every 6 years.

           Submitted By: William Harlon (402-995-2500) Submitted On: Apr 07 2016.
     3-0




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 394 of 397109 o f 110
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            Evaluation Concurred
            Emergency response exercises will be conducted in accordance with PREP and will include an annual table
            top exercise, DAPL is committed to conducting a worst case discharge full scale exercise at either Lake
            Sakakawea or Lake Oahe once every 6 years and will include both open water and ice response. DAPL will
            alternate the location and type of exercise. Regulatory and stakeholder participation will be encouraged and
            solicited for the exercise.

            This commitment has also been added to the text of the EA to Section 3.11 - Reliability and Safety. DAPL
            agrees to this language being added as a condition of approval in the Corps easement if appropriate.

            Submitted By: Jonathan Fredland (7134627121) Submitted On: Apr 11 2016


        3-1 Backcheck Recommendation Close Comment
            In the event that a pipeline failure occurs and product is released into the Missouri River at either crossing,
            the worst case consequence scenario is ranked high because several drinking water intake High
            Consequence Areas (HCAs) and multiple ecologically sensitive HCAs could be impacted. To minimize the
            impact of a release (e.g. size and spread) the pipeline will continuously be monitored by a real-time
            monitoring and leak detection system , which is considered to be the best available technology; motor
            operated isolation and/or check valves are installed on either side of the Missouri River above Lake
            Sakakawea and Lake Oahe which can be actuated to close as soon as a leak is detected; PHMSA-approved
            FRP will be in place, all weather access and collection points will be staged strategically downstream of
            each lake crossing, and DAPL has committed to additional full scale open water and full scale winter/ice
            exercises that will be conducted at Lake Sakakawea and Lake Oahe. A full scale exercise will occur once
            every 3 years (triennial cycle) with the location and type of exercise occurring on alternating schedules (e.g.
            open water exercise at Oahe the first triennial cycle, followed by winter exercise at Sakakawea the following
            triennial cycle, followed by a winter exercise at Oahe the following triennial cycle, etc.). Stakeholder (federal,
            state, local, and Tribal) involvement will be solicited for each exercise. The first exercise will occur within the
            first 3 years after the pipeline becomes operational.

            Submitted By: William Harlon (402-995-2500) Submitted On: May 24 2016.
            Current Comment Status:



   Id                 DIsctpline                  Section/Figure                Page Number                Line Number
6400963           Risk Assessment                       n/a                          n/a                        n/a
Comment Classification: UnclassifiedWFor Official Use Only (UWFOUO)
(                                            )

Can the FRP, 2 GRP's, and 2 spill models be downloaded onto ProjNet?



Submitted By: William Harlon (402-995-2500). Submitted On: Feb 20 2016


        1-0 Evaluation Concurred
            These documents will be downloaded to ProjNet as they become available. DAPL will notify both Brent and
            William Harlon when each of these items have been uploaded.

            Redacted Version of the FRP is attached.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 17 2016 (Attachment:
           2016_3_15_DAPL_North_FRP_Redacted.pdf)


           Backcheck not conducted
        2-0 Evaluation Concurred
            Attached, please find the revised Lake Oahe Spill Response Plan that has been updated based on
            comments and discussions with Brent Cossette and William Harlon.

           Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 21 2016 (Attachment: DAPL-
           Lake_Oahe_Spill_Model_Report_2016-03-18.pdf)




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          Case 1:16-cv-01534-JEB
ProjNet: Logged In User          Document 406 Filed 03/22/19 Page 395 of 397110 of 110
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        Backcheck not conducted
    3-0 Evatuation Concurred
        Attached, please find the revised Missouri River Spill Response Plan that has been updated based on
        comments and discussions \with Brent Cossette and William Harlon.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 21 2016 (Attachment: DAPL-
        Missouri_River_Spiil_Modei_Report_2016-03-18.pdf)


        Backcheck not conducted
    4-0 Evaluation Concurred
        Attached, please find the revised Geographical Response Plan (GRP) for the Lake Oahe Crossing.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 21 2016 (Attachment:
        2016_3-20_Geographicai_Response_Plan_Lake_Oahe.pdf)


        Backcheck not conducted
    5-0 Evaluation Concurred
        Attached, please find the revised Geographical Response Plan (GRP) for the Missouri River Crossing.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: Mar 21 2016 (Attachment:
        2016_3-2D_Geographicai_Response_Plan_Missouri_River.pdf)


    5-1 Backcheck Recommendation Open Comment
        The material requested has been provided but I unfortunately have to leave the comment open as a
        placeholder while the Corps reviews the documents.

        Submitted By: William Harlon (402-995-2500) Submitted On: Mar 30 2016.
    6-0 Evaluation Concurred
        Please close if review is complete.

        Submitted By: Jonathan Fredland (7134627121) Submitted On: May 13 2016


    6-1 Backcheck Recommendation Close Comment
        Closed without comment.

        Submitted By: William Harlon (402-995-2500) Submitted On: May 24 2016.
        Current Comment Status:




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Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 396 of 397




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Case 1:16-cv-01534-JEB Document 406 Filed 03/22/19 Page 397 of 397




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         USACE_DAPL0074729
